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          I n t e r n a t i o n a l   T e l e c o m m u n i c a t i o n   U n i o n




          ITU-T                                                              H.264
          TELECOMMUNICATION                                                     (03/2005)
          STANDARDIZATION SECTOR
          OF ITU




          SERIES H: AUDIOVISUAL AND MULTIMEDIA SYSTEMS
          Infrastructure of audiovisual services – Coding of moving
          video


          Advanced video coding for generic audiovisual
          services




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                                     AUDIOVISUAL AND MULTIMEDIA SYSTEMS


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For further details, please refer to the list of ITU-T Recommendations.
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ITU-T Recommendation H.264



                   Advanced video coding for generic audiovisual services




Summary
This Recommendation | International Standard represents an evolution of the existing video coding standards (H.261,
H.262, and H.263) and it was developed in response to the growing need for higher compression of moving pictures for
various applications such as videoconferencing, digital storage media, television broadcasting, Internet streaming, and
communication. It is also designed to enable the use of the coded video representation in a flexible manner for a wide
variety of network environments. The use of this Recommendation | International Standard allows motion video to be
manipulated as a form of computer data and to be stored on various storage media, transmitted and received over existing
and future networks and distributed on existing and future broadcasting channels.
The revision approved 2005-03 contains modifications of the video coding standard to add four new profiles, referred to
as the High, High 10, High 4:2:2, and High 4:4:4 profiles, to improve video quality capability and to extend the range of
applications addressed by the standard (for example, by including support for a greater range of picture sample precision
and higher-resolution chroma formats). Additionally, a definition of new types of supplemental data has been specified
to further broaden the applicability of the video coding standard. Finally, a number of corrections to errors in the
published text have been included. This revision, in addition to enhancing video coding capability, will serve to maintain
technical alignment with the corresponding jointly-developed ISO/IEC 14496-10 standard.
Corrigendum 1 to ITU-T Rec. H.264 corrected and updated various minor aspects to bring the ITU-T version of the text
up to date relative to the April 2005 output status approved as a new edition of the corresponding jointly-developed and
technically-aligned text ISO/IEC 14496-10. It additionally fixes a number of minor errors and needs for clarification and
defines three previously-reserved sample aspect ratio indicators.
This edition includes the text approved 2005-03 and its Corrigendum 1 approved 2005-09.




Source
ITU-T Recommendation H.264 was approved on 1 March 2005 by ITU-T Study Group 16 (2005-2008) under the ITU-T
Recommendation A.8 procedure. It includes modifications introduced by H.264 (2005) Cor.1 approved on 13 September
2005 by ITU-T Study Group 16 (2005-2008) under the ITU-T Recommendation A.8 procedure.




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                                                FOREWORD
The International Telecommunication Union (ITU) is the United Nations specialized agency in the field of
telecommunications. The ITU Telecommunication Standardization Sector (ITU-T) is a permanent organ of
ITU. ITU-T is responsible for studying technical, operating and tariff questions and issuing
Recommendations on them with a view to standardizing telecommunications on a worldwide basis.
The World Telecommunication Standardization Assembly (WTSA), which meets every four years,
establishes the topics for study by the ITU-T study groups which, in turn, produce Recommendations on
these topics.
The approval of ITU-T Recommendations is covered by the procedure laid down in WTSA Resolution 1.
In some areas of information technology which fall within ITU-T's purview, the necessary standards are
prepared on a collaborative basis with ISO and IEC.




                                                    NOTE
In this Recommendation, the expression "Administration" is used for conciseness to indicate both a
telecommunication administration and a recognized operating agency.
Compliance with this Recommendation is voluntary. However, the Recommendation may contain certain
mandatory provisions (to ensure e.g. interoperability or applicability) and compliance with the
Recommendation is achieved when all of these mandatory provisions are met. The words "shall" or some
other obligatory language such as "must" and the negative equivalents are used to express requirements. The
use of such words does not suggest that compliance with the Recommendation is required of any party.




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outside of the Recommendation development process.
As of the date of approval of this Recommendation, ITU had received notice of intellectual property,
protected by patents, which may be required to implement this Recommendation. However, implementors
are cautioned that this may not represent the latest information and are therefore strongly urged to consult the
TSB patent database.




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Foreword
The International Telecommunication Union (ITU) is the United Nations specialized agency in the field of
telecommunications. The ITU Telecommunication Standardization Sector (ITU-T) is a permanent organ of ITU. ITU-T
is responsible for studying technical, operating and tariff questions and issuing Recommendations on them with a view
to standardising telecommunications on a world-wide basis. The World Telecommunication Standardization Assembly
(WTSA), which meets every four years, establishes the topics for study by the ITU-T study groups that, in turn, produce
Recommendations on these topics. The approval of ITU-T Recommendations is covered by the procedure laid down in
WTSA Resolution 1. In some areas of information technology that fall within ITU-T's purview, the necessary standards
are prepared on a collaborative basis with ISO and IEC.
ISO (the International Organization for Standardization) and IEC (the International Electrotechnical Commission) form
the specialised system for world-wide standardisation. National Bodies that are members of ISO and IEC participate in
the development of International Standards through technical committees established by the respective organisation to
deal with particular fields of technical activity. ISO and IEC technical committees collaborate in fields of mutual
interest. Other international organisations, governmental and non-governmental, in liaison with ISO and IEC, also take
part in the work. In the field of information technology, ISO and IEC have established a joint technical committee,
ISO/IEC JTC 1. Draft International Standards adopted by the joint technical committee are circulated to national bodies
for voting. Publication as an International Standard requires approval by at least 75% of the national bodies casting a
vote.
This Recommendation | International Standard was prepared jointly by ITU-T SG 16 Q.6, also known as VCEG (Video
Coding Experts Group), and by ISO/IEC JTC 1/SC 29/WG 11, also known as MPEG (Moving Picture Experts Group).
VCEG was formed in 1997 to maintain prior ITU-T video coding standards and develop new video coding standard(s)
appropriate for a wide range of conversational and non-conversational services. MPEG was formed in 1988 to establish
standards for coding of moving pictures and associated audio for various applications such as digital storage media,
distribution, and communication.
In this Recommendation | International Standard Annexes A through E contain normative requirements and are an
integral part of this Recommendation | International Standard.




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ITU-T Recommendation H.264



                   Advanced video coding for generic audiovisual services



0       Introduction
This clause does not form an integral part of this Recommendation | International Standard.

0.1     Prologue
This subclause does not form an integral part of this Recommendation | International Standard.
As the costs for both processing power and memory have reduced, network support for coded video data has
diversified, and advances in video coding technology have progressed, the need has arisen for an industry standard for
compressed video representation with substantially increased coding efficiency and enhanced robustness to network
environments. Toward these ends the ITU-T Video Coding Experts Group (VCEG) and the ISO/IEC Moving Picture
Experts Group (MPEG) formed a Joint Video Team (JVT) in 2001 for development of a new
Recommendation | International Standard.

0.2     Purpose
This subclause does not form an integral part of this Recommendation | International Standard.
This Recommendation | International Standard was developed in response to the growing need for higher compression
of moving pictures for various applications such as videoconferencing, digital storage media, television broadcasting,
internet streaming, and communication. It is also designed to enable the use of the coded video representation in a
flexible manner for a wide variety of network environments. The use of this Recommendation | International Standard
allows motion video to be manipulated as a form of computer data and to be stored on various storage media,
transmitted and received over existing and future networks and distributed on existing and future broadcasting channels.

0.3     Applications
This subclause does not form an integral part of this Recommendation | International Standard.
This Recommendation | International Standard is designed to cover a broad range of applications for video content
including but not limited to the following:
         CATV      Cable TV on optical networks, copper, etc.
         DBS       Direct broadcast satellite video services
         DSL       Digital subscriber line video services
         DTTB      Digital terrestrial television broadcasting
         ISM       Interactive storage media (optical disks, etc.)
         MMM       Multimedia mailing
         MSPN      Multimedia services over packet networks
         RTC       Real-time conversational services (videoconferencing, videophone, etc.)
         RVS       Remote video surveillance
         SSM       Serial storage media (digital VTR, etc.)

0.4     Publication and versions of this specification
This subclause does not form an integral part of this Recommendation | International Standard.
This specification has been jointly developed by ITU-T Video Coding Experts Group (VCEG) and the ISO/IEC Moving
Picture Experts Group. It is published as technically-aligned twin text in both organizations ITU-T and ISO/IEC.



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ITU-T Rec. H.264 | ISO/IEC 14496-10 version 1 refers to the first (2003) approved version of this Recommendation |
International Standard.
ITU-T Rec. H.264 | ISO/IEC 14496-10 version 2 refers to the integrated text containing the corrections specified in the
first technical corrigendum.
ITU-T Rec. H.264 | ISO/IEC 14496-10 version 3 refers to the integrated text containing both the first technical
corrigendum (2004) and the first amendment, which is referred to as the "Fidelity range extensions".
ITU-T Rec. H.264 | ISO/IEC 14496-10 version 4 (the current specification) refers to the integrated text containing the
first technical corrigendum (2004), the first amendment (the "Fidelity range extensions"), and an additional technical
corrigendum (2005). In the ITU-T, the next published version after version 2 was version 4 (due to the completion of
the drafting work for version 4 prior to the approval opportunity for a final version 3 text).

0.5      Profiles and levels
This subclause does not form an integral part of this Recommendation | International Standard.
This Recommendation | International Standard is designed to be generic in the sense that it serves a wide range of
applications, bit rates, resolutions, qualities, and services. Applications should cover, among other things, digital storage
media, television broadcasting and real-time communications. In the course of creating this Specification, various
requirements from typical applications have been considered, necessary algorithmic elements have been developed, and
these have been integrated into a single syntax. Hence, this Specification will facilitate video data interchange among
different applications.
Considering the practicality of implementing the full syntax of this Specification, however, a limited number of subsets
of the syntax are also stipulated by means of "profiles" and "levels". These and other related terms are formally defined
in clause 3.
A "profile" is a subset of the entire bitstream syntax that is specified by this Recommendation | International Standard.
Within the bounds imposed by the syntax of a given profile it is still possible to require a very large variation in the
performance of encoders and decoders depending upon the values taken by syntax elements in the bitstream such as the
specified size of the decoded pictures. In many applications, it is currently neither practical nor economic to implement
a decoder capable of dealing with all hypothetical uses of the syntax within a particular profile.
In order to deal with this problem, "levels" are specified within each profile. A level is a specified set of constraints
imposed on values of the syntax elements in the bitstream. These constraints may be simple limits on values.
Alternatively they may take the form of constraints on arithmetic combinations of values (e.g. picture width multiplied
by picture height multiplied by number of pictures decoded per second).
Coded video content conforming to this Recommendation | International Standard uses a common syntax. In order to
achieve a subset of the complete syntax, flags, parameters, and other syntax elements are included in the bitstream that
signal the presence or absence of syntactic elements that occur later in the bitstream.

0.6      Overview of the design characteristics
This subclause does not form an integral part of this Recommendation | International Standard.
The coded representation specified in the syntax is designed to enable a high compression capability for a desired image
quality. With the exception of the transform bypass mode of operation for lossless coding in the High 4:4:4 profile and
the I_PCM mode of operation in all profiles, the algorithm is typically not lossless, as the exact source sample values
are typically not preserved through the encoding and decoding processes. A number of techniques may be used to
achieve       highly      efficient   compression.       Encoding       algorithms    (not      specified       in    this
Recommendation | International Standard) may select between inter and intra coding for block-shaped regions of each
picture. Inter coding uses motion vectors for block-based inter prediction to exploit temporal statistical dependencies
between different pictures. Intra coding uses various spatial prediction modes to exploit spatial statistical dependencies
in the source signal for a single picture. Motion vectors and intra prediction modes may be specified for a variety of
block sizes in the picture. The prediction residual is then further compressed using a transform to remove spatial
correlation inside the transform block before it is quantised, producing an irreversible process that typically discards
less important visual information while forming a close approximation to the source samples. Finally, the motion
vectors or intra prediction modes are combined with the quantised transform coefficient information and encoded using
either variable length codes or arithmetic coding.




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0.6.1    Predictive coding
This subclause does not form an integral part of this Recommendation | International Standard.
Because of the conflicting requirements of random access and highly efficient compression, two main coding types are
specified. Intra coding is done without reference to other pictures. Intra coding may provide access points to the coded
sequence where decoding can begin and continue correctly, but typically also shows only moderate compression
efficiency. Inter coding (predictive or bi-predictive) is more efficient using inter prediction of each block of sample
values from some previously decoded picture selected by the encoder. In contrast to some other video coding standards,
pictures coded using bi-predictive inter prediction may also be used as references for inter coding of other pictures.
The application of the three coding types to pictures in a sequence is flexible, and the order of the decoding process is
generally not the same as the order of the source picture capture process in the encoder or the output order from the
decoder for display. The choice is left to the encoder and will depend on the requirements of the application. The
decoding order is specified such that the decoding of pictures that use inter-picture prediction follows later in decoding
order than other pictures that are referenced in the decoding process.

0.6.2    Coding of progressive and interlaced video
This subclause does not form an integral part of this Recommendation | International Standard.
This Recommendation | International Standard specifies a syntax and decoding process for video that originated in
either progressive-scan or interlaced-scan form, which may be mixed together in the same sequence. The two fields of
an interlaced frame are separated in capture time while the two fields of a progressive frame share the same capture
time. Each field may be coded separately or the two fields may be coded together as a frame. Progressive frames are
typically coded as a frame. For interlaced video, the encoder can choose between frame coding and field coding. Frame
coding or field coding can be adaptively selected on a picture-by-picture basis and also on a more localized basis within
a coded frame. Frame coding is typically preferred when the video scene contains significant detail with limited motion.
Field coding typically works better when there is fast picture-to-picture motion.

0.6.3    Picture partitioning into macroblocks and smaller partitions
This subclause does not form an integral part of this Recommendation | International Standard.
As in previous video coding Recommendations and International Standards, a macroblock, consisting of a 16x16 block
of luma samples and two corresponding blocks of chroma samples, is used as the basic processing unit of the video
decoding process.
A macroblock can be further partitioned for inter prediction. The selection of the size of inter prediction partitions is a
result of a trade-off between the coding gain provided by using motion compensation with smaller blocks and the
quantity of data needed to represent the data for motion compensation. In this Recommendation | International Standard
the inter prediction process can form segmentations for motion representation as small as 4x4 luma samples in size,
using motion vector accuracy of one-quarter of the luma sample grid spacing displacement. The process for inter
prediction of a sample block can also involve the selection of the picture to be used as the reference picture from a
number of stored previously-decoded pictures. Motion vectors are encoded differentially with respect to predicted
values formed from nearby encoded motion vectors.
Typically, the encoder calculates appropriate motion vectors and other data elements represented in the video data
stream. This motion estimation process in the encoder and the selection of whether to use inter prediction for the
representation of each region of the video content is not specified in this Recommendation | International Standard.

0.6.4    Spatial redundancy reduction
This subclause does not form an integral part of this Recommendation | International Standard.
Both     source      pictures    and     prediction     residuals      have   high     spatial      redundancy.     This
Recommendation | International Standard is based on the use of a block-based transform method for spatial redundancy
removal. After inter prediction from previously-decoded samples in other pictures or spatial-based prediction from
previously-decoded samples within the current picture, the resulting prediction residual is split into 4x4 blocks. These
are converted into the transform domain where they are quantised. After quantisation many of the transform coefficients
are zero or have low amplitude and can thus be represented with a small amount of encoded data. The processes of
transformation and quantisation in the encoder are not specified in this Recommendation | International Standard.

0.7      How to read this specification
This subclause does not form an integral part of this Recommendation | International Standard.




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It is suggested that the reader starts with clause 1 (Scope) and moves on to clause 3 (Definitions). Clause 6 should be
read for the geometrical relationship of the source, input, and output of the decoder. Clause 7 (Syntax and semantics)
specifies the order to parse syntax elements from the bitstream. See subclauses 7.1-7.3 for syntactical order and see
subclause 7.4 for semantics; i.e., the scope, restrictions, and conditions that are imposed on the syntax elements. The
actual parsing for most syntax elements is specified in clause 9 (Parsing process). Finally, clause 8 (Decoding process)
specifies how the syntax elements are mapped into decoded samples. Throughout reading this specification, the reader
should refer to clauses 2 (Normative references), 4 (Abbreviations), and 5 (Conventions) as needed. Annexes A through
E also form an integral part of this Recommendation | International Standard.
Annex A specifies seven profiles (Baseline, Main, Extended, High, High 10, High 4:2:2 and High 4:4:4), each being
tailored to certain application domains, and defines the so-called levels of the profiles. Annex B specifies syntax and
semantics of a byte stream format for delivery of coded video as an ordered stream of bytes. Annex C specifies the
hypothetical reference decoder and its use to check bitstream and decoder conformance. Annex D specifies syntax and
semantics for supplemental enhancement information message payloads. Finally, Annex E specifies syntax and
semantics of the video usability information parameters of the sequence parameter set.
Throughout this specification, statements appearing with the preamble "NOTE -" are informative and are not an integral
part of this Recommendation | International Standard.


1        Scope
This document specifies ITU-T Recommendation H.264 | ISO/IEC International Standard ISO/IEC 14496-10 video
coding.


2        Normative references
The following Recommendations and International Standards contain provisions which, through reference in this text,
constitute provisions of this Recommendation | International Standard. At the time of publication, the editions indicated
were valid. All Recommendations and Standards are subject to revision, and parties to agreements based on this
Recommendation | International Standard are encouraged to investigate the possibility of applying the most recent
edition of the Recommendations and Standards listed below. Members of IEC and ISO maintain registers of currently
valid International Standards. The Telecommunication Standardization Bureau of the ITU maintains a list of currently
valid ITU-T Recommendations.
         –      ITU-T Recommendation T.35 (2000), Procedure for the allocation of ITU-T defined codes for non-
                standard facilities.
         –      ISO/IEC 11578:1996, Annex A, Universal Unique Identifier.
         –      ISO/CIE 10527:1991, Colorimetric Observers.


3        Definitions
For the purposes of this Recommendation | International Standard, the following definitions apply.
3.1      access unit: A set of NAL units always containing exactly one primary coded picture. In addition to the
         primary coded picture, an access unit may also contain one or more redundant coded pictures or other NAL
         units not containing slices or slice data partitions of a coded picture. The decoding of an access unit always
         results in a decoded picture.
3.2      AC transform coefficient: Any transform coefficient for which the frequency index in one or both
         dimensions is non-zero.
3.3      adaptive binary arithmetic decoding process: An entropy decoding process that derives the values of bins
         from a bitstream produced by an adaptive binary arithmetic encoding process.
3.4      adaptive binary arithmetic encoding process: An entropy encoding process, not normatively specified in
         this Recommendation | International Standard, that codes a sequence of bins and produces a bitstream that can
         be decoded using the adaptive binary arithmetic decoding process.
3.5      alpha blending: A process not specified by this Recommendation | International Standard, in which an
         auxiliary coded picture is used in combination with a primary coded picture and with other data not specified
         by this Recommendation | International Standard in the display process. In an alpha blending process, the
         samples of an auxiliary coded picture are interpreted as indications of the degree of opacity (or, equivalently,
         the degrees of transparency) associated with the corresponding luma samples of the primary coded picture.


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3.6    arbitrary slice order: A decoding order of slices in which the macroblock address of the first macroblock of
       some slice of a picture may be less than the macroblock address of the first macroblock of some other
       preceding slice of the same coded picture.
3.7    auxiliary coded picture: A picture that supplements the primary coded picture that may be used in
       combination with other data not specified by this Recommendation | International Standard in the display
       process. An auxiliary coded picture has the same syntactic and semantic restrictions as a monochrome
       redundant coded picture. An auxiliary coded picture must contain the same number of macroblocks as the
       primary coded picture. Auxiliary coded pictures have no normative effect on the decoding process. See also
       primary coded picture and redundant coded picture.
3.8    B slice: A slice that may be decoded using intra prediction from decoded samples within the same slice or
       inter prediction from previously-decoded reference pictures, using at most two motion vectors and reference
       indices to predict the sample values of each block.
3.9    bin: One bit of a bin string.
3.10   binarization: A set of bin strings for all possible values of a syntax element.
3.11   binarization process: A unique mapping process of all possible values of a syntax element onto a set of bin
       strings.
3.12   bin string: A string of bins. A bin string is an intermediate binary representation of values of syntax elements
       from the binarization of the syntax element.
3.13   bi-predictive slice: See B slice.
3.14   bitstream: A sequence of bits that forms the representation of coded pictures and associated data forming one
       or more coded video sequences. Bitstream is a collective term used to refer either to a NAL unit stream or a
       byte stream.
3.15   block: An MxN (M-column by N-row) array of samples, or an MxN array of transform coefficients.
3.16   bottom field: One of two fields that comprise a frame. Each row of a bottom field is spatially located
       immediately below a corresponding row of a top field.
3.17   bottom macroblock (of a macroblock pair): The macroblock within a macroblock pair that contains the
       samples in the bottom row of samples for the macroblock pair. For a field macroblock pair, the bottom
       macroblock represents the samples from the region of the bottom field of the frame that lie within the spatial
       region of the macroblock pair. For a frame macroblock pair, the bottom macroblock represents the samples of
       the frame that lie within the bottom half of the spatial region of the macroblock pair.
3.18   broken link: A location in a bitstream at which it is indicated that some subsequent pictures in decoding
       order may contain serious visual artefacts due to unspecified operations performed in the generation of the
       bitstream.
3.19   byte: A sequence of 8 bits, written and read with the most significant bit on the left and the least significant
       bit on the right. When represented in a sequence of data bits, the most significant bit of a byte is first.
3.20   byte-aligned: A position in a bitstream is byte-aligned when the position is an integer multiple of 8 bits from
       the position of the first bit in the bitstream. A bit or byte or syntax element is said to be byte-aligned when the
       position at which it appears in a bitstream is byte-aligned.
3.21   byte stream: An encapsulation of a NAL unit stream containing start code prefixes and NAL units as specified
       in Annex B.
3.22   can: A term used to refer to behaviour that is allowed, but not necessarily required.
3.23   category: A number associated with each syntax element. The category is used to specify the allocation of
       syntax elements to NAL units for slice data partitioning. It may also be used in a manner determined by the
       application to refer to classes of syntax elements in a manner not specified in this
       Recommendation | International Standard.
3.24   chroma: An adjective specifying that a sample array or single sample is representing one of the two colour
       difference signals related to the primary colours. The symbols used for a chroma array or sample are Cb and
       Cr.
          NOTE – The term chroma is used rather than the term chrominance in order to avoid the implication of the use of
          linear light transfer characteristics that is often associated with the term chrominance.
3.25   coded field: A coded representation of a field.



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3.26   coded frame: A coded representation of a frame.
3.27   coded picture: A coded representation of a picture. A coded picture may be either a coded field or a coded
       frame. Coded picture is a collective term referring to a primary coded picture or a redundant coded picture,
       but not to both together.
3.28   coded picture buffer (CPB): A first-in first-out buffer containing access units in decoding order specified in
       the hypothetical reference decoder in Annex C.
3.29   coded representation: A data element as represented in its coded form.
3.30   coded video sequence: A sequence of access units that consists, in decoding order, of an IDR access unit
       followed by zero or more non-IDR access units including all subsequent access units up to but not including
       any subsequent IDR access unit.
3.31   component: An array or single sample from one of the three arrays (luma and two chroma) that make up a
       field or frame.
3.32   complementary field pair: A collective term for a complementary reference field pair or a complementary
       non-reference field pair.
3.33   complementary non-reference field pair: Two non-reference fields that are in consecutive access units in
       decoding order as two coded fields of opposite parity where the first field is not already a paired field.
3.34   complementary reference field pair: Two reference fields that are in consecutive access units in decoding
       order as two coded fields and share the same value of the frame_num syntax element, where the second field
       in decoding order is not an IDR picture and does not include a memory_management_control_operation
       syntax element equal to 5.
3.35   context variable: A variable specified for the adaptive binary arithmetic decoding process of a bin by an
       equation containing recently decoded bins.
3.36   DC transform coefficient: A transform coefficient for which the frequency index is zero in all dimensions.
3.37   decoded picture: A decoded picture is derived by decoding a coded picture. A decoded picture is either a
       decoded frame, or a decoded field. A decoded field is either a decoded top field or a decoded bottom field.
3.38   decoded picture buffer (DPB): A buffer holding decoded pictures for reference, output reordering, or output
       delay specified for the hypothetical reference decoder in Annex C.
3.39   decoder: An embodiment of a decoding process.
3.40   decoding order: The order in which syntax elements are processed by the decoding process.
3.41   decoding process: The process specified in this Recommendation | International Standard that reads a
       bitstream and derives decoded pictures from it.
3.42   direct prediction: An inter prediction for a block for which no motion vector is decoded. Two direct
       prediction modes are specified that are referred to as spatial direct prediction and temporal prediction mode.
3.43   display process: A process not specified in this Recommendation | International Standard having, as its input,
       the cropped decoded pictures that are the output of the decoding process.
3.44   decoder under test (DUT): A decoder that is tested for conformance to this Recommendation | International
       Standard by operating the hypothetical stream scheduler to deliver a conforming bitstream to the decoder and
       to the hypothetical reference decoder and comparing the values and timing of the output of the two decoders.
3.45   emulation prevention byte: A byte equal to 0x03 that may be present within a NAL unit. The presence of
       emulation prevention bytes ensures that no sequence of consecutive byte-aligned bytes in the NAL unit
       contains a start code prefix.
3.46   encoder: An embodiment of an encoding process.
3.47   encoding process: A process, not specified in this Recommendation | International Standard, that produces a
       bitstream conforming to this Recommendation | International Standard.
3.48   field: An assembly of alternate rows of a frame. A frame is composed of two fields, a top field and a bottom
       field.
3.49   field macroblock: A macroblock containing samples from a single field. All macroblocks of a coded field are
       field macroblocks. When macroblock-adaptive frame/field decoding is in use, some macroblocks of a coded
       frame may be field macroblocks.


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3.50   field macroblock pair: A macroblock pair decoded as two field macroblocks.
3.51   field scan: A specific sequential ordering of transform coefficients that differs from the zig-zag scan by
       scanning columns more rapidly than rows. Field scan is used for transform coefficients in field macroblocks.
3.52   flag: A variable that can take one of the two possible values 0 and 1.
3.53   frame: A frame contains an array of luma samples and two corresponding arrays of chroma samples. A frame
       consists of two fields, a top field and a bottom field.
3.54   frame macroblock: A macroblock representing samples from the two fields of a coded frame. When
       macroblock-adaptive frame/field decoding is not in use, all macroblocks of a coded frame are frame
       macroblocks. When macroblock-adaptive frame/field decoding is in use, some macroblocks of a coded frame
       may be frame macroblocks.
3.55   frame macroblock pair: A macroblock pair decoded as two frame macroblocks.
3.56   frequency index: A one-dimensional or two-dimensional index associated with a transform coefficient prior
       to an inverse transform part of the decoding process.
3.57   hypothetical reference decoder (HRD): A hypothetical decoder model that specifies constraints on the
       variability of conforming NAL unit streams or conforming byte streams that an encoding process may
       produce.
3.58   hypothetical stream scheduler (HSS): A hypothetical delivery mechanism for the timing and data flow of
       the input of a bitstream into the hypothetical reference decoder. The HSS is used for checking the
       conformance of a bitstream or a decoder.
3.59   I slice: A slice that is not an SI slice that is decoded using prediction only from decoded samples within the
       same slice.
3.60   informative: A term used to refer to content provided in this Recommendation | International Standard that is
       not an integral part of this Recommendation | International Standard. Informative content does not establish
       any mandatory requirements for conformance to this Recommendation | International Standard.
3.61   instantaneous decoding refresh (IDR) access unit: An access unit in which the primary coded picture is an
       IDR picture.
3.62   instantaneous decoding refresh (IDR) picture: A coded picture in which all slices are I or SI slices that
       causes the decoding process to mark all reference pictures as "unused for reference" immediately after
       decoding the IDR picture. After the decoding of an IDR picture all following coded pictures in decoding
       order can be decoded without inter prediction from any picture decoded prior to the IDR picture. The first
       picture of each coded video sequence is an IDR picture.
3.63   inter coding: Coding of a block, macroblock, slice, or picture that uses inter prediction.
3.64   inter prediction: A prediction derived from decoded samples of reference pictures other than the current
       decoded picture.
3.65   interpretation sample value: A possibly-altered value corresponding to a decoded sample value of an
       auxiliary coded picture that may be generated for use in the display process. Interpretation sample values are
       not used in the decoding process and have no normative effect on the decoding process.
3.66   intra coding: Coding of a block, macroblock, slice, or picture that uses intra prediction.
3.67   intra prediction: A prediction derived from the decoded samples of the same decoded slice.
3.68   intra slice: See I slice.
3.69   inverse transform: A part of the decoding process by which a set of transform coefficients are converted into
       spatial-domain values, or by which a set of transform coefficients are converted into DC transform
       coefficients.
3.70   layer: One of a set of syntactical structures in a non-branching hierarchical relationship. Higher layers contain
       lower layers. The coding layers are the coded video sequence, picture, slice, and macroblock layers.
3.71   level: A defined set of constraints on the values that may be taken by the syntax elements and variables of this
       Recommendation | International Standard. The same set of levels is defined for all profiles, with most aspects
       of the definition of each level being in common across different profiles. Individual implementations may,
       within specified constraints, support a different level for each supported profile. In a different context, level is
       the value of a transform coefficient prior to scaling.


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3.72   list 0 (list 1) motion vector: A motion vector associated with a reference index pointing into reference picture
       list 0 (list 1).
3.73   list 0 (list 1) prediction: Inter prediction of the content of a slice using a reference index pointing into
       reference picture list 0 (list 1).
3.74   luma: An adjective specifying that a sample array or single sample is representing the monochrome signal
       related to the primary colours. The symbol or subscript used for luma is Y or L.
          NOTE – The term luma is used rather than the term luminance in order to avoid the implication of the use of linear
          light transfer characteristics that is often associated with the term luminance. The symbol L is sometimes used instead
          of the symbol Y to avoid confusion with the symbol y as used for vertical location.
3.75   macroblock: A 16x16 block of luma samples and two corresponding blocks of chroma samples. The division
       of a slice or a macroblock pair into macroblocks is a partitioning.
3.76   macroblock-adaptive frame/field decoding: A decoding process for coded frames in which some
       macroblocks may be decoded as frame macroblocks and others may be decoded as field macroblocks.
3.77   macroblock address: When macroblock-adaptive frame/field decoding is not in use, a macroblock address is
       the index of a macroblock in a macroblock raster scan of the picture starting with zero for the top-left
       macroblock in a picture. When macroblock-adaptive frame/field decoding is in use, the macroblock address
       of the top macroblock of a macroblock pair is two times the index of the macroblock pair in a macroblock
       pair raster scan of the picture, and the macroblock address of the bottom macroblock of a macroblock pair is
       the macroblock address of the corresponding top macroblock plus 1. The macroblock address of the top
       macroblock of each macroblock pair is an even number and the macroblock address of the bottom
       macroblock of each macroblock pair is an odd number.
3.78   macroblock location: The two-dimensional coordinates of a macroblock in a picture denoted by ( x, y ). For
       the top left macroblock of the picture ( x, y ) is equal to ( 0, 0 ). x is incremented by 1 for each macroblock
       column from left to right. When macroblock-adaptive frame/field decoding is not in use, y is incremented by
       1 for each macroblock row from top to bottom. When macroblock-adaptive frame/field decoding is in use, y
       is incremented by 2 for each macroblock pair row from top to bottom, and is incremented by an additional 1
       when a macroblock is a bottom macroblock.
3.79   macroblock pair: A pair of vertically contiguous macroblocks in a frame that is coupled for use in
       macroblock-adaptive frame/field decoding. The division of a slice into macroblock pairs is a partitioning.
3.80   macroblock partition: A block of luma samples and two corresponding blocks of chroma samples resulting
       from a partitioning of a macroblock for inter prediction.
3.81   macroblock to slice group map: A means of mapping macroblocks of a picture into slice groups. The
       macroblock to slice group map consists of a list of numbers, one for each coded macroblock, specifying the
       slice group to which each coded macroblock belongs.
3.82   map unit to slice group map: A means of mapping slice group map units of a picture into slice groups. The
       map unit to slice group map consists of a list of numbers, one for each slice group map unit, specifying the
       slice group to which each coded slice group map unit belongs.
3.83   may: A term used to refer to behaviour that is allowed, but not necessarily required. In some places where the
       optional nature of the described behaviour is intended to be emphasized, the phrase "may or may not" is used
       to provide emphasis.
3.84   memory management control operation: Seven operations that control reference picture marking.
3.85   motion vector: A two-dimensional vector used for inter prediction that provides an offset from the
       coordinates in the decoded picture to the coordinates in a reference picture.
3.86   must: A term used in expressing an observation about a requirement or an implication of a requirement that is
       specified elsewhere in this Recommendation | International Standard. This term is used exclusively in an
       informative context.
3.87   NAL unit: A syntax structure containing an indication of the type of data to follow and bytes containing that
       data in the form of an RBSP interspersed as necessary with emulation prevention bytes.
3.88   NAL unit stream: A sequence of NAL units.
3.89   non-paired field: A collective term for a non-paired reference field or a non-paired non-reference field.
3.90   non-paired non-reference field: A decoded non-reference field that is not part of a complementary non-
       reference field pair.


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3.91    non-paired reference field: A decoded reference field that is not part of a complementary reference field
        pair.
3.92    non-reference field: A field coded with nal_ref_idc equal to 0.
3.93    non-reference frame: A frame coded with nal_ref_idc equal to 0.
3.94    non-reference picture: A picture coded with nal_ref_idc equal to 0. A non-reference picture is not used for
        inter prediction of any other pictures.
3.95    note: A term used to prefix informative remarks. This term is used exclusively in an informative context.
3.96    opposite parity: The opposite parity of top is bottom, and vice versa.
3.97    output order: The order in which the decoded pictures are output from the decoded picture buffer.
3.98    P slice: A slice that may be decoded using intra prediction from decoded samples within the same slice or
        inter prediction from previously-decoded reference pictures, using at most one motion vector and reference
        index to predict the sample values of each block.
3.99    parameter: A syntax element of a sequence parameter set or a picture parameter set. Parameter is also used
        as part of the defined term quantisation parameter.
3.100   parity: The parity of a field can be top or bottom.
3.101   partitioning: The division of a set into subsets such that each element of the set is in exactly one of the
        subsets.
3.102   picture: A collective term for a field or a frame.
3.103   picture parameter set: A syntax structure containing syntax elements that apply to zero or more entire coded
        pictures as determined by the pic_parameter_set_id syntax element found in each slice header.
3.104   picture order count: A variable having a value that is non-decreasing with increasing picture position in
        output order relative to the previous IDR picture in decoding order or relative to the previous picture
        containing the memory management control operation that marks all reference pictures as “unused for
        reference”.
3.105   prediction: An embodiment of the prediction process.
3.106   prediction process: The use of a predictor to provide an estimate of the sample value or data element
        currently being decoded.
3.107   predictive slice: See P slice.
3.108   predictor: A combination of specified values or previously decoded sample values or data elements used in
        the decoding process of subsequent sample values or data elements.
3.109   primary coded picture: The coded representation of a picture to be used by the decoding process for a
        bitstream conforming to this Recommendation | International Standard. The primary coded picture contains
        all macroblocks of the picture. The only pictures that have a normative effect on the decoding process are
        primary coded pictures. See also redundant coded picture.
3.110   profile: A specified subset of the syntax of this Recommendation | International Standard.
3.111   quantisation parameter: A variable used by the decoding process for scaling of transform coefficient levels.
3.112   random access: The act of starting the decoding process for a bitstream at a point other than the beginning of
        the stream.
3.113   raster scan: A mapping of a rectangular two-dimensional pattern to a one-dimensional pattern such that the
        first entries in the one-dimensional pattern are from the first top row of the two-dimensional pattern scanned
        from left to right, followed similarly by the second, third, etc. rows of the pattern (going down) each scanned
        from left to right.
3.114   raw byte sequence payload (RBSP): A syntax structure containing an integer number of bytes that is
        encapsulated in a NAL unit. An RBSP is either empty or has the form of a string of data bits containing syntax
        elements followed by an RBSP stop bit and followed by zero or more subsequent bits equal to 0.
3.115   raw byte sequence payload (RBSP) stop bit: A bit equal to 1 present within a raw byte sequence payload
        (RBSP) after a string of data bits. The location of the end of the string of data bits within an RBSP can be
        identified by searching from the end of the RBSP for the RBSP stop bit, which is the last non-zero bit in the
        RBSP.

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3.116   recovery point: A point in the bitstream at which the recovery of an exact or an approximate representation
        of the decoded pictures represented by the bitstream is achieved after a random access or broken link.
3.117   redundant coded picture: A coded representation of a picture or a part of a picture. The content of a
        redundant coded picture shall not be used by the decoding process for a bitstream conforming to this
        Recommendation | International Standard. A redundant coded picture is not required to contain all
        macroblocks in the primary coded picture. Redundant coded pictures have no normative effect on the
        decoding process. See also primary coded picture.
3.118   reference field: A reference field may be used for inter prediction when P, SP, and B slices of a coded field
        or field macroblocks of a coded frame are decoded. See also reference picture.
3.119   reference frame: A reference frame may be used for inter prediction when P, SP, and B slices of a coded
        frame are decoded. See also reference picture.
3.120   reference index: An index into a reference picture list.
3.121   reference picture: A picture with nal_ref_idc not equal to 0. A reference picture contains samples that may
        be used for inter prediction in the decoding process of subsequent pictures in decoding order.
3.122   reference picture list: A list of reference pictures that is used for inter prediction of a P, B, or SP slice. For
        the decoding process of a P or SP slice, there is one reference picture list. For the decoding process of a B
        slice, there are two reference picture lists.
3.123   reference picture list 0: A reference picture list used for inter prediction of a P, B, or SP slice. All inter
        prediction used for P and SP slices uses reference picture list 0. Reference picture list 0 is one of two
        reference picture lists used for inter prediction for a B slice, with the other being reference picture list 1.
3.124   reference picture list 1: A reference picture list used for inter prediction of a B slice. Reference picture list 1
        is one of two lists of reference picture lists used for inter prediction for a B slice, with the other being
        reference picture list 0.
3.125   reference picture marking: Specifies, in the bitstream, how the decoded pictures are marked for inter
        prediction.
3.126   reserved: The term reserved, when used in the clauses specifying some values of a particular syntax element,
        are for future use by ITU-T | ISO/IEC. These values shall not be used in bitstreams conforming to this
        Recommendation | International Standard, but may be used in future extensions of this
        Recommendation | International Standard by ITU-T | ISO/IEC.
3.127   residual: The decoded difference between a prediction of a sample or data element and its decoded value.
3.128   run: A number of consecutive data elements represented in the decoding process. In one context, the number
        of zero-valued transform coefficient levels preceding a non-zero transform coefficient level in the list of
        transform coefficient levels generated by a zig-zag scan or a field scan. In other contexts, run refers to a
        number of macroblocks.
3.129   sample aspect ratio: Specifies, for assisting the display process, which is not specified in this
        Recommendation | International Standard, the ratio between the intended horizontal distance between the
        columns and the intended vertical distance between the rows of the luma sample array in a frame. Sample
        aspect ratio is expressed as h:v, where h is horizontal width and v is vertical height (in arbitrary units of spatial
        distance).
3.130   scaling: The process of multiplying transform coefficient levels by a factor, resulting in transform coefficients.
3.131   sequence parameter set: A syntax structure containing syntax elements that apply to zero or more entire
        coded video sequences as determined by the content of a seq_parameter_set_id syntax element found in the
        picture parameter set referred to by the pic_parameter_set_id syntax element found in each slice header.
3.132   shall: A term used to express mandatory requirements for conformance to this Recommendation |
        International Standard. When used to express a mandatory constraint on the values of syntax elements or on
        the results obtained by operation of the specified decoding process, it is the responsibility of the encoder to
        ensure that the constraint is fulfilled. When used in reference to operations performed by the decoding
        process, any decoding process that produces identical results to the decoding process described herein
        conforms to the decoding process requirements of this Recommendation | International Standard.
3.133   should: A term used to refer to behaviour of an implementation that is encouraged to be followed under
        anticipated ordinary circumstances, but is not a mandatory requirement for conformance to this
        Recommendation | International Standard.



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3.134   SI slice: A slice that is coded using prediction only from decoded samples within the same slice and using
        quantisation of the prediction samples. An SI slice can be coded such that its decoded samples can be
        constructed identically to an SP slice.
3.135   skipped macroblock: A macroblock for which no data is coded other than an indication that the macroblock
        is to be decoded as "skipped". This indication may be common to several macroblocks.
3.136   slice: An integer number of macroblocks or macroblock pairs ordered consecutively in the raster scan within
        a particular slice group. For the primary coded picture, the division of each slice group into slices is a
        partitioning. Although a slice contains macroblocks or macroblock pairs that are consecutive in the raster
        scan within a slice group, these macroblocks or macroblock pairs are not necessarily consecutive in the raster
        scan within the picture. The addresses of the macroblocks are derived from the address of the first
        macroblock in a slice (as represented in the slice header) and the macroblock to slice group map.
3.137   slice data partitioning: A method of partitioning selected syntax elements into syntax structures based on a
        category associated with each syntax element.
3.138   slice group: A subset of the macroblocks or macroblock pairs of a picture. The division of the picture into
        slice groups is a partitioning of the picture. The partitioning is specified by the macroblock to slice group
        map.
3.139   slice group map units: The units of the map unit to slice group map.
3.140   slice header: A part of a coded slice containing the data elements pertaining to the first or all macroblocks
        represented in the slice.
3.141   source: Term used to describe the video material or some of its attributes before encoding.
3.142   SP slice: A slice that is coded using inter prediction from previously-decoded reference pictures, using at
        most one motion vector and reference index to predict the sample values of each block. An SP slice can be
        coded such that its decoded samples can be constructed identically to another SP slice or an SI slice.
3.143   start code prefix: A unique sequence of three bytes equal to 0x000001 embedded in the byte stream as a
        prefix to each NAL unit. The location of a start code prefix can be used by a decoder to identify the beginning
        of a new NAL unit and the end of a previous NAL unit. Emulation of start code prefixes is prevented within
        NAL units by the inclusion of emulation prevention bytes.
3.144   string of data bits (SODB): A sequence of some number of bits representing syntax elements present within
        a raw byte sequence payload prior to the raw byte sequence payload stop bit. Within an SODB, the left-most
        bit is considered to be the first and most significant bit, and the right-most bit is considered to be the last and
        least significant bit.
3.145   sub-macroblock: One quarter of the samples of a macroblock, i.e., an 8x8 luma block and two corresponding
        chroma blocks of which one corner is located at a corner of the macroblock.
3.146   sub-macroblock partition: A block of luma samples and two corresponding blocks of chroma samples
        resulting from a partitioning of a sub-macroblock for inter prediction.
3.147   switching I slice: See SI slice.
3.148   switching P slice: See SP slice.
3.149   syntax element: An element of data represented in the bitstream.
3.150   syntax structure: Zero or more syntax elements present together in the bitstream in a specified order.
3.151   top field: One of two fields that comprise a frame. Each row of a top field is spatially located immediately
        above the corresponding row of the bottom field.
3.152   top macroblock (of a macroblock pair): The macroblock within a macroblock pair that contains the
        samples in the top row of samples for the macroblock pair. For a field macroblock pair, the top macroblock
        represents the samples from the region of the top field of the frame that lie within the spatial region of the
        macroblock pair. For a frame macroblock pair, the top macroblock represents the samples of the frame that
        lie within the top half of the spatial region of the macroblock pair.
3.153   transform coefficient: A scalar quantity, considered to be in a frequency domain, that is associated with a
        particular one-dimensional or two-dimensional frequency index in an inverse transform part of the decoding
        process.




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3.154      transform coefficient level: An integer quantity representing the value associated with a particular two-
           dimensional frequency index in the decoding process prior to scaling for computation of a transform
           coefficient value.
3.155      universal unique identifier (UUID): An identifier that is unique with respect to the space of all universal
           unique identifiers.
3.156      unspecified: The term unspecified, when used in the clauses specifying some values of a particular syntax
           element, indicates that the values have no specified meaning in this Recommendation | International Standard
           and will not have a specified meaning in the future as an integral part of this Recommendation | International
           Standard.
3.157      variable length coding (VLC): A reversible procedure for entropy coding that assigns shorter bit strings to
           symbols expected to be more frequent and longer bit strings to symbols expected to be less frequent.
3.158      zig-zag scan: A specific sequential ordering of transform coefficient levels from (approximately) the lowest
           spatial frequency to the highest. Zig-zag scan is used for transform coefficient levels in frame macroblocks.


4         Abbreviations
For the purposes of this Recommendation | International Standard, the following abbreviations apply.
CABAC         Context-based Adaptive Binary Arithmetic Coding
CAVLC         Context-based Adaptive Variable Length Coding
CBR           Constant Bit Rate
CPB           Coded Picture Buffer
DPB           Decoded Picture Buffer
DUT           Decoder under test
FIFO          First-In, First-Out
HRD           Hypothetical Reference Decoder
HSS           Hypothetical Stream Scheduler
IDR           Instantaneous Decoding Refresh
LSB           Least Significant Bit
MB            Macroblock
MBAFF         Macroblock-Adaptive Frame-Field Coding
MSB           Most Significant Bit
NAL           Network Abstraction Layer
RBSP          Raw Byte Sequence Payload
SEI           Supplemental Enhancement Information
SODB          String Of Data Bits
UUID          Universal Unique Identifier
VBR           Variable Bit Rate
VCL           Video Coding Layer
VLC           Variable Length Coding
VUI           Video Usability Information


5         Conventions
     NOTE – The mathematical operators used in this Specification are similar to those used in the C programming language.
     However, integer division and arithmetic shift operations are specifically defined. Numbering and counting conventions
     generally begin from 0.


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5.1         Arithmetic operators
The following arithmetic operators are defined as follows.
       +              Addition
       –              Subtraction (as a two-argument operator) or negation (as a unary prefix operator)
       *              Multiplication
            y
       x              Exponentiation. Specifies x to the power of y. In other contexts, such notation is used for
                      superscripting not intended for interpretation as exponentiation.
       /              Integer division with truncation of the result toward zero. For example, 7/4 and –7/–4 are truncated
                      to 1 and –7/4 and 7/–4 are truncated to –1.
       ÷              Used to denote division in mathematical equations where no truncation or rounding is intended.
           x
                      Used to denote division in mathematical equations where no truncation or rounding is intended.
           y
            y

       ∑ f (i) The summation of f( i ) with i taking all integer values from x up to and including y.
           i= x

       x%y            Modulus. Remainder of x divided by y, defined only for integers x and y with x >= 0 and y > 0.
When order of precedence is not indicated explicitly by use of parenthesis, the following rules apply:
                –   multiplication and division operations are considered to take place before addition and subtraction;
                –   multiplication and division operations in sequence are evaluated sequentially from left to right;
                –   addition and subtraction operations in sequence are evaluated sequentially from left to right.

5.2         Logical operators
The following logical operators are defined as follows:
       x && y Boolean logical "and" of x and y
       x || y         Boolean logical "or" of x and y
       !              Boolean logical "not"
       x?y:z          If x is TRUE or not equal to 0, evaluates to the value of y; otherwise, evaluates to the value of z

5.3         Relational operators
The following relational operators are defined as follows:
       >              Greater than
       >=             Greater than or equal to
       <              Less than
       <=             Less than or equal to
       ==             Equal to
       !=             Not equal to
When a relational operator is applied to a syntax element or variable that has been assigned the value "na" (not
applicable), the value "na" is treated as a distinct value for the syntax element or variable. The value "na" is considered
not to be equal to any other value.

5.4         Bit-wise operators
The following bit-wise operators are defined as follows:
       &              Bit-wise "and". When operating on integer arguments, operates on a two's complement representation
                      of the integer value. When operating on a binary argument that contains fewer bits than another
                      argument, the shorter argument is extended by adding more significant bits equal to 0.




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       |          Bit-wise "or". When operating on integer arguments, operates on a two's complement representation
                  of the integer value. When operating on a binary argument that contains fewer bits than another
                  argument, the shorter argument is extended by adding more significant bits equal to 0.
       x >> y     Arithmetic right shift of a two’s complement integer representation of x by y binary digits. This
                  function is defined only for positive integer values of y. Bits shifted into the MSBs as a result of the
                  right shift have a value equal to the MSB of x prior to the shift operation.
       x << y     Arithmetic left shift of a two’s complement integer representation of x by y binary digits. This
                  function is defined only for positive integer values of y. Bits shifted into the LSBs as a result of the
                  left shift have a value equal to 0.

5.5        Assignment operators
The following arithmetic operators are defined as follows:
       =          Assignment operator.
       ++         Increment, i.e., x+ + is equivalent to x = x + 1; when used in an array index, evaluates to the value of
                  the variable prior to the increment operation.
       ––         Decrement, i.e., x– – is equivalent to x = x – 1; when used in an array index, evaluates to the value of
                  the variable prior to the decrement operation.
       +=         Increment by amount specified, i.e., x += 3 is equivalent to x = x + 3, and x += (-3) is equivalent
                  to x = x + (-3).
       –=         Decrement by amount specified, i.e., x –= 3 is equivalent to x = x – 3, and x –= (-3) is equivalent
                  to x = x – (-3).

5.6        Range notation
The following notation is used to specify a range of values
       x = y .. z x takes on integer values starting from y to z inclusive, with x, y, and z being integer numbers.



5.7        Mathematical functions
The following mathematical functions are defined as follows:

       Abs( x ) =  x     ; x >= 0
                                                                                                                     (5-1)
                  − x     ; x<0


       Ceil( x ) the smallest integer greater than or equal to x.                                                     (5-2)


       Clip1Y( x ) = Clip3( 0, ( 1 << BitDepthY ) – 1, x )                                                            (5-3)


       Clip1C( x ) = Clip3( 0, ( 1 << BitDepthC ) – 1, x )                                                            (5-4)


                          x ; z < x
       Clip3( x, y, z ) = 
                          y ; z > y                                                                                  (5-5)
                           z ; otherwise
                          


       Floor( x ) the greatest integer less than or equal to x.                                                       (5-6)


                                            (a%(d / b)) * b; e == 0
       InverseRasterScan( a, b, c, d, e ) =                                                                          (5-7)
                                             (a /( d / b)) * c; e == 1

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         Log2( x ) returns the base-2 logarithm of x.                                                                  (5-8)


         Log10( x ) returns the base-10 logarithm of x.                                                                (5-9)


         Median( x, y, z ) = x + y + z – Min( x, Min( y, z ) ) – Max( x, Max( y, z ) )                                (5-10)


                        x ; x <= y
         Min( x, y ) =                                                                                               (5-11)
                        y ; x > y


                            x ; x >= y
         Max( x, y ) =                                                                                               (5-12)
                            y ; x < y


         Round( x ) = Sign( x ) * Floor( Abs( x ) + 0.5 )                                                             (5-13)


         Sign( x ) =  1      ; x >= 0
                                                                                                                     (5-14)
                       − 1    ; x<0


         Sqrt( x ) =    x                                                                                             (5-15)



5.8        Variables, syntax elements, and tables
Syntax elements in the bitstream are represented in bold type. Each syntax element is described by its name (all lower
case letters with underscore characters), its one or two syntax categories, and one or two descriptors for its method of
coded representation. The decoding process behaves according to the value of the syntax element and to the values of
previously decoded syntax elements. When a value of a syntax element is used in the syntax tables or the text, it appears
in regular (i.e., not bold) type.
In some cases the syntax tables may use the values of other variables derived from syntax elements values. Such
variables appear in the syntax tables, or text, named by a mixture of lower case and upper case letter and without any
underscore characters. Variables starting with an upper case letter are derived for the decoding of the current syntax
structure and all depending syntax structures. Variables starting with an upper case letter may be used in the decoding
process for later syntax structures mentioning the originating syntax structure of the variable. Variables starting with a
lower case letter are only used within the subclause in which they are derived.
In some cases, "mnemonic" names for syntax element values or variable values are used interchangeably with their
numerical values. Sometimes "mnemonic" names are used without any associated numerical values. The association of
values and names is specified in the text. The names are constructed from one or more groups of letters separated by an
underscore character. Each group starts with an upper case letter and may contain more upper case letters.
      NOTE – The syntax is described in a manner that closely follows the C-language syntactic constructs.

Functions are described by their names, which are constructed as syntax element names, with left and right round
parentheses including zero or more variable names (for definition) or values (for usage), separated by commas (if more
than one variable).
A one-dimensional array is referred to as a list. A two-dimensional array is referred to as a matrix. Arrays can either be
syntax elements or variables. Subscripts or square parentheses are used for the indexing of arrays. In reference to a
visual depiction of a matrix, the first subscript is used as a row (vertical) index and the second subscript is used as a
column (horizontal) index. The indexing order is reversed when using square parentheses rather than subscripts for
indexing. Thus, an element of a matrix s at horizontal position x and vertical position y may be denoted either as
s[ x, y ] or as syx.
Binary notation is indicated by enclosing the string of bit values by single quote marks. For example, '01000001'
represents an eight-bit string having only its second and its last bits equal to 1.



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Hexadecimal notation, indicated by prefixing the hexadecimal number by "0x", may be used instead of binary notation
when the number of bits is an integer multiple of 4. For example, 0x41 represents an eight-bit string having only its
second and its last bits equal to 1.
Numerical values not enclosed in single quotes and not prefixed by "0x" are decimal values.
A value equal to 0 represents a FALSE condition in a test statement. The value TRUE is represented by any other value
different than zero.

5.9      Text description of logical operations
In the text, a statement of logical operations as would be described in pseudo-code as

         if( condition 0 )
           statement 0
         else if ( condition 1 )
           statement 1
         …
         else /* informative remark on remaining condition */
           statement n


may be described in the following manner:
          ... as follows / ... the following applies.
          –      If condition 0, statement 0
          –      Otherwise, if condition 1, statement 1
          –      …
          –      Otherwise (informative remark on remaining condition), statement n
Each "If...Otherwise, if...Otherwise, ..." statement in the text is introduced with "... as follows" or "... the following
applies" immediately followed by "If ... ". The last condition of the "If...Otherwise, if...Otherwise, ..." is always an
"Otherwise, ...". Interleaved "If...Otherwise, if...Otherwise, ..." statements can be identified by matching "... as follows"
or "... the following applies" with the ending "Otherwise, ...".
In the text, a statement of logical operations as would be described in pseudo-code as

         if( condition 0a && condition 0b )
           statement 0
         else if ( condition 1a | | condition 1b )
           statement 1
         …
         else
           statement n


may be described in the following manner:
         ... as follows / ... the following applies.
          –      If all of the following conditions are true, statement 0
                 –    condition 0a
                 –    condition 0b
          –      Otherwise, if any of the following conditions are true, statement 1
                 –    condition 1a
                 –    condition 1b
          –      …
          –      Otherwise, statement n




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In the text, a statement of logical operations as would be described in pseudo-code as

         if( condition 0 )
           statement 0
         if ( condition 1 )
           statement 1


may be described in the following manner:
          When condition 0, statement 0
          When condition 1, statement 1

5.10     Processes
Processes are used to describe the decoding of syntax elements. A process has a separate specification and invoking. All
syntax elements and upper case variables that pertain to the current syntax structure and depending syntax structures are
available in the process specification and invoking. A process specification may also have a lower case variable
explicitly specified as the input. Each process specification has explicitly specified an output. The output is a variable
that can either be an upper case variable or a lower case variable.
The assignment of variables is specified as follows.
          –    If invoking a process, variables are explicitly assigned to lower case input or output variables of the
               process specification in case these do not have the same name.
          –    Otherwise (when the variables at the invoking and specification have the same name), assignment is
               implied.
In the specification of a process, a specific macroblock may be referred to by the variable name having a value equal to
the address of the specific macroblock.


6       Source, coded, decoded and output data formats, scanning processes, and
        neighbouring relationships

6.1      Bitstream formats
This subclause specifies the relationship between the NAL unit stream and byte stream, either of which are referred to
as the bitstream.
The bitstream can be in one of two formats: the NAL unit stream format or the byte stream format. The NAL unit
stream format is conceptually the more "basic" type. It consists of a sequence of syntax structures called NAL units.
This sequence is ordered in decoding order. There are constraints imposed on the decoding order (and contents) of the
NAL units in the NAL unit stream.
The byte stream format can be constructed from the NAL unit stream format by ordering the NAL units in decoding
order and prefixing each NAL unit with a start code prefix and zero or more zero-valued bytes to form a stream of
bytes. The NAL unit stream format can be extracted from the byte stream format by searching for the location of the
unique start code prefix pattern within this stream of bytes. Methods of framing the NAL units in a manner other than
use of the byte stream format are outside the scope of this Recommendation | International Standard. The byte stream
format is specified in Annex B.

6.2      Source, decoded, and output picture formats
This subclause specifies the relationship between source and decoded frames and fields that is given via the bitstream.
The video source that is represented by the bitstream is a sequence of either or both frames or fields (called collectively
pictures) in decoding order.
The source and decoded pictures (frames or fields) are each comprised of one or more sample arrays:
          –    Luma (Y) only (monochrome), with or without an auxiliary array.
          –    Luma and two Chroma (YCbCr or YCgCo), with or without an auxiliary array.
          –    Green, Blue and Red (GBR, also known as RGB), with or without an auxiliary array.




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         –      Arrays representing other unspecified monochrome or tri-stimulus colour samplings (for example, YZX,
                also known as XYZ), with or without an auxiliary array.
For convenience of notation and terminology in this specification, the variables and terms associated with these arrays
are referred to as luma (or L or Y) and chroma, where the two chroma arrays are referred to as Cb and Cr; regardless of
the actual colour representation method in use. The actual colour representation method in use can be indicated in
syntax that is specified in Annex E. The (monochrome) auxiliary arrays, which may or may not be present as auxiliary
pictures in a coded video sequence, are optional for decoding and can be used for such purposes as alpha blending.
The variables SubWidthC, and SubHeightC are specified in Table 6-1, depending on the chroma format sampling
structure, which is specified through chroma_format_idc. An entry marked as "-" in Table 6-1 denotes an undefined
value for SubWidthC or SubHeightC. Other values of chroma_format_idc, SubWidthC, and SubHeightC may be
specified in the future by ITU-T | ISO/IEC.

                 Table 6-1 – SubWidthC, and SubHeightC values derived from chroma_format_idc

                      chroma_format_idc       Chroma Format         SubWidthC       SubHeightC
                                0                 monochrome               –               –
                                1                     4:2:0                2               2
                                2                     4:2:2                2               1
                                3                     4:4:4                1               1


In monochrome sampling there is only one sample array, which is nominally considered the luma array.
In 4:2:0 sampling, each of the two chroma arrays has half the height and half the width of the luma array.
In 4:2:2 sampling, each of the two chroma arrays has the same height and half the width of the luma array.
In 4:4:4 sampling, each of the two chroma arrays has the same height and width as the luma array.
The width and height of the luma sample arrays are each an integer multiple of 16. In bitstreams using 4:2:0 chroma
sampling, the width and height of chroma sample arrays are each an integer multiple of 8. In bitstreams using 4:2:2
sampling, the width of the chroma sample arrays is an integer multiple of 8 and the height is an integer multiple of 16.
The height of a luma array that is coded as two separate fields or in macroblock-adaptive frame-field coding (see below)
is an integer multiple of 32. In bitstreams using 4:2:0 chroma sampling, the height of each chroma array that is coded as
two separate fields or in macroblock-adaptive frame-field coding (see below) is an integer multiple of 16. The width or
height of pictures output from the decoding process need not be an integer multiple of 16 and can be specified using a
cropping rectangle.
The syntax for the luma and (when present) chroma arrays are ordered such when data for all three colour components
is present, the data for the luma array is first, followed by any data for the Cb array, followed by any data for the Cr
array, unless otherwise specified.
The width of fields coded referring to a specific sequence parameter set is the same as that of frames coded referring to
the same sequence parameter set (see below). The height of fields coded referring to a specific sequence parameter set
is half that of frames coded referring to the same sequence parameter set (see below).
The number of bits necessary for the representation of each of the samples in the luma and chroma arrays in a video
sequence is in the range of 8 to 12, and the number of bits used in the luma array may differ from the number of bits
used in the chroma arrays.
When the value of chroma_format_idc is equal to 1, the nominal vertical and horizontal relative locations of luma and
chroma samples in frames are shown in Figure 6-1. Alternative chroma sample relative locations may be indicated in
video usability information (see Annex E).




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                                                                                   Frame




                                             Guide:
                                             X – Location of luma sample
                                             O – Location of chroma sample

      Figure 6-1 – Nominal vertical and horizontal locations of 4:2:0 luma and chroma samples in a frame




A frame consists of two fields as described below. A coded picture may represent a coded frame or an individual coded
field. A coded video sequence conforming to this Recommendation | International Standard may contain arbitrary
combinations of coded frames and coded fields. The decoding process is also specified in a manner that allows smaller
regions of a coded frame to be coded either as a frame or field region, by use of macroblock-adaptive frame-field
coding.
Source and decoded fields are one of two types: top field or bottom field. When two fields are output at the same time,
or are combined to be used as a reference frame (see below), the two fields (which shall be of opposite parity) are
interleaved. The first (i.e., top), third, fifth, etc. rows of a decoded frame are the top field rows. The second, fourth,
sixth, etc. rows of a decoded frame are the bottom field rows. A top field consists of only the top field rows of a
decoded frame. When the top field or bottom field of a decoded frame is used as a reference field (see below) only the
even rows (for a top field) or the odd rows (for a bottom field) of the decoded frame are used.
When the value of chroma_format_idc is equal to 1, the nominal vertical and horizontal relative locations of luma and
chroma samples in top and bottom fields are shown in Figure 6-2. The nominal vertical sampling relative locations of
the chroma samples in a top field are specified as shifted up by one-quarter luma sample height relative to the
field-sampling grid. The vertical sampling locations of the chroma samples in a bottom field are specified as shifted
down by one-quarter luma sample height relative to the field-sampling grid. Alternative chroma sample relative
locations may be indicated in the video usability information (see Annex E).
   NOTE – The shifting of the chroma samples is in order for these samples to align vertically to the usual location relative to the
   full-frame sampling grid as shown in Figure 6-1.




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     Figure 6-2 – Nominal vertical and horizontal sampling locations of 4:2:0 samples in top and bottom fields




When the value of chroma_format_idc is equal to 2, the chroma samples are co-sited with the corresponding luma
samples and the nominal locations in a frame and in fields are as shown in Figure 6-3 – Nominal vertical and horizontal
locations of 4:2:2 luma and chroma samples in a frameandFigure 6-4, respectively.




       Figure 6-3 – Nominal vertical and horizontal locations of 4:2:2 luma and chroma samples in a frame




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     Figure 6-4 – Nominal vertical and horizontal sampling locations of 4:2:2 samples top and bottom fields




When the value of chroma_format_idc is equal to 3, all array samples are co-sited for all cases of frames and fields and
the nominal locations in a frame and in fields are as shown in Figures 6-5 and 6-6, respectively.




                                                                            Frame




                                         Guide:
                                         X – Location of luma sample
                                         O – Location of chroma sample


      Figure 6-5 – Nominal vertical and horizontal locations of 4:4:4 luma and chroma samples in a frame




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      Figure 6-6 – Nominal vertical and horizontal sampling locations of 4:4:4 samples top and bottom fields




The samples are processed in units of macroblocks. The luma array for each macroblock is 16 samples in both width
and height. The variables MbWidthC and MbHeightC, which specify the width and height, respectively, of the chroma
arrays for each macroblock, are derived as follows.
–     If chroma_format_idc is equal to 0 (monochrome), MbWidthC and MbHeightC are both equal to 0 (as no chroma
      arrays are specified for monochrome video).
–     Otherwise, MbWidthC and MbHeightC are derived as

                  MbWidthC = 16 / SubWidthC                                                                         (6-1)
                  MbHeightC = 16 / SubHeightC                                                                       (6-2)




6.3      Spatial subdivision of pictures and slices
This subclause specifies how a picture is partitioned into slices and macroblocks. Pictures are divided into slices. A
slice is a sequence of macroblocks, or, when macroblock-adaptive frame/field decoding is in use, a sequence of
macroblock pairs.
Each macroblock is comprised of one 16x16 luma array and, when the video format is not monochrome, two
corresponding chroma sample arrays. When macroblock-adaptive frame/field decoding is not in use, each macroblock
represents a spatial rectangular region of the picture. For example, a picture may be divided into two slices as shown in
Figure 6-7.




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                Figure 6-7 – A picture with 11 by 9 macroblocks that is partitioned into two slices




When macroblock-adaptive frame/field decoding is in use, the picture is partitioned into slices containing an integer
number of macroblock pairs as shown in Figure 6-8. Each macroblock pair consists of two macroblocks.




                                                                   A macroblock pair




                       Figure 6-8 – Partitioning of the decoded frame into macroblock pairs




6.4     Inverse scanning processes and derivation processes for neighbours
This subclause specifies inverse scanning processes; i.e., the mapping of indices to locations, and derivation processes
for neighbours.

6.4.1   Inverse macroblock scanning process
Input to this process is a macroblock address mbAddr.
Output of this process is the location ( x, y ) of the upper-left luma sample for the macroblock with address mbAddr
relative to the upper-left sample of the picture.




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The inverse macroblock scanning process is specified as follows.
–    If MbaffFrameFlag is equal to 0,

        x = InverseRasterScan( mbAddr, 16, 16, PicWidthInSamplesL, 0 )                                          (6-3)


        y = InverseRasterScan( mbAddr, 16, 16, PicWidthInSamplesL, 1 )                                          (6-4)

–    Otherwise (MbaffFrameFlag is equal to 1), the following applies.

        xO = InverseRasterScan( mbAddr / 2, 16, 32, PicWidthInSamplesL, 0 )                                     (6-5)


        yO = InverseRasterScan( mbAddr / 2, 16, 32, PicWidthInSamplesL, 1 )                                     (6-6)


        Depending on the current macroblock the following applies.


        –      If the current macroblock is a frame macroblock


               x = xO                                                                                           (6-7)


               y = yO + ( mbAddr % 2 ) * 16                                                                     (6-8)


        –      Otherwise (the current macroblock is a field macroblock),


               x = xO                                                                                           (6-9)


               y = yO + ( mbAddr % 2 )                                                                         (6-10)


6.4.2   Inverse macroblock partition and sub-macroblock partition scanning process
Macroblocks or sub-macroblocks may be partitioned, and the partitions are scanned for inter prediction as shown in
Figure 6-9. The outer rectangles refer to the samples in a macroblock or sub-macroblock, respectively. The rectangles
refer to the partitions. The number in each rectangle specifies the index of the inverse macroblock partition scan or
inverse sub-macroblock partition scan.
The functions MbPartWidth( ), MbPartHeight( ), SubMbPartWidth( ), and SubMbPartHeight( ) describing the width
and height of macroblock partitions and sub-macroblock partitions are specified in Tables 7-13, 7-14, 7-17, and 7-18.
MbPartWidth( ) and MbPartHeight( ) are set to appropriate values for each macroblock, depending on the macroblock
type. SubMbPartWidth( ) and SubMbPartHeight( ) are set to appropriate values for each sub-macroblock of a
macroblock with mb_type equal to P_8x8, P_8x8ref0, or B_8x8, depending on the sub-macroblock type.




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                       1 macroblock partition of    2 macroblock partitions of    2 macroblock partitions of       4 sub-macroblocks of
                       16*16 luma samples and        16*8 luma samples and         8*16 luma samples and           8*8 luma samples and
                     associated chroma samples     associated chroma samples     associated chroma samples      associated chroma samples


                                                                 0                                                        0       1
    Macroblock
                                  0                                                       0        1
     partitions
                                                                 1                                                        2       3



                      1 sub-macroblock partition   2 sub-macroblock partitions    2 sub-macroblock partitions   4 sub-macroblock partitions
                       of 8*8 luma samples and       of 8*4 luma samples and       of 4*8 luma samples and        of 4*4 luma samples and
                     associated chroma samples     associated chroma samples     associated chroma samples      associated chroma samples


    Sub-macroblock                                              0                                                         0       1
       partitions                 0                                                        0      1
                                                                 1                                                        2       3




Figure 6-9 – Macroblock partitions, sub-macroblock partitions, macroblock partition scans, and sub-macroblock
                                               partition scans




6.4.2.1     Inverse macroblock partition scanning process
Input to this process is the index of a macroblock partition mbPartIdx.
Output of this process is the location ( x, y ) of the upper-left luma sample for the macroblock partition mbPartIdx
relative to the upper-left sample of the macroblock.
The inverse macroblock partition scanning process is specified by

           x = InverseRasterScan( mbPartIdx, MbPartWidth( mb_type ), MbPartHeight( mb_type ), 16, 0 )                                         (6-11)


           y = InverseRasterScan( mbPartIdx, MbPartWidth( mb_type ), MbPartHeight( mb_type ), 16, 1 )                                         (6-12)


6.4.2.2     Inverse sub-macroblock partition scanning process
Inputs to this process are the index of a macroblock partition mbPartIdx and the index of a sub-macroblock partition
subMbPartIdx.
Output of this process is the location ( x, y ) of the upper-left luma sample for the sub-macroblock partition
subMbPartIdx relative to the upper-left sample of the sub-macroblock.
The inverse sub-macroblock partition scanning process is specified as follows.
– If mb_type is equal to P_8x8, P_8x8ref0, or B_8x8,

          x = InverseRasterScan( subMbPartIdx, SubMbPartWidth( sub_mb_type[ mbPartIdx ] ),
                                               SubMbPartHeight( sub_mb_type[ mbPartIdx ] ), 8, 0 )                                            (6-13)


          y = InverseRasterScan( subMbPartIdx, SubMbPartWidth( sub_mb_type[ mbPartIdx ] ),
                                               SubMbPartHeight( sub_mb_type[ mbPartIdx ] ), 8, 1 )                                            (6-14)


– Otherwise,

          x = InverseRasterScan( subMbPartIdx, 4, 4, 8, 0 )                                                                                   (6-15)


          y = InverseRasterScan( subMbPartIdx, 4, 4, 8, 1 )                                                                                   (6-16)


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6.4.3     Inverse 4x4 luma block scanning process
Input to this process is the index of a 4x4 luma block luma4x4BlkIdx.
Output of this process is the location ( x, y ) of the upper-left luma sample for the 4x4 luma block with index
luma4x4BlkIdx relative to the upper-left luma sample of the macroblock.
Figure 6-10 shows the scan for the 4x4 luma blocks.

                                                         0       1    4        5

                                                         2       3    6        7

                                                         8       9    12       13

                                                        10       11   14       15


                                           Figure 6-10 – Scan for 4x4 luma blocks




The inverse 4x4 luma block scanning process is specified by

x = InverseRasterScan( luma4x4BlkIdx / 4, 8, 8, 16, 0 ) + InverseRasterScan( luma4x4BlkIdx % 4, 4, 4, 8, 0 )   (6-17)


y = InverseRasterScan( luma4x4BlkIdx / 4, 8, 8, 16, 1 ) + InverseRasterScan( luma4x4BlkIdx % 4, 4, 4, 8, 1 )   (6-18)


6.4.4     Inverse 8x8 luma block scanning process
Input to this process is the index of an 8x8 luma block luma8x8BlkIdx.
Output of this process is the location ( x, y ) of the upper-left luma sample for the 8x8 luma block with index
luma8x8BlkIdx relative to the upper-left luma sample of the macroblock.
Figure 6-11 shows the scan for the 8x8 luma blocks.


                                                             0             1



                                                             2             3



                                           Figure 6-11 – Scan for 8x8 luma blocks




The inverse 8x8 luma block scanning process is specified by

        x = InverseRasterScan( luma8x8BlkIdx, 8, 8, 16, 0 )                                                    (6-19)


        y = InverseRasterScan( luma8x8BlkIdx, 8, 8, 16, 1 )                                                    (6-20)


6.4.5     Derivation process of the availability for macroblock addresses
Input to this process is a macroblock address mbAddr.
Output of this process is the availability of the macroblock mbAddr.
     NOTE – The meaning of availability is determined when this process is invoked.




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The macroblock is marked as available, unless one of the following conditions is true in which case the macroblock is
marked as not available:
–    mbAddr < 0
–    mbAddr > CurrMbAddr
–    the macroblock with address mbAddr belongs to a different slice than the macroblock with address CurrMbAddr

6.4.6    Derivation process for neighbouring macroblock addresses and their availability
This process can only be invoked when MbaffFrameFlag is equal to 0.
The outputs of this process are
–    mbAddrA: the address and availability status of the macroblock to the left of the current macroblock.
–    mbAddrB: the address and availability status of the macroblock above the current macroblock.
–    mbAddrC: the address and availability status of the macroblock above-right of the current macroblock.
–    mbAddrD: the address and availability status of the macroblock above-left of the current macroblock.
Figure 6-12 shows the relative spatial locations of the macroblocks with mbAddrA, mbAddrB, mbAddrC, and
mbAddrD relative to the current macroblock with CurrMbAddr.



                                         mbAddrD     mbAddrB         mbAddrC



                                         mbAddrA     CurrMbAddr




                          Figure 6-12 – Neighbouring macroblocks for a given macroblock




Input to the process in subclause 6.4.5 is mbAddrA = CurrMbAddr – 1 and the output is whether the macroblock
mbAddrA is available. In addition, mbAddrA is marked as not available when CurrMbAddr % PicWidthInMbs is equal
to 0.
Input to the process in subclause 6.4.5 is mbAddrB = CurrMbAddr – PicWidthInMbs and the output is whether the
macroblock mbAddrB is available.
Input to the process in subclause 6.4.5 is mbAddrC = CurrMbAddr – PicWidthInMbs + 1 and the output is whether the
macroblock mbAddrC is available. In addition, mbAddrC is marked as not available when
( CurrMbAddr + 1 ) % PicWidthInMbs is equal to 0.
Input to the process in subclause 6.4.5 is mbAddrD = CurrMbAddr – PicWidthInMbs - 1 and the output is whether the
macroblock mbAddrD is available. In addition, mbAddrD is marked as not available when
CurrMbAddr % PicWidthInMbs is equal to 0.

6.4.7    Derivation process for neighbouring macroblock addresses and their availability in MBAFF frames
This process can only be invoked when MbaffFrameFlag is equal to 1.
The outputs of this process are
–    mbAddrA: the address and availability status of the top macroblock of the macroblock pair to the left of the current
     macroblock pair.
–    mbAddrB: the address and availability status of the top macroblock of the macroblock pair above the current
     macroblock pair.




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–    mbAddrC: the address and availability status of the top macroblock of the macroblock pair above-right of the
     current macroblock pair.
–    mbAddrD: the address and availability status of the top macroblock of the macroblock pair above-left of the
     current macroblock pair.
Figure 6-13 shows the relative spatial locations of the macroblocks with mbAddrA, mbAddrB, mbAddrC, and
mbAddrD relative to the current macroblock with CurrMbAddr.
mbAddrA, mbAddrB, mbAddrC, and mbAddrD have identical values regardless whether the current macroblock is the
top or the bottom macroblock of a macroblock pair.



                                     mbAddrD           mbAddrB            mbAddrC




                                     mbAddrA        CurrMbAddr or


                                                      CurrMbAddr


               Figure 6-13 – Neighbouring macroblocks for a given macroblock in MBAFF frames




Input to the process in subclause 6.4.5 is mbAddrA =2 * ( CurrMbAddr / 2 – 1 ) and the output is whether the
macroblock mbAddrA is available. In addition, mbAddrA is marked as not available when
( CurrMbAddr / 2 ) % PicWidthInMbs is equal to 0.
Input to the process in subclause 6.4.5 is mbAddrB =2 * ( CurrMbAddr / 2 – PicWidthInMbs ) and the output is
whether the macroblock mbAddrB is available.
Input to the process in subclause 6.4.5 is mbAddrC = 2 * ( CurrMbAddr / 2 – PicWidthInMbs + 1 ) and the output is
whether the macroblock mbAddrC is available. In addition, mbAddrC is marked as not available when
( CurrMbAddr / 2 + 1) % PicWidthInMbs is equal to 0.
Input to the process in subclause 6.4.5 is mbAddrD = 2 * ( CurrMbAddr / 2 – PicWidthInMbs - 1 ) and the output is
whether the macroblock mbAddrD is available. In addition, mbAddrD is marked as not available when
( CurrMbAddr / 2 ) % PicWidthInMbs is equal to 0.

6.4.8    Derivation processes for neighbouring macroblocks, blocks, and partitions
Subclause 6.4.8.1 specifies the derivation process for neighbouring macroblocks.
Subclause 6.4.8.2 specifies the derivation process for neighbouring 8x8 luma blocks.
Subclause 6.4.8.3 specifies the derivation process for neighbouring 4x4 luma blocks.
Subclause 6.4.8.4 specifies the derivation process for neighbouring 4x4 chroma blocks.
Subclause 6.4.8.5 specifies the derivation process for neighbouring partitions.
Table 6-2 specifies the values for the difference of luma location ( xD, yD ) for the input and the replacement for N in
mbAddrN, mbPartIdxN, subMbPartIdxN, luma8x8BlkIdxN, luma4x4BlkIdxN, and chroma4x4BlkIdxN for the output.
These input and output assignments are used in subclauses 6.4.8.1 to 6.4.8.5. The variable predPartWidth is specified
when Table 6-2 is referred to.




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              Table 6-2 – Specification of input and output assignments for subclauses 6.4.8.1 to 6.4.8.5

                                             N         xD             yD

                                             A          -1             0

                                             B          0              -1

                                             C   predPartWidth         -1

                                             D          -1             -1



Figure 6-14 illustrates the relative location of the neighbouring macroblocks, blocks, or partitions A, B, C, and D to the
current macroblock, partition, or block, when the current macroblock, partition, or block is in frame coding mode.




          Figure 6-14 – Determination of the neighbouring macroblock, blocks, and partitions (informative)




6.4.8.1    Derivation process for neighbouring macroblocks
Outputs of this process are
–    mbAddrA: the address of the macroblock to the left of the current macroblock and its availability status and
–    mbAddrB: the address of the macroblock above the current macroblock and its availability status.
     mbAddrN (with N being A or B) is derived as follows.
–    The difference of luma location ( xD, yD ) is set according to Table 6-2.
–    The derivation process for neighbouring locations as specified in subclause 6.4.9 is invoked for luma locations
     with ( xN, yN ) equal to ( xD, yD ), and the output is assigned to mbAddrN.

6.4.8.2    Derivation process for neighbouring 8x8 luma block
Input to this process is an 8x8 luma block index luma8x8BlkIdx.
The luma8x8BlkIdx specifies the 8x8 luma blocks of a macroblock in a raster scan.
Outputs of this process are
–    mbAddrA: either equal to CurrMbAddr or the address of the macroblock to the left of the current macroblock and
     its availability status,
–    luma8x8BlkIdxA: the index of the 8x8 luma block to the left of the 8x8 block with index luma8x8BlkIdx and its
     availability status,
–    mbAddrB: either equal to CurrMbAddr or the address of the macroblock above the current macroblock and its
     availability status,
–    luma8x8BlkIdxB: the index of the 8x8 luma block above the 8x8 block with index luma8x8BlkIdx and its
     availability status.




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mbAddrN and luma8x8BlkIdxN (with N being A or B) are derived as follows.
–    The difference of luma location ( xD, yD ) is set according to Table 6-2.
–    The luma location ( xN, yN ) is specified by

          xN = ( luma8x8BlkIdx % 2 ) * 8 + xD                                                                  (6-21)


          yN = ( luma8x8BlkIdx / 2 ) * 8 + yD                                                                  (6-22)

–    The derivation process for neighbouring locations as specified in subclause 6.4.9 is invoked for luma locations
     with ( xN, yN ) as the input and the output is assigned to mbAddrN and ( xW, yW ).
–    The variable luma8x8BlkIdxN is derived as follows.
      –      If mbAddrN is not available, luma8x8BlkIdxN is marked as not available.
      –      Otherwise (mbAddrN is available), the 8x8 luma block in the macroblock mbAddrN covering the luma
             location ( xW, yW ) is assigned to luma8x8BlkIdxN.

6.4.8.3     Derivation process for neighbouring 4x4 luma blocks
Input to this process is a 4x4 luma block index luma4x4BlkIdx.
Outputs of this process are
–    mbAddrA: either equal to CurrMbAddr or the address of the macroblock to the left of the current macroblock and
     its availability status,
–    luma4x4BlkIdxA: the index of the 4x4 luma block to the left of the 4x4 block with index luma4x4BlkIdx and its
     availability status,
–    mbAddrB: either equal to CurrMbAddr or the address of the macroblock above the current macroblock and its
     availability status,
–    luma4x4BlkIdxB: the index of the 4x4 luma block above the 4x4 block with index luma4x4BlkIdx and its
     availability status.
mbAddrN and luma4x4BlkIdxN (with N being A or B) are derived as follows.
–    The difference of luma location ( xD, yD ) is set according to Table 6-2.
–    The inverse 4x4 luma block scanning process as specified in subclause 6.4.3 is invoked with luma4x4BlkIdx as the
     input and ( x, y ) as the output.
–    The luma location ( xN, yN ) is specified by

          xN = x + xD                                                                                          (6-23)


          yN = y + yD                                                                                          (6-24)

–    The derivation process for neighbouring locations as specified in subclause 6.4.9 is invoked for luma locations
     with ( xN, yN ) as the input and the output is assigned to mbAddrN and ( xW, yW ).
–    The variable luma4x4BlkIdxN is derived as follows.
      –      If mbAddrN is not available, luma4x4BlkIdxN is marked as not available.
      –      Otherwise (mbAddrN is available), the 4x4 luma block in the macroblock mbAddrN covering the luma
             location ( xW, yW ) is assigned to luma4x4BlkIdxN.

6.4.8.4     Derivation process for neighbouring 4x4 chroma blocks
Input to this process is a 4x4 chroma block index chroma4x4BlkIdx.
Outputs of this process are
–    mbAddrA (either equal to CurrMbAddr or the address of the macroblock to the left of the current macroblock) and
     its availability status,
–    chroma4x4BlkIdxA (the index of the 4x4 chroma block to the left of the 4x4 chroma block with index
     chroma4x4BlkIdx) and its availability status,



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–    mbAddrB (either equal to CurrMbAddr or the address of the macroblock above the current macroblock) and its
     availability status,
–    chroma4x4BlkIdxB (the index of the 4x4 chroma block above the 4x4 chroma block with index chroma4x4BlkIdx)
     and its availability status.
     mbAddrN and chroma4x4BlkIdxN (with N being A or B) are derived as follows.
–    The difference of chroma location ( xD, yD ) is set according to Table 6-2.
–    Depending on chroma_format_idc, the position ( x, y ) of the upper-left sample of the 4x4 chroma block with
     index chroma4x4BlkIdx is derived as follows
    –        If chroma_format_idc is equal to 1 or 2, the following applies

            x = InverseRasterScan( chroma4x4BlkIdx, 4, 4, 8, 0 )                                                (6-25)


            y = InverseRasterScan( chroma4x4BlkIdx, 4, 4, 8, 1 )                                                (6-26)


    –        Otherwise (chroma_format_idc is equal to 3), the following applies

            x = InverseRasterScan( chroma4x4BlkIdx / 4, 8, 8, 16, 0 ) +
                       InverseRasterScan( chroma4x4BlkIdx % 4, 4, 4, 8, 0 )                                     (6-27)


            y = InverseRasterScan( chroma4x4BlkIdx / 4, 8, 8, 16, 1 ) +
                       InverseRasterScan( chroma4x4BlkIdx % 4, 4, 4, 8, 1 )                                     (6-28)

–    The chroma location ( xN, yN ) is specified by

            xN = x + xD                                                                                         (6-29)


            yN = y + yD                                                                                         (6-30)

–    The derivation process for neighbouring locations as specified in subclause 6.4.9 is invoked for chroma locations
     with ( xN, yN ) as the input and the output is assigned to mbAddrN and ( xW, yW ).
–    The variable chroma4x4BlkIdxN is derived as follows.
        –    If mbAddrN is not available, chroma4x4BlkIdxN is marked as not available.
        –    Otherwise (mbAddrN is available), the 4x4 chroma block in the macroblock mbAddrN covering the chroma
             location ( xW, yW ) is assigned to chroma4x4BlkIdxN.


6.4.8.5     Derivation process for neighbouring partitions
Inputs to this process are
–   a macroblock partition index mbPartIdx
–   a current sub-macroblock type currSubMbType
–   a sub-macroblock partition index subMbPartIdx
Outputs of this process are
–   mbAddrA\mbPartIdxA\subMbPartIdxA: specifying the macroblock or sub-macroblock partition to the left of the
    current  macroblock     and    its    availability      status, or  the    sub-macroblock        partition
    CurrMbAddr\mbPartIdx\subMbPartIdx and its availability status,




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–    mbAddrB\mbPartIdxB\subMbPartIdxB: specifying the macroblock or sub-macroblock partition above the current
     macroblock and its availability status, or the sub-macroblock partition CurrMbAddr\mbPartIdx\subMbPartIdx and
     its availability status,
–    mbAddrC\mbPartIdxC\subMbPartIdxC: specifying the macroblock or sub-macroblock partition to the right-above
     of the current macroblock and its availability status, or the sub-macroblock partition
     CurrMbAddr\mbPartIdx\subMbPartIdx and its availability status,
–    mbAddrD\mbPartIdxD\subMbPartIdxD: specifying the macroblock or sub-macroblock partition to the left-above
     of the current macroblock and its availability status, or the sub-macroblock partition
     CurrMbAddr\mbPartIdx\subMbPartIdx and its availability status.
mbAddrN, mbPartIdxN, and subMbPartIdx (with N being A, B, C, or D) are derived as follows.
–    The inverse macroblock partition scanning process as described in subclause 6.4.2.1 is invoked with mbPartIdx as
     the input and ( x, y ) as the output.
–    The location of the upper-left luma sample inside a macroblock partition ( xS, yS ) is derived as follows.
     –– If mb_type is equal to P_8x8, P_8x8ref0 or B_8x8, the inverse sub-macroblock partition scanning process as
        described in subclause 6.4.2.2 is invoked with subMbPartIdx as the input and ( xS, yS ) as the output.
     –– Otherwise, ( xS, yS ) are set to ( 0, 0 ).
–    The variable predPartWidth in Table 6-2 is specified as follows.
     – If mb_type is equal to P_Skip, B_Skip, or B_Direct_16x16, predPartWidth = 16.
     – Otherwise, if mb_type is equal to B_8x8, the following applies.
        – If currSubMbType is equal to B_Direct_8x8, predPartWidth = 16.
              NOTE 1 – When currSubMbType is equal to B_Direct_8x8 and direct_spatial_mv_pred_flag is equal to 1, the
              predicted motion vector is the predicted motion vector for the complete macroblock.
        – Otherwise, predPartWidth = SubMbPartWidth( sub_mb_type[ mbPartIdx ] ).
     – Otherwise,       if     mb_type       is       equal        to                   P_8x8          or         P_8x8ref0,
       predPartWidth = SubMbPartWidth( sub_mb_type[ mbPartIdx ] ).
     – Otherwise, predPartWidth = MbPartWidth( mb_type ).
–    The difference of luma location ( xD, yD ) is set according to Table 6-2.
–    The neighbouring luma location ( xN, yN ) is specified by

       xN = x + xS + xD                                                                                                (6-31)


       yN = y + yS + yD                                                                                                (6-32)


–    The derivation process for neighbouring locations as specified in subclause 6.4.9 is invoked for luma locations with
     ( xN, yN ) as the input and the output is assigned to mbAddrN and ( xW, yW ).
–    Depending on mbAddrN, the following applies.
     – If  mbAddrN     is   not  available,    the    macroblock                  or     sub-macroblock       partition    –
       mbAddrN\mbPartIdxN\subMbPartIdxN is marked as not available.
     – Otherwise (mbAddrN is available), the following applies.
         – The macroblock partition in the macroblock mbAddrN covering the luma location ( xW, yW ) is assigned
           to mbPartIdxN and the sub-macroblock partition inside the macroblock partition mbPartIdxN covering the
           sample ( xW, yW ) in the macroblock mbAddrN is assigned to subMbPartIdxN.
         – When the partition given by mbPartIdxN and subMbPartIdxN is not yet decoded, the macroblock partition
           mbPartIdxN and the sub-macroblock partition subMbPartIdxN are marked as not available.
         NOTE 2 – The latter condition is, for example, the case when mbPartIdx = 2, subMbPartIdx = 3, xD = 4, yD = -1, i.e.,
         when neighbour C of the last 4x4 luma block of the third sub-macroblock is requested.




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6.4.9     Derivation process for neighbouring locations
Input to this process is a luma or chroma location ( xN, yN ) expressed relative to the upper left corner of the current
macroblock.
Outputs of this process are
–   mbAddrN: either equal to CurrMbAddr or to the address of neighbouring macroblock that contains (xN, yN) and its
    availability status,
–   ( xW, yW ): the location (xN, yN) expressed relative to the upper-left corner of the macroblock mbAddrN (rather
    than relative to the upper-left corner of the current macroblock).
Let maxW and maxH be variables specifying maximum values of the location components xN, xW, and yN, yW,
respectively. maxW and maxH are derived as follows.
–   If this process is invoked for neighbouring luma locations,

          maxW = maxH = 16                                                                                        (6-33)


–   Otherwise (this process is invoked for neighbouring chroma locations),

          maxW = MbWidthC                                                                                         (6-34)


          maxH = MbHeightC                                                                                        (6-35)


Depending on the variable MbaffFrameFlag, the neighbouring locations are derived as follows.
–   If MbaffFrameFlag is equal to 0, the specification for neighbouring locations in fields and non-MBAFF frames as
    described in subclause 6.4.9.1 is applied.
–   Otherwise (MbaffFrameFlag is equal to 1), the specification for neighbouring locations in MBAFF frames as
    described in subclause 6.4.9.2 is applied.

6.4.9.1   Specification for neighbouring locations in fields and non-MBAFF frames
The specifications in this subclause are applied when MbaffFrameFlag is equal to 0.
The derivation process for neighbouring macroblock addresses and their availability in subclause 6.4.6 is invoked with
mbAddrA, mbAddrB, mbAddrC, and mbAddrD as well as their availability status as the output.
Table 6-3 specifies mbAddrN depending on ( xN, yN ).

                                       Table 6-3 – Specification of mbAddrN

                              xN                 yN                 mbAddrN
                              <0                 <0                 mbAddrD
                              <0                 0 .. maxH - 1      mbAddrA
                              0 .. maxW - 1      <0                 mbAddrB
                              0 .. maxW - 1      0 .. maxH - 1      CurrMbAddr
                              > maxW - 1         <0                 mbAddrC
                              > maxW - 1         0 .. maxH - 1      not available
                                                 > maxH - 1         not available


The neighbouring location ( xW, yW ) relative to the upper-left corner of the macroblock mbAddrN is derived as

          xW = ( xN + maxW ) % maxW                                                                               (6-36)


          yW = ( yN + maxH ) % maxH                                                                               (6-37)


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6.4.9.2   Specification for neighbouring locations in MBAFF frames
The specifications in this subclause are applied when MbaffFrameFlag is equal to 1.
The derivation process for neighbouring macroblock addresses and their availability in subclause 6.4.7 is invoked with
mbAddrA, mbAddrB, mbAddrC, and mbAddrD as well as their availability status as the output.
Table 6-4 specifies the macroblock addresses mbAddrN and yM in two ordered steps:
1.   Specification of a macroblock address mbAddrX depending on ( xN, yN ) and the following variables:
     –    The variable currMbFrameFlag is derived as follows.
          –      If the macroblock with address CurrMbAddr is a frame macroblock, currMbFrameFlag is set equal to 1,
          –      Otherwise (the macroblock with address CurrMbAddr is a field macroblock), currMbFrameFlag is set
                 equal to 0.
     –    The variable mbIsTopMbFlag is derived as follows.
          –      If the macroblock with address CurrMbAddr is a top macroblock (CurrMbAddr % 2 is equal to 0),
                 mbIsTopMbFlag is set equal to 1;
          –      Otherwise (the macroblock with address CurrMbAddr is a bottom macroblock, CurrMbAddr % 2 is
                 equal to 1), mbIsTopMbFlag is set equal to 0.
2.   Depending on the availability of mbAddrX, the following applies.
     –    If mbAddrX is not available, mbAddrN is marked as not available.
     –    Otherwise (mbAddrX is available), mbAddrN is marked as available and Table 6-4 specifies mbAddrN and
          yM depending on ( xN, yN ), currMbFrameFlag, mbIsTopMbFlag, and the variable mbAddrXFrameFlag,
          which is derived as follows.
          –      If the macroblock mbAddrX is a frame macroblock, mbAddrXFrameFlag is set equal to 1,
          –      Otherwise (the macroblock mbAddrX is a field macroblock), mbAddrXFrameFlag is set equal to 0.
Unspecified values (na) of the above flags in Table 6-4 indicate that the value of the corresponding flag is not relevant
for the current table rows.




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                                                  Table 6-4 – Specification of mbAddrN and yM




                                                                                  mbAddrXFrameFlag



                                                                                                            additional condition
                                currMbFrameFlag
                                                  mbIsTopMbFlag


                                                                       mbAddrX




                                                                                                                                       mbAddrN




                                                                                                                                                         yM
        xN




                      yN



                                                  1               mbAddrD                                               mbAddrD + 1 yN
                                1                                                 1                                     mbAddrA        yN
                                                  0               mbAddrA
                                                                                  0                                     mbAddrA + 1 ( yN + maxH ) >> 1
  <0            <0                                                                1                                     mbAddrD + 1 2*yN
                                                  1               mbAddrD
                                0                                                 0                                     mbAddrD        yN
                                                  0               mbAddrD                                               mbAddrD + 1 yN
                                                                                  1                                     mbAddrA        yN
                                                  1               mbAddrA                            yN % 2 = = 0       mbAddrA        yN >> 1
                                                                                  0
                                                                                                     yN % 2 != 0        mbAddrA + 1 yN >> 1
                                1                                                 1                                     mbAddrA + 1 yN
                                                  0               mbAddrA                            yN % 2 = = 0       mbAddrA        ( yN + maxH ) >> 1
                                                                                  0                  yN % 2 != 0        mbAddrA + 1 ( yN + maxH ) >> 1
  <0            0 .. maxH - 1                                                                        yN < ( maxH / 2 ) mbAddrA         yN <<1
                                                                                  1
                                                  1               mbAddrA                            yN >= ( maxH / 2 ) mbAddrA + 1 ( yN <<1 ) - maxH
                                                                                  0                                     mbAddrA        yN
                                0                                                                    yN < ( maxH / 2 ) mbAddrA         ( yN <<1 ) + 1
                                                  0               mbAddrA         1                  yN >= ( maxH / 2 ) mbAddrA + 1 ( yN <<1 ) + 1 – maxH
                                                                                  0                                     mbAddrA + 1 yN
                                                  1               mbAddrB                                               mbAddrB + 1 yN
                                1                 0               CurrMbAddr                                            CurrMbAddr - 1 yN
  0 .. maxW – 1 < 0                                                               1                                     mbAddrB + 1 2 * yN
                                                  1               mbAddrB
                                0                                                 0                                     mbAddrB        yN
                                                  0               mbAddrB                                               mbAddrB + 1 yN
  0 .. maxW – 1 0 .. maxH - 1                                     CurrMbAddr                                            CurrMbAddr     yN
                                                  1               mbAddrC                                               mbAddrC + 1 yN
                                1                 0               not available                                         not available  na
  > maxW – 1 <0                                                                   1                                     mbAddrC + 1 2 * yN
                                                  1               mbAddrC
                                0                                                 0                                     mbAddrC        yN
                                                  0               mbAddrC                                               mbAddrC + 1 yN
  > maxW – 1 0 .. maxH - 1                                        not available                                         not available  na
             > maxH - 1                                           not available                                         not available  na


The neighbouring luma location ( xW, yW ) relative to the upper-left corner of the macroblock mbAddrN is derived as

         xW = ( xN + maxW ) % maxW                                                                                                                               (6-38)


         yW = ( yM + maxH ) % maxH                                                                                                                               (6-39)




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7          Syntax and semantics
7.1        Method of specifying syntax in tabular form
The syntax tables specify a superset of the syntax of all allowed bitstreams. Additional constraints on the syntax may be
specified, either directly or indirectly, in other clauses.
      NOTE – An actual decoder should implement means for identifying entry points into the bitstream and means to identify and
      handle non-conforming bitstreams. The methods for identifying and handling errors and other such situations are not specified
      here.
The following table lists examples of pseudo code used to describe the syntax. When syntax_element appears, it
specifies that a syntax element is parsed from the bitstream and the bitstream pointer is advanced to the next position
beyond the syntax element in the bitstream parsing process.
                                                                                                       C    Descriptor
            /* A statement can be a syntax element with an associated syntax category and
            descriptor or can be an expression used to specify conditions for the existence,
            type, and quantity of syntax elements, as in the following two examples */
            syntax_element                                                                             3    ue(v)
            conditioning statement

            /* A group of statements enclosed in curly brackets is a compound statement and
            is treated functionally as a single statement. */
            {
                statement
                statement
                …
            }

            /* A “while” structure specifies a test of whether a condition is true, and if true,
            specifies evaluation of a statement (or compound statement) repeatedly until the
            condition is no longer true */
            while( condition )
               statement

            /* A “do … while” structure specifies evaluation of a statement once, followed by
            a test of whether a condition is true, and if true, specifies repeated evaluation of
            the statement until the condition is no longer true */
            do
               statement
            while( condition )

            /* An “if … else” structure specifies a test of whether a condition is true, and if
            the condition is true, specifies evaluation of a primary statement, otherwise,
            specifies evaluation of an alternative statement. The “else” part of the structure
            and the associated alternative statement is omitted if no alternative statement
            evaluation is needed */
            if( condition )
                primary statement
            else
                alternative statement

            /* A “for” structure specifies evaluation of an initial statement, followed by a test
            of a condition, and if the condition is true, specifies repeated evaluation of a
            primary statement followed by a subsequent statement until the condition is no
            longer true. */
            for( initial statement; condition; subsequent statement )
               primary statement


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7.2       Specification of syntax functions, categories, and descriptors
The functions presented here are used in the syntactical description. These functions assume the existence of a bitstream
pointer with an indication of the position of the next bit to be read by the decoding process from the bitstream.
byte_aligned( ) is specified as follows.
      –   If the current position in the bitstream is on a byte boundary, i.e., the next bit in the bitstream is the first bit in a
          byte, the return value of byte_aligned( ) is equal to TRUE.
      –   Otherwise, the return value of byte_aligned( ) is equal to FALSE.
more_data_in_byte_stream( ), which is used only in the byte stream NAL unit syntax structure specified in Annex B, is
specified as follows.
      –   If more data follow in the byte stream, the return value of more_data_in_byte_stream( ) is equal to TRUE.
      –   Otherwise, the return value of more_data_in_byte_stream( ) is equal to FALSE.
more_rbsp_data( ) is specified as follows.
      –   If there is more data in an RBSP before rbsp_trailing_bits( ), the return value of more_rbsp_data( ) is equal to
          TRUE.
      –   Otherwise, the return value of more_rbsp_data( ) is equal to FALSE.
      The method for enabling determination of whether there is more data in the RBSP is specified by the application
      (or in Annex B for applications that use the byte stream format).
more_rbsp_trailing_data( ) is specified as follows.
      –   If there is more data in an RBSP, the return value of more_rbsp_trailing_data( ) is equal to TRUE.
      –   Otherwise, the return value of more_rbsp_trailing_data( ) is equal to FALSE.
next_bits( n ) provides the next bits in the bitstream for comparison purposes, without advancing the bitstream pointer.
Provides a look at the next n bits in the bitstream with n being its argument. When used within the byte stream as
specified in Annex B, next_bits( n ) returns a value of 0 if fewer than n bits remain within the byte stream.
read_bits( n ) reads the next n bits from the bitstream and advances the bitstream pointer by n bit positions. When n is
equal to 0, read_bits( n ) is specified to return a value equal to 0 and to not advance the bitstream pointer.
Categories (labelled in the table as C) specify the partitioning of slice data into at most three slice data partitions. Slice
data partition A contains all syntax elements of category 2. Slice data partition B contains all syntax elements of
category 3. Slice data partition C contains all syntax elements of category 4. The meaning of other category values is
not specified. For some syntax elements, two category values, separated by a vertical bar, are used. In these cases, the
category value to be applied is further specified in the text. For syntax structures used within other syntax structures, the
categories of all syntax elements found within the included syntax structure are listed, separated by a vertical bar. A
syntax element or syntax structure with category marked as "All" is present within all syntax structures that include that
syntax element or syntax structure. For syntax structures used within other syntax structures, a numeric category value
provided in a syntax table at the location of the inclusion of a syntax structure containing a syntax element with
category marked as "All" is considered to apply to the syntax elements with category "All".
The following descriptors specify the parsing process of each syntax element. For some syntax elements, two
descriptors, separated by a vertical bar, are used. In these cases, the left descriptors apply when
entropy_coding_mode_flag is equal to 0 and the right descriptor applies when entropy_coding_mode_flag is equal to 1.
      –   ae(v): context-adaptive arithmetic entropy-coded syntax element. The parsing process for this descriptor is
          specified in subclause 9.3.
      –   b(8): byte having any pattern of bit string (8 bits). The parsing process for this descriptor is specified by the
          return value of the function read_bits( 8 ).
      –   ce(v): context-adaptive variable-length entropy-coded syntax element with the left bit first. The parsing process
          for this descriptor is specified in subclause 9.2.
      –   f(n): fixed-pattern bit string using n bits written (from left to right) with the left bit first. The parsing process
          for this descriptor is specified by the return value of the function read_bits( n ).
      –   i(n): signed integer using n bits. When n is "v" in the syntax table, the number of bits varies in a manner
          dependent on the value of other syntax elements. The parsing process for this descriptor is specified by the

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          return value of the function read_bits( n ) interpreted as a two’s complement integer representation with most
          significant bit written first.
      –   me(v): mapped Exp-Golomb-coded syntax element with the left bit first. The parsing process for this descriptor
          is specified in subclause 9.1.
      –   se(v): signed integer Exp-Golomb-coded syntax element with the left bit first. The parsing process for this
          descriptor is specified in subclause 9.1.
      –   te(v): truncated Exp-Golomb-coded syntax element with left bit first. The parsing process for this descriptor is
          specified in subclause 9.1.
      –   u(n): unsigned integer using n bits. When n is "v" in the syntax table, the number of bits varies in a manner
          dependent on the value of other syntax elements. The parsing process for this descriptor is specified by the
          return value of the function read_bits( n ) interpreted as a binary representation of an unsigned integer with
          most significant bit written first.
      –   ue(v): unsigned integer Exp-Golomb-coded syntax element with the left bit first. The parsing process for this
          descriptor is specified in subclause 9.1.

7.3       Syntax in tabular form
7.3.1     NAL unit syntax


          nal_unit( NumBytesInNALunit ) {                                                     C      Descriptor
              forbidden_zero_bit                                                              All    f(1)
              nal_ref_idc                                                                     All    u(2)
              nal_unit_type                                                                   All    u(5)
              NumBytesInRBSP = 0
              for( i = 1; i < NumBytesInNALunit; i++ ) {
                 if( i + 2 < NumBytesInNALunit && next_bits( 24 ) = = 0x000003 ) {
                     rbsp_byte[ NumBytesInRBSP++ ]                                            All    b(8)
                     rbsp_byte[ NumBytesInRBSP++ ]                                            All    b(8)
                     i += 2
                     emulation_prevention_three_byte /* equal to 0x03 */                      All    f(8)
                 } else
                     rbsp_byte[ NumBytesInRBSP++ ]                                            All    b(8)
              }
          }




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7.3.2     Raw byte sequence payloads and RBSP trailing bits syntax

7.3.2.1   Sequence parameter set RBSP syntax


          seq_parameter_set_rbsp( ) {                                                            C   Descriptor
            profile_idc                                                                          0   u(8)
            constraint_set0_flag                                                                 0   u(1)
            constraint_set1_flag                                                                 0   u(1)
            constraint_set2_flag                                                                 0   u(1)
            constraint_set3_flag                                                                 0   u(1)
            reserved_zero_4bits /* equal to 0 */                                                 0   u(4)
            level_idc                                                                            0   u(8)
            seq_parameter_set_id                                                                 0   ue(v)
            if( profile_idc = = 100 | | profile_idc = = 110 | |
                 profile_idc = = 122 | | profile_idc = = 144 ) {
                chroma_format_idc                                                                0   ue(v)
                if( chroma_format_idc = = 3 )
                    residual_colour_transform_flag                                               0   u(1)
                bit_depth_luma_minus8                                                            0   ue(v)
                bit_depth_chroma_minus8                                                          0   ue(v)
                qpprime_y_zero_transform_bypass_flag                                             0   u(1)
                seq_scaling_matrix_present_flag                                                  0   u(1)
                if( seq_scaling_matrix_present_flag )
                    for( i = 0; i < 8; i++ ) {
                       seq_scaling_list_present_flag[ i ]                                        0   u(1)
                       if( seq_scaling_list_present_flag[ i ] )
                           if( i < 6 )
                               scaling_list( ScalingList4x4[ i ], 16,                            0
                                             UseDefaultScalingMatrix4x4Flag[ i ])
                           else
                               scaling_list( ScalingList8x8[ i – 6 ], 64,                        0
                                             UseDefaultScalingMatrix8x8Flag[ i – 6 ] )
                    }
            }
            log2_max_frame_num_minus4                                                            0   ue(v)
            pic_order_cnt_type                                                                   0   ue(v)
            if( pic_order_cnt_type = = 0 )
               log2_max_pic_order_cnt_lsb_minus4                                                 0   ue(v)
            else if( pic_order_cnt_type = = 1 ) {
                delta_pic_order_always_zero_flag                                                 0   u(1)
                offset_for_non_ref_pic                                                           0   se(v)
                offset_for_top_to_bottom_field                                                   0   se(v)
                num_ref_frames_in_pic_order_cnt_cycle                                            0   ue(v)
                for( i = 0; i < num_ref_frames_in_pic_order_cnt_cycle; i++ )
                   offset_for_ref_frame[ i ]                                                     0   se(v)
            }
            num_ref_frames                                                                       0   ue(v)
            gaps_in_frame_num_value_allowed_flag                                                 0   u(1)
            pic_width_in_mbs_minus1                                                              0   ue(v)
            pic_height_in_map_units_minus1                                                       0   ue(v)


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             frame_mbs_only_flag                                                            0     u(1)
             if( !frame_mbs_only_flag )
                 mb_adaptive_frame_field_flag                                               0     u(1)
             direct_8x8_inference_flag                                                      0     u(1)
             frame_cropping_flag                                                            0     u(1)
             if( frame_cropping_flag ) {
                 frame_crop_left_offset                                                     0     ue(v)
                 frame_crop_right_offset                                                    0     ue(v)
                 frame_crop_top_offset                                                      0     ue(v)
                 frame_crop_bottom_offset                                                   0     ue(v)
             }
             vui_parameters_present_flag                                                    0     u(1)
             if( vui_parameters_present_flag )
                 vui_parameters( )                                                          0
             rbsp_trailing_bits( )                                                          0
         }



7.3.2.1.1 Scaling list syntax


         scaling_list( scalingList, sizeOfScalingList, useDefaultScalingMatrixFlag ) {      C     Descriptor
            lastScale = 8
            nextScale = 8
            for( j = 0; j < sizeOfScalingList; j++ ) {
               if( nextScale != 0 ) {
                   delta_scale                                                              0|1   se(v)
                   nextScale = ( lastScale + delta_scale + 256 ) % 256
                   useDefaultScalingMatrixFlag = ( j = = 0 && nextScale = = 0 )
                 }
                 scalingList[ j ] = ( nextScale = = 0 ) ? lastScale : nextScale
                 lastScale = scalingList[ j ]
             }
         }

7.3.2.1.2 Sequence parameter set extension RBSP syntax


         seq_parameter_set_extension_rbsp( ) {                                              C     Descriptor
             seq_parameter_set_id                                                           10    ue(v)
             aux_format_idc                                                                 10    ue(v)
             if( aux_format_idc != 0 ) {
                 bit_depth_aux_minus8                                                       10    ue(v)
                 alpha_incr_flag                                                            10    u(1)
                 alpha_opaque_value                                                         10    u(v)
                 alpha_transparent_value                                                    10    u(v)
             }
             additional_extension_flag                                                      10    u(1)
             rbsp_trailing_bits()                                                           10
         }



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7.3.2.2   Picture parameter set RBSP syntax


          pic_parameter_set_rbsp( ) {                                                      C    Descriptor
            pic_parameter_set_id                                                           1    ue(v)
            seq_parameter_set_id                                                           1    ue(v)
            entropy_coding_mode_flag                                                       1    u(1)
            pic_order_present_flag                                                         1    u(1)
            num_slice_groups_minus1                                                        1    ue(v)
            if( num_slice_groups_minus1 > 0 ) {
                slice_group_map_type                                                        1   ue(v)
                if( slice_group_map_type = = 0 )
                    for( iGroup = 0; iGroup <= num_slice_groups_minus1; iGroup++ )
                       run_length_minus1[ iGroup ]                                          1   ue(v)
                else if( slice_group_map_type = = 2 )
                    for( iGroup = 0; iGroup < num_slice_groups_minus1; iGroup++ ) {
                       top_left[ iGroup ]                                                   1   ue(v)
                       bottom_right[ iGroup ]                                               1   ue(v)
                    }
                else if( slice_group_map_type = = 3 | |
                          slice_group_map_type = = 4 | |
                          slice_group_map_type = = 5 ) {
                    slice_group_change_direction_flag                                       1   u(1)
                    slice_group_change_rate_minus1                                          1   ue(v)
                } else if( slice_group_map_type = = 6 ) {
                    pic_size_in_map_units_minus1                                            1   ue(v)
                    for( i = 0; i <= pic_size_in_map_units_minus1; i++ )
                       slice_group_id[ i ]                                                  1   u(v)
                }
            }
            num_ref_idx_l0_active_minus1                                                    1   ue(v)
            num_ref_idx_l1_active_minus1                                                    1   ue(v)
            weighted_pred_flag                                                              1   u(1)
            weighted_bipred_idc                                                             1   u(2)
            pic_init_qp_minus26 /* relative to 26 */                                        1   se(v)
            pic_init_qs_minus26 /* relative to 26 */                                        1   se(v)
            chroma_qp_index_offset                                                          1   se(v)
            deblocking_filter_control_present_flag                                          1   u(1)
            constrained_intra_pred_flag                                                     1   u(1)
            redundant_pic_cnt_present_flag                                                  1   u(1)
            if( more_rbsp_data( ) ) {
                transform_8x8_mode_flag                                                     1   u(1)
                pic_scaling_matrix_present_flag                                             1   u(1)
                if( pic_scaling_matrix_present_flag )
                    for( i = 0; i < 6 + 2* transform_8x8_mode_flag; i++ ) {
                       pic_scaling_list_present_flag[ i ]                                   1   u(1)
                       if( pic_scaling_list_present_flag[ i ] )
                           if( i < 6 )



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                            scaling_list( ScalingList4x4[ i ], 16,                         1
                                          UseDefaultScalingMatrix4x4Flag[ i ] )
                         else
                            scaling_list( ScalingList8x8[ i – 6 ], 64,                     1
                                          UseDefaultScalingMatrix8x8Flag[ i – 6 ] )
                   }
                second_chroma_qp_index_offset                                              1   se(v)
              }
              rbsp_trailing_bits( )                                                        1
          }



7.3.2.3   Supplemental enhancement information RBSP syntax


          sei_rbsp( ) {                                                                   C    Descriptor
             do
                sei_message( )                                                            5
             while( more_rbsp_data( ) )
             rbsp_trailing_bits( )                                                        5
          }



7.3.2.3.1 Supplemental enhancement information message syntax


          sei_message( ) {                                                                C    Descriptor
             payloadType = 0
             while( next_bits( 8 ) = = 0xFF ) {
               ff_byte /* equal to 0xFF */                                                5    f(8)
               payloadType += 255
             }
              last_payload_type_byte                                                      5    u(8)
              payloadType += last_payload_type_byte
              payloadSize = 0
              while( next_bits( 8 ) = = 0xFF ) {
                 ff_byte /* equal to 0xFF */                                              5    f(8)
                 payloadSize += 255
              }
              last_payload_size_byte                                                      5    u(8)
              payloadSize += last_payload_size_byte
              sei_payload( payloadType, payloadSize )                                     5
          }




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7.3.2.4   Access unit delimiter RBSP syntax


          access_unit_delimiter_rbsp( ) {                                                     C     Descriptor
              primary_pic_type                                                                6     u(3)
              rbsp_trailing_bits( )                                                           6
          }



7.3.2.5   End of sequence RBSP syntax


          end_of_seq_rbsp( ) {                                                                C     Descriptor
          }



7.3.2.6   End of stream RBSP syntax


          end_of_stream_rbsp( ) {                                                             C     Descriptor
          }



7.3.2.7   Filler data RBSP syntax


          filler_data_rbsp( ) {                                                               C     Descriptor
              while( next_bits( 8 ) = = 0xFF )
                 ff_byte /* equal to 0xFF */                                                   9    f(8)
              rbsp_trailing_bits( )                                                            9
          }



7.3.2.8   Slice layer without partitioning RBSP syntax


          slice_layer_without_partitioning_rbsp( ) {                                         C      Descriptor
             slice_header( )                                                                 2
             slice_data( ) /* all categories of slice_data( ) syntax */                    2|3|4
             rbsp_slice_trailing_bits( )                                                     2
          }



7.3.2.9   Slice data partition RBSP syntax

7.3.2.9.1 Slice data partition A RBSP syntax


          slice_data_partition_a_layer_rbsp( ) {                                              C     Descriptor
             slice_header( )                                                                   2
              slice_id                                                                        All   ue(v)
              slice_data( ) /* only category 2 parts of slice_data( ) syntax */                2
              rbsp_slice_trailing_bits( )                                                      2
          }




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7.3.2.9.2 Slice data partition B RBSP syntax


        slice_data_partition_b_layer_rbsp( ) {                                            C     Descriptor
            slice_id                                                                      All   ue(v)
            if( redundant_pic_cnt_present_flag )
               redundant_pic_cnt                                                          All   ue(v)
            slice_data( ) /* only category 3 parts of slice_data( ) syntax */              3
            rbsp_slice_trailing_bits( )                                                    3
        }



7.3.2.9.3 Slice data partition C RBSP syntax


        slice_data_partition_c_layer_rbsp( ) {                                            C     Descriptor
            slice_id                                                                      All   ue(v)
            if( redundant_pic_cnt_present_flag )
               redundant_pic_cnt                                                          All   ue(v)
            slice_data( ) /* only category 4 parts of slice_data( ) syntax */              4
            rbsp_slice_trailing_bits( )                                                    4
        }



7.3.2.10 RBSP slice trailing bits syntax


        rbsp_slice_trailing_bits( ) {                                                     C     Descriptor
           rbsp_trailing_bits( )                                                          All
           if( entropy_coding_mode_flag )
               while( more_rbsp_trailing_data( ) )
                 cabac_zero_word /* equal to 0x0000 */                                    All   f(16)
        }



7.3.2.11 RBSP trailing bits syntax


        rbsp_trailing_bits( ) {                                                           C     Descriptor
           rbsp_stop_one_bit /* equal to 1 */                                             All   f(1)
           while( !byte_aligned( ) )
             rbsp_alignment_zero_bit /* equal to 0 */                                     All   f(1)
        }




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7.3.3   Slice header syntax


        slice_header( ) {                                                                    C    Descriptor
          first_mb_in_slice                                                                  2    ue(v)
          slice_type                                                                         2    ue(v)
          pic_parameter_set_id                                                               2    ue(v)
          frame_num                                                                          2    u(v)
          if( !frame_mbs_only_flag ) {
             field_pic_flag                                                                  2    u(1)
             if( field_pic_flag )
                bottom_field_flag                                                            2    u(1)
          }
          if( nal_unit_type = = 5 )
              idr_pic_id                                                                     2    ue(v)
          if( pic_order_cnt_type = = 0 ) {
             pic_order_cnt_lsb                                                               2    u(v)
             if( pic_order_present_flag && !field_pic_flag )
                delta_pic_order_cnt_bottom                                                   2    se(v)
          }
          if( pic_order_cnt_type = = 1 && !delta_pic_order_always_zero_flag ) {
              delta_pic_order_cnt[ 0 ]                                                       2    se(v)
              if( pic_order_present_flag && !field_pic_flag )
                  delta_pic_order_cnt[ 1 ]                                                   2    se(v)
          }
          if( redundant_pic_cnt_present_flag )
              redundant_pic_cnt                                                              2    ue(v)
          if( slice_type = = B )
              direct_spatial_mv_pred_flag                                                    2    u(1)
          if( slice_type = = P | | slice_type = = SP | | slice_type = = B ) {
             num_ref_idx_active_override_flag                                                2    u(1)
             if( num_ref_idx_active_override_flag ) {
                num_ref_idx_l0_active_minus1                                                 2    ue(v)
                if( slice_type = = B )
                   num_ref_idx_l1_active_minus1                                              2    ue(v)
              }
          }
          ref_pic_list_reordering( )                                                         2
          if( ( weighted_pred_flag && ( slice_type = = P | | slice_type = = SP ) ) | |
              ( weighted_bipred_idc = = 1 && slice_type = = B ) )
              pred_weight_table( )                                                           2
          if( nal_ref_idc != 0 )
              dec_ref_pic_marking( )                                                         2
          if( entropy_coding_mode_flag && slice_type != I && slice_type != SI )
              cabac_init_idc                                                                 2    ue(v)
          slice_qp_delta                                                                     2    se(v)
          if( slice_type = = SP | | slice_type = = SI ) {
              if( slice_type = = SP )
                sp_for_switch_flag                                                           2    u(1)



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                  slice_qs_delta                                                      2   se(v)
              }
              if( deblocking_filter_control_present_flag ) {
                  disable_deblocking_filter_idc                                       2   ue(v)
                  if( disable_deblocking_filter_idc != 1 ) {
                      slice_alpha_c0_offset_div2                                      2   se(v)
                      slice_beta_offset_div2                                          2   se(v)
                  }
              }
              if( num_slice_groups_minus1 > 0 &&
                  slice_group_map_type >= 3 && slice_group_map_type <= 5)
                  slice_group_change_cycle                                            2   u(v)
          }



7.3.3.1   Reference picture list reordering syntax


          ref_pic_list_reordering( ) {                                               C    Descriptor
             if( slice_type != I && slice_type != SI ) {
                  ref_pic_list_reordering_flag_l0                                    2    u(1)
                  if( ref_pic_list_reordering_flag_l0 )
                      do {
                        reordering_of_pic_nums_idc                                   2    ue(v)
                        if( reordering_of_pic_nums_idc = = 0 | |
                            reordering_of_pic_nums_idc = = 1 )
                            abs_diff_pic_num_minus1                                  2    ue(v)
                        else if( reordering_of_pic_nums_idc = = 2 )
                           long_term_pic_num                                         2    ue(v)
                      } while( reordering_of_pic_nums_idc != 3 )
              }
              if( slice_type = = B ) {
                  ref_pic_list_reordering_flag_l1                                    2    u(1)
                  if( ref_pic_list_reordering_flag_l1 )
                      do {
                        reordering_of_pic_nums_idc                                   2    ue(v)
                        if( reordering_of_pic_nums_idc = = 0 | |
                            reordering_of_pic_nums_idc = = 1 )
                            abs_diff_pic_num_minus1                                  2    ue(v)
                        else if( reordering_of_pic_nums_idc = = 2 )
                           long_term_pic_num                                         2    ue(v)
                      } while( reordering_of_pic_nums_idc != 3 )
              }
          }




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7.3.3.2   Prediction weight table syntax


          pred_weight_table( ) {                                                          C   Descriptor
              luma_log2_weight_denom                                                      2   ue(v)
              if( chroma_format_idc != 0 )
                 chroma_log2_weight_denom                                                 2   ue(v)
              for( i = 0; i <= num_ref_idx_l0_active_minus1; i++ ) {
                luma_weight_l0_flag                                                       2   u(1)
                if( luma_weight_l0_flag ) {
                    luma_weight_l0[ i ]                                                   2   se(v)
                    luma_offset_l0[ i ]                                                   2   se(v)
                }
                if ( chroma_format_idc != 0 ) {
                    chroma_weight_l0_flag                                                 2   u(1)
                    if( chroma_weight_l0_flag )
                        for( j =0; j < 2; j++ ) {
                           chroma_weight_l0[ i ][ j ]                                     2   se(v)
                           chroma_offset_l0[ i ][ j ]                                     2   se(v)
                        }
                }
              }
              if( slice_type = = B )
                  for( i = 0; i <= num_ref_idx_l1_active_minus1; i++ ) {
                    luma_weight_l1_flag                                                   2   u(1)
                    if( luma_weight_l1_flag ) {
                        luma_weight_l1[ i ]                                               2   se(v)
                        luma_offset_l1[ i ]                                               2   se(v)
                    }
                    if( chroma_format_idc != 0 ) {
                        chroma_weight_l1_flag                                             2   u(1)
                        if( chroma_weight_l1_flag )
                            for( j = 0; j < 2; j++ ) {
                               chroma_weight_l1[ i ][ j ]                                 2   se(v)
                               chroma_offset_l1[ i ][ j ]                                 2   se(v)
                            }
                    }
                }
          }




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7.3.3.3   Decoded reference picture marking syntax


          dec_ref_pic_marking( ) {                                                   C    Descriptor
            if( nal_unit_type = = 5 ) {
                 no_output_of_prior_pics_flag                                       2|5   u(1)
                 long_term_reference_flag                                           2|5   u(1)
              } else {
                  adaptive_ref_pic_marking_mode_flag                                2|5   u(1)
                  if( adaptive_ref_pic_marking_mode_flag )
                      do {
                       memory_management_control_operation                          2|5   ue(v)
                       if( memory_management_control_operation = = 1 | |
                           memory_management_control_operation = = 3 )
                           difference_of_pic_nums_minus1                            2|5   ue(v)
                       if(memory_management_control_operation = = 2 )
                           long_term_pic_num                                        2|5   ue(v)
                       if( memory_management_control_operation = = 3 | |
                           memory_management_control_operation = = 6 )
                           long_term_frame_idx                                      2|5   ue(v)
                       if( memory_management_control_operation = = 4 )
                         max_long_term_frame_idx_plus1                              2|5   ue(v)
                    } while( memory_management_control_operation != 0 )
              }
          }




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7.3.4   Slice data syntax


        slice_data( ) {                                                         C     Descriptor
           if( entropy_coding_mode_flag )
               while( !byte_aligned( ) )
                   cabac_alignment_one_bit                                      2     f(1)
            CurrMbAddr = first_mb_in_slice * ( 1 + MbaffFrameFlag )
            moreDataFlag = 1
            prevMbSkipped = 0
            do {
               if( slice_type != I && slice_type != SI )
                   if( !entropy_coding_mode_flag ) {
                   mb_skip_run                                                  2     ue(v)
                   prevMbSkipped = ( mb_skip_run > 0 )
                   for( i=0; i<mb_skip_run; i++ )
                      CurrMbAddr = NextMbAddress( CurrMbAddr )
                   moreDataFlag = more_rbsp_data( )
                } else {
                    mb_skip_flag                                                2     ae(v)
                    moreDataFlag = !mb_skip_flag
                  }
              if( moreDataFlag ) {
                  if( MbaffFrameFlag && ( CurrMbAddr % 2 = = 0 | |
                      ( CurrMbAddr % 2 = = 1 && prevMbSkipped ) ) )
                      mb_field_decoding_flag                                   2      u(1) | ae(v)
                  macroblock_layer( )                                        2|3|4
              }
              if( !entropy_coding_mode_flag )
                  moreDataFlag = more_rbsp_data( )
              else {
                  if( slice_type != I && slice_type != SI )
                      prevMbSkipped = mb_skip_flag
                  if( MbaffFrameFlag && CurrMbAddr % 2 = = 0 )
                      moreDataFlag = 1
                  else {
                    end_of_slice_flag                                           2     ae(v)
                    moreDataFlag = !end_of_slice_flag
                }
              }
              CurrMbAddr = NextMbAddress( CurrMbAddr )
            } while( moreDataFlag )
        }




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7.3.5   Macroblock layer syntax


        macroblock_layer( ) {                                                          C     Descriptor
            mb_type                                                                    2     ue(v) | ae(v)
            if( mb_type = = I_PCM ) {
                while( !byte_aligned( ) )
                   pcm_alignment_zero_bit                                               2    f(1)
               for( i = 0; i < 256; i++ )
                   pcm_sample_luma[ i ]                                                 2    u(v)
               for( i = 0; i < 2 * MbWidthC * MbHeightC; i++ )
                   pcm_sample_chroma[ i ]                                               2    u(v)
            } else {
               noSubMbPartSizeLessThan8x8Flag = 1
               if( mb_type != I_NxN &&
                   MbPartPredMode( mb_type, 0 ) != Intra_16x16 &&
                   NumMbPart( mb_type ) = = 4 ) {
                   sub_mb_pred( mb_type )                                               2
                   for( mbPartIdx = 0; mbPartIdx < 4; mbPartIdx++ )
                       if( sub_mb_type[ mbPartIdx ] != B_Direct_8x8 ) {
                           if( NumSubMbPart( sub_mb_type[ mbPartIdx ] ) > 1 )
                               noSubMbPartSizeLessThan8x8Flag = 0
                       } else if( !direct_8x8_inference_flag )
                           noSubMbPartSizeLessThan8x8Flag = 0
               } else {
                   if( transform_8x8_mode_flag && mb_type = = I_NxN )
                    transform_size_8x8_flag                                             2    u(1) | ae(v)
                  mb_pred( mb_type )                                                    2
                }
                if( MbPartPredMode( mb_type, 0 ) != Intra_16x16 ) {
                  coded_block_pattern                                                   2    me(v) | ae(v)
                  if( CodedBlockPatternLuma > 0 &&
                       transform_8x8_mode_flag && mb_type != I_NxN &&
                       noSubMbPartSizeLessThan8x8Flag &&
                       ( mb_type != B_Direct_16x16 | | direct_8x8_inference_flag ) )
                      transform_size_8x8_flag                                           2    u(1) | ae(v)
                }
                if( CodedBlockPatternLuma > 0 | | CodedBlockPatternChroma > 0 | |
                    MbPartPredMode( mb_type, 0 ) = = Intra_16x16 ) {
                    mb_qp_delta                                                         2    se(v) | ae(v)
                    residual( )                                                        3|4
                }
            }
        }




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7.3.5.1   Macroblock prediction syntax


          mb_pred( mb_type ) {                                                        C   Descriptor
            if( MbPartPredMode( mb_type, 0 ) = = Intra_4x4 | |
                MbPartPredMode( mb_type, 0 ) = = Intra_8x8 | |
                MbPartPredMode( mb_type, 0 ) = = Intra_16x16 ) {
                if( MbPartPredMode( mb_type, 0 ) = = Intra_4x4 )
                    for( luma4x4BlkIdx=0; luma4x4BlkIdx<16; luma4x4BlkIdx++ ) {
                        prev_intra4x4_pred_mode_flag[ luma4x4BlkIdx ]                 2   u(1) | ae(v)
                        if( !prev_intra4x4_pred_mode_flag[ luma4x4BlkIdx ] )
                            rem_intra4x4_pred_mode[ luma4x4BlkIdx ]                   2   u(3) | ae(v)
                    }
                if( MbPartPredMode( mb_type, 0 ) = = Intra_8x8 )
                    for( luma8x8BlkIdx=0; luma8x8BlkIdx<4; luma8x8BlkIdx++ ) {
                        prev_intra8x8_pred_mode_flag[ luma8x8BlkIdx ]                 2   u(1) | ae(v)
                        if( !prev_intra8x8_pred_mode_flag[ luma8x8BlkIdx ] )
                            rem_intra8x8_pred_mode[ luma8x8BlkIdx ]                   2   u(3) | ae(v)
                    }
                if( chroma_format_idc != 0 )
                    intra_chroma_pred_mode                                            2   ue(v) | ae(v)
            } else if( MbPartPredMode( mb_type, 0 ) != Direct ) {
                for( mbPartIdx = 0; mbPartIdx < NumMbPart( mb_type ); mbPartIdx++)
                    if( ( num_ref_idx_l0_active_minus1 > 0 | |
                            mb_field_decoding_flag ) &&
                        MbPartPredMode( mb_type, mbPartIdx ) != Pred_L1 )
                        ref_idx_l0[ mbPartIdx ]                                       2   te(v) | ae(v)
                for( mbPartIdx = 0; mbPartIdx < NumMbPart( mb_type ); mbPartIdx++)
                    if( ( num_ref_idx_l1_active_minus1 > 0 | |
                            mb_field_decoding_flag ) &&
                        MbPartPredMode( mb_type, mbPartIdx ) != Pred_L0 )
                        ref_idx_l1[ mbPartIdx ]                                       2   te(v) | ae(v)
                for( mbPartIdx = 0; mbPartIdx < NumMbPart( mb_type ); mbPartIdx++)
                    if( MbPartPredMode ( mb_type, mbPartIdx ) != Pred_L1 )
                        for( compIdx = 0; compIdx < 2; compIdx++ )
                            mvd_l0[ mbPartIdx ][ 0 ][ compIdx ]                       2   se(v) | ae(v)
                for( mbPartIdx = 0; mbPartIdx < NumMbPart( mb_type ); mbPartIdx++)
                    if( MbPartPredMode( mb_type, mbPartIdx ) != Pred_L0 )
                        for( compIdx = 0; compIdx < 2; compIdx++ )
                            mvd_l1[ mbPartIdx ][ 0 ][ compIdx ]                       2   se(v) | ae(v)
            }
          }




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7.3.5.2    Sub-macroblock prediction syntax


          sub_mb_pred( mb_type ) {                                                      C   Descriptor
            for( mbPartIdx = 0; mbPartIdx < 4; mbPartIdx++ )
               sub_mb_type[ mbPartIdx ]                                                 2   ue(v) | ae(v)
            for( mbPartIdx = 0; mbPartIdx < 4; mbPartIdx++ )
               if( ( num_ref_idx_l0_active_minus1 > 0 | | mb_field_decoding_flag ) &&
                   mb_type != P_8x8ref0 &&
                   sub_mb_type[ mbPartIdx ] != B_Direct_8x8 &&
                   SubMbPredMode( sub_mb_type[ mbPartIdx ] ) != Pred_L1 )
                   ref_idx_l0[ mbPartIdx ]                                              2   te(v) | ae(v)
            for( mbPartIdx = 0; mbPartIdx < 4; mbPartIdx++ )
               if( (num_ref_idx_l1_active_minus1 > 0 | | mb_field_decoding_flag ) &&
                    sub_mb_type[ mbPartIdx ] != B_Direct_8x8 &&
                    SubMbPredMode( sub_mb_type[ mbPartIdx ] ) != Pred_L0 )
                   ref_idx_l1[ mbPartIdx ]                                              2   te(v) | ae(v)
            for( mbPartIdx = 0; mbPartIdx < 4; mbPartIdx++ )
               if( sub_mb_type[ mbPartIdx ] != B_Direct_8x8 &&
                   SubMbPredMode( sub_mb_type[ mbPartIdx ] ) != Pred_L1 )
                   for( subMbPartIdx = 0;
                        subMbPartIdx < NumSubMbPart( sub_mb_type[ mbPartIdx ] );
                        subMbPartIdx++)
                      for( compIdx = 0; compIdx < 2; compIdx++ )
                         mvd_l0[ mbPartIdx ][ subMbPartIdx ][ compIdx ]                 2   se(v) | ae(v)
            for( mbPartIdx = 0; mbPartIdx < 4; mbPartIdx++ )
               if( sub_mb_type[ mbPartIdx ] != B_Direct_8x8 &&
                   SubMbPredMode( sub_mb_type[ mbPartIdx ] ) != Pred_L0 )
                   for( subMbPartIdx = 0;
                        subMbPartIdx < NumSubMbPart( sub_mb_type[ mbPartIdx ] );
                        subMbPartIdx++)
                      for( compIdx = 0; compIdx < 2; compIdx++ )
                         mvd_l1[ mbPartIdx ][ subMbPartIdx ][ compIdx ]                 2   se(v) | ae(v)
          }




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7.3.5.3    Residual data syntax
          residual( ) {                                                                        C     Descriptor
            if( !entropy_coding_mode_flag )
              residual_block = residual_block_cavlc
            else
                residual_block = residual_block_cabac
            if( MbPartPredMode( mb_type, 0 ) = = Intra_16x16 )
                residual_block( Intra16x16DCLevel, 16 )                                         3
            for( i8x8 = 0; i8x8 < 4; i8x8++ ) /* each luma 8x8 block */
                if( !transform_size_8x8_flag | | !entropy_coding_mode_flag )
                    for( i4x4 = 0; i4x4 < 4; i4x4++ ) { /* each 4x4 sub-block of block */
                        if( CodedBlockPatternLuma & ( 1 << i8x8 ) )
                            if( MbPartPredMode( mb_type, 0 ) = = Intra_16x16 )
                                residual_block( Intra16x16ACLevel[ i8x8 * 4 + i4x4 ], 15 )      3
                            else
                                residual_block( LumaLevel[ i8x8 * 4 + i4x4 ], 16 )             3|4
                        else if( MbPartPredMode( mb_type, 0 ) = = Intra_16x16 )
                            for( i = 0; i < 15; i++ )
                                Intra16x16ACLevel[ i8x8 * 4 + i4x4 ][ i ] = 0
                        else
                            for( i = 0; i < 16; i++ )
                                LumaLevel[ i8x8 * 4 + i4x4 ][ i ] = 0
                        if( !entropy_coding_mode_flag && transform_size_8x8_flag )
                            for( i = 0; i < 16; i++ )
                                LumaLevel8x8[ i8x8 ][ 4 * i + i4x4 ] =
                                                      LumaLevel[ i8x8 * 4 + i4x4 ][ i ]
                    }
                else if( CodedBlockPatternLuma & ( 1 << i8x8 ) )
                    residual_block( LumaLevel8x8[ i8x8 ], 64 )                                 3|4
                else
                    for( i = 0; i < 64; i++ )
                        LumaLevel8x8[ i8x8 ][ i ] = 0
            if( chroma_format_idc != 0 ) {
                NumC8x8 = 4 / ( SubWidthC * SubHeightC )
                for( iCbCr = 0; iCbCr < 2; iCbCr++ )
                    if( CodedBlockPatternChroma & 3 ) /* chroma DC residual present */
                        residual_block( ChromaDCLevel[ iCbCr ], 4 * NumC8x8 )                  3|4
                    else
                        for( i = 0; i < 4 * NumC8x8; i++ )
                            ChromaDCLevel[ iCbCr ][ i ] = 0
                for( iCbCr = 0; iCbCr < 2; iCbCr++ )
                    for( i8x8 = 0; i8x8 < NumC8x8; i8x8++ )
                        for( i4x4 = 0; i4x4 < 4; i4x4++ )
                            if( CodedBlockPatternChroma & 2 )
                                                            /* chroma AC residual present */
                                residual_block( ChromaACLevel[ iCbCr ][ i8x8*4+i4x4 ], 15)     3|4
                            else
                                for( i = 0; i < 15; i++ )
                                   ChromaACLevel[ iCbCr ][ i8x8*4+i4x4 ][ i ] = 0
            }


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7.3.5.3.1 Residual block CAVLC syntax

       residual_block_cavlc( coeffLevel, maxNumCoeff ) {                                C     Descriptor
          for( i = 0; i < maxNumCoeff; i++ )
              coeffLevel[ i ] = 0
          coeff_token                                                                   3|4   ce(v)
          if( TotalCoeff( coeff_token ) > 0 ) {
              if( TotalCoeff( coeff_token ) > 10 && TrailingOnes( coeff_token ) < 3 )
                  suffixLength = 1
              else
                  suffixLength = 0
              for( i = 0; i < TotalCoeff( coeff_token ); i++ )
                  if( i < TrailingOnes( coeff_token ) ) {
                      trailing_ones_sign_flag                                           3|4   u(1)
                      level[ i ] = 1 – 2 * trailing_ones_sign_flag
                  } else {
                      level_prefix                                                      3|4   ce(v)
                      levelCode = ( Min( 15, level_prefix ) << suffixLength )
                      if( suffixLength > 0 | | level_prefix >= 14 ) {
                          level_suffix                                                  3|4   u(v)
                          levelCode += level_suffix
                      }
                      if( level_prefix > = 15 && suffixLength = = 0 )
                          levelCode += 15
                      if( level_prefix > = 16 )
                          levelCode += ( 1 << ( level_prefix – 3 ) ) – 4096
                      if( i = = TrailingOnes( coeff_token ) &&
                           TrailingOnes( coeff_token ) < 3 )
                          levelCode += 2
                      if( levelCode % 2 = = 0 )
                          level[ i ] = ( levelCode + 2 ) >> 1
                      else
                          level[ i ] = ( –levelCode – 1 ) >> 1
                      if( suffixLength = = 0 )
                          suffixLength = 1
                      if( Abs( level[ i ] ) > ( 3 << ( suffixLength – 1 ) ) &&
                           suffixLength < 6 )
                          suffixLength++
                  }
              if( TotalCoeff( coeff_token ) < maxNumCoeff ) {
                  total_zeros                                                           3|4   ce(v)
                  zerosLeft = total_zeros
              } else
                  zerosLeft = 0
              for( i = 0; i < TotalCoeff( coeff_token ) – 1; i++ ) {
                  if( zerosLeft > 0 ) {
                      run_before                                                        3|4   ce(v)
                      run[ i ] = run_before
                  } else
                      run[ i ] = 0


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                 zerosLeft = zerosLeft – run[ i ]
               }
               run[ TotalCoeff( coeff_token ) – 1 ] = zerosLeft
               coeffNum = -1
               for( i = TotalCoeff( coeff_token ) – 1; i >= 0; i-- ) {
                  coeffNum += run[ i ] + 1
                  coeffLevel[ coeffNum ] = level[ i ]
               }
           }
       }

7.3.5.3.2 Residual block CABAC syntax

        residual_block_cabac( coeffLevel, maxNumCoeff ) {                                  C    Descriptor
           if( maxNumCoeff = = 64 )
               coded_block_flag = 1
           else
               coded_block_flag                                                           3|4   ae(v)
           if( coded_block_flag ) {
               numCoeff = maxNumCoeff
               i=0
               do {
                  significant_coeff_flag[ i ]                                             3|4   ae(v)
                  if( significant_coeff_flag[ i ] ) {
                      last_significant_coeff_flag[ i ]                                    3|4   ae(v)
                      if( last_significant_coeff_flag[ i ] ) {
                          numCoeff = i + 1
                          for( j = numCoeff; j < maxNumCoeff; j++ )
                             coeffLevel[ j ] = 0
                      }
                  }
                  i++
               } while( i < numCoeff - 1 )
               coeff_abs_level_minus1[ numCoeff - 1 ]                                     3|4   ae(v)
               coeff_sign_flag[ numCoeff - 1 ]                                            3|4   ae(v)
               coeffLevel[ numCoeff - 1 ] =
                  ( coeff_abs_level_minus1[ numCoeff – 1 ] + 1 ) *
                  ( 1 – 2 * coeff_sign_flag[ numCoeff – 1 ] )
               for( i = numCoeff - 2; i >= 0; i-- )
                  if( significant_coeff_flag[ i ] ) {
                      coeff_abs_level_minus1[ i ]                                         3|4   ae(v)
                      coeff_sign_flag[ i ]                                                3|4   ae(v)
                      coeffLevel[ i ] = ( coeff_abs_level_minus1[ i ] + 1 ) *
                                         ( 1 – 2 * coeff_sign_flag[ i ] )
                  } else
                      coeffLevel[ i ] = 0
           } else
               for( i = 0; i < maxNumCoeff; i++ )
                  coeffLevel[ i ] = 0
        }



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7.4        Semantics
Semantics associated with the syntax structures and with the syntax elements within these structures are specified in this
subclause. When the semantics of a syntax element are specified using a table or a set of tables, any values that are not
specified in the table(s) shall not be present in the bitstream unless otherwise specified in this Recommendation |
International Standard.

7.4.1      NAL unit semantics
      NOTE 1 – The VCL is specified to efficiently represent the content of the video data. The NAL is specified to format that data
      and provide header information in a manner appropriate for conveyance on a variety of communication channels or storage
      media. All data are contained in NAL units, each of which contains an integer number of bytes. A NAL unit specifies a generic
      format for use in both packet-oriented and bitstream systems. The format of NAL units for both packet-oriented transport and
      byte stream is identical except that each NAL unit can be preceded by a start code prefix and extra padding bytes in the byte
      stream format.
NumBytesInNALunit specifies the size of the NAL unit in bytes. This value is required for decoding of the NAL unit.
Some form of demarcation of NAL unit boundaries is necessary to enable inference of NumBytesInNALunit. One such
demarcation method is specified in Annex B for the byte stream format. Other methods of demarcation may be
specified outside of this Recommendation | International Standard.
forbidden_zero_bit shall be equal to 0.
nal_ref_idc not equal to 0 specifies that the content of the NAL unit contains a sequence parameter set or a picture
parameter set or a slice of a reference picture or a slice data partition of a reference picture.
nal_ref_idc equal to 0 for a NAL unit containing a slice or slice data partition indicates that the slice or slice data
partition is part of a non-reference picture.
nal_ref_idc shall not be equal to 0 for sequence parameter set or sequence parameter set extension or picture parameter
set NAL units. When nal_ref_idc is equal to 0 for one slice or slice data partition NAL unit of a particular picture, it
shall be equal to 0 for all slice and slice data partition NAL units of the picture.
nal_ref_idc shall not be equal to 0 for IDR NAL units, i.e., NAL units with nal_unit_type equal to 5.
nal_ref_idc shall be equal to 0 for all NAL units having nal_unit_type equal to 6, 9, 10, 11, or 12.
nal_unit_type specifies the type of RBSP data structure contained in the NAL unit as specified in Table 7-1. VCL NAL
units are specified as those NAL units having nal_unit_type equal to 1 to 5, inclusive. All remaining NAL units are
called non-VCL NAL units.
The column marked "C" in Table 7-1 lists the categories of the syntax elements that may be present in the NAL unit. In
addition, syntax elements with syntax category "All" may be present, as determined by the syntax and semantics of the
RBSP data structure. The presence or absence of any syntax elements of a particular listed category is determined from
the syntax and semantics of the associated RBSP data structure. nal_unit_type shall not be equal to 3 or 4 unless at least
one syntax element is present in the RBSP data structure having a syntax element category value equal to the value of
nal_unit_type and not categorized as "All".




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                                              Table 7-1 – NAL unit type codes

                nal_unit_type           Content of NAL unit and RBSP syntax structure                      C
                       0           Unspecified
                       1           Coded slice of a non-IDR picture                                     2, 3, 4
                                   slice_layer_without_partitioning_rbsp( )
                       2           Coded slice data partition A                                            2
                                   slice_data_partition_a_layer_rbsp( )
                       3           Coded slice data partition B                                            3
                                   slice_data_partition_b_layer_rbsp( )
                       4           Coded slice data partition C                                            4
                                   slice_data_partition_c_layer_rbsp( )
                       5           Coded slice of an IDR picture                                          2, 3
                                   slice_layer_without_partitioning_rbsp( )
                       6           Supplemental enhancement information (SEI)                              5
                                   sei_rbsp( )
                       7           Sequence parameter set                                                  0
                                   seq_parameter_set_rbsp( )
                       8           Picture parameter set                                                   1
                                   pic_parameter_set_rbsp( )
                       9           Access unit delimiter                                                   6
                                   access_unit_delimiter_rbsp( )
                       10          End of sequence                                                         7
                                   end_of_seq_rbsp( )
                       11          End of stream                                                           8
                                   end_of_stream_rbsp( )
                       12          Filler data                                                             9
                                   filler_data_rbsp( )
                       13          Sequence parameter set extension                                       10
                                   seq_parameter_set_extension_rbsp( )
                     14..18        Reserved
                       19          Coded slice of an auxiliary coded picture without partitioning       2, 3, 4
                                   slice_layer_without_partitioning_rbsp( )
                     20..23        Reserved
                     24..31        Unspecified



NAL units having nal_unit_type equal to 13 and 19 may be discarded by decoders without affecting the decoding
process for NAL units having nal_unit_type not equal to 13 or 19 and without affecting conformance to this
Recommendation | International Standard.
NAL units that use nal_unit_type equal to 0 or in the range of 24..31, inclusive, shall not affect the decoding process
specified in this Recommendation | International Standard.
   NOTE 2 – NAL unit types 0 and 24..31 may be used as determined by the application. No decoding process for these values of
   nal_unit_type is specified in this Recommendation | International Standard.
Decoders shall ignore (remove from the bitstream and discard) the contents of all NAL units that use reserved values of
nal_unit_type.
   NOTE 3 – This requirement allows future definition of compatible extensions to this Recommendation | International Standard.

In the text, coded slice NAL unit collectively refers to a coded slice of a non-IDR picture NAL unit or to a coded slice
of an IDR picture NAL unit.



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When the value of nal_unit_type is equal to 5 for a NAL unit containing a slice of a coded picture, the value of
nal_unit_type shall be 5 in all other VCL NAL units of the same coded picture. Such a picture is referred to as an IDR
picture.
     NOTE 4 – Slice data partitioning cannot be used for IDR pictures.

rbsp_byte[ i ] is the i-th byte of an RBSP. An RBSP is specified as an ordered sequence of bytes as follows.
The RBSP contains an SODB as follows.
–     If the SODB is empty (i.e., zero bits in length), the RBSP is also empty.
–     Otherwise, the RBSP contains the SODB as follows.
      1)    The first byte of the RBSP contains the (most significant, left-most) eight bits of the SODB; the next byte of
            the RBSP shall contain the next eight bits of the SODB, etc., until fewer than eight bits of the SODB remain.
      2)    rbsp_trailing_bits( ) are present after the SODB as follows:
            i)    The first (most significant, left-most) bits of the final RBSP byte contains the remaining bits of the
                  SODB, (if any)
            ii)   The next bit consists of a single rbsp_stop_one_bit equal to 1, and
            iii) When the rbsp_stop_one_bit is not the last bit of a byte-aligned byte, one or more
                 rbsp_alignment_zero_bit is present to result in byte alignment.
      3)    One or more cabac_zero_word 16-bit syntax elements equal to 0x0000 may be present in some RBSPs after
            the rbsp_trailing_bits( ) at the end of the RBSP.
Syntax structures having these RBSP properties are denoted in the syntax tables using an "_rbsp" suffix. These
structures shall be carried within NAL units as the content of the rbsp_byte[ i ] data bytes. The association of the RBSP
syntax structures to the NAL units shall be as specified in Table 7-1.
     NOTE 5 – When the boundaries of the RBSP are known, the decoder can extract the SODB from the RBSP by concatenating the
     bits of the bytes of the RBSP and discarding the rbsp_stop_one_bit, which is the last (least significant, right-most) bit equal to 1,
     and discarding any following (less significant, farther to the right) bits that follow it, which are equal to 0. The data necessary for
     the decoding process is contained in the SODB part of the RBSP.
emulation_prevention_three_byte is a byte equal to 0x03. When an emulation_prevention_three_byte is present in the
NAL unit, it shall be discarded by the decoding process.
The last byte of the NAL unit shall not be equal to 0x00.
Within the NAL unit, the following three-byte sequences shall not occur at any byte-aligned position:
–     0x000000
–     0x000001
–     0x000002
Within the NAL unit, any four-byte sequence that starts with 0x000003 other than the following sequences shall not
occur at any byte-aligned position:
–     0x00000300
–     0x00000301
–     0x00000302
–     0x00000303
     NOTE 6 – When nal_unit_type is equal to 0, particular care must be exercised in the design of encoders to avoid the presence of
     the above-listed three-byte and four-byte patterns at the beginning of the NAL unit syntax structure, as the syntax element
     emulation_prevention_three_byte cannot be the third byte of a NAL unit.

7.4.1.1     Encapsulation of an SODB within an RBSP (informative)
This subclause does not form an integral part of this Recommendation | International Standard.
The form of encapsulation of an SODB within an RBSP and the use of the emulation_prevention_three_byte for
encapsulation of an RBSP within a NAL unit is specified for the following purposes:
–     to prevent the emulation of start codes within NAL units while allowing any arbitrary SODB to be represented
      within a NAL unit,
–     to enable identification of the end of the SODB within the NAL unit by searching the RBSP for the
      rbsp_stop_one_bit starting at the end of the RBSP, and




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–    to enable a NAL unit to have a size larger than that of the SODB under some circumstances (using one or more
     cabac_zero_word).
The encoder can produce a NAL unit from an RBSP by the following procedure:
The RBSP data is searched for byte-aligned bits of the following binary patterns:
          '00000000 00000000 000000xx' (where xx represents any 2 bit pattern: 00, 01, 10, or 11),
and a byte equal to 0x03 is inserted to replace these bit patterns with the patterns
          '00000000 00000000 00000011 000000xx',
and finally, when the last byte of the RBSP data is equal to 0x00 (which can only occur when the RBSP ends in a
cabac_zero_word), a final byte equal to 0x03 is appended to the end of the data.
The resulting sequence of bytes is then prefixed with the first byte of the NAL unit containing the indication of the type
of RBSP data structure it contains. This results in the construction of the entire NAL unit.
This process can allow any SODB to be represented in a NAL unit while ensuring that
–    no byte-aligned start code prefix is emulated within the NAL unit, and
–    no sequence of 8 zero-valued bits followed by a start code prefix, regardless of byte-alignment, is emulated within
     the NAL unit.

7.4.1.2   Order of NAL units and association to coded pictures, access units, and video sequences
This subclause specifies constraints on the order of NAL units in the bitstream. Any order of NAL units in the bitstream
obeying these constraints is referred to in the text as the decoding order of NAL units. Within a NAL unit, the syntax in
subclauses 7.3, D.1, and E.1 specifies the decoding order of syntax elements. Decoders conforming to this
Recommendation | International Standard shall be capable of receiving NAL units and their syntax elements in
decoding order.

7.4.1.2.1 Order of sequence and picture parameter set RBSPs and their activation
    NOTE 1 – The sequence and picture parameter set mechanism decouples the transmission of infrequently changing information
    from the transmission of coded macroblock data. Sequence and picture parameter sets may, in some applications, be conveyed
    "out-of-band" using a reliable transport mechanism.
A picture parameter set RBSP includes parameters that can be referred to by the coded slice NAL units or coded slice
data partition A NAL units of one or more coded pictures. Each picture parameter set RBSP is initially considered not
active at the start of the operation of the decoding process. At most one picture parameter set RBSP is considered active
at any given moment during the operation of the decoding process, and the activation of any particular picture
parameter set RBSP results in the deactivation of the previously-active picture parameter set RBSP (if any).
When a picture parameter set RBSP (with a particular value of pic_parameter_set_id) is not active and it is referred to
by a coded slice NAL unit or coded slice data partition A NAL unit (using that value of pic_parameter_set_id), it is
activated. This picture parameter set RBSP is called the active picture parameter set RBSP until it is deactivated by the
activation of another picture parameter set RBSP. A picture parameter set RBSP, with that particular value of
pic_parameter_set_id, shall be available to the decoding process prior to its activation.
Any picture parameter set NAL unit containing the value of pic_parameter_set_id for the active picture parameter set
RBSP shall have the same content as that of the active picture parameter set RBSP unless it follows the last VCL NAL
unit of a coded picture and precedes the first VCL NAL unit of another coded picture.
A sequence parameter set RBSP includes parameters that can be referred to by one or more picture parameter set
RBSPs or one or more SEI NAL units containing a buffering period SEI message. Each sequence parameter set RBSP
is initially considered not active at the start of the operation of the decoding process. At most one sequence parameter
set RBSP is considered active at any given moment during the operation of the decoding process, and the activation of
any particular sequence parameter set RBSP results in the deactivation of the previously-active sequence parameter set
RBSP (if any).
When a sequence parameter set RBSP (with a particular value of seq_parameter_set_id) is not already active and it is
referred to by activation of a picture parameter set RBSP (using that value of seq_parameter_set_id) or is referred to by
an SEI NAL unit containing a buffering period SEI message (using that value of seq_parameter_set_id), it is activated.
This sequence parameter set RBSP is called the active sequence parameter set RBSP until it is deactivated by the
activation of another sequence parameter set RBSP. A sequence parameter set RBSP, with that particular value of
seq_parameter_set_id, shall be available to the decoding process prior to its activation. An activated sequence parameter
set RBSP shall remain active for the entire coded video sequence.



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     NOTE 2 – Because an IDR access unit begins a new coded video sequence and an activated sequence parameter set RBSP must
     remain active for the entire coded video sequence, a sequence parameter set RBSP can only be activated by a buffering period
     SEI message when the buffering period SEI message is part of an IDR access unit.
Any sequence parameter set NAL unit containing the value of seq_parameter_set_id for the active sequence parameter
set RBSP shall have the same content as that of the active sequence parameter set RBSP unless it follows the last access
unit of a coded video sequence and precedes the first VCL NAL unit and the first SEI NAL unit containing a buffering
period SEI message (when present) of another coded video sequence.
     NOTE 3 – If picture parameter set RBSP or sequence parameter set RBSP are conveyed within the bitstream, these constraints
     impose an order constraint on the NAL units that contain the picture parameter set RBSP or sequence parameter set RBSP,
     respectively. Otherwise (picture parameter set RBSP or sequence parameter set RBSP are conveyed by other means not specified
     in this Recommendation | International Standard), they must be available to the decoding process in a timely fashion such that
     these constraints are obeyed.
When present, a sequence parameter set extension RBSP includes parameters having a similar function to those of a
sequence parameter set RBSP. For purposes of establishing constraints on the syntax elements of the sequence
parameter set extension RBSP and for purposes of determining activation of a sequence parameter set extension RBSP,
the sequence parameter set extension RBSP shall be considered part of the preceding sequence parameter set RBSP
with the same value of seq_parameter_set_id. When a sequence parameter set RBSP is present that is not followed by a
sequence parameter set extension RBSP with the same value of seq_parameter_set_id prior to the activation of the
sequence parameter set RBSP, the sequence parameter set extension RBSP and its syntax elements shall be considered
not present for the active sequence parameter set RBSP.
All constraints that are expressed on the relationship between the values of the syntax elements (and the values of
variables derived from those syntax elements) in sequence parameter sets and picture parameter sets and other syntax
elements are expressions of constraints that apply only to the active sequence parameter set and the active picture
parameter set. If any sequence parameter set RBSP is present that is not activated in the bitstream, its syntax elements
shall have values that would conform to the specified constraints if it were activated by reference in an otherwise-
conforming bitstream. If any picture parameter set RBSP is present that is not ever activated in the bitstream, its syntax
elements shall have values that would conform to the specified constraints if it were activated by reference in an
otherwise-conforming bitstream.
During operation of the decoding process (see clause 8), the values of parameters of the active picture parameter set and
the active sequence parameter set shall be considered in effect. For interpretation of SEI messages, the values of the
parameters of the picture parameter set and sequence parameter set that are active for the operation of the decoding
process for the VCL NAL units of the primary coded picture in the same access unit shall be considered in effect unless
otherwise specified in the SEI message semantics.

7.4.1.2.2 Order of access units and association to coded video sequences
A bitstream conforming to this Recommendation | International Standard consists of one or more coded video
sequences.
A coded video sequence consists of one or more access units. The order of NAL units and coded pictures and their
association to access units is described in subclause 7.4.1.2.3.
The first access unit of each coded video sequence is an IDR access unit. All subsequent access units in the coded video
sequence are non-IDR access units.
The values of picture order count for the coded pictures in consecutive access units in decoding order containing non-
reference pictures shall be non-decreasing.
When present, an access unit following an access unit that contains an end of sequence NAL unit shall be an IDR access
unit.
When an SEI NAL unit contains data that pertain to more than one access unit (for example, when the SEI NAL unit
has a coded video sequence as its scope), it shall be contained in the first access unit to which it applies.
When an end of stream NAL unit is present in an access unit, this access unit shall be the last access unit in the
bitstream and the end of stream NAL unit shall be the last NAL unit in that access unit.

7.4.1.2.3 Order of NAL units and coded pictures and association to access units
An access unit consists of one primary coded picture, zero or more corresponding redundant coded pictures, and zero or
more non-VCL NAL units. The association of VCL NAL units to primary or redundant coded pictures is described in
subclause 7.4.1.2.5.
The first access unit in the bitstream starts with the first NAL unit of the bitstream.




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The first of any of the following NAL units after the last VCL NAL unit of a primary coded picture specifies the start of
a new access unit.
–    access unit delimiter NAL unit (when present)
–    sequence parameter set NAL unit (when present)
–    picture parameter set NAL unit (when present)
–    SEI NAL unit (when present)
–    NAL units with nal_unit_type in the range of 14 to 18, inclusive
–    first VCL NAL unit of a primary coded picture (always present)
The constraints for the detection of the first VCL NAL unit of a primary coded picture are specified in subclause
7.4.1.2.4.
The following constraints shall be obeyed by the order of the coded pictures and non-VCL NAL units within an access
unit.
–    When an access unit delimiter NAL unit is present, it shall be the first NAL unit. There shall be at most one access
     unit delimiter NAL unit in any access unit.
–    When any SEI NAL units are present, they shall precede the primary coded picture.
–    When an SEI NAL unit containing a buffering period SEI message is present, the buffering period SEI message
     shall be the first SEI message payload of the first SEI NAL unit in the access unit
–    The primary coded picture shall precede the corresponding redundant coded pictures.
–    When redundant coded pictures are present, they shall be ordered in ascending order of the value of
     redundant_pic_cnt.
–    When a sequence parameter set extension NAL unit is present, it shall be the next NAL unit after a sequence
     parameter set NAL unit having the same value of seq_parameter_set_id as in the sequence parameter set extension
     NAL unit.
–    When one or more coded slice of an auxiliary coded picture without partitioning NAL units is present, they shall
     follow the primary coded picture and all redundant coded pictures (if any).
–    When an end of sequence NAL unit is present, it shall follow the primary coded picture and all redundant coded
     pictures (if any) and all coded slice of an auxiliary coded picture without partitioning NAL units (if any).
–    When an end of stream NAL unit is present, it shall be the last NAL unit.
–    NAL units having nal_unit_type equal to 0, 12, or in the range of 20 to 31, inclusive, shall not precede the first
     VCL NAL unit of the primary coded picture.


    NOTE 1 – Sequence parameter set NAL units or picture parameter set NAL units may be present in an access unit, but cannot
    follow the last VCL NAL unit of the primary coded picture within the access unit, as this condition would specify the start of a
    new access unit.
    NOTE 2 – When a NAL unit having nal_unit_type equal to 7 or 8 is present in an access unit, it may or may not be referred to in
    the coded pictures of the access unit in which it is present, and may be referred to in coded pictures of subsequent access units.
The structure of access units not containing any NAL units with nal_unit_type equal to 0, 7, 8, or in the range of 12
to 18, inclusive, or in the range of 20 to 31, inclusive, is shown in Figure 7-1.




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    Figure 7-1 – Structure of an access unit not containing any NAL units with nal_unit_type equal to 0, 7, 8, or in
                         the range of 12 to 18, inclusive, or in the range of 20 to 31, inclusive




7.4.1.2.4 Detection of the first VCL NAL unit of a primary coded picture
This subclause specifies constraints on VCL NAL unit syntax that are sufficient to enable the detection of the first VCL
NAL unit of each primary coded picture.
Any coded slice NAL unit or coded slice data partition A NAL unit of the primary coded picture of the current access
unit shall be different from any coded slice NAL unit or coded slice data partition A NAL unit of the primary coded
picture of the previous access unit in one or more of the following ways.
–     frame_num differs in value. The value of frame_num used to test this condition is the value of frame_num that
      appears in the syntax of the slice header, regardless of whether that value is inferred to have been equal to 0 for
      subsequent use in the decoding process due to the presence of memory_management_control_operation equal to 5.
               NOTE 1 – A consequence of the above statement is that a primary coded picture having frame_num equal to 1 cannot
               contain a memory_management_control_operation equal to 5 unless some other condition listed below is fulfilled for
               the next primary coded picture that follows after it (if any).
–     pic_parameter_set_id differs in value.
–     field_pic_flag differs in value.


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–    bottom_field_flag is present in both and differs in value.
–    nal_ref_idc differs in value with one of the nal_ref_idc values being equal to 0.
–    pic_order_cnt_type is equal to 0 for                both    and    either   pic_order_cnt_lsb      differs   in   value,    or
     delta_pic_order_cnt_bottom differs in value.
–    pic_order_cnt_type is equal to 1 for both and either delta_pic_order_cnt[ 0 ] differs in value, or
     delta_pic_order_cnt[ 1 ] differs in value.
–    nal_unit_type differs in value with one of the nal_unit_type values being equal to 5.
–    nal_unit_type is equal to 5 for both and idr_pic_id differs in value.


    NOTE 2 – Some of the VCL NAL units in redundant coded pictures or some non-VCL NAL units (e.g. an access unit delimiter
    NAL unit) may also be used for the detection of the boundary between access units, and may therefore aid in the detection of the
    start of a new primary coded picture.

7.4.1.2.5 Order of VCL NAL units and association to coded pictures
Each VCL NAL unit is part of a coded picture.
The order of the VCL NAL units within a coded IDR picture is constrained as follows.
–    If arbitrary slice order is allowed as specified in Annex A, coded slice of an IDR picture NAL units may have any
     order relative to each other.
–    Otherwise (arbitrary slice order is not allowed), the order of coded slice of an IDR picture NAL units shall be in the
     order of increasing macroblock address for the first macroblock of each coded slice of an IDR picture NAL unit.
The order of the VCL NAL units within a coded non-IDR picture is constrained as follows.
–    If arbitrary slice order is allowed as specified in Annex A, coded slice of a non-IDR picture NAL units or coded
     slice data partition A NAL units may have any order relative to each other. A coded slice data partition A NAL unit
     with a particular value of slice_id shall precede any present coded slice data partition B NAL unit with the same
     value of slice_id. A coded slice data partition A NAL unit with a particular value of slice_id shall precede any
     present coded slice data partition C NAL unit with the same value of slice_id. When a coded slice data partition B
     NAL unit with a particular value of slice_id is present, it shall precede any present coded slice data partition C
     NAL unit with the same value of slice_id.
–    Otherwise (arbitrary slice order is not allowed), the order of coded slice of a non-IDR picture NAL units or coded
     slice data partition A NAL units shall be in the order of increasing macroblock address for the first macroblock of
     each coded slice of a non-IDR picture NAL unit or coded slice data partition A NAL unit. A coded slice data
     partition A NAL unit with a particular value of slice_id shall immediately precede any present coded slice data
     partition B NAL unit with the same value of slice_id. A coded slice data partition A NAL unit with a particular
     value of slice_id shall immediately precede any present coded slice data partition C NAL unit with the same value
     of slice_id, when a coded slice data partition B NAL unit with the same value of slice_id is not present. When a
     coded slice data partition B NAL unit with a particular value of slice_id is present, it shall immediately precede any
     present coded slice data partition C NAL unit with the same value of slice_id.
NAL units having nal_unit_type equal to 12 may be present in the access unit but shall not precede the first VCL NAL
unit of the primary coded picture within the access unit.
NAL units having nal_unit_type equal to 0 or in the range of 24 to 31, inclusive, which are unspecified, may be present
in the access unit but shall not precede the first VCL NAL unit of the primary coded picture within the access unit.
NAL units having nal_unit_type in the range of 20 to 23, inclusive, which are reserved, shall not precede the first VCL
NAL unit of the primary coded picture within the access unit (when specified in the future by ITU-T | ISO/IEC).

7.4.2     Raw byte sequence payloads and RBSP trailing bits semantics

7.4.2.1   Sequence parameter set RBSP semantics
profile_idc and level_idc indicate the profile and level to which the bitstream conforms, as specified in Annex A.
constraint_set0_flag equal to 1 indicates that the bitstream obeys all constraints specified in subclause A.2.1.
constraint_set0_flag equal to 0 indicates that the bitstream may or may not obey all constraints specified in subclause
A.2.1.




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constraint_set1_flag equal to 1 indicates that the bitstream obeys all constraints specified in subclause A.2.2.
constraint_set1_flag equal to 0 indicates that the bitstream may or may not obey all constraints specified in subclause
A.2.2.
constraint_set2_flag equal to 1 indicates that the bitstream obeys all constraints specified in subclause A.2.3.
constraint_set2_flag equal to 0 indicates that the bitstream may or may not obey all constraints specified in subclause
A.2.3.
     NOTE 1 – When one or more than one of constraint_set0_flag, constraint_set1_flag, or constraint_set2_flag are equal to 1, the
     bitstream must obey the constraints of all of the indicated subclauses of subclause A.2. When profile_idc is equal to 100, 110,
     122, or 144, the values of constraint_set0_flag, constraint_set1_flag, and constraint_set2_flag must all be equal to 0.
constraint_set3_flag indicates the following.
–     If profile_idc is equal to 66, 77, or 88 and level_idc is equal to 11, constraint_set3_flag equal to 1 indicates that the
      bitstream obeys all constraints specified in Annex A for level 1b and constraint_set3_flag equal to 0 indicates that
      the bitstream may or may not obey all constraints specified in Annex A for level 1b.
–     Otherwise (profile_idc is equal to 100, 110, 122, or 144 or level_idc is not equal to 11), the value of 1 for
      constraint_set3_flag is reserved for future use by ITU-T | ISO/IEC. constraint_set3_flag shall be equal to 0 in
      bitstreams conforming to this Recommendation | International Standard when profile_idc is equal
      to 100, 110, 122, or 144 or level_idc is not equal to 11. Decoders conforming to this Recommendation |
      International Standard shall ignore the value of constraint_set3_flag when profile_idc is equal
      to 100, 110, 122, or 144 or level_idc is not equal to 11.
reserved_zero_4bits shall be equal to 0. Other values of reserved_zero_4bits may be specified in the future by ITU-T |
ISO/IEC. Decoders shall ignore the value of reserved_zero_4bits.
seq_parameter_set_id identifies the sequence parameter set that is referred to by the picture parameter set. The value
of seq_parameter_set_id shall be in the range of 0 to 31, inclusive.
     NOTE 2 – When feasible, encoders should use distinct values of seq_parameter_set_id when the values of other sequence
     parameter set syntax elements differ rather than changing the values of the syntax elements associated with a specific value of
     seq_parameter_set_id.
chroma_format_idc specifies the chroma sampling relative to the luma sampling as specified in subclause 6.2. The
value of chroma_format_idc shall be in the range of 0 to 3, inclusive. When chroma_format_idc is not present, it shall
be inferred to be equal to 1 (4:2:0 chroma format).
residual_colour_transform_flag equal to 1 specifies that the residual colour transform is applied as specified in
subclause 8.5. residual_colour_transform_flag equal to 0 specifies that the residual colour transform is not applied.
When residual_colour_transform_flag is not present, it shall be inferred to be equal to 0.
bit_depth_luma_minus8 specifies the bit depth of the samples of the luma array and the value of the luma quantisation
parameter range offset QpBdOffsetY, as specified by

          BitDepthY = 8 + bit_depth_luma_minus8                                                                                (7-1)


          QpBdOffsetY = 6 * bit_depth_luma_minus8                                                                              (7-2)


When bit_depth_luma_minus8 is not present, it shall be inferred to be equal to 0. bit_depth_luma_minus8 shall be in
the range of 0 to 4, inclusive.
bit_depth_chroma_minus8 specifies the bit depth of the samples of the chroma arrays and the value of the chroma
quantisation parameter range offset QpBdOffsetC, as specified by

          BitDepthC = 8 + bit_depth_chroma_minus8                                                                              (7-3)


          QpBdOffsetC = 6 * ( bit_depth_chroma_minus8 + residual_colour_transform_flag )                                       (7-4)


When bit_depth_chroma_minus8 is not present, it shall be inferred to be equal to 0. bit_depth_chroma_minus8 shall be
in the range of 0 to 4, inclusive.
The variable RawMbBits is derived as

         RawMbBits = 256 * BitDepthY + 2 * MbWidthC * MbHeightC * BitDepthC                                                    (7-5)




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qpprime_y_zero_transform_bypass_flag equal to 1 specifies that, when QP'Y is equal to 0, a transform bypass
operation for the transform coefficient decoding process and picture construction process prior to deblocking filter
process as specified in subclause 8.5 shall be applied. qpprime_y_zero_transform_bypass_flag equal to 0 specifies that
the transform coefficient decoding process and picture construction process prior to deblocking filter process shall not
use the transform bypass operation. When qpprime_y_zero_transform_bypass_flag is not present, it shall be inferred to
be equal to 0.
seq_scaling_matrix_present_flag equal to 1 specifies that the flags seq_scaling_list_present_flag[ i ] for i = 0..7 are
present. seq_scaling_matrix_present_flag equal to 0 specifies that these flags are not present and the sequence-level
scaling list specified by Flat_4x4_16 shall be inferred for i = 0..5 and the sequence-level scaling list specified by
Flat_8x8_16 shall be inferred for i = 6..7. When seq_scaling_matrix_present_flag is not present, it shall be inferred to
be equal to 0.
The scaling lists Flat_4x4_16 and Flat_8x8_16 are specified as follows:

            Flat_4x4_16[ i ] = 16,    with i = 0..15,                                                                   (7-6)


            Flat_8x8_16[ i ] = 16,    with i = 0..63.                                                                   (7-7)


seq_scaling_list_present_flag[ i ] equal to 1 specifies that the syntax structure for scaling list i is present in the
sequence parameter set. seq_scaling_list_present_flag[ i ] equal to 0 specifies that the syntax structure for scaling list i
is not present in the sequence parameter set and the scaling list fall-back rule set A specified in Table 7-2 shall be used
to infer the sequence-level scaling list for index i.

         Table 7-2 – Assignment of mnemonic names to scaling list indices and specification of fall-back rule

 Value of      Mnemonic name         Block      MB        Component     Scaling list      Scaling list          Default
scaling list                          size   prediction                fall-back rule    fall-back rule       scaling list
  index                                         type                        set A             set B

     0          Sl_4x4_Intra_Y       4x4        Intra        Y             default       sequence-level   Default_4x4_Intra
                                                                         scaling list      scaling list

     1          Sl_4x4_Intra_Cb      4x4        Intra        Cb          scaling list     scaling list    Default_4x4_Intra
                                                                          for i = 0        for i = 0

     2          Sl_4x4_Intra_Cr      4x4        Intra        Cr          scaling list     scaling list    Default_4x4_Intra
                                                                          for i = 1        for i = 1

     3          Sl_4x4_Inter_Y       4x4        Inter        Y             default       sequence-level   Default_4x4_Inter
                                                                         scaling list      scaling list

     4          Sl_4x4_Inter_Cb      4x4        Inter        Cb          scaling list     scaling list    Default_4x4_Inter
                                                                          for i = 3        for i = 3

     5          Sl_4x4_Inter_Cr      4x4        Inter        Cr          scaling list     scaling list    Default_4x4_Inter
                                                                          for i = 4        for i = 4

     6          Sl_8x8_Intra_Y       8x8        Intra        Y             default       sequence-level   Default_8x8_Intra
                                                                         scaling list      scaling list

     7          Sl_8x8_Inter_Y       8x8        Inter        Y             default       sequence-level   Default_8x8_Inter
                                                                         scaling list      scaling list



Table 7-3 specifies the default scaling lists Default_4x4_Intra and Default_4x4_Inter. Table 7-4 specifies the default
scaling lists Default_8x8_Intra and Default_8x8_Inter.




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               Table 7-3 – Specification of default scaling lists Default_4x4_Intra and Default_4x4_Inter

                   idx                 0     1    2     3    4   5    6    7    8    9    10   11   12   13   14   15

     Default_4x4_Intra[ idx ]          6    13   13    20   20   20   28   28   28   28   32   32   32   37   37   42

     Default_4x4_Inter[ idx ]         10    14   14    20   20   20   24   24   24   24   27   27   27   30   30   34



               Table 7-4 – Specification of default scaling lists Default_8x8_Intra and Default_8x8_Inter

                    idx                0    1     2    3    4    5    6    7    8    9    10   11   12   13   14   15

         Default_8x8_Intra[ idx ]      6    10   10    13   11   13   16   16   16   16   18   18   18   18   18   23

         Default_8x8_Inter[ idx ]      9    13   13    15   13   15   17   17   17   17   19   19   19   19   19   21

         Table 7-4 (continued) – Specification of default scaling lists Default_8x8_Intra and Default_8x8_Inter

                   idx                 16   17    18   19   20   21   22   23   24   25   26   27   28   29   30   31

     Default_8x8_Intra[ idx ]          23   23    23   23   23   25   25   25   25   25   25   25   27   27   27   27

     Default_8x8_Inter[ idx ]          21   21    21   21   21   22   22   22   22   22   22   22   24   24   24   24

         Table 7-4 (continued) – Specification of default scaling lists Default_8x8_Intra and Default_8x8_Inter

                   idx                 32   33    34   35   36   37   38   39   40   41   42   43   44   45   46   47

     Default_8x8_Intra[ idx ]          27   27    27   27   29   29   29   29   29   29   29   31   31   31   31   31

     Default_8x8_Inter[ idx ]          24   24    24   24   25   25   25   25   25   25   25   27   27   27   27   27

         Table 7-4 (concluded) – Specification of default scaling lists Default_8x8_Intra and Default_8x8_Inter

                   idx                 48   49    50   51   52   53   54   55   56   57   58   59   60   61   62   63

     Default_8x8_Intra[ idx ]          31   33    33   33   33   33   36   36   36   36   38   38   38   40   40   42

     Default_8x8_Inter[ idx ]          27   28    28   28   28   28   30   30   30   30   32   32   32   33   33   35



log2_max_frame_num_minus4 specifies the value of the variable MaxFrameNum that is used in frame_num related
derivations as follows:

         MaxFrameNum = 2( log2_max_frame_num_minus4 + 4 )                                                               (7-8)


The value of log2_max_frame_num_minus4 shall be in the range of 0 to 12, inclusive.
pic_order_cnt_type specifies the method to decode picture order count (as specified in subclause 8.2.1). The value of
pic_order_cnt_type shall be in the range of 0 to 2, inclusive.
pic_order_cnt_type shall not be equal to 2 in a coded video sequence that contains any of the following
     –      an access unit containing a non-reference frame followed immediately by an access unit containing a non-
            reference picture;
     –      two access units each containing a field with the two fields together forming a complementary non-reference
            field pair followed immediately by an access unit containing a non-reference picture;
     –      an access unit containing a non-reference field followed immediately by an access unit containing another
            non-reference picture that does not form a complementary non-reference field pair with the first of the two
            access units.

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log2_max_pic_order_cnt_lsb_minus4 specifies the value of the variable MaxPicOrderCntLsb that is used in the
decoding process for picture order count as specified in subclause 8.2.1 as follows:

       MaxPicOrderCntLsb = 2( log2_max_pic_order_cnt_lsb_minus4 + 4 )                                               (7-9)


The value of log2_max_pic_order_cnt_lsb_minus4 shall be in the range of 0 to 12, inclusive.
delta_pic_order_always_zero_flag equal to 1 specifies that delta_pic_order_cnt[ 0 ] and delta_pic_order_cnt[ 1 ] are
not present in the slice headers of the sequence and shall be inferred to be equal to 0. delta_pic_order_always_zero_flag
equal to 0 specifies that delta_pic_order_cnt[ 0 ] is present in the slice headers of the sequence and
delta_pic_order_cnt[ 1 ] may be present in the slice headers of the sequence.
offset_for_non_ref_pic is used to calculate the picture order count of a non-reference picture as specified in 8.2.1. The
value of offset_for_non_ref_pic shall be in the range of -231 to 231 - 1, inclusive.
offset_for_top_to_bottom_field is used to calculate the picture order count of a bottom field as specified in subclause
8.2.1. The value of offset_for_top_to_bottom_field shall be in the range of -231 to 231 - 1, inclusive.
num_ref_frames_in_pic_order_cnt_cycle is used in the decoding process for picture order count as specified in
subclause 8.2.1. The value of num_ref_frames_in_pic_order_cnt_cycle shall be in the range of 0 to 255, inclusive.
offset_for_ref_frame[ i ] is an element of a list of num_ref_frames_in_pic_order_cnt_cycle values used in the
decoding process for picture order count as specified in subclause 8.2.1. The value of offset_for_ref_frame[ i ] shall be
in the range of -231 to 231 - 1, inclusive.
num_ref_frames specifies the maximum number of short-term and long-term reference frames, complementary
reference field pairs, and non-paired reference fields that may be used by the decoding process for inter prediction of
any picture in the sequence. num_ref_frames also determines the size of the sliding window operation as specified in
subclause 8.2.5.3. The value of num_ref_frames shall be in the range of 0 to MaxDpbSize (as specified in subclause
A.3.1 or A.3.2), inclusive.
gaps_in_frame_num_value_allowed_flag specifies the allowed values of frame_num as specified in subclause 7.4.3
and the decoding process in case of an inferred gap between values of frame_num as specified in subclause 8.2.5.2.
pic_width_in_mbs_minus1 plus 1 specifies the width of each decoded picture in units of macroblocks.
The variable for the picture width in units of macroblocks is derived as follows

       PicWidthInMbs = pic_width_in_mbs_minus1 + 1                                                                 (7-10)


The variable for picture width for the luma component is derived as follows

       PicWidthInSamplesL = PicWidthInMbs * 16                                                                     (7-11)


The variable for picture width for the chroma components is derived as follows

       PicWidthInSamplesC = PicWidthInMbs * MbWidthC                                                               (7-12)


pic_height_in_map_units_minus1 plus 1 specifies the height in slice group map units of a decoded frame or field.
The variables PicHeightInMapUnits and PicSizeInMapUnits are derived as follows

       PicHeightInMapUnits = pic_height_in_map_units_minus1 + 1                                                    (7-13)


       PicSizeInMapUnits = PicWidthInMbs * PicHeightInMapUnits                                                     (7-14)


frame_mbs_only_flag equal to 0 specifies that coded pictures of the coded video sequence may either be coded fields
or coded frames. frame_mbs_only_flag equal to 1 specifies that every coded picture of the coded video sequence is a
coded frame containing only frame macroblocks.
The allowed range of values for pic_width_in_mbs_minus1,                       pic_height_in_map_units_minus1,       and
frame_mbs_only_flag is specified by constraints in Annex A.




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Depending on frame_mbs_only_flag, semantics are assigned to pic_height_in_map_units_minus1 as follows.
–    If frame_mbs_only_flag is equal to 0, pic_height_in_map_units_minus1 plus 1 is the height of a field in units of
     macroblocks.
–    Otherwise (frame_mbs_only_flag is equal to 1), pic_height_in_map_units_minus1 plus 1 is the height of a frame
     in units of macroblocks.
The variable FrameHeightInMbs is derived as follows

       FrameHeightInMbs = ( 2 – frame_mbs_only_flag ) * PicHeightInMapUnits                                              (7-15)


mb_adaptive_frame_field_flag equal to 0 specifies no switching between frame and field macroblocks within a
picture. mb_adaptive_frame_field_flag equal to 1 specifies the possible use of switching between frame and field
macroblocks within frames. When mb_adaptive_frame_field_flag is not present, it shall be inferred to be equal to 0.
direct_8x8_inference_flag specifies the method used in the derivation process for luma motion vectors for B_Skip,
B_Direct_16x16 and B_Direct_8x8 as specified in subclause 8.4.1.2. When frame_mbs_only_flag is equal to 0,
direct_8x8_inference_flag shall be equal to 1.
frame_cropping_flag equal to 1 specifies that the frame cropping offset parameters follow next in the sequence
parameter set. frame_cropping_flag equal to 0 specifies that the frame cropping offset parameters are not present.
frame_crop_left_offset, frame_crop_right_offset, frame_crop_top_offset, frame_crop_bottom_offset specify the
samples of the pictures in the coded video sequence that are output from the decoding process, in terms of a rectangular
region specified in frame coordinates for output.
The variables CropUnitX and CropUnitY are derived as follows:
–– If chroma_format_idc is equal to 0, CropUnitX and CropUnitY are derived as

                  CropUnitX = 1                                                                                          (7-16)
                  CropUnitY = 2 – frame_mbs_only_flag                                                                    (7-17)

–– Otherwise (chroma_format_idc is equal to 1, 2, or 3), CropUnitX and CropUnitY are derived as
                  CropUnitX = SubWidthC                                                                                  (7-18)
                  CropUnitY = SubHeightC * ( 2 – frame_mbs_only_flag )                                                   (7-19)

The frame cropping rectangle contains luma samples with horizontal frame coordinates from
CropUnitX * frame_crop_left_offset to PicWidthInSamplesL – ( CropUnitX * frame_crop_right_offset + 1 ) and
vertical   frame   coordinates     from      CropUnitY * frame_crop_top_offset   to    ( 16 * FrameHeightInMbs ) –
( CropUnitY * frame_crop_bottom_offset + 1 ), inclusive. The value of frame_crop_left_offset shall be in the range of
0 to ( PicWidthInSamplesL / CropUnitX ) – ( frame_crop_right_offset + 1 ), inclusive; and the value of
frame_crop_top_offset shall be in the range of 0 to ( 16 * FrameHeightInMbs / CropUnitY ) –
( frame_crop_bottom_offset + 1 ), inclusive.
When frame_cropping_flag is equal to 0, the values of frame_crop_left_offset, frame_crop_right_offset,
frame_crop_top_offset, and frame_crop_bottom_offset shall be inferred to be equal to 0.
When chroma_format_idc is not equal to 0, the corresponding specified samples of the two chroma arrays are the
samples having frame coordinates ( x / SubWidthC, y / SubHeightC ), where ( x, y ) are the frame coordinates of the
specified luma samples.
For decoded fields, the specified samples of the decoded field are the samples that fall within the rectangle specified in
frame coordinates.
vui_parameters_present_flag equal to 1 specifies that the vui_parameters( ) syntax structure as specified in Annex E
is present. vui_parameters_present_flag equal to 0 specifies that the vui_parameters( ) syntax structure as specified in
Annex E is not present.

7.4.2.1.1 Scaling list semantics
delta_scale is used to derive the j-th element of the scaling list for j in the range of 0 to sizeOfScalingList - 1, inclusive.
The value of delta_scale shall be in the range of -128 to +127, inclusive.
When useDefaultScalingMatrixFlag is derived to be equal to 1, the scaling list shall be inferred to be equal to the
default scaling list as specified in Table 7-2.

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7.4.2.1.2 Sequence parameter set extension RBSP semantics
seq_parameter_set_id identifies the sequence parameter set associated with the sequence parameter set extension. The
value of seq_parameter_set_id shall be in the range of 0 to 31, inclusive.
aux_format_idc equal to 0 indicates that there are no auxiliary coded pictures in the coded video sequence.
aux_format_idc equal to 1 indicates that exactly one auxiliary coded picture is present in each access unit of the coded
video sequence, and that for alpha blending purposes the decoded samples of the associated primary coded picture in
each access unit should be multiplied by the interpretation sample values of the auxiliary coded picture in the access
unit in the display process after output from the decoding process. aux_format_idc equal to 2 indicates that exactly one
auxiliary coded picture exists in each access unit of the coded video sequence, and that for alpha blending purposes the
decoded samples of the associated primary coded picture in each access unit should not be multiplied by the
interpretation sample values of the auxiliary coded picture in the access unit in the display process after output from the
decoding process. aux_format_idc equal to 3 indicates that exactly one auxiliary coded picture exists in each access unit
of the coded video sequence, and that the usage of the auxiliary coded pictures is unspecified. The value of
aux_format_idc shall be in the range of 0 to 3, inclusive. Values greater than 3 for aux_format_idc are reserved to
indicate the presence of exactly one auxiliary coded picture in each access unit of the coded video sequence for
purposes to be specified in the future by ITU-T | ISO/IEC. When aux_format_idc is not present, it shall be inferred to be
equal to 0.
    NOTE 1 – Decoders conforming to this Recommendation | International Standard are not required to decode auxiliary coded
    pictures.
bit_depth_aux_minus8 specifies the bit depth of the samples of the sample array of the auxiliary coded picture.
bit_depth_aux_minus8 shall be in the range of 0 to 4, inclusive.
alpha_incr_flag equal to 0 indicates that the interpretation sample value for each decoded auxiliary coded picture
sample value is equal to the decoded auxiliary coded picture sample value for purposes of alpha blending.
alpha_incr_flag equal to 1 indicates that, for purposes of alpha blending, after decoding the auxiliary coded picture
samples, any auxiliary coded picture sample value that is greater than Min(alpha_opaque_value,
alpha_transparent_value) should be increased by one to obtain the interpretation sample value for the auxiliary coded
picture sample, and any auxiliary coded picture sample value that is less than or equal to Min(alpha_opaque_value,
alpha_transparent_value) should be used without alteration as the interpretation sample value for the decoded auxiliary
coded picture sample value.
alpha_opaque_value specifies the interpretation sample value of an auxiliary coded picture sample for which the
associated luma and chroma samples of the same access unit are considered opaque for purposes of alpha blending. The
number of bits used for the representation of the alpha_opaque_value syntax element is bit_depth_aux_minus8 + 9 bits.
alpha_transparent_value specifies the interpretation sample value of an auxiliary coded picture sample for which the
associated luma and chroma samples of the same access unit are considered transparent for purposes of alpha blending.
The number of bits used for the representation of the alpha_transparent_value syntax element is
bit_depth_aux_minus8 + 9 bits.
When alpha_incr_flag is equal to 1, alpha_transparent_value shall not be equal to alpha_opaque_value and
Log2( Abs( alpha_opaque_value – alpha_transparent_value ) ) shall have an integer value. A value of
alpha_transparent_value that is equal to alpha_opaque_value indicates that the auxiliary coded picture is not intended
for alpha blending purposes.
    NOTE 2 – For alpha blending purposes, alpha_opaque_value may be greater than alpha_transparent_value, or it may be less than
    alpha_transparent_value. Interpretation sample values should be clipped to the range of alpha_opaque_value to
    alpha_transparent_value, inclusive.
The decoding of the sequence parameter set extension and the decoding of auxiliary coded pictures is not required for
conformance with this Recommendation | International Standard.
The syntax of each coded slice of an auxiliary coded picture shall obey the same constraints as a coded slice of a
redundant picture, with the following differences of constraints.
–    The following applies in regard to whether the primary coded picture is an IDR picture.
     – If the primary coded picture is an IDR picture, the auxiliary coded slice syntax shall correspond to that of a
       slice having nal_unit_type equal to 5 (a slice of an IDR picture);
     – Otherwise (the primary coded picture is not an IDR picture), the auxiliary coded slice syntax shall correspond
       to that of a slice having nal_unit_type equal to 1 (a slice of a non-IDR picture).
–    The slices of an auxiliary coded picture (when present) shall contain all macroblocks corresponding to those of the
     primary coded picture.
–    redundant_pic_cnt shall be equal to 0 in all auxiliary coded slices.


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The (optional) decoding process for the decoding of auxiliary coded pictures is the same as if the auxiliary coded
pictures were primary coded pictures in a separate coded video stream that differs from the primary coded pictures in
the current coded video stream in the following ways.
–     The IDR or non-IDR status of each auxiliary coded picture shall be inferred to be the same as the IDR or non-IDR
      status of the primary picture in the same access unit, rather than being inferred from the value of nal_ref_idc.
–     The value of chroma_format_idc shall be inferred to be equal to 0 for the decoding of the auxiliary coded pictures.
–     The value of bit_depth_luma_minus8 shall be inferred to be equal to bit_depth_aux_minus8 for the decoding of
      the auxiliary coded pictures.
     NOTE 3 – Alpha blending composition is normally performed with a background picture B, a foreground picture F, and a
     decoded auxiliary coded picture A, all of the same size. Assume for purposes of example illustration that the chroma resolution
     of B and F have been upsampled to the same resolution as the luma. Denote corresponding samples of B, F and A by b, f and a,
     respectively. Denote luma and chroma samples by subscripts Y, Cb and Cr.
     Define the variables alphaRange, alphaFwt and alphaBwt as follows:
           alphaRange = Abs( alpha_opaque_value - alpha_transparent_value )
           alphaFwt = Abs( a - alpha_transparent_value )
           alphaBwt = Abs( a - alpha_opaque_value )
     Then, in alpha blending composition, samples d of the displayed picture D may be calculated as
           dY = ( alphaFwt*fY + alphaBwt*bY + alphaRange/2 ) / alphaRange
           dCB = ( alphaFwt*fCB + alphaBwt*bCB + alphaRange/2 ) / alphaRange
           dCR = ( alphaFwt*fCR + alphaBwt*bCR + alphaRange/2 ) / alphaRange
     The samples of pictures D, F and B could also represent red, green, and blue component values (see subclause E.2.1). Here we
     have assumed Y, Cb and Cr component values. Each component, e.g. Y, is assumed for purposes of example illustration above to
     have the same bit depth in each of the pictures D, F and B. However, different components, e.g. Y and Cb, need not have the
     same bit depth in this example.
     When aux_format_idc is equal to 1, F would be the decoded picture obtained from the decoded luma and chroma, and A would
     be the decoded picture obtained from the decoded auxiliary coded picture. In this case, the indicated example alpha blending
     composition involves multiplying the samples of F by factors obtained from the samples of A.
     A picture format that is useful for editing or direct viewing, and that is commonly used, is called pre-multiplied-black video. If
     the foreground picture was F, then the pre-multiplied-black video S is given by
           sY = ( alphaFwt*fY ) / alphaRange
           sCB = ( alphaFwt*fCB ) / alphaRange
           sCR = ( alphaFwt*fCR ) / alphaRange
     Pre-multiplied-black video has the characteristic that the picture S will appear correct if displayed against a black background.
     For a non-black background B, the composition of the displayed picture D may be calculated as
           dY = sY + ( alphaBwt*bY + alphaRange/2 ) / alphaRange
           dCB = sCB + ( alphaBwt*bCB + alphaRange/2 ) / alphaRange
           dCR = sCR + ( alphaBwt*bCR + alphaRange/2 ) / alphaRange
     When aux_format_idc is equal to 2, S would be the decoded picture obtained from the decoded luma and chroma, and A would
     again be the decoded picture obtained from the decoded auxiliary coded picture. In this case, alpha blending composition does
     not involve multiplication of the samples of S by factors obtained from the samples of A.
additional_extension_flag equal to 0 indicates that no additional data follows within the sequence parameter set
extension syntax structure prior to the RBSP trailing bits. The value of additional_extension_flag shall be equal to 0.
The value of 1 for additional_extension_flag is reserved for future use by ITU-T | ISO/IEC. Decoders that conform to
this Recommendation | International Standard shall ignore all data that follows the value of 1 for
additional_extension_flag in a sequence parameter set extension NAL unit.

7.4.2.2     Picture parameter set RBSP semantics
pic_parameter_set_id identifies the picture parameter set that is referred to in the slice header. The value of
pic_parameter_set_id shall be in the range of 0 to 255, inclusive.
seq_parameter_set_id refers to the active sequence parameter set. The value of seq_parameter_set_id shall be in the
range of 0 to 31, inclusive.
entropy_coding_mode_flag selects the entropy decoding method to be applied for the syntax elements for which two
descriptors appear in the syntax tables as follows.
–     If entropy_coding_mode_flag is equal to 0, the method specified by the left descriptor in the syntax table is applied
      (Exp-Golomb coded, see subclause 9.1 or CAVLC, see subclause 9.2).
–     Otherwise (entropy_coding_mode_flag is equal to 1), the method specified by the right descriptor in the syntax
      table is applied (CABAC, see subclause 9.3).


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pic_order_present_flag equal to 1 specifies that the picture order count related syntax elements are present in the slice
headers as specified in subclause 7.3.3. pic_order_present_flag equal to 0 specifies that the picture order count related
syntax elements are not present in the slice headers.
num_slice_groups_minus1 plus 1 specifies the number of slice groups for a picture. When num_slice_groups_minus1
is equal to 0, all slices of the picture belong to the same slice group. The allowed range of num_slice_groups_minus1 is
specified in Annex A.
slice_group_map_type specifies how the mapping of slice group map units to slice groups is coded. The value of
slice_group_map_type shall be in the range of 0 to 6, inclusive.
slice_group_map_type equal to 0 specifies interleaved slice groups.
slice_group_map_type equal to 1 specifies a dispersed slice group mapping.
slice_group_map_type equal to 2 specifies one or more “foreground” slice groups and a “leftover” slice group.
slice_group_map_type values equal to 3, 4, and 5 specify changing slice groups. When num_slice_groups_minus1 is
not equal to 1, slice_group_map_type shall not be equal to 3, 4, or 5.
slice_group_map_type equal to 6 specifies an explicit assignment of a slice group to each slice group map unit.
Slice group map units are specified as follows.
–    If frame_mbs_only_flag is equal to 0 and mb_adaptive_frame_field_flag is equal to 1 and the coded picture is a
     frame, the slice group map units are macroblock pair units.
–    Otherwise, if frame_mbs_only_flag is equal to 1 or a coded picture is a field, the slice group map units are units of
     macroblocks.
–    Otherwise (frame_mbs_only_flag is equal to 0 and mb_adaptive_frame_field_flag is equal to 0 and the coded
     picture is a frame), the slice group map units are units of two macroblocks that are vertically contiguous as in a
     frame macroblock pair of an MBAFF frame.
run_length_minus1[ i ] is used to specify the number of consecutive slice group map units to be assigned to the i-th
slice group in raster scan order of slice group map units. The value of run_length_minus1[ i ] shall be in the range of 0
to PicSizeInMapUnits - 1, inclusive.
top_left[ i ] and bottom_right[ i ] specify the top-left and bottom-right corners of a rectangle, respectively. top_left[ i ]
and bottom_right[ i ] are slice group map unit positions in a raster scan of the picture for the slice group map units. For
each rectangle i, all of the following constraints shall be obeyed by the values of the syntax elements top_left[ i ] and
bottom_right[ i ]
–    top_left[ i ] shall be less than or equal to bottom_right[ i ] and bottom_right[ i ] shall be less than
     PicSizeInMapUnits.
–    ( top_left[ i ] % PicWidthInMbs ) shall be less than or equal to the value of ( bottom_right[ i ] % PicWidthInMbs ).
slice_group_change_direction_flag is used with slice_group_map_type to specify the refined map type when
slice_group_map_type is 3, 4, or 5.
slice_group_change_rate_minus1 is used to specify the variable SliceGroupChangeRate. SliceGroupChangeRate
specifies the multiple in number of slice group map units by which the size of a slice group can change from one picture
to the next. The value of slice_group_change_rate_minus1 shall be in the range of 0 to PicSizeInMapUnits – 1,
inclusive. The SliceGroupChangeRate variable is specified as follows:

       SliceGroupChangeRate = slice_group_change_rate_minus1 + 1                                                       (7-20)


pic_size_in_map_units_minus1 is used to specify the number of slice group map units in the picture.
pic_size_in_map_units_minus1 shall be equal to PicSizeInMapUnits - 1.
slice_group_id[ i ] identifies a slice group of the i-th slice group map unit in raster scan order. The size of the
slice_group_id[ i ] syntax element is Ceil( Log2( num_slice_groups_minus1 + 1 ) ) bits. The value of slice_group_id[ i ]
shall be in the range of 0 to num_slice_groups_minus1, inclusive.
num_ref_idx_l0_active_minus1 specifies the maximum reference index for reference picture list 0 that shall be used to
decode each slice of the picture in which list 0 prediction is used when num_ref_idx_active_override_flag is equal to 0
for the slice. When MbaffFrameFlag is equal to 1, num_ref_idx_l0_active_minus1 is the maximum index value for the
decoding of frame macroblocks and 2 * num_ref_idx_l0_active_minus1 + 1 is the maximum index value for the
decoding of field macroblocks. The value of num_ref_idx_l0_active_minus1 shall be in the range of 0 to 31, inclusive.



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num_ref_idx_l1_active_minus1 has the same semantics as num_ref_idx_l0_active_minus1 with l0 and list 0 replaced
by l1 and list 1, respectively.
weighted_pred_flag equal to 0 specifies that weighted prediction shall not be applied to P and SP slices.
weighted_pred_flag equal to 1 specifies that weighted prediction shall be applied to P and SP slices.
weighted_bipred_idc equal to 0 specifies that the default weighted prediction shall be applied to B slices.
weighted_bipred_idc equal to 1 specifies that explicit weighted prediction shall be applied to B slices.
weighted_bipred_idc equal to 2 specifies that implicit weighted prediction shall be applied to B slices. The value of
weighted_bipred_idc shall be in the range of 0 to 2, inclusive.
pic_init_qp_minus26 specifies the initial value minus 26 of SliceQPY for each slice. The initial value is modified at the
slice layer when a non-zero value of slice_qp_delta is decoded, and is modified further when a non-zero value of
mb_qp_delta is decoded at the macroblock layer. The value of pic_init_qp_minus26 shall be in the range of
-(26 + QpBdOffsetY ) to +25, inclusive.
pic_init_qs_minus26 specifies the initial value minus 26 of SliceQSY for all macroblocks in SP or SI slices. The initial
value is modified at the slice layer when a non-zero value of slice_qs_delta is decoded. The value of
pic_init_qs_minus26 shall be in the range of -26 to +25, inclusive.
chroma_qp_index_offset specifies the offset that shall be added to QPY and QSY for addressing the table of QPC
values for the Cb chroma component. The value of chroma_qp_index_offset shall be in the range of -12 to +12,
inclusive.
deblocking_filter_control_present_flag equal to 1 specifies that a set of syntax elements controlling the characteristics
of the deblocking filter is present in the slice header. deblocking_filter_control_present_flag equal to 0 specifies that the
set of syntax elements controlling the characteristics of the deblocking filter is not present in the slice headers and their
inferred values are in effect.
constrained_intra_pred_flag equal to 0 specifies that intra prediction allows usage of residual data and decoded
samples of neighbouring macroblocks coded using Inter macroblock prediction modes for the prediction of
macroblocks coded using Intra macroblock prediction modes. constrained_intra_pred_flag equal to 1 specifies
constrained intra prediction, in which case prediction of macroblocks coded using Intra macroblock prediction modes
only uses residual data and decoded samples from I or SI macroblock types.
redundant_pic_cnt_present_flag equal to 0 specifies that the redundant_pic_cnt syntax element is not present in slice
headers, data partitions B, and data partitions C that refer (either directly or by association with a corresponding data
partition A) to the picture parameter set. redundant_pic_cnt_present_flag equal to 1 specifies that the redundant_pic_cnt
syntax element is present in all slice headers, data partitions B, and data partitions C that refer (either directly or by
association with a corresponding data partition A) to the picture parameter set.
transform_8x8_mode_flag equal to 1 specifies that the 8x8 transform decoding process may be in use (see
subclause 8.5). transform_8x8_mode_flag equal to 0 specifies that the 8x8 transform decoding process is not in use.
When transform_8x8_mode_flag is not present, it shall be inferred to be 0.
pic_scaling_matrix_present_flag equal to 1 specifies that parameters are present to modify the scaling lists specified
in the sequence parameter set. pic_scaling_matrix_present_flag equal to 0 specifies that the scaling lists used for the
picture shall be inferred to be equal to those specified by the sequence parameter set. When
pic_scaling_matrix_present_flag is not present, it shall be inferred to be equal to 0.
pic_scaling_list_present_flag[ i ] equal to 1 specifies that the scaling list syntax structure is present to specify the
scaling list for index i. pic_scaling_list_present_flag[ i ] equal to 0 specifies that the syntax structure for scaling list i is
not present in the picture parameter set and that depending on the value of seq_scaling_matrix_present_flag, the
following applies.
–    If seq_scaling_matrix_present_flag is equal to 0, the scaling list fall-back rule set A as specified in Table 7-2 shall
     be used to derive the picture-level scaling list for index i.
–    Otherwise (seq_scaling_matrix_present_flag is equal to 1), the scaling list fall-back rule set B as specified in
     Table 7-2 shall be used to derive the picture-level scaling list for index i.
second_chroma_qp_index_offset specifies the offset that shall be added to QPY and QSY for addressing the table of
QPC values for the Cr chroma component. The value of second_chroma_qp_index_offset shall be in the range of -12 to
+12, inclusive.
When second_chroma_qp_index_offset is not present, it shall be inferred to be equal to chroma_qp_index_offset.




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7.4.2.3   Supplemental enhancement information RBSP semantics
Supplemental Enhancement Information (SEI) contains information that is not necessary to decode the samples of
coded pictures from VCL NAL units.

7.4.2.3.1 Supplemental enhancement information message semantics
An SEI NAL unit contains one or more SEI messages. Each SEI message consists of the variables specifying the type
payloadType and size payloadSize of the SEI payload. SEI payloads are specified in Annex D. The derived SEI payload
size payloadSize is specified in bytes and shall be equal to the number of bytes in the SEI payload.
ff_byte is a byte equal to 0xFF identifying a need for a longer representation of the syntax structure that it is used
within.
last_payload_type_byte is the last byte of the payload type of an SEI message.
last_payload_size_byte is the last byte of the size of an SEI message.

7.4.2.4   Access unit delimiter RBSP semantics
The access unit delimiter may be used to indicate the type of slices present in a primary coded picture and to simplify
the detection of the boundary between access units. There is no normative decoding process associated with the access
unit delimiter.
primary_pic_type indicates that the slice_type values for all slices of the primary coded picture are members of the set
listed in Table 7-5 for the given value of primary_pic_type.

                                      Table 7-5 – Meaning of primary_pic_type

                   primary_pic_type slice_type values that may be present in the primary coded picture

                   0                   I
                   1                   I, P
                   2                   I, P, B
                   3                   SI
                   4                  SI, SP
                   5                   I, SI
                   6                  I, SI, P, SP
                   7                  I, SI, P, SP, B



7.4.2.5   End of sequence RBSP semantics
The end of sequence RBSP specifies that the next subsequent access unit in the bitstream in decoding order (if any)
shall be an IDR access unit. The syntax content of the SODB and RBSP for the end of sequence RBSP are empty. No
normative decoding process is specified for an end of sequence RBSP.

7.4.2.6   End of stream RBSP semantics
The end of stream RBSP indicates that no additional NAL units shall be present in the bitstream that are subsequent to
the end of stream RBSP in decoding order. The syntax content of the SODB and RBSP for the end of stream RBSP are
empty. No normative decoding process is specified for an end of stream RBSP.

7.4.2.7   Filler data RBSP semantics
The filler data RBSP contains bytes whose value shall be equal to 0xFF. No normative decoding process is specified for
a filler data RBSP.
ff_byte is a byte equal to 0xFF.

7.4.2.8   Slice layer without partitioning RBSP semantics
The slice layer without partitioning RBSP consists of a slice header and slice data.




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7.4.2.9   Slice data partition RBSP semantics

7.4.2.9.1 Slice data partition A RBSP semantics
When slice data partitioning is in use, the coded data for a single slice is divided into three separate partitions. Partition
A contains all syntax elements of category 2.
Category 2 syntax elements include all syntax elements in the slice header and slice data syntax structures other than the
syntax elements in the residual( ) syntax structure.
slice_id identifies the slice associated with the data partition. Each slice shall have a unique slice_id value within the
coded picture that contains the slice. When arbitrary slice order is not allowed as specified in Annex A, the first slice of
a coded picture, in decoding order, shall have slice_id equal to 0 and the value of slice_id shall be incremented by one
for each subsequent slice of the coded picture in decoding order.
The range of slice_id is specified as follows.
–    If MbaffFrameFlag is equal to 0, slice_id shall be in the range of 0 to PicSizeInMbs - 1, inclusive.
–    Otherwise (MbaffFrameFlag is equal to 1), slice_id shall be in the range of 0 to PicSizeInMbs / 2 - 1, inclusive.

7.4.2.9.2 Slice data partition B RBSP semantics
When slice data partitioning is in use, the coded data for a single slice is divided into one to three separate partitions.
Slice data partition B contains all syntax elements of category 3.
Category 3 syntax elements include all syntax elements in the residual( ) syntax structure and in syntax structures used
within that syntax structure for collective macroblock types I and SI as specified in Table 7-10.
slice_id has the same semantics as specified in subclause 7.4.2.9.1.
redundant_pic_cnt shall be equal to 0 for slices and slice data partitions belonging to the primary coded picture. The
redundant_pic_cnt shall be greater than 0 for coded slices and coded slice data partitions in redundant coded pictures.
When redundant_pic_cnt is not present, its value shall be inferred to be equal to 0. The value of redundant_pic_cnt shall
be in the range of 0 to 127, inclusive.
The presence of a slice data partition B RBSP is specified as follows.
–    If the syntax elements of a slice data partition A RBSP indicate the presence of any syntax elements of category 3
     in the slice data for a slice, a slice data partition B RBSP shall be present having the same value of slice_id and
     redundant_pic_cnt as in the slice data partition A RBSP.
–    Otherwise (the syntax elements of a slice data partition A RBSP do not indicate the presence of any syntax
     elements of category 3 in the slice data for a slice), no slice data partition B RBSP shall be present having the same
     value of slice_id and redundant_pic_cnt as in the slice data partition A RBSP.

7.4.2.9.3 Slice data partition C RBSP semantics
When slice data partitioning is in use, the coded data for a single slice is divided into three separate partitions. Slice data
partition C contains all syntax elements of category 4.
Category 4 syntax elements include all syntax elements in the residual( ) syntax structure and in syntax structures used
within that syntax structure for collective macroblock types P and B as specified in Table 7-10.
slice_id has the same semantics as specified in subclause 7.4.2.9.1.
redundant_pic_cnt has the same semantics as specified in subclause 7.4.2.9.2.
The presence of a slice data partition C RBSP is specified as follows.
–    If the syntax elements of a slice data partition A RBSP indicate the presence of any syntax elements of category 4
     in the slice data for a slice, a slice data partition C RBSP shall be present having the same value of slice_id and
     redundant_pic_cnt as in the slice data partition A RBSP.
–    Otherwise (the syntax elements of a slice data partition A RBSP do not indicate the presence of any syntax
     elements of category 4 in the slice data for a slice), no slice data partition C RBSP shall be present having the same
     value of slice_id and redundant_pic_cnt as in the slice data partition A RBSP.

7.4.2.10 RBSP slice trailing bits semantics
cabac_zero_word is a byte-aligned sequence of two bytes equal to 0x0000.



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Let NumBytesInVclNALunits be the sum of the values of NumBytesInNALunit for all VCL NAL units of a coded
picture.
Let BinCountsInNALunits be the number of times that the parsing process function DecodeBin( ), specified in
subclause 9.3.3.2, is invoked to decode the contents of all VCL NAL units of a coded picture. When
entropy_coding_mode_flag is equal to 1, BinCountsInNALunits shall not exceed ( 32 ÷ 3 ) * NumBytesInVclNALunits
+ ( RawMbBits * PicSizeInMbs ) ÷ 32.
    NOTE – The constraint on the maximum number of bins resulting from decoding the contents of the slice layer NAL units can be
    met by inserting a number of cabac_zero_word syntax elements to increase the value of NumBytesInVclNALunits. Each
    cabac_zero_word is represented in a NAL unit by the three-byte sequence 0x000003 (as a result of the constraints on NAL unit
    contents that result in requiring inclusion of an emulation_prevention_three_byte for each cabac_zero_word).

7.4.2.11 RBSP trailing bits semantics
rbsp_stop_one_bit shall be equal to 1.
rbsp_alignment_zero_bit shall be equal to 0.

7.4.3    Slice header semantics
When present, the value of the slice header syntax elements pic_parameter_set_id, frame_num, field_pic_flag,
bottom_field_flag,     idr_pic_id,    pic_order_cnt_lsb,     delta_pic_order_cnt_bottom,    delta_pic_order_cnt[ 0 ],
delta_pic_order_cnt[ 1 ], sp_for_switch_flag, and slice_group_change_cycle shall be the same in all slice headers of a
coded picture.
first_mb_in_slice specifies the address of the first macroblock in the slice. When arbitrary slice order is not allowed as
specified in Annex A, the value of first_mb_in_slice shall not be less than the value of first_mb_in_slice for any other
slice of the current picture that precedes the current slice in decoding order.
The first macroblock address of the slice is derived as follows.
–    If MbaffFrameFlag is equal to 0, first_mb_in_slice is the macroblock address of the first macroblock in the slice,
     and first_mb_in_slice shall be in the range of 0 to PicSizeInMbs - 1, inclusive.
–    Otherwise (MbaffFrameFlag is equal to 1), first_mb_in_slice * 2 is the macroblock address of the first macroblock
     in the slice, which is the top macroblock of the first macroblock pair in the slice, and first_mb_in_slice shall be in
     the range of 0 to PicSizeInMbs / 2 - 1, inclusive.
slice_type specifies the coding type of the slice according to Table 7-6.

                                        Table 7-6 – Name association to slice_type

                                            slice_type        Name of slice_type
                                                 0            P (P slice)
                                                 1            B (B slice)
                                                 2            I (I slice)
                                                 3            SP (SP slice)
                                                 4            SI (SI slice)
                                                 5            P (P slice)
                                                 6            B (B slice)
                                                 7            I (I slice)
                                                 8            SP (SP slice)
                                                 9            SI (SI slice)


slice_type values in the range 5..9 specify, in addition to the coding type of the current slice, that all other slices of the
current coded picture shall have a value of slice_type equal to the current value of slice_type or equal to the current
value of slice_type – 5.
When nal_unit_type is equal to 5 (IDR picture), slice_type shall be equal to 2, 4, 7, or 9.
When num_ref_frames is equal to 0, slice_type shall be equal to 2, 4, 7, or 9.
pic_parameter_set_id specifies the picture parameter set in use. The value of pic_parameter_set_id shall be in the
range of 0 to 255, inclusive.


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frame_num is used as an identifier for pictures and shall be represented by log2_max_frame_num_minus4 + 4 bits in
the bitstream. frame_num is constrained as follows:
The variable PrevRefFrameNum is derived as follows.
–    If the current picture is an IDR picture, PrevRefFrameNum is set equal to 0.
–    Otherwise (the current picture is not an IDR picture), PrevRefFrameNum is set as follows.
     –     If the decoding process for gaps in frame_num specified in subclause 8.2.5.2 was invoked by the decoding
           process for an access unit that contained a non-reference picture that followed the previous access unit in
           decoding order that contained a reference picture, PrevRefFrameNum is set equal to the value of frame_num
           for the last of the "non-existing" reference frames inferred by the decoding process for gaps in frame_num
           specified in subclause 8.2.5.2.
     –     Otherwise, PrevRefFrameNum is set equal to the value of frame_num for the previous access unit in
           decoding order that contained a reference picture.
The value of frame_num is constrained as follows.
–    If the current picture is an IDR picture, frame_num shall be equal to 0.
–    Otherwise (the current picture is not an IDR picture), referring to the primary coded picture in the previous access
     unit in decoding order that contains a reference picture as the preceding reference picture, the value of frame_num
     for the current picture shall not be equal to PrevRefFrameNum unless all of the following three conditions are true.
     –     the current picture and the preceding reference picture belong to consecutive access units in decoding order
     –     the current picture and the preceding reference picture are reference fields having opposite parity
     –     one or more of the following conditions is true
           –      the preceding reference picture is an IDR picture
           –      the preceding reference picture includes a memory_management_control_operation syntax element equal
                   to 5
                      NOTE 1 – When the preceding reference picture includes a memory_management_control_operation syntax
                      element equal to 5, PrevRefFrameNum is equal to 0.
           –      there is a primary coded picture that precedes the preceding reference picture and the primary coded
                   picture that precedes the preceding reference picture does not have frame_num equal to
                   PrevRefFrameNum
           –      there is a primary coded picture that precedes the preceding reference picture and the primary coded
                   picture that precedes the preceding reference picture is not a reference picture
When the value of frame_num is not equal to PrevRefFrameNum, the following applies.
–    There shall not be any previous field or frame in decoding order that is currently marked as "used for short-term
     reference" that has a value of frame_num equal to any value taken on by the variable UnusedShortTermFrameNum
     in the following:

         UnusedShortTermFrameNum = ( PrevRefFrameNum + 1 ) % MaxFrameNum
         while( UnusedShortTermFrameNum != frame_num )                                                               (7-21)
            UnusedShortTermFrameNum = ( UnusedShortTermFrameNum + 1 ) % MaxFrameNum

–    The value of frame_num is constrained as follows.
     –     If gaps_in_frame_num_value_allowed_flag is equal to 0, the value of frame_num for the current picture shall
           be equal to ( PrevRefFrameNum + 1 ) % MaxFrameNum.
     –     Otherwise (gaps_in_frame_num_value_allowed_flag is equal to 1), the following applies.
           –      If frame_num is greater than PrevRefFrameNum, there shall not be any non-reference pictures in the
                  bitstream that follow the previous reference picture and precede the current picture in decoding order in
                  which either of the following conditions is true.
                  –    The value of frame_num for the non-reference picture is less than PrevRefFrameNum.
                  –    The value of frame_num for the non-reference picture is greater than the value of frame_num for
                       the current picture.




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          –    Otherwise (frame_num is less than PrevRefFrameNum), there shall not be any non-reference pictures in
               the bitstream that follow the previous reference picture and precede the current picture in decoding order
               in which both of the following conditions are true.
               –    The value of frame_num for the non-reference picture is less than PrevRefFrameNum.
               –    The value of frame_num for the non-reference picture is greater than the value of frame_num for
                    the current picture.
A picture including a memory_management_control_operation equal to 5 shall have frame_num constraints as
described above and, after the decoding of the current picture and the processing of the memory management control
operations, the picture shall be inferred to have had frame_num equal to 0 for all subsequent use in the decoding
process, except as specified in subclause 7.4.1.2.4.
    NOTE 2 – When the primary coded picture is not an IDR picture and does not contain memory_management_control_operation
    syntax element equal to 5, the value of frame_num of a corresponding redundant coded picture is the same as the value of
    frame_num in the primary coded picture. Alternatively, the redundant coded picture includes a
    memory_management_control_operation syntax element equal to 5 and the corresponding primary coded picture is an IDR
    picture.
field_pic_flag equal to 1 specifies that the slice is a slice of a coded field. field_pic_flag equal to 0 specifies that the
slice is a slice of a coded frame. When field_pic_flag is not present it shall be inferred to be equal to 0.
The variable MbaffFrameFlag is derived as follows.

       MbaffFrameFlag = ( mb_adaptive_frame_field_flag && !field_pic_flag )                                           (7-22)


The variable for the picture height in units of macroblocks is derived as follows

       PicHeightInMbs = FrameHeightInMbs / ( 1 + field_pic_flag )                                                     (7-23)


The variable for picture height for the luma component is derived as follows

       PicHeightInSamplesL = PicHeightInMbs * 16                                                                      (7-24)


The variable for picture height for the chroma component is derived as follows

       PicHeightInSamplesC = PicHeightInMbs * MbHeightC                                                               (7-25)


The variable PicSizeInMbs for the current picture is derived according to:

       PicSizeInMbs = PicWidthInMbs * PicHeightInMbs                                                                  (7-26)


The variable MaxPicNum is derived as follows.
–    If field_pic_flag is equal to 0, MaxPicNum is set equal to MaxFrameNum.
–    Otherwise (field_pic_flag is equal to 1), MaxPicNum is set equal to 2*MaxFrameNum.
The variable CurrPicNum is derived as follows.
–    If field_pic_flag is equal to 0, CurrPicNum is set equal to frame_num.
–    Otherwise (field_pic_flag is equal to 1), CurrPicNum is set equal to 2 * frame_num + 1.
bottom_field_flag equal to 1 specifies that the slice is part of a coded bottom field. bottom_field_flag equal to 0
specifies that the picture is a coded top field. When this syntax element is not present for the current slice, it shall be
inferred to be equal to 0.
idr_pic_id identifies an IDR picture. The values of idr_pic_id in all the slices of an IDR picture shall remain
unchanged. When two consecutive access units in decoding order are both IDR access units, the value of idr_pic_id in
the slices of the first such IDR access unit shall differ from the idr_pic_id in the second such IDR access unit. The value
of idr_pic_id shall be in the range of 0 to 65535, inclusive.
pic_order_cnt_lsb specifies the picture order count modulo MaxPicOrderCntLsb for the top field of a coded frame or
for a coded field. The size of the pic_order_cnt_lsb syntax element is log2_max_pic_order_cnt_lsb_minus4 + 4 bits.
The value of the pic_order_cnt_lsb shall be in the range of 0 to MaxPicOrderCntLsb – 1, inclusive.


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delta_pic_order_cnt_bottom specifies the picture order count difference between the bottom field and the top field of
a coded frame as follows.
–     If the current picture includes a memory_management_control_operation equal to 5, the value of
      delta_pic_order_cnt_bottom shall be in the range of ( 1 – MaxPicOrderCntLsb ) to 231 - 1, inclusive.
–     Otherwise (the current picture does not include a memory_management_control_operation equal to 5), the value of
      delta_pic_order_cnt_bottom shall be in the range of –231 to 231 - 1, inclusive.
When this syntax element is not present in the bitstream for the current slice, it shall be inferred to be equal to 0.
delta_pic_order_cnt[ 0 ] specifies the picture order count difference from the expected picture order count for the top
field of a coded frame or for a coded field as specified in subclause 8.2.1. The value of delta_pic_order_cnt[ 0 ] shall be
in the range of -231 to 231 - 1, inclusive. When this syntax element is not present in the bitstream for the current slice, it
shall be inferred to be equal to 0.
delta_pic_order_cnt[ 1 ] specifies the picture order count difference from the expected picture order count for the
bottom field of a coded frame specified in subclause 8.2.1. The value of delta_pic_order_cnt[ 1 ] shall be in the range of
-231 to 231 - 1, inclusive. When this syntax element is not present in the bitstream for the current slice, it shall be inferred
to be equal to 0.
redundant_pic_cnt shall be equal to 0 for slices and slice data partitions belonging to the primary coded picture. The
value of redundant_pic_cnt shall be greater than 0 for coded slices or coded slice data partitions of a redundant coded
picture. When redundant_pic_cnt is not present in the bitstream, its value shall be inferred to be equal to 0. The value of
redundant_pic_cnt shall be in the range of 0 to 127, inclusive.
     NOTE 3 – Any area of the decoded primary picture and the corresponding area that would result from application of the
     decoding process specified in clause 8 for any redundant picture in the same access unit should be visually similar in appearance.
The value of pic_parameter_set_id in a coded slice or coded slice data partition of a redundant coded picture shall be
such that the value of pic_order_present_flag in the picture parameter set in use in a redundant coded picture is equal to
the value of pic_order_present_flag in the picture parameter set in use in the corresponding primary coded picture.
When present in the primary coded picture and any redundant coded picture, the following syntax elements shall have
the same value: field_pic_flag, bottom_field_flag, and idr_pic_id.
When the value of nal_ref_idc in one VCL NAL unit of an access unit is equal to 0, the value of nal_ref_idc in all other
VCL NAL units of the same access unit shall be equal to 0.
     NOTE 4 – The above constraint also has the following implications. If the value of nal_ref_idc for the VCL NAL units of the
     primary coded picture is equal to 0, the value of nal_ref_idc for the VCL NAL units of any corresponding redundant coded
     picture are equal to 0; otherwise (the value of nal_ref_idc for the VCL NAL units of the primary coded picture is greater than 0),
     the value of nal_ref_idc for the VCL NAL units of any corresponding redundant coded picture are also greater than 0.
The marking status of reference pictures and the value of frame_num after the decoded reference picture marking
process as specified in subclause 8.2.5 is invoked for the primary coded picture or any redundant coded picture of the
same access unit shall be identical regardless whether the primary coded picture or any redundant coded picture (instead
of the primary coded picture) of the access unit would be decoded.
     NOTE 5 – The above constraint also has the following implications.
     If a primary coded picture is not an IDR picture, the contents of the dec_ref_pic_marking( ) syntax structure must be identical in
     all slice headers of the primary coded picture and all redundant coded pictures corresponding to the primary coded picture.
     Otherwise (a primary coded picture is an IDR picture), the following applies.
     If a redundant coded picture corresponding to the primary coded picture is an IDR picture, the contents of the
     dec_ref_pic_marking( ) syntax structure must be identical in all slice headers of the primary coded picture and the redundant
     coded picture corresponding to the primary coded picture.
     Otherwise (a redundant picture corresponding to the primary coded picture is not an IDR picture), all slice headers of the
     redundant picture must contain a dec_ref_pic_marking syntax( ) structure including a memory_management_control_operation
     syntax element equal to 5, and the following applies.
     If the value of long_term_reference_flag in the primary coded picture is equal to 0, the dec_ref_pic_marking syntax structure of
     the redundant coded picture must not include a memory_management_control_operation syntax element equal to 6.
     Otherwise (the value of long_term_reference_flag in the primary coded picture is equal to 1), the dec_ref_pic_marking syntax
     structure of the redundant coded picture must include memory_management_control_operation syntax elements equal to 5, 4, and
     6 in decoding order, and the value of max_long_term_frame_idx_plus1 must be equal to 1, and the value of
     long_term_frame_idx must be equal to 0.
The values of TopFieldOrderCnt and BottomFieldOrderCnt (if applicable) that result after completion of the decoding
process for any redundant coded picture or the primary coded picture of the same access unit shall be identical
regardless whether the primary coded picture or any redundant coded picture (instead of the primary coded picture) of
the access unit would be decoded.



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There is no required decoding process for a coded slice or coded slice data partition of a redundant coded picture. When
the redundant_pic_cnt in the slice header of a coded slice is greater than 0, the decoder may discard the coded slice.
However, a coded slice or coded slice data partition of any redundant coded picture shall obey the same constraints as a
coded slice or coded slice data partition of a primary picture.
    NOTE 6 – When some of the samples in the decoded primary picture cannot be correctly decoded due to errors or losses in
    transmission of the sequence and a coded redundant slice can be correctly decoded, the decoder should replace the samples of the
    decoded primary picture with the corresponding samples of the decoded redundant slice. When more than one redundant slice
    covers the relevant region of the primary picture, the redundant slice having the lowest value of redundant_pic_cnt should be
    used.
Redundant slices and slice data partitions having the same value of redundant_pic_cnt belong to the same redundant
picture. Decoded slices within the same redundant picture need not cover the entire picture area and shall not overlap.
direct_spatial_mv_pred_flag specifies the method used in the decoding process to derive motion vectors and reference
indices for inter prediction as follows.
–    If direct_spatial_mv_pred_flag is equal to 1, the derivation process for luma motion vectors for B_Skip,
     B_Direct_16x16, and B_Direct_8x8 in subclause 8.4.1.2 shall use spatial direct mode prediction as specified in
     subclause 8.4.1.2.2.
–    Otherwise (direct_spatial_mv_pred_flag is equal to 0), the derivation process for luma motion vectors for B_Skip,
     B_Direct_16x16, and B_Direct_8x8 in subclause 8.4.1.2 shall use temporal direct mode prediction as specified in
     subclause 8.4.1.2.3.
num_ref_idx_active_override_flag equal to 0 specifies that the values of the syntax elements
num_ref_idx_l0_active_minus1 and num_ref_idx_l1_active_minus1 specified in the referred picture parameter set are
in effect. num_ref_idx_active_override_flag equal to 1 specifies that the num_ref_idx_l0_active_minus1 and
num_ref_idx_l1_active_minus1 specified in the referred picture parameter set are overridden for the current slice (and
only for the current slice) by the following values in the slice header.
When the current slice is a P, SP, or B slice and field_pic_flag is equal to 0 and the value of
num_ref_idx_l0_active_minus1 in the picture parameter set exceeds 15, num_ref_idx_active_override_flag shall be
equal to 1.
When the current slice is a B slice and field_pic_flag is equal to 0 and the value of num_ref_idx_l1_active_minus1 in
the picture parameter set exceeds 15, num_ref_idx_active_override_flag shall be equal to 1.
num_ref_idx_l0_active_minus1 specifies the maximum reference index for reference picture list 0 that shall be used to
decode the slice.
The range of num_ref_idx_l0_active_minus1 is specified as follows.
–    If field_pic_flag is equal to 0, num_ref_idx_l0_active_minus1 shall be in the range of 0 to 15, inclusive. When
     MbaffFrameFlag is equal to 1, num_ref_idx_l0_active_minus1 is the maximum index value for the decoding of
     frame macroblocks and 2 * num_ref_idx_l0_active_minus1 + 1 is the maximum index value for the decoding of
     field macroblocks.
–    Otherwise (field_pic_flag is equal to 1), num_ref_idx_l0_active_minus1 shall be in the range of 0 to 31, inclusive.
num_ref_idx_l1_active_minus1 has the same semantics as num_ref_idx_l0_active_minus1 with l0 and list 0 replaced
by l1 and list 1, respectively.
cabac_init_idc specifies the index for determining the initialisation table used in the initialisation process for context
variables. The value of cabac_init_idc shall be in the range of 0 to 2, inclusive.
slice_qp_delta specifies the initial value of QPY to be used for all the macroblocks in the slice until modified by the
value of mb_qp_delta in the macroblock layer. The initial QPY quantisation parameter for the slice is computed as:

       SliceQPY = 26 + pic_init_qp_minus26 + slice_qp_delta                                                                  (7-27)


The value of slice_qp_delta shall be limited such that SliceQPY is in the range of -QpBdOffsetY to +51, inclusive.
sp_for_switch_flag specifies the decoding process to be used to decode P macroblocks in an SP slice as follows.
–    If sp_for_switch_flag is equal to 0, the P macroblocks in the SP slice shall be decoded using the SP decoding
     process for non-switching pictures as specified in subclause 8.6.1.
–    Otherwise (sp_for_switch_flag is equal to 1), the P macroblocks in the SP slice shall be decoded using the SP and
     SI decoding process for switching pictures as specified in subclause 8.6.2.



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slice_qs_delta specifies the value of QSY for all the macroblocks in SP and SI slices. The QSY quantisation parameter
for the slice is computed as:

          QSY = 26 + pic_init_qs_minus26 + slice_qs_delta                                                             (7-28)


The value of slice_qs_delta shall be limited such that QSY is in the range of 0 to 51, inclusive. This value of QSY is used
for the decoding of all macroblocks in SI slices with mb_type equal to SI and all macroblocks in SP slices with
prediction mode equal to inter.
disable_deblocking_filter_idc specifies whether the operation of the deblocking filter shall be disabled across some
block edges of the slice and specifies for which edges the filtering is disabled. When disable_deblocking_filter_idc is
not present in the slice header, the value of disable_deblocking_filter_idc shall be inferred to be equal to 0.
The value of disable_deblocking_filter_idc shall be in the range of 0 to 2, inclusive.
slice_alpha_c0_offset_div2 specifies the offset used in accessing the α and tC0 deblocking filter tables for filtering
operations controlled by the macroblocks within the slice. From this value, the offset that shall be applied when
addressing these tables shall be computed as:

          FilterOffsetA = slice_alpha_c0_offset_div2 << 1                                                             (7-29)


The value of slice_alpha_c0_offset_div2 shall be in the range of -6 to +6, inclusive. When slice_alpha_c0_offset_div2
is not present in the slice header, the value of slice_alpha_c0_offset_div2 shall be inferred to be equal to 0.
slice_beta_offset_div2 specifies the offset used in accessing the β deblocking filter table for filtering operations
controlled by the macroblocks within the slice. From this value, the offset that is applied when addressing the β table of
the deblocking filter shall be computed as:

          FilterOffsetB = slice_beta_offset_div2 << 1                                                                 (7-30)


The value of slice_beta_offset_div2 shall be in the range of -6 to +6, inclusive. When slice_beta_offset_div2 is not
present in the slice header the value of slice_beta_offset_div2 shall be inferred to be equal to 0.
slice_group_change_cycle is used to derive the number of slice group map units in slice group 0 when
slice_group_map_type is equal to 3, 4, or 5, as specified by

     MapUnitsInSliceGroup0 = Min( slice_group_change_cycle * SliceGroupChangeRate, PicSizeInMapUnits )                (7-31)


The value of slice_group_change_cycle is represented in the bitstream by the following number of bits

          Ceil( Log2( PicSizeInMapUnits ÷ SliceGroupChangeRate + 1 ) )                                                (7-32)


The        value    of      slice_group_change_cycle      shall            be       in     the       range       of       0
to Ceil( PicSizeInMapUnits÷SliceGroupChangeRate ), inclusive.

7.4.3.1     Reference picture list reordering semantics
The syntax elements reordering_of_pic_nums_idc, abs_diff_pic_num_minus1, and long_term_pic_num specify the
change from the initial reference picture lists to the reference picture lists to be used for decoding the slice.
ref_pic_list_reordering_flag_l0 equal to 1 specifies that the syntax element reordering_of_pic_nums_idc is present for
specifying reference picture list 0. ref_pic_list_reordering_flag_l0 equal to 0 specifies that this syntax element is not
present.
When ref_pic_list_reordering_flag_l0 is equal to 1, the number of times that reordering_of_pic_nums_idc is not equal
to 3 following ref_pic_list_reordering_flag_l0 shall not exceed num_ref_idx_l0_active_minus1 + 1.
When RefPicList0[ num_ref_idx_l0_active_minus1 ] in the initial reference picture list produced as specified in
subclause 8.2.4.2 is equal to "no reference picture", ref_pic_list_reordering_flag_l0 shall be equal to 1 and
reordering_of_pic_nums_idc shall not be equal to 3 until RefPicList0[ num_ref_idx_l0_active_minus1 ] in the
reordered list produced as specified in subclause 8.2.4.3 is not equal to "no reference picture".




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ref_pic_list_reordering_flag_l1 equal to 1 specifies that the syntax element reordering_of_pic_nums_idc is present for
specifying reference picture list 1. ref_pic_list_reordering_flag_l1 equal to 0 specifies that this syntax element is not
present.
When ref_pic_list_reordering_flag_l1 is equal to 1, the number of times that reordering_of_pic_nums_idc is not equal
to 3 following ref_pic_list_reordering_flag_l1 shall not exceed num_ref_idx_l1_active_minus1 + 1.
When decoding a B slice and RefPicList1[ num_ref_idx_l1_active_minus1 ] in the initial reference picture list produced
as specified in subclause 8.2.4.2 is equal to "no reference picture", ref_pic_list_reordering_flag_l1 shall be equal to 1
and reordering_of_pic_nums_idc shall not be equal to 3 until RefPicList1[ num_ref_idx_l1_active_minus1 ] in the
reordered list produced as specified in subclause 8.2.4.3 is not equal to "no reference picture".
reordering_of_pic_nums_idc together with abs_diff_pic_num_minus1 or long_term_pic_num specifies which of the
reference pictures are re-mapped. The values of reordering_of_pic_nums_idc are specified in Table 7-7. The value of
the first reordering_of_pic_nums_idc that follows immediately after ref_pic_list_reordering_flag_l0 or
ref_pic_list_reordering_flag_l1 shall not be equal to 3.

           Table 7-7 – reordering_of_pic_nums_idc operations for reordering of reference picture lists

            reordering_of_pic_nums_idc        Reordering specified

                         0                    abs_diff_pic_num_minus1 is present and corresponds to a difference to
                                              subtract from a picture number prediction value

                         1                    abs_diff_pic_num_minus1 is present and corresponds to a difference to
                                              add to a picture number prediction value

                         2                    long_term_pic_num is present and specifies the long-term picture number
                                              for a reference picture

                         3                    End loop for reordering of the initial reference picture list



abs_diff_pic_num_minus1 plus 1 specifies the absolute difference between the picture number of the picture being
moved to the current index in the list and the picture number prediction value. abs_diff_pic_num_minus1 shall be in the
range of 0 to MaxPicNum – 1. The allowed values of abs_diff_pic_num_minus1 are further restricted as specified in
subclause 8.2.4.3.1.
long_term_pic_num specifies the long-term picture number of the picture being moved to the current index in the list.
When decoding a coded frame, long_term_pic_num shall be equal to a LongTermPicNum assigned to one of the
reference frames or complementary reference field pairs marked as "used for long-term reference". When decoding a
coded field, long_term_pic_num shall be equal to a LongTermPicNum assigned to one of the reference fields marked as
"used for long-term reference".

7.4.3.2   Prediction weight table semantics
luma_log2_weight_denom is the base 2 logarithm of the denominator for all luma weighting factors. The value of
luma_log2_weight_denom shall be in the range of 0 to 7, inclusive.
chroma_log2_weight_denom is the base 2 logarithm of the denominator for all chroma weighting factors. The value of
chroma_log2_weight_denom shall be in the range of 0 to 7, inclusive.
luma_weight_l0_flag equal to 1 specifies that weighting factors for the luma component of list 0 prediction are present.
luma_weight_l0_flag equal to 0 specifies that these weighting factors are not present.
luma_weight_l0[ i ] is the weighting factor applied to the luma prediction value for list 0 prediction using
RefPicList0[ i ]. When luma_weight_l0_flag is equal to 1, the value of luma_weight_l0[ i ] shall be in the range of
–128 to 127, inclusive. When luma_weight_l0_flag is equal to 0, luma_weight_l0[ i ] shall be inferred to be equal
to 2luma_log2_weight_denom for RefPicList0[ i ].
luma_offset_l0[ i ] is the additive offset applied to the luma prediction value for list 0 prediction using RefPicList0[ i ].
The value of luma_offset_l0[ i ] shall be in the range of –128 to 127, inclusive. When luma_weight_l0_flag is equal
to 0, luma_offset_l0[ i ] shall be inferred as equal to 0 for RefPicList0[ i ].
chroma_weight_l0_flag equal to 1 specifies that weighting factors for the chroma prediction values of list 0 prediction
are present. chroma_weight_l0_flag equal to 0 specifies that these weighting factors are not present.




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chroma_weight_l0[ i ][ j ] is the weighting factor applied to the chroma prediction values for list 0 prediction using
RefPicList0[ i ] with j equal to 0 for Cb and j equal to 1 for Cr. When chroma_weight_l0_flag is equal to 1, the value of
chroma_weight_l0[ i ][ j ] shall be in the range of –128 to 127, inclusive. When chroma_weight_l0_flag is equal to 0,
chroma_weight_l0[ i ][ j ] shall be inferred to be equal to 2chroma_log2_weight_denom for RefPicList0[ i ].
chroma_offset_l0[ i ][ j ] is the additive offset applied to the chroma prediction values for list 0 prediction using
RefPicList0[ i ] with j equal to 0 for Cb and j equal to 1 for Cr. The value of chroma_offset_l0[ i ][ j ] shall be in the
range of -128 to 127, inclusive. When chroma_weight_l0_flag is equal to 0, chroma_offset_l0[ i ][ j ] shall be inferred
to be equal to 0 for RefPicList0[ i ].
luma_weight_l1_flag,          luma_weight_l1, luma_offset_l1,   chroma_weight_l1_flag,         chroma_weight_l1,
chroma_offset_l1 have the same semantics as luma_weight_l0_flag, luma_weight_l0, luma_offset_l0,
chroma_weight_l0_flag, chroma_weight_l0, chroma_offset_l0, respectively, with l0, list 0, and List0 replaced by l1,
list 1, and List1, respectively.

7.4.3.3   Decoded reference picture marking semantics
The syntax elements no_output_of_prior_pics_flag, long_term_reference_flag, adaptive_ref_pic_marking_mode_flag,
memory_management_control_operation,             difference_of_pic_nums_minus1,             long_term_frame_idx,
long_term_pic_num, and max_long_term_frame_idx_plus1 specify marking of the reference pictures.
The marking of a reference picture can be "unused for reference", "used for short-term reference", or "used for long-
term reference", but only one among these three. When a reference picture is referred to as being marked as "used for
reference", this collectively refers to the picture being marked as "used for short-term reference" or "used for long-term
reference" (but not both). A reference picture that is marked as "used for short-term reference" is referred to as a short-
term reference picture. A reference picture that is marked as "used for long-term reference" is referred to as a long-term
reference picture.
The syntax element adaptive_ref_pic_marking_mode_flag and the content of the decoded reference picture marking
syntax structure shall be identical for all coded slices of a coded picture.
The syntax category of the decoded reference picture marking syntax structure shall be inferred as follows.
–    If the decoded reference picture marking syntax structure is in a slice header, the syntax category of the decoded
     reference picture marking syntax structure shall be inferred to be equal to 2.
–    Otherwise (the decoded reference picture marking syntax structure is in a decoded reference picture marking
     repetition SEI message as specified in Annex D), the syntax category of the decoded reference picture marking
     syntax structure shall be inferred to be equal to 5.
no_output_of_prior_pics_flag specifies how the previously-decoded pictures in the decoded picture buffer are treated
after decoding of an IDR picture. See Annex C. When the IDR picture is the first IDR picture in the bitstream, the value
of no_output_of_prior_pics_flag has no effect on the decoding process. When the IDR picture is not the first IDR
picture in the bitstream and the value of PicWidthInMbs, FrameHeightInMbs, or max_dec_frame_buffering derived
from the active sequence parameter set is different from the value of PicWidthInMbs, FrameHeightInMbs, or
max_dec_frame_buffering derived from the sequence parameter set active for the preceding sequence,
no_output_of_prior_pics_flag equal to 1 may be inferred by the decoder, regardless of the actual value of
no_output_of_prior_pics_flag.
long_term_reference_flag equal to 0 specifies that the MaxLongTermFrameIdx variable is set equal to “no long-term
frame indices” and that the IDR picture is marked as “used for short-term reference”. long_term_reference_flag equal
to 1 specifies that the MaxLongTermFrameIdx variable is set equal to 0 and that the current IDR picture is marked
“used for long-term reference” and is assigned LongTermFrameIdx equal to 0. When num_ref_frames is equal to 0,
long_term_reference_flag shall be equal to 0.
adaptive_ref_pic_marking_mode_flag selects the reference picture marking mode of the currently decoded picture as
specified in Table 7-8. adaptive_ref_pic_marking_mode_flag shall be equal to 1 when the number of frames,
complementary field pairs, and non-paired fields that are currently marked as "used for long-term reference" is equal to
Max( num_ref_frames, 1 ).




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                          Table 7-8 – Interpretation of adaptive_ref_pic_marking_mode_flag

               adaptive_ref_pic_marking_mode_flag          Reference picture marking mode specified

                                   0                       Sliding window reference picture marking mode: A marking mode
                                                           providing a first-in first-out mechanism for short-term reference
                                                           pictures.

                                   1                       Adaptive reference picture marking mode: A reference picture
                                                           marking mode providing syntax elements to specify marking of
                                                           reference pictures as “unused for reference” and to assign long-term
                                                           frame indices.



memory_management_control_operation specifies a control operation to be applied to affect the reference picture
marking. The memory_management_control_operation syntax element is followed by data necessary for the operation
specified by the value of memory_management_control_operation. The values and control operations associated with
memory_management_control_operation are specified in Table 7-9. The memory_management_control_operation
syntax elements are processed by the decoding process in the order in which they appear in the slice header, and the
semantics constraints expressed for each memory_management_control_operation apply at the specific position in that
order at which that individual memory_management_control_operation is processed.
For interpretation of memory_management_control_operation, the term reference picture is interpreted as follows.
– If the current picture is a frame, the term reference picture refers either to a reference frame or a complementary
  reference field pair.
– Otherwise (the current picture is a field), the term reference picture refers either to a reference field or a field of a
  reference frame.
memory_management_control_operation shall not be equal to 1 in a slice header unless the specified reference picture
is marked as "used for short-term reference" when the memory_management_control_operation is processed by the
decoding process.
memory_management_control_operation shall not be equal to 2 in a slice header unless the specified long-term picture
number refers to a reference picture that is marked as "used for long-term reference" when the
memory_management_control_operation is processed by the decoding process.
memory_management_control_operation shall not be equal to 3 in a slice header unless the specified reference picture
is marked as "used for short-term reference" when the memory_management_control_operation is processed by the
decoding process.
memory_management_control_operation shall not be equal to 3 or 6 if the value of the variable
MaxLongTermFrameIdx is equal to "no long-term frame indices" when the memory_management_control_operation is
processed by the decoding process.
Not more than one memory_management_control_operation equal to 4 shall be present in a slice header.
Not more than one memory_management_control_operation equal to 5 shall be present in a slice header.
Not more than one memory_management_control_operation equal to 6 shall be present in a slice header.
memory_management_control_operation shall not be equal to 5 in a slice header unless no
memory_management_control_operation in the range of 1 to 3 is present in the same decoded reference picture marking
syntax structure.
A memory_management_control_operation equal to 5 shall not follow a memory_management_control_operation equal
to 6 in the same slice header.
When a memory_management_control_operation equal to 6 is present, any memory_management_control_operation
equal to 2, 3, or 4 that follows the memory_management_control_operation equal to 6 within the same slice header
shall not specify the current picture to be marked as "unused for reference".
   NOTE 1 – These constraints prohibit any combination of multiple memory_management_control_operation syntax elements that
   would specify the current picture to be marked as "unused for reference". However, some other combinations of
   memory_management_control_operation syntax elements are permitted that may affect the marking status of other reference
   pictures more than once in the same slice header. In particular, it is permitted for a memory_management_control_operation
   equal to 3 that specifies a long-term frame index to be assigned to a particular short-term reference picture to be followed in the
   same slice header by a memory_management_control_operation equal to 2, 3, 4 or 6 that specifies the same reference picture to
   subsequently be marked as "unused for reference".



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       Table 7-9 – Memory management control operation (memory_management_control_operation) values
               memory_management_control_operation Memory Management Control Operation
                                       0                          End memory_management_control_operation
                                                                  syntax element loop
                                       1                          Mark a short-term reference picture as
                                                                  “unused for reference”
                                       2                          Mark a long-term reference picture as
                                                                  “unused for reference”
                                       3                          Mark a short-term reference picture as
                                                                  "used for long-term reference" and assign a
                                                                  long-term frame index to it
                                       4                          Specify the maximum long-term frame index
                                                                  and mark all long-term reference pictures
                                                                  having long-term frame indices greater than
                                                                  the maximum value as "unused for reference"
                                       5                          Mark all reference pictures as
                                                                  "unused for reference" and set the
                                                                  MaxLongTermFrameIdx variable to
                                                                  "no long-term frame indices"
                                       6                          Mark the current picture as
                                                                  "used for long-term reference" and assign a
                                                                  long-term frame index to it



When decoding a field and a memory_management_control_operation command equal to 3 is present that assigns a
long-term frame index to a field that is part of a short-term reference frame or part of a short-term complementary
reference field pair, another memory_management_control_operation command to assign the same long-term frame
index to the other field of the same frame or complementary reference field pair shall be present in the same decoded
reference picture marking syntax structure.
     NOTE 2 – The above requirement must be fulfilled even when the field referred to by the
     memory_management_control_operation equal to 3 is subsequently marked as "unused for reference" (for example when a
     memory_management_control_operation equal to 2 is present in the same slice header that causes the field to be marked as
     "unused for reference").
When the first field (in decoding order) of a complementary reference field pair includes a long_term_reference_flag
equal to 1 or a memory_management_control_operation command equal to 6, the decoded reference picture marking
syntax structure for the other field of the complementary reference field pair shall contain a
memory_management_control_operation command equal to 6 that assigns the same long-term frame index to the other
field.
     NOTE 3 – The above requirement must be fulfilled even when the first field of the complementary reference field pair is
     subsequently marked as "unused for reference" (for example, when a memory_management_control_operation equal to 2 is
     present in the slice header of the second field that causes the first field to be marked as "unused for reference").
difference_of_pic_nums_minus1 is used (with memory_management_control_operation equal to 3 or 1) to assign a
long-term frame index to a short-term reference picture or to mark a short-term reference picture as “unused for
reference”. When the associated memory_management_control_operation is processed by the decoding process, the
resulting picture number derived from difference_of_pic_nums_minus1 shall be a picture number assigned to one of the
reference pictures marked as "used for reference" and not previously assigned to a long-term frame index.
The resulting picture number is constrained as follows.
–     If field_pic_flag is equal to 0, the resulting picture number shall be one of the set of picture numbers assigned to
      reference frames or complementary reference field pairs.
               NOTE 4 – When field_pic_flag is equal to 0, the resulting picture number must be a picture number assigned to a
               complementary reference field pair in which both fields are marked as "used for reference" or a frame in which both
               fields are marked as "used for reference". In particular, when field_pic_flag is equal to 0, the marking of a non-paired
               field or a frame in which a single field is marked as "used for reference" cannot be affected by a
               memory_management_control_operation equal to 1.
–     Otherwise (field_pic_flag is equal to 1), the resulting picture number shall be one of the set of picture numbers
      assigned to reference fields.



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long_term_pic_num is used (with memory_management_control_operation equal to 2) to mark a long-term reference
picture as "unused for reference". When the associated memory_management_control_operation is processed by the
decoding process, long_term_pic_num shall be equal to a long-term picture number assigned to one of the reference
pictures that is currently marked as "used for long-term reference".
The resulting long-term picture number is constrained as follows.
–    If field_pic_flag is equal to 0, the resulting long-term picture number shall be one of the set of long-term picture
     numbers assigned to reference frames or complementary reference field pairs.
             NOTE 5 – When field_pic_flag is equal to 0, the resulting long-term picture number must be a long-term picture
             number assigned to a complementary reference field pair in which both fields are marked as "used for reference" or a
             frame in which both fields are marked as "used for reference". In particular, when field_pic_flag is equal to 0, the
             marking of a non-paired field or a frame in which a single field is marked as "used for reference" cannot be affected
             by a memory_management_control_operation equal to 2.
–    Otherwise (field_pic_flag is equal to 1), the resulting long-term picture number shall be one of the set of long-term
     picture numbers assigned to reference fields.
long_term_frame_idx is used (with memory_management_control_operation equal to 3 or 6) to assign a long-term
frame index to a picture. When the associated memory_management_control_operation is processed by the decoding
process, the value of long_term_frame_idx shall be in the range of 0 to MaxLongTermFrameIdx, inclusive.
max_long_term_frame_idx_plus1 minus 1 specifies the maximum value of long-term frame index allowed for long-
term reference pictures (until receipt of another value of max_long_term_frame_idx_plus1). The value of
max_long_term_frame_idx_plus1 shall be in the range of 0 to num_ref_frames, inclusive.

7.4.4    Slice data semantics
cabac_alignment_one_bit is a bit equal to 1.
mb_skip_run specifies the number of consecutive skipped macroblocks for which, when decoding a P or SP slice,
mb_type shall be inferred to be P_Skip and the macroblock type is collectively referred to as a P macroblock type, or
for which, when decoding a B slice, mb_type shall be inferred to be B_Skip and the macroblock type is collectively
referred to as a B macroblock type. The value of mb_skip_run shall be in the range of 0 to PicSizeInMbs –
CurrMbAddr, inclusive.
mb_skip_flag equal to 1 specifies that for the current macroblock, when decoding a P or SP slice, mb_type shall be
inferred to be P_Skip and the macroblock type is collectively referred to as P macroblock type, or for which, when
decoding a B slice, mb_type shall be inferred to be B_Skip and the macroblock type is collectively referred to as B
macroblock type. mb_skip_flag equal to 0 specifies that the current macroblock is not skipped.
mb_field_decoding_flag equal to 0 specifies that the current macroblock pair is a frame macroblock pair.
mb_field_decoding_flag equal to 1 specifies that the macroblock pair is a field macroblock pair. Both macroblocks of a
frame macroblock pair are referred to in the text as frame macroblocks, whereas both macroblocks of a field
macroblock pair are referred to in the text as field macroblocks.
When mb_field_decoding_flag is not present for either macroblock of a macroblock pair, the value of
mb_field_decoding_flag is derived as follows.
–   If there is a neighbouring macroblock pair immediately to the left of the current macroblock pair in the same slice,
    the value of mb_field_decoding_flag shall be inferred to be equal to the value of mb_field_decoding_flag for the
    neighbouring macroblock pair immediately to the left of the current macroblock pair,
–   Otherwise, if there is no neighbouring macroblock pair immediately to the left of the current macroblock pair in
    the same slice and there is a neighbouring macroblock pair immediately above the current macroblock pair in the
    same slice, the value of mb_field_decoding_flag shall be inferred to be equal to the value of
    mb_field_decoding_flag for the neighbouring macroblock pair immediately above the current macroblock pair,
–   Otherwise (there is no neighbouring macroblock pair either immediately to the left or immediately above the
    current macroblock pair in the same slice), the value of mb_field_decoding_flag shall be inferred to be equal to 0.
end_of_slice_flag equal to 0 specifies that another macroblock is following in the slice. end_of_slice_flag equal to 1
specifies the end of the slice and that no further macroblock follows.
The function NextMbAddress( ) used in the slice data syntax table is specified in subclause 8.2.2.

7.4.5    Macroblock layer semantics
mb_type specifies the macroblock type. The semantics of mb_type depend on the slice type.




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Tables and semantics are specified for the various macroblock types for I, SI, P, SP, and B slices. Each table presents
the value of mb_type, the name of mb_type, the number of macroblock partitions used (given by the
NumMbPart( mb_type ) function), the prediction mode of the macroblock (when it is not partitioned) or the first
partition (given by the MbPartPredMode( mb_type, 0 ) function) and the prediction mode of the second partition (given
by the MbPartPredMode( mb_type, 1 ) function). When a value is not applicable it is designated by “na”. In the text, the
value of mb_type may be referred to as the macroblock type and a value X of MbPartPredMode( ) may be referred to in
the text by "X macroblock (partition) prediction mode" or as “X prediction macroblocks”.
Table 7-10 shows the allowed collective macroblock types for each slice_type.
     NOTE 1 – There are some macroblock types with Pred_L0 prediction mode that are classified as B macroblock types.

                             Table 7-10 – Allowed collective macroblock types for slice_type

                        slice_type        allowed collective macroblock types

                          I (slice)       I (see Table 7-11) (macroblock types)
                         P (slice)        P (see Table 7-13) and I (see Table 7-11) (macroblock types)
                         B (slice)        B (see Table 7-14) and I (see Table 7-11) (macroblock types)
                         SI (slice)       SI (see Table 7-12) and I (see Table 7-11) (macroblock types)
                         SP (slice)       P (see Table 7-13) and I (see Table 7-11) (macroblock types)


transform_size_8x8_flag equal to 1 specifies that for the current macroblock the transform coefficient decoding
process and picture construction process prior to deblocking filter process for residual 8x8 blocks shall be invoked for
luma samples. transform_size_8x8_flag equal to 0 specifies that for the current macroblock the transform coefficient
decoding process and picture construction process prior to deblocking filter process for residual 4x4 blocks shall be
invoked for luma samples. When transform_size_8x8_flag is not present in the bitstream, it shall be inferred to be equal
to 0.
     NOTE 2 – When the current macroblock prediction mode MbPartPredMode( mb_type, 0 ) is equal to Intra_16x16,
     transform_size_8x8_flag is not present in the bitstream and then inferred to be equal to 0.

When sub_mb_type[ mbPartIdx ] (see subclause 7.4.5.2) is present in the bitstream for all 8x8 blocks indexed by
mbPartIdx = 0..3, the variable noSubMbPartSizeLessThan8x8Flag indicates whether for each of the four 8x8 blocks the
corresponding SubMbPartWidth( sub_mb_type[ mbPartIdx ] ) and SubMbPartHeight( sub_mb_type[ mbPartIdx ] ) are
both equal to 8.
     NOTE 3 – When noSubMbPartSizeLessThan8x8Flag is equal to 0 and the current macroblock type is not equal to I_NxN,
     transform_size_8x8_flag is not present in the bitstream and then inferred to be equal to 0.
Macroblock types that may be collectively referred to as I macroblock types are specified in Table 7-11.
The macroblock types for I slices are all I macroblock types.




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                                           Table 7-11 – Macroblock types for I slices




                                                                                                                           CodedBlockPatternChroma




                                                                                                                                                          CodedBlockPatternLuma
                                             transform_size_8x8_flag




                                                                                            Intra16x16PredMode
                                                                          MbPartPredMode
                     Name of mb_type




                                                                           ( mb_type, 0 )
      mb_type




       0           I_NxN                           0                    Intra_4x4            na                       Equation 7-33                  Equation 7-33

       0           I_NxN                           1                    Intra_8x8            na                       Equation 7-33                  Equation 7-33

       1        I_16x16_0_0_0                  na                      Intra_16x16               0                               0                             0

       2        I_16x16_1_0_0                  na                      Intra_16x16               1                               0                             0

       3        I_16x16_2_0_0                  na                      Intra_16x16               2                               0                             0

       4        I_16x16_3_0_0                  na                      Intra_16x16               3                               0                             0

       5        I_16x16_0_1_0                  na                      Intra_16x16               0                               1                             0

       6        I_16x16_1_1_0                  na                      Intra_16x16               1                               1                             0

       7        I_16x16_2_1_0                  na                      Intra_16x16               2                               1                             0

       8        I_16x16_3_1_0                  na                      Intra_16x16               3                               1                             0

       9        I_16x16_0_2_0                  na                      Intra_16x16               0                               2                             0

      10        I_16x16_1_2_0                  na                      Intra_16x16               1                               2                             0

      11        I_16x16_2_2_0                  na                      Intra_16x16               2                               2                             0

      12        I_16x16_3_2_0                  na                      Intra_16x16               3                               2                             0

      13        I_16x16_0_0_1                  na                      Intra_16x16               0                               0                         15

      14        I_16x16_1_0_1                  na                      Intra_16x16               1                               0                         15

      15        I_16x16_2_0_1                  na                      Intra_16x16               2                               0                         15

      16        I_16x16_3_0_1                  na                      Intra_16x16               3                               0                         15

      17        I_16x16_0_1_1                  na                      Intra_16x16               0                               1                         15

      18        I_16x16_1_1_1                  na                      Intra_16x16               1                               1                         15

      19        I_16x16_2_1_1                  na                      Intra_16x16               2                               1                         15

      20        I_16x16_3_1_1                  na                      Intra_16x16               3                               1                         15

      21        I_16x16_0_2_1                  na                      Intra_16x16               0                               2                         15

      22        I_16x16_1_2_1                  na                      Intra_16x16               1                               2                         15

      23        I_16x16_2_2_1                  na                      Intra_16x16               2                               2                         15

      24        I_16x16_3_2_1                  na                      Intra_16x16               3                               2                         15

      25           I_PCM                       na                             na             na                             na                             na




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The following semantics are assigned to the macroblock types in Table 7-11.
I_NxN: A mnemonic name for mb_type equal to 0 with MbPartPredMode( mb_type, 0 ) equal to Intra_4x4 or
Intra_8x8.
I_16x16_0_0_0, I_16x16_1_0_0, I_16x16_2_0_0, I_16x16_3_0_0, I_16x16_0_1_0, I_16x16_1_1_0, I_16x16_2_1_0,
I_16x16_3_1_0, I_16x16_0_2_0, I_16x16_1_2_0, I_16x16_2_2_0, I_16x16_3_2_0, I_16x16_0_0_1, I_16x16_1_0_1,
I_16x16_2_0_1, I_16x16_3_0_1, I_16x16_0_1_1, I_16x16_1_1_1, I_16x16_2_1_1, I_16x16_3_1_1, I_16x16_0_2_1,
I_16x16_1_2_1, I_16x16_2_2_1, I_16x16_3_2_1: the macroblock is coded as an Intra_16x16 prediction mode
macroblock.
To each Intra_16x16 prediction macroblock, an Intra16x16PredMode is assigned, which specifies the Intra_16x16
prediction mode. CodedBlockPatternChroma contains the coded block pattern value for chroma as specified in
Table 7-15. When chroma_format_idc is equal to 0, CodedBlockPatternChroma shall be equal to 0.
CodedBlockPatternLuma specifies whether, for the luma component, non-zero AC transform coefficient levels are
present. CodedBlockPatternLuma equal to 0 specifies that all AC transform coefficient levels in the luma component of
the macroblock are equal to 0. CodedBlockPatternLuma equal to 15 specifies that at least one of the AC transform
coefficient levels in the luma component of the macroblock is non-zero, requiring scanning of AC transform coefficient
levels for all 16 of the 4x4 blocks in the 16x16 block.
Intra_4x4 specifies the macroblock prediction mode and specifies that the Intra_4x4 prediction process is invoked as
specified in subclause 8.3.1. Intra_4x4 is an Intra macroblock prediction mode.
Intra_8x8 specifies the macroblock prediction mode and specifies that the Intra_8x8 prediction process is invoked as
specified in subclause 8.3.2. Intra_8x8 is an Intra macroblock prediction mode.
Intra_16x16 specifies the macroblock prediction mode and specifies that the Intra_16x16 prediction process is invoked
as specified in subclause 8.3.3. Intra_16x16 is an Intra macroblock prediction mode.
For a macroblock coded with mb_type equal to I_PCM, the Intra macroblock prediction mode shall be inferred.


A macroblock type that may be referred to as SI macroblock type is specified in Table 7-12.
The macroblock types for SI slices are specified in Tables 7-12 and 7-11. The mb_type value 0 is specified in
Table 7-12 and the mb_type values 1 to 26 are specified in Table 7-11, indexed by subtracting 1 from the value of
mb_type.

                                Table 7-12 – Macroblock type with value 0 for SI slices
                                                                                                        CodedBlockPatternChroma




                                                                                                                                        CodedBlockPatternLuma
                                                                              Intra16x16PredMode
                                                          MbPartPredMode
                                       Name of mb_type



                                                           ( mb_type, 0 )
                             mb_type




                               0        SI               Intra_4x4             na                  Equation 7-33                   Equation 7-33



The following semantics are assigned to the macroblock type in Table 7-12. The SI macroblock is coded as Intra_4x4
prediction macroblock.


Macroblock types that may be collectively referred to as P macroblock types are specified in Table 7-13.
The macroblock types for P and SP slices are specified in Tables 7-13 and 7-11. mb_type values 0 to 4 are specified in
Table 7-13 and mb_type values 5 to 30 are specified in Table 7-11, indexed by subtracting 5 from the value of mb_type.




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                               Table 7-13 – Macroblock type values 0 to 4 for P and SP slices




                                                                           MbPartPredMode




                                                                                              MbPartPredMode
                                      Name of mb_type




                                                                                                                                    MbPartHeight
                                                                                                                     MbPartWidth
                                                                            ( mb_type, 0 )




                                                                                               ( mb_type, 1 )
                                                        NumMbPart
                                                        ( mb_type )




                                                                                                                      ( mb_type )


                                                                                                                                     ( mb_type )
                     mb_type




                       0          P_L0_16x16                1             Pred_L0                 na                    16             16

                       1         P_L0_L0_16x8               2             Pred_L0            Pred_L0                    16              8

                       2         P_L0_L0_8x16               2             Pred_L0            Pred_L0                     8             16

                       3             P_8x8                  4                  na                 na                     8              8

                       4           P_8x8ref0                4                  na                 na                     8              8

                   inferred         P_Skip                  1             Pred_L0                 na                    16             16



The following semantics are assigned to the macroblock types in Table 7-13.
–   P_L0_16x16: the samples of the macroblock are predicted with one luma macroblock partition of size 16x16 luma
    samples and associated chroma samples.
–   P_L0_L0_MxN, with MxN being replaced by 16x8 or 8x16: the samples of the macroblock are predicted using
    two luma partitions of size MxN equal to 16x8, or two luma partitions of size MxN equal to 8x16, and associated
    chroma samples, respectively.
–   P_8x8: for each sub-macroblock an additional syntax element (sub_mb_type) is present in the bitstream that
    specifies the type of the corresponding sub-macroblock (see subclause 7.4.5.2).
–   P_8x8ref0: has the same semantics as P_8x8 but no syntax element for the reference index (ref_idx_l0) is present
    in the bitstream and ref_idx_l0[ mbPartIdx ] shall be inferred to be equal to 0 for all sub-macroblocks of the
    macroblock (with indices mbPartIdx equal to 0..3).
–   P_Skip: no further data is present for the macroblock in the bitstream.
The following semantics are assigned to the macroblock prediction modes (MbPartPredMode( )) in Table 7-13.
–   Pred_L0: specifies that the inter prediction process is invoked using list 0 prediction. Pred_L0 is an Inter
    macroblock prediction mode.


Macroblock types that may be collectively referred to as B macroblock types are specified in Table 7-14.
The macroblock types for B slices are specified in Tables 7-14 and 7-11. The mb_type values 0 to 22 are specified in
Table 7-14 and the mb_type values 23 to 48 are specified in Table 7-11, indexed by subtracting 23 from the value of
mb_type.




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                               Table 7-14 – Macroblock type values 0 to 22 for B slices




                                                                 MbPartPredMode




                                                                                    MbPartPredMode
                              Name of mb_type




                                                                                                                     MbPartHeight
                                                                                                      MbPartWidth
                                                                  ( mb_type, 0 )




                                                                                     ( mb_type, 1 )
                                                NumMbPart
                                                ( mb_type )




                                                                                                       ( mb_type )


                                                                                                                      ( mb_type )
              mb_type




                   0    B_Direct_16x16             na            Direct                 na               8              8

                   1     B_L0_16x16                  1          Pred_L0                 na             16             16

                   2     B_L1_16x16                  1          Pred_L1                 na             16             16

                   3     B_Bi_16x16                  1           BiPred                 na             16             16

                   4    B_L0_L0_16x8                 2          Pred_L0            Pred_L0             16               8

                   5    B_L0_L0_8x16                 2          Pred_L0            Pred_L0               8            16

                   6    B_L1_L1_16x8                 2          Pred_L1            Pred_L1             16               8

                   7    B_L1_L1_8x16                 2          Pred_L1            Pred_L1               8            16

                   8    B_L0_L1_16x8                 2          Pred_L0            Pred_L1             16               8

                   9    B_L0_L1_8x16                 2          Pred_L0            Pred_L1               8            16

                 10     B_L1_L0_16x8                 2          Pred_L1            Pred_L0             16               8

                 11     B_L1_L0_8x16                 2          Pred_L1            Pred_L0               8            16

                 12     B_L0_Bi_16x8                 2          Pred_L0            BiPred              16               8

                 13     B_L0_Bi_8x16                 2          Pred_L0            BiPred                8            16

                 14     B_L1_Bi_16x8                 2          Pred_L1            BiPred              16               8

                 15     B_L1_Bi_8x16                 2          Pred_L1            BiPred                8            16

                 16     B_Bi_L0_16x8                 2           BiPred            Pred_L0             16               8

                 17     B_Bi_L0_8x16                 2           BiPred            Pred_L0               8            16

                 18     B_Bi_L1_16x8                 2           BiPred            Pred_L1             16               8

                 19     B_Bi_L1_8x16                 2           BiPred            Pred_L1               8            16

                 20     B_Bi_Bi_16x8                 2           BiPred            BiPred              16               8

                 21     B_Bi_Bi_8x16                 2           BiPred            BiPred                8            16

                 22         B_8x8                    4               na                 na               8              8

             inferred       B_Skip                 na            Direct                 na               8              8



The following semantics are assigned to the macroblock types in Table 7-14:
–    B_Direct_16x16: no motion vector differences or reference indices are present for the macroblock in the bitstream.
     The functions MbPartWidth( B_Direct_16x16 ), and MbPartHeight( B_Direct_16x16 ) are used in the derivation
     process for motion vectors and reference frame indices in subclause 8.4.1 for direct mode prediction.
–    B_X_16x16 with X being replaced by L0, L1, or Bi: the samples of the macroblock are predicted with one luma
     macroblock partition of size 16x16 luma samples and associated chroma samples. For a macroblock with type
     B_X_16x16 with X being replaced by either L0 or L1, one motion vector difference and one reference index is

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    present in the bitstream for the macroblock. For a macroblock with type B_X_16x16 with X being replaced by Bi,
    two motion vector differences and two reference indices are present in the bitstream for the macroblock.
–   B_X0_X1_MxN, with X0, X1 referring to the first and second macroblock partition and being replaced by L0, L1,
    or Bi, and MxN being replaced by 16x8 or 8x16: the samples of the macroblock are predicted using two luma
    partitions of size MxN equal to 16x8, or two luma partitions of size MxN equal to 8x16, and associated chroma
    samples, respectively. For a macroblock partition X0 or X1 with X0 or X1 being replaced by either L0 or L1, one
    motion vector difference and one reference index is present in the bitstream. For a macroblock partition X0 or X1
    with X0 or X1 being replaced by Bi, two motion vector differences and two reference indices are present in the
    bitstream for the macroblock partition.
–   B_8x8: for each sub-macroblock an additional syntax element (sub_mb_type) is present in the bitstream that
    specifies the type of the corresponding sub-macroblock (see subclause 7.4.5.2).
–   B_Skip: no further data is present for the macroblock in the bitstream. The functions MbPartWidth( B_Skip ), and
    MbPartHeight( B_Skip ) are used in the derivation process for motion vectors and reference frame indices in
    subclause 8.4.1 for direct mode prediction.
The following semantics are assigned to the macroblock prediction modes (MbPartPredMode( )) in Table 7-14.
–   Direct: no motion vector differences or reference indices are present for the macroblock (in case of B_Skip or
    B_Direct_16x16) in the bitstream. Direct is an Inter macroblock prediction mode.
–   Pred_L0: see semantics for Table 7-13.
–   Pred_L1: specifies that the Inter prediction process is invoked using list 1 prediction. Pred_L1 is an Inter
    macroblock prediction mode.
–   BiPred: specifies that the Inter prediction process is invoked using list 0 and list 1 prediction. BiPred is an Inter
    macroblock prediction mode.


pcm_alignment_zero_bit is a bit equal to 0.
pcm_sample_luma[ i ] is a sample value. The first pcm_sample_luma[ i ] values represent luma sample values in the
raster scan within the macroblock. The number of bits used to represent each of these samples is BitDepthY. When
profile_idc is not equal to 100, 110, 122, or 144, pcm_sample_luma[ i ] shall not be equal to 0.
pcm_sample_chroma[ i ] is a sample value. The first MbWidthC * MbHeightC pcm_sample_chroma[ i ] values
represent Cb sample values in the raster scan within the macroblock and the remaining MbWidthC * MbHeightC
pcm_sample_chroma[ i ] values represent Cr sample values in the raster scan within the macroblock. The number of
bits used to represent each of these samples is BitDepthC. When profile_idc is not equal to 100, 110, 122, or 144,
pcm_sample_chroma[ i ] shall not be equal to 0.
coded_block_pattern specifies which of the four 8x8 luma blocks and associated chroma blocks of a macroblock may
contain non-zero transform coefficient levels. For macroblocks with prediction mode not equal to Intra_16x16,
coded_block_pattern is present in the bitstream and the variables CodedBlockPatternLuma and
CodedBlockPatternChroma are derived as follows.

      CodedBlockPatternLuma = coded_block_pattern % 16
      CodedBlockPatternChroma = coded_block_pattern / 16                                                           (7-33)


When coded_block_pattern is present, CodedBlockPatternLuma specifies, for each of the four 8x8 luma blocks of the
macroblock, one of the following cases.
–   All transform coefficient levels of the four 4x4 luma blocks in the 8x8 luma block are equal to zero
–   One or more transform coefficient levels of one or more of the 4x4 luma blocks in the 8x8 luma block shall be non-
    zero valued.
The meaning of CodedBlockPatternChroma is specified in Table 7-15.




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                           Table 7-15 – Specification of CodedBlockPatternChroma values

          CodedBlockPatternChroma      Description

                       0               All chroma transform coefficient levels are equal to 0.

                       1               One or more chroma DC transform coefficient levels shall be non-zero valued.
                                       All chroma AC transform coefficient levels are equal to 0.

                       2               Zero or more chroma DC transform coefficient levels are non-zero valued.
                                       One or more chroma AC transform coefficient levels shall be non-zero valued.



mb_qp_delta can change the value of QPY in the macroblock layer. The decoded value of mb_qp_delta shall be in the
range of –( 26 + QpBdOffsetY / 2) to +( 25 + QpBdOffsetY / 2 ), inclusive. mb_qp_delta shall be inferred to be equal
to 0 when it is not present for any macroblock (including P_Skip and B_Skip macroblock types).
The value of QPY is derived as

          QPY = ( ( QPY,PREV + mb_qp_delta + 52 + 2 * QpBdOffsetY ) % ( 52 + QpBdOffsetY ) ) - QpBdOffsetY              (7-34)


where QPY,PREV is the luma quantisation parameter, QPY, of the previous macroblock in decoding order in the current
slice. For the first macroblock in the slice QPY,PREV is initially set equal to SliceQPY derived in Equation 7-27 at the start
of each slice.
The value of QP'Y is derived as

          QP'Y = QPY + QpBdOffsetY                                                                                      (7-35)


7.4.5.1     Macroblock prediction semantics
All samples of the macroblock are predicted. The prediction modes are derived using the following syntax elements.
prev_intra4x4_pred_mode_flag[ luma4x4BlkIdx ] and rem_intra4x4_pred_mode[ luma4x4BlkIdx ] specify the
Intra_4x4 prediction of the 4x4 luma block with index luma4x4BlkIdx = 0..15.
prev_intra8x8_pred_mode_flag[ luma8x8BlkIdx ] and rem_intra8x8_pred_mode[ luma8x8BlkIdx ] specify the
Intra_8x8 prediction of the 8x8 luma block with index luma8x8BlkIdx = 0..3.
intra_chroma_pred_mode specifies the type of spatial prediction used for chroma in macroblocks using Intra_4x4 or
Intra_16x16 prediction, as shown in Table 7-16. The value of intra_chroma_pred_mode shall be in the range of 0 to 3,
inclusive.

              Table 7-16 – Relationship between intra_chroma_pred_mode and spatial prediction modes

                                 intra_chroma_pred_mode         Intra Chroma Prediction Mode

                                             0                                  DC

                                             1                              Horizontal

                                             2                               Vertical

                                             3                                 Plane



ref_idx_l0[ mbPartIdx ] when present, specifies the index in reference picture list 0 of the reference picture to be used
for prediction.
The range of ref_idx_l0[ mbPartIdx ], the index in list 0 of the reference picture, and, if applicable, the parity of the
field within the reference picture used for prediction are specified as follows.
–    If MbaffFrameFlag is equal to 0 or mb_field_decoding_flag is equal to 0, the value of ref_idx_l0[ mbPartIdx ] shall
     be in the range of 0 to num_ref_idx_l0_active_minus1, inclusive.




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–   Otherwise (MbaffFrameFlag is equal to 1 and mb_field_decoding_flag is equal to 1), the value of
    ref_idx_l0[ mbPartIdx ] shall be in the range of 0 to 2 * num_ref_idx_l0_active_minus1 + 1, inclusive.
When only one reference picture is used for inter prediction, the values of ref_idx_l0[ mbPartIdx ] shall be inferred to
be equal to 0.
ref_idx_l1[ mbPartIdx ] has the same semantics as ref_idx_l0, with l0 and list 0 replaced by l1 and list 1, respectively.
mvd_l0[ mbPartIdx ][ 0 ][ compIdx ] specifies the difference between a vector component to be used and its prediction.
The index mbPartIdx specifies to which macroblock partition mvd_l0 is assigned. The partitioning of the macroblock is
specified by mb_type. The horizontal motion vector component difference is decoded first in decoding order and is
assigned CompIdx = 0. The vertical motion vector component is decoded second in decoding order and is assigned
CompIdx = 1. The range of the components of mvd_l0[ mbPartIdx ][ 0 ][ compIdx ] is specified by constraints on the
motion vector variable values derived from it as specified in Annex A.
mvd_l1[ mbPartIdx ][ 0 ][ compIdx ] has the same semantics as mvd_l0, with l0 and L0 replaced by l1 and L1,
respectively.

7.4.5.2   Sub-macroblock prediction semantics
sub_mb_type[ mbPartIdx ] specifies the sub-macroblock types.
Tables and semantics are specified for the various sub-macroblock types for P, and B macroblock types. Each table
presents the value of sub_mb_type, the name of sub_mb_type, the number of sub-macroblock partitions used (given by
the NumSubMbPart( sub_mb_type ) function), and the prediction mode of the sub-macroblock (given by the
SubMbPredMode( sub_mb_type ) function). In the text, the value of sub_mb_type may be referred to by “sub-
macroblock type”. In the text, the value of SubMbPredMode( ) may be referred to by “sub-macroblock prediction
mode”.
The interpretation of sub_mb_type[ mbPartIdx ] for P macroblock types is specified in Table 7-17, where the row for
"inferred" specifies values inferred when sub_mb_type[ mbPartIdx ] is not present.

                                                     Table 7-17 – Sub-macroblock types in P macroblocks
                                                                                      ( sub_mb_type[ mbPartIdx ] )



                                                                                                                     ( sub_mb_type[ mbPartIdx ] )




                                                                                                                                                    ( sub_mb_type[ mbPartIdx ] )




                                                                                                                                                                                   ( sub_mb_type[ mbPartIdx ] )
                      sub_mb_type[ mbPartIdx ]




                                                      sub_mb_type[ mbPartIdx ]




                                                                                                                                                                                         SubMbPartHeight
                                                                                                                                                          SubMbPartWidth
                                                                                                                           SubMbPredMode
                                                                                            NumSubMbPart
                                                             Name of




                      inferred                                                   na             na                                            na                 na                                 na

                                                 0            P_L0_8x8                            1                           Pred_L0                              8                                   8

                                                 1            P_L0_8x4                            2                           Pred_L0                              8                                   4

                                                 2            P_L0_4x8                            2                           Pred_L0                              4                                   8

                                                 3            P_L0_4x4                            4                           Pred_L0                              4                                   4



The following semantics are assigned to the sub-macroblock types in Table 7-17.
–   P_L0_MxN, with MxN being replaced by 8x8, 8x4, 4x8, or 4x4: the samples of the sub-macroblock are predicted
    using one luma partition of size MxN equal to 8x8, two luma partitions of size MxN equal to 8x4, or two luma
    partitions of size MxN equal to 4x8, or four luma partitions of size MxN equal to 4x4, and associated chroma
    samples, respectively.
The following semantics are assigned to the sub-macroblock prediction modes (SubMbPredMode( )) in Table 7-17.
–    Pred_L0: see semantics for Table 7-13.



                                                                                                                                                               ITU-T Rec. H.264 (03/2005)                         93
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The interpretation of sub_mb_type[ mbPartIdx ] for B macroblock types is specified in Table 7-18, where the row for
"inferred" specifies values inferred when sub_mb_type[ mbPartIdx ] is not present, and the inferred value "mb_type"
specifies that the name of sub_mb_type[ mbPartIdx ] is the same as the name of mb_type for this case.

                                                     Table 7-18 – Sub-macroblock types in B macroblocks




                                                                                       ( sub_mb_type[ mbPartIdx ] )




                                                                                                                       ( sub_mb_type[ mbPartIdx ] )




                                                                                                                                                       ( sub_mb_type[ mbPartIdx ] )



                                                                                                                                                                                      ( sub_mb_type[ mbPartIdx ] )
                          sub_mb_type[ mbPartIdx ]




                                                            sub_mb_type[ mbPartIdx ]




                                                                                                                                                                                            SubMbPartHeight
                                                                                                                                                             SubMbPartWidth
                                                                                                                             SubMbPredMode
                                                                                             NumSubMbPart
                                                                   Name of




                       inferred                           mb_type                                4                    Direct                                     4                               4

                                0                       B_Direct_8x8                             4                    Direct                                     4                              4

                                1                         B_L0_8x8                               1                    Pred_L0                                    8                              8

                                2                         B_L1_8x8                               1                    Pred_L1                                    8                              8

                                3                         B_Bi_8x8                               1                    BiPred                                     8                              8

                                4                         B_L0_8x4                               2                    Pred_L0                                    8                              4

                                5                         B_L0_4x8                               2                    Pred_L0                                    4                              8

                                6                         B_L1_8x4                               2                    Pred_L1                                    8                              4

                                7                         B_L1_4x8                               2                    Pred_L1                                    4                              8

                                8                         B_Bi_8x4                               2                    BiPred                                     8                              4

                                9                         B_Bi_4x8                               2                    BiPred                                     4                              8

                           10                             B_L0_4x4                               4                    Pred_L0                                    4                              4

                           11                             B_L1_4x4                               4                    Pred_L1                                    4                              4

                           12                             B_Bi_4x4                               4                    BiPred                                     4                               4



The following semantics are assigned to the sub-macroblock types in Table 7-18:
–    B_Skip and B_Direct_16x16: no motion vector differences or reference indices are present for the sub-macroblock
     in the bitstream. The functions SubMbPartWidth( ) and SubMbPartHeight( ) are used in the derivation process for
     motion vectors and reference frame indices in subclause 8.4.1 for direct mode prediction.
–    B_Direct_8x8: no motion vector differences or reference indices are present for the sub-macroblock in the
     bitstream. The functions SubMbPartWidth( B_Direct_8x8 ) and SubMbPartHeight( B_Direct_8x8 ) are used in the
     derivation process for motion vectors and reference frame indices in subclause 8.4.1 for direct mode prediction.
–    B_X_MxN, with X being replaced by L0, L1, or Bi, and MxN being replaced by 8x8, 8x4, 4x8 or 4x4: the samples
     of the sub-macroblock are predicted using one luma partition of size MxN equal to 8x8, or the samples of the sub-
     macroblock are predicted using two luma partitions of size MxN equal to 8x4, or the samples of the sub-
     macroblock are predicted using two luma partitions of size MxN equal to 4x8, or the samples of the sub-
     macroblock are predicted using four luma partitions of size MxN equal to 4x4, and associated chroma samples,
     respectively. All sub-macroblock partitions share the same reference index. For an MxN sub-macroblock partition
     in a sub-macroblock with sub_mb_type being B_X_MxN with X being replaced by either L0 or L1, one motion
     vector difference is present in the bitstream. For an MxN sub-macroblock partition in a sub-macroblock with
     sub_mb_type being B_Bi_MxN, two motion vector difference are present in the bitstream.

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The following semantics are assigned to the sub-macroblock prediction modes (SubMbPredMode( )) in Table 7-18.
–    Direct: see semantics for Table 7-14.
–    Pred_L0: see semantics for Table 7-13.
–    Pred_L1: see semantics for Table 7-14.
–    BiPred: see semantics for Table 7-14.


ref_idx_l0[ mbPartIdx ] has the same semantics as ref_idx_l0 in subclause 7.4.5.1.
ref_idx_l1[ mbPartIdx ] has the same semantics as ref_idx_l1 in subclause 7.4.5.1.
mvd_l0[ mbPartIdx ][ subMbPartIdx ][ compIdx ] has the same semantics as mvd_l0 in subclause 7.4.5.1, except that it
is applied to the sub-macroblock partition index with subMbPartIdx. The indices mbPartIdx and subMbPartIdx specify
to which macroblock partition and sub-macroblock partition mvd_l0 is assigned.
mvd_l1[ mbPartIdx ][ subMbPartIdx ][ compIdx ] has the same semantics as mvd_l1 in subclause 7.4.5.1.

7.4.5.3   Residual data semantics
The syntax structure residual_block( ), which is used for parsing the transform coefficient levels, is assigned as follows.
–    If entropy_coding_mode_flag is equal to 0, residual_block is set equal to residual_block_cavlc, which is used for
     parsing the syntax elements for transform coefficient levels.
–    Otherwise (entropy_coding_mode_flag is equal to 1), residual_block is set equal to residual_block_cabac, which is
     used for parsing the syntax elements for transform coefficient levels.
Depending     on     mb_type,    luma     or     chroma,      and    chroma      format, the    syntax    structure
residual_block( coeffLevel, maxNumCoeff ) is used with the arguments coeffLevel, which is a list containing the
maxNumCoeff transform coefficient levels that are parsed in residual_block( ) and maxNumCoeff as follows.
–    Depending on MbPartPredMode( mb_type, 0 ), the following applies.
     – If MbPartPredMode( mb_type, 0 ) is equal to Intra_16x16, the transform coefficient levels are parsed into the
       list Intra16x16DCLevel and into the 16 lists Intra16x16ACLevel[ i ]. Intra16x16DCLevel contains the 16
       transform coefficient levels of the DC transform coefficient levels for each 4x4 luma block. For each of the 16
       4x4 luma blocks indexed by i = 0..15, the 15 AC transform coefficients levels of the i-th block are parsed into
       the i-th list Intra16x16ACLevel[ i ].
     – Otherwise (MbPartPredMode( mb_type, 0 ) is not equal to Intra_16x16), the following applies.
          –     If transform_size_8x8_flag is equal to 0, for each of the 16 4x4 luma blocks indexed by i = 0..15, the 16
                transform coefficient levels of the i-th block are parsed into the i-th list LumaLevel[ i ].
          –     Otherwise (transform_size_8x8_flag is equal to 1), for each of the 4 8x8 luma blocks indexed by
                i8x8 = 0..3, the following applies.
                –      If entropy_coding_mode_flag is equal to 0, first for each of the 4 4x4 luma blocks indexed by
                       i4x4 = 0..3, the 16 transform coefficient levels of the i4x4-th block are parsed into the
                       (i8x8 * 4 + i4x4)-th list LumaLevel[ i8x8 * 4 + i4x4 ]. Then, the 64 transform coefficient levels of
                       the i8x8-th 8x8 luma block which are indexed by 4 * i + i4x4, where i = 0..15 and i4x4 = 0..3, are
                       derived as LumaLevel8x8[ i8x8 ][ 4 * i + i4x4 ] = LumaLevel[ i8x8 * 4 + i4x4 ][ i ].
                    NOTE – The 4x4 luma blocks with luma4x4BlkIdx = i8x8 * 4 + i4x4 containing every fourth transform
                    coefficient level of the corresponding i8x8-th 8x8 luma block with offset i4x4 are assumed to represent spatial
                    locations given by the inverse 4x4 luma block scanning process in subclause 6.4.3.
                –      Otherwise (entropy_coding_mode_flag is equal to 1), the 64 transform coefficient levels of the
                       i8x8-th block are parsed into the i8x8-th list LumaLevel8x8[ i8x8 ].
–    For each chroma component, indexed by iCbCr = 0..1, the DC transform coefficient levels of the 4 * NumC8x8
     4x4 chroma blocks are parsed into the iCbCr-th list ChromaDCLevel[ iCbCr ].
–    For each of the 4x4 chroma blocks, indexed by i4x4 = 0..3 and i8x8 = 0..NumC8x8 − 1, of each chroma
     component, indexed by iCbCr = 0..1, the 15 AC transform coefficient levels are parsed into the (i8x8*4 + i4x4)-th
     list of the iCbCr-th chroma component ChromaACLevel[ iCbCr ][ i8x8*4 + i4x4 ].




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7.4.5.3.1 Residual block CAVLC semantics
The function TotalCoeff( coeff_token ) that is used in subclause 7.3.5.3.1 returns the number of non-zero transform
coefficient levels derived from coeff_token.
The function TrailingOnes( coeff_token ) that is used in subclause 7.3.5.3.1 returns the trailing ones derived from
coeff_token.
coeff_token specifies the total number of non-zero transform coefficient levels and the number of trailing one transform
coefficient levels in a transform coefficient level scan. A trailing one transform coefficient level is one of up to three
consecutive non-zero transform coefficient levels having an absolute value equal to 1 at the end of a scan of non-zero
transform coefficient levels. The range of coeff_token is specified in subclause 9.2.1.
trailing_ones_sign_flag specifies the sign of a trailing one transform coefficient level as follows.
–    If trailing_ones_sign_flag is equal to 0, the corresponding transform coefficient level is decoded as +1.
–    Otherwise (trailing_ones_sign_flag equal to 1), the corresponding transform coefficient level is decoded as -1.
level_prefix and level_suffix specify the value of a non-zero transform coefficient level. The range of level_prefix and
level_suffix is specified in subclause 9.2.2.
total_zeros specifies the total number of zero-valued transform coefficient levels that are located before the position of
the last non-zero transform coefficient level in a scan of transform coefficient levels. The range of total_zeros is
specified in subclause 9.2.3.
run_before specifies the number of consecutive transform coefficient levels in the scan with zero value before a non-
zero valued transform coefficient level. The range of run_before is specified in subclause 9.2.3.
coeffLevel contains maxNumCoeff transform coefficient levels for the current list of transform coefficient levels.

7.4.5.3.2 Residual block CABAC semantics
coded_block_flag specifies whether the block contains non-zero transform coefficient levels as follows.
-    If coded_block_flag is equal to 0, the block contains no non-zero transform coefficient levels.
-    Otherwise (coded_block_flag is equal to 1), the block contains at least one non-zero transform coefficient level.
significant_coeff_flag[ i ] specifies whether the transform coefficient level at scanning position i is non-zero as follows.
–    If significant_coeff_flag[ i ] is equal to 0, the transform coefficient level at scanning position i is set equal to 0;
–    Otherwise (significant_coeff_flag[ i ] is equal to 1), the transform coefficient level at scanning position i has a non-
     zero value.
last_significant_coeff_flag[ i ] specifies for the scanning position i whether there are non-zero transform coefficient
levels for subsequent scanning positions i + 1 to maxNumCoeff – 1 as follows.
–    If last_significant_coeff_flag[ i ] is equal to 1, all following transform coefficient levels (in scanning order) of the
     block have value equal to 0.
–    Otherwise (last_significant_coeff_flag[ i ] is equal to 0), there are further non-zero transform coefficient levels
     along the scanning path.
coeff_abs_level_minus1[ i ] is the absolute value of a transform coefficient level minus 1. The value of
coeff_abs_level_minus1 is constrained by the limits in subclause 8.5.
coeff_sign_flag[ i ] specifies the sign of a transform coefficient level as follows.
–    If coeff_sign_flag is equal to 0, the corresponding transform coefficient level has a positive value.
–    Otherwise (coeff_sign_flag is equal to 1), the corresponding transform coefficient level has a negative value.
coeffLevel contains maxNumCoeff transform coefficient levels for the current list of transform coefficient levels.


8        Decoding process
Outputs of this process are decoded samples of the current picture (sometimes referred to by the variable CurrPic).
This clause describes the decoding process, given syntax elements and upper-case variables from clause 7.



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The decoding process is specified such that all decoders shall produce numerically identical results. Any decoding
process that produces identical results to the process described here conforms to the decoding process requirements of
this Recommendation | International Standard.
Each picture referred to in this clause is a primary picture. Each slice referred to in this clause is a slice of a primary
picture. Each slice data partition referred to in this clause is a slice data partition of a primary picture.
An overview of the decoding process is given as follows.
–     The decoding of NAL units is specified in subclause 8.1.
–     The processes in subclause 8.2 specify decoding processes using syntax elements in the slice layer and above.
      –   Variables and functions relating to picture order count are derived in subclause 8.2.1. (only needed to be
          invoked for one slice of a picture)
      –   Variables and functions relating to the macroblock to slice group map are derived in subclause 8.2.2. (only
          needed to be invoked for one slice of a picture)
      –   The method of combining the various partitions when slice data partitioning is used is described in subclause
          8.2.3.
      –   When the frame_num of the current picture is not equal to PrevRefFrameNum and is not equal to
          ( PrevRefFrameNum + 1 ) % MaxFrameNum, the decoding process for gaps in frame_num is performed
          according to subclause 8.2.5.2 prior to the decoding of any slices of the current picture.
      –   At the beginning of the decoding process for each P, SP, or B slice, the decoding process for reference picture
          lists construction specified in 8.2.4 performed for derivation of reference picture list 0 (RefPicList0), and
          when decoding a B slice, reference picture list 1 (RefPicList1).
      –   When the current picture is a reference picture and after all slices of the current picture have been decoded,
          the decoded reference picture marking process in subclause 8.2.5 specifies how the current picture is used in
          the decoding process of inter prediction in later decoded pictures.
–     The processes in subclauses 8.3, 8.4, 8.5, 8.6, and 8.7 specify decoding processes using syntax elements in the
      macroblock layer and above.
      –   The intra prediction process for I and SI macroblocks, except for I_PCM macroblocks as specified in
          subclause 8.3, has intra prediction samples as its output. For I_PCM macroblocks subclause 8.3 directly
          specifies a picture construction process. The output are the constructed samples prior to the deblocking filter
          process.
      –   The inter prediction process for P and B macroblocks is specified in subclause 8.4 with inter prediction
          samples being the output.
      –   The transform coefficient decoding process and picture construction process prior to deblocking filter process
          are specified in subclause 8.5. That process derives samples for I and B macroblocks and for P macroblocks in
          P slices. The output are constructed samples prior to the deblocking filter process.
      –   The decoding process for P macroblocks in SP slices or SI macroblocks is specified in subclause 8.6. That
          process derives samples for P macroblocks in SP slices and for SI macroblocks. The output are constructed
          samples prior to the deblocking filter process.
      –   The constructed samples prior to the deblocking filter process that are next to the edges of blocks and
          macroblocks are processed by a deblocking filter as specified in subclause 8.7 with the output being the
          decoded samples.

8.1       NAL unit decoding process
Inputs to this process are NAL units.
Outputs of this process are the RBSP syntax structures encapsulated within the NAL units.
The decoding process for each NAL unit extracts the RBSP syntax structure from the NAL unit and then operates the
decoding processes specified for the RBSP syntax structure in the NAL unit as follows.
Subclause 8.2 describes the decoding process for NAL units with nal_unit_type equal to 1 through 5.
Subclauses 8.3 describes the decoding process for a macroblock or part of a macroblock coded in NAL units with
nal_unit_type equal to 1, 2, and 5.



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Subclause 8.4 describes the decoding process for a macroblock or part of a macroblock coded in NAL units with
nal_unit_type equal to 1 and 2.
Subclause 8.5 describes the decoding process for a macroblock or part of a macroblock coded in NAL units with
nal_unit_type equal to 1 and 3 to 5.
Subclause 8.6 describes the decoding process for a macroblock or part of a macroblock coded in NAL units with
nal_unit_type equal to 1 and 3 to 5.
Subclause 8.7 describes the decoding process for a macroblock or part of a macroblock coded in NAL units with
nal_unit_type equal to 1 to 5.
NAL units with nal_unit_type equal to 7 and 8 contain sequence parameter sets and picture parameter sets, respectively.
Picture parameter sets are used in the decoding processes of other NAL units as determined by reference to a picture
parameter set within the slice headers of each picture. Sequence parameter sets are used in the decoding processes of
other NAL units as determined by reference to a sequence parameter set within the picture parameter sets of each
sequence.
No normative decoding process is specified for NAL units with nal_unit_type equal to 6, 9, 10, 11, and 12.

8.2        Slice decoding process
8.2.1      Decoding process for picture order count
Outputs of this process are TopFieldOrderCnt (if applicable) and BottomFieldOrderCnt (if applicable).
Picture order counts are used to determine initial picture orderings for reference pictures in the decoding of B slices (see
subclauses 8.2.4.2.3 and 8.2.4.2.4), to represent picture order differences between frames or fields for motion vector
derivation in temporal direct mode (see subclause 8.4.1.2.3), for implicit mode weighted prediction in B slices (see
subclause 8.4.2.3.2), and for decoder conformance checking (see subclause C.4).
Picture order count information is derived for every frame, field (whether decoded from a coded field or as a part of a
decoded frame), or complementary field pair as follows:
–      Each coded frame is associated with two picture order counts, called TopFieldOrderCnt and BottomFieldOrderCnt
       for its top field and bottom field, respectively.
–      Each coded field is associated with a picture order count, called TopFieldOrderCnt for a coded top field and
       BottomFieldOrderCnt for a bottom field.
–      Each complementary field pair is associated with two picture order counts, which are the TopFieldOrderCnt for its
       coded top field and the BottomFieldOrderCnt for its coded bottom field, respectively.
TopFieldOrderCnt and BottomFieldOrderCnt indicate the picture order of the corresponding top field or bottom field
relative to the first output field of the previous IDR picture or the previous reference picture including a
memory_management_control_operation equal to 5 in decoding order.
TopFieldOrderCnt and BottomFieldOrderCnt are derived by invoking one of the decoding processes for picture order
count type 0, 1, and 2 in subclauses 8.2.1.1, 8.2.1.2, and 8.2.1.3, respectively. When the current picture includes a
memory management control operation equal to 5, after the decoding of the current picture, tempPicOrderCnt is set
equal to PicOrderCnt( CurrPic ), TopFieldOrderCnt of the current picture (if any) is set equal to
TopFieldOrderCnt - tempPicOrderCnt, and BottomFieldOrderCnt of the current picture (if any) is set equal to
BottomFieldOrderCnt - tempPicOrderCnt.
The bitstream shall not contain data that results in Min( TopFieldOrderCnt, BottomFieldOrderCnt ) not equal to 0 for a
coded IDR frame, TopFieldOrderCnt not equal to 0 for a coded IDR top field, or BottomFieldOrderCnt not equal to 0
for a coded IDR bottom field. Thus, at least one of TopFieldOrderCnt and BottomFieldOrderCnt shall be equal to 0 for
the fields of a coded IDR frame.
When the current picture is not an IDR picture, the following applies.
–      Consider the list variable listD containing as elements the TopFieldOrderCnt and BottomFieldOrderCnt values
       associated with the list of pictures including all of the following
      – the first picture in the list is the previous picture of any of the following types
         – an IDR picture
         – a picture containing a memory_management_control_operation equal to 5
      – the following additional pictures.



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     –     If pic_order_cnt_type is equal to 0, all other pictures that follow in decoding order after the first picture in the
           list and are not "non-existing" frames inferred by the decoding process for gaps in frame_num specified in
           subclause 8.2.5.2 and either precede the current picture in decoding order or are the current picture. When
           pic_order_cnt_type is equal to 0 and the current picture is not a "non-existing" frame inferred by the decoding
           process for gaps in frame_num specified in subclause 8.2.5.2, the current picture is included in listD prior to
           the invoking of the decoded reference picture marking process.
           Otherwise (pic_order_cnt_type is not equal to 0), all other pictures that follow in decoding order after the first
           picture in the list and either precede the current picture in decoding order or are the current picture. When
           pic_order_cnt_type is not equal to 0, the current picture is included in listD prior to the invoking of the
           decoded reference picture marking process.
– Consider the list variable listO which contains the elements of listD sorted in ascending order. listO shall not contain
  any of the following.
    – a pair of TopFieldOrderCnt and BottomFieldOrderCnt for a frame or complementary field pair that are not at
      consecutive positions in listO.
    – a TopFieldOrderCnt that has a value equal to another TopFieldOrderCnt.
    – a BottomFieldOrderCnt that has a value equal to another BottomFieldOrderCnt.
    – a BottomFieldOrderCnt that has a value equal to a TopFieldOrderCnt unless the BottomFieldOrderCnt and
      TopFieldOrderCnt belong to the same coded frame or complementary field pair.
The bitstream shall not contain data that results in values of TopFieldOrderCnt, BottomFieldOrderCnt,
PicOrderCntMsb, or FrameNumOffset used in the decoding process as specified in subclauses 8.2.1.1 to 8.2.1.3 that
exceed the range of values from -231 to 231-1, inclusive.
The function PicOrderCnt( picX ) is specified as follows:

          if( picX is a frame or a complementary field pair )
              PicOrderCnt( picX ) = Min( TopFieldOrderCnt, BottomFieldOrderCnt ) of the frame or complementary field
          pair picX
          else if( picX is a top field )
              PicOrderCnt( picX ) = TopFieldOrderCnt of field picX                                               (8-1)
          else if( picX is a bottom field )
              PicOrderCnt( picX ) = BottomFieldOrderCnt of field picX


Then DiffPicOrderCnt( picA, picB ) is specified as follows:

          DiffPicOrderCnt( picA, picB ) = PicOrderCnt( picA ) - PicOrderCnt( picB )                                          (8-2)


The bitstream shall not contain data that results in values of DiffPicOrderCnt( picA, picB ) used in the decoding process
that exceed the range of -215 to 215 - 1, inclusive.
    NOTE 1 – Let X be the current picture and Y and Z be two other pictures in the same sequence, Y and Z are considered to be in
    the same output order direction from X when both DiffPicOrderCnt( X, Y ) and DiffPicOrderCnt( X, Z ) are positive or both are
    negative.
    NOTE 2 – Many applications assign PicOrderCnt( X ) proportional to the sampling time of the picture X relative to the sampling
    time of an IDR picture.
When the current picture includes a memory_management_control_operation equal to 5, PicOrderCnt( CurrPic ) shall
be greater than PicOrderCnt( any other picture in listD ).

8.2.1.1     Decoding process for picture order count type 0
This process is invoked when pic_order_cnt_type is equal to 0.
Input to this process is PicOrderCntMsb of the previous reference picture in decoding order as specified in this
subclause.
Outputs of this process are either or both TopFieldOrderCnt or BottomFieldOrderCnt.
The variables prevPicOrderCntMsb and prevPicOrderCntLsb are derived as follows.
–    If the current picture is an IDR picture, prevPicOrderCntMsb is set equal to 0 and prevPicOrderCntLsb is set equal
     to 0.
–    Otherwise (the current picture is not an IDR picture), the following applies.


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      –     If the previous reference picture in decoding order included a memory_management_control_operation equal
            to 5, the following applies.
           –      If the previous reference picture in decoding order is not a bottom field, prevPicOrderCntMsb is set equal
                  to 0 and prevPicOrderCntLsb is set equal to the value of TopFieldOrderCnt for the previous reference
                  picture in decoding order.
           –      Otherwise (the previous reference picture in decoding order is a bottom field), prevPicOrderCntMsb is
                  set equal to 0 and prevPicOrderCntLsb is set equal to 0.
      –     Otherwise (the previous reference picture in decoding order did not include a
            memory_management_control_operation equal to 5), prevPicOrderCntMsb is set equal to PicOrderCntMsb of
            the previous reference picture in decoding order and prevPicOrderCntLsb is set equal to the value of
            pic_order_cnt_lsb of the previous reference picture in decoding order.
PicOrderCntMsb of the current picture is derived as follows:

          if( ( pic_order_cnt_lsb < prevPicOrderCntLsb ) &&
              ( ( prevPicOrderCntLsb – pic_order_cnt_lsb ) >= ( MaxPicOrderCntLsb / 2 ) ) )
               PicOrderCntMsb = prevPicOrderCntMsb + MaxPicOrderCntLsb                                                 (8-3)
          else if( ( pic_order_cnt_lsb > prevPicOrderCntLsb ) &&
                   ( ( pic_order_cnt_lsb – prevPicOrderCntLsb ) > ( MaxPicOrderCntLsb / 2 ) ) )
               PicOrderCntMsb = prevPicOrderCntMsb – MaxPicOrderCntLsb
          else
               PicOrderCntMsb = prevPicOrderCntMsb


When the current picture is not a bottom field, TopFieldOrderCnt is derived as follows:

          if( !field_pic_flag | | !bottom_field_flag )
               TopFieldOrderCnt = PicOrderCntMsb + pic_order_cnt_lsb                                                   (8-4)


When the current picture is not a top field, BottomFieldOrderCnt is derived as follows:

          if( !field_pic_flag )
               BottomFieldOrderCnt = TopFieldOrderCnt + delta_pic_order_cnt_bottom
          else if( bottom_field_flag )                                                                                 (8-5)
               BottomFieldOrderCnt = PicOrderCntMsb + pic_order_cnt_lsb


8.2.1.2     Decoding process for picture order count type 1
This process is invoked when pic_order_cnt_type is equal to 1.
Input to this process is FrameNumOffset of the previous picture in decoding order as specified in this subclause.
Outputs of this process are either or both TopFieldOrderCnt or BottomFieldOrderCnt.
The values of TopFieldOrderCnt and BottomFieldOrderCnt are derived as specified in this subclause. Let
prevFrameNum be equal to the frame_num of the previous picture in decoding order.
When the current picture is not an IDR picture, the variable prevFrameNumOffset is derived as follows.
– If the previous picture in decoding order included a memory_management_control_operation equal to 5,
  prevFrameNumOffset is set equal to 0.
– Otherwise (the previous picture in decoding order did not include a memory_management_control_operation equal
  to 5), prevFrameNumOffset is set equal to the value of FrameNumOffset of the previous picture in decoding order.
     NOTE – When gaps_in_frame_num_value_allowed_flag is equal to 1, the previous picture in decoding order may be a "non-
     existing" frame inferred by the decoding process for gaps in frame_num specified in subclause 8.2.5.2.
The derivation proceeds in the following ordered steps.
1.    The variable FrameNumOffset is derived as follows:

          if( nal_unit_type = = 5 )
              FrameNumOffset = 0
          else if( prevFrameNum > frame_num )                                                                          (8-6)
              FrameNumOffset = prevFrameNumOffset + MaxFrameNum

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          else
              FrameNumOffset = prevFrameNumOffset


2.   The variable absFrameNum is derived as follows:

          if( num_ref_frames_in_pic_order_cnt_cycle != 0 )
               absFrameNum = FrameNumOffset + frame_num
          else                                                                                                   (8-7)
               absFrameNum = 0
          if( nal_ref_idc = = 0 && absFrameNum > 0 )
               absFrameNum = absFrameNum – 1


3.   When absFrameNum > 0, picOrderCntCycleCnt and frameNumInPicOrderCntCycle are derived as follows:

          if( absFrameNum > 0 ) {
              picOrderCntCycleCnt = ( absFrameNum – 1 ) / num_ref_frames_in_pic_order_cnt_cycle
              frameNumInPicOrderCntCycle = ( absFrameNum – 1 ) % num_ref_frames_in_pic_order_cnt_cycle           (8-8)
          }


4.   The variable expectedDeltaPerPicOrderCntCycle is derived as follows:

          expectedDeltaPerPicOrderCntCycle = 0
          for( i = 0; i < num_ref_frames_in_pic_order_cnt_cycle; i++ )
              expectedDeltaPerPicOrderCntCycle += offset_for_ref_frame[ i ]                                      (8-9)


5.   The variable expectedPicOrderCnt is derived as follows:

          if( absFrameNum > 0 ){
              expectedPicOrderCnt = picOrderCntCycleCnt * expectedDeltaPerPicOrderCntCycle
              for( i = 0; i <= frameNumInPicOrderCntCycle; i++ )
                  expectedPicOrderCnt = expectedPicOrderCnt + offset_for_ref_frame[ i ]
          } else
              expectedPicOrderCnt = 0
          if( nal_ref_idc = = 0 )                                                                               (8-10)
              expectedPicOrderCnt = expectedPicOrderCnt + offset_for_non_ref_pic


6.   The variables TopFieldOrderCnt or BottomFieldOrderCnt are derived as follows:

          if( !field_pic_flag ) {
               TopFieldOrderCnt = expectedPicOrderCnt + delta_pic_order_cnt[ 0 ]
               BottomFieldOrderCnt = TopFieldOrderCnt +
                        offset_for_top_to_bottom_field + delta_pic_order_cnt[ 1 ]                               (8-11)
          } else if( !bottom_field_flag )
               TopFieldOrderCnt = expectedPicOrderCnt + delta_pic_order_cnt[ 0 ]
          else
               BottomFieldOrderCnt = expectedPicOrderCnt + offset_for_top_to_bottom_field + delta_pic_order_cnt[ 0 ]


8.2.1.3     Decoding process for picture order count type 2
This process is invoked when pic_order_cnt_type is equal to 2.
Outputs of this process are either or both TopFieldOrderCnt or BottomFieldOrderCnt.
Let prevFrameNum be equal to the frame_num of the previous picture in decoding order.
When the current picture is not an IDR picture, the variable prevFrameNumOffset is derived as follows.
– If the previous picture in decoding order included a memory_management_control_operation equal to 5,
  prevFrameNumOffset is set equal to 0.
– Otherwise (the previous picture in decoding order did not include a memory_management_control_operation equal
  to 5), prevFrameNumOffset is set equal to the value of FrameNumOffset of the previous picture in decoding order.

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   NOTE 1 – When gaps_in_frame_num_value_allowed_flag is equal to 1, the previous picture in decoding order may be a "non-
   existing" frame inferred by the decoding process for gaps in frame_num specified in subclause 8.2.5.2.
The variable FrameNumOffset is derived as follows.

        if( nal_unit_type = = 5 )
            FrameNumOffset = 0
        else if( prevFrameNum > frame_num )                                                                               (8-12)
            FrameNumOffset = prevFrameNumOffset + MaxFrameNum
        else
            FrameNumOffset = prevFrameNumOffset


The variable tempPicOrderCnt is derived as follows:

        if( nal_unit_type = = 5 )
            tempPicOrderCnt = 0
        else if( nal_ref_idc = = 0 )                                                                                      (8-13)
            tempPicOrderCnt = 2 * ( FrameNumOffset + frame_num ) – 1
        else
            tempPicOrderCnt = 2 * ( FrameNumOffset + frame_num )


The variables TopFieldOrderCnt or BottomFieldOrderCnt are derived as follows:

        if( !field_pic_flag ) {
             TopFieldOrderCnt = tempPicOrderCnt
             BottomFieldOrderCnt = tempPicOrderCnt                                                                        (8-14)
        } else if( bottom_field_flag )
             BottomFieldOrderCnt = tempPicOrderCnt
        else
             TopFieldOrderCnt = tempPicOrderCnt

   NOTE 2 – Picture order count type 2 cannot be used in a coded video sequence that contains consecutive non-reference pictures
   that would result in more than one of these pictures having the same value of TopFieldOrderCnt or more than one of these
   pictures having the same value of BottomFieldOrderCnt.
   NOTE 3 – Picture order count type 2 results in an output order that is the same as the decoding order.

8.2.2    Decoding process for macroblock to slice group map
Inputs to this process are the active picture parameter set and the slice header of the slice to be decoded.
Output of this process is a macroblock to slice group map MbToSliceGroupMap.
This process is invoked at the start of every slice.
   NOTE – The output of this process is equal for all slices of a picture.

When num_slice_groups_minus1 is equal to 1 and slice_group_map_type is equal to 3, 4, or 5, slice groups 0 and 1
have a size and shape determined by slice_group_change_direction_flag as shown in Table 8-1 and specified in
subclauses 8.2.2.4 to 8.2.2.6.

                                          Table 8-1 – Refined slice group map type

          slice_group_map_type              slice_group_change_direction_flag       refined slice group map type
                       3                                         0                  Box-out clockwise
                       3                                         1                  Box-out counter-clockwise
                       4                                         0                  Raster scan
                       4                                         1                  Reverse raster scan
                       5                                         0                  Wipe right
                       5                                         1                  Wipe left




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In such a case, MapUnitsInSliceGroup0 slice group map units in the specified growth order are allocated for slice group
0 and the remaining PicSizeInMapUnits – MapUnitsInSliceGroup0 slice group map units of the picture are allocated for
slice group 1.
When num_slice_groups_minus1 is equal to 1 and slice_group_map_type is equal to 4 or 5, the variable
sizeOfUpperLeftGroup is defined as follows:

          sizeOfUpperLeftGroup = ( slice_group_change_direction_flag ?
                                   ( PicSizeInMapUnits – MapUnitsInSliceGroup0 ) : MapUnitsInSliceGroup0 ) (8-15)


The variable mapUnitToSliceGroupMap is derived as follows.
– If num_slice_groups_minus1 is equal to 0, the map unit to slice group map is generated for all i ranging from 0 to
  PicSizeInMapUnits – 1, inclusive, as specified by:

          mapUnitToSliceGroupMap[ i ] = 0                                                                        (8-16)


– Otherwise (num_slice_groups_minus1 is not equal to 0), mapUnitToSliceGroupMap is derived as follows.
            –    If slice_group_map_type is equal to 0, the derivation of mapUnitToSliceGroupMap as specified in
                 subclause 8.2.2.1 applies.
            –    Otherwise, if slice_group_map_type is equal to 1, the derivation of mapUnitToSliceGroupMap as
                 specified in subclause 8.2.2.2 applies.
            –    Otherwise, if slice_group_map_type is equal to 2, the derivation of mapUnitToSliceGroupMap as
                 specified in subclause 8.2.2.3 applies.
            –    Otherwise, if slice_group_map_type is equal to 3, the derivation of mapUnitToSliceGroupMap as
                 specified in subclause 8.2.2.4 applies.
            –    Otherwise, if slice_group_map_type is equal to 4, the derivation of mapUnitToSliceGroupMap as
                 specified in subclause 8.2.2.5 applies.
            –    Otherwise, if slice_group_map_type is equal to 5, the derivation of mapUnitToSliceGroupMap as
                 specified in subclause 8.2.2.6 applies.
            –    Otherwise (slice_group_map_type is equal to 6), the derivation of mapUnitToSliceGroupMap as
                 specified in subclause 8.2.2.7 applies.
After derivation of the mapUnitToSliceGroupMap, the process specified in subclause 8.2.2.8 is invoked to convert the
map unit to slice group map mapUnitToSliceGroupMap to the macroblock to slice group map MbToSliceGroupMap.
After derivation of the macroblock to slice group map as specified in subclause 8.2.2.8, the function
NextMbAddress( n ) is defined as the value of the variable nextMbAddress derived as specified by:

          i=n+1
          while( i < PicSizeInMbs && MbToSliceGroupMap[ i ] != MbToSliceGroupMap[ n ] )
             i++;
          nextMbAddress = i                                                                                      (8-17)


8.2.2.1     Specification for interleaved slice group map type
The specifications in this subclause apply when slice_group_map_type is equal to 0.
The map unit to slice group map is generated as specified by:

          i=0
          do
             for( iGroup = 0; iGroup <= num_slice_groups_minus1 && i < PicSizeInMapUnits;
                   i += run_length_minus1[ iGroup++ ] + 1 )
                 for( j = 0; j <= run_length_minus1[ iGroup ] && i + j < PicSizeInMapUnits; j++ )
                      mapUnitToSliceGroupMap[ i + j ] = iGroup                                                   (8-18)
          while( i < PicSizeInMapUnits )


8.2.2.2     Specification for dispersed slice group map type
The specifications in this subclause apply when slice_group_map_type is equal to 1.


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The map unit to slice group map is generated as specified by:

          for( i = 0; i < PicSizeInMapUnits; i++ )
              mapUnitToSliceGroupMap[ i ] = ( ( i % PicWidthInMbs ) +
                                                 ( ( ( i / PicWidthInMbs ) * ( num_slice_groups_minus1 + 1 ) ) / 2 ) )
                                                % ( num_slice_groups_minus1 + 1 )                                      (8-19)


8.2.2.3     Specification for foreground with left-over slice group map type
The specifications in this subclause apply when slice_group_map_type is equal to 2.
The map unit to slice group map is generated as specified by:

          for( i = 0; i < PicSizeInMapUnits; i++ )
              mapUnitToSliceGroupMap[ i ] = num_slice_groups_minus1
          for( iGroup = num_slice_groups_minus1 – 1; iGroup >= 0; iGroup-- ) {
              yTopLeft = top_left[ iGroup ] / PicWidthInMbs
              xTopLeft = top_left[ iGroup ] % PicWidthInMbs
              yBottomRight = bottom_right[ iGroup ] / PicWidthInMbs
              xBottomRight = bottom_right[ iGroup ] % PicWidthInMbs
              for( y = yTopLeft; y <= yBottomRight; y++ )
                  for( x = xTopLeft; x <= xBottomRight; x++ )
                      mapUnitToSliceGroupMap[ y * PicWidthInMbs + x ] = iGroup                                                   (8-20)
          }

   NOTE – The rectangles may overlap. Slice group 0 contains the macroblocks that are within the rectangle specified by
   top_left[ 0 ] and bottom_right[ 0 ]. A slice group having slice group ID greater than 0 and less than num_slice_groups_minus1
   contains the macroblocks that are within the specified rectangle for that slice group that are not within the rectangle specified for
   any slice group having a smaller slice group ID. The slice group with slice group ID equal to num_slice_groups_minus1 contains
   the macroblocks that are not in the other slice groups.

8.2.2.4     Specification for box-out slice group map types
The specifications in this subclause apply when slice_group_map_type is equal to 3.
The map unit to slice group map is generated as specified by:

          for( i = 0; i < PicSizeInMapUnits; i++ )
              mapUnitToSliceGroupMap[ i ] = 1
          x = ( PicWidthInMbs – slice_group_change_direction_flag ) / 2
          y = ( PicHeightInMapUnits – slice_group_change_direction_flag ) / 2
          ( leftBound, topBound ) = ( x, y )
          ( rightBound, bottomBound ) = ( x, y )
          ( xDir, yDir ) = ( slice_group_change_direction_flag – 1, slice_group_change_direction_flag )
          for( k = 0; k < MapUnitsInSliceGroup0; k += mapUnitVacant ) {
              mapUnitVacant = ( mapUnitToSliceGroupMap[ y * PicWidthInMbs + x ] = = 1 )
              if( mapUnitVacant )
                  mapUnitToSliceGroupMap[ y * PicWidthInMbs + x ] = 0                                                            (8-21)
              if( xDir = = –1 && x = = leftBound ) {
                  leftBound = Max( leftBound – 1, 0 )
                  x = leftBound
                  ( xDir, yDir ) = ( 0, 2 * slice_group_change_direction_flag – 1 )
              } else if( xDir = = 1 && x = = rightBound ) {
                  rightBound = Min( rightBound + 1, PicWidthInMbs – 1 )
                  x = rightBound
                  ( xDir, yDir ) = ( 0, 1 – 2 * slice_group_change_direction_flag )
              } else if( yDir = = –1 && y = = topBound ) {
                  topBound = Max( topBound – 1, 0 )
                  y = topBound
                  ( xDir, yDir ) = ( 1 – 2 * slice_group_change_direction_flag, 0 )
              } else if( yDir = = 1 && y = = bottomBound ) {
                  bottomBound = Min( bottomBound + 1, PicHeightInMapUnits – 1 )
                  y = bottomBound
                  ( xDir, yDir ) = ( 2 * slice_group_change_direction_flag – 1, 0 )
              } else

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                  ( x, y ) = ( x + xDir, y + yDir )
          }


8.2.2.5       Specification for raster scan slice group map types
The specifications in this subclause apply when slice_group_map_type is equal to 4.
The map unit to slice group map is generated as specified by:

          for( i = 0; i < PicSizeInMapUnits; i++ )
              if( i < sizeOfUpperLeftGroup )
                   mapUnitToSliceGroupMap[ i ] = slice_group_change_direction_flag
              else                                                                                               (8-22)
                   mapUnitToSliceGroupMap[ i ] = 1 – slice_group_change_direction_flag


8.2.2.6       Specification for wipe slice group map types
The specifications in this subclause apply when slice_group_map_type is equal to 5.
The map unit to slice group map is generated as specified by:

          k = 0;
          for( j = 0; j < PicWidthInMbs; j++ )
              for( i = 0; i < PicHeightInMapUnits; i++ )
                  if( k++ < sizeOfUpperLeftGroup )
                      mapUnitToSliceGroupMap[ i * PicWidthInMbs + j ] = slice_group_change_direction_flag
                  else                                                                                           (8-23)
                      mapUnitToSliceGroupMap[ i * PicWidthInMbs + j ] = 1 – slice_group_change_direction_flag


8.2.2.7       Specification for explicit slice group map type
The specifications in this subclause apply when slice_group_map_type is equal to 6.
The map unit to slice group map is generated as specified by:

              mapUnitToSliceGroupMap[ i ] = slice_group_id[ i ]                                                  (8-24)


for all i ranging from 0 to PicSizeInMapUnits – 1, inclusive.

8.2.2.8       Specification for conversion of map unit to slice group map to macroblock to slice group map
For each value of i ranging from 0 to PicSizeInMbs – 1, inclusive, the macroblock to slice group map is specified as
follows.
–– If frame_mbs_only_flag is equal to 1 or field_pic_flag is equal to 1, the macroblock to slice group map is specified
   by:

              MbToSliceGroupMap[ i ] = mapUnitToSliceGroupMap[ i ]                                               (8-25)

–    Otherwise, if MbaffFrameFlag is equal to 1, the macroblock to slice group map is specified by:

              MbToSliceGroupMap[ i ] = mapUnitToSliceGroupMap[ i / 2 ]                                           (8-26)

–    Otherwise (frame_mbs_only_flag is equal to 0 and mb_adaptive_frame_field_flag is equal to 0 and field_pic_flag
     is equal to 0), the macroblock to slice group map is specified by:

              MbToSliceGroupMap[ i ] = mapUnitToSliceGroupMap[ ( i / ( 2 * PicWidthInMbs ) ) * PicWidthInMbs
                                                               + ( i % PicWidthInMbs ) ]                     (8-27)


8.2.3         Decoding process for slice data partitioning
Inputs to this process are
–    a slice data partition A layer RBSP,

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–     when syntax elements of category 3 are present in the slice data, a slice data partition B layer RBSP having the
      same slice_id as in the slice data partition A layer RBSP, and
–     when syntax elements of category 4 are present in the slice data, a slice data partition C layer RBSP having the
      same slice_id as in the slice data partition A layer RBSP.
    NOTE 1 – The slice data partition B layer RBSP and slice data partition C layer RBSP need not be present.

Output of this process is a coded slice.
When slice data partitioning is not used, coded slices are represented by a slice layer without partitioning RBSP that
contains a slice header followed by a slice data syntax structure that contains all the syntax elements of categories 2, 3,
and 4 (see category column in subclause 7.3) of the macroblock data for the macroblocks of the slice.
When slice data partitioning is used, the macroblock data of a slice is partitioned into one to three partitions contained
in separate NAL units. Partition A contains a slice data partition A header, and all syntax elements of category 2.
Partition B, when present, contains a slice data partition B header and all syntax elements of category 3. Partition C,
when present, contains a slice data partition C header and all syntax elements of category 4.
When slice data partitioning is used, the syntax elements of each category are parsed from a separate NAL unit, which
need not be present when no symbols of the respective category exist. The decoding process shall process the slice data
partitions of a coded slice in a manner equivalent to processing a corresponding slice layer without partitioning RBSP
by extracting each syntax element from the slice data partition in which the syntax element appears depending on the
slice data partition assignment in the syntax tables in subclause 7.3.
    NOTE 2 – Syntax elements of category 3 are relevant to the decoding of residual data of I and SI macroblock types. Syntax
    elements of category 4 are relevant to the decoding of residual data of P and B macroblock types. Category 2 encompasses all
    other syntax elements related to the decoding of macroblocks, and their information is often denoted as header information. The
    slice data partition A header contains all the syntax elements of the slice header, and additionally a slice_id that are used to
    associate the slice data partitions B and C with the slice data partition A. The slice data partition B and C headers contain the
    slice_id syntax element that establishes their association with the slice data partition A of the slice.

8.2.4     Decoding process for reference picture lists construction
This process is invoked at the beginning of decoding of each P, SP, or B slice.
Decoded reference pictures are marked as "used for short-term reference" or "used for long-term reference" as specified
by the bitstream and specified in subclause 8.2.5. Short-term reference pictures are identified by the value of
frame_num. Long-term reference pictures are assigned a long-term frame index as specified by the bitstream and
specified in subclause 8.2.5.
Subclause 8.2.4.1 is invoked to specify
–   the assignment of variables FrameNum, FrameNumWrap, and PicNum to each of the short-term reference pictures,
    and
– the assignment of variable LongTermPicNum to each of the long-term reference pictures.
Reference pictures are addressed through reference indices as specified in subclause 8.4.2.1. A reference index is an
index into a reference picture list. When decoding a P or SP slice, there is a single reference picture list RefPicList0.
When decoding a B slice, there is a second independent reference picture list RefPicList1 in addition to RefPicList0.
At the beginning of decoding of each slice, reference picture list RefPicList0, and for B slices RefPicList1, are derived
as follows.
– An initial reference picture list RefPicList0 and for B slices RefPicList1 are derived as specified in
  subclause 8.2.4.2.
– The initial reference picture list RefPicList0 and for B slices RefPicList1 are modified as specified in
  subclause 8.2.4.3.
    NOTE – The reordering process for reference picture lists specified in subclause 8.2.4.3 allows the contents of RefPicList0 and
    for B slices RefPicList1 to be modified in a flexible fashion. In particular, it is possible for a picture that is currently marked
    "used for reference" to be inserted into RefPicList0 and for B slices RefPicList1 even when the picture is not in the initial
    reference picture list derived as specified in subclause 8.2.4.2.
The number of entries in the modified reference picture list RefPicList0 is num_ref_idx_l0_active_minus1 + 1, and for
B slices the number of entries in the modified reference picture list RefPicList1 is num_ref_idx_l1_active_minus1 + 1.
A reference picture may appear at more than one index in the modified reference picture lists RefPicList0 or
RefPicList1.




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8.2.4.1     Decoding process for picture numbers
This process is invoked when the decoding process for reference picture lists construction specified in subclause 8.2.4
or the decoded reference picture marking process specified in subclause 8.2.5 is invoked.
The variables FrameNum, FrameNumWrap, PicNum, LongTermFrameIdx, and LongTermPicNum are used for the
initialisation process for reference picture lists in subclause 8.2.4.2, the modification process for reference picture lists
in subclause 8.2.4.3, and for the decoded reference picture marking process in subclause 8.2.5.
To each short-term reference picture the variables FrameNum and FrameNumWrap are assigned as follows. First,
FrameNum is set equal to the syntax element frame_num that has been decoded in the slice header(s) of the
corresponding short-term reference picture. Then the variable FrameNumWrap is derived as

          if( FrameNum > frame_num )
              FrameNumWrap = FrameNum – MaxFrameNum                                                                    (8-28)
          else
              FrameNumWrap = FrameNum

where the value of frame_num used in Equation 8-28 is the frame_num in the slice header(s) for the current picture.
Each long-term reference picture has an associated value of LongTermFrameIdx (that was assigned to it as specified in
subclause 8.2.5).
To each short-term reference picture a variable PicNum is assigned, and to each long-term reference picture a variable
LongTermPicNum is assigned. The values of these variables depend on the value of field_pic_flag and
bottom_field_flag for the current picture and they are set as follows.
–    If field_pic_flag is equal to 0, the following applies.
    –       For each short-term reference frame or complementary reference field pair:

                PicNum = FrameNumWrap                                                                                  (8-29)

    –       For each long-term reference frame or long-term complementary reference field pair:

                LongTermPicNum = LongTermFrameIdx                                                                      (8-30)

                 NOTE – When decoding a frame the value of MbaffFrameFlag has no influence on the derivations in subclauses
                 8.2.4.2, 8.2.4.3, and 8.2.5.
–    Otherwise (field_pic_flag is equal to 1), the following applies.
    –       For each short-term reference field the following applies.
            –     If the reference field has the same parity as the current field

                PicNum = 2 * FrameNumWrap + 1                                                                          (8-31)

            –     Otherwise (the reference field has the opposite parity of the current field),

                PicNum = 2 * FrameNumWrap                                                                              (8-32)

    –       For each long-term reference field the following applies.
           –      If the reference field has the same parity as the current field

                LongTermPicNum = 2 * LongTermFrameIdx + 1                                                              (8-33)

           –      Otherwise (the reference field has the opposite parity of the current field),

                LongTermPicNum = 2 * LongTermFrameIdx                                                                  (8-34)


8.2.4.2     Initialisation process for reference picture lists
This initialisation process is invoked when decoding a P, SP, or B slice header.

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RefPicList0 and RefPicList1 have initial entries as specified in subclauses 8.2.4.2.1 through 8.2.4.2.5.
When the number of entries in the initial RefPicList0 or RefPicList1 produced as specified in subclauses 8.2.4.2.1
through 8.2.4.2.5 is greater than num_ref_idx_l0_active_minus1 + 1 or num_ref_idx_l1_active_minus1 + 1,
respectively, the extra entries past position num_ref_idx_l0_active_minus1 or num_ref_idx_l1_active_minus1 are
discarded from the initial reference picture list.
When the number of entries in the initial RefPicList0 or RefPicList1 produced as specified in subclauses 8.2.4.2.1
through 8.2.4.2.5 is less than num_ref_idx_l0_active_minus1 + 1 or num_ref_idx_l1_active_minus1 + 1, respectively,
the remaining entries in the initial reference picture list are set equal to "no reference picture".

8.2.4.2.1 Initialisation process for the reference picture list for P and SP slices in frames
This initialisation process is invoked when decoding a P or SP slice in a coded frame.
When this process is invoked, there shall be at least one reference frame or complementary reference field pair that is
currently marked as "used for short-term reference" or "used for long-term reference".
The reference picture list RefPicList0 is ordered so that short-term reference frames and short-term complementary
reference field pairs have lower indices than long-term reference frames and long-term complementary reference field
pairs.
The short-term reference frames and complementary reference field pairs are ordered starting with the frame or
complementary field pair with the highest PicNum value and proceeding through in descending order to the frame or
complementary field pair with the lowest PicNum value.
The long-term reference frames and complementary reference field pairs are ordered starting with the frame or
complementary field pair with the lowest LongTermPicNum value and proceeding through in ascending order to the
frame or complementary field pair with the highest LongTermPicNum value.
    NOTE – A non-paired reference field is not used for inter prediction for decoding a frame, regardless of the value of
    MbaffFrameFlag.
For example, when three reference frames are marked as "used for short-term reference" with PicNum equal to 300,
302, and 303 and two reference frames are marked as "used for long-term reference" with LongTermPicNum equal to 0
and 3, the initial index order is:
–     RefPicList0[0] is set equal to the short-term reference picture with PicNum = 303,
–     RefPicList0[1] is set equal to the short-term reference picture with PicNum = 302,
–     RefPicList0[2] is set equal to the short-term reference picture with PicNum = 300,
–     RefPicList0[3] is set equal to the long-term reference picture with LongTermPicNum = 0, and
–     RefPicList0[4] is set equal to the long-term reference picture with LongTermPicNum = 3.

8.2.4.2.2 Initialisation process for the reference picture list for P and SP slices in fields
This initialisation process is invoked when decoding a P or SP slice in a coded field.
Each field included in the reference picture list RefPicList0 has a separate index in the reference picture list
RefPicList0.
    NOTE – When decoding a field, there are effectively at least twice as many pictures available for referencing as there would be
    when decoding a frame at the same position in decoding order.
Two ordered lists of reference frames, refFrameList0ShortTerm and refFrameList0LongTerm, are derived as follows.
For purposes of the formation of this list of frames, decoded reference frames, complementary reference field pairs,
non-paired reference fields and reference frames in which a single field is marked "used for short-term reference" or
"used for long-term reference" are all considered reference frames.
– All frames having one or more fields marked "used for short-term reference" are included in the list of short-term
  reference frames refFrameList0ShortTerm. When the current field is the second field (in decoding order) of a
  complementary reference field pair and the first field is marked as "used for short-term reference", the first field is
  included in the list of short-term reference frames refFrameList0ShortTerm. refFrameList0ShortTerm is ordered
  starting with the reference frame with the highest FrameNumWrap value and proceeding through in descending
  order to the reference frame with the lowest FrameNumWrap value.
– All frames having one or more fields marked "used for long-term reference" are included in the list of long-term
  reference frames refFrameList0LongTerm. When the current field is the second field (in decoding order) of a
  complementary reference field pair and the first field is marked as "used for long-term reference, the first field is
  included in the list of long-term reference frames refFrameList0LongTerm. refFrameList0LongTerm is ordered

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   starting with the reference frame with the lowest LongTermFrameIdx value and proceeding through in ascending
   order to the reference frame with the highest LongTermFrameIdx value.
The process specified in subclause 8.2.4.2.5 is invoked with refFrameList0ShortTerm and refFrameList0LongTerm
given as input and the output is assigned to RefPicList0.

8.2.4.2.3 Initialisation process for reference picture lists for B slices in frames
This initialisation process is invoked when decoding a B slice in a coded frame.
For purposes of the formation of the reference picture lists RefPicList0 and RefPicList1 the term reference entry refers
in the following to decoded reference frames or complementary reference field pairs.
When this process is invoked, there shall be at least one reference entry that is currently marked as "used for short-term
reference" or "used for long-term reference".
For B slices, the order of short-term reference entries in the reference picture lists RefPicList0 and RefPicList1 depends
on output order, as given by PicOrderCnt( ). When pic_order_cnt_type is equal to 0, reference pictures that are marked
as "non-existing" as specified in subclause 8.2.5.2 are not included in either RefPicList0 or RefPicList1.
   NOTE 1 – When gaps_in_frame_num_value_allowed_flag is equal to 1, encoders should use reference picture list reordering to
   ensure proper operation of the decoding process (particularly when pic_order_cnt_type is equal to 0, in which case
   PicOrderCnt( ) is not inferred for "non-existing" frames).
The reference picture list RefPicList0 is ordered such that short-term reference entries have lower indices than long-
term reference entries. It is ordered as follows.
– Let entryShortTerm be a variable ranging over all reference entries that are currently marked as "used for short-term
  reference". When some values of entryShortTerm are present having PicOrderCnt( entryShortTerm ) less than
  PicOrderCnt( CurrPic ), these values of entryShortTerm are placed at the beginning of refPicList0 in descending
  order of PicOrderCnt( entryShortTerm ). All of the remaining values of entryShortTerm (when present) are then
  appended to refPicList0 in ascending order of PicOrderCnt( entryShortTerm ).
– The long-term reference entries are ordered starting with the long-term reference entry that has the lowest
  LongTermPicNum value and proceeding through in ascending order to the long-term reference entry that has the
  highest LongTermPicNum value.
The reference picture list RefPicList1 is ordered so that short-term reference entries have lower indices than long-term
reference entries. It is ordered as follows.
– Let entryShortTerm be a variable ranging over all reference entries that are currently marked as "used for short-term
  reference". When some values of entryShortTerm are present having PicOrderCnt( entryShortTerm ) greater than
  PicOrderCnt( CurrPic ), these values of entryShortTerm are placed at the beginning of refPicList1 in ascending
  order of PicOrderCnt( entryShortTerm ). All of the remaining values of entryShortTerm (when present) are then
  appended to refPicList1 in descending order of PicOrderCnt( entryShortTerm ).
– Long-term reference entries are ordered starting with the long-term reference frame or complementary reference
  field pair that has the lowest LongTermPicNum value and proceeding through in ascending order to the long-term
  reference entry that has the highest LongTermPicNum value.
– When the reference picture list RefPicList1 has more than one entry and RefPicList1 is identical to the reference
  picture list RefPicList0, the first two entries RefPicList1[ 0 ] and RefPicList1[ 1 ] are switched.
   NOTE 2 – A non-paired reference field is not used for inter prediction of frames (independent of the value of MbaffFrameFlag).

8.2.4.2.4 Initialisation process for reference picture lists for B slices in fields
This initialisation process is invoked when decoding a B slice in a coded field.
When decoding a field, each field of a stored reference frame is identified as a separate reference picture with a unique
index. The order of short-term reference pictures in the reference picture lists RefPicList0 and RefPicList1 depend on
output order, as given by PicOrderCnt( ). When pic_order_cnt_type is equal to 0, reference pictures that are marked as
"non-existing" as specified in subclause 8.2.5.2 are not included in either RefPicList0 or RefPicList1.
   NOTE 1 – When gaps_in_frame_num_value_allowed_flag is equal to 1, encoders should use reference picture list reordering to
   ensure proper operation of the decoding process (particularly when pic_order_cnt_type is equal to 0, in which case
   PicOrderCnt( ) is not inferred for "non-existing" frames).
   NOTE 2 – When decoding a field, there are effectively at least twice as many pictures available for referencing as there would be
   when decoding a frame at the same position in decoding order.
Three ordered lists of reference frames, refFrameList0ShortTerm, refFrameList1ShortTerm and
refFrameListLongTerm, are derived as follows. For purposes of the formation of these lists of frames the term reference
entry refers in the following to decoded reference frames, complementary reference field pairs, or non-paired reference

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fields. When pic_order_cnt_type is equal to 0, the term reference entry does not refer to frames that are marked as "non-
existing" as specified in subclause 8.2.5.2.
– Let entryShortTerm be a variable ranging over all reference entries that are currently marked as "used for short-term
  reference". When some values of entryShortTerm are present having PicOrderCnt( entryShortTerm ) less than or
  equal to PicOrderCnt( CurrPic ), these values of entryShortTerm are placed at the beginning of
  refFrameList0ShortTerm in descending order of PicOrderCnt( entryShortTerm ). All of the remaining values of
  entryShortTerm (when present) are then appended to refFrameList0ShortTerm in ascending order of
  PicOrderCnt( entryShortTerm ).
          NOTE 3 – When the current field follows in decoding order a coded field fldPrev with which together it forms a
          complementary reference field pair, fldPrev is included into the list refFrameList0ShortTerm using PicOrderCnt( fldPrev )
          and the ordering method described in the previous sentence is applied.
– Let entryShortTerm be a variable ranging over all reference entries that are currently marked as "used for short-term
  reference". When some values of entryShortTerm are present having PicOrderCnt( entryShortTerm ) greater than
  PicOrderCnt( CurrPic ), these values of entryShortTerm are placed at the beginning of refFrameList1ShortTerm in
  ascending order of PicOrderCnt( entryShortTerm ). All of the remaining values of entryShortTerm (when present)
  are then appended to refFrameList1ShortTerm in descending order of PicOrderCnt( entryShortTerm ).
          NOTE 4 – When the current field follows in decoding order a coded field fldPrev with which together it forms a
          complementary reference field pair, fldPrev is included into the list refFrameList1ShortTerm using PicOrderCnt( fldPrev )
          and the ordering method described in the previous sentence is applied.
– refFrameListLongTerm is ordered starting with the reference entry having the lowest LongTermFrameIdx value and
  proceeding through in ascending order to the reference entry having highest LongTermFrameIdx value.
   NOTE 5 – When the complementary field of the current picture is marked "used for long-term reference" it is included into the
   list refFrameListLongTerm. A reference entry in which only one field is marked as “used for long-term reference” is included
   into the list refFrameListLongTerm.
The process specified in subclause 8.2.4.2.5 is invoked with refFrameList0ShortTerm and refFrameListLongTerm
given as input and the output is assigned to RefPicList0.
The process specified in subclause 8.2.4.2.5 is invoked with refFrameList1ShortTerm and refFrameListLongTerm
given as input and the output is assigned to RefPicList1.
When the reference picture list RefPicList1 has more than one entry and RefPicList1 is identical to the reference picture
list RefPicList0, the first two entries RefPicList1[0] and RefPicList1[1] are switched.

8.2.4.2.5 Initialisation process for reference picture lists in fields
Inputs of this process are the reference frame lists refFrameListXShortTerm (with X may be 0 or 1) and
refFrameListLongTerm.
The reference picture list RefPicListX is a list ordered such that short-term reference fields have lower indices than
long-term reference fields. Given the reference frame lists refFrameListXShortTerm and refFrameListLongTerm, it is
derived as follows.
– Short-term reference fields are ordered by selecting reference fields from the ordered list of frames
  refFrameListXShortTerm by alternating between fields of differing parity, starting with a field that has the same
  parity as the current field (when present). When one field of a reference frame was not decoded or is not marked as
  “used for short-term reference”, the missing field is ignored and instead the next available stored reference field of
  the chosen parity from the ordered list of frames refFrameListXShortTerm is inserted into RefPicListX. When there
  are no more short-term reference fields of the alternate parity in the ordered list of frames refFrameListXShortTerm,
  the next not yet indexed fields of the available parity are inserted into RefPicListX in the order in which they occur
  in the ordered list of frames refFrameListXShortTerm.
– Long-term reference fields are ordered by selecting reference fields from the ordered list of frames
  refFrameListLongTerm by alternating between fields of differing parity, starting with a field that has the same parity
  as the current field (when present). When one field of a reference frame was not decoded or is not marked as “used
  for long-term reference”, the missing field is ignored and instead the next available stored reference field of the
  chosen parity from the ordered list of frames refFrameListLongTerm is inserted into RefPicListX. When there are
  no more long-term reference fields of the alternate parity in the ordered list of frames refFrameListLongTerm, the
  next not yet indexed fields of the available parity are inserted into RefPicListX in the order in which they occur in
  the ordered list of frames refFrameListLongTerm.

8.2.4.3    Reordering process for reference picture lists
When ref_pic_list_reordering_flag_l0 is equal to 1, the following applies.
– Let refIdxL0 be an index into the reference picture list RefPicList0. It is initially set equal to 0.

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– The corresponding syntax elements reordering_of_pic_nums_idc are processed in the order they occur in the
  bitstream. For each of these syntax elements, the following applies.
   – If reordering_of_pic_nums_idc is equal to 0 or equal to 1, the process specified in subclause 8.2.4.3.1 is invoked
     with refIdxL0 as input, and the output is assigned to refIdxL0.
   – Otherwise, if reordering_of_pic_nums_idc is equal to 2, the process specified in subclause 8.2.4.3.2 is invoked
     with refIdxL0 as input, and the output is assigned to refIdxL0.
   – Otherwise (reordering_of_pic_nums_idc is equal to 3), the reordering process for reference picture list
     RefPicList0 is finished.
When ref_pic_list_reordering_flag_l1 is equal to 1, the following applies.
– Let refIdxL1 be an index into the reference picture list RefPicList1. It is initially set equal to 0.
– The corresponding syntax elements reordering_of_pic_nums_idc are processed in the order they occur in the
  bitstream. For each of these syntax elements, the following applies.
   – If reordering_of_pic_nums_idc is equal to 0 or equal to 1, the process specified in subclause 8.2.4.3.1 is invoked
     with refIdxL1 as input, and the output is assigned to refIdxL1.
   – Otherwise, if reordering_of_pic_nums_idc is equal to 2, the process specified in subclause 8.2.4.3.2 is invoked
     with refIdxL1 as input, and the output is assigned to refIdxL1.
   – Otherwise (reordering_of_pic_nums_idc is equal to 3), the reordering process for reference picture list
     RefPicList1 is finished.

8.2.4.3.1 Reordering process of reference picture lists for short-term reference pictures
Input to this process is an index refIdxLX (with X being 0 or 1).
Output of this process is an incremented index refIdxLX.
The variable picNumLXNoWrap is derived as follows.
– If reordering_of_pic_nums_idc is equal to 0

       if( picNumLXPred – ( abs_diff_pic_num_minus1 + 1 ) < 0 )
             picNumLXNoWrap = picNumLXPred – ( abs_diff_pic_num_minus1 + 1 ) + MaxPicNum                             (8-35)
       else
             picNumLXNoWrap = picNumLXPred – ( abs_diff_pic_num_minus1 + 1 )


– Otherwise (reordering_of_pic_nums_idc is equal to 1),

       if( picNumLXPred + ( abs_diff_pic_num_minus1 + 1 ) >= MaxPicNum )
             picNumLXNoWrap = picNumLXPred + ( abs_diff_pic_num_minus1 + 1 ) – MaxPicNum                             (8-36)
       else
             picNumLXNoWrap = picNumLXPred + ( abs_diff_pic_num_minus1 + 1 )


picNumLXPred is the prediction value for the variable picNumLXNoWrap. When the process specified in this
subclause is invoked the first time for a slice (that is, for the first occurrence of reordering_of_pic_nums_idc equal to 0
or 1 in the ref_pic_list_reordering( ) syntax), picNumL0Pred and picNumL1Pred are initially set equal to CurrPicNum.
After each assignment of picNumLXNoWrap, the value of picNumLXNoWrap is assigned to picNumLXPred.
The variable picNumLX is derived as follows

       if( picNumLXNoWrap > CurrPicNum )
             picNumLX = picNumLXNoWrap – MaxPicNum                                                                   (8-37)
       else
             picNumLX = picNumLXNoWrap

picNumLX shall be equal to the PicNum of a reference picture that is marked as “used for short-term reference” and
shall not be equal to the PicNum of a short-term reference picture that is marked as "non-existing".
The following procedure is conducted to place the picture with short-term picture number picNumLX into the index
position refIdxLX, shift the position of any other remaining pictures to later in the list, and increment the value of
refIdxLX.

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        for( cIdx = num_ref_idx_lX_active_minus1 + 1; cIdx > refIdxLX; cIdx-- )
            RefPicListX[ cIdx ] = RefPicListX[ cIdx – 1]
        RefPicListX[ refIdxLX++ ] = short-term reference picture with PicNum equal to picNumLX
        nIdx = refIdxLX
        for( cIdx = refIdxLX; cIdx <= num_ref_idx_lX_active_minus1 + 1; cIdx++ )                                             (8-38)
            if( PicNumF( RefPicListX[ cIdx ] ) != picNumLX )
                RefPicListX[ nIdx++ ] = RefPicListX[ cIdx ]


where the function PicNumF( RefPicListX[ cIdx ] ) is derived as follows:
–     If the picture RefPicListX[ cIdx ] is marked as "used for short-term reference", PicNumF( RefPicListX[ cIdx ] ) is
      the PicNum of the picture RefPicListX[ cIdx ].
–     Otherwise (the picture RefPicListX[ cIdx ] is not                  marked     as   "used    for   short-term     reference"),
      PicNumF( RefPicListX[ cIdx ] ) is equal to MaxPicNum.
                NOTE 1 – A value of MaxPicNum can never be equal to picNumLX.
    NOTE 2 – Within this pseudo-code procedure, the length of the list RefPicListX is temporarily made one element longer than the
    length needed for the final list. After the execution of this procedure, only elements 0 through num_ref_idx_lX_active_minus1 of
    the list need to be retained.

8.2.4.3.2 Reordering process of reference picture lists for long-term reference pictures
Input to this process is an index refIdxLX (with X being 0 or 1).
Output of this process is an incremented index refIdxLX.
The following procedure is conducted to place the picture with long-term picture number long_term_pic_num into the
index position refIdxLX, shift the position of any other remaining pictures to later in the list, and increment the value of
refIdxLX.

        for( cIdx = num_ref_idx_lX_active_minus1 + 1; cIdx > refIdxLX; cIdx-- )
            RefPicListX[ cIdx ] = RefPicListX[ cIdx – 1]
        RefPicListX[ refIdxLX++ ] = long-term reference picture with LongTermPicNum equal to long_term_pic_num
        nIdx = refIdxLX
        for( cIdx = refIdxLX; cIdx <= num_ref_idx_lX_active_minus1 + 1; cIdx++ )                           (8-39)
            if( LongTermPicNumF( RefPicListX[ cIdx ] ) != long_term_pic_num )
                RefPicListX[ nIdx++ ] = RefPicListX[ cIdx ]


where the function LongTermPicNumF( RefPicListX[ cIdx ] ) is derived as follows:
–     If  the    picture RefPicListX[ cIdx ]       is   marked   as     "used     for   long-term      reference",
      LongTermPicNumF( RefPicListX[ cIdx ] ) is the LongTermPicNum of the picture RefPicListX[ cIdx ].
–     Otherwise (the picture RefPicListX[ cIdx ] is not marked as "used for long-term                                  reference"),
      LongTermPicNumF( RefPicListX[ cIdx ] ) is equal to 2 * ( MaxLongTermFrameIdx + 1 ).
                NOTE 1 – A value of 2 * ( MaxLongTermFrameIdx + 1 ) can never be equal to long_term_pic_num.
    NOTE 2 – Within this pseudo-code procedure, the length of the list RefPicListX is temporarily made one element longer than the
    length needed for the final list. After the execution of this procedure, only elements 0 through num_ref_idx_lX_active_minus1 of
    the list need to be retained.

8.2.5    Decoded reference picture marking process
This process is invoked for decoded pictures when nal_ref_idc is not equal to 0.
    NOTE – The decoding process for gaps in frame_num that is specified in subclause 8.2.5.2 may also be invoked when
    nal_ref_idc is equal to 0, as specified in clause 8.

A decoded picture with nal_ref_idc not equal to 0, referred to as a reference picture, is marked as “used for short-term
reference” or "used for long-term reference". For a decoded reference frame, both of its fields are marked the same as
the frame. For a complementary reference field pair, the pair is marked the same as both of its fields. A picture that is
marked as "used for short-term reference" is identified by its FrameNum and, when it is a field, by its parity. A picture
that is marked as "used for long-term reference" is identified by its LongTermFrameIdx and, when it is a field, by its
parity.
Frames or complementary field pairs marked as “used for short-term reference” or as "used for long-term reference" can
be used as a reference for inter prediction when decoding a frame until the frame, the complementary field pair, or one
of its constituent fields is marked as “unused for reference”. A field marked as “used for short-term reference” or as



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"used for long-term reference" can be used as a reference for inter prediction when decoding a field until marked as
“unused for reference”.
A picture can be marked as "unused for reference" by the sliding window reference picture marking process, a first-in,
first-out mechanism specified in subclause 8.2.5.3 or by the adaptive memory control reference picture marking
process, a customised adaptive marking operation specified in subclause 8.2.5.4.
A short-term reference picture is identified for use in the decoding process by its variables FrameNum and
FrameNumWrap and its picture number PicNum, and a long-term reference picture is identified for use in the decoding
process by its long-term picture number LongTermPicNum. When the current picture is not an IDR picture,
subclause 8.2.4.1 is invoked to specify the assignment of the variables FrameNum, FrameNumWrap, PicNum and
LongTermPicNum.

8.2.5.1     Sequence of operations for decoded reference picture marking process
Decoded reference picture marking proceeds in the following ordered steps.
1. All slices of the current picture are decoded.
2. Depending on whether the current picture is an IDR picture, the following applies.
   – If the current picture is an IDR picture, the following applies.
          – All reference pictures are marked as "unused for reference"
          – Depending on long_term_reference_flag, the following applies.
             – If long_term_reference_flag is equal to 0, the IDR picture is marked as "used for short-term reference"
               and MaxLongTermFrameIdx is set equal to “no long-term frame indices”.
             – Otherwise (long_term_reference_flag is equal to 1), the IDR picture is marked as "used for long-term
               reference", the LongTermFrameIdx for the IDR picture is set equal to 0, and MaxLongTermFrameIdx is
               set equal to 0.
   – Otherwise (the current picture is not an IDR picture), the following applies.
          – If adaptive_ref_pic_marking_mode_flag is equal to 0, the process specified in subclause 8.2.5.3 is invoked.
          – Otherwise (adaptive_ref_pic_marking_mode_flag is equal to 1), the process specified in subclause 8.2.5.4 is
            invoked.
3. When the current picture is not an IDR picture and it was not marked as "used for long-term reference" by
   memory_management_control_operation equal to 6, it is marked as "used for short-term reference".
After marking the current decoded reference picture, the total number of frames with at least one field marked as “used
for reference”, plus the number of complementary field pairs with at least one field marked as “used for reference”, plus
the number of non-paired fields marked as “used for reference” shall not be greater than Max( num_ref_frames, 1 ).

8.2.5.2     Decoding process for gaps in frame_num
This process is invoked when frame_num is not equal to PrevRefFrameNum and is not equal to
( PrevRefFrameNum + 1 ) % MaxFrameNum.
   NOTE 1 – Although this process is specified as a subclause within subclause 8.2.5 (which defines a process that is invoked only
   when nal_ref_idc is not equal to 0), this process may also be invoked when nal_ref_idc is equal to 0 (as specified in clause 8).
   The reasons for the location of this subclause within the structure of this Recommendation | International Standard are historical.
   NOTE 2 – This process can only be invoked for a conforming bitstream when gaps_in_frame_num_value_allowed_flag is equal
   to 1. When gaps_in_frame_num_value_allowed_flag is equal to 0 and frame_num is not equal to PrevRefFrameNum and is not
   equal to ( PrevRefFrameNum + 1 ) % MaxFrameNum, the decoding process should infer an unintentional loss of pictures.
When this process is invoked, a set of values of frame_num pertaining to “non-existing” pictures is derived as all values
taken on by UnusedShortTermFrameNum in Equation 7-21 except the value of frame_num for the current picture.
The decoding process generates and marks a frame for each of the values of frame_num pertaining to “non-existing”
pictures, in the order in which the values of UnusedShortTermFrameNum are generated by Equation 7-21, using the
“sliding window” picture marking process as specified in subclause 8.2.5.3. The generated frames are also marked as
“non-existing” and “used for short-term reference”. The sample values of the generated frames may be set to any value.
The bitstream shall not contain data that results in a reference to these generated frames which are marked as “non-
existing” in the inter prediction process, a reference to these frames in the reordering commands for reference picture
lists for short-term reference pictures (subclause 8.2.4.3.1), or a reference to these frames in the assignment process of a
LongTermFrameIdx to a short-term reference picture (subclause 8.2.5.4.3).



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When pic_order_cnt_type is not equal to 0, TopFieldOrderCnt and BottomFieldOrderCnt are derived for each of the
"non-existing" frames by invoking the decoding process for picture order count in subclause 8.2.1. When invoking the
process in subclause 8.2.1 for a particular "non-existing" frame, the current picture is considered to be a picture
considered having frame_num inferred to be equal to UnusedShortTermFrameNum, nal_ref_idc inferred to be not equal
to 0, nal_unit_type inferred to be not equal to 5, field_pic_flag inferred to be equal to 0,
adaptive_ref_pic_marking_mode_flag inferred to be equal to 0, delta_pic_order_cnt[ 0 ] (if needed) inferred to be equal
to 0, and delta_pic_order_cnt[ 1 ] (if needed) inferred to be equal to 0.
    NOTE 3 – The decoding process should infer an unintentional picture loss when any of these values of frame_num pertaining to
    “non-existing” pictures is referred to in the inter prediction process, is referred to in the reordering commands for reference
    picture lists for short-term reference pictures (subclause 8.2.4.3.1), or is referred to in the assignment process of a
    LongTermFrameIdx to a short-term reference picture (subclause 8.2.5.4.3). The decoding process should not infer an
    unintentional picture loss when a memory management control operation not equal to 3 is applied to a frame marked as “non-
    existing”.

8.2.5.3   Sliding window decoded reference picture marking process
This process is invoked when adaptive_ref_pic_marking_mode_flag is equal to 0.
Depending on the properties of the current picture as specified below, the following applies.
–     If the current picture is a coded field that is the second field in decoding order of a complementary reference field
      pair, and the first field has been marked as “used for short-term reference”, the current picture is also marked as
      “used for short-term reference”.
–     Otherwise, the following applies.
    – Let numShortTerm be the total number of reference frames, complementary reference field pairs and non-paired
      reference fields for which at least one field is marked as “used for short-term reference”. Let numLongTerm be
      the total number of reference frames, complementary reference field pairs and non-paired reference fields for
      which at least one field is marked as “used for long-term reference”.
    – When numShortTerm + numLongTerm is equal to Max( num_ref_frames, 1 ), the condition that numShortTerm
      is greater than 0 shall be fulfilled, and the short-term reference frame, complementary reference field pair or non-
      paired reference field that has the smallest value of FrameNumWrap is marked as “unused for reference”. When
      it is a frame or a complementary field pair, both of its fields are also marked as “unused for reference”.

8.2.5.4   Adaptive memory control decoded reference picture marking process
This process is invoked when adaptive_ref_pic_marking_mode_flag is equal to 1.
The memory_management_control_operation commands with values of 1 to 6 are processed in the order they occur in
the bitstream after the current picture has been decoded. For each of these memory_management_control_operation
commands, one of the processes specified in subclauses 8.2.5.4.1 to 8.2.5.4.5 is invoked depending on the value of
memory_management_control_operation. The memory_management_control_operation command with value of 0
specifies the end of memory_management_control_operation commands.
Memory management control operations are applied to pictures as follows.
–     If field_pic_flag is equal to 0, memory_management_control_operation commands are applied to the frames or
      complementary reference field pairs specified.
–     Otherwise (field_pic_flag is equal to 1), memory_management_control_operation commands are applied to the
      individual reference fields specified.

8.2.5.4.1 Marking process of a short-term reference picture as “unused for reference”
This process is invoked when memory_management_control_operation is equal to 1.
Let picNumX be specified by

          picNumX = CurrPicNum – ( difference_of_pic_nums_minus1 + 1 ).                                                     (8-40)


Depending on field_pic_flag the value of picNumX is used to mark a short-term reference picture as “unused for
reference” as follows.
–     If field_pic_flag is equal to 0, the short-term reference frame or short-term complementary reference field pair
      specified by picNumX and both of its fields are marked as “unused for reference”.
–     Otherwise (field_pic_flag is equal to 1), the short-term reference field specified by picNumX is marked as “unused
      for reference”. When that reference field is part of a reference frame or a complementary reference field pair, the

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     frame or complementary field pair is also marked as "unused for reference", but the marking of the other field is
     not changed.

8.2.5.4.2 Marking process of a long-term reference picture as “unused for reference”
This process is invoked when memory_management_control_operation is equal to 2.
Depending on field_pic_flag the value of LongTermPicNum is used to mark a long-term reference picture as “unused
for reference” as follows.
–    If field_pic_flag is equal to 0, the long-term reference frame or long-term complementary reference field pair
     having LongTermPicNum equal to long_term_pic_num and both of its fields are marked as “unused for
     reference”.
–    Otherwise (field_pic_flag is equal to 1), the long-term reference field specified by LongTermPicNum equal to
     long_term_pic_num is marked as “unused for reference”. When that reference field is part of a reference frame or
     a complementary reference field pair, the frame or complementary field pair is also marked as "unused for
     reference", but the marking of the other field is not changed.

8.2.5.4.3 Assignment process of a LongTermFrameIdx to a short-term reference picture
This process is invoked when memory_management_control_operation is equal to 3.
Given the syntax element difference_of_pic_nums_minus1, the variable picNumX is obtained as specified in subclause
8.2.5.4.1. picNumX shall refer to a frame or complementary reference field pair or non-paired reference field marked as
"used for short-term reference" and not marked as "non-existing".
When LongTermFrameIdx equal to long_term_frame_idx is already assigned to a long-term reference frame or a long-
term complementary reference field pair, that frame or complementary field pair and both of its fields are marked as
"unused for reference". When LongTermFrameIdx is already assigned to a non-paired reference field, and the field is
not the complementary field of the picture specified by picNumX, that field is marked as “unused for reference”.
Depending on field_pic_flag the value of LongTermFrameIdx is used to mark a picture from "used for short-term
reference" to "used for long-term reference" as follows.
–    If field_pic_flag is equal to 0, the marking of the short-term reference frame or short-term complementary
     reference field pair specified by picNumX and both of its fields are changed from "used for short-term reference"
     to "used for long-term reference" and assigned LongTermFrameIdx equal to long_term_frame_idx.
–    Otherwise (field_pic_flag is equal to 1), the marking of the short-term reference field specified by picNumX is
     changed from "used for short-term reference" to "used for long-term reference" and assigned LongTermFrameIdx
     equal to long_term_frame_idx. When the field is part of a reference frame or a complementary reference field pair,
     and the other field of the same reference frame or complementary reference field pair is also marked as "used for
     long-term reference", the reference frame or complementary reference field pair is also marked as "used for long-
     term reference" and assigned LongTermFrameIdx equal to long_term_frame_idx.

8.2.5.4.4 Decoding process for MaxLongTermFrameIdx
This process is invoked when memory_management_control_operation is equal to 4.
All pictures for which LongTermFrameIdx is greater than max_long_term_frame_idx_plus1 – 1 and that are marked as
"used for long-term reference" are marked as “unused for reference”.
The variable MaxLongTermFrameIdx is derived as follows.
–    If max_long_term_frame_idx_plus1 is equal to 0, MaxLongTermFrameIdx is set equal to “no long-term frame
     indices”.
–    Otherwise (max_long_term_frame_idx_plus1 is greater than 0), MaxLongTermFrameIdx is set equal to
     max_long_term_frame_idx_plus1 – 1.
    NOTE – The memory_management_control_operation command equal to 4 can be used to mark long-term reference pictures as
    “unused for reference”. The frequency of transmitting max_long_term_frame_idx_plus1 is not specified by this
    Recommendation | International Standard. However, the encoder should send a memory_management_control_operation
    command equal to 4 upon receiving an error message, such as an intra refresh request message.

8.2.5.4.4.1   Marking process of all reference pictures as “unused                     for   reference”    and   setting
              MaxLongTermFrameIdx to “no long-term frame indices”
This process is invoked when memory_management_control_operation is equal to 5.




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All reference pictures are marked as “unused for reference” and the variable MaxLongTermFrameIdx is set equal to “no
long-term frame indices”.

8.2.5.4.5 Process for assigning a long-term frame index to the current picture
This process is invoked when memory_management_control_operation is equal to 6.
When a variable LongTermFrameIdx equal to long_term_frame_idx is already assigned to a long-term reference frame
or a long-term complementary reference field pair, that frame or complementary field pair and both of its fields are
marked as "unused for reference". When LongTermFrameIdx is already assigned to a non-paired reference field, and
the field is not the complementary field of the current picture, that field is marked as “unused for reference”.
The current picture is marked as "used for long-term reference" and assigned LongTermFrameIdx equal to
long_term_frame_idx.
When field_pic_flag is equal to 0, both its fields are also marked as "used for long-term reference" and assigned
LongTermFrameIdx equal to long_term_frame_idx.
When field_pic_flag is equal to 1 and the current picture is the second field (in decoding order) of a complementary
reference field pair, and the first field of the complementary reference field pair is also currently marked as "used for
long-term reference), the complementary reference field pair is also marked as "used for long-term reference" and
assigned LongTermFrameIdx equal to long_term_frame_idx.
After marking the current decoded reference picture, the total number of frames with at least one field marked as “used
for reference”, plus the number of complementary field pairs with at least one field marked as “used for reference”, plus
the number of non-paired fields marked as “used for reference” shall not be greater than Max( num_ref_frames, 1 ).
      NOTE – Under some circumstances, the above statement may impose a constraint on the order in which a
      memory_management_control_operation syntax element equal to 6 can appear in the decoded reference picture marking syntax
      relative to a memory_management_control_operation syntax element equal to 1, 2, or 4.


8.3        Intra prediction process
This process is invoked for I and SI macroblock types.
Inputs to this process are constructed samples prior to the deblocking filter process and, for Intra_NxN prediction
modes (where NxN is equal to 4x4 or 8x8), the values of IntraNxNPredMode from neighbouring macroblocks.
Outputs of this process are specified as follows.
–      If the macroblock prediction mode is Intra_4x4 or Intra_8x8, the outputs are constructed luma samples prior to the
       deblocking filter process and (when chroma_format_idc is not equal to 0) chroma prediction samples of the
       macroblock predC, where C is equal to Cb and Cr.
–      Otherwise, if mb_type is not equal to I_PCM, the outputs are luma prediction samples of the macroblock predL and
       (when chroma_format_idc is not equal to 0) chroma prediction samples of the macroblock predC, where C is equal
       to Cb and Cr.
–      Otherwise (mb_type is equal to I_PCM), the outputs are constructed luma and (when chroma_format_idc is not
       equal to 0) chroma samples prior to the deblocking filter process.
The variable MvCnt is set equal to 0.
Depending on the value of mb_type the following applies.
–      If mb_type is equal to I_PCM, the process specified in subclause 8.3.5 is invoked.
–      Otherwise (mb_type is not equal to I_PCM), the following applies.
       – The decoding processes for Intra prediction modes are described for the luma component as follows.
             –    If the macroblock prediction mode is equal to Intra_4x4, the specification in subclause 8.3.1 applies.
             –    Otherwise, if the macroblock prediction mode is equal to Intra_8x8, the specification in subclause 8.3.2
                  applies.
             –    Otherwise (the macroblock prediction mode is equal to Intra_16x16), the specification in subclause
                  8.3.3 applies.
       – The decoding processes for Intra prediction modes for the chroma components are described in subclause
         8.3.4. This process is only invoked when chroma_format_idc is not equal to 0 (monochrome).
Samples used in the Intra prediction process are the sample values prior to alteration by any deblocking filter operation.


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8.3.1      Intra_4x4 prediction process for luma samples
This process is invoked when the macroblock prediction mode is equal to Intra_4x4.
Inputs to this process are the values of Intra4x4PredMode (if available) or Intra8x8PredMode (if available) from
neighbouring macroblocks or macroblock pairs.
The luma component of a macroblock consists of 16 blocks of 4x4 luma samples. These blocks are inverse scanned
using the 4x4 luma block inverse scanning process as specified in subclause 6.4.3.
For all 4x4 luma blocks of the luma component of a macroblock with luma4x4BlkIdx = 0..15, the derivation process for
the Intra4x4PredMode as specified in subclause 8.3.1.1 is invoked with luma4x4BlkIdx as well as Intra4x4PredMode
and Intra8x8PredMode that are previously (in decoding order) derived for adjacent macroblocks as the input and the
variable Intra4x4PredMode[ luma4x4BlkIdx ] as the output.
For each luma block of 4x4 samples indexed using luma4x4BlkIdx = 0..15,
1.   The Intra_4x4 sample prediction process in subclause 8.3.1.2 is invoked with luma4x4BlkIdx and constructed
     samples prior (in decoding order) to the deblocking filter process from adjacent luma blocks as the input and the
     output are the Intra_4x4 luma prediction samples pred4x4L[ x, y ] with x, y = 0..3.
2.   The position of the upper-left sample of a 4x4 luma block with index luma4x4BlkIdx inside the current macroblock
     is derived by invoking the inverse 4x4 luma block scanning process in subclause 6.4.3 with luma4x4BlkIdx as the
     input and the output being assigned to ( xO, yO ) and x, y = 0..3.

          predL[ xO + x, yO + y ] = pred4x4L[ x, y ]                                                                 (8-41)


3.   The transform coefficient decoding process and picture construction process prior to deblocking filter process in
     subclause 8.5 is invoked with predL and luma4x4BlkIdx as the input and the constructed samples for the current
     4x4 luma block S’L as the output.

8.3.1.1     Derivation process for the Intra4x4PredMode
Inputs to this process are the index of the 4x4 luma block luma4x4BlkIdx and variable arrays Intra4x4PredMode (if
available) and Intra8x8PredMode (if available) that are previously (in decoding order) derived for adjacent
macroblocks.
Output of this process is the variable Intra4x4PredMode[ luma4x4BlkIdx ].
Table 8-2 specifies the values for Intra4x4PredMode[ luma4x4BlkIdx ] and the associated names.

                Table 8-2 – Specification of Intra4x4PredMode[ luma4x4BlkIdx ] and associated names

                   Intra4x4PredMode[ luma4x4BlkIdx ]      Name of Intra4x4PredMode[ luma4x4BlkIdx ]

                                     0                         Intra_4x4_Vertical (prediction mode)

                                     1                        Intra_4x4_Horizontal (prediction mode)

                                     2                            Intra_4x4_DC (prediction mode)

                                     3                   Intra_4x4_Diagonal_Down_Left (prediction mode)

                                     4                  Intra_4x4_Diagonal_Down_Right (prediction mode)

                                     5                      Intra_4x4_Vertical_Right (prediction mode)

                                     6                     Intra_4x4_Horizontal_Down (prediction mode)

                                     7                       Intra_4x4_Vertical_Left (prediction mode)

                                     8                      Intra_4x4_Horizontal_Up (prediction mode)

Intra4x4PredMode[ luma4x4BlkIdx ] labelled 0, 1, 3, 4, 5, 6, 7, and 8 represent directions of predictions as illustrated in
Figure 8-1.




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                                                                         8


                                                                             1


                                                                         6

                                             3                       4
                                                   7            5
                                                          0



                          Figure 8-1 – Intra_4x4 prediction mode directions (informative)




Intra4x4PredMode[ luma4x4BlkIdx ] is derived as follows.
–     The process specified in subclause 6.4.8.3 is invoked with luma4x4BlkIdx given as input and the output is
      assigned to mbAddrA, luma4x4BlkIdxA, mbAddrB, and luma4x4BlkIdxB.
–     The variable dcPredModePredictedFlag is derived as follows.
      – If any of the following conditions are true, dcPredModePredictedFlag is set equal to 1
           –     the macroblock with address mbAddrA is not available
           –     the macroblock with address mbAddrB is not available
           –    the macroblock with address mbAddrA is available and coded in Inter prediction mode and
                constrained_intra_pred_flag is equal to 1
           –    the macroblock with address mbAddrB is available and coded in Inter prediction mode and
                constrained_intra_pred_flag is equal to 1
      – Otherwise, dcPredModePredictedFlag is set equal to 0.
–     For N being either replaced by A or B, the variables intraMxMPredModeN are derived as follows.
      – If dcPredModePredictedFlag is equal to 1 or the macroblock with address mbAddrN is not coded in Intra_4x4
        or Intra_8x8 macroblock prediction mode, intraMxMPredModeN is set equal to 2 (Intra_4x4_DC prediction
        mode).
      – Otherwise (dcPredModePredictedFlag is equal to 0 and (the macroblock with address mbAddrN is coded in
        Intra_4x4 macroblock prediction mode or the macroblock with address mbAddrN is coded in Intra_8x8
        macroblock prediction mode)), the following applies.
           –    If the macroblock with address mbAddrN is coded in Intra_4x4 macroblock mode,
                intraMxMPredModeN is set equal to Intra4x4PredMode[ luma4x4BlkIdxN ], where Intra4x4PredMode
                is the variable array assigned to the macroblock mbAddrN.
           –    Otherwise (the macroblock with address mbAddrN is coded in Intra_8x8 macroblock mode),
                intraMxMPredModeN is set equal to Intra8x8PredMode[ luma4x4BlkIdxN >> 2 ], where
                Intra8x8PredMode is the variable array assigned to the macroblock mbAddrN.
–     Intra4x4PredMode[ luma4x4BlkIdx ] is derived by applying the following procedure.

        predIntra4x4PredMode = Min( intraMxMPredModeA, intraMxMPredModeB )
        if( prev_intra4x4_pred_mode_flag[ luma4x4BlkIdx ] )
            Intra4x4PredMode[ luma4x4BlkIdx ] = predIntra4x4PredMode
        else                                                                                                      (8-42)
            if( rem_intra4x4_pred_mode[ luma4x4BlkIdx ] < predIntra4x4PredMode )
                 Intra4x4PredMode[ luma4x4BlkIdx ] = rem_intra4x4_pred_mode[ luma4x4BlkIdx ]
            else
                 Intra4x4PredMode[ luma4x4BlkIdx ] = rem_intra4x4_pred_mode[ luma4x4BlkIdx ] + 1


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8.3.1.2    Intra_4x4 sample prediction
This process is invoked for each 4x4 luma block of a macroblock with prediction mode equal to Intra_4x4 followed by
the transform decoding process and picture construction process prior to deblocking for each 4x4 luma block.
Input to this process is the index of a 4x4 luma block luma4x4BlkIdx.
Output of this process are the prediction samples pred4x4L[ x, y ], with x, y = 0..3 for the 4x4 luma block with index
luma4x4BlkIdx.
The position of the upper-left sample of a 4x4 luma block with index luma4x4BlkIdx inside the current macroblock is
derived by invoking the inverse 4x4 luma block scanning process in subclause 6.4.3 with luma4x4BlkIdx as the input
and the output being assigned to ( xO, yO ).
The 13 neighbouring samples p[ x, y ] that are constructed luma samples prior to the deblocking filter process, with
x = -1, y = -1..3 and x = 0..7, y = -1, are derived as follows.
–    The luma location ( xN, yN ) is specified by

          xN = xO + x                                                                                                (8-43)


          yN = yO + y                                                                                                (8-44)


–    The derivation process for neighbouring locations in subclause 6.4.9 is invoked for luma locations with ( xN, yN )
     as input and mbAddrN and ( xW, yW ) as output.
–    Each sample p[ x, y ] with x = -1, y = -1..3 and x = 0..7, y = -1 is derived as follows.
      –    If any of the following conditions is true, the sample p[ x, y ] is marked as “not available for Intra_4x4
           prediction”
           – mbAddrN is not available,
           – the macroblock mbAddrN is coded in Inter prediction mode and constrained_intra_pred_flag is equal
             to 1.
           – the macroblock mbAddrN has mb_type equal to SI and constrained_intra_pred_flag is equal to 1 and the
             current macroblock does not have mb_type equal to SI.
           – x is greater than 3 and luma4x4BlkIdx is equal to 3 or 11
      –    Otherwise, the sample p[ x, y ] is marked as “available for Intra_4x4 prediction” and the luma sample at luma
           location ( xW, yW ) inside the macroblock mbAddrN is assigned to p[ x, y ].
When samples p[ x, -1 ], with x = 4..7 are marked as “not available for Intra_4x4 prediction,” and the sample p[ 3, -1 ]
is marked as “available for Intra_4x4 prediction,” the sample value of p[ 3, -1 ] is substituted for sample values
p[ x, -1 ], with x = 4..7 and samples p[ x, -1 ], with x = 4..7 are marked as “available for Intra_4x4 prediction”.
    NOTE – Each block is assumed to be constructed into a picture array prior to decoding of the next block.
Depending on Intra4x4PredMode[ luma4x4BlkIdx ], one of the Intra_4x4 prediction modes specified in subclauses
8.3.1.2.1 to 8.3.1.2.9 is invoked.

8.3.1.2.1 Specification of Intra_4x4_Vertical prediction mode
This Intra_4x4 prediction mode is invoked when Intra4x4PredMode[ luma4x4BlkIdx ] is equal to 0.
This mode shall be used only when the samples p[ x, -1 ] with x = 0..3 are marked as “available for Intra_4x4
prediction”.
The values of the prediction samples pred4x4L[ x, y ], with x, y = 0..3 are derived by

           pred4x4L[ x, y ] = p[ x, -1 ], with x, y = 0..3                                                           (8-45)


8.3.1.2.2 Specification of Intra_4x4_Horizontal prediction mode
This Intra_4x4 prediction mode is invoked when Intra4x4PredMode[ luma4x4BlkIdx ] is equal to 1.
This mode shall be used only when the samples p[ -1, y ], with y = 0..3 are marked as “available for Intra_4x4
prediction”.


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The values of the prediction samples pred4x4L[ x, y ], with x, y = 0..3 are derived by

           pred4x4L[ x, y ] = p[ -1, y ], with x,y = 0..3                                                           (8-46)


8.3.1.2.3 Specification of Intra_4x4_DC prediction mode
This Intra_4x4 prediction mode is invoked when Intra4x4PredMode[ luma4x4BlkIdx ] is equal to 2.
The values of the prediction samples pred4x4L[ x, y ], with x, y = 0..3 are derived as follows.
–     If all samples p[ x, -1 ], with x = 0..3 and p[ -1, y ], with y = 0..3 are marked as “available for Intra_4x4
      prediction”, the values of the prediction samples pred4x4L[ x, y ], with x, y = 0..3 are derived by

        pred4x4L[ x, y ] = ( p[ 0, -1 ] + p[ 1, -1 ] + p[ 2, -1 ] + p[ 3, -1 ] +
                             p[ -1, 0 ] + p[ -1, 1 ] + p[ -1, 2 ] + p[ -1, 3 ] + 4 ) >> 3                           (8-47)


–     Otherwise, if any samples p[ x, -1 ], with x = 0..3 are marked as “not available for Intra_4x4 prediction” and all
      samples p[ -1, y ], with y = 0..3 are marked as “available for Intra_4x4 prediction”, the values of the prediction
      samples pred4x4L[ x, y ], with x, y = 0..3 are derived by

        pred4x4L[ x, y ] = ( p[ -1, 0 ] + p[ -1, 1 ] + p[ -1, 2 ] + p[ -1, 3 ] + 2 ) >> 2                           (8-48)


–     Otherwise, if any samples p[ -1, y ], with y = 0..3 are marked as “not available for Intra_4x4 prediction” and all
      samples p[ x, -1 ], with x = 0 .. 3 are marked as “available for Intra_4x4 prediction”, the values of the prediction
      samples pred4x4L[ x, y ], with x, y = 0 .. 3 are derived by

        pred4x4L[ x, y ] = ( p[ 0, -1 ] + p[ 1, -1 ] + p[ 2, -1 ] + p[ 3, -1 ] + 2 ) >> 2                           (8-49)


–     Otherwise (some samples p[ x, -1 ], with x = 0..3 and some samples p[ -1, y ], with y = 0..3 are marked as “not
      available for Intra_4x4 prediction”), the values of the prediction samples pred4x4L[ x, y ], with x, y = 0..3 are
      derived by

        pred4x4L[ x, y ] = ( 1 << ( BitDepthY – 1 ) )                                                               (8-50)

    NOTE – A 4x4 luma block can always be predicted using this mode.

8.3.1.2.4 Specification of Intra_4x4_Diagonal_Down_Left prediction mode
This Intra_4x4 prediction mode is invoked when Intra4x4PredMode[ luma4x4BlkIdx ] is equal to 3.
This mode shall be used only when the samples p[ x, -1 ] with x = 0..7 are marked as “available for Intra_4x4
prediction”.
The values of the prediction samples pred4x4L[ x, y ], with x, y = 0..3 are derived as follows.
–     If x is equal to 3 and y is equal to 3,

        pred4x4L[ x, y ] = ( p[ 6, -1 ] + 3 * p[ 7, -1 ] + 2 ) >> 2                                                 (8-51)


–     Otherwise (x is not equal to 3 or y is not equal to 3),

        pred4x4L[ x, y ] = ( p[ x + y, -1 ] + 2 * p[ x + y + 1, -1 ] + p[ x + y + 2, -1 ] + 2 ) >> 2                (8-52)


8.3.1.2.5 Specification of Intra_4x4_Diagonal_Down_Right prediction mode
This Intra_4x4 prediction mode is invoked when Intra4x4PredMode[ luma4x4BlkIdx ] is equal to 4.
This mode shall be used only when the samples p[ x, -1 ] with x = 0..3 and p[ -1, y ] with y = -1..3 are marked as
“available for Intra_4x4 prediction”.
The values of the prediction samples pred4x4L[ x, y ], with x, y = 0..3 are derived as follows.
–     If x is greater than y,



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       pred4x4L[ x, y ] = ( p[ x - y - 2, -1] + 2 * p[ x - y - 1, -1 ] + p[ x - y, -1 ] + 2 ) >> 2                            (8-53)

–    Otherwise if x is less than y,

       pred4x4L[ x, y ] = ( p[ -1, y - x - 2 ] + 2 * p[ -1, y - x - 1 ] + p[ -1, y - x ] + 2 ) >> 2                           (8-54)

–    Otherwise (x is equal to y),

       pred4x4L[ x, y ] = ( p[ 0, -1 ] + 2 * p[ -1, -1 ] + p[ -1, 0 ] + 2 ) >> 2                                              (8-55)


8.3.1.2.6 Specification of Intra_4x4_Vertical_Right prediction mode
This Intra_4x4 prediction mode is invoked when Intra4x4PredMode[ luma4x4BlkIdx ] is equal to 5.
This mode shall be used only when the samples p[ x, -1 ] with x = 0..3 and p[ -1, y ] with y = -1..3 are marked as
“available for Intra_4x4 prediction”.
Let the variable zVR be set equal to 2 * x – y.
The values of the prediction samples pred4x4L[ x, y ], with x, y = 0..3 are derived as follows.
–    If zVR is equal to 0, 2, 4, or 6,

       pred4x4L[ x, y ] = ( p[ x - ( y >> 1 ) - 1, -1 ] + p[ x - ( y >> 1 ), -1 ] + 1 ) >> 1                                  (8-56)


–    Otherwise, if zVR is equal to 1, 3, or 5,

       pred4x4L[ x, y ] = ( p[ x - ( y >> 1 ) - 2, -1] + 2 * p[ x - ( y >> 1 ) - 1, -1 ] + p[ x - ( y >> 1 ), -1 ] + 2 ) >> 2 (8-57)


–    Otherwise, if zVR is equal to -1,

       pred4x4L[ x, y ] = ( p[ -1, 0 ] + 2 * p[ -1, -1 ] + p[ 0, -1 ] + 2 ) >> 2                                              (8-58)


–    Otherwise (zVR is equal to -2 or -3),

       pred4x4L[ x, y ] = ( p[ -1, y - 1 ] + 2 * p[ -1, y - 2 ] + p[ -1, y - 3 ] + 2 ) >> 2                                   (8-59)


8.3.1.2.7 Specification of Intra_4x4_Horizontal_Down prediction mode
This Intra_4x4 prediction mode is invoked when Intra4x4PredMode[ luma4x4BlkIdx ] is equal to 6.
This mode shall be used only when the samples p[ x, -1 ] with x = 0..3 and p[ -1, y ] with y = -1..3 are marked as
“available for Intra_4x4 prediction”.
Let the variable zHD be set equal to 2 * y – x.
The values of the prediction samples pred4x4L[ x, y ], with x, y = 0..3 are derived as follows.
–    If zHD is equal to 0, 2, 4, or 6,

       pred4x4L[ x, y ] = ( p[ -1, y -( x >> 1 ) - 1 ] + p[ -1, y - ( x >> 1 ) ] + 1 ) >> 1                                   (8-60)


–    Otherwise, if zHD is equal to 1, 3, or 5,

       pred4x4L[ x, y ] = ( p[ -1, y - ( x >> 1 ) - 2 ] + 2 * p[ -1, y - ( x >> 1 ) - 1 ] + p[ -1, y - ( x >> 1 ) ] + 2 ) >> 2 (8-61)


–    Otherwise, if zHD is equal to -1,

       pred4x4L[ x, y ] = ( p[ -1, 0 ] + 2 * p[ -1, -1 ] + p[ 0, -1 ] + 2 ) >> 2                                              (8-62)


–    Otherwise (zHD is equal to -2 or -3),



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        pred4x4L[ x, y ] = ( p[ x - 1, -1 ] + 2 * p[ x - 2, -1 ] + p[ x - 3, -1 ] + 2 ) >> 2                                (8-63)


8.3.1.2.8 Specification of Intra_4x4_Vertical_Left prediction mode
This Intra_4x4 prediction mode is invoked when Intra4x4PredMode[ luma4x4BlkIdx ] is equal to 7.
This mode shall be used only when the samples p[ x, -1 ] with x = 0..7 are marked as “available for Intra_4x4
prediction”.
The values of the prediction samples pred4x4L[ x, y ], with x, y = 0..3 are derived as follows.
–     If y is equal to 0 or 2,

        pred4x4L[ x, y ] = ( p[ x + ( y >> 1 ), -1 ] + p[ x + ( y >> 1 ) + 1, -1 ] + 1) >> 1                                (8-64)


–     Otherwise (y is equal to 1 or 3),

        pred4x4L[ x, y ] = ( p[ x + ( y >> 1 ), -1 ] + 2 * p[ x + ( y >> 1 ) + 1, -1 ] + p[ x + ( y >> 1 ) + 2, -1 ] + 2 ) >> 2
                                                                                                                             (8-65)


8.3.1.2.9 Specification of Intra_4x4_Horizontal_Up prediction mode
This Intra_4x4 prediction mode is invoked when Intra4x4PredMode[ luma4x4BlkIdx ] is equal to 8.
This mode shall be used only when the samples p[ -1, y ] with y = 0..3 are marked as “available for Intra_4x4
prediction”.
Let the variable zHU be set equal to x + 2 * y.
The values of the prediction samples pred4x4L[ x, y ], with x, y = 0..3 are derived as follows:
–     If zHU is equal to 0, 2, or 4

        pred4x4L[ x, y ] = ( p[ -1, y + ( x >> 1 ) ] + p[ -1, y + ( x >> 1 ) + 1 ] + 1 ) >> 1                               (8-66)


–     Otherwise, if zHU is equal to 1 or 3

        pred4x4L[ x, y ] = ( p[ -1, y + ( x >> 1 ) ] + 2 * p[ -1, y + ( x >> 1 ) + 1 ] + p[ -1, y + ( x >> 1 ) + 2 ] + 2 ) >> 2
                                                                                                                             (8-67)


–     Otherwise, if zHU is equal to 5,

        pred4x4L[ x, y ] = ( p[ -1, 2 ] + 3 * p[ -1, 3 ] + 2 ) >> 2                                                         (8-68)


–     Otherwise (zHU is greater than 5),

        pred4x4L[ x, y ] = p[ -1, 3 ]                                                                                       (8-69)


8.3.2     Intra_8x8 prediction process for luma samples
This process is invoked when the macroblock prediction mode is equal to Intra_8x8.
Inputs to this process are the values of Intra4x4PredMode (if available) or Intra8x8PredMode (if available) from the
neighbouring macroblocks or macroblock pairs.
Outputs of this process are 8x8 luma sample arrays as part of the 16x16 luma array of prediction samples of the
macroblock predL.
The luma component of a macroblock consists of 4 blocks of 8x8 luma samples. These blocks are inverse scanned using
the inverse 8x8 luma block scanning process as specified in subclause 6.4.4.
For all 8x8 luma blocks of the luma component of a macroblock with luma8x8BlkIdx = 0..3, the derivation process for
Intra8x8PredMode as specified in subclause 8.3.2.1 is invoked with luma8x8BlkIdx as well as Intra4x4PredMode and




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Intra8x8PredMode that are previously (in decoding order) derived for adjacent macroblocks as the input and the
variable Intra8x8PredMode[ luma8x8BlkIdx ] as the output.
For each luma block of 8x8 samples indexed using luma8x8BlkIdx = 0..3, the following applies.
–   The Intra_8x8 sample prediction process in subclause 8.3.2.2 is invoked with luma8x8BlkIdx and constructed
    samples prior (in decoding order) to the deblocking filter process from adjacent luma blocks as the input and the
    output are the Intra_8x8 luma prediction samples pred8x8L[ x, y ] with x, y = 0..7.
–   The position of the upper-left sample of an 8x8 luma block with index luma8x8BlkIdx inside the current
    macroblock is derived by invoking the inverse 8x8 luma block scanning process in subclause 6.4.4 with
    luma8x8BlkIdx as the input and the output being assigned to ( xO, yO ) and x, y = 0..7.

          predL[ xO + x, yO + y ] = pred8x8L[ x, y ]                                                            (8-70)


–   The transform coefficient decoding process and picture construction process prior to deblocking filter process in
    subclause 8.5 is invoked with predL and luma8x8BlkIdx as the input and the constructed samples for the current
    8x8 luma block S’L as the output.

8.3.2.1     Derivation process for Intra8x8PredMode
Inputs to this process are the index of the 8x8 luma block luma8x8BlkIdx and variable arrays Intra4x4PredMode (if
available) and Intra8x8PredMode (if available) that are previously (in decoding order) derived for adjacent
macroblocks.
Output of this process is the variable Intra8x8PredMode[ luma8x8BlkIdx ].
Table 8-3 specifies the values for Intra8x8PredMode[ luma8x8BlkIdx ] and the associated mnemonic names.

                 Table 8-3 – Specification of Intra8x8PredMode[ luma8x8BlkIdx ] and associated names

                 Intra8x8PredMode[ luma8x8BlkIdx ]          Name of Intra8x8PredMode[ luma8x8BlkIdx ]

                                  0                              Intra_8x8_Vertical (prediction mode)

                                  1                             Intra_8x8_Horizontal (prediction mode)

                                  2                                Intra_8x8_DC (prediction mode)

                                  3                        Intra_8x8_Diagonal_Down_Left (prediction mode)

                                  4                       Intra_8x8_Diagonal_Down_Right (prediction mode)

                                  5                           Intra_8x8_Vertical_Right (prediction mode)

                                  6                          Intra_8x8_Horizontal_Down (prediction mode)

                                  7                            Intra_8x8_Vertical_Left (prediction mode)

                                  8                           Intra_8x8_Horizontal_Up (prediction mode)



Intra8x8PredMode[ luma8x8BlkIdx ] is derived as follows.
–   The process specified in subclause 6.4.8.2 is invoked with luma8x8BlkIdx given as input and the output is assigned
    to mbAddrA, luma8x8BlkIdxA, mbAddrB, and luma8x8BlkIdxB.
–   The variable dcPredModePredictedFlag is derived as follows.
     –       If any of the following conditions are true, dcPredModePredictedFlag is set equal to 1
             –     the macroblock with address mbAddrA is not available
             –     the macroblock with address mbAddrB is not available
             –     the macroblock with address mbAddrA is available and coded in Inter prediction mode and
                   constrained_intra_pred_flag is equal to 1




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             –    the macroblock with address mbAddrB is available and coded in Inter prediction mode and
                  constrained_intra_pred_flag is equal to 1
      –      Otherwise, dcPredModePredictedFlag is set equal to 0.
–     For N being either replaced by A or B, the variables intraMxMPredModeN are derived as follows.
      –      If dcPredModePredictedFlag is equal to 1 or (the macroblock with address mbAddrN is not coded in
             Intra_4x4 macroblock prediction mode and the macroblock with address mbAddrN is not coded in Intra_8x8
             macroblock prediction mode), intraMxMPredModeN is set equal to 2 (Intra_8x8_DC prediction mode).
      –      Otherwise (dcPredModePredictedFlag is equal to 0 and (the macroblock with address mbAddrN is coded in
             Intra_4x4 macroblock prediction mode or the macroblock with address mbAddrN is coded in Intra_8x8
             macroblock prediction mode)), the following applies.
             –    If the macroblock with address mbAddrN is coded in Intra_8x8 macroblock mode,
                  intraMxMPredModeN is set equal to Intra8x8PredMode[ luma8x8BlkIdxN ], where Intra8x8PredMode
                  is the variable array assigned to the macroblock mbAddrN.
             –    Otherwise (the macroblock with address mbAddrN is coded in Intra_4x4 macroblock mode),
                  intraMxMPredModeN is derived by the following procedure, where Intra4x4PredMode is the variable
                  array assigned to the macroblock mbAddrN.

                      intraMxMPredModeN = Intra4x4PredMode[ luma8x8BlkIdxN * 4 + n ]                            (8-71)


                  where the variable n is derived as follows
                  –     If N is equal to A, depending on the variable MbaffFrameFlag, the variable luma8x8BlkIdx, the
                        current macroblock, and the macroblock mbAddrN, the following applies.
                        –    If MbaffFrameFlag is equal to 1, the current macroblock is a frame coded macroblock, the
                             macroblock mbAddrN is a field coded macroblock, and luma8x8BlkIdx is equal to 2, n is set
                             equal to 3.
                        –    Otherwise (MbaffFrameFlag is equal to 0 or the current macroblock is a field coded
                             macroblock or the macroblock mbAddrN is a frame coded macroblock or luma8x8BlkIdx is
                             not equal to 2), n is set equal to 1.
                  –     Otherwise (N is equal to B), n is set equal to 2.
–     Finally, given intraMxMPredModeA and intraMxMPredModeB, the variable Intra8x8PredMode[ luma8x8BlkIdx ]
      is derived by applying the following procedure.
          predIntra8x8PredMode = Min( intraMxMPredModeA, intraMxMPredModeB )
          if( prev_intra8x8_pred_mode_flag[ luma8x8BlkIdx ] )
              Intra8x8PredMode[ luma8x8BlkIdx ] = predIntra8x8PredMode
          else                                                                                                  (8-72)
              if( rem_intra8x8_pred_mode[ luma8x8BlkIdx ] < predIntra8x8PredMode )
                   Intra8x8PredMode[ luma8x8BlkIdx ] = rem_intra8x8_pred_mode[ luma8x8BlkIdx ]
              else
                   Intra8x8PredMode[ luma8x8BlkIdx ] = rem_intra8x8_pred_mode[ luma8x8BlkIdx ] + 1

8.3.2.2     Intra_8x8 sample prediction
This process is invoked for each 8x8 luma block of a macroblock with prediction mode equal to Intra_8x8 followed by
the transform decoding process and picture construction process prior to deblocking for each 8x8 luma block.
Input to this process is the index of an 8x8 luma block luma8x8BlkIdx.
Output of this process are the prediction samples pred8x8L[ x, y ], with x, y = 0..7 for the 8x8 luma block with index
luma8x8BlkIdx.
The position of the upper-left sample of an 8x8 luma block with index luma8x8BlkIdx inside the current macroblock is
derived by invoking the inverse 8x8 luma block scanning process in subclause 6.4.4 with luma8x8BlkIdx as the input
and the output being assigned to ( xO, yO ).
The 25 neighbouring samples p[ x, y ] that are constructed luma samples prior to the deblocking filter process, with
x = -1, y = -1..7 and x = 0..15, y = -1, are derived as follows.
–     The luma location ( xN, yN ) is specified by


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           xN = xO + x                                                                                                    (8-73)


           yN = yO + y                                                                                                    (8-74)


–    The derivation process for neighbouring locations in subclause 6.4.9 is invoked for luma locations with ( xN, yN )
     as input and mbAddrN and ( xW, yW ) as output.
–    Each sample p[ x, y ] with x = -1, y = -1..7 and x = 0..15, y = -1 is derived as follows.
     –       If any of the following conditions is true, the sample p[ x, y ] is marked as “not available for Intra_8x8
             prediction”
             –     mbAddrN is not available,
             –     the macroblock mbAddrN is coded in Inter prediction mode and constrained_intra_pred_flag is equal
                   to 1,
     –       Otherwise, the sample p[ x, y ] is marked as “available for Intra_8x8 prediction” and the luma sample at luma
             location ( xW, yW ) inside the macroblock mbAddrN is assigned to p[ x, y ].
When samples p[ x, -1 ], with x = 8..15 are marked as “not available for Intra_8x8 prediction,” and the sample p[ 7, -1 ]
is marked as “available for Intra_8x8 prediction,” the sample value of p[ 7, -1 ] is substituted for sample values
p[ x, -1 ], with x = 8..15 and samples p[ x, -1 ], with x = 8..15 are marked as “available for Intra_8x8 prediction”.
            NOTE – Each block is assumed to be constructed into a picture array prior to decoding of the next block.

The reference sample filtering process for Intra_8x8 sample prediction in subclause 8.3.2.2.1 is invoked with the
samples p[ x, y ] with x = -1, y = -1..7 and x = 0..15, y = -1 (if available) as input and p'[ x, y ] with x = -1, y = -1..7 and
x = 0..15, y = -1 as output.
Depending on Intra8x8PredMode[ luma8x8BlkIdx ], one of the Intra_8x8 prediction modes specified in subclauses
8.3.2.2.2 to 8.3.2.2.10 is invoked.

8.3.2.2.1 Reference sample filtering process for Intra_8x8 sample prediction
Inputs to this process are the reference samples p[ x, y ] with x = -1, y = -1..7 and x = 0..15, y = -1 (if available) for
Intra_8x8 sample prediction.
Outputs of this process are the filtered reference samples p'[ x, y ] with x = -1, y = -1..7 and x = 0..15, y = -1 for
Intra_8x8 sample prediction.
When all samples p[ x, -1 ] with x = 0..7 are marked as “available for Intra_8x8 prediction”, the following applies.
–    The value of p'[ 0, -1 ] is derived as follows.
     –       If p[ -1, -1 ] is marked as “available for Intra_8x8 prediction”, p'[ 0, -1 ] is derived by

         p'[ 0, -1 ] = ( p[ -1, -1 ] + 2 * p[ 0, -1 ] + p[ 1, -1 ] + 2 ) >> 2                                             (8-75)


     –       Otherwise (p[ -1, -1 ] is marked as “not available for Intra_8x8 prediction”), p'[ 0, -1 ] is derived by

         p'[ 0, -1 ] = ( 3 * p[ 0, -1 ] + p[ 1, -1 ] + 2 ) >> 2                                                           (8-76)


–    The values of p'[ x, -1 ], with x = 1..7 are derived by

         p'[ x, -1 ] = ( p[ x-1, -1 ] + 2 * p[ x, -1 ] + p[ x+1, -1 ] + 2 ) >> 2                                          (8-77)


When all samples p[ x, -1 ] with x = 7..15 are marked as “available for Intra_8x8 prediction”, the following applies.
–    The values of p'[ x, -1 ], with x = 8..14 are derived by

         p'[ x, -1 ] = ( p[ x-1, -1 ] + 2 * p[ x, -1 ] + p[ x+1, -1 ] + 2 ) >> 2                                          (8-78)


–    The value of p'[ 15, -1 ] is derived by

         p'[ 15, -1 ] = ( p[ 14, -1 ] + 3 * p[ 15, -1 ] + 2 ) >> 2                                                        (8-79)


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When the sample p[ -1, -1 ] is marked as “available for Intra_8x8 prediction”, the value of p'[ -1, -1 ] is derived as
follows.
–     If the sample p[ 0, -1 ] is marked as “not available for Intra_8x8 prediction” or the sample p[ -1, 0 ] is marked as
      “not available for Intra_8x8 prediction”, the following applies.
      –       If the sample p[ 0, -1 ] is marked as “available for Intra_8x8 prediction”, p'[ -1, -1 ] is derived by

          p'[ -1, -1 ] = ( 3 * p[ -1, -1 ] + p[ 0, -1 ] + 2 ) >> 2                                                          (8-80)


      –       Otherwise (the sample p[ 0, -1 ] is marked as “not available for Intra_8x8 prediction” and the sample
              p[ -1, 0 ] is marked as “available for Intra_8x8 prediction”), p'[ -1, -1 ] is derived by

          p'[ -1, -1 ] = ( 3 * p[ -1, -1 ] + p[ -1, 0 ] + 2) >> 2                                                           (8-81)


–     Otherwise (the sample p[ 0, -1 ] is marked as “available for Intra_8x8 prediction” and the sample p[ -1, 0 ] is
      marked as “available for Intra_8x8 prediction”), p'[ -1, -1 ] is derived by

          p'[ -1, -1 ] = ( p[ 0, -1 ] + 2 * p[ -1, -1 ] + p[ -1, 0 ] + 2) >> 2                                              (8-82)


When all samples p[ -1, y ] with y = 0..7 are marked as “available for Intra_8x8 prediction”, the following applies.
–     The value of p'[ -1, 0 ] is derived as follows.
      –       If p[ -1, -1 ] is marked as “available for Intra_8x8 prediction”, p'[ -1, 0 ] is derived by

          p'[ -1, 0 ] = ( p[ -1, -1 ] + 2 * p[ -1, 0 ] + p[ -1, 1 ] + 2 ) >> 2                                              (8-83)


      –       Otherwise (if p[ -1, -1 ] is marked as “not available for Intra_8x8 prediction”), p'[ -1, 0 ] is derived by

          p'[ -1, 0 ] = ( 3 * p[ -1, 0 ] + p[ -1, 1 ] + 2 ) >> 2                                                            (8-84)


–     The values of p'[ -1, y ], with y = 1..6 are derived by

          p'[ -1, y ] = ( p[ -1, y-1 ] + 2 * p[ -1, y ] + p[ -1, y+1 ] + 2 ) >> 2                                           (8-85)


–     The value of p'[ -1, 7 ] is derived by

          p'[ -1, 7 ] = ( p[ -1, 6 ] + 3 * p[ -1, 7 ] + 2 ) >> 2                                                            (8-86)


8.3.2.2.2 Specification of Intra_8x8_Vertical prediction mode
This Intra_8x8 prediction mode is invoked when Intra8x8PredMode[ luma8x8BlkIdx ] is equal to 0.
This mode shall be used only when the samples p[ x, -1 ] with x = 0..7 are marked as “available for Intra_8x8
prediction”.
The values of the prediction samples pred8x8L[ x, y ], with x, y = 0..7 are derived by

          pred8x8L[ x, y ] = p'[ x, -1 ], with x, y = 0..7                                                                  (8-87)


8.3.2.2.3 Specification of Intra_8x8_Horizontal prediction mode
This Intra_8x8 prediction mode is invoked when Intra8x8PredMode[ luma8x8BlkIdx ] is equal to 1.
This mode shall be used only when the samples p[ -1, y ], with y = 0..7 are marked as “available for Intra_8x8
prediction”.
The values of the prediction samples pred8x8L[ x, y ], with x, y = 0..7 are derived by

          pred8x8L[ x, y ] = p'[ -1, y ], with x, y = 0..7                                                                  (8-88)




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8.3.2.2.4 Specification of Intra_8x8_DC prediction mode
This Intra_8x8 prediction mode is invoked when Intra8x8PredMode[ luma8x8BlkIdx ] is equal to 2.
The values of the prediction samples pred8x8L[ x, y ], with x, y = 0..7 are derived as follows.
–    If all samples p[ x, -1 ], with x = 0..7 and p[ -1, y ], with y = 0..7 are marked as “available for Intra_8x8
     prediction,” the values of the prediction samples pred8x8L[ x, y ], with x, y = 0..7 are derived by
                                7              7
        pred8x8 L [ x, y ] = ( ∑ p'[ x' ,−1] + ∑ p'[−1, y ' ] + 8) >> 4                                               (8-89)
                               x '=0          y '= 0




–    Otherwise, if any samples p[ x, -1 ], with x = 0..7 are marked as “not available for Intra_8x8 prediction” and all
     samples p[ -1, y ], with y = 0..7 are marked as “available for Intra_8x8 prediction”, the values of the prediction
     samples pred8x8L[ x, y ], with x, y = 0..7 are derived by
                                7
        pred8x8 L [ x, y ] = ( ∑ p'[−1, y ' ] + 4) >> 3                                                               (8-90)
                               y '= 0




–    Otherwise, if any samples p[ -1, y ], with y = 0..7 are marked as “not available for Intra_8x8 prediction” and all
     samples p[ x, -1 ], with x = 0..7 are marked as “available for Intra_8x8 prediction”, the values of the prediction
     samples pred8x8L[ x, y ], with x, y = 0..7 are derived by
                                7
        pred8x8L [ x, y ] = ( ∑ p'[ x' ,−1] + 4) >> 3                                                                 (8-91)
                               x '=0




–    Otherwise (some samples p[ x, -1 ], with x = 0..7 and some samples p[ -1, y ], with y = 0..7 are marked as “not
     available for Intra_8x8 prediction”), the values of the prediction samples pred8x8L[ x, y ], with x, y = 0..7 are
     derived by

       pred8x8L[ x, y ] = ( 1 << ( BitDepthY – 1 ) )                                                                  (8-92)

    NOTE – An 8x8 luma block can always be predicted using this mode.

8.3.2.2.5 Specification of Intra_8x8_Diagonal_Down_Left prediction mode
This Intra_8x8 prediction mode is invoked when Intra8x8PredMode[ luma8x8BlkIdx ] is equal to 3.
This mode shall be used only when the samples p[ x, -1 ] with x = 0..15 are marked as “available for Intra_8x8
prediction”.
The values of the prediction samples pred8x8L[ x, y ], with x, y = 0..7 are derived as follows.
–    If x is equal to 7 and y is equal to 7,

       pred8x8L[ x, y ] = ( p'[ 14, -1 ] + 3 * p'[15, -1 ] + 2 ) >> 2                                                 (8-93)


–    Otherwise (x is not equal to 7 or y is not equal to 7),

       pred8x8L[ x, y ] = ( p'[ x + y, -1 ] + 2 * p'[ x + y + 1, -1 ] + p'[ x + y + 2, -1 ] + 2 ) >> 2                (8-94)


8.3.2.2.6 Specification of Intra_8x8_Diagonal_Down_Right prediction mode
This Intra_8x8 prediction mode is invoked when Intra8x8PredMode[ luma8x8BlkIdx ] is equal to 4.
This mode shall be used only when the samples p[ x, -1 ] with x = 0..7 and p[ -1, y ] with y = -1..7 are marked as
“available for Intra_8x8 prediction”.
The values of the prediction samples pred8x8L[ x, y ], with x, y = 0..7 are derived as follows.
–    If x is greater than y,

       pred8x8L[ x, y ] = ( p'[ x - y - 2, -1] + 2 * p'[ x - y - 1, -1 ] + p'[ x - y, -1 ] + 2 ) >> 2                 (8-95)



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–     Otherwise if x is less than y,

        pred8x8L[ x, y ] = ( p'[ -1, y - x - 2 ] + 2 * p'[ -1, y - x - 1 ] + p'[ -1, y - x ] + 2 ) >> 2                             (8-96)


–     Otherwise (x is equal to y),

        pred8x8L[ x, y ] = ( p'[ 0, -1 ] + 2 * p'[ -1, -1 ] + p'[ -1, 0 ] + 2 ) >> 2                                                (8-97)


8.3.2.2.7 Specification of Intra_8x8_Vertical_Right prediction mode
This Intra_8x8 prediction mode is invoked when Intra8x8PredMode[ luma8x8BlkIdx ] is equal to 5.
This mode shall be used only when the samples p[ x, -1 ] with x = 0..7 and p[ -1, y ] with y = -1..7 are marked as
“available for Intra_8x8 prediction”.
Let the variable zVR be set equal to 2 * x – y.
The values of the prediction samples pred8x8L[ x, y ], with x, y = 0..7 are derived as follows.
–     If zVR is equal to 0, 2, 4, 6, 8, 10, 12, or 14

      pred8x8L[ x, y ] = ( p'[ x - ( y >> 1 ) - 1, -1 ] + p'[ x - ( y >> 1 ), -1 ] + 1 ) >> 1                                       (8-98)


–     Otherwise, if zVR is equal to 1, 3, 5, 7, 9, 11, or 13

      pred8x8L[ x, y ] = ( p'[ x - ( y >> 1 ) - 2, -1] + 2 * p'[ x - ( y >> 1 ) - 1, -1 ] + p'[ x - ( y >> 1 ), -1 ] + 2 ) >> 2     (8-99)


–     Otherwise, if zVR is equal to -1,

      pred8x8L[ x, y ] = ( p'[ -1, 0 ] + 2 * p'[ -1, -1 ] + p'[ 0, -1 ] + 2 ) >> 2                                                 (8-100)


–     Otherwise (zVR is equal to -2, -3, -4, -5, -6, or -7),

      pred8x8L[ x, y ] = ( p'[ -1, y - 2*x - 1 ] + 2 * p'[ -1, y - 2*x - 2 ] + p'[ -1, y - 2*x - 3 ] + 2 ) >> 2                    (8-101)


8.3.2.2.8 Specification of Intra_8x8_Horizontal_Down prediction mode
This Intra_8x8 prediction mode is invoked when Intra8x8PredMode[ luma8x8BlkIdx ] is equal to 6.
This mode shall be used only when the samples p[ x, -1 ] with x = 0..7 and p[ -1, y ] with y = -1..7 are marked as
“available for Intra_8x8 prediction”.
Let the variable zHD be set equal to 2 * y – x.
The values of the prediction samples pred8x8L[ x, y ], with x, y = 0..7 are derived as follows.
–     If zHD is equal to 0, 2, 4, 6, 8, 10, 12, or 14

      pred8x8L[ x, y ] = ( p'[ -1, y -( x >> 1 ) - 1 ] + p'[ -1, y - ( x >> 1 ) ] + 1 ) >> 1                                       (8-102)


–     Otherwise, if zHD is equal to 1, 3, 5, 7, 9, 11, or 13

      pred8x8L[ x, y ] = ( p'[ -1, y - ( x >> 1 ) - 2 ] + 2 * p'[ -1, y - ( x >> 1 ) - 1 ] + p'[ -1, y - ( x >> 1 ) ] + 2 ) >> 2   (8-103)


–     Otherwise, if zHD is equal to -1,

      pred8x8L[ x, y ] = ( p'[ -1, 0 ] + 2 * p'[ -1, -1 ] + p'[ 0, -1 ] + 2 ) >> 2                                                 (8-104)


–     Otherwise (zHD is equal to –2, -3, -4, -5, -6, -7),

      pred8x8L[ x, y ] = ( p'[ x - 2*y - 1, -1 ] + 2 * p'[ x - 2*y - 2, -1 ] + p'[ x - 2*y - 3, -1 ] + 2 ) >> 2                    (8-105)




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8.3.2.2.9 Specification of Intra_8x8_Vertical_Left prediction mode
This Intra_8x8 prediction mode is invoked when Intra8x8PredMode[ luma8x8BlkIdx ] is equal to 7.
This mode shall be used only when the samples p[ x, -1 ] with x = 0..15 are marked as “available for Intra_8x8
prediction”.
The values of the prediction samples pred8x8L[ x, y ], with x, y = 0..7 are derived as follows.
–   If y is equal to 0, 2, 4 or 6

     pred8x8L[ x, y ] = ( p'[ x + ( y >> 1 ), -1 ] + p'[ x + ( y >> 1 ) + 1, -1 ] + 1) >> 1                                      (8-106)


–   Otherwise (y is equal to 1, 3, 5, 7),

     pred8x8L[ x, y ] = ( p'[ x + ( y >> 1 ), -1 ] + 2 * p'[ x + ( y >> 1 ) + 1, -1 ] + p'[ x + ( y >> 1 ) + 2, -1 ] + 2 ) >>2   (8-107)


8.3.2.2.10 Specification of Intra_8x8_Horizontal_Up prediction mode
This Intra_8x8 prediction mode is invoked when Intra8x8PredMode[ luma8x8BlkIdx ] is equal to 8.
This mode shall be used only when the samples p[ -1, y ] with y = 0..7 are marked as “available for Intra_8x8
prediction”.
Let the variable zHU be set equal to x + 2 * y.
The values of the prediction samples pred8x8L[ x, y ], with x, y = 0..7 are derived as follows:
–   If zHU is equal to 0, 2, 4, 6, 8, 10, or 12

     pred8x8L[ x, y ] = ( p'[ -1, y + ( x >> 1 ) ] + p'[ -1, y + ( x >> 1 ) + 1 ] + 1 ) >> 1                                     (8-108)


–   Otherwise, if zHU is equal to 1, 3, 5, 7, 9, or 11

     pred8x8L[ x, y ] = ( p'[ -1, y + ( x >> 1 ) ] + 2 * p'[ -1, y + ( x >> 1 ) + 1 ] + p'[ -1, y + ( x >> 1 ) + 2 ] + 2 ) >>2   (8-109)


–   Otherwise, if zHU is equal to 13,

     pred8x8L[ x, y ] = ( p'[ -1, 6 ] + 3 * p'[ -1, 7 ] + 2 ) >> 2                                                               (8-110)


–   Otherwise (zHU is greater than 13),

     pred8x8L[ x, y ] = p'[ -1, 7 ]                                                                                              (8-111)


8.3.3       Intra_16x16 prediction process for luma samples
This process is invoked when the macroblock prediction mode is equal to Intra_16x16. It specifies how the Intra
prediction luma samples for the current macroblock are derived.
Outputs of this process are Intra prediction luma samples for the current macroblock predL[ x, y ].
The 33 neighbouring samples p[ x, y ] that are constructed luma samples prior to the deblocking filter process, with
x = -1, y = -1..15 and with x = 0..15, y = -1, are derived as follows.
–   The derivation process for neighbouring locations in subclause 6.4.9 is invoked for luma locations with ( x, y )
    assigned to ( xN, yN ) as input and mbAddrN and ( xW, yW ) as output.
–   Each sample p[ x, y ] with x = -1, y = -1..15 and with x = 0..15, y = -1 is derived as follows.
        –    If any of the following conditions is true, the sample p[ x, y ] is marked as “not available for Intra_16x16
             prediction”
             –   mbAddrN is not available,
             –   the macroblock mbAddrN is coded in Inter prediction mode and constrained_intra_pred_flag is equal
                 to 1.



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             –   the macroblock mbAddrN has mb_type equal to SI and constrained_intra_pred_flag is equal to 1.
      –      Otherwise, the sample p[ x, y ] is marked as “available for Intra_16x16 prediction” and the luma sample at
             luma location ( xW, yW ) inside the macroblock mbAddrN is assigned to p[ x, y ].
Let predL[ x, y ] with x, y = 0..15 denote the prediction samples for the 16x16 luma block samples.
Intra_16x16 prediction modes are specified in Table 8-4.

                          Table 8-4 – Specification of Intra16x16PredMode and associated names

                                    Intra16x16PredMode          Name of Intra16x16PredMode

                                                  0         Intra_16x16_Vertical (prediction mode)

                                                  1        Intra_16x16_Horizontal (prediction mode)

                                                  2            Intra_16x16_DC (prediction mode)

                                                  3           Intra_16x16_Plane (prediction mode)

Depending on Intra16x16PredMode, one of the Intra_16x16 prediction modes specified in subclauses 8.3.3.1 to 8.3.3.4
is invoked.

8.3.3.1      Specification of Intra_16x16_Vertical prediction mode
This Intra_16x16 prediction mode shall be used only when the samples p[ x, -1 ] with x = 0..15 are marked as “available
for Intra_16x16 prediction”.

          predL[ x, y ] = p[ x, -1 ], with x, y = 0..15                                                           (8-112)


8.3.3.2      Specification of Intra_16x16_Horizontal prediction mode
This Intra_16x16 prediction mode shall be used only when the samples p[-1, y] with y = 0..15 are marked as “available
for Intra_16x16 prediction”.

          predL[ x, y ] = p[ -1, y ], with x, y = 0..15                                                           (8-113)


8.3.3.3      Specification of Intra_16x16_DC prediction mode
This Intra_16x16 prediction mode operates, depending on whether the neighbouring samples are marked as “available
for Intra_16x16 prediction”, as follows.
–     If all neighbouring samples p[ x, -1 ], with x = 0..15 and p[ -1, y ], with y = 0..15 are marked as “available for
      Intra_16x16 prediction”, the prediction for all luma samples in the macroblock is given by:
                            15            15
          predL[ x, y ] = ( ∑ p[x' ,−1] + ∑ p[− 1, y'] + 16) >> 5 , with x, y = 0..15                             (8-114)
                           x' = 0         y'= 0




–     Otherwise, if any of the neighbouring samples p[ x, -1 ], with x = 0..15 are marked as "not available for
      Intra_16x16 prediction" and all of the neighbouring samples p[ -1, y ], with y = 0..15 are marked as “available for
      Intra_16x16 prediction”, the prediction for all luma samples in the macroblock is given by:
                            15
          predL[ x, y ] = ( ∑ p[− 1, y'] + 8) >> 4 , with x, y = 0..15                                            (8-115)
                           y'= 0




–     Otherwise, if any of the neighbouring samples p[ -1, y ], with y = 0..15 are marked as "not available for
      Intra_16x16 prediction" and all of the neighbouring samples p[ x, -1 ], with x = 0..15 are marked as “available for
      Intra_16x16 prediction”, the prediction for all luma samples in the macroblock is given by:
                            15
          predL[ x, y ] = (∑ p[x' ,−1] + 8) >> 4 , with x, y = 0..15                                              (8-116)
                           x'=0




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–    Otherwise (some of the neighbouring samples p[ x, -1 ], with x = 0..15 and some of the neighbouring samples
     p[ -1, y ], with y = 0..15 are marked as “not available for Intra_16x16 prediction”), the prediction for all luma
     samples in the macroblock is given by:

            predL[ x, y ] = ( 1 << ( BitDepthY – 1 ) ), with x, y = 0..15                                                (8-117)


8.3.3.4        Specification of Intra_16x16_Plane prediction mode
This Intra_16x16 prediction mode shall be used only when the samples p[ x, -1 ] with x = -1..15 and p[ -1, y ] with
y = 0..15 are marked as “available for Intra_16x16 prediction”.

            predL[ x, y ] = Clip1Y( ( a + b * ( x - 7 ) + c * ( y - 7 ) + 16 ) >> 5 ), with x, y = 0..15,                (8-118)


where:

            a = 16 * ( p[ -1, 15 ] + p[ 15, -1 ] )                                                                       (8-119)


            b = ( 5 * H + 32 ) >> 6                                                                                      (8-120)


            c = ( 5 * V + 32 ) >> 6                                                                                      (8-121)


and H and V are specified in Equations 8-122 and 8-123.
                   7
            H = ∑ ( x'+1 ) * ( p[ 8 + x' , − 1 ] - p[ 6 - x' , - 1 ] )                                                   (8-122)
                  x'=0




                   7
            V = ∑ ( y'+1 ) * ( p[ - 1, 8 + y' ] - p[ - 1, 6 - y' ] )                                                     (8-123)
                  y'=0




8.3.4         Intra prediction process for chroma samples
This process is invoked for I and SI macroblock types. It specifies how the Intra prediction chroma samples for the
current macroblock are derived.
Outputs of this process are Intra prediction chroma samples for the current macroblock predCb[ x, y ] and predCr[ x, y ].
Both chroma blocks (Cb and Cr) of the macroblock use the same prediction mode. The prediction mode is applied to
each of the chroma blocks separately. The process specified in this subclause is invoked for each chroma block. In the
remainder of this subclause, chroma block refers to one of the two chroma blocks and the subscript C is used as a
replacement of the subscript Cb or Cr.
The neighbouring samples p[ x, y ] that are constructed chroma samples prior to the deblocking filter process, with
x = -1, y = -1..MbHeightC - 1 and with x = 0..MbWidthC - 1, y = -1, are derived as follows.
–   The derivation process for neighbouring locations in subclause 6.4.9 is invoked for chroma locations with ( x, y )
    assigned to ( xN, yN ) as input and mbAddrN and ( xW, yW ) as output.
–   Each sample p[ x, y ] is derived as follows.
        –       If any of the following conditions is true, the sample p[ x, y ] is marked as “not available for Intra chroma
                prediction”
                – mbAddrN is not available,
                – the macroblock mbAddrN is coded in Inter prediction mode and constrained_intra_pred_flag is equal
                  to 1.
                – the macroblock mbAddrN has mb_type equal to SI and constrained_intra_pred_flag is equal to 1 and the
                  current macroblock does not have mb_type equal to SI.
        –       Otherwise, the sample p[ x, y ] is marked as “available for Intra chroma prediction” and the chroma sample
                of component C at chroma location ( xW, yW) inside the macroblock mbAddrN is assigned to p[ x, y ].

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Let predC[ x, y ] with x = 0..MbWidthC - 1, y = 0..MbHeightC - 1 denote the prediction samples for the chroma block
samples.
Intra chroma prediction modes are specified in Table 8-5.

                    Table 8-5 – Specification of Intra chroma prediction modes and associated names

                              intra_chroma_pred_mode             Name of intra_chroma_pred_mode

                                            0                    Intra_Chroma_DC (prediction mode)

                                            1                 Intra_Chroma_Horizontal (prediction mode)

                                            2                  Intra_Chroma_Vertical (prediction mode)

                                            3                   Intra_Chroma_Plane (prediction mode)



Depending on intra_chroma_pred_mode, one of the Intra chroma prediction modes specified in subclauses 8.3.4.1
to 8.3.4.4 is invoked.

8.3.4.1     Specification of Intra_Chroma_DC prediction mode
This Intra chroma prediction mode is invoked when intra_chroma_pred_mode is equal to 0.
For each chroma block of 4x4 samples indexed by chroma4x4BlkIdx = 0..( 1 << ( chroma_format_idc + 1 ) ) – 1, the
following applies.
–     Depending on chroma_format_idc, the position of the upper-left sample of a 4x4 chroma block with index
      chroma4x4BlkIdx is derived as follows
      –      If chroma_format_idc is equal to 1 or 2, the following applies

          xO = InverseRasterScan( chroma4x4BlkIdx, 4, 4, 8, 0 )                                                        (8-124)


          yO = InverseRasterScan( chroma4x4BlkIdx, 4, 4, 8, 1 )                                                        (8-125)


      –      Otherwise (chroma_format_idc is equal to 3), the following applies

          xO = InverseRasterScan( chroma4x4BlkIdx / 4, 8, 8, 16, 0 ) +
                      InverseRasterScan( chroma4x4BlkIdx % 4, 4, 4, 8, 0 )                                             (8-126)


          yO = InverseRasterScan( chroma4x4BlkIdx / 4, 8, 8, 16, 1 ) +
                      InverseRasterScan( chroma4x4BlkIdx % 4, 4, 4, 8, 1 )                                             (8-127)


–     If ( xO, yO ) is equal to ( 0, 0 ) or xO and yO are greater than 0, the values of the prediction samples
      predC[ x + xO, y + yO ] with x, y = 0..3 are derived as follows.
      –      If all samples p[ x + xO, -1 ], with x = 0..3 and p[ -1, y +yO ], with y = 0..3 are marked as “available for Intra
             chroma prediction”, the values of the prediction samples predC[ x + xO, y + yO ], with x, y = 0..3 are derived
             as

                                        3                    3                  
          pred C [ x + xO, y + yO ] =  ∑ p[ x '+ xO,−1] + ∑ p[−1, y'+ yO] + 4  >> 3 , with x, y = 0..3.            (8-128)
                                        x '= 0             y '= 0               


      –      Otherwise, if any samples p[ x + xO, -1 ], with x = 0..3 are marked as “not available for Intra chroma
             prediction” and all samples p[ -1, y +yO ], with y = 0..3 are marked as “available for Intra chroma
             prediction”, the values of the prediction samples predC[ x + xO, y + yO ], with x, y = 0..3 are derived as

                                        3                    
          pred C [ x + xO, y + yO ] =  ∑ p[−1, y'+ yO] + 2  >> 2 , with x, y = 0..3.                               (8-129)
                                        y ' = 0              



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    –      Otherwise, if any samples p[ -1, y +yO ], with y = 0..3 are marked as “not available for Intra chroma
           prediction” and all samples p[ x + xO, -1 ], with x = 0..3 are marked as “available for Intra chroma
           prediction”, the values of the prediction samples predC[ x + xO, y + yO ], with x, y = 0..3 are derived as

                                     3                    
        pred C [ x + xO, y + yO ] =  ∑ p[ x '+ xO,−1] + 2  >> 2 , with x, y = 0..3.                                  (8-130)
                                     x'=0                 


    –      Otherwise (some samples p[ x + xO, -1 ], with x = 0..3 and some samples p[ -1, y +yO ], with y = 0..3 are
           marked as “not available for Intra chroma prediction”), the values of the prediction samples
           predC[ x + xO, y + yO ], with x, y = 0..3 are derived as

        predC[ x + xO, y + yO ] = ( 1 << ( BitDepthC – 1 ) ), with x, y = 0..3.                                        (8-131)


–   Otherwise, if xO is greater than 0 and yO is equal to 0, the values of the prediction samples predC[ x + xO, y + yO ]
    with x, y = 0..3 are derived as follows.
    –      If all samples p[ x + xO, -1 ], with x = 0..3 are marked as “available for Intra chroma prediction”, the values
           of the prediction samples predC[ x + xO, y + yO ], with x, y = 0..3 are derived as

                                     3                    
        pred C [ x + xO, y + yO ] =  ∑ p[ x '+ xO,−1] + 2  >> 2 , with x, y = 0..3.                                  (8-132)
                                     x'=0                 


    –      Otherwise, if all samples p[ -1, y +yO ], with y = 0..3 are marked as “available for Intra chroma prediction”,
           the values of the prediction samples predC[ x + xO, y + yO ], with x, y = 0..3 are derived as

                                      3                    
        pred C [ x + xO, y + yO ] =  ∑ p[−1, y'+ yO] + 2  >> 2 , with x, y = 0..3.                                 (8-133)
                                      y ' = 0              


    –      Otherwise (some samples p[ x + xO, -1 ], with x = 0..3 and some samples p[ -1, y +yO ], with y = 0..3 are
           marked as “not available for Intra chroma prediction”), the values of the prediction samples
           predC[ x + xO, y + yO ], with x, y = 0..3 are derived as

        predC[ x + xO, y + yO ] = ( 1 << ( BitDepthC – 1 ) ), with x, y = 0..3.                                        (8-134)


–   Otherwise (xO is equal to 0 and yO is greater than 0), the values of the prediction samples predC[ x + xO, y + yO ]
    with x, y = 0..3 are derived as follows.
    –      If all samples p[ -1, y +yO ], with y = 0..3 are marked as “available for Intra chroma prediction”, the values
           of the prediction samples predC[ x + xO, y + yO ], with x, y = 0..3 are derived as

                                      3                    
        pred C [ x + xO, y + yO ] =  ∑ p[−1, y'+ yO] + 2  >> 2 , with x, y = 0..3.                                 (8-135)
                                      y '= 0               


    –      Otherwise, if all samples p[ x + xO, -1 ], with x = 0..3 are marked as “available for Intra chroma prediction”,
           the values of the prediction samples predC[ x + xO, y + yO ], with x, y = 0..3 are derived as

                                     3                    
        pred C [ x + xO, y + yO ] =  ∑ p[ x '+ xO,−1] + 2  >> 2 , with x, y = 0..3.                                  (8-136)
                                     x' = 0               


    –      Otherwise (some samples p[ x + xO, -1 ], with x = 0..3 and some samples p[ -1, y +yO ], with y = 0..3 are
           marked as “not available for Intra chroma prediction”), the values of the prediction samples
           predC[ x + xO, y + yO ], with x, y = 0..3 are derived as

        predC[ x + xO, y + yO ] = ( 1 << ( BitDepthC – 1 ) ), with x, y = 0..3.                                        (8-137)




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8.3.4.2     Specification of Intra_Chroma_Horizontal prediction mode
This Intra chroma prediction mode is invoked when intra_chroma_pred_mode is equal to 1.
This mode shall be used only when the samples p[ -1, y ] with y = 0..MbHeightC - 1 are marked as "available for Intra
chroma prediction".
The values of the prediction samples predC[ x, y ] are derived as follows.

          predC[ x, y ] = p[ -1, y ], with x = 0..MbWidthC - 1 and y = 0..MbHeightC - 1                       (8-138)


8.3.4.3     Specification of Intra_Chroma_Vertical prediction mode
This Intra chroma prediction mode is invoked when intra_chroma_pred_mode is equal to 2.
This mode shall be used only when the samples p[ x, -1 ] with x = 0..MbWidthC - 1 are marked as "available for Intra
chroma prediction".
The values of the prediction samples predC[ x, y ] are derived as follows.

          predC[ x, y ] = p[ x, -1 ], with x = 0..MbWidthC - 1 and y = 0..MbHeightC - 1                       (8-139)


8.3.4.4     Specification of Intra_Chroma_Plane prediction mode
This Intra chroma prediction mode is invoked when intra_chroma_pred_mode is equal to 3.
This mode shall be used only when the samples p[ x, -1 ], with x = 0..MbWidthC - 1 and p[ -1, y ], with
y = -1..MbHeightC - 1 are marked as "available for Intra chroma prediction".
The values of the prediction samples predC[ x, y ] are derived as follows.
Let the variable xCF be set equal to 4 * ( chroma_format_idc = = 3 ) and let the variable yCF be set equal
to 4 * ( chroma_format_idc != 1 ).

          predC[ x, y ] = Clip1C( ( a + b * ( x – 3 – xCF ) + c * ( y – 3 – yCF ) + 16 ) >> 5 ),
             with x = 0..MbWidthC - 1 and y = 0..MbHeightC - 1                                                (8-140)


where:

          a = 16 * ( p[ -1, MbHeightC - 1 ] + p[ MbWidthC - 1, -1 ] )                                         (8-141)


          b = ( ( 34 – 29 * ( chroma_format_idc = = 3 ) ) * H + 32 ) >> 6                                     (8-142)


          c = ( ( 34 – 29 * ( chroma_format_idc != 1 ) ) * V + 32 ) >> 6                                      (8-143)


and H and V are specified as
              3 + xCF
          H = ∑ ( x '+1) * ( p[4 + xCF + x ' , − 1] − p[2 + xCF − x ' , − 1])                                 (8-144)
                x '= 0




               3+ yCF
          V = ∑ ( y'+1) * ( p[−1, 4 + yCF + y' ] − p[ −1, 2 + yCF − y' ])                                     (8-145)
                y '= 0




8.3.5       Sample construction process for I_PCM macroblocks
This process is invoked when mb_type is equal to I_PCM.
The variable dy is derived as follows.
– If MbaffFrameFlag is equal to 1 and the current macroblock is a field macroblock, dy is set equal to 2.
– Otherwise (MbaffFrameFlag is equal to 0 or the current macroblock is a frame macroblock), dy is set equal to 1.


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The position of the upper-left luma sample of the current macroblock is derived by invoking the inverse macroblock
scanning process in subclause 6.4.1 with CurrMbAddr as input and the output being assigned to ( xP, yP ).
The constructed luma samples prior to the deblocking process are generated as specified by:

        for( i = 0; i < 256; i++ )
           S'L[ xP + ( i % 16 ), yP + dy * ( i / 16 ) ) ] = pcm_sample_luma[ i ]                                  (8-146)


When chroma_format_idc is not equal to 0 (monochrome), the constructed chroma samples prior to the deblocking
process are generated as specified by:

        for( i = 0; i < MbWidthC * MbHeightC; i++ ) {
           S'Cb[ ( xP / SubWidthC ) + ( i % MbWidthC ),
                       ( ( yP + SubHeightC – 1 ) / SubHeightC ) + dy * ( i / MbWidthC ) ] =
                         pcm_sample_chroma[ i ]                                                                   (8-147)
           S'Cr[ ( xP / SubWidthC ) + ( i % MbWidthC ),
                       ( ( yP + SubHeightC – 1 ) / SubHeightC ) + dy * ( i / MbWidthC ) ] =
                         pcm_sample_chroma[ i + MbWidthC * MbHeightC ]
        }



8.4      Inter prediction process
This process is invoked when decoding P and B macroblock types.
Outputs of this process are Inter prediction samples for the current macroblock that are a 16x16 array predL of luma
samples and when chroma_format_idc is not equal to 0 (monochrome) two 8x8 arrays predCr and predCb of chroma
samples, one for each of the chroma components Cb and Cr.
The partitioning of a macroblock is specified by mb_type. Each macroblock partition is referred to by mbPartIdx. When
the macroblock partitioning consists of partitions that are equal to sub-macroblocks, each sub-macroblock can be
further partitioned into sub-macroblock partitions as specified by sub_mb_type. Each sub-macroblock partition is
referred to by subMbPartIdx. When the macroblock partitioning does not consist of sub-macroblocks, subMbPartIdx is
set equal to 0.
The following steps are specified for each macroblock partition or for each sub-macroblock partition.
The functions MbPartWidth( ), MbPartHeight( ), SubMbPartWidth( ), and SubMbPartHeight( ) describing the width
and height of macroblock partitions and sub-macroblock partitions are specified in Tables 7-13, 7-14, 7-17, and 7-18.
The range of the macroblock partition index mbPartIdx is derived as follows.
–     If mb_type is equal to B_Skip or B_Direct_16x16, mbPartIdx proceeds over values 0..3.
–     Otherwise (mb_type is not equal to B_Skip or B_Direct_16x16), mbPartIdx proceeds over values
      0..NumMbPart( mb_type ) – 1.
For each value of mbPartIdx, the variables partWidth and partHeight for each macroblock partition or sub-macroblock
partition in the macroblock are derived as follows.
–     If mb_type is not equal to P_8x8, P_8x8ref0, B_Skip, B_Direct_16x16, or B_8x8, subMbPartIdx is set equal to 0,
      and partWidth and partHeight are derived as

        partWidth = MbPartWidth( mb_type )                                                                        (8-148)


        partHeight = MbPartHeight( mb_type )                                                                      (8-149)


–     Otherwise, if mb_type is equal to P_8x8 or P_8x8ref0, or mb_type is equal to B_8x8 and
      sub_mb_type[ mbPartIdx ] is not equal to B_Direct_8x8, subMbPartIdx proceeds over values
      0..NumSubMbPart( sub_mb_type ) – 1, and partWidth and partHeight are derived as

        partWidth = SubMbPartWidth( sub_mb_type[ mbPartIdx ] )                                                    (8-150)


        partHeight = SubMbPartHeight( sub_mb_type[ mbPartIdx ] ).                                                 (8-151)


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–     Otherwise (mb_type is equal to B_Skip or B_Direct_16x16, or mb_type is equal to B_8x8 and
      sub_mb_type[ mbPartIdx ] is equal to B_Direct_8x8), subMbPartIdx proceeds over values 0..3, and partWidth and
      partHeight are derived as

          partWidth = 4                                                                                           (8-152)


          partHeight = 4                                                                                          (8-153)


When chroma_format_idc is not equal to 0 (monochrome) the variables partWidthC and partHeightC are derived as

                    partWidthC = partWidth / SubWidthC                                                            (8-154)
                    partHeightC = partHeight / SubHeightC                                                         (8-155)


Let the variable MvCnt be initially set equal to 0 before any invocation of subclause 8.4.1 for the macroblock.
The Inter prediction process for a macroblock partition mbPartIdx and a sub-macroblock partition subMbPartIdx
consists of the following ordered steps
1.    Derivation process for motion vector components and reference indices as specified in subclause 8.4.1.
      Inputs to this process are
      –     a macroblock partition mbPartIdx,
      –     a sub-macroblock partition subMbPartIdx.
      Outputs of this process are
      –     luma motion vectors mvL0 and mvL1 and when chroma_format_idc is not equal to 0 (monochrome) the
            chroma motion vectors mvCL0 and mvCL1
      –     reference indices refIdxL0 and refIdxL1
      –     prediction list utilization flags predFlagL0 and predFlagL1
      –     the sub-macroblock partition motion vector count subMvCnt.
2.    The variable MvCnt is incremented by subMvCnt.
3.    Decoding process for Inter prediction samples as specified in subclause 8.4.2.
      Inputs to this process are
      –     a macroblock partition mbPartIdx,
      –     a sub-macroblock partition subMbPartIdx.
      –     variables specifying partition width and height for luma and chroma (if available), partWidth, partHeight,
            partWidthC (if available), and partHeightC (if available)
      –     luma motion vectors mvL0 and mvL1 and when chroma_format_idc is not equal to 0 (monochrome) the
            chroma motion vectors mvCL0 and mvCL1
      –     reference indices refIdxL0 and refIdxL1
      –     prediction list utilization flags predFlagL0 and predFlagL1
      Outputs of this process are
      –     inter prediction samples (pred); which are a (partWidth)x(partHeight) array predPartL of prediction luma
            samples and when chroma_format_idc is not equal to 0 (monochrome) two (partWidthC)x(partHeightC)
            arrays predPartCr, and predPartCb of prediction chroma samples, one for each of the chroma components Cb
            and Cr.
For use in derivation processes of variables invoked later in the decoding process, the following assignments are made:

          MvL0[ mbPartIdx ][ subMbPartIdx ] = mvL0                                                                (8-156)


          MvL1[ mbPartIdx ][ subMbPartIdx ] = mvL1                                                                (8-157)


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        RefIdxL0[ mbPartIdx ] = refIdxL0                                                                            (8-158)


        RefIdxL1[ mbPartIdx ] = refIdxL1                                                                            (8-159)


        PredFlagL0[ mbPartIdx ] = predFlagL0                                                                        (8-160)


        PredFlagL1[ mbPartIdx ] = predFlagL1                                                                        (8-161)


The location of the upper-left sample of the partition relative to the upper-left sample of the macroblock is derived by
invoking the inverse macroblock partition scanning process as described in subclause 6.4.2.1 with mbPartIdx as the
input and ( xP, yP ) as the output.
The location of the upper-left sample of the macroblock sub-partition relative to the upper-left sample of the
macroblock partition is derived by invoking the inverse sub-macroblock partition scanning process as described in
subclause 6.4.2.2 with subMbPartIdx as the input and ( xS, yS ) as the output.
The macroblock prediction is formed by placing the partition or sub-macroblock partition prediction samples in their
correct relative positions in the macroblock, as follows.
The variable predL[ xP + xS + x, yP + yS + y ] with x = 0 .. partWidth – 1, y = 0 .. partHeight – 1 is derived by

        predL[ xP + xS + x, yP + yS + y ] = predPartL[ x, y ]                                                       (8-162)


When chroma_format_idc is not equal to 0 (monochrome) the variable predC with x = 0..partWidthC – 1,
y = 0..partHeightC – 1, and C in predC and predPartC being replaced by Cb or Cr is derived by

        predC[ xP / SubWidthC + xS / SubWidthC + x, yP / SubHeightC + yS / SubHeightC + y ] = predPartC[ x, y ]
                                                                                                             (8-163)


8.4.1    Derivation process for motion vector components and reference indices
Inputs to this process are
– a macroblock partition mbPartIdx,
– a sub-macroblock partition subMbPartIdx.
Outputs of this process are
– luma motion vectors mvL0 and mvL1 as well as the chroma motion vectors mvCL0 and mvCL1
– reference indices refIdxL0 and refIdxL1
– prediction list utilization flags predFlagL0 and predFlagL1
– a sub-partition macroblock motion vector count variable subMvCnt
For the derivation of the variables mvL0 and mvL1 as well as refIdxL0 and refIdxL1, the following applies.
– If mb_type is equal to P_Skip, the derivation process for luma motion vectors for skipped macroblocks in P and SP
  slices in subclause 8.4.1.1 is invoked with the output being the luma motion vectors mvL0 and reference indices
  refIdxL0, and predFlagL0 is set equal to 1. mvL1 and refIdxL1 are marked as not available and predFlagL1 is set
  equal to 0. The sub-partition motion vector count variable subMvCnt is set equal to 1.
– Otherwise, if mb_type is equal to B_Skip or B_Direct_16x16 or sub_mb_type[ mbPartIdx ] is equal to
  B_Direct_8x8, the derivation process for luma motion vectors for B_Skip, B_Direct_16x16, and B_Direct_8x8 in B
  slices in subclause 8.4.1.2 is invoked with mbPartIdx and subMbPartIdx as the input and the output being the luma
  motion vectors mvL0, mvL1, the reference indices refIdxL0, refIdxL1, the sub-partition motion vector count
  subMvCnt, and the prediction utilization flags predFlagL0 and predFlagL1.
– Otherwise, for X being replaced by either 0 or 1 in the variables predFlagLX, mvLX, refIdxLX, and in Pred_LX and
  in the syntax elements ref_idx_lX and mvd_lX, the following applies.




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   1.     The variables refIdxLX and predFlagLX are derived as follows.
               –      If MbPartPredMode( mb_type, mbPartIdx ) or SubMbPredMode( sub_mb_type[ mbPartIdx ] ) is equal
                      to Pred_LX or to BiPred,

                      refIdxLX = ref_idx_lX[ mbPartIdx ]                                                               (8-164)


                      predFlagLX = 1                                                                                   (8-165)


               –      Otherwise, the variables refIdxLX and predFlagLX are specified by

                      refIdxLX = -1                                                                                    (8-166)


                      predFlagLX = 0                                                                                   (8-167)


   2.     The variable subMvCnt for sub-partition motion vector count is set equal to predFlagL0 + predFlagL1.
   3.     The variable currSubMbType is derived as follows.
           -       If the macroblock type is equal to B_8x8, currSubMbType is set equal to sub_mb_type[ mbPartIdx ].
           -       Otherwise (the macroblock type is not equal to B_8x8), currSubMbType is set equal to "na".
   4.     When predFlagLX is equal to 1, the derivation process for luma motion vector prediction in subclause 8.4.1.3 is
          invoked with mbPartIdx subMbPartIdx, refIdxLX, and currSubMbType as the inputs and the output being
          mvpLX. The luma motion vectors are derived by

           mvLX[ 0 ] = mvpLX[ 0 ] + mvd_lX[ mbPartIdx ][ subMbPartIdx ][ 0 ]                                           (8-168)


           mvLX[ 1 ] = mvpLX[ 1 ] + mvd_lX[ mbPartIdx ][ subMbPartIdx ][ 1 ]                                           (8-169)


For the derivation of the variables for the chroma motion vectors, the following applies. When predFlagLX (with X
being either 0 or 1) is equal to 1, the derivation process for chroma motion vectors in subclause 8.4.1.4 is invoked with
mvLX and refIdxLX as input and the output being mvCLX.

8.4.1.1        Derivation process for luma motion vectors for skipped macroblocks in P and SP slices
This process is invoked when mb_type is equal to P_Skip.
Outputs of this process are the motion vector mvL0 and the reference index refIdxL0.
The reference index refIdxL0 for a skipped macroblock is derived as follows.

           refIdxL0 = 0.                                                                                               (8-170)


For the derivation of the motion vector mvL0 of a P_Skip macroblock type, the following applies.
– The process specified in subclause 8.4.1.3.2 is invoked with mbPartIdx set equal to 0, subMbPartIdx set equal to 0,
  currSubMbType set equal to "na", and listSuffixFlag set equal to 0 as input and the output is assigned to mbAddrA,
  mbAddrB, mvL0A, mvL0B, refIdxL0A, and refIdxL0B.
– The variable mvL0 is specified as follows.
   – If any of the following conditions are true, both components of the motion vector mvL0 are set equal to 0.
          – mbAddrA is not available
          – mbAddrB is not available
          – refIdxL0A is equal to 0 and both components of mvL0A are equal to 0
          – refIdxL0B is equal to 0 and both components of mvL0B are equal to 0




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    – Otherwise, the derivation process for luma motion vector prediction as specified in subclause 8.4.1.3 is invoked
      with mbPartIdx = 0, subMbPartIdx = 0, refIdxL0, and currSubMbType = "na" as inputs and the output is
      assigned to mvL0.
    NOTE – The output is directly assigned to mvL0, since the predictor is equal to the actual motion vector.

8.4.1.2    Derivation process for luma motion vectors for B_Skip, B_Direct_16x16, and B_Direct_8x8
This process is invoked when mb_type is equal to B_Skip or B_Direct_16x16, or sub_mb_type[ mbPartIdx ] is equal to
B_Direct_8x8.
Inputs to this process are mbPartIdx and subMbPartIdx.
Outputs of this process are the reference indices refIdxL0, refIdxL1, the motion vectors mvL0 and mvL1, the sub-
partition motion vector count subMvCnt, and the prediction list utilization flags, predFlagL0 and predFlagL1.
The derivation process depends on the value of direct_spatial_mv_pred_flag, which is present in the bitstream in the
slice header syntax as specified in subclause 7.3.3, and is specified as follows.
–    If direct_spatial_mv_pred_flag is equal to 1, the mode in which the outputs of this process are derived is referred
     to as spatial direct prediction mode.
–    Otherwise (direct_spatial_mv_pred_flag is equal to 0), mode in which the outputs of this process are derived is
     referred to as temporal direct prediction mode.
Both spatial and temporal direct prediction mode use the co-located motion vectors and reference indices as specified in
subclause 8.4.1.2.1.
The motion vectors and reference indices are derived as follows.
–    If spatial direct prediction mode is used, the direct motion vector and reference index prediction mode specified in
     subclause 8.4.1.2.2 is used, with subMvCnt being an output.
–    Otherwise (temporal direct prediction mode is used), the direct motion vector and reference index prediction mode
     specified in subclause 8.4.1.2.3 is used and the variable subMvCnt is derived as follows.

    – If subMbPartIdx is equal to 0, subMvCnt is set equal to 2.
    – Otherwise (subMbPartIdx is not equal to 0), subMvCnt is set equal to 0.

8.4.1.2.1 Derivation process for the co-located 4x4 sub-macroblock partitions
Inputs to this process are mbPartIdx and subMbPartIdx.
Outputs of this process are the picture colPic, the co-located macroblock mbAddrCol, the motion vector mvCol, the
reference index refIdxCol, and the variable vertMvScale (which can be One_To_One, Frm_To_Fld or Fld_To_Frm).
When RefPicList1[ 0 ] is a frame or a complementary field pair, let firstRefPicL1Top and firstRefPicL1Bottom be the
top and bottom fields of RefPicList1[ 0 ], respectively, and let the following variables be specified as

    topAbsDiffPOC = Abs( DiffPicOrderCnt( firstRefPicL1Top, CurrPic ) )                                               (8-171)


    bottomAbsDiffPOC = Abs( DiffPicOrderCnt( firstRefPicL1Bottom, CurrPic ) )                                         (8-172)




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The variable colPic specifies the picture that contains the co-located macroblock as specified in Table 8-6.

                                         Table 8-6 – Specification of the variable colPic
 field_pic_flag       RefPicList1[ 0 ]     mb_field_decoding_flag     additional condition             colPic
                      is …
                      a field of a                                                                     the frame containing
          1           decoded frame                                                                    RefPicList1[ 0 ]
                      a decoded field                                                                  RefPicList1[ 0 ]
                      a decoded frame                                                                  RefPicList1[ 0 ]
                                                                      topAbsDiffPOC <
                                                                                                       firstRefPicL1Top
                                                                      bottomAbsDiffPOC
                      a                    0
          0                                                           topAbsDiffPOC >=
                      complementary                                                                    firstRefPicL1Bottom
                                                                      bottomAbsDiffPOC
                      field pair
                                                                      ( CurrMbAddr & 1 ) = = 0         firstRefPicL1Top
                                           1
                                                                      ( CurrMbAddr & 1 ) != 0          firstRefPicL1Bottom


When direct_8x8_inference_flag is equal to 1, subMbPartIdx is set as follows.

     subMbPartIdx = mbPartIdx                                                                                          (8-173)


Let PicCodingStruct( X ) be a function with the argument X being either CurrPic or colPic. It is specified in Table 8-7.

                                      Table 8-7 – Specification of PicCodingStruct( X )
              X is coded with field_pic_flag equal to …     mb_adaptive_frame_field_flag      PicCodingStruct( X )
                                  1                                                                   FLD
                                  0                                       0                           FRM
                                  0                                       1                          AFRM


With luma4x4BlkIdx = mbPartIdx * 4 + subMbPartIdx, the inverse 4x4 luma block scanning process as specified in
subclause 6.4.3 is invoked with luma4x4BlkIdx as the input and ( x, y ) assigned to ( xCol, yCol ) as the output.
Table 8-8 specifies the co-located macroblock address mbAddrCol, yM, and the variable vertMvScale in two steps:
1.    Specification of a macroblock              address   mbAddrX      depending    on     PicCodingStruct( CurrPic ),   and
      PicCodingStruct( colPic ).
                 NOTE – It is not possible for CurrPic and colPic picture coding types to be either (FRM, AFRM) or (AFRM, FRM)
                 because these picture coding types must be separated by an IDR picture.
2.    Specification of mbAddrCol, yM, and vertMvScale depending on mb_field_decoding_flag and the variable
      fieldDecodingFlagX, which is derived as follows.
      –       If the macroblock mbAddrX in the picture colPic is a field macroblock, fieldDecodingFlagX is set equal to 1
      – Otherwise (the macroblock mbAddrX in the picture colPic is a frame macroblock), fieldDecodingFlagX is set
        equal to 0.
Unspecified values in Table 8-8 indicate that the value of the corresponding variable is not relevant for the current table
row.
mbAddrCol is set equal to CurrMbAddr or to one of the following values.

     mbAddrCol1 = 2 * PicWidthInMbs * ( CurrMbAddr / PicWidthInMbs ) +
                  ( CurrMbAddr % PicWidthInMbs ) + PicWidthInMbs * ( yCol / 8 )                                        (8-174)


     mbAddrCol2 = 2 * CurrMbAddr + ( yCol / 8 )                                                                        (8-175)



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   mbAddrCol3 = 2 * CurrMbAddr + bottom_field_flag                                                                                                                                    (8-176)


   mbAddrCol4 = PicWidthInMbs * ( CurrMbAddr / ( 2 * PicWidthInMbs ) ) +
                ( CurrMbAddr % PicWidthInMbs )                                                                                                                                        (8-177)


   mbAddrCol5 = CurrMbAddr / 2                                                                                                                                                        (8-178)


   mbAddrCol6 = 2 * ( CurrMbAddr / 2 ) + ( ( topAbsDiffPOC < bottomAbsDiffPOC ) ? 0 : 1 )                                                                                             (8-179)


   mbAddrCol7 = 2 * ( CurrMbAddr / 2 ) + ( yCol / 8 )                                                                                                                                 (8-180)




                                                                   Table 8-8 – Specification of mbAddrCol, yM, and vertMvScale
    PicCodingStruct( CurrPic )


                                  PicCodingStruct( colPic )




                                                                                 mb_field_decoding_flag
                                                                                 fieldDecodingFlagX




                                                                                                                                                                               vertMvScale
                                                                                                              mbAddrCol
                                                                   mbAddrX




                                                                                                                                                  yM



                                 FLD                                                                      CurrMbAddr          yCol                                        One_To_One

                                 FRM                                                                      mbAddrCol1          ( 2 * yCol ) % 16                           Frm_To_Fld
 FLD
                                                                                              0 mbAddrCol2                    ( 2 * yCol ) % 16                           Frm_To_Fld
                                 AFRM 2*CurrMbAddr
                                                                                              1 mbAddrCol3                    yCol                                        One_To_One

                                                                                                                              8 * ( (CurrMbAddr / PicWidthInMbs ) % 2)
                                 FLD                                                                      mbAddrCol4                                                   Fld_To_Frm
 FRM                                                                                                                          + 4 * ( yCol / 8 )

                                 FRM                                                                      CurrMbAddr          yCol                                        One_To_One

                                                                                    0                     mbAddrCol5          8 * ( CurrMbAddr % 2 ) +4 * ( yCol / 8 )    Fld_To_Frm
                                 FLD
                                                                                    1                     mbAddrCol5          yCol                                        One_To_One

                                                                                              0 CurrMbAddr                    yCol                                        One_To_One
 AFRM                                                         CurrMbAddr            0
                                                                                              1 mbAddrCol6                    8 * ( CurrMbAddr % 2 ) + 4 * ( yCol / 8 )   Fld_To_Frm
                                 AFRM
                                                                                              0 mbAddrCol7                    ( 2 * yCol ) % 16                           Frm_To_Fld
                                                              CurrMbAddr            1
                                                                                              1 CurrMbAddr                    yCol                                        One_To_One



Let mbPartIdxCol be the macroblock partition index of the co-located partition and subMbPartIdxCol the sub-
macroblock partition index of the co-located sub-macroblock partition. The partition in the macroblock mbAddrCol
inside the picture colPic covering the sample ( xCol, yM ) is assigned to mbPartIdxCol and the sub-macroblock
partition inside the partition mbPartIdxCol covering the sample ( xCol, yM ) in the macroblock mbAddrCol inside the
picture colPic is assigned to subMbPartIdxCol.


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The prediction utilization flags predFlagL0Col and predFlagL1Col are set equal to PredFlagL0[ mbPartIdxCol ] and
PredFlagL1[ mbPartIdxCol ], respectively, which are the prediction utilization flags that have been assigned to the
macroblock partition mbAddrCol\mbPartIdxCol inside the picture colPic.
The motion vector mvCol and the reference index refIdxCol are derived as follows.
– If the macroblock mbAddrCol is coded in Intra macroblock prediction mode or both prediction utilization flags,
  predFlagL0Col and predFlagL1Col are equal to 0, both components of mvCol are set equal to 0 and refIdxCol is set
  equal to –1.
– Otherwise, the following applies.
     – If predFlagL0Col is equal to 1, the motion vector mvCol and the reference index refIdxCol are set equal to
       MvL0[ mbPartIdxCol ][ subMbPartIdxCol ] and RefIdxL0[ mbPartIdxCol ], respectively, which are the motion
       vector mvL0 and the reference index refIdxL0 that have been assigned to the (sub-)macroblock partition
       mbAddrCol\mbPartIdxCol\subMbPartIdxCol inside the picture colPic.
     – Otherwise (predFlagL0Col is equal to 0 and predFlagL1Col is equal to 1), the motion vector mvCol and the
       reference index refIdxCol are set equal to MvL1[ mbPartIdxCol ][ subMbPartIdxCol ] and
       RefIdxL1[ mbPartIdxCol ], respectively, which are the motion vector mvL1 and the reference index refIdxL1
       that have been assigned to the (sub-)macroblock partition mbAddrCol\mbPartIdxCol\subMbPartIdxCol inside
       the picture colPic.

8.4.1.2.2 Derivation process for spatial direct luma motion vector and reference index prediction mode
This process is invoked when direct_spatial_mv_pred_flag is equal to 1 and any of the following conditions is true.
      –     mb_type is equal to B_Skip
      –     mb_type is equal to B_Direct_16x16
      –     sub_mb_type[ mbPartIdx ] is equal to B_Direct_8x8.
Inputs to this process are mbPartIdx, subMbPartIdx.
Outputs of this process are the reference indices refIdxL0, refIdxL1, the motion vectors mvL0 and mvL1, the sub-
partition motion vector count subMvCnt, and the prediction list utilization flags, predFlagL0 and predFlagL1.
The reference indices refIdxL0 and refIdxL1 and the variable directZeroPredictionFlag are derived by applying the
following ordered steps.
1.    Let the variable currSubMbType be set equal to sub_mb_type[ mbPartIdx ].
2.    The process specified in subclause 8.4.1.3.2 is invoked with mbPartIdx = 0, subMbPartIdx = 0, currSubMbType,
      and listSuffixFlag = 0 as inputs and the output is assigned to the motion vectors mvL0N and the reference indices
      refIdxL0N with N being replaced by A, B, or C.
3.    The process specified in subclause 8.4.1.3.2 is invoked with mbPartIdx = 0, subMbPartIdx = 0, currSubMbType,
      and listSuffixFlag = 1 as inputs and the output is assigned to the motion vectors mvL1N and the reference indices
      refIdxL1N with N being replaced by A, B, or C.
     NOTE 1 – The motion vectors mvL0N, mvL1N and the reference indices refIdxL0N, refIdxL1N are identical for all 4x4 sub-
     macroblock partitions of a macroblock.
4.    The reference indices refIdxL0, refIdxL1, and directZeroPredictionFlag are derived by

          refIdxL0 = MinPositive( refIdxL0A, MinPositive( refIdxL0B, refIdxL0C ) )                                  (8-181)
          refIdxL1 = MinPositive( refIdxL1A, MinPositive( refIdxL1B, refIdxL1C ) )                                  (8-182)
          directZeroPredictionFlag = 0                                                                              (8-183)


      where

                                Min( x, y ) if x >= 0 and y >= 0                                                   (8-184)
          MinPositive( x, y ) = 
                                Max( x, y ) otherwise




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5.    When both reference indices refIdxL0 and refIdxL1 are less than 0,

        refIdxL0 = 0                                                                                                            (8-185)
        refIdxL1 = 0                                                                                                            (8-186)
        directZeroPredictionFlag = 1                                                                                            (8-187)


The process specified in subclause 8.4.1.2.1 is invoked with mbPartIdx, subMbPartIdx given as input and the output is
assigned to refIdxCol and mvCol.
The variable colZeroFlag is derived as follows.
–     If all of the following conditions are true, colZeroFlag is set equal to 1.
      – RefPicList1[ 0 ] is currently marked as "used for short-term reference".
      – refIdxCol is equal to 0
      – both motion vector components mvCol[ 0 ] and mvCol[ 1 ] lie in the range of -1 to 1 in units specified as
        follows.
           – If the co-located macroblock is a frame macroblock, the units of mvCol[ 0 ] and mvCol[ 1 ] are units of
             quarter luma frame samples.
           – Otherwise (the co-located macroblock is a field macroblock), the units of mvCol[ 0 ] and mvCol[ 1 ] are
             units of quarter luma field samples.
     NOTE 2 – For purposes of determining the condition above, the value mvCol[ 1 ] is not scaled to use the units of a motion vector
     for the current macroblock in cases when the current macroblock is a frame macroblock and the co-located macroblock is a field
     macroblock or when the current macroblock is a field macroblock and the co-located macroblock is a frame macroblock. This
     aspect differs from the use of mvCol[ 1 ] in the temporal direct mode as specified in subclause 8.4.1.2.3, which applies scaling to
     the motion vector of the co-located macroblock to use the same units as the units of a motion vector for the current macroblock,
     using Equation 8-190 or Equation 8-191 in these cases.
– Otherwise, colZeroFlag is set equal to 0.
The motion vectors mvLX (with X being 0 or 1) are derived as follows.
– If any of the following conditions is true, both components of the motion vector mvLX are set equal to 0.
     – directZeroPredictionFlag is equal to 1
     – refIdxLX is less than 0
     – refIdxLX is equal to 0 and colZeroFlag is equal to 1
– Otherwise, the process specified in subclause 8.4.1.3 is invoked with mbPartIdx = 0, subMbPartIdx = 0, refIdxLX,
  and currSubMbType as inputs and the output is assigned to mvLX.
                NOTE 3 – The motion vector mvLX returned from subclause 8.4.1.3 is identical for all 4x4 sub-macroblock partitions
                of a macroblock for which the process is invoked.
The prediction utilization flags predFlagL0 and predFlagL1 are derived as specified using Table 8-9.

                                    Table 8-9 – Assignment of prediction utilization flags

              refIdxL0                    refIdxL1                   predFlagL0                  predFlagL1
              >= 0                        >= 0                        1                          1
              >= 0                        <0                          1                          0
              <0                          >= 0                        0                          1


The variable subMvCnt is derived as follows.
– If subMbPartIdx is not equal to 0 or direct_8x8_inference_flag is equal to 0, subMvCnt is set equal to 0.
– Otherwise (subMbPartIdx is equal to 0 and direct_8x8_inference_flag is equal to 1), subMvCnt is set equal to
  predFlagL0 + predFLagL1.




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8.4.1.2.3 Derivation process for temporal direct luma motion vector and reference index prediction mode
This process is invoked when direct_spatial_mv_pred_flag is equal to 0 and any of the following conditions is true.
      –     mb_type is equal to B_Skip
      –     mb_type is equal to B_Direct_16x16
      –     sub_mb_type[ mbPartIdx ] is equal to B_Direct_8x8.
Inputs to this process are mbPartIdx and subMbPartIdx.
Outputs of this process are the motion vectors mvL0 and mvL1, the reference indices refIdxL0 and refIdxL1, and the
prediction list utilization flags, predFlagL0 and predFlagL1.
The process specified in subclause 8.4.1.2.1 is invoked with mbPartIdx, subMbPartIdx given as input and the output is
assigned to colPic, mbAddrCol, mvCol, refIdxCol, and vertMvScale.

The reference indices refIdxL0 and refIdxL1 are derived as follows.

          refIdxL0 = ( ( refIdxCol < 0 ) ? 0 : MapColToList0( refIdxCol ) )                                                      (8-188)


          refIdxL1 = 0                                                                                                           (8-189)

   NOTE 1 – If the current macroblock is a field macroblock, refIdxL0 and refIdxL1 index a list of fields; otherwise (the current
   macroblock is a frame macroblock), refIdxL0 and refIdxL1 index a list of frames or complementary reference field pairs.

Let refPicCol be a frame, a field, or a complementary field pair that was referred by the reference index refIdxCol when
decoding the co-located macroblock mbAddrCol inside the picture colPic. The function MapColToList0( refIdxCol ) is
specified as follows.
– If vertMvScale is equal to One_To_One, the following applies.
   –       If field_pic_flag is equal to 0 and the current macroblock is a field macroblock, the following applies.
            –      Let refIdxL0Frm be the lowest valued reference index in the current reference picture list RefPicList0
                   that references the frame or complementary field pair that contains the field refPicCol. RefPicList0 shall
                   contain a frame or complementary field pair that contains the field refPicCol. The return value of
                   MapColToList0( ) is specified as follows.
                   –    If the field referred to by refIdxCol has the same parity as the current macroblock,
                        MapColToList0( refIdxCol ) returns the reference index ( refIdxL0Frm << 1 ).
                   –    Otherwise (the field referred by refIdxCol has the opposite parity of the current macroblock),
                        MapColToList0( refIdxCol) returns the reference index ( ( refIdxL0Frm << 1 ) + 1 ).
   –       Otherwise (field_pic_flag is equal to 1 or the current macroblock is a frame macroblock), MapColToList0(
           refIdxCol ) returns the lowest valued reference index refIdxL0 in the current reference picture list RefPicList0
           that references refPicCol. RefPicList0 shall contain refPicCol.
– Otherwise, if vertMvScale is equal to Frm_To_Fld, the following applies.
   –       If field_pic_flag is equal to 0, let refIdxL0Frm be the lowest valued reference index in the current reference
           picture list RefPicList0 that references refPicCol. MapColToList0( refIdxCol ) returns the reference index
           ( refIdxL0Frm << 1 ). RefPicList0 shall contain refPicCol.
   –       Otherwise (field_pic_flag is equal to 1), MapColToList0( refIdxCol ) returns the lowest valued reference index
           refIdxL0 in the current reference picture list RefPicList0 that references the field of refPicCol with the same
           parity as the current picture CurrPic. RefPicList0 shall contain the field of refPicCol with the same parity as the
           current picture CurrPic.
– Otherwise (vertMvScale is equal to Fld_To_Frm), MapColToList0( refIdxCol ) returns the lowest valued reference
  index refIdxL0 in the current reference picture list RefPicList0 that references the frame or complementary field pair
  that contains refPicCol. RefPicList0 shall contain a frame or complementary field pair that contains the field
  refPicCol.
                 NOTE 2 – A decoded reference picture that was marked as "used for short-term reference" when it was referenced in
                 the decoding process of the picture containing the co-located macroblock may have been modified to be marked as
                 "used for long-term reference" before being used for reference for inter prediction using the direct prediction mode for
                 the current macroblock.




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Depending on the value of vertMvScale the vertical component of mvCol is modified as follows.
– If vertMvScale is equal to Frm_To_Fld

               mvCol[ 1 ] = mvCol[ 1 ] / 2                                                                                      (8-190)


– Otherwise, if vertMvScale is equal to Fld_To_Frm

               mvCol[ 1 ] = mvCol[ 1 ] * 2                                                                                      (8-191)


– Otherwise (vertMvScale is equal to One_To_One), mvCol[ 1 ] remains unchanged.
The variables currPicOrField, pic0, and pic1, are derived as follows.
– If field_pic_flag is equal to 0 and the current macroblock is a field macroblock, the following applies.
    –      currPicOrField is the field of the current picture CurrPic that has the same parity as the current macroblock.
    –      pic1 is the field of RefPicList1[ 0 ] that has the same parity as the current macroblock.
    –      The variable pic0 is derived as follows.
           –      If refIdxL0 % 2 is equal to 0, pic0 is the field of RefPicList0[ refIdxL0 / 2 ] that has the same parity as the
                  current macroblock.
           –      Otherwise (refIdxL0 % 2 is not equal to 0), pic0 is the field of RefPicList0[ refIdxL0 / 2 ] that has the
                  opposite parity of the current macroblock.
– Otherwise (field_pic_flag is equal to 1 or the current macroblock is a frame macroblock), currPicOrField is the
  current picture CurrPic, pic1 is the decoded reference picture RefPicList1[ 0 ], and pic0 is the decoded reference
  picture RefPicList0[ refIdxL0 ].
The two motion vectors mvL0 and mvL1 for each 4x4 sub-macroblock partition of the current macroblock are derived
as follows:
                  NOTE 3 – It is often the case that many of the 4x4 sub-macroblock partitions share the same motion vectors and
                  reference pictures. In these cases, temporal direct mode motion compensation can calculate the inter prediction sample
                  values in larger units than 4x4 luma sample blocks. For example, when direct_8x8_inference_flag is equal to 1, at
                  least each 8x8 luma sample quadrant of the macroblock shares the same motion vectors and reference pictures.
–       If the reference index refIdxL0 refers to a long-term reference picture, or DiffPicOrderCnt( pic1, pic0 ) is equal
        to 0, the motion vectors mvL0, mvL1 for the direct mode partition are derived by

           mvL0 = mvCol                                                                                                         (8-192)


           mvL1 = 0                                                                                                             (8-193)

–       Otherwise, the motion vectors mvL0, mvL1 are derived as scaled versions of the motion vector mvCol of the co-
        located sub-macroblock partition as specified below (see Figure 8-2)

           tx = ( 16 384 + Abs( td / 2 ) ) / td                                                                                 (8-194)


           DistScaleFactor = Clip3( -1024, 1023, ( tb * tx + 32 ) >> 6 )                                                        (8-195)


           mvL0 = ( DistScaleFactor * mvCol + 128 ) >> 8                                                                        (8-196)


           mvL1 = mvL0 – mvCol                                                                                                  (8-197)

           where tb and td are derived as follows.

           tb = Clip3( -128, 127, DiffPicOrderCnt( currPicOrField, pic0 ) )                                                     (8-198)


           td = Clip3( -128, 127, DiffPicOrderCnt( pic1, pic0 ) )                                                               (8-199)



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              NOTE 4 – mvL0 and mvL1 cannot exceed the ranges specified in Annex A.

The prediction utilization flags predFlagL0 and predFlagL1 are both set equal to 1.
Figure 8-2 illustrates the temporal direct-mode motion vector inference when the current picture is temporally between
the reference picture from reference picture list 0 and the reference picture from reference picture list 1.


                              List 0 Reference                                Current B                 List 1 Reference




                                                             ......
                                                                      mvCol

                                                 mvL0
                                                                                          co-located partition




                                                                                              mvL1
                                                    direct-mode B partition


                                                        td

                                                        tb


                                                                                                                       time




               Figure 8-2 – Example for temporal direct-mode motion vector inference (informative)




8.4.1.3    Derivation process for luma motion vector prediction
Inputs to this process are
–     the macroblock partition index mbPartIdx,
–     the sub-macroblock partition index subMbPartIdx,
–     the reference index of the current partition refIdxLX (with X being 0 or 1),
–     the variable currSubMbType.
Output of this process is the prediction mvpLX of the motion vector mvLX (with X being 0 or 1).
The derivation process for the neighbouring blocks for motion data in subclause 8.4.1.3.2 is invoked with mbPartIdx,
subMbPartIdx, currSubMbType, and listSuffixFlag = X (with X being 0 or 1 for refIdxLX being refIdxL0 or refIdxL1,
respectively) as the input and with mbAddrN\mbPartIdxN\subMbPartIdxN, reference indices refIdxLXN and the
motion vectors mvLXN with N being replaced by A, B, or C as the output.
The derivation process for median luma motion vector prediction in subclause 8.4.1.3.1 is invoked with
mbAddrN\mbPartIdxN\subMbPartIdxN, mvLXN, refIdxLXN with N being replaced by A, B, or C and refIdxLX as the
input and mvpLX as the output, unless one of the following is true.
– MbPartWidth( mb_type ) is equal to 16, MbPartHeight( mb_type ) is equal to 8, mbPartIdx is equal to 0, and
  refIdxLXB is equal to refIdxLX,

           mvpLX = mvLXB                                                                                                         (8-200)


– MbPartWidth( mb_type ) is equal to 16, MbPartHeight( mb_type ) is equal to 8, mbPartIdx is equal to 1, and
  refIdxLXA is equal to refIdxLX,

           mvpLX = mvLXA                                                                                                         (8-201)


– MbPartWidth( mb_type ) is equal to 8, MbPartHeight( mb_type ) is equal to 16, mbPartIdx is equal to 0, and
  refIdxLXA is equal to refIdxLX,

           mvpLX = mvLXA                                                                                                         (8-202)

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– MbPartWidth( mb_type ) is equal to 8, MbPartHeight( mb_type ) is equal to 16, mbPartIdx is equal to 1, and
  refIdxLXC is equal to refIdxLX,

          mvpLX = mvLXC                                                                                         (8-203)


Figure 8-3 illustrates the non-median prediction as described above.




                             Figure 8-3 – Directional segmentation prediction (informative)




8.4.1.3.1 Derivation process for median luma motion vector prediction
Inputs to this process are
– the neighbouring partitions mbAddrN\mbPartIdxN\subMbPartIdxN (with N being replaced by A, B, or C),
– the motion vectors mvLXN (with N being replaced by A, B, or C) of the neighbouring partitions,
– the reference indices refIdxLXN (with N being replaced by A, B, or C) of the neighbouring partitions, and
– the reference index refIdxLX of the current partition.
Output of this process is the motion vector prediction mvpLX.
The variable mvpLX is derived as follows:
– When both partitions mbAddrB\mbPartIdxB\subMbPartIdxB and mbAddrC\mbPartIdxC\subMbPartIdxC are not
  available and mbAddrA\mbPartIdxA\subMbPartIdxA is available,

       mvLXB = mvLXA                                                                                            (8-204)


       mvLXC = mvLXA                                                                                            (8-205)


       refIdxLXB = refIdxLXA                                                                                    (8-206)


       refIdxLXC = refIdxLXA                                                                                    (8-207)


– Depending on reference indices refIdxLXA, refIdxLXB, or refIdxLXC, the following applies.
   – If one and only one of the reference indices refIdxLXA, refIdxLXB, or refIdxLXC is equal to the reference
     index refIdxLX of the current partition, the following applies. Let refIdxLXN be the reference index that is equal
     to refIdxLX, the motion vector mvLXN is assigned to the motion vector prediction mvpLX:

       mvpLX = mvLXN                                                                                            (8-208)


   – Otherwise, each component of the motion vector prediction mvpLX is given by the median of the corresponding
     vector components of the motion vector mvLXA, mvLXB, and mvLXC:

       mvpLX[ 0 ] = Median( mvLXA[ 0 ], mvLXB[ 0 ], mvLXC[ 0 ] )                                                (8-209)



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       mvpLX[ 1 ] = Median( mvLXA[ 1 ], mvLXB[ 1 ], mvLXC[ 1 ] )                                             (8-210)


8.4.1.3.2 Derivation process for motion data of neighbouring partitions
Inputs to this process are
– the macroblock partition index mbPartIdx,
– the sub-macroblock partition index subMbPartIdx,
– the current sub-macroblock type currSubMbType,
– the list suffix flag listSuffixFlag
Outputs of this process are (with N being replaced by A, B, or C)
– mbAddrN\mbPartIdxN\subMbPartIdxN specifying neighbouring partitions,
– the motion vectors mvLXN of the neighbouring partitions, and
– the reference indices refIdxLXN of the neighbouring partitions.
Variable names that include the string "LX" are interpreted with the X being equal to listSuffixFlag.
The partitions mbAddrN\mbPartIdxN\subMbPartIdxN with N being either A, B, or C are derived in the following
ordered steps.
1. Let mbAddrD\mbPartIdxD\subMbPartIdxD be variables specifying an additional neighbouring partition.
2. The process in subclause 6.4.8.5 is invoked with mbPartIdx, currSubMbType, and subMbPartIdx as input and the
   output is assigned to mbAddrN\mbPartIdxN\subMbPartIdxN with N being replaced by A, B, C, or D.
3. When the partition mbAddrC\mbPartIdxC\subMbPartIdxC is not available, the following applies

         mbAddrC = mbAddrD                                                                                   (8-211)


         mbPartIdxC = mbPartIdxD                                                                             (8-212)


         subMbPartIdxC = subMbPartIdxD                                                                       (8-213)


The motion vectors mvLXN and reference indices refIdxLXN (with N being A, B, or C) are derived as follows.
– If the macroblock partition or sub-macroblock partition mbAddrN\mbPartIdxN\subMbPartIdxN is not available or
  mbAddrN is coded in Intra prediction mode or predFlagLX of mbAddrN\mbPartIdxN\subMbPartIdxN is equal to 0,
  both components of mvLXN are set equal to 0 and refIdxLXN is set equal to –1.
– Otherwise, the following applies.
   – The    motion  vector   mvLXN       and  reference  index    refIdxLXN       are   set  equal   to
     MvLX[ mbPartIdxN ][ subMbPartIdxN ] and RefIdxLX[ mbPartIdxN ], respectively, which are the motion
     vector mvLX and reference index refIdxLX that have been assigned to the (sub-)macroblock partition
     mbAddrN\mbPartIdxN\subMbPartIdxN.
   – The variables mvLXN[ 1 ] and refIdxLXN are further processed as follows.
        – If the current macroblock is a field macroblock and the macroblock mbAddrN is a frame macroblock

          mvLXN[ 1 ] = mvLXN[ 1 ] / 2                                                                        (8-214)


          refIdxLXN = refIdxLXN * 2                                                                          (8-215)


        – Otherwise, if the current macroblock is a frame macroblock and the macroblock mbAddrN is a field
          macroblock

          mvLXN[ 1 ] = mvLXN[ 1 ] * 2                                                                        (8-216)



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            refIdxLXN = refIdxLXN / 2                                                                                       (8-217)


          – Otherwise, the vertical motion vector component mvLXN[ 1 ] and the reference index refIdxLXN remain
            unchanged.

8.4.1.4     Derivation process for chroma motion vectors
This process is only invoked when chroma_format_idc is not equal to 0 (monochrome).
Inputs to this process are a luma motion vector mvLX and a reference index refIdxLX.
Output of this process is a chroma motion vector mvCLX.
A chroma motion vector is derived from the corresponding luma motion vector.
The precision of the chroma                motion    vector    components      is   1 ÷ ( 4 * SubWidthC )        horizontally   and
1 ÷ ( 4 * SubHeightC ) vertically.
    NOTE – For example, when using the 4:2:0 chroma format, since the units of luma motion vectors are one-quarter luma sample
    units and chroma has half horizontal and vertical resolution compared to luma, the units of chroma motion vectors are one-eighth
    chroma sample units, i.e., a value of 1 for the chroma motion vector refers to a one-eighth chroma sample displacement. For
    example, when the luma vector applies to 8x16 luma samples, the corresponding chroma vector in 4:2:0 chroma format applies
    to 4x8 chroma samples and when the luma vector applies to 4x4 luma samples, the corresponding chroma vector in 4:2:0 chroma
    format applies to 2x2 chroma samples.
For the derivation of the motion vector mvCLX, the following applies.
–    If chroma_format_idc is not equal to 1 or the current macroblock is a frame macroblock, the horizontal and vertical
     components of the chroma motion vector mvCLX are derived as

           mvCLX[ 0 ] = mvLX[ 0 ]                                                                                           (8-218)
           mvCLX[ 1 ] = mvLX[ 1 ]                                                                                           (8-219)


–    Otherwise (chroma_format_idc is equal to 1 and the current macroblock is a field macroblock), only the horizontal
     component of the chroma motion vector mvCLX[ 0 ] is derived using Equation 8-218. The vertical component of
     the chroma motion vector mvCLX[ 1 ] is dependent on the parity of the current field or the current macroblock and
     the reference picture, which is referred by the reference index refIdxLX. mvCLX[ 1 ] is derived from mvLX[ 1 ]
     according to Table 8-10.

             Table 8-10 – Derivation of the vertical component of the chroma vector in field coding mode

                   Parity conditions                                                             mvCLX[ 1 ]

                   Reference picture (refIdxLX)           Current field (picture/macroblock)

                   Top field                              Bottom field                           mvLX[ 1 ] + 2

                   Bottom field                           Top field                              mvLX[ 1 ] – 2

                   Otherwise                                                                     mvLX[ 1 ]



8.4.2      Decoding process for Inter prediction samples
Inputs to this process are
–    a macroblock partition mbPartIdx,
–    a sub-macroblock partition subMbPartIdx.
–    variables specifying partition width and height for luma and chroma (if available), partWidth, partHeight,
     partWidthC (if available) and partHeightC (if available)
–    luma motion vectors mvL0 and mvL1 and when chroma_format_idc is not equal to 0 (monochrome) chroma
     motion vectors mvCL0 and mvCL1
–    reference indices refIdxL0 and refIdxL1



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–     prediction list utilization flags, predFlagL0 and predFlagL1
Outputs of this process are
– the Inter prediction samples predPart, which are a (partWidth)x(partHeight) array predPartL of prediction luma
  samples, and when chroma_format_idc is not equal to 0 (monochrome) two (partWidthC)x(partHeightC) arrays
  predPartCb, predPartCr of prediction chroma samples, one for each of the chroma components Cb and Cr.
Let predPartL0L and predPartL1L be (partWidth)x(partHeight) arrays of predicted luma sample values and when
chroma_format_idc is not equal to 0 (monochrome) predPartL0Cb, predPartL1Cb, predPartL0Cr, and predPartL1Cr be
(partWidthC)x(partHeightC) arrays of predicted chroma sample values.
For LX being replaced by either L0 or L1 in the variables predFlagLX, RefPicListX, refIdxLX, refPicLX, predPartLX,
the following is specified.
When predFlagLX is equal to 1, the following applies.
–     The reference picture consisting of an ordered two-dimensional array refPicLXL of luma samples and when
      chroma_format_idc is not equal to 0 (monochrome) two ordered two-dimensional arrays refPicLXCb and
      refPicLXCr of chroma samples is derived by invoking the process specified in subclause 8.4.2.1 with refIdxLX and
      RefPicListX given as input.
–     The array predPartLXL and when chroma_format_idc is not equal to 0 (monochrome) the arrays predPartLXCb and
      predPartLXCr are derived by invoking the process specified in subclause 8.4.2.2 with the current partition specified
      by mbPartIdx\subMbPartIdx, the motion vectors mvLX, mvCLX (if available), and the reference arrays with
      refPicLXL, refPicLXCb (if available), and refPicLXCr (if available) given as input.
For C being replaced by L, Cb (if available), or Cr (if available), the array predPartC of the prediction samples of
component C is derived by invoking the process specified in subclause 8.4.2.3 with the current partition specified by
mbPartIdx and subMbPartIdx and the array predPartL0C and predPartL1C as well as predFlagL0 and predFlagL1 given
as input.

8.4.2.1     Reference picture selection process
Input to this process is a reference index refIdxLX.
Output of this process is a reference picture consisting of a two-dimensional array of luma samples refPicLXL and two
two-dimensional arrays of chroma samples refPicLXCb and refPicLXCr.
Depending on field_pic_flag, the reference picture list RefPicListX (which has been derived as specified in
subclause 8.2.4) consists of the following.
– If field_pic_flag is equal to 1, each entry of RefPicListX is a reference field or a field of a reference frame.
– Otherwise (field_pic_flag is equal to 0), each entry of RefPicListX is a reference frame or a complementary
  reference field pair.
For the derivation of the reference picture, the following applies.
– If field_pic_flag is equal to 1, the reference field or field of a reference frame RefPicListX[ refIdxLX ] is the output.
  The output reference field or field of a reference frame consists of a (PicWidthInSamplesL)x(PicHeightInSamplesL)
  array of luma samples refPicLXL and, when chroma_format_idc is not equal to 0 (monochrome), two
  (PicWidthInSamplesC)x(PicHeightInSamplesC) arrays of chroma samples refPicLXCb and refPicLXCr.
– Otherwise (field_pic_flag is equal to 0), the following applies.
    – If the current macroblock is a frame macroblock, the reference frame or complementary reference field pair
      RefPicListX[ refIdxLX ] is the output. The output reference frame or complementary reference field pair
      consists of a (PicWidthInSamplesL)x(PicHeightInSamplesL) array of luma samples refPicLXL and, when
      chroma_format_idc is not equal to 0 (monochrome), two (PicWidthInSamplesC)x(PicHeightInSamplesC) arrays
      of chroma samples refPicLXCb and refPicLXCr.
    – Otherwise (the current macroblock is a field macroblock), the following applies.
          – Let refFrame be the reference frame or complementary reference field pair RefPicListX[ refIdxLX / 2 ].
          – The field of refFrame is selected as follows.
              – If refIdxLX % 2 is equal to 0, the field of refFrame that has the same parity as the current macroblock is
                the output.




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              – Otherwise (refIdxLX % 2 is equal to 1), the field of refFrame that has the opposite parity as the current
                macroblock is the output.
          – The     output    reference    field  or     field  of  a    reference  frame    consists   of     a
            (PicWidthInSamplesL)x(PicHeightInSamplesL / 2) array of luma samples refPicLXL and, when
            chroma_format_idc is not equal to 0 (monochrome), two (PicWidthInSamplesC)x(PicHeightInSamplesC / 2)
            arrays of chroma samples refPicLXCb and refPicLXCr.
The reference picture sample arrays refPicLXL, refPicLXCb (if available), and refPicLXCr (if available) correspond to
decoded sample arrays SL, SCb (if available), SCr (if available) derived in subclause 8.7 for a previously-decoded
reference field or reference frame or complementary reference field pair or field of a reference frame.

8.4.2.2     Fractional sample interpolation process
Inputs to this process are
–    the current partition given by its partition index mbPartIdx and its sub-macroblock partition index subMbPartIdx,
–    the width and height partWidth, partHeight of this partition in luma-sample units,
–    a luma motion vector mvLX given in quarter-luma-sample units,
–    a chroma motion vector mvCLX given in eighth-chroma-sample units, and
–    the selected reference picture sample arrays refPicLXL, refPicLXCb, and refPicLXCb
Outputs of this process are
–    a (partWidth)x(partHeight) array predPartLXL of prediction luma sample values and
–    when chroma_format_idc is not equal to 0 (monochrome) two (partWidthC)x(partHeightC) arrays predPartLXCb,
     and predPartLXCr of prediction chroma sample values.
Let ( xAL, yAL ) be the location given in full-sample units of the upper-left luma sample of the current partition given
by mbPartIdx\subMbPartIdx relative to the upper-left luma sample location of the given two-dimensional array of luma
samples.
Let ( xIntL, yIntL ) be a luma location given in full-sample units and ( xFracL, yFracL ) be an offset given in quarter-
sample units. These variables are used only inside this subclause for specifying general fractional-sample locations
inside the reference sample arrays refPicLXL, refPicLXCb (if available), and refPicLXCr (if available).
For each luma sample location (0 <= xL < partWidth, 0 <= yL < partHeight) inside the prediction luma sample array
predPartLXL, the corresponding prediction luma sample value predPartLXL[ xL, yL ] is derived as follows:
–    The variables xIntL, yIntL, xFracL, and yFracL are derived by

            xIntL = xAL + ( mvLX[ 0 ] >> 2 ) + xL                                                                 (8-220)
            yIntL = yAL + ( mvLX[ 1 ] >> 2 ) + yL                                                                 (8-221)


            xFracL = mvLX[ 0 ] & 3                                                                                (8-222)
            yFracL = mvLX[ 1 ] & 3                                                                                (8-223)


–    The prediction luma sample value predPartLXL[ xL, yL ] is derived by invoking the process specified in
     subclause 8.4.2.2.1 with ( xIntL, yIntL ), ( xFracL, yFracL ) and refPicLXL given as input.
When chroma_format_idc is not equal to 0 (monochrome), the following applies.
Let ( xIntC, yIntC ) be a chroma location given in full-sample units and ( xFracC, yFracC ) be an offset given in one-
eighth sample units. These variables are used only inside this subclause for specifying general fractional-sample
locations inside the reference sample arrays refPicLXCb, and refPicLXCr.
For each chroma sample location (0 <= xC < partWidthC, 0 <= yC < partHeightC) inside the prediction chroma sample
arrays predPartLXCb and predPartLXCr, the corresponding prediction chroma sample values predPartLXCb[ xC, yC ] and
predPartLXCr[ xC, yC ] are derived as follows:
–    Depending on chroma_format_idc, the variables xIntC, yIntC, xFracC, and yFracC are derived as follows.
     – If chroma_format_idc is equal to 1,




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           xIntC = ( xAL / SubWidthC ) + ( mvCLX[ 0 ] >> 3 ) + xC                                          (8-224)
           yIntC = ( yAL / SubHeightC ) + ( mvCLX[ 1 ] >> 3 ) + yC                                         (8-225)


           xFracC = mvCLX[ 0 ] & 7                                                                         (8-226)
           yFracC = mvCLX[ 1 ] & 7                                                                         (8-227)


      – Otherwise, if chroma_format_idc is equal to 2,

           xIntC = ( xAL / SubWidthC ) + ( mvCLX[ 0 ] >> 3 ) + xC                                          (8-228)
           yIntC = ( yAL / SubHeightC ) + ( mvCLX[ 1 ] >> 2 ) + yC                                         (8-229)


           xFracC = mvCLX[ 0 ] & 7                                                                         (8-230)
           yFracC = ( mvCLX[ 1 ] & 3 ) << 1                                                                (8-231)


      – Otherwise (chroma_format_idc is equal to 3),

           xIntC = ( xAL / SubWidthC ) + ( mvCLX[ 0 ] >> 2 ) + xC                                          (8-232)
           yIntC = ( yAL / SubHeightC ) + ( mvCLX[ 1 ] >> 2 ) + yC                                         (8-233)


           xFracC = ( mvCLX[ 0 ] & 3 ) << 1                                                                (8-234)
           yFracC = ( mvCLX[ 1 ] & 3 ) << 1                                                                (8-235)


–     The prediction sample value predPartLXCb[ xC, yC ] is derived by invoking the process specified in subclause
      8.4.2.2.2 with ( xIntC, yIntC ), ( xFracC, yFracC ) and refPicLXCb given as input.
–     The prediction sample value predPartLXCr[ xC, yC ] is derived by invoking the process specified in subclause
      8.4.2.2.2 with ( xIntC, yIntC ), ( xFracC, yFracC ) and refPicLXCr given as input.

8.4.2.2.1 Luma sample interpolation process
Inputs to this process are
–     a luma location in full-sample units ( xIntL, yIntL ),
–     a luma location offset in fractional-sample units ( xFracL, yFracL ), and
–     the luma sample array of the selected reference picture refPicLXL
Output of this process is a predicted luma sample value predPartLXL[ xL, yL ].




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                                                        A           aa        B




                                                        C           bb        D




                        E                 F             G       a   b    c    H             I               J
                                                        d       e   f    g
                        cc                dd            h       i   j    k   m             ee               ff
                                                        n       p   q    r
                        K                 L             M           s         N             P               Q




                                                        R           gg        S




                                                        T           hh        U


Figure 8-4 – Integer samples (shaded blocks with upper-case letters) and fractional sample positions (un-shaded
                      blocks with lower-case letters) for quarter sample luma interpolation




The variable refPicHeightEffectiveL, which is the height of the effective reference picture luma array, is derived as
follows.
–   If MbaffFrameFlag is equal to 0 or mb_field_decoding_flag is equal to 0, refPicHeightEffectiveL is set equal to
    PicHeightInSamplesL.
–   Otherwise (MbaffFrameFlag is equal to 1 and mb_field_decoding_flag is equal to 1), refPicHeightEffectiveL is set
    equal to PicHeightInSamplesL / 2.
In Figure 8-4, the positions labelled with upper-case letters within shaded blocks represent luma samples at full-sample
locations inside the given two-dimensional array refPicLXL of luma samples. These samples may be used for generating
the predicted luma sample value predPartLXL[ xL, yL ]. The locations ( xZL, yZL ) for each of the corresponding luma
samples Z, where Z may be A, B, C, D, E, F, G, H, I, J, K, L, M, N, P, Q, R, S, T, or U, inside the given array
refPicLXL of luma samples are derived as follows:

       xZL = Clip3( 0, PicWidthInSamplesL – 1, xIntL + xDZL )
       yZL = Clip3( 0, refPicHeightEffectiveL – 1, yIntL + yDZL )                                                            (8-236)


Table 8-11 specifies ( xDZL, yDZL ) for different replacements of Z.

                                      Table 8-11 – Differential full-sample luma locations

Z       A    B     C         D    E      F     G    H       I       J        K    L    M        N   P   Q        R   S   T      U
xDZL    0    1     0         1    -2     -1    0    1       2       3        -2   -1   0        1   2   3        0   1   0      1
yDZL    -2   -2    -1        -1   0      0     0    0       0       0        1    1    1        1   1   1        2   2   3      3




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Given the luma samples ‘A’ to ‘U’ at full-sample locations ( xAL, yAL ) to ( xUL, yUL ), the luma samples ‘a’ to ‘s’ at
fractional sample positions are derived by the following rules. The luma prediction values at half sample positions are
derived by applying a 6-tap filter with tap values ( 1, -5, 20, 20, -5, 1 ). The luma prediction values at quarter sample
positions are derived by averaging samples at full and half sample positions. The process for each fractional position is
described below.
– The samples at half sample positions labelled b are derived by first calculating intermediate values denoted as b1 by
  applying the 6-tap filter to the nearest integer position samples in the horizontal direction. The samples at half
  sample positions labelled h are derived by first calculating intermediate values denoted as h1 by applying the 6-tap
  filter to the nearest integer position samples in the vertical direction:

       b1 = ( E – 5 * F + 20 * G + 20 * H – 5 * I + J )                                                            (8-237)
       h1 = ( A – 5 * C + 20 * G + 20 * M – 5 * R + T )                                                            (8-238)

   The final prediction values b and h are derived using:

       b = Clip1Y( ( b1 + 16 ) >> 5 )                                                                              (8-239)
       h = Clip1Y( ( h1 + 16 ) >> 5 )                                                                              (8-240)

– The samples at half sample position labelled as j are derived by first calculating intermediate value denoted as j1 by
  applying the 6-tap filter to the intermediate values of the closest half sample positions in either the horizontal or
  vertical direction because these yield an equal result.

       j1 = cc – 5 * dd + 20 * h1 + 20 * m1 – 5 * ee + ff, or                                                      (8-241)
       j1 = aa – 5 * bb + 20 * b1 + 20 * s1 – 5 * gg + hh                                                          (8-242)

   where intermediate values denoted as aa, bb, gg, s1 and hh are derived by applying the 6-tap filter horizontally in the
   same manner as the derivation of b1 and intermediate values denoted as cc, dd, ee, m1 and ff are derived by applying
   the 6-tap filter vertically in the same manner as the derivation of h1. The final prediction value j are derived using:

       j = Clip1Y( ( j1 + 512 ) >> 10 )                                                                            (8-243)

– The final prediction values s and m are derived from s1 and m1 in the same manner as the derivation of b and h, as
  given by:

       s = Clip1Y( ( s1 + 16 ) >> 5 )                                                                              (8-244)
       m = Clip1Y( ( m1 + 16 ) >> 5 )                                                                              (8-245)

– The samples at quarter sample positions labelled as a, c, d, n, f, i, k, and q are derived by averaging with upward
  rounding of the two nearest samples at integer and half sample positions using:

       a = ( G + b + 1 ) >> 1                                                                                      (8-246)
       c = ( H + b + 1 ) >> 1                                                                                      (8-247)
       d = ( G + h + 1 ) >> 1                                                                                      (8-248)
       n = ( M + h + 1 ) >> 1                                                                                      (8-249)
       f = ( b + j + 1 ) >> 1                                                                                      (8-250)
       i = ( h + j + 1 ) >> 1                                                                                      (8-251)
       k = ( j + m + 1 ) >> 1                                                                                      (8-252)
       q = ( j + s + 1 ) >> 1.                                                                                     (8-253)

– The samples at quarter sample positions labelled as e, g, p, and r are derived by averaging with upward rounding of
  the two nearest samples at half sample positions in the diagonal direction using

       e = ( b + h + 1 ) >> 1                                                                                      (8-254)
       g = ( b + m + 1 ) >> 1                                                                                      (8-255)
       p = ( h + s + 1 ) >> 1                                                                                      (8-256)
       r = ( m + s + 1 ) >> 1.                                                                                     (8-257)


The luma location offset in fractional-sample units ( xFracL, yFracL ) specifies which of the generated luma samples at
full-sample and fractional-sample locations is assigned to the predicted luma sample value predPartLXL[ xL, yL ]. This
assignment is done according to Table 8-12. The value of predPartLXL[ xL, yL ] is the output.


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                    Table 8-12 – Assignment of the luma prediction sample predPartLXL[ xL, yL ]

xFracL                    0     0     0      0     1      1      1   1     2        2    2    2    3     3       3      3
yFracL                    0     1     2      3     0      1      2   3     0        1    2    3    0     1       2      3
predPartLXL[ xL, yL ]     G     d     h      n     a      e      i   p     b        f    j    q    c     g       k      r


8.4.2.2.2 Chroma sample interpolation process
This process shall only be invoked when chroma_format_idc is not equal to 0 (monochrome).
Inputs to this process are
–     a chroma location in full-sample units ( xIntC, yIntC ),
–     a chroma location offset in fractional-sample units ( xFracC, yFracC ), and
–     chroma component samples from the selected reference picture refPicLXC.
Output of this process is a predicted chroma sample value predPartLXC[ xC, yC ].
In Figure 8-5, the positions labelled with A, B, C, and D represent chroma samples at full-sample locations inside the
given two-dimensional array refPicLXC of chroma samples.




    Figure 8-5 – Fractional sample position dependent variables in chroma interpolation and surrounding integer
                                           position samples A, B, C, and D




The variable refPicHeightEffectiveC, which is the height of the effective reference picture chroma array, is derived as
follows.
–     If MbaffFrameFlag is equal to 0 or mb_field_decoding_flag is equal to 0, refPicHeightEffectiveC is set equal to
      PicHeightInSamplesC.
–     Otherwise (MbaffFrameFlag is equal to 1 and mb_field_decoding_flag is equal to 1), refPicHeightEffectiveC is set
      equal to PicHeightInSamplesC / 2.
The sample coordinates specified in Equations 8-258 through 8-265 are used for generating the predicted chroma
sample value predPartLXC[ xC, yC ].

         xAC = Clip3( 0, PicWidthInSamplesC – 1, xIntC )                                                             (8-258)
         xBC = Clip3( 0, PicWidthInSamplesC – 1, xIntC + 1 )                                                         (8-259)
         xCC = Clip3( 0, PicWidthInSamplesC – 1, xIntC )                                                             (8-260)
         xDC = Clip3( 0, PicWidthInSamplesC – 1, xIntC + 1 )                                                         (8-261)


         yAC = Clip3( 0, refPicHeightEffectiveC – 1, yIntC )                                                         (8-262)
         yBC = Clip3( 0, refPicHeightEffectiveC – 1, yIntC )                                                         (8-263)
         yCC = Clip3( 0, refPicHeightEffectiveC – 1, yIntC + 1 )                                                     (8-264)
         yDC = Clip3( 0, refPicHeightEffectiveC – 1, yIntC + 1 )                                                     (8-265)



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Given the chroma samples A, B, C, and D at full-sample locations specified in Equations 8-258 through 8-265, the
predicted chroma sample value predPartLXC[ xC, yC ] is derived as follows:

           predPartLXC[ xC, yC ] = ( ( 8 – xFracC ) * ( 8 – yFracC ) * A + xFracC * ( 8 – yFracC ) * B +
                                     ( 8 – xFracC ) * yFracC * C         + xFracC * yFracC * D         + 32 ) >> 6   (8-266)


8.4.2.3    Weighted sample prediction process
Inputs to this process are
–     mbPartIdx: the current partition given by the partition index
–     subMbPartIdx: the sub-macroblock partition index
–     predFlagL0 and predFlagL1: prediction list utilization flags
–     predPartLXL: a (partWidth)x(partHeight) array of prediction luma samples (with LX being replaced by L0 or L1
      depending on predFlagL0 and predFlagL1)
–     when chroma_format_idc is not equal to 0 (monochrome), predPartLXCb and predPartLXCr:
      (partWidthC)x(partHeightC) arrays of prediction chroma samples, one for each of the chroma components Cb and
      Cr (with LX being replaced by L0 or L1 depending on predFlagL0 and predFlagL1)
Outputs of this process are
–     predPartL: a (partWidth)x(partHeight) array of prediction luma samples and
–     when chroma_format_idc is not equal to 0 (monochrome), predPartCb, and predPartCr: (partWidthC)x(partHeightC)
      arrays of prediction chroma samples, one for each of the chroma components Cb and Cr.
For macroblocks or partitions with predFlagL0 equal to 1 in P and SP slices, the following applies.
–     If weighted_pred_flag is equal to 0, the default weighted sample prediction process as described in subclause
      8.4.2.3.1 is invoked with the same inputs and outputs as the process described in this subclause.
–     Otherwise (weighted_pred_flag is equal to 1), the explicit weighted prediction process as described in subclause
      8.4.2.3.2 is invoked with the same inputs and outputs as the process described in this subclause.
For macroblocks or partitions with predFlagL0 or predFlagL1 equal to 1 in B slices, the following applies.
–     If weighted_bipred_idc is equal to 0, the default weighted sample prediction process as described in subclause
      8.4.2.3.1 is invoked with the same inputs and outputs as the process described in this subclause.
–     Otherwise, if weighted_bipred_idc is equal to 1, the explicit weighted sample prediction process as described in
      subclause 8.4.2.3.2, for macroblocks or partitions with predFlagL0 or predFlagL1 equal to 1 with the same inputs
      and outputs as the process described in this subclause.
–     Otherwise (weighted_bipred_idc is equal to 2), the following applies.
      – If predFlagL0 is equal to 1 and predFlagL1 is equal to 1, the implicit weighted sample prediction as described
        in subclause 8.4.2.3.2 is invoked with the same inputs and outputs as the process described in this subclause.
      – Otherwise (predFlagL0 or predFlagL1 are equal to 1 but not both), the default weighted sample prediction
        process as described in subclause 8.4.2.3.1 is invoked with the same inputs and outputs as the process
        described in this subclause.

8.4.2.3.1 Default weighted sample prediction process
Input to this process are the same as specified in subclause 8.4.2.3.
Output of this process are the same as specified in subclause 8.4.2.3.
Depending on the available component for which the prediction block is derived, the following applies.
–     If the luma sample prediction values predPartL[ x, y ] are derived, the following applies with C set equal to L, x set
      equal to 0 .. partWidth - 1, and y set equal to 0 .. partHeight - 1.
–     Otherwise, if the chroma Cb component sample prediction values predPartCb[ x, y ] are derived, the following
      applies with C set equal to Cb, x set equal to 0 .. partWidthC - 1, and y set equal to 0 .. partHeightC - 1.
–     Otherwise (the chroma Cr component sample prediction values predPartCr[ x, y ] are derived), the following
      applies with C set equal to Cr, x set equal to 0 .. partWidthC - 1, and y set equal to 0 .. partHeightC - 1.


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The prediction sample values are derived as follows.
–    If predFlagL0 is equal to 1 and predFlagL1 is equal to 0 for the current partition

       predPartC[ x, y ] = predPartL0C[ x, y ]                                                                     (8-267)


–    Otherwise, if predFlagL0 is equal to 0 and predFlagL1 is equal to 1 for the current partition

       predPartC[ x, y ]= predPartL1C[ x, y ]                                                                      (8-268)


–    Otherwise (predFlagL0 and predFlagL1 are equal to 1 for the current partition),

       predPartC[ x, y ] = ( predPartL0C[ x, y ] + predPartL1C[ x, y ] + 1 ) >> 1.                                 (8-269)


8.4.2.3.2 Weighted sample prediction process
Input to this process are the same as specified in subclause 8.4.2.3.
Output of this process are the same as specified in subclause 8.4.2.3.
Depending on the available component for which the prediction block is derived, the following applies.
–   If the luma sample prediction values predPartL[ x, y ] are derived, the following applies with C set equal to L, x set
    equal to 0 .. partWidth - 1, and y set equal to 0 .. partHeight - 1.
–   Otherwise, if the chroma Cb component sample prediction values predPartCb[ x, y ] are derived, the following
    applies with C set equal to Cb, x set equal to 0 .. partWidthC - 1, and y set equal to 0 .. partHeightC - 1.
–   Otherwise (the chroma Cr component sample prediction values predPartCr[ x, y ] are derived), the following applies
    with C set equal to Cr, x set equal to 0 .. partWidthC - 1, and y set equal to 0 .. partHeightC - 1.
The prediction sample values are derived as follows
–   If the partition mbPartIdx\subMbPartIdx has predFlagL0 equal to 1 and predFlagL1 equal to 0, the final predicted
    sample values predPartC[ x, y ] are derived by

       if( logWD >= 1 )
           predPartC[ x, y ] = Clip1C( ( ( predPartL0C[ x, y ] * w0 + 2logWD - 1 ) >> logWD ) + o0 )
       else                                                                                                        (8-270)
           predPartC[ x, y ] = Clip1C( predPartL0C[ x, y ] * w0 + o0 )


–   Otherwise, if the partition mbPartIdx\subMbPartIdx has predFlagL0 equal to 0 and predFlagL1 equal to 1, the final
    predicted sample values predPartC[ x, y ] are derived by

       if( logWD >= 1 )
           predPartC[ x, y ] = Clip1C( ( ( predPartL1C[ x, y ] * w1 + 2logWD - 1 ) >> logWD ) + o1 )
       else                                                                                                        (8-271)
           predPartC[ x, y ] = Clip1C( predPartL1C[ x, y ] * w1 + o1 )


–   Otherwise (the partition mbPartIdx\subMbPartIdx has both predFlagL0 and predFlagL1 equal to 1), the final
    predicted sample values predPartC[ x, y ] are derived by

       predPartC[ x, y ] = Clip1C( ( ( predPartL0C[ x, y ] * w0 + predPartL1C[ x, y ] * w1 + 2logWD ) >>
                                          ( logWD + 1 ) ) + ( ( o0 + o1 + 1 ) >> 1 ) )                             (8-272)

The variables in the above derivation for the prediction samples are derived as follows.
–   If weighted_bipred_idc is equal to 2 and the slice_type is equal to B, implicit mode weighted prediction is used as
    follows.

       logWD = 5                                                                                                   (8-273)




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       o0 = 0                                                                                                        (8-274)


       o1 = 0                                                                                                        (8-275)


   and w0 and w1 are derived as follows.


   – The variables currPicOrField, pic0, and pic1 are derived as follows:
        –       If field_pic_flag is equal to 0 and the current macroblock is a field macroblock, the following applies.
                –     currPicOrField is the field of the current picture CurrPic that has the same parity as the current
                      macroblock.
                –     The variable pic0 is derived as follows.
                      –    If refIdxL0 % 2 is equal to 0, pic0 is the field of RefPicList0[ refIdxL0 / 2 ] that has the same
                           parity as the current macroblock.
                      –    Otherwise (refIdxL0 % 2 is not equal to 0), pic0 is the field of RefPicList0[ refIdxL0 / 2 ] that
                           has the opposite parity of the current macroblock.
                –     The variable pic1 is derived as follows.
                      –    If refIdxL1 % 2 is equal to 0, pic1 is the field of RefPicList1[ refIdxL1 / 2 ] that has the same
                           parity as the current macroblock.
                      –    Otherwise (refIdxL1 % 2 is not equal to 0), pic1 is the field of RefPicList1[ refIdxL1 / 2 ] that
                           has the opposite parity of the current macroblock.
        –       Otherwise (field_pic_flag is equal to 1 or the current macroblock is a frame macroblock), currPicOrField
                is the current picture CurrPic, pic1 is RefPicList1[ refIdxL1 ], and pic0 is RefPicList0[ refIdxL0 ].
   – The variables tb, td, tx, and DistScaleFactor are derived from the values of currPicOrField, pic0, pic1 using
     Equations 8-198, 8-199, 8-194, and 8-195, respectively.
   – If DiffPicOrderCnt( pic1, pic0 ) is equal to 0 or one or both of pic1 and pic0 is marked as "used for long-term
     reference" or ( DistScaleFactor >> 2 ) < -64 or ( DistScaleFactor >> 2 ) > 128, w0 and w1 are derived as

            w0 = 32                                                                                                  (8-276)


            w1 = 32                                                                                                  (8-277)


   -   Otherwise,

            w0 = 64 – (DistScaleFactor >> 2)                                                                         (8-278)


            w1 = DistScaleFactor >> 2                                                                                (8-279)


– Otherwise (weighted_pred_flag is equal to 1 in P or SP slices or weighted_bipred_idc equal to 1 in B slices), explicit
  mode weighted prediction is used as follows.
   –     The variables refIdxL0WP and refIdxL1WP are derived as follows.
       – If MbaffFrameFlag is equal to 1 and the current macroblock is a field macroblock

                refIdxL0WP = refIdxL0 >> 1                                                                           (8-280)


                refIdxL1WP = refIdxL1 >> 1                                                                           (8-281)


       – Otherwise (MbaffFrameFlag is equal to 0 or the current macroblock is a frame macroblock),

                refIdxL0WP = refIdxL0                                                                                (8-282)



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                 refIdxL1WP = refIdxL1                                                                                         (8-283)


      – The variables logWD, w0, w1, o0, and o1 are derived as follows.
         – If C in predPartC[ x, y ] is replaced by L for luma samples

                 logWD = luma_log2_weight_denom                                                                                (8-284)


                 w0 = luma_weight_l0[ refIdxL0WP ]                                                                             (8-285)


                 w1 = luma_weight_l1[ refIdxL1WP ]                                                                             (8-286)


                 o0 = luma_offset_l0[ refIdxL0WP ] * ( 1 << ( BitDepthY – 8 ) )                                                (8-287)


                 o1 = luma_offset_l1[ refIdxL1WP ] * ( 1 << ( BitDepthY – 8 ) )                                                (8-288)


         – Otherwise (C in predPartC[ x, y ] is replaced by Cb or Cr for chroma samples, with iCbCr = 0 for Cb,
           iCbCr = 1 for Cr),

                 logWD = chroma_log2_weight_denom                                                                              (8-289)


                 w0 = chroma_weight_l0[ refIdxL0WP ][ iCbCr ]                                                                  (8-290)


                 w1 = chroma_weight_l1[ refIdxL1WP ][ iCbCr ]                                                                  (8-291)


                 o0 = chroma_offset_l0[ refIdxL0WP ][ iCbCr ] * ( 1 << ( BitDepthC – 8 ) )                                     (8-292)


                 o1 = chroma_offset_l1[ refIdxL1WP ][ iCbCr ] * ( 1 << ( BitDepthC – 8 ) )                                     (8-293)


When explicit mode weighted prediction is used and the partition mbPartIdx\subMbPartIdx has both predFlagL0 and
predFlagL1 equal to 1, the following constraint shall be obeyed

         -128 <= w0 + w1 <= ( ( logWD = = 7 ) ? 127 : 128 )                                                                    (8-294)

      NOTE – For implicit mode weighted prediction, weights w0 and w1 are each guaranteed to be in the range of -64..128 and the
      constraint expressed in Equation 8-294, although not explicitly imposed, will always be met. For explicit mode weighted
      prediction with logWD equal to 7, when one of the two weights w0 or w1 is inferred to be equal to 128 (as a consequence of
      luma_weight_l0_flag, luma_weight_l1_flag, chroma_weight_l0_flag, or chroma_weight_l1_flag equal to 0), the other weight (w1
      or w0) must have a negative value in order for the constraint expressed in Equation 8-294 to hold (and therefore the other flag
      luma_weight_l0_flag, luma_weight_l1_flag, chroma_weight_l0_flag, or chroma_weight_l1_flag must be equal to 1).


8.5         Transform coefficient decoding process and picture construction process prior to deblocking
            filter process
Inputs to this process are Intra16x16DCLevel (if available), Intra16x16ACLevel (if available), LumaLevel (if
available), LumaLevel8x8 (if available), ChromaDCLevel (if available), ChromaACLevel (if available), and available
Inter or Intra prediction sample arrays for the current macroblock for the applicable components predL, predCb, or predCr.
      NOTE 1 – When decoding a macroblock in Intra_4x4 (or Intra_8x8) prediction mode, the luma component of the macroblock
      prediction array may not be complete, since for each 4x4 (or 8x8) luma block, the Intra_4x4 (or Intra_8x8) prediction process for
      luma samples as specified in subclause 8.3.1 (or 8.3.2) and the process specified in this subclause are iterated.
Outputs of this process are the constructed sample arrays prior to the deblocking filter process for the applicable
components S’L, S’Cb, or S’Cr.
      NOTE 2 – When decoding a macroblock in Intra_4x4 (or Intra_8x8) prediction mode, the luma component of the macroblock
      constructed sample arrays prior to the deblocking filter process may not be complete, since for each 4x4 (or 8x8) luma block, the



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   Intra_4x4 (or Intra_8x8) prediction process for luma samples as specified in subclause 8.3.1 (or 8.3.2) and the process specified
   in this subclause are iterated.
This subclause specifies transform coefficient decoding and picture construction prior to the deblocking filter process.
When the current macroblock is coded as P_Skip or B_Skip, all values of LumaLevel, LumaLevel8x8,
ChromaDCLevel, ChromaACLevel are set equal to 0 for the current macroblock.
When residual_colour_transform_flag is equal to 1, the residual colour transform process as specified in subclause
8.5.13 is invoked.

8.5.1     Specification of transform decoding process for 4x4 luma residual blocks
This specification applies when transform_size_8x8_flag is equal to 0.
When the current macroblock prediction mode is not equal to Intra_16x16, the variable LumaLevel contains the levels
for the luma transform coefficients. For a 4x4 luma block indexed by luma4x4BlkIdx = 0..15, the following ordered
steps are specified.
   1. The inverse transform coefficient scanning process as described in subclause 8.5.5 is invoked with
      LumaLevel[ luma4x4BlkIdx ] as the input and the two-dimensional array c as the output.
   2. The scaling and transformation process for residual 4x4 blocks as specified in subclause 8.5.10 is invoked with c
      as the input and r as the output.
   3. When residual_colour_transform_flag is equal to 1, the variable RY,ij is set equal to rij with i, j = 0..3 and this
      process is suspended until after completion of the residual colour transform process as specified in
      subclause 8.5.13, after the completion of which, the variable rij is set equal to RG,ij with i, j = 0..3 and this process
      is continued.
   4. The position of the upper-left sample of a 4x4 luma block with index luma4x4BlkIdx inside the macroblock is
      derived by invoking the inverse 4x4 luma block scanning process in subclause 6.4.3 with luma4x4BlkIdx as the
      input and the output being assigned to ( xO, yO ).
   5. The 4x4 array u with elements uij for i, j = 0..3 is derived as

        uij = Clip1Y( predL[ xO + j, yO + i ] + rij )                                                                       (8-295)


        When qpprime_y_zero_transform_bypass_flag is equal to 1 and QP'Y is equal to 0, the bitstream shall not
        contain data that result in a value of uij as computed by Equation 8-295 that is not equal to
        predL[ xO + j, yO + i ] + rij.
   6. The picture construction process prior to deblocking filter process in subclause 8.5.12 is invoked with
      luma4x4BlkIdx and u as the inputs.

8.5.2     Specification of transform decoding process for luma samples of Intra_16x16 macroblock prediction
          mode
When the current macroblock prediction mode is equal to Intra_16x16, the variables Intra16x16DCLevel and
Intra16x16ACLevel contain the levels for the luma transform coefficients. The transform coefficient decoding proceeds
in the following ordered steps:
   1. The 4x4 luma DC transform coefficients of all 4x4 luma blocks of the macroblock are decoded.
        a. The inverse transform coefficient scanning process as described in subclause 8.5.5 is invoked with
           Intra16x16DCLevel as the input and the two-dimensional array c as the output.
        b. The scaling and transformation process for luma DC transform coefficients for Intra_16x16 macroblock type
           as specified in subclause 8.5.8 is invoked with c as the input and dcY as the output.
   2. For a 4x4 luma block indexed by luma4x4BlkIdx = 0..15, the following ordered steps are specified.
        a. The variable lumaList, which is a list of 16 entries, is derived. The first entry of lumaList is the
           corresponding value from the array dcY. Figure 8-6 shows the assignment of the indices of the array dcY to
           the luma4x4BlkIdx. The two numbers in the small squares refer to indices i and j in dcYij, and the numbers in
           large squares refer to luma4x4BlkIdx.




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                                                      00        01        02        03

                                                           0         1         4         5
                                                      10        11        12        13

                                                           2         3         6         7
                                                      20        21        22        23

                                                           8         9         12        13
                                                      30        31        32        33

                                                           10        11        14        15


                           Figure 8-6 – Assignment of the indices of dcY to luma4x4BlkIdx




           The elements in lumaList with index k = 1..15 are specified as

           lumaList[ k ] = Intra16x16ACLevel[ luma4x4BlkIdx ][ k - 1 ]                                                     (8-296)


        b. The inverse transform coefficient scanning process as described in subclause 8.5.5 is invoked with lumaList
           as the input and the two-dimensional array c as the output.
        c. The scaling and transformation process for residual 4x4 blocks as specified in subclause 8.5.10 is invoked
           with c as the input and r as the output.
        d. When residual_colour_transform_flag is equal to 1, the variable RY,ij is set equal to rij with i, j = 0..3 and this
           process is suspended until after completion of the residual colour transform process as specified in
           subclause 8.5.13, after the completion of which, the variable rij is set equal to RG,ij with i, j = 0..3 and this
           process is continued.
        e. The position of the upper-left sample of a 4x4 luma block with index luma4x4BlkIdx inside the macroblock
           is derived by invoking the inverse 4x4 luma block scanning process in subclause 6.4.3 with luma4x4BlkIdx
           as the input and the output being assigned to ( xO, yO ).
        f. The 4x4 array u with elements uij for i, j = 0..3 is derived as

           uij = Clip1Y( predL[ xO + j, yO + i ] + rij )                                                                   (8-297)


           When qpprime_y_zero_transform_bypass_flag is equal to 1 and QP'Y is equal to 0, the bitstream shall not
           contain data that result in a value of uij as computed by 8-297 that is not equal to predL[ xO + j, yO + i ] + rij.
        g. The picture construction process prior to deblocking filter process in subclause 8.5.12 is invoked with
           luma4x4BlkIdx and u as the inputs.

8.5.3    Specification of transform decoding process for 8x8 luma residual blocks
This specification applies when transform_size_8x8_flag is equal to 1.
The variable LumaLevel8x8[ luma8x8BlkIdx ] with luma8x8BlkIdx = 0..3 contains the levels for the luma transform
coefficients for the luma 8x8 block with index luma8x8BlkIdx.
For an 8x8 luma block indexed by luma8x8BlkIdx = 0..3, the following ordered steps are specified.
1.   The inverse scanning process for 8x8 luma transform coefficients as described in subclause 8.5.6 is invoked with
     LumaLevel8x8[ luma8x8BlkIdx ] as the input and the two-dimensional array c as the output.
2.   The scaling and transformation process for residual 8x8 blocks as specified in subclause 8.5.11 is invoked with c as
     the input and r as the output.
3.   When residual_colour_transform_flag is equal to 1, the variable RY,ij is set equal to rij with i, j = 0..7 and this
     process is suspended until after completion of the residual colour transform process as specified in subclause
     8.5.13, after the completion of which, the variable rij is set equal to RG,ij with i, j = 0..7 and this process is
     continued.




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4.    The position of the upper-left sample of an 8x8 luma block with index luma8x8BlkIdx inside the macroblock is
      derived by invoking the inverse 8x8 luma block scanning process in subclause 6.4.4 with luma8x8BlkIdx as the
      input and the output being assigned to ( xO, yO ).
5.    The 8x8 array u with elements uij for i, j = 0..7 is derived as

            uij = Clip1Y( predL[ xO + j, yO + i ] + rij )                                                            (8-298)


      When qpprime_y_zero_transform_bypass_flag is equal to 1 and QP'Y is equal to 0, the bitstream shall not contain
      data that result in a value of uij as computed by Equation 8-298 that is not equal to predL[ xO + j, yO + i ] + rij.
6.    The picture construction process prior to deblocking filter process in subclause 8.5.12 is invoked with
      luma8x8BlkIdx and u as the inputs.

8.5.4         Specification of transform decoding process for chroma samples
This process is invoked for each chroma component Cb and Cr seperately.
For each chroma component, the variables ChromaDCLevel[ iCbCr ] and ChromaACLevel[ iCbCr ], with iCbCr set
equal to 0 for Cb and iCbCr set equal to 1 for Cr, contain the levels for both components of the chroma transform
coefficients.
Let the variable numChroma4x4Blks be set equal to (MbWidthC / 4) * (MbHeightC / 4).
For each chroma component, the transform decoding proceeds separately in the following ordered steps:
1.    The numChroma4x4Blks chroma DC transform coefficients of the 4x4 chroma blocks of the component indexed
      by iCbCr of the macroblock are decoded.
      a.      Depending on the variable chroma_format_idc, the following applies.
        –      If chroma_format_idc is equal to 1, the 2x2 array c is derived using the inverse raster scanning process
               applied to ChromaDCLevel as follows

              ChromaDCLevel [ iCbCr ][ 0 ] ChromaDCLevel[ iCbCr ][ 1 ]
            c=                                                                                                     (8-299)
               ChromaDCLevel[ iCbCr ][ 2 ] ChromaDCLevel[ iCbCr ][ 3 ]


        –      Otherwise, if chroma_format_idc is equal to 2, the 2x4 array c is derived using the inverse raster scanning
               process applied to ChromaDCLevel as follows

              ChromaDCLevel[iCbCr][0]           ChromaDCLevel[iCbCr][2]
              ChromaDCLevel[iCbCr][1]           ChromaDCLevel[iCbCr][5]
            c=                                                                                                      (8-300)
              ChromaDCLevel[iCbCr][3]           ChromaDCLevel[iCbCr][6]
                                                                        
              ChromaDCLevel[iCbCr][4]           ChromaDCLevel[iCbCr][7]


        –      Otherwise (chroma_format_idc is equal to 3), the inverse scanning process for transform coefficients as
               specified in subclause 8.5.5 is invoked with ChromaDCLevel[ iCbCr ] as the input and the two-dimensional
               4x4 array c as the output.
      b.      The scaling and transformation process for chroma DC transform coefficients as specified in subclause 8.5.9 is
              invoked with c as the input and dcC as the output.
2.    For each 4x4 chroma block indexed by chroma4x4BlkIdx = 0..numChroma4x4Blks – 1 of the component indexed
      by iCbCr, the following ordered steps are specified.
      a.      The variable chromaList, which is a list of 16 entries, is derived. The first entry of chromaList is the
              corresponding value from the array dcC. Figure 8-7 shows the assignment of the indices of the array dcC to the
              chroma4x4BlkIdx. The two numbers in the small squares refer to indices i and j in dcCij, and the numbers in
              large squares refer to chroma4x4BlkIdx.




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                  00       01

                       0        1
                  10       11

                       2        3

                           a                              b                                   c

                    Figure 8-7 – Assignment of the indices of dcC to chroma4x4BlkIdx:
    (a) chroma_format_idc equal to 1, (b) chroma_format_idc equal to 2, (c) chroma_format_idc equal to 3




         The elements in chromaList with index k = 1..15 are specified as

        chromaList[ k ] = ChromaACLevel[ chroma4x4BlkIdx ][ k – 1 ]                                                   (8-301)


   b.    The inverse scanning process for transform coefficients as specified in subclause 8.5.9 is invoked with
         chromaList as the input and the two-dimensional array c as the output.
   c.    The scaling and transformation process for residual 4x4 blocks as specified in subclause 8.5.10 is invoked with
         c as the input and r as the output.
   d.    Depending on the variable chroma_format_idc, the position of the upper-left sample of a 4x4 chroma block
         with index chroma4x4BlkIdx inside the macroblock is derived as follows.
          –    If chroma_format_idc is equal to 1 or 2, the following applies.

          xO = InverseRasterScan( chroma4x4BlkIdx, 4, 4, 8, 0 )                                                       (8-302)


          yO = InverseRasterScan( chroma4x4BlkIdx, 4, 4, 8, 1 )                                                       (8-303)


          –    Otherwise (chroma_format_idc is equal to 3), the following applies.

          xO = InverseRasterScan( chroma4x4BlkIdx / 4, 8, 8, 16, 0 ) +
                               InverseRasterScan( chroma4x4BlkIdx % 4, 4, 4, 8, 0 )                                   (8-304)


          yO =InverseRasterScan( chroma4x4BlkIdx / 4, 8, 8, 16, 1 ) +
                               InverseRasterScan( chroma4x4BlkIdx % 4, 4, 4, 8, 1 )                                   (8-305)


   e.    When residual_colour_transform_flag is equal to 1, the variable xO' is                           set      equal   to
         xO % ( 4 << transform_size_8x8_flag ),       the      variable    yO' is set                           equal      to
         yO % ( 4 << transform_size_8x8_flag ), and the following applies.
          –    If this process is invoked for the chroma component Cb, the variable RCb,mn is set equal to rij with
               i, j = 0..3, m = xO' + i, n = yO' + j, and this process is suspended until after completion of the residual
               colour transform process as specified in subclause 8.5.13, after which the variable rij is set equal to RB,mn
               with i, j = 0..3, m = xO' + i, n = yO' + j and this process is continued.
          –    Otherwise (this process is invoked for the chroma component Cr), the variable RCr,mn is set equal to rij
               with i, j = 0..3, m = xO' + i, n = yO' + j and this process is suspended until after the completion of the
               residual colour transform process as specified in subclause 8.5.13, after which the variable rij is set equal
               to RR,mn with i, j = 0..3, m = xO' + i, n = yO' + j and this process is continued.
   f.    The 4x4 array u with elements uij for i, j = 0..3 is derived as



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           uij = Clip1C( predC[ xO + j, yO + i ] + rij )                                                                                          (8-306)


           When qpprime_y_zero_transform_bypass_flag is equal to 1 and QP'Y is equal to 0, the bitstream shall not
           contain data that result in a value of uij as computed by Equation 8-306 that is not equal to
           predC[ xO + j, yO + i ] + rij.
      g.   The picture construction process prior to deblocking filter process in subclause 8.5.12 is invoked with
           chroma4x4BlkIdx and u as the inputs.

8.5.5      Inverse scanning process for transform coefficients
Input to this process is a list of 16 values.
Output of this process is a variable c containing a two-dimensional array of 4x4 values. In the case of transform
coefficients, these 4x4 values represent levels assigned to locations in the transform block. In the case of applying the
inverse scanning process to a scaling list, the output variable c contains a two-dimensional array representing a 4x4
scaling matrix.
The inverse scanning process for transform coefficients maps the sequence of transform coefficient levels to the
transform coefficient level positions. Table 8-13 specifies the two mappings: inverse zig-zag scan and inverse field
scan. The inverse zig-zag scan is used for transform coefficients in frame macroblocks and the inverse field scan is used
for transform coefficients in field macroblocks.
The inverse scanning process for scaling lists maps the sequence of scaling list entries to the positions in the
corresponding scaling matrix. For this mapping, the inverse zig-zag scan is used.
Figure 8-8 illustrates the scans.



                           0           1                  5             6                0             2             8           12



                           2           4                  7          12                  1             5             9          13



                           3           8                11           13                  3             6             10          14



                           9           10               14           15                  4             7             11          15


                                                a                                                                b


                         Figure 8-8 – 4x4 block scans. (a) Zig-zag scan. (b) Field scan (informative)




Table 8-13 provides the mapping from the index idx of input list of 16 elements to indices i and j of the two-
dimensional array c.

                        Table 8-13 – Specification of mapping of idx to cij for zig-zag and field scan

                 idx       0     1          2       3         4     5        6     7         8   9         10    11       12    13    14    15
               zig-zag     c00   c01    c10         c20       c11   c02      c03   c12   c21     c30       c31   c22      c13   c23   c32   c33
                field      c00   c10    c01         c20       c30   c11      c21   c31   c02     c12       c22   c32      c03   c13   c23   c33


8.5.6      Inverse scanning process for 8x8 luma transform coefficients
Input to this process is a list of 64 values.




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Output of this process is a variable c containing a two-dimensional array of 8x8 values. In the case of transform
coefficients, these 8x8 values represent levels assigned to locations in the transform block. In the case of applying the
inverse scanning process to a scaling list, the output variable c contains a two-dimensional array representing an 8x8
scaling matrix.
The inverse scanning process for transform coefficients maps the sequence of transform coefficient levels to the
transform coefficient level positions. Table 8-14 specifies the two mappings: inverse 8x8 zig-zag scan and inverse 8x8
field scan. The inverse 8x8 zig-zag scan is used for transform coefficients in frame macroblocks and the inverse 8x8
field scan is used for transform coefficients in field macroblocks.
The inverse scanning process for scaling lists maps the sequence of scaling list entries to the positions in the
corresponding scaling matrix. For this mapping, the inverse zig-zag scan is used.
Figure 8-9 illustrates the scans.



     0      1      5      6       14   15   27     28               0     3      8     15       22   30    38    52

     2      4      7     13       16   26   29     42               1     4     14     21       29   37    45    53

     3      8     12     17       25   30   41     43               2     7     16     23       31   39    46    58

     9     11     18     24       31   40   44     53               5     9     20     28       36   44    51    59

    10     19     23     32       39   45   52     54               6    13     24     32       40   47    54    60

    20     22     33     38       46   51   55     60              10    17     25     33       41   48    55    61

    21     34     37     47       50   56   59     61              11    18     26     34       42   49    56    62

    35     36     48     49       57   58   62     63              12    19     27     35       43   50    57    63

                              a                                                             b

                  Figure 8-9 – 8x8 block scans. (a) 8x8 zig-zag scan. (b) 8x8 field scan (informative)




Table 8-14 provides the mapping from the index idx of the input list of 64 elements to indices i and j of the two-
dimensional array c.




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                  Table 8-14 – Specification of mapping of idx to cij for 8x8 zig-zag and 8x8 field scan

                idx         0      1     2     3     4     5       6     7     8     9     10     11    12    13    14    15
              zig-zag       c00   c01   c10   c20   c11   c02     c03   c12   c21   c30    c40   c31   c22   c13   c04   c05
                field       c00   c10   c20   c01   c11   c30     c40   c21   c02   c31    c50   c60   c70   c41   c12   c03

          Table 8-14 (continued) – Specification of mapping of idx to cij for 8x8 zig-zag and 8x8 field scan

                idx        16     17    18    19    20    21      22    23    24    25    26     27    28    29    30    31
              zig-zag      c14    c23   c32   c41   c50   c60    c51    c42   c33   c24   c15    c06   c07   c16   c25   c34
                field      c22    c51   c61   c71   c32   c13    c04    c23   c42   c52   c62    c72   c33   c14   c05   c24

          Table 8-14 (continued) – Specification of mapping of idx to cij for 8x8 zig-zag and 8x8 field scan

                idx        32     33    34    35    36    37      38    39    40    41    42     43    44    45    46    47
              zig-zag      c43    c52   c61   c70   c71   c62    c53    c44   c35   c26   c17    c27   c36   c45   c54   c63
                field      c43    c53   c63   c73   c34   c15    c06    c25   c44   c54   c64    c74   c35   c16   c26   c45

          Table 8-14 (concluded) – Specification of mapping of idx to cij for 8x8 zig-zag and 8x8 field scan

                idx        48     49    50    51    52    53      54    55    56    57    58     59    60    61    62    63
              zig-zag      c72    c73   c64   c55   c46   c37    c47    c56   c65   c74   c75    c66   c57   c67   c76   c77
                field      c55    c65   c75   c36   c07   c17    c46    c56   c66   c76   c27    c37   c47   c57   c67   c77


8.5.7     Derivation process for the chroma quantisation parameters and scaling function
Outputs of this process are:
–     QPC: the chroma quantisation parameter for each chroma component Cb and Cr
–     QSC: the additional chroma quantisation parameter for each chroma component Cb and Cr required for decoding
      SP and SI slices (if applicable)
    NOTE 1 – QP quantisation parameter values QPY and QSY are always in the range of –QpBdOffsetY to 51, inclusive. QP
    quantisation parameter values QPC and QSC are always in the range of –QpBdOffsetC to 51, inclusive.
The value of QPC for a chroma component is determined from the current value of QPY and the value of
chroma_qp_index_offset (for Cb) or second_chroma_qp_index_offset (for Cr).
    NOTE 2 – The scaling equations are specified such that the equivalent transform coefficient level scaling factor doubles for every
    increment of 6 in QPY. Thus, there is an increase in the factor used for scaling of approximately 12 % for each increase of 1 in the
    value of QPY.
The value of QPC for each chroma component is determined as specified in Table 8-15 based on the index denoted as
qPI.
The variable qPOffset for each chroma component is derived as follows.
–     If the chroma component is the Cb component, qPOffset is specified as

        qPOffset = chroma_qp_index_offset                                                                                       (8-307)

–     Otherwise (the chroma component is the Cr component), qPOffset is specified as

        qPOffset = second_chroma_qp_index_offset                                                                                (8-308)


The value of qPI for each chroma component is derived as

        qPI = Clip3( –QpBdOffsetC, 51, QPY + qPOffset )                                                                         (8-309)



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The value of QP'C for the chroma components is derived as

          QP'C = QPC + QpBdOffsetC                                                                                              (8-310)


The value of BitDepth'C for the chroma components is derived as

          BitDepth'C = BitDepthC + residual_colour_transform_flag                                                               (8-311)


                                         Table 8-15 – Specification of QPC as a function of qPI

qPI       <30       30    31   32   33    34   35   36    37    38    39   40      41   42   43   44   45   46   47   48   49   50   51
QPC       =qPI      29    30   31   32    32   33   34    34    35    35   36      36   37   37   37   38   38   38   39   39   39   39



When the current slice is an SP or SI slice, QSC is derived using the above process, substituting QPY with QSY and QPC
with QSC.
The function LevelScale( m, i, j ) is specified as follows.
–     The 4x4 matrix weightScale( i, j ) is specified as follows.
      –         The variable mbIsInterFlag is derived as follows.
                –    If the current macroblock is coded using Inter macroblock prediction modes, mbIsInterFlag is set equal
                     to 1.
                –    Otherwise (the current macroblock is coded using Intra macroblock prediction modes), mbIsInterFlag is
                     set equal to 0.
      –         The variable iYCbCr derived as follows.
                –    If the input array c relates to a luma residual block, iYCbCr is set equal to 0.
                –    Otherwise, if the input array c relates to a chroma residual block and the chroma component is equal
                     to Cb, iYCbCr is set equal to 1.
                –    Otherwise (the input array c relates to a chroma residual block and the chroma component is equal
                     to Cr), iYCbCr is set equal to 2.
      –         The inverse scanning process for transform coefficients as specified in subclause 8.5.5 is invoked with
                ScalingList4x4[ iYCbCr + ( (mbIsInterFlag = = 1 ) ? 3 : 0 )] as the input and the output is assigned to the
                4x4 matrix weightScale.

          LevelScale( m, i, j) = weightScale( i, j) * normAdjust( m, i, j)                                                      (8-312)


where

                                v m0       for ( i % 2, j % 2 ) equal to (0,0),
                                
          normAdjust(m, i, j) = v m1       for ( i % 2, j % 2 ) equal to (1,1),                                                (8-313)
                                v          otherwise;
                                 m2


where the first and second subscripts of v are row and column indices, respectively, of the matrix specified as:

            10          16 13
             11         18 14
            
             13         20 16
          v=                  .                                                                                               (8-314)
            14          23 18
            16          25 20
                              
             18        29 23




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The function LevelScale8x8( m, i, j ) is specified as follows:
–     The 8x8 matrix weightScale8x8( i, j ) is specified as follows.
        –      The variable mbIsInterFlag is derived as follows.
               –     If the current macroblock is coded using Inter macroblock prediction modes, mbIsInterFlag is set equal
                     to 1.
               –     Otherwise (the current macroblock is coded using Intra macroblock prediction modes), mbIsInterFlag is
                     set equal to 0.
        –      The inverse scanning process for 8x8 luma transform coefficients as specified in subclause 8.5.6 is invoked
               with ScalingList8x8[ mbIsInterFlag ] as the input and the output is assigned to the 8x8 matrix
               weightScale8x8.

            LevelScale8x8( m, i, j) = weightScale8x8( i, j) * normAdjust8x8( m, i, j)                                 (8-315)


where

                                     v m 0     for (i % 4, j % 4) equal to (0,0),
                                     v         for (i % 2, j % 2) equal to (1,1),
                                      m1
                                     v        for (i % 4, j % 4) equal to (2,2),
            normAdjust8x8(m, i, j) =  m 2                                                                            (8-316)
                                      v m 3    for (i % 4, j % 2) equal to (0,1) or (i % 2, j % 4) equal to (1,0),
                                      v m 4    for (i % 4, j % 4) equal to (0,2) or (i % 4, j % 4) equal to (2,0),
                                      
                                      v m 5   otherwise;


where the first and second subscripts of v are row and column indices, respectively, of the matrix specified as:

              20      18 32 19 25 24
              22      19 35 21 28 26
              
              26      23 42 24 33 31
            v=                       .                                                                              (8-317)
               28     25 45 26 35 33
              32      28 51 30 40 38
                                     
              36     32 58 34 46 43


8.5.8        Scaling and transformation process for luma DC transform coefficients for Intra_16x16 macroblock
             type
Inputs to this process are transform coefficient level values for luma DC transform coefficients of Intra_16x16
macroblocks as a 4x4 array c with elements cij, where i and j form a two-dimensional frequency index.
Outputs of this process are 16 scaled DC values for luma 4x4 blocks of Intra_16x16 macroblocks as a 4x4 array dcY
with elements dcYij.
Depending on the values of qpprime_y_zero_transform_bypass_flag and QP'Y, the following applies.
–       If qpprime_y_zero_transform_bypass_flag is equal to 1 and QP'Y is equal to 0, the output dcY is derived as

            dcYij = cij with i, j = 0..3                                                                              (8-318)


–       Otherwise (qpprime_y_zero_transform_bypass_flag is equal to 0 or QP'Y is not equal to 0), the following text of
        this process specifies the output.




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The inverse transform for the 4x4 luma DC transform coefficients is specified by:

             1 1 1 1 c 00                    c 01   c 02   c 03  1 1 1 1
             1 1 − 1 − 1 c                   c11    c12    c13  1 1 − 1 − 1 .
          f =             10                                                                                              (8-319)
             1 − 1 − 1 1 c 20                c 21   c 22   c 23  1 − 1 − 1 1
                                                                            
             1 − 1 1 − 1 c 30                c 31   c 32   c 33  1 − 1 1 − 1


The bitstream shall not contain data that results in any element fij of f with i, j = 0..3 that exceeds the range of integer
values from –2(7 + BitDepthY) to 2(7 + BitDepthY)–1, inclusive.
After the inverse transform, scaling is performed as follows.
–       If QP'Y is greater than or equal to 36, the scaled result is derived as

          dcYij = ( f ij * LevelScale( QP' Y %6, 0, 0 ) ) << ( QP' Y / 6 − 6 ), with        i, j = 0..3                        (8-320)


–       Otherwise (QP'Y is less than 36), the scaled result is derived as

          dcYij = ( f ij * LevelScale ( QP' Y % 6, 0, 0 ) + 2 5−QP'Y /6 ) >> ( 6 − QP' Y / 6 ),   with    i, j = 0..3          (8-321)


The bitstream shall not contain data that results in any element dcYij of dcY with i, j = 0..3 that exceeds the range of
integer values from –2(7 + BitDepthY) to 2(7 + BitDepthY)–1, inclusive.
    NOTE 1 – When entropy_coding_mode_flag is equal to 0 and QP'Y is less than 10 and profile_idc is equal to 66, 77, or 88, the
    range of values that can be represented for the elements cij of c is not sufficient to represent the full range of values of the
    elements dcYij of dcY that could be necessary to form a close approximation of the content of any possible source picture by use
    of the Intra_16x16 macroblock type.
    NOTE 2 – Since the range limit imposed on the elements dcYij of dcY is imposed after the right shift in Equation 8-321, a larger
    range of values must be supported in the decoder prior to the right shift.

8.5.9      Scaling and transformation process for chroma DC transform coefficients
Inputs to this process are transform coefficient level values for chroma DC transform coefficients of one chroma
component of the macroblock as an (MbWidthC / 4)x(MbHeightC / 4) array c with elements cij, where i and j form a
two-dimensional frequency index.
Outputs of this process are the scaled DC values as an (MbWidthC / 4)x(MbHeightC / 4) array dcC with elements dcCij.
Depending on the values of qpprime_y_zero_transform_bypass_flag and QP'Y, the following applies.
–    If qpprime_y_zero_transform_bypass_flag is equal to 1 and QP'Y is equal to 0, the output dcC is derived as

         dcCij = cij with i = 0..( MbWidthC / 4 ) − 1 and j = 0..( MbHeightC / 4 ) − 1.                                        (8-322)

–    Otherwise (qpprime_y_zero_transform_bypass_flag is equal to 0 or QP'Y is not equal to 0), the following text of
     this process specifies the output.
Depending on the variable chroma_format_idc, the inverse transform is specified as follows.
–       If chroma_format_idc is equal to 1, the inverse transform for the 2x2 chroma DC transform coefficients is
        specified as

             1   1 c 00     c 01  1  1
          f =                                                                                                              (8-323)
             1 − 1  c10     c11  1 − 1
                                      


–       Otherwise, if chroma_format_idc is equal to 2, the inverse transform for the 2x4 chroma DC transform coefficients
        is specified as




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             1   1   1   1 c 00          c 01 
             1                            c11  1
                  1 − 1 − 1  c10                     1
          f =                                                                                                                                (8-324)
             1 − 1 − 1   1 c 20          c 21  1 − 1
                                                   
                                              
             1 − 1   1 − 1 c 30          c 31 


–     Otherwise (chroma_format_idc is equal to 3), the inverse transform for the 4x4 chroma DC transform coefficients
      is specified as follows.
      –      If residual_colour_transform_flag is equal to 1 and the current macroblock prediction mode
             MbPartPredMode( mb_type, 0 ) is Intra_4x4 or Intra_8x8, the inverse transform for the 4x4 chroma DC
             transform coefficients is specified as

          fij = cij << 2 with i, j = 0..3                                                                                                     (8-325)

      –      Otherwise, the inverse transform for the 4x4 chroma DC transform coefficients is specified as

             1 1 1 1 c 00                c 01   c 02   c 03  1 1 1 1
             1 1 − 1 − 1  c              c11    c12    c13  1 1 − 1 − 1
          f =             10                                                                                                               (8-326)
             1 − 1 − 1 1 c 20            c 21   c 22   c 23  1 − 1 − 1 1
                                                                          
             1 − 1 1 − 1 c 30            c 31   c 32   c 33  1 − 1 1 − 1


The bitstream shall not contain data that results in any element fij of f with i, j = 0..3 that exceeds the range of integer
values from –2(7 + BitDepth'C) to 2(7 + BitDepth'C)–1, inclusive.
After the inverse transform, scaling is performed depending on the variable chroma_format_idc as follows.
–     If chroma_format_idc is equal to 1, the scaled result is derived as

          dcC ij = ( ( f ij * LevelScale( QP' C % 6, 0, 0 ) ) << ( QP' C / 6 ) ) >> 5, with i, j = 0, 1                                       (8-327)


–     If chroma_format_idc is equal to 2, the following applies.
      –      The variable QP'C,DC is derived as

          QP'C,DC = QP'C + 3                                                                                                                  (8-328)

      –      Depending on the value of QP'C,DC, the following applies.
             –     If QP'C,DC is greater than or equal to 36, the scaled result is derived as

          dcC ij = ( f ij * LevelScale ( QP' C, DC %6, 0, 0 ) ) << ( QP' C, DC / 6 − 6 ), with i = 0..3, j = 0, 1                             (8-329)


             –     Otherwise (QP'C,DC is less than 36), the scaled result is derived as
                                                                      5 − QP' C, DC /6
          dcC ij = ( f ij * LevelScale ( QP' C, DC % 6, 0, 0 ) + 2                       ) >> ( 6 − QP' C, DC / 6 ), with i = 0..3, j = 0,1   (8-330)


–     Otherwise (chroma_format_idc is equal to 3), the following applies.
      –      If QP'C is greater than or equal to 36, the scaled result is derived as

          dcC ij = ( f ij * LevelScale( QP' C %6, 0, 0 ) ) << ( QP' C / 6 − 6 ), with                  i, j = 0..3.                           (8-331)


      –      Otherwise (QP'C is less than 36), the scaled result is derived as

                                                                5 − QP 'C / 6
          dcCij = (f ij * LevelScale(QP'C % 6,0,0) + 2                          ) >> (6 − QP' / 6), with i, j, = 0..3                         (8-332)
                                                                                                   C



The bitstream shall not contain data that results in any element dcCij of dcC with i, j = 0..3 that exceeds the range of
integer values from –2(7 + BitDepth'C) to 2(7 + BitDepth'C)–1, inclusive.


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    NOTE 1 – When entropy_coding_mode_flag is equal to 0 and QP'C is less than 4 and profile_idc is equal to 66, 77, or 88, the
    range of values that can be represented for the elements cij of c may not be sufficient to represent the full range of values of the
    elements dcCij of dcC that could be necessary to form a close approximation of the content of any possible source picture.
    NOTE 2 – Since the range limit imposed on the elements dcCij of dcC is imposed after the right shift in Equation 8-327, 8-330,
    or 8-332, a larger range of values must be supported in the decoder prior to the right shift.

8.5.10     Scaling and transformation process for residual 4x4 blocks
Input to this process is a 4x4 array c with elements cij which is either an array relating to a residual block of the luma
component or an array relating to a residual block of a chroma component.
Outputs of this process are residual sample values as 4x4 array r with elements rij.
Depending on the values of qpprime_y_zero_transform_bypass_flag and QP'Y, the following applies.
–     If qpprime_y_zero_transform_bypass_flag is equal to 1 and QP'Y is equal to 0, the output r is derived as

         rij = cij with i, j = 0..3                                                                                             (8-333)


–    Otherwise (qpprime_y_zero_transform_bypass_flag is equal to 0 or QP'Y is not equal to 0), the following text of
     this process specifies the output.
The variable bitDepth is derived as follows.
–    If the input array c relates to a luma residual block, bitDepth is set equal to BitDepthY.
–    Otherwise (the input array c relates to a chroma residual block), bitDepth is set equal to BitDepth'C.
The bitstream shall not contain data that results in any element cij of c with i, j = 0..3 that exceeds the range of integer
values from –2(7 + bitDepth) to 2(7 + bitDepth)–1, inclusive.
The variable sMbFlag is derived as follows.
-    If mb_type is equal to SI or the macroblock prediction mode is equal to Inter in an SP slice, sMbFlag is set equal
     to 1,
-    Otherwise (mb_type not equal to SI and the macroblock prediction mode is not equal to Inter in an SP slice),
     sMbFlag is set equal to 0.
The variable qP is derived as follows.
–    If the input array c relates to a luma residual block and sMbFlag is equal to 0

         qP = QP'Y                                                                                                              (8-334)


–    Otherwise, if the input array c relates to a luma residual block and sMbFlag is equal to 1

         qP = QSY                                                                                                               (8-335)


–    Otherwise, if the input array c relates to a chroma residual block and sMbFlag is equal to 0

         qP = QP'C                                                                                                              (8-336)


–    Otherwise (the input array c relates to a chroma residual block and sMbFlag is equal to 1),

         qP = QSC                                                                                                               (8-337)


Scaling of 4x4 block transform coefficient levels cij proceeds as follows.
– If all of the following conditions are true
    – i is equal to 0
    – j is equal to 0
    – c relates to a luma residual block coded using Intra_16x16 prediction mode or c relates to a chroma residual
      block



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    the variable d00 is derived by

      d00 = c00                                                                                                           (8-338)


–     Otherwise, the following applies.
      –      If qP is greater than or equal to 24, the scaled result is derived as follows

             dij = ( cij * LevelScale( qP % 6, i, j) ) << ( qP / 6 – 4), with i,j = 0..3 except as noted above            (8-339)
      –      Otherwise (qP is less than 24), the scaled result is derived as follows

      d ij = ( c ij * LevelScale( qP % 6, i, j ) + 2 3−qP/6 ) >> ( 4 − qP / 6 ), with i, j = 0..3 except as noted above   (8-340)


The bitstream shall not contain data that results in any element dij of d with i, j = 0..3 that exceeds the range of integer
values from –2(7 + bitDepth) to 2(7 + bitDepth) – 1, inclusive.
The transform process shall convert the block of scaled transform coefficients to a block of output samples in a manner
mathematically equivalent to the following.
First, each (horizontal) row of scaled transform coefficients is transformed using a one-dimensional inverse transform
as follows.
A set of intermediate values is computed as follows.

          ei0 = di0 + di2, with i = 0..3                                                                                  (8-341)


          ei1 = di0 – di2, with i = 0..3                                                                                  (8-342)


          ei2 = ( di1 >> 1 ) – di3, with i = 0..3                                                                         (8-343)


          ei3 = di1 + ( di3 >> 1 ), with i = 0..3                                                                         (8-344)


The bitstream shall not contain data that results in any element eij of e with i, j = 0..3 that exceeds the range of integer
values from –2(7 + bitDepth) to 2(7 + bitDepth) – 1, inclusive.
Then, the transformed result is computed from these intermediate values as follows.

          fi0 = ei0 + ei3, with i = 0..3                                                                                  (8-345)


          fi1 = ei1 + ei2, with i = 0..3                                                                                  (8-346)


          fi2 = ei1 – ei2, with i = 0..3                                                                                  (8-347)


          fi3 = ei0 – ei3, with i = 0..3                                                                                  (8-348)


The bitstream shall not contain data that results in any element fij of f with i, j = 0..3 that exceeds the range of integer
values from –2(7 + bitDepth) to 2(7 + bitDepth) – 1, inclusive.
Then, each (vertical) column of the resulting matrix is transformed using the same one-dimensional inverse transform as
follows.
A set of intermediate values is computed as follows.

          g0j = f0j + f2j, with j = 0..3                                                                                  (8-349)


          g1j = f0j – f2j, with j = 0..3                                                                                  (8-350)


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         g2j = ( f1j >> 1 ) – f3j, with j = 0..3                                                                     (8-351)


         g3j = f1j + ( f3j >> 1 ), with j = 0..3                                                                     (8-352)


The bitstream shall not contain data that results in any element gij of g with i, j = 0..3 that exceeds the range of integer
values from –2(7 + bitDepth) to 2(7 + bitDepth) – 1, inclusive.
Then, the transformed result is computed from these intermediate values as follows.

         h0j = g0j + g3j, with j = 0..3                                                                              (8-353)


         h1j = g1j + g2j, with j = 0..3                                                                              (8-354)


         h2j = g1j – g2j, with j = 0..3                                                                              (8-355)


         h3j = g0j – g3j, with j = 0..3                                                                              (8-356)


The bitstream shall not contain data that results in any element hij of h with i, j = 0..3 that exceeds the range of integer
values from –2(7 + bitDepth) to 2(7 + bitDepth) – 33, inclusive.
After performing both the one-dimensional horizontal and the one-dimensional vertical inverse transforms to produce
an array of transformed samples, the final constructed residual sample values is derived as

         rij = ( h ij + 2 5 ) >> 6 with i, j = 0..3                                                                  (8-357)


8.5.11     Scaling and transformation process for residual 8x8 luma blocks
Input to this process is an 8x8 array c with elements cij which is an array relating to an 8x8 residual block of the luma
component.
Outputs of this process are residual sample values as 8x8 array r with elements rij.
Depending on the values of qpprime_y_zero_transform_bypass_flag and QP'Y, the following applies.
–    If qpprime_y_zero_transform_bypass_flag is equal to 1 and QP'Y is equal to 0, the output r is derived as

         rij = cij with i, j = 0..7                                                                                  (8-358)


–    Otherwise (qpprime_y_zero_transform_bypass_flag is equal to 0 or QP'Y is not equal to 0), the following text of
     this process specifies the output.
The bitstream shall not contain data that results in any element cij of c with i, j = 0..7 that exceeds the range of integer
values from –2(7 + BitDepthY) to 2(7 + BitDepthY)–1, inclusive.
The scaling process for 8x8 block transform coefficient levels cij proceeds as follows.
–    If QP'Y is greater than or equal to 36, the scaled result is derived as

         dij = (cij * LevelScale8x8( QP'Y % 6, i, j) ) << ( QP'Y / 6 – 6), with i,j = 0..7                           (8-359)


–    Otherwise (QP'Y is less than 36), the scaled result is derived as

         dij = (cij * LevelScale8x8( QP'Y % 6, i, j) ) + 25–QP'Y/6) >> ( 6 – QP'Y /6), with i,j = 0..7               (8-360)


The bitstream shall not contain data that results in any element dij of d with i, j = 0..7 that exceeds the range of integer
values from -2(7 + BitDepthY) to 2(7 + BitDepthY)–1, inclusive.




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The transform process shall convert the block of scaled transform coefficients to a block of output samples in a manner
mathematically equivalent to the following.
First, each (horizontal) row of scaled transform coefficients is transformed using a one-dimensional inverse transform
as follows.
–     A set of intermediate values eij is derived by

       ei0 = di0 + di4, with i = 0..7                                                                           (8-361)


       ei1 = – di3 + di5 – di7 – (di7 >> 1), with i = 0..7                                                      (8-362)


       ei2 = di0 – di4, with i = 0..7                                                                           (8-363)


       ei3 = di1 + di7 – di3 – (di3 >> 1), with i = 0..7                                                        (8-364)


       ei4 = ( di2 >> 1 ) – di6, with i = 0..7                                                                  (8-365)


       ei5 = – di1 + di7 + di5 + (di5 >> 1), with i = 0..7                                                      (8-366)


       ei6 = di2 + ( di6 >> 1 ), with i = 0..7                                                                  (8-367)


       ei7 = di3 + di5 + di1 + (di1 >> 1), with i = 0..7                                                        (8-368)

–     A second set of intermediate results fij is computed from the intermediate values eij as

       fi0 = ei0 + ei6, with i = 0..7                                                                           (8-369)


       fi1 = ei1 + (ei7 >> 2), with i = 0..7                                                                    (8-370)


       fi2 = ei2 + ei4, with i = 0..7                                                                           (8-371)


       fi3 = ei3 + (ei5 >> 2), with i = 0..7                                                                    (8-372)


       fi4 = ei2 – ei4, with i = 0..7                                                                           (8-373)


       fi5 = (ei3 >> 2) – ei5, with i = 0..7                                                                    (8-374)


       fi6 = ei0 – ei6, with i = 0..7                                                                           (8-375)


       fi7 = ei7 – (ei1 >> 2), with i = 0..7                                                                    (8-376)

–     Then, the transformed result gij is computed from these intermediate values fij as

       gi0 = fi0 + fi7, with i = 0..7                                                                           (8-377)


       gi1 = fi2 + fi5, with i = 0..7                                                                           (8-378)


       gi2 = fi4 + fi3, with i = 0..7                                                                           (8-379)



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       gi3 = fi6 + fi1, with i = 0..7                                                                           (8-380)


       gi4 = fi6 – fi1, with i = 0..7                                                                           (8-381)


       gi5 = fi4 – fi3, with i = 0..7                                                                           (8-382)


       gi6 = fi2 – fi5, with i = 0..7                                                                           (8-383)


       gi7 = fi0 – fi7, with i = 0..7                                                                           (8-384)

Then, each (vertical) column of the resulting matrix is transformed using the same one-dimensional inverse transform as
follows.
–    A set of intermediate values hij is computed from the horizontally transformed value gij as

       h0j = g0j + g4j, with j = 0..7                                                                           (8-385)


       h1j = – g3j + g5j – g7j – (g7j >> 1), with j = 0..7                                                      (8-386)


       h2j = g0j – g4j, with j = 0..7                                                                           (8-387)


       h3j = g1j + g7j – g3j – (g3j >> 1), with j = 0..7                                                        (8-388)


       h4j = ( g2j >> 1 ) – g6j, with j = 0..7                                                                  (8-389)


       h5j = – g1j + g7j + g5j + (g5j >> 1), with j = 0..7                                                      (8-390)


       h6j = g2j + ( g6j >> 1 ), with j = 0..7                                                                  (8-391)


       h7j = g3j + g5j + g1j + (g1j >> 1), with j = 0..7                                                        (8-392)

–    A second set of intermediate results kij is computed from the intermediate values hij as

       k0j = h0j + h6j, with j = 0..7                                                                           (8-393)


       k1j = h1j + (h7j >> 2), with j = 0..7                                                                    (8-394)


       k2j = h2j + h4j, with j = 0..7                                                                           (8-395)


       k3j = h3j + (h5j >> 2), with j = 0..7                                                                    (8-396)


       k4j = h2j – h4j, with j = 0..7                                                                           (8-397)


       k5j = (h3j >> 2) – h5j, with j = 0..7                                                                    (8-398)


       k6j = h0j – h6j, with j = 0..7                                                                           (8-399)




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          k7j = h7j – (h1j >> 2), with j = 0..7                                                                       (8-400)

–     Then, the transformed result mij is computed from these intermediate values kij as

          m0j = k0j + k7j, with j = 0..7                                                                              (8-401)


          m1j = k2j + k5j, with j = 0..7                                                                              (8-402)


          m2j = k4j + k3j, with j = 0..7                                                                              (8-403)


          m3j = k6j + k1j, with j = 0..7                                                                              (8-404)


          m4j = k6j – k1j, with j = 0..7                                                                              (8-405)


          m5j = k4j – k3j, with j = 0..7                                                                              (8-406)


          m6j = k2j – k5j, with j = 0..7                                                                              (8-407)


          m7j = k0j – k7j, with j = 0..7                                                                              (8-408)


The bitstream shall not contain data that results in any element eij, fij, gij, hij, or kij for i and j in the range of 0..7,
inclusive, that exceeds the range of integer values from –2(7 + BitDepthY) to 2(7 + BitDepthY) – 1, inclusive.
The bitstream shall not contain data that results in any element mij for i and j in the range of 0..7, inclusive, that exceeds
the range of integer values from –2(7 + BitDepthY) to 2(7 + BitDepthY) – 33, inclusive.
After performing both the one-dimensional horizontal and the one-dimensional vertical inverse transforms to produce
an array of transformed samples, the final constructed residual sample values are derived as

          rij = ( mij + 25 ) >> 6 with i, j = 0..7                                                                    (8-409)


8.5.12      Picture construction process prior to deblocking filter process
Inputs to this process are
–     luma4x4BlkIdx or chroma4x4BlkIdx or luma8x8BlkIdx
–     a sample array u with elements uij which is either a 4x4 luma block or a 4x4 chroma block or an 8x8 luma block
The position of the upper-left luma sample of the current macroblock is derived by invoking the inverse macroblock
scanning process in subclause 6.4.1 with CurrMbAddr as input and the output being assigned to ( xP, yP ).
When u is a luma block, for each sample uij of the luma block, the following applies.
–     Depending on the size of the block u, the following applies.
      –      If u is an 4x4 luma block, the position of the upper-left sample of the 4x4 luma block with index
             luma4x4BlkIdx inside the macroblock is derived by invoking the inverse 4x4 luma block scanning process in
             subclause 6.4.3 with luma4x4BlkIdx as the input and the output being assigned to ( xO, yO ), and the
             variable nE is set equal to 4.
      –      Otherwise (u is an 8x8 luma block), the position of the upper-left sample of the 8x8 luma block with index
             luma8x8BlkIdx inside the macroblock is derived by invoking the inverse 8x8 luma block scanning process in
             subclause 6.4.4 with luma8x8BlkIdx as the input and the output being assigned to ( xO, yO ), and the
             variable nE is set equal to 8.
–     Depending on the variable MbaffFrameFlag and the current macroblock, the following applies.
      –      If MbaffFrameFlag is equal to 1 and the current macroblock is a field macroblock

              S'L[ xP + xO + j, yP + 2 * ( yO + i ) ] = uij with i, j = 0..nE − 1                                     (8-410)

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     –       Otherwise (MbaffFrameFlag is equal to 0 or the current macroblock is a frame macroblock),

              S'L[ xP + xO + j, yP + yO + i ] = uij with i, j = 0..nE − 1                                            (8-411)


When u is a chroma block, for each sample uij of the 4x4 chroma block, the following applies.
–    The subscript C in the variable S'C is replaced with Cb for the Cb chroma component and with Cr for the Cr
     chroma component.
–    Depending on the variable chroma_format_idc, the position of the upper-left sample of a 4x4 chroma block with
     index chroma4x4BlkIdx inside the macroblock is derived as follows.
     –     If chroma_format_idc is equal to 1 or 2, the following applies.

         xO = InverseRasterScan( chroma4x4BlkIdx, 4, 4, 8, 0 )                                                       (8-412)


         yO = InverseRasterScan( chroma4x4BlkIdx, 4, 4, 8, 1 )                                                       (8-413)


     –     Otherwise (chroma_format_idc is equal to 3), the following applies.

         xO = InverseRasterScan( chroma4x4BlkIdx / 4, 8, 8, 16, 0 ) +
                     InverseRasterScan( chroma4x4BlkIdx % 4, 4, 4, 8, 0 )                                            (8-414)


         yO =InverseRasterScan( chroma4x4BlkIdx / 4, 8, 8, 16, 1 ) +
                    InverseRasterScan( chroma4x4BlkIdx % 4, 4, 4, 8, 1 )                                             (8-415)


–    Depending on the variable MbaffFrameFlag and the current macroblock, the following applies.
     –     If MbaffFrameFlag is equal to 1 and the current macroblock is a field macroblock

              S'C[ ( xP / subWidthC ) + xO + j, ( ( yP + SubHeightC – 1 ) / SubHeightC ) + 2 * ( yO + i ) ] = uij
                       with i, j = 0..3                                                                              (8-416)


     –     Otherwise (MbaffFrameFlag is equal to 0 or the current macroblock is a frame macroblock),

              S'C[ ( xP/ subWidthC ) + xO + j, ( yP / SubHeightC ) + yO + i ] = uij with i, j = 0..3                 (8-417)


8.5.13     Residual colour transform process
This process is invoked when residual_colour_transform_flag is equal to 1.
After invoking, this process is suspended until the derivation of RY,ij, RCb,ij, and RCr,ij has been completed for
i, j = 0..ijMax, where ijMax is specified as follows.
–    If transform_size_8x8_flag is equal to 0, the variable ijMax is set equal to 3.
–    Otherwise (transform_size_8x8_flag is equal to 1), the variable ijMax is set equal to 7.
At the resumption of this process, all values RY,ij, RCb,ij, and RCr,ij with i, j = 0..ijMax shall be available through prior
invocations of the relevant processes specified in subclauses 8.5.1, 8.5.2, 8.5.3, or 8.5.4
For each i, j = 0..ijMax, the residual colour transform is computed as

         t = RY,ij – (RCb,ij >> 1 )                                                                                  (8-418)


         RG,ij = t + RCb,ij                                                                                          (8-419)


         RB,ij = t – (RCr,ij >> 1 )                                                                                  (8-420)


         RR,ij = RB,ij + RCr,ij                                                                                      (8-421)


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      NOTE – The residual colour transform is similar to the YCgCo transformation specified in Equations E-30 through E-33.
      However, the residual colour transform operates on the decoded residual difference data within the decoding process rather than
      operating as a post-processing step that is outside the decoding process specified in this Recommendation | International
      Standard.


8.6         Decoding process for P macroblocks in SP slices or SI macroblocks
This process is invoked when decoding P macroblock types in an SP slice type or an SI macroblock type in SI slices.
Inputs to this process are the prediction residual transform coefficient levels and the predicted samples for the current
macroblock.
Outputs of this process are the decoded samples of the current macroblock prior to the deblocking filter process.
This subclause specifies the transform coefficient decoding process and picture construction process for P macroblock
types in SP slices and SI macroblock type in SI slices.
      NOTE – SP slices make use of Inter predictive coding to exploit temporal redundancy in the sequence, in a similar manner to P
      slice coding. Unlike P slice coding, however, SP slice coding allows identical reconstruction of a slice even when different
      reference pictures are being used. SI slices make use of spatial prediction, in a similar manner to I slices. SI slice coding allows
      identical reconstruction to a corresponding SP slice. The properties of SP and SI slices aid in providing functionalities for
      bitstream switching, splicing, random access, fast-forward, fast reverse, and error resilience/recovery.
An SP slice consists of macroblocks coded either as I macroblock types or P macroblock types.
An SI slice consists of macroblocks coded either as I macroblock types or SI macroblock type.
The transform coefficient decoding process and picture construction process prior to deblocking filter process for I
macroblock types in SI slices is invoked as specified in subclause 8.5. SI macroblock type is decoded as described
below.
When the current macroblock is coded as P_Skip, all values of LumaLevel, ChromaDCLevel, ChromaACLevel are set
equal to 0 for the current macroblock.

8.6.1       SP decoding process for non-switching pictures
This process is invoked, when decoding P macroblock types in SP slices in which sp_for_switch_flag is equal to 0.
Inputs to this process are Inter prediction samples for the current macroblock from subclause 8.4 and the prediction
residual transform coefficient levels.
Outputs of this process are the decoded samples of the current macroblock prior to the deblocking filter process.
This subclause applies to all macroblocks in SP slices in which sp_for_switch_flag is equal to 0, except those with
macroblock prediction mode equal to Intra_4x4 or Intra_16x16. It does not apply to SI slices.

8.6.1.1      Luma transform coefficient decoding process
Inputs to this process are Inter prediction luma samples for the current macroblock predL from subclause 8.4 and the
prediction residual transform coefficient levels, LumaLevel, and the index of the 4x4 luma block luma4x4BlkIdx.
The position of the upper-left sample of the 4x4 luma block with index luma4x4BlkIdx inside the current macroblock is
derived by invoking the inverse 4x4 luma block scanning process in subclause 6.4.3 with luma4x4BlkIdx as the input
and the output being assigned to ( x, y ).
Let the variable p be a 4x4 array of prediction samples with element pij being derived as follows.

          pij = predL[ x + j, y + i ] with i, j = 0..3                                                                            (8-422)


The variable p is transformed producing transform coefficients cp according to:

               1   1   1   1 p 00            p 01     p 02   p 03  1   2   1   1
               2   1 − 1 − 2 p10           p11      p12          
                                                                p13  1    1 − 1 − 2
          cp =                                                                                                                   (8-423)
               1 −1 −1     1 p 20            p 21     p 22   p 23  1 − 1 − 1   2
                                                                                 
               1 − 2  2 − 1 p 30             p 31     p 32   p 33  1 − 2   1 − 1


The inverse transform coefficient scanning process as described in subclause 8.5.5 is invoked with
LumaLevel[ luma4x4BlkIdx ] as the input and the two-dimensional array cr with elements cijr as the output.


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The prediction residual transform coefficients cr are scaled using quantisation parameter QPY, and added to the
transform coefficients of the prediction block cp with i, j = 0..3 as follows.

          cijs = cijp + ( ( ( cijr * LevelScale( QPY % 6, i, j ) * Aij ) << ( QPY / 6 ) ) >> 10 )                          (8-424)


where LevelScale( m, i, j ) is specified in Equation 8-312, and where Aij is specified as:

                 16 for (i, j) ∈{(0,0), (0,2), (2,0), (2,2)},
                                                                                                                          (8-425)
          A ij = 25 for (i, j) ∈{(1,1), (1,3), (3,1), (3,3)},
                 20 otherwise;
                 

The function LevelScale2( m, i, j ), used in the formulas below, is specified as:

                                 w m0           for (i, j) ∈ {(0,0), (0,2), (2,0), (2,2)},
                                                                                                                          (8-426)
          LevelScale2(m, i, j) = w m1           for (i, j) ∈ {(1,1), (1,3), (3,1), (3,3)},
                                 w              otherwise;
                                  m2

where the first and second subscripts of w are row and column indices, respectively, of the matrix specified as:

            13107            5243       8066
            11916            4660       7490
            
            10082            4194       6554
          w=                                                                                                             (8-427)
             9362            3647       5825
             8192            3355       5243
                                             
             7282           2893       4559

The resulting sum, cs, is quantised with a quantisation parameter QSY and with i, j = 0..3 as follows.

          cij = Sign( cijs ) * ( ( Abs( cijs ) * LevelScale2( QSY % 6, i, j ) + ( 1 << ( 14 + QSY / 6 ) ) ) >> ( 15 + QSY / 6 ) )
                                                                                                                             (8-428)


The scaling and transformation process for residual 4x4 blocks as specified in subclause 8.5.10 is invoked with c as the
input and r as the output.
The 4x4 array u with elements uij is derived as follows.

          uij = Clip1Y( rij ) with i, j = 0..3                                                                             (8-429)


The picture construction process prior to deblocking filter process in subclause 8.5.12 is invoked with luma4x4BlkIdx
and u as the inputs.

8.6.1.2      Chroma transform coefficient decoding process
Inputs to this process are Inter prediction chroma samples for the current macroblock from subclause 8.4 and the
prediction residual transform coefficient levels, ChromaDCLevel and ChromaACLevel.
This process is invoked twice: once for the Cb component and once for the Cr component. The component is referred to
by replacing C with Cb for the Cb component and C with Cr for the Cr component. Let iCbCr select the current chroma
component.
For each 4x4 block of the current chroma component indexed using chroma4x4BlkIdx with chroma4x4BlkIdx equal
to 0..3, the following applies.
–    The position of the upper-left sample of a 4x4 chroma block with index chroma4x4BlkIdx inside the macroblock is
     derived as follows.

          x = InverseRasterScan( chroma4x4BlkIdx, 4, 4, 8, 0 )                                                             (8-430)

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        y = InverseRasterScan( chroma4x4BlkIdx, 4, 4, 8, 1 )                                                            (8-431)


–     Let p be a 4x4 array of prediction samples with elements pij being derived as follows.

        pij = predC[ x + j, y + i ] with i, j = 0..3                                                                    (8-432)


–     The 4x4 array p is transformed producing transform coefficients cp( chroma4x4BlkIdx ) using Equation 8-423.
–     The variable chromaList, which is a list of 16 entries, is derived. chromaList[ 0 ] is set equal to 0. chromaList[ k ]
      with index k = 1..15 are specified as follows.

        chromaList[ k ] = ChromaACLevel[ iCbCr ][ chroma4x4BlkIdx ][ k - 1 ]                                            (8-433)


–     The inverse transform coefficient scanning process as described in subclause 8.5.5 is invoked with chromaList as
      the input and the 4x4 array cr as the output.
–     The prediction residual transform coefficients cr are scaled using quantisation parameter QPC, and added to the
      transform coefficients of the prediction block cp with i, j = 0..3 except for the combination i = 0, j = 0 as follows.

        cijs = cijp( chroma4x4BlkIdx ) + ( ( ( cijr * LevelScale( QPC % 6, i, j ) * Aij ) << ( QPC / 6 ) ) >> 10 )      (8-434)


–     The resulting sum, cs, is quantised with a quantisation parameter QSC and with i, j = 0..3 except for the
      combination i = 0, j = 0 as follows. The derivation of c00( chroma4x4BlkIdx ) is described below in this subclause.

        cij( chroma4x4BlkIdx ) = ( Sign( cijs ) * ( Abs( cijs ) * LevelScale2( QSC % 6, i, j ) +
                                 ( 1 << ( 14 + QSC / 6 ) ) ) ) >> ( 15 + QSC / 6 )                                      (8-435)


–     The scaling and transformation process for residual 4x4 blocks as specified in 8.5.10 is invoked with
      c( chroma4x4BlkIdx ) as the input and r as the output.
–     The 4x4 array u with elements uij is derived as follows.

        uij = Clip1C( rij ) with i, j = 0..3                                                                            (8-436)


–     The picture construction process prior to deblocking filter process in subclause 8.5.12 is invoked with
      chroma4x4BlkIdx and u as the inputs.
The derivation of the DC transform coefficient level c00( chroma4x4BlkIdx ) is specified as follows. The DC transform
coefficients of the 4 prediction chroma 4x4 blocks of the current component of the macroblock are assembled into a 2x2
matrix with elements c00p(chroma4x4BlkIdx) and a 2x2 transform is applied to the DC transform coefficients as follows

               1 1  c 00
                          p        p
                             (0) c 00 (1)  1 1                                                                       (8-437)
        dc p =        p                     
               1 − 1 c 00 (2) c 00 (3) 1 − 1
                                   p




The chroma DC prediction residual transform coefficient levels, ChromaDCLevel[ iCbCr ][ k ] with k = 0..3 are scaled
using quantisation parameter QP, and added to the prediction DC transform coefficients as follows.

 dcijs = dcijp + ( ( ( ChromaDCLevel[ iCbCr ][ j * 2 + i ] * LevelScale( QPC % 6, 0, 0) * A00 ) << ( QPC / 6 ) ) >> 9 )
        with i, j = 0, 1                                                                                             (8-438)


The 2x2 array dcs, is quantised using the quantisation parameter QSC as follows.

 dcijr = ( Sign( dcijs ) * ( Abs( dcijs ) * LevelScale2( QSC % 6, 0, 0) + ( 1 << ( 15 + QSC / 6 ) ) ) ) >> ( 16 + QSC / 6 )
        with i, j = 0, 1                                                                                                 (8-439)




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The 2x2 array f with elements fij and i, j = 0..1 is derived as follows.

             1 1 dc00 r            r
                                    dc01  1 1
          f =      r               r        .                                                                        (8-440)
             1 − 1  dc10         dc11  1 − 1


Scaling of the elements fij of f is performed as follows.

          c00( j * 2 + i ) = ( ( fij * LevelScale( QSC % 6, 0, 0 ) ) << ( QSC / 6 ) ) >> 5 with i, j = 0, 1                (8-441)


8.6.2       SP and SI slice decoding process for switching pictures
This process is invoked, when decoding P macroblock types in SP slices in which sp_for_switch_flag is equal to 1 and
when decoding SI macroblock type in SI slices.
Inputs to this process are the prediction residual transform coefficient levels and the prediction sample arrays predL,
predCb and predCr for the current macroblock.

8.6.2.1      Luma transform coefficient decoding process
Inputs to this process are prediction luma samples predL and the luma prediction residual transform coefficient levels,
LumaLevel.
The 4x4 array p with elements pij with i, j = 0..3 is derived as in subclause 8.6.1.1, is transformed according to
Equation 8-423 to produce transform coefficients cp. These transform coefficients are then quantised with the
quantisation parameter QSY, as follows:

          cijs = Sign( cijp ) * ( ( Abs( cijp ) * LevelScale2( QSY % 6, i, j ) + ( 1 << ( 14 + QSY / 6 ) ) ) >> ( 15 + QSY / 6 ) )
                                                                                                      with i, j = 0..3       (8-442)


The inverse transform coefficient scanning process as described in subclause 8.5.5 is invoked with
LumaLevel[ luma4x4BlkIdx ] as the input and the two-dimensional array cr with elements cijr as the output.
The 4x4 array c with elements cij with i, j = 0..3 is derived as follows.

          cij = cijr + cijs with i, j = 0..3                                                                               (8-443)


The scaling and transformation process for residual 4x4 blocks as specified in subclause 8.5.10 is invoked with c as the
input and r as the output.
The 4x4 array u with elements uij is derived as follows.

          uij = Clip1Y( rij ) with i, j = 0..3                                                                             (8-444)


The picture construction process prior to deblocking filter process in subclause 8.5.12 is invoked with luma4x4BlkIdx
and u as the inputs.

8.6.2.2      Chroma transform coefficient decoding process
Inputs to this process are predicted chroma samples for the current macroblock from subclause 8.4 and the prediction
residual transform coefficient levels, ChromaDCLevel and ChromaACLevel.
This process is invoked twice: once for the Cb component and once for the Cr component. The component is referred to
by replacing C with Cb for the Cb component and C with Cr for the Cr component. Let iCbCr select the current chroma
component.
For each 4x4 block of the current chroma component indexed using chroma4x4BlkIdx with chroma4x4BlkIdx equal
to 0..3, the following applies.
1.   The 4x4 array p with elements pij with i, j = 0..3 is derived as in subclause 8.6.1.2, is transformed according to
     Equation 8-423 to produce transform coefficients cp( chroma4x4BlkIdx ). These transform coefficients are then
     quantised with the quantisation parameter QSC, with i, j = 0..3 except for the combination i = 0, j = 0 as follows.
     The processing of c00p( chroma4x4BlkIdx ) is described below in this subclause.




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         cijs = ( Sign( cijp( chroma4x4BlkIdx ) ) * ( Abs( cijp( chroma4x4BlkIdx ) ) *
                        LevelScale2( QSC % 6, i, j ) + ( 1 << ( 14 + QSC / 6 ) ) ) ) >> ( 15 + QSC / 6)                        (8-445)


–      The variable chromaList, which is a list of 16 entries, is derived. chromaList[ 0 ] is set equal to 0. chromaList[ k ]
       with index k = 1..15 are specified as follows.

         chromaList[ k ] = ChromaACLevel[ iCbCr ][ chroma4x4BlkIdx ][ k - 1 ]                                                  (8-446)


–      The inverse transform coefficient scanning process as described in subclause 8.5.5 is invoked with chromaList as
       the input and the two-dimensional array cr( chroma4x4BlkIdx ) with elements cijr( chroma4x4BlkIdx ) as the
       output.
–      The 4x4 array c( chroma4x4BlkIdx ) with elements cij( chroma4x4BlkIdx ) with i, j = 0..3 except for the
       combination i = 0, j = 0 is derived as follows. The derivation of c00( chroma4x4BlkIdx ) is described below.

         cij( chroma4x4BlkIdx ) = cijr( chroma4x4BlkIdx ) + cijs                                                               (8-447)


–      The scaling and transformation process for residual 4x4 blocks as specified in subclause 8.5.10 is invoked with
       c( chroma4x4BlkIdx ) as the input and r as the output.
–      The 4x4 array u with elements uij is derived as follows.

         uij = Clip1C( rij ) with i, j = 0..3                                                                                  (8-448)


–      The picture construction process prior to deblocking filter process in subclause 8.5.12 is invoked with
       chroma4x4BlkIdx and u as the inputs.
The derivation of the DC transform coefficient level c00( chroma4x4BlkIdx ) is specified as follows. The DC transform
coefficients of the 4 prediction 4x4 chroma blocks of the current component of the macroblock,
c00p( chroma4x4BlkIdx ), are assembled into a 2x2 matrix, and a 2x2 transform is applied to the DC transform
coefficients of these blocks according to Equation 8-437 resulting in DC transform coefficients dcijp.
These DC transform coefficients are then quantised with the quantisation parameter QSC, as given by:

         dcijs = ( Sign( dcijp ) * ( Abs( dcijp ) * LevelScale2( QSC % 6, 0, 0 ) + ( 1 << ( 15 + QSC / 6 ) ) ) ) >>
                       ( 16 + QSC / 6 )                                                            with i, j = 0, 1            (8-449)


The parsed chroma DC prediction residual transform coefficients, ChromaDCLevel[ iCbCr ][ k ] with k = 0..3 are added
to these quantised DC transform coefficients of the prediction block, as given by:

         dcijr = dcijs + ChromaDCLevel[ iCbCr ][ j * 2 + i ] with i, j = 0, 1                                                  (8-450)


The 2x2 array f with elements fij and i, j = 0..1 is derived using Equation 8-440.
The 2x2 array f with elements fij and i, j = 0..1 is copied as follows.

         c00( j * 2 + i ) = fij with i, j = 0, 1                                                                               (8-451)



8.7         Deblocking filter process
A conditional filtering process is applied to all NxN (where N = 4 or N = 8 for luma, and N = 4 for chroma) block edges
of a picture, except edges at the boundary of the picture and any edges for which the deblocking filter process is
disabled by disable_deblocking_filter_idc, as specified below. This filtering process is performed on a macroblock basis
after the completion of the picture construction process prior to deblocking filter process (as specified in subclauses 8.5
and 8.6) for the entire decoded picture, with all macroblocks in a picture processed in order of increasing macroblock
addresses.
      NOTE 1 – Prior to the operation of the deblocking filter process for each macroblock, the deblocked samples of the macroblock
      or macroblock pair above (if any) and the macroblock or macroblock pair to the left (if any) of the current macroblock are always
      available because the deblocking filter process is performed after the completion of the picture construction process prior to
      deblocking filter process for the entire decoded picture. However, for purposes of determining which edges are to be filtered



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     when disable_deblocking_filter_idc is equal to 2, macroblocks in different slices are considered not available during specified
     steps of the operation of the deblocking filter process.
The deblocking filter process is invoked for the luma and chroma components separately. For each macroblock and
each component, vertical edges are filtered first, starting with the edge on the left-hand side of the macroblock
proceeding through the edges towards the right-hand side of the macroblock in their geometrical order, and then
horizontal edges are filtered, starting with the edge on the top of the macroblock proceeding through the edges towards
the bottom of the macroblock in their geometrical order. Figure 8-10 shows edges of a macroblock which can be
interpreted as luma or chroma edges.
When interpreting the edges in Figure 8-10 as luma edges, depending on the transform_size_8x8_flag, the following
applies.
–     If transform_size_8x8_flag is equal to 0, both types, the solid bold and dashed bold luma edges are filtered.
–     Otherwise (transform_size_8x8_flag is equal to 1), only the solid bold luma edges are filtered.
When interpreting the edges in Figure 8-10 as chroma edges, depending on chroma_format_idc, the following applies.
–     If chroma_format_idc is equal to 1 (4:2:0 format), only the solid bold chroma edges are filtered.
–     Otherwise, if chroma_format_idc is equal to 2 (4:2:2 format), the solid bold vertical chroma edges are filtered and
      both types, the solid bold and dashed bold horizontal chroma edges are filtered.
–     Otherwise, if chroma_format_idc is equal to 3 (4:4:4 format), both types, the solid bold and dashed bold chroma
      edges are filtered.
–     Otherwise (chroma_format_idc is equal to 0 (monochrome)), no chroma edges are filtered.




                                  Figure 8-10 – Boundaries in a macroblock to be filtered




For the current macroblock address CurrMbAddr proceeding over values 0..PicSizeInMbs – 1, the following applies.
1.    The derivation process for neighbouring macroblocks specified in subclause 6.4.8.1 is invoked and the output is
      assigned to mbAddrA and mbAddrB.
2.    The variables fieldModeMbFlag, filterInternalEdgesFlag, filterLeftMbEdgeFlag and filterTopMbEdgeFlag are
      derived as follows.
      –     The variable fieldModeMbFlag is derived as follows.
            –     If any of the following conditions is true, fieldModeMbFlag is set equal to 1.
                  –     field_pic_flag is equal to 1
                  –     MbaffFrameFlag is equal to 1 and the macroblock CurrMbAddr is a field macroblock
            –     Otherwise, fieldModeMbFlag is set equal to 0.
      –     The variable filterInternalEdgesFlag is derived as follows.



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           –    If disable_deblocking_filter_idc for the slice that contains the macroblock CurrMbAddr is equal to 1,
                the variable filterInternalEdgesFlag is set equal to 0;
           –    Otherwise (disable_deblocking_filter_idc for the slice that contains the macroblock CurrMbAddr is not
                equal to 1), the variable filterInternalEdgesFlag is set equal to 1.
      –    The variable filterLeftMbEdgeFlag is derived as follows.
           –    If any of the following conditions is true, the variable filterLeftMbEdgeFlag is set equal to 0.
                –    MbaffFrameFlag is equal to 0 and CurrMbAddr % PicWidthInMbs is equal to 0.
                –    MbaffFrameFlag is equal to 1 and ( CurrMbAddr >> 1 ) % PicWidthInMbs is equal to 0
                –    disable_deblocking_filter_idc for the slice that contains the macroblock CurrMbAddr is equal to 1
                –    disable_deblocking_filter_idc for the slice that contains the macroblock CurrMbAddr is equal to 2
                     and the macroblock mbAddrA is not available
           –    Otherwise, the variable filterLeftMbEdgeFlag is set equal to 1.
      –    The variable filterTopMbEdgeFlag is derived as follows.
           –    If any of the following conditions is true, the variable filterTopMbEdgeFlag is set equal to 0.
                –    MbaffFrameFlag is equal to 0 and CurrMbAddr is less than PicWidthInMbs.
                –    MbaffFrameFlag is equal to 1, ( CurrMbAddr >> 1 ) is less than PicWidthInMbs, and the
                     macroblock CurrMbAddr is a field macroblock.
                –    MbaffFrameFlag is equal to 1, ( CurrMbAddr >> 1 ) is less than PicWidthInMbs, the macroblock
                     CurrMbAddr is a frame macroblock, and CurrMbAddr % 2 is equal to 0.
                –    disable_deblocking_filter_idc for the slice that contains the macroblock CurrMbAddr is equal to 1
                –    disable_deblocking_filter_idc for the slice that contains the macroblock CurrMbAddr is equal to 2
                     and the macroblock mbAddrB is not available
           –    Otherwise, the variable filterTopMbEdgeFlag is set equal to 1.
3.    Given the variables fieldModeMbFlag, filterInternalEdgesFlag, filterLeftMbEdgeFlag and filterTopMbEdgeFlag
      the deblocking filtering is controlled as follows.
      –    When filterLeftMbEdgeFlag is equal to 1, the filtering of the left vertical luma edge is specified as follows.
           –    The process specified in subclause 8.7.1 is invoked with chromaEdgeFlag = 0, verticalEdgeFlag = 1,
                fieldModeFilteringFlag = fieldModeMbFlag, and (xEk, yEk) = (0, k) with k = 0..15 as input and S'L as
                output.
      –    When filterInternalEdgesFlag is equal to 1, the filtering of the internal vertical luma edges is specified as
           follows.
           –    When transform_size_8x8_flag is equal to 0, the process specified in subclause 8.7.1 is invoked with
                chromaEdgeFlag = 0,        verticalEdgeFlag = 1,      fieldModeFilteringFlag = fieldModeMbFlag, and
                (xEk, yEk) = (4, k) with k = 0..15 as input and S'L as output.
           –    The process specified in subclause 8.7.1 is invoked with chromaEdgeFlag = 0, verticalEdgeFlag = 1,
                fieldModeFilteringFlag = fieldModeMbFlag, and (xEk, yEk) = (8, k) with k = 0..15 as input and S'L as
                output.
           –    When transform_size_8x8_flag is equal to 0, the process specified in subclause 8.7.1 is invoked with
                chromaEdgeFlag = 0,        verticalEdgeFlag = 1,      fieldModeFilteringFlag = fieldModeMbFlag, and
                (xEk, yEk) = (12, k) with k = 0..15 as input and S'L as output.
      –    When filterTopMbEdgeFlag is equal to 1, the filtering of the top horizontal luma edge is specified as follows.
           –    If MbaffFrameFlag is equal to 1, (CurrMbAddr % 2) is equal to 0, CurrMbAddr is greater than or equal
                to 2 * PicWidthInMbs, the macroblock CurrMbAddr is a frame macroblock, and the macroblock
                (CurrMbAddr - 2 * PicWidthInMbs + 1) is a field macroblock, the following applies.
                –    The process specified in subclause 8.7.1 is invoked with chromaEdgeFlag = 0,
                     verticalEdgeFlag = 0, fieldModeFilteringFlag = 1, and (xEk, yEk) = (k, 0) with k = 0..15 as input
                     and S'L as output.


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            –    The process specified in subclause 8.7.1 is invoked with chromaEdgeFlag = 0,
                 verticalEdgeFlag = 0, fieldModeFilteringFlag = 1, and (xEk, yEk) = (k, 1) with k = 0..15 as input
                 and S'L as output.
       –    Otherwise, the process specified in subclause 8.7.1 is invoked with chromaEdgeFlag = 0,
            verticalEdgeFlag = 0, fieldModeFilteringFlag = fieldModeMbFlag, and (xEk, yEk) = (k, 0) with
            k = 0..15 as input and S'L as output.
   –   When filterInternalEdgesFlag is equal to 1, the filtering of the internal horizontal luma edges is specified as
       follows.
       –    When transform_size_8x8_flag is equal to 0, the process specified in subclause 8.7.1 is invoked with
            chromaEdgeFlag = 0,        verticalEdgeFlag = 0,      fieldModeFilteringFlag = fieldModeMbFlag, and
            (xEk, yEk) = (k, 4) with k = 0..15 as input and S'L as output.
       –    The process specified in subclause 8.7.1 is invoked with chromaEdgeFlag = 0, verticalEdgeFlag = 0,
            fieldModeFilteringFlag = fieldModeMbFlag, and (xEk, yEk) = (k, 8) with k = 0..15 as input and S'L as
            output.
       –    When transform_size_8x8_flag is equal to 0, the process specified in subclause 8.7.1 is invoked with
            chromaEdgeFlag = 0,        verticalEdgeFlag = 0,      fieldModeFilteringFlag = fieldModeMbFlag, and
            (xEk, yEk) = (k, 12) with k = 0..15 as input and S'L as output.
   –   For the filtering of both chroma components with iCbCr = 0 for Cb and iCbCr = 1 for Cr, the following
       applies.
       –    When filterLeftMbEdgeFlag is equal to 1, the filtering of the left vertical chroma edge is specified as
            follows.
       –    The process specified in subclause 8.7.1 is invoked with chromaEdgeFlag = 1, iCbCr,
            verticalEdgeFlag = 1, fieldModeFilteringFlag = fieldModeMbFlag, and (xEk, yEk) = (0, k) with
            k = 0..MbHeightC - 1 as input and S'C with C being replaced by Cb for iCbCr = 0 and C being replaced
            by Cr for iCbCr = 1 as output.
       –    When filterInternalEdgesFlag is equal to 1, the filtering of the internal vertical chroma edge is specified
            as follows.
            –    The process specified in subclause 8.7.1 is invoked with chromaEdgeFlag = 1, iCbCr,
                 verticalEdgeFlag = 1, fieldModeFilteringFlag = fieldModeMbFlag, and (xEk, yEk) = (4, k) with
                 k = 0..MbHeightC - 1 as input and S'C with C being replaced by Cb for iCbCr = 0 and C being
                 replaced by Cr for iCbCr = 1 as output.
            –    When chroma_format_idc is equal to 3, the process specified in subclause 8.7.1 is invoked with
                 chromaEdgeFlag = 1, iCbCr, verticalEdgeFlag = 1, fieldModeFilteringFlag = fieldModeMbFlag,
                 and (xEk, yEk) = (8, k) with k = 0..MbHeightC - 1 as input and S'C with C being replaced by Cb for
                 iCbCr = 0 and C being replaced by Cr for iCbCr = 1 as output.
            –    When chroma_format_idc is equal to 3, the process specified in subclause 8.7.1 is invoked with
                 chromaEdgeFlag = 1, iCbCr, verticalEdgeFlag = 1, fieldModeFilteringFlag = fieldModeMbFlag,
                 and (xEk, yEk) = (12, k) with k = 0..MbHeightC - 1 as input and S'C with C being replaced by Cb
                 for iCbCr = 0 and C being replaced by Cr for iCbCr = 1 as output.
       –    When filterTopMbEdgeFlag is equal to 1, the filtering of the top horizontal chroma edge is specified as
            follows.
            –    If MbaffFrameFlag is equal to 1, (CurrMbAddr % 2) is equal to 0, CurrMbAddr is greater than or
                 equal to 2 * PicWidthInMbs, the macroblock CurrMbAddr is a frame macroblock, and the
                 macroblock (CurrMbAddr – 2 * PicWidthInMbs + 1) is a field macroblock, the following applies.
                 –     The process specified in subclause 8.7.1 is invoked with chromaEdgeFlag = 1, iCbCr,
                       verticalEdgeFlag = 0, fieldModeFilteringFlag = 1, and (xEk, yEk) = (k, 0) with
                       k = 0..MbWidthC - 1 as input and S'C with C being replaced by Cb for iCbCr = 0 and C being
                       replaced by Cr for iCbCr = 1 as output.
                 –     The process specified in subclause 8.7.1 is invoked with chromaEdgeFlag = 1, iCbCr,
                       verticalEdgeFlag = 0, fieldModeFilteringFlag = 1, and (xEk, yEk) = (k, 1) with
                       k = 0..MbWidthC - 1 as input and S'C with C being replaced by Cb for iCbCr = 0 and C being
                       replaced by Cr for iCbCr = 1 as output.



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                 –      Otherwise, the process specified in subclause 8.7.1 is invoked with chromaEdgeFlag = 1, iCbCr,
                        verticalEdgeFlag = 0, fieldModeFilteringFlag = fieldModeMbFlag, and (xEk, yEk) = (k, 0) with
                        k = 0..MbWidthC - 1 as input and S'C with C being replaced by Cb for iCbCr = 0 and C being
                        replaced by Cr for iCbCr = 1 as output.
           –     When filterInternalEdgesFlag is equal to 1, the filtering of the internal horizontal chroma edge is
                 specified as follows.
                 –      The process specified in subclause 8.7.1 is invoked with chromaEdgeFlag = 1, iCbCr,
                        verticalEdgeFlag = 0, fieldModeFilteringFlag = fieldModeMbFlag, and (xEk, yEk) = (k, 4) with
                        k = 0..MbWidthC - 1 as input and S'C with C being replaced by Cb for iCbCr = 0 and C being
                        replaced by Cr for iCbCr = 1 as output.
                 –      When chroma_format_idc is not equal to 1, the process specified in subclause 8.7.1 is invoked
                        with               chromaEdgeFlag = 1,                iCbCr,               verticalEdgeFlag = 0,
                        fieldModeFilteringFlag = fieldModeMbFlag, and (xEk, yEk) = (k, 8) with k = 0..MbWidthC - 1 as
                        input and S'C with C being replaced by Cb for iCbCr = 0 and C being replaced by Cr for iCbCr = 1
                        as output.
                 –      When chroma_format_idc is not equal to 1, the process specified in subclause 8.7.1 is invoked
                        with               chromaEdgeFlag = 1,                iCbCr,               verticalEdgeFlag = 0,
                        fieldModeFilteringFlag = fieldModeMbFlag, and (xEk, yEk) = (k, 12) with k = 0..MbWidthC - 1 as
                        input and S'C with C being replaced by Cb for iCbCr = 0 and C being replaced by Cr for iCbCr = 1
                        as output.
                     NOTE 2 – When field mode filtering (fieldModeFilteringFlag is equal to 1) is applied across the top horizontal
                     edges of a frame macroblock, this vertical filtering across the top or bottom macroblock boundary may involve
                     some samples that extend across an internal block edge that is also filtered internally in frame mode.
                     NOTE 3 – For example, in 4:2:0 chroma format when transform_size_8x8_flag is equal to 0, the following
                     applies. 3 horizontal luma edges, 1 horizontal chroma edge for Cb, and 1 horizontal chroma edge for Cr are
                     filtered that are internal to a macroblock. When field mode filtering (fieldModeFilteringFlag is equal to 1) is
                     applied to the top edges of a frame macroblock, 2 horizontal luma, 2 horizontal chroma edges for Cb, and 2
                     horizontal chroma edges for Cr between the frame macroblock and the above macroblock pair are filtered using
                     field mode filtering, for a total of up to 5 horizontal luma edges, 3 horizontal chroma edges for Cb, and 3
                     horizontal chroma edges for Cr filtered that are considered to be controlled by the frame macroblock. In all
                     other cases, at most 4 horizontal luma, 2 horizontal chroma edges for Cb, and 2 horizontal chroma edges for Cr
                     are filtered that are considered to be controlled by a particular macroblock.
Finally, the arrays S’L, S’Cb, S’Cr are assigned to the arrays SL, SCb, SCr (which represent the decoded picture),
respectively.

8.7.1     Filtering process for block edges
Inputs to this process are chromaEdgeFlag, the chroma component index iCbCr (when chromaEdgeFlag is equal to 1),
verticalEdgeFlag, fieldModeFilteringFlag, and a set of nE sample locations (xEk, yEk), with k = 0..nE - 1, expressed
relative to the upper left corner of the macroblock CurrMbAddr. The set of sample locations (xEk, yEk) represent the
sample locations immediately to the right of a vertical edge (when verticalEdgeFlag is equal to 1) or immediately below
a horizontal edge (when verticalEdgeFlag is equal to 0).
The variable nE is derived as follows.
–     If chromaEdgeFlag is equal to 0, nE is set equal to 16.
–     Otherwise (chromaEdgeFlag            is    equal    to 1),   nE    is    set   equal    to    ( verticalEdgeFlag = = 1 ) ?
      MbHeightC : MbWidthC.
Let s' be a variable specifying a luma or chroma sample array, be derived as follows.
– If chromaEdgeFlag is equal to 0, s' represents the luma sample array S'L of the current picture.
– Otherwise, if chromaEdgeFlag is equal to 1 and iCbCr is equal to 0, s' represents the chroma sample array S'Cb of the
  chroma component Cb of the current picture.
– Otherwise (chromaEdgeFlag is equal to 1 and iCbCr is equal to 1), s’ represents the chroma sample array S'Cr of the
  chroma component Cr of the current picture.
The variable dy is derived as follows.
– If fieldModeFilteringFlag is equal to 1 and MbaffFrameFlag is equal to 1, dy is set equal to 2.
– Otherwise (fieldModeFilteringFlag is equal to 0 or MbaffFrameFlag is equal to 0), dy is set equal to 1.



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The position of the upper-left luma sample of the macroblock CurrMbAddr is derived by invoking the inverse
macroblock scanning process in subclause 6.4.1 with mbAddr = CurrMbAddr as input and the output being assigned to
( xI, yI ).
The variables xP and yP are derived as follows.
– If chromaEdgeFlag is equal to 0, xP is set equal to xI and yP is set equal to yI.
– Otherwise (chromaEdgeFlag is equal to 1), xP is set equal to xI / SubWidthC and yP is set equal to
  (yI + SubHeightC – 1) / SubHeightC.




       Figure 8-11 – Convention for describing samples across a 4x4 block horizontal or vertical boundary




For each sample location ( xEk, yEk ), k = 0 .. nE - 1, the following applies.
– The filtering process is applied to a set of eight samples across a 4x4 block horizontal or vertical edge denoted as pi
  and qi with i = 0..3 as shown in Figure 8-11 with the edge lying between p0 and q0. pi and qi with i = 0..3 are
  specified as follows.
   – If verticalEdgeFlag is equal to 1,

         qi = s’[ xP + xEk + i, yP + dy * yEk ]                                                                   (8-452)


         pi = s’[ xP + xEk – i – 1, yP + dy * yEk ]                                                               (8-453)


   – Otherwise (verticalEdgeFlag is equal to 0),

         qi = s’[ xP + xEk, yP + dy * ( yEk + i ) – (yEk % 2 ) ]                                                  (8-454)


         pi = s’[ xP + xEk, yP + dy * ( yEk – i – 1 ) – (yEk % 2 ) ]                                              (8-455)


– The process specified in subclause 8.7.2 is invoked with the sample values pi and qi (i = 0..3), chromaEdgeFlag,
  verticalEdgeFlag, and fieldModeFilteringFlag as input, and the output is assigned to the filtered result sample values
  p'i and q'i with i = 0..2.
– The input sample values pi and qi with i = 0..2 are replaced by the corresponding filtered result sample values p'i and
  q'i with i = 0..2 inside the sample array s’ as follows.
   – If verticalEdgeFlag is equal to 1,

         s’[ xP + xEk + i, yP + dy * yEk ] = q'i                                                                  (8-456)


         s’[ xP + xEk – i – 1, yP + dy * yEk ] = p'i                                                              (8-457)


   – Otherwise (verticalEdgeFlag is equal to 0),

         s’[ xP + xEk, yP + dy * ( yEk + i ) – ( yEk % 2 ) ] = q'i                                                (8-458)


         s’[ xP + xEk, yP + dy * ( yEk – i – 1 ) – ( yEk % 2 ) ] = p'i                                            (8-459)




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8.7.2         Filtering process for a set of samples across a horizontal or vertical block edge
Inputs to this process are the input sample values pi and qi with i in the range of 0..3 of a single set of samples across an
edge that is to be filtered, chromaEdgeFlag, verticalEdgeFlag, and fieldModeFilteringFlag.
Outputs of this process are the filtered result sample values p'i and q'i with i in the range of 0..2.
The content dependent boundary filtering strength variable bS is derived as follows.
–     If chromaEdgeFlag is equal to 0, the derivation process for the content dependent boundary filtering strength
      specified in subclause 8.7.2.1 is invoked with p0, q0, and verticalEdgeFlag as input, and the output is assigned to
      bS.
–     Otherwise (chromaEdgeFlag is equal to 1), the bS used for filtering a set of samples of a horizontal or vertical
      chroma edge is set equal to the value of bS for filtering the set of samples of a horizontal or vertical luma edge,
      respectively, that contains the luma sample at location ( SubWidthC * x, SubHeightC * y ) inside the luma array of
      the same field, where ( x, y ) is the location of the chroma sample q0 inside the chroma array for that field.
The process specified in subclause 8.7.2.2 is invoked with p0, q0, p1, q1, chromaEdgeFlag, and bS as input, and the
output is assigned to filterSamplesFlag, indexA, α, and β.
Depending on the variable filterSamplesFlag, the following applies.
– If filterSamplesFlag is equal to 1, the following applies.
    – If bS is less than 4, the process specified in subclause 8.7.2.3 is invoked with pi and qi (i = 0..2),
      chromaEdgeFlag, bS, β, and indexA given as input, and the output is assigned to p'i and q'i (i = 0..2).
    – Otherwise (bS is equal to 4), the process specified in subclause 8.7.2.4 is invoked with pi and qi (i = 0..3),
      chromaEdgeFlag, α, and β given as input, and the output is assigned to p'i and q'i (i = 0..2).
– Otherwise (filterSamplesFlag is equal to 0), the filtered result samples p'i and q'i (i = 0..2) are replaced by the
  corresponding input samples pi and qi:

            for i = 0..2,        p'i = pi                                                                              (8-460)


            for i = 0..2,        q'i = qi                                                                              (8-461)


8.7.2.1        Derivation process for the luma content dependent boundary filtering strength
Inputs to this process are the input sample values p0 and q0 of a single set of samples across an edge that is to be filtered
and verticalEdgeFlag.
Output of this process is the variable bS.
Let the variable mixedModeEdgeFlag be derived as follows.
–     If MbaffFrameFlag is equal to 1 and the samples p0 and q0 are in different macroblock pairs, one of which is a
      field macroblock pair and the other is a frame macroblock pair, mixedModeEdgeFlag is set equal to 1
–     Otherwise, mixedModeEdgeFlag is set equal to 0.
The variable bS is derived as follows.
–     If the block edge is also a macroblock edge and any of the following conditions are true, a value of bS equal to 4 is
      the output:
        –      the samples p0 and q0 are both in frame macroblocks and either or both of the samples p0 or q0 is in a
               macroblock coded using an Intra macroblock prediction mode
        –      the samples p0 and q0 are both in frame macroblocks and either or both of the samples p0 or q0 is in a
               macroblock that is in a slice with slice_type equal to SP or SI
        –      MbaffFrameFlag is equal to 1 or field_pic_flag is equal to 1, and verticalEdgeFlag is equal to 1, and either or
               both of the samples p0 or q0 is in a macroblock coded using an Intra macroblock prediction mode
        –      MbaffFrameFlag is equal to 1 or field_pic_flag is equal to 1, and verticalEdgeFlag is equal to 1, and either or
               both of the samples p0 or q0 is in a macroblock that is in a slice with slice_type equal to SP or SI




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–   Otherwise, if any of the following conditions are true, a value of bS equal to 3 is the output:
    –    mixedModeEdgeFlag is equal to 0 and either or both of the samples p0 or q0 is in a macroblock coded using an
         Intra macroblock prediction mode
    –    mixedModeEdgeFlag is equal to 0 and either or both of the samples p0 or q0 is in a macroblock that is in a
         slice with slice_type equal to SP or SI
    –    mixedModeEdgeFlag is equal to 1, verticalEdgeFlag is equal to 0, and either or both of the samples p0 or q0 is
         in a macroblock coded using an Intra macroblock prediction mode
    –    mixedModeEdgeFlag is equal to 1, verticalEdgeFlag is equal to 0, and either or both of the samples p0 or q0 is
         in a macroblock that is in a slice with slice_type equal to SP or SI
–   Otherwise, if the following condition is true, a value of bS equal to 2 is the output:
    –    the luma block containing sample p0 or the luma block containing sample q0 contains non-zero transform
         coefficient levels
–   Otherwise, if any of the following conditions are true, a value of bS equal to 1 is the output:
    –    mixedModeEdgeFlag is equal to 1
    –    mixedModeEdgeFlag is equal to 0 and for the prediction of the macroblock/sub-macroblock partition
         containing the sample p0 different reference pictures or a different number of motion vectors are used than for
         the prediction of the macroblock/sub-macroblock partition containing the sample q0.
         NOTE 1 – The determination of whether the reference pictures used for the two macroblock/sub-macroblock partitions are
         the same or different is based only on which pictures are referenced, without regard to whether a prediction is formed
         using an index into reference picture list 0 or an index into reference picture list 1, and also without regard to whether or
         not the index position within a reference picture list is different or not.
    –    mixedModeEdgeFlag is equal to 0 and one motion vector is used to predict the macroblock/sub-macroblock
         partition containing the sample p0 and one motion vector is used to predict the macroblock/sub-macroblock
         partition containing the sample q0 and the absolute difference between the horizontal or vertical component of
         the motion vectors used is greater than or equal to 4 in units of quarter luma frame samples.
    –    mixedModeEdgeFlag is equal to 0 and two motion vectors and two different reference pictures are used to
         predict the macroblock/sub-macroblock partition containing the sample p0 and two motion vectors for the
         same two reference pictures are used to predict the macroblock/sub-macroblock partition containing the
         sample q0 and the absolute difference between the horizontal or vertical component of the two motion vectors
         used in the prediction of the two macroblock/sub-macroblock partitions for the same reference picture is
         greater than or equal to 4 in units of quarter luma frame samples.
    –    mixedModeEdgeFlag is equal to 0 and two motion vectors for the same reference picture are used to predict
         the macroblock/sub-macroblock partition containing the sample p0 and two motion vectors for the same
         reference picture are used to predict the macroblock/sub-macroblock partition containing the sample q0 and
         both of the following conditions are true:
         –    The absolute difference between the horizontal or vertical component of list 0 motion vectors used in the
              prediction of the two macroblock/sub-macroblock partitions is greater than or equal to 4 in quarter luma
              frame samples or the absolute difference between the horizontal or vertical component of the list 1
              motion vectors used in the prediction of the two macroblock/sub-macroblock partitions is greater than or
              equal to 4 in units of quarter luma frame samples.
         –    The absolute difference between the horizontal or vertical component of list 0 motion vector used in the
              prediction of the macroblock/sub-macroblock partition containing the sample p0 and the list 1 motion
              vector used in the prediction of the macroblock/sub-macroblock partition containing the sample q0 is
              greater than or equal to 4 in units of quarter luma frame samples or the absolute difference between the
              horizontal or vertical component of the list 1 motion vector used in the prediction of the macroblock/sub-
              macroblock partition containing the sample p0 and list 0 motion vector used in the prediction of the
              macroblock/sub-macroblock partition containing the sample q0 is greater than or equal to 4 in units of
              quarter luma frame samples.
                  NOTE 2 – A vertical difference of 4 in units of quarter luma frame samples is a difference of 2 in units of quarter
                  luma field samples




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–     Otherwise, a value of bS equal to 0 is the output.

8.7.2.2     Derivation process for the thresholds for each block edge
Inputs to this process are the input sample values p0, q0, p1 and q1 of a single set of samples across an edge that is to be
filtered, chromaEdgeFlag, and bS, for the set of input samples, as specified in 8.7.2.
Outputs of this process are the variable filterSamplesFlag, which indicates whether the input samples are filtered, the
value of indexA, and the values of the threshold variables α and β.
Let qPp and qPq be variables specifying quantisation parameter values for the macroblocks containing the samples p0
and q0, respectively. The variables qPz (with z being replaced by p or q) are derived as follows.
– If chromaEdgeFlag is equal to 0, the following applies.
    – If the macroblock containing the sample z0 is an I_PCM macroblock, qPz is set to 0.
    – Otherwise (the macroblock containing the sample z0 is not an I_PCM macroblock), qPz is set to the value of QPY
      of the macroblock containing the sample z0.
– Otherwise (chromaEdgeFlag is equal to 1), the following applies.
    – If the macroblock containing the sample z0 is an I_PCM macroblock, qPz is set to the value of QPC that
      corresponds to a value of 0 for QPY as specified in subclause 8.5.7.
    – Otherwise (the macroblock containing the sample z0 is not an I_PCM macroblock), qPz is set to the value of QPC
      that corresponds to the value QPY of the macroblock containing the sample z0 as specified in subclause 8.5.7.
Let qPav be a variable specifying an average quantisation parameter. It is derived as follows.

          qPav = ( qPp + qPq + 1 ) >> 1                                                                                   (8-462)

    NOTE – In SP and SI slices, qPav is derived in the same way as in other slice types. QSY from Equation 7-28 is not used in the
    deblocking filter.

Let indexA be a variable that is used to access the α table (Table 8-16) as well as the tC0 table (Table 8-17), which is
used in filtering of edges with bS less than 4 as specified in subclause 8.7.2.3, and let indexB be a variable that is used
to access the β table (Table 8-16). The variables indexA and indexB are derived as follows, where the values of
FilterOffsetA and FilterOffsetB are the values of those variables specified in subclause 7.4.3 for the slice that contains
the macroblock containing sample q0.

          indexA = Clip3( 0, 51, qPav + FilterOffsetA )                                                                   (8-463)


          indexB = Clip3( 0, 51, qPav + FilterOffsetB )                                                                   (8-464)


The variables α' and β' depending on the values of indexA and indexB are specified in Table 8-16. Depending on
chromaEdgeFlag, the corresponding threshold variables α and β are derived as follows.
–     If chromaEdgeFlag is equal to 0,

              α = α' * (1 << ( BitDepthY – 8 ) )                                                                          (8-465)


              β = β' * (1 << ( BitDepthY – 8 ) )                                                                          (8-466)


–     Otherwise (chromaEdgeFlag is equal to 1),

              α = α' * (1 << ( BitDepthC – 8 ) )                                                                          (8-467)


              β = β' * (1 << ( BitDepthC – 8 ) )                                                                          (8-468)


The variable filterSamplesFlag is derived by

          filterSamplesFlag = ( bS != 0 && Abs( p0 – q0 ) < α && Abs( p1 – p0 ) < β && Abs( q1 – q0 ) < β )               (8-469)


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            Table 8-16 – Derivation of offset dependent threshold variables α' and β' from indexA and indexB

                                                            indexA (for α') or indexB (for β')

       0      1    2      3   4    5    6     7    8    9      10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25

α'     0      0    0      0   0    0    0     0    0    0      0    0    0    0    0    0        4    4   5   6   7   8   9   10 12 13

β'     0      0    0      0   0    0    0     0    0    0      0    0    0    0    0    0        2    2   2   3   3   3   3   4   4   4


    Table 8-16 (concluded) – Derivation of indexA and indexB from offset dependent threshold variables α' and β'

                                                            indexA (for α') or indexB (for β')

       26 27 28 29 30 31 32 33 34 35 36 37 38 39 40 41 42 43 44 45 46 47 48 49 50 51

α'     15 17 20 22 25 28 32 36 40 45 50 56 63 71 80 90 101 113 127 144 162 182 203 226 255 255

β'     6      6    7      7   8    8    9     9   10 10 11 11 12 12 13 13 14 14 15 15 16 16 17 17 18 18



8.7.2.3       Filtering process for edges with bS less than 4
Inputs to this process are the input sample values pi and qi (i = 0..2) of a single set of samples across an edge that is to
be filtered, chromaEdgeFlag, bS, β, and indexA, for the set of input samples, as specified in 8.7.2.
Outputs of this process are the filtered result sample values p'i and q'i (i = 0..2) for the set of input sample values.
The filtered result samples p'0 and q'0 are derived by

           ∆ = Clip3( –tC, tC, ( ( ( ( q0 – p0 ) << 2 ) + ( p1 – q1 ) + 4 ) >> 3 ) )                                              (8-470)


           p'0 = Clip1( p0 + ∆ )                                                                                                  (8-471)


           q'0 = Clip1( q0 – ∆ )                                                                                                  (8-472)


where the threshold tC is determined as follows.
– If chromaEdgeFlag is equal to 0,

           tC = tC0 + ( ( ap < β ) ? 1 : 0 ) + ( ( aq < β ) ? 1 : 0 )                                                             (8-473)


– Otherwise (chromaEdgeFlag is equal to 1),

           tC = tC0 + 1                                                                                                           (8-474)


Depending on the values of indexA and bS the variable t'C0 is specified in Table 8-17. Depending on chromaEdgeFlag,
the corresponding threshold variable tC0 is derived as follows.
–      If chromaEdgeFlag is equal to 0,

               tC0 = t'C0 * (1 << ( BitDepthY – 8 ) )                                                                             (8-475)


–      Otherwise (chromaEdgeFlag is equal to 1),

               tC0 = t'C0 * (1 << ( BitDepthC – 8 ) )                                                                             (8-476)




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Let ap and aq be two threshold variables specified by

         ap = Abs( p2 – p0 )                                                                                                (8-477)


         aq = Abs( q2 – q0 )                                                                                                (8-478)


The filtered result sample p'1 is derived as follows
– If chromaEdgeFlag is equal to 0 and ap is less than β,

         p'1 = p1 + Clip3( –tC0, tC0, ( p2 + ( ( p0 + q0 + 1 ) >> 1 ) – ( p1 << 1 ) ) >> 1 )                                (8-479)


– Otherwise (chromaEdgeFlag is equal to 1 or ap is greater than or equal to β),

         p'1 = p1                                                                                                           (8-480)


The filtered result sample q'1 is derived as follows
– If chromaEdgeFlag is equal to 0 and aq is less than β,

         q'1 = q1 + Clip3( –tC0, tC0, ( q2 + ( ( p0 + q0 + 1 ) >> 1 ) – ( q1 << 1 ) ) >> 1 )                                (8-481)


– Otherwise (chromaEdgeFlag is equal to 1 or aq is greater than or equal to β),

         q'1 = q1                                                                                                           (8-482)


The filtered result samples p'2 and q'2 are always set equal to the input samples p2 and q2:

         p'2 = p2                                                                                                           (8-483)


         q'2 = q2                                                                                                           (8-484)


                                Table 8-17 – Value of variable t'C0 as a function of indexA and bS

                                                                     indexA

                    0   1   2    3   4   5   6   7   8   9   10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25

bS = 1              0   0   0    0   0   0   0   0   0   0   0   0   0    0   0    0    0   0   0   0   0   0   0   1   1    1

bS = 2              0   0   0    0   0   0   0   0   0   0   0   0   0    0   0    0    0   0   0   0   0   1   1   1   1    1

bS = 3              0   0   0    0   0   0   0   0   0   0   0   0   0    0   0    0    0   1   1   1   1   1   1   1   1    1


                        Table 8-17 (concluded) – Value of variable t'C0 as a function of indexA and bS

                                                                     indexA

                26 27 28 29 30 31 32 33 34 35 36 37 38 39 40 41 42 43 44 45 46 47 48 49 50 51

bS = 1              1   1   1    1   1   1   1   2   2   2   2   3   3    3   4    4    4   5   6   6   7   8   9   10 11 13

bS = 2              1   1   1    1   1   2   2   2   2   3   3   3   4    4   5    5    6   7   8   8   10 11 12 13 15 17

bS = 3              1   2   2    2   2   3   3   3   4   4   4   5   6    6   7    8    9   10 11 13 14 16 18 20 23 25




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8.7.2.4      Filtering process for edges for bS equal to 4
Inputs to this process are the input sample values pi and qi (i = 0..3) of a single set of samples across an edge that is to
be filtered, the variable chromaEdgeFlag, and the values of the threshold variables α and β for the set of samples, as
specified in subclause 8.7.2.
Outputs of this process are the filtered result sample values p'i and q'i (i = 0..2) for the set of input sample values.
Let ap and aq be two threshold variables as specified in Equations 8-477 and 8-478, respectively, in subclause 8.7.2.3.
The filtered result samples p'i (i = 0..2) are derived as follows.
– If chromaEdgeFlag is equal to 0 and the following condition holds,

          ap < β && Abs( p0 – q0 ) < ( ( α >> 2 ) + 2 )                                                                    (8-485)


   then the variables p'0, p'1, and p'2 are derived by

          p'0 = ( p2 + 2*p1 + 2*p0 + 2*q0 + q1 + 4 ) >> 3                                                                  (8-486)


          p'1 = ( p2 + p1 + p0 + q0 + 2 ) >> 2                                                                             (8-487)


          p'2 = ( 2*p3 + 3*p2 + p1 + p0 + q0 + 4 ) >> 3                                                                    (8-488)


– Otherwise (chromaEdgeFlag is equal to 1 or the condition in Equation 8-485 does not hold), the variables p'0, p'1,
  and p'2 are derived by

          p'0 = ( 2*p1 + p0 + q1 + 2 ) >> 2                                                                                (8-489)


          p'1 = p1                                                                                                         (8-490)


          p'2 = p2                                                                                                         (8-491)


The filtered result samples q'i (i = 0..2) are derived as follows.
– If chromaEdgeFlag is equal to 0 and the following condition holds,

          aq < β && Abs( p0 – q0 ) < ( ( α >> 2 ) + 2 )                                                                    (8-492)


   then the variables q'0, q'1, and q'2 are derived by

          q'0 = ( p1 + 2*p0 + 2*q0 + 2*q1 + q2 + 4 ) >> 3                                                                  (8-493)


          q'1 = ( p0 + q0 + q1 + q2 + 2 ) >> 2                                                                             (8-494)


          q'2 = ( 2*q3 + 3*q2 + q1 + q0 + p0 + 4 ) >> 3                                                                    (8-495)


– Otherwise (chromaEdgeFlag is equal to 1 or the condition in Equation 8-492 does not hold), the variables q'0, q'1,
  and q'2 are derived by

          q'0 = ( 2*q1 + q0 + p1 + 2 ) >> 2                                                                                (8-496)


          q'1 = q1                                                                                                         (8-497)


          q'2 = q2                                                                                                         (8-498)



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9        Parsing process
Inputs to this process are bits from the RBSP.
Outputs of this process are syntax element values.
This process is invoked when the descriptor of a syntax element in the syntax tables in subclause 7.3 is equal to ue(v),
me(v), se(v), te(v) (see subclause 9.1), ce(v) (see subclause 9.2), or ae(v) (see subclause 9.3).

9.1      Parsing process for Exp-Golomb codes
This process is invoked when the descriptor of a syntax element in the syntax tables in subclause 7.3 is equal to ue(v),
me(v), se(v), or te(v). For syntax elements in subclauses 7.3.4 and 7.3.5, this process is invoked only when
entropy_coding_mode_flag is equal to 0.
Inputs to this process are bits from the RBSP.
Outputs of this process are syntax element values.
Syntax elements coded as ue(v), me(v), or se(v) are Exp-Golomb-coded. Syntax elements coded as te(v) are truncated
Exp-Golomb-coded. The parsing process for these syntax elements begins with reading the bits starting at the current
location in the bitstream up to and including the first non-zero bit, and counting the number of leading bits that are
equal to 0. This process is specified as follows:
          leadingZeroBits = -1;
          for( b = 0; !b; leadingZeroBits++ )
               b = read_bits( 1 )
The variable codeNum is then assigned as follows:
          codeNum = 2leadingZeroBits – 1 + read_bits( leadingZeroBits )
where the value returned from read_bits( leadingZeroBits ) is interpreted as a binary representation of an unsigned
integer with most significant bit written first.
Table 9-1 illustrates the structure of the Exp-Golomb code by separating the bit string into “prefix” and “suffix” bits.
The “prefix” bits are those bits that are parsed in the above pseudo-code for the computation of leadingZeroBits, and are
shown as either 0 or 1 in the bit string column of Table 9-1. The “suffix” bits are those bits that are parsed in the
computation of codeNum and are shown as xi in Table 9-1, with i being in the range 0 to leadingZeroBits - 1, inclusive.
Each xi can take on values 0 or 1.

      Table 9-1 – Bit strings with “prefix” and “suffix” bits and assignment to codeNum ranges (informative)

                                           Bit string form                Range of codeNum

                                                 1                               0

                                             0 1 x0                             1-2

                                          0 0 1 x1 x0                           3-6

                                        0 0 0 1 x2 x1 x0                        7-14

                                      0 0 0 0 1 x3 x2 x1 x0                    15-30

                                    0 0 0 0 0 1 x4 x3 x2 x1 x0                 31-62

                                                     …                           …




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Table 9-2 illustrates explicitly the assignment of bit strings to codeNum values.

         Table 9-2 – Exp-Golomb bit strings and codeNum in explicit form and used as ue(v) (informative)

                                                Bit string              codeNum

                                                    1                      0

                                                 0 1 0                     1

                                                 0 1 1                     2

                                               0 0 1 0 0                   3

                                               0 0 1 0 1                   4

                                               0 0 1 1 0                   5

                                               0 0 1 1 1                   6

                                            0 0 0 1 0 0 0                  7

                                            0 0 0 1 0 0 1                  8

                                            0 0 0 1 0 1 0                  9

                                                    …                     …



Depending on the descriptor, the value of a syntax element is derived as follows.
–    If the syntax element is coded as ue(v), the value of the syntax element is equal to codeNum.
–    Otherwise, if the syntax element is coded as se(v), the value of the syntax element is derived by invoking the
     mapping process for signed Exp-Golomb codes as specified in subclause 9.1.1 with codeNum as the input.
–    Otherwise, if the syntax element is coded as me(v), the value of the syntax element is derived by invoking the
     mapping process for coded block pattern as specified in subclause 9.1.2 with codeNum as the input.
–    Otherwise (the syntax element is coded as te(v)), the range of possible values for the syntax element is determined
     first. The range of this syntax element may be between 0 and x, with x being greater than or equal to 1 and the
     range is used in the derivation of the value of the syntax element value as follows
        – If x is greater than 1, codeNum and the value of the syntax element is derived in the same way as for syntax
          elements coded as ue(v)
        – Otherwise (x is equal to 1), the parsing process for codeNum which is equal to the value of the syntax element
          is given by a process equivalent to:
               b = read_bits( 1 )
               codeNum = !b

9.1.1    Mapping process for signed Exp-Golomb codes
Input to this process is codeNum as specified in subclause 9.1.
Output of this process is a value of a syntax element coded as se(v).
The syntax element is assigned to the codeNum by ordering the syntax element by its absolute value in increasing order
and representing the positive value for a given absolute value with the lower codeNum. Table 9-3 provides the
assignment rule.




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   Table 9-3 – Assignment of syntax element to codeNum for signed Exp-Golomb coded syntax elements se(v)

                                            codeNum     syntax element value

                                                0                   0

                                                1                   1

                                                2                   –1

                                                3                   2

                                                4                   –2

                                                5                   3

                                                6                   –3

                                                k         (–1)k+1 Ceil( k÷2 )



9.1.2    Mapping process for coded block pattern
Input to this process is codeNum as specified in subclause 9.1.
Output of this process is a value of the syntax element coded_block_pattern coded as me(v).
Table 9-4 shows the assignment of coded_block_pattern to codeNum depending on whether the macroblock prediction
mode is equal to Intra_4x4, Intra_8x8 or Inter.

      Table 9-4 – Assignment of codeNum to values of coded_block_pattern for macroblock prediction modes

                                       (a) chroma_format_idc is not equal to 0

                                        codeNum                   coded_block_pattern

                                                          Intra_4x4,            Inter
                                                          Intra_8x8

                                            0                 47                 0

                                            1                 31                 16

                                            2                 15                 1

                                            3                  0                 2

                                            4                 23                 4

                                            5                 27                 8

                                            6                 29                 32

                                            7                 30                 3

                                            8                  7                 5

                                            9                 11                 10

                                           10                 13                 12

                                           11                 14                 15

                                           12                 39                 47

                                           13                 43                 7

                                           14                 45                 11




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                          codeNum          coded_block_pattern

                                       Intra_4x4,       Inter
                                       Intra_8x8

                            15            46             13

                            16            16             14

                            17             3             6

                            18             5             9

                            19            10             31

                            20            12             35

                            21            19             37

                            22            21             42

                            23            26             44

                            24            28             33

                            25            35             34

                            26            37             36

                            27            42             40

                            28            44             39

                            29             1             43

                            30             2             45

                            31             4             46

                            32             8             17

                            33            17             18

                            34            18             20

                            35            20             24

                            36            24             19

                            37             6             21

                            38             9             26

                            39            22             28

                            40            25             23

                            41            32             27

                            42            33             29

                            43            34             30

                            44            36             22

                            45            40             25

                            46            38             38

                            47            41             41




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                                            (b) chroma_format_idc is equal to 0

                                          codeNum                coded_block_pattern

                                                             Intra_4x4,        Inter
                                                             Intra_8x8

                                              0                 15               0

                                              1                  0               1

                                              2                  7               2

                                              3                 11               4

                                              4                 13               8

                                              5                 14               3

                                              6                  3               5

                                              7                  5              10

                                              8                 10              12

                                              9                 12              15

                                              10                 1               7

                                              11                 2              11

                                              12                 4              13

                                              13                 8              14

                                              14                 6               6

                                              15                 9               9




9.2       CAVLC parsing process for transform coefficient levels
This process is invoked when parsing syntax elements with descriptor equal to ce(v) in subclause 7.3.5.3.1 and when
entropy_coding_mode_flag is equal to 0.
Inputs to this process are bits from slice data, a maximum number of non-zero transform coefficient levels
maxNumCoeff, the luma block index luma4x4BlkIdx or the chroma block index chroma4x4BlkIdx of the current block
of transform coefficient levels.
Output of this process is the list coeffLevel containing transform coefficient levels of the luma block with block index
luma4x4BlkIdx or the chroma block with block index chroma4x4BlkIdx.
The process is specified in the following ordered steps:
1.    All transform coefficient levels, with indices from 0 to maxNumCoeff - 1, in the list coeffLevel are set equal to 0.
2.    The total number of non-zero transform coefficient levels TotalCoeff( coeff_token ) and the number of trailing one
      transform coefficient levels TrailingOnes( coeff_token ) are derived by parsing coeff_token (see subclause 9.2.1) as
      follows.
      -   If the number of non-zero transform coefficient levels TotalCoeff( coeff_token ) is equal to 0, the list
          coeffLevel containing 0 values is returned and no further step is carried out.
      -   Otherwise, the following steps are carried out.
          a.    The non-zero transform coefficient levels are derived by parsing trailing_ones_sign_flag, level_prefix, and
                level_suffix (see subclause 9.2.2).
          b.    The runs of zero transform coefficient levels before each non-zero transform coefficient level are derived
                by parsing total_zeros and run_before (see subclause 9.2.3).


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        c.    The level and run information are combined into the list coeffLevel (see subclause 9.2.4).

9.2.1   Parsing process for total number of transform coefficient levels and trailing ones
Inputs to this process are bits from slice data, a maximum number of non-zero transform coefficient levels
maxNumCoeff, the luma block index luma4x4BlkIdx or the chroma block index chroma4x4BlkIdx of the current block
of transform.
Outputs of this process are TotalCoeff( coeff_token ) and TrailingOnes( coeff_token ).
The syntax element coeff_token is decoded using one of the six VLCs specified in the six right-most columns of
Table 9-5. Each VLC specifies both TotalCoeff( coeff_token ) and TrailingOnes( coeff_token ) for a given codeword
coeff_token. VLC selection is dependent upon a variable nC that is derived as follows.
–   If the CAVLC parsing process is invoked for ChromaDCLevel, nC is derived as follows.
    –    If chroma_format_idc is equal to 1, nC is set equal to -1,
    –    Otherwise, if chroma_format_idc is equal to 2, nC is set equal to -2,
    –    Otherwise (chroma_format_idc is equal to 3), nC is set equal to 0.
–   Otherwise, the following applies.
    –    When the CAVLC parsing process is invoked for Intra16x16DCLevel, luma4x4BlkIdx is set equal to 0.
    –    The variables blkA and blkB are derived as follows.
        – If the CAVLC parsing process is invoked for Intra16x16DCLevel, Intra16x16ACLevel, or LumaLevel, the
          process specified in subclause 6.4.8.3 is invoked with luma4x4BlkIdx as the input, and the output is
          assigned to mbAddrA, mbAddrB, luma4x4BlkIdxA, and luma4x4BlkIdxB. The 4x4 luma block specified
          by mbAddrA\luma4x4BlkIdxA is assigned to blkA, and the 4x4 luma block specified by
          mbAddrB\luma4x4BlkIdxB is assigned to blkB.
        – Otherwise (the CAVLC parsing process is invoked for ChromaACLevel), the process specified in
          subclause 6.4.8.4 is invoked with chroma4x4BlkIdx as input, and the output is assigned to mbAddrA,
          mbAddrB, chroma4x4BlkIdxA, and chroma4x4BlkIdxB. The 4x4 chroma block specified by
          mbAddrA\iCbCr\chroma4x4BlkIdxA is assigned to blkA, and the 4x4 chroma block specified by
          mbAddrB\iCbCr\chroma4x4BlkIdxB is assigned to blkB.
    –   Let nA and nB be the number of non-zero transform coefficient levels (given by TotalCoeff( coeff_token )) in
        the block of transform coefficient levels blkA located to the left of the current block and the block of transform
        coefficient levels blkB located above the current block, respectively.
    –   With N replaced by A and B, in mbAddrN, blkN, and nN the following applies.
        – If any of the following conditions is true, nN is set equal to 0.
             – mbAddrN is not available
             – The current macroblock is coded using an Intra prediction mode, constrained_intra_pred_flag is equal
               to 1 and mbAddrN is coded using Inter prediction and slice data partitioning is in use (nal_unit_type is
               in the range of 2 to 4, inclusive).
             – The macroblock mbAddrN has mb_type equal to P_Skip or B_Skip
             – All AC residual transform coefficient levels of the neighbouring block blkN are equal to 0 due to the
               corresponding bit of CodedBlockPatternLuma or CodedBlockPatternChroma being equal to 0
        – Otherwise, if mbAddrN is an I_PCM macroblock, nN is set equal to 16.
        – Otherwise, nN is set equal to the value TotalCoeff( coeff_token ) of the neighbouring block blkN.
                  NOTE 1 – The values nA and nB that are derived using TotalCoeff( coeff_token ) do not include the DC
                  transform coefficient levels in Intra_16x16 macroblocks or DC transform coefficient levels in chroma blocks,
                  because these transform coefficient levels are decoded separately. When the block above or to the left belongs to
                  an Intra_16x16 macroblock, or is a chroma block, nA and nB is the number of decoded non-zero AC transform
                  coefficient levels.
                  NOTE 2 – When parsing for Intra16x16DCLevel, the values nA and nB are based on the number of non-zero
                  transform coefficient levels in adjacent 4x4 blocks and not on the number of non-zero DC transform coefficient
                  levels in adjacent 16x16 blocks.
    –   Given the values of nA and nB, the variable nC is derived as follows.



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                  – If both mbAddrA and mbAddrB are available, the variable nC is set equal to ( nA + nB + 1 ) >> 1.
                  – Otherwise (mbAddrA is not available or mbAddrB is not available), the variable nC is set equal to nA + nB.
The value of TotalCoeff( coeff_token ) resulting from decoding coeff_token shall be in the range of 0 to maxNumCoeff,
inclusive.

                    Table 9-5 – coeff_token mapping to TotalCoeff( coeff_token ) and TrailingOnes( coeff_token )
( coeff_token )



                    ( coeff_token )
 TrailingOnes



                      TotalCoeff




                                            0 <= nC < 2         2 <= nC < 4    4 <= nC < 8    8 <= nC   nC = = -1         nC = = -2



0                   0                 1                   11                  1111            0000 11   01          1

0                   1                 0001 01             0010 11             0011 11         0000 00   0001 11     0001 111

1                   1                 01                  10                  1110            0000 01   1           01

0                   2                 0000 0111           0001 11             0010 11         0001 00   0001 00     0001 110

1                   2                 0001 00             0011 1              0111 1          0001 01   0001 10     0001 101

2                   2                 001                 011                 1101            0001 10   001         001

0                   3                 0000 0011 1         0000 111            0010 00         0010 00   0000 11     0000 0011 1

1                   3                 0000 0110           0010 10             0110 0          0010 01   0000 011    0001 100

2                   3                 0000 101            0010 01             0111 0          0010 10   0000 010    0001 011

3                   3                 0001 1              0101                1100            0010 11   0001 01     0000 1

0                   4                 0000 0001 11        0000 0111           0001 111        0011 00   0000 10     0000 0011 0

1                   4                 0000 0011 0         0001 10             0101 0          0011 01   0000 0011   0000 0010 1

2                   4                 0000 0101           0001 01             0101 1          0011 10   0000 0010   0001 010

3                   4                 0000 11             0100                1011            0011 11   0000 000    0000 01

0                   5                 0000 0000 111       0000 0100           0001 011        0100 00   -           0000 0001 11

1                   5                 0000 0001 10        0000 110            0100 0          0100 01   -           0000 0001 10

2                   5                 0000 0010 1         0000 101            0100 1          0100 10   -           0000 0010 0

3                   5                 0000 100            0011 0              1010            0100 11   -           0001 001

0                   6                 0000 0000 0111 1    0000 0011 1         0001 001        0101 00   -           0000 0000 111

1                   6                 0000 0000 110       0000 0110           0011 10         0101 01   -           0000 0000 110

2                   6                 0000 0001 01        0000 0101           0011 01         0101 10   -           0000 0001 01

3                   6                 0000 0100           0010 00             1001            0101 11   -           0001 000

0                   7                 0000 0000 0101 1    0000 0001 111       0001 000        0110 00   -           0000 0000 0111

1                   7                 0000 0000 0111 0    0000 0011 0         0010 10         0110 01   -           0000 0000 0110

2                   7                 0000 0000 101       0000 0010 1         0010 01         0110 10   -           0000 0000 101

3                   7                 0000 0010 0         0001 00             1000            0110 11   -           0000 0001 00

0                   8                 0000 0000 0100 0    0000 0001 011       0000 1111       0111 00   -           0000 0000 0011 1

1                   8                 0000 0000 0101 0    0000 0001 110       0001 110        0111 01   -           0000 0000 0101

2                   8                 0000 0000 0110 1    0000 0001 101       0001 101        0111 10   -           0000 0000 0100

3                   8                 0000 0001 00        0000 100            0110 1          0111 11   -           0000 0000 100

0                   9                 0000 0000 0011 11   0000 0000 1111      0000 1011       1000 00   -


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( coeff_token )



                   ( coeff_token )
 TrailingOnes



                     TotalCoeff
                                         0 <= nC < 2          2 <= nC < 4      4 <= nC < 8     8 <= nC   nC = = -1     nC = = -2



1                  9                 0000 0000 0011 10     0000 0001 010       0000 1110       1000 01   -

2                  9                 0000 0000 0100 1      0000 0001 001       0001 010        1000 10   -

3                  9                 0000 0000 100         0000 0010 0         0011 00         1000 11   -

0                  10                0000 0000 0010 11     0000 0000 1011      0000 0111 1     1001 00   -

1                  10                0000 0000 0010 10     0000 0000 1110      0000 1010       1001 01   -

2                  10                0000 0000 0011 01     0000 0000 1101      0000 1101       1001 10   -

3                  10                0000 0000 0110 0      0000 0001 100       0001 100        1001 11   -

0                  11                0000 0000 0001 111    0000 0000 1000      0000 0101 1     1010 00   -

1                  11                0000 0000 0001 110    0000 0000 1010      0000 0111 0     1010 01   -

2                  11                0000 0000 0010 01     0000 0000 1001      0000 1001       1010 10   -

3                  11                0000 0000 0011 00     0000 0001 000       0000 1100       1010 11   -

0                  12                0000 0000 0001 011    0000 0000 0111 1    0000 0100 0     1011 00   -

1                  12                0000 0000 0001 010    0000 0000 0111 0    0000 0101 0     1011 01   -

2                  12                0000 0000 0001 101    0000 0000 0110 1    0000 0110 1     1011 10   -

3                  12                0000 0000 0010 00     0000 0000 1100      0000 1000       1011 11   -

0                  13                0000 0000 0000 1111   0000 0000 0101 1    0000 0011 01    1100 00   -

1                  13                0000 0000 0000 001    0000 0000 0101 0    0000 0011 1     1100 01   -

2                  13                0000 0000 0001 001    0000 0000 0100 1    0000 0100 1     1100 10   -

3                  13                0000 0000 0001 100    0000 0000 0110 0    0000 0110 0     1100 11   -

0                  14                0000 0000 0000 1011   0000 0000 0011 1    0000 0010 01    1101 00   -

1                  14                0000 0000 0000 1110   0000 0000 0010 11   0000 0011 00    1101 01   -

2                  14                0000 0000 0000 1101   0000 0000 0011 0    0000 0010 11    1101 10   -

3                  14                0000 0000 0001 000    0000 0000 0100 0    0000 0010 10    1101 11   -

0                  15                0000 0000 0000 0111   0000 0000 0010 01   0000 0001 01    1110 00   -

1                  15                0000 0000 0000 1010   0000 0000 0010 00   0000 0010 00    1110 01   -

2                  15                0000 0000 0000 1001   0000 0000 0010 10   0000 0001 11    1110 10   -

3                  15                0000 0000 0000 1100   0000 0000 0000 1    0000 0001 10    1110 11   -

0                  16                0000 0000 0000 0100   0000 0000 0001 11   0000 0000 01    1111 00   -

1                  16                0000 0000 0000 0110   0000 0000 0001 10   0000 0001 00    1111 01   -

2                  16                0000 0000 0000 0101   0000 0000 0001 01   0000 0000 11    1111 10   -

3                  16                0000 0000 0000 1000   0000 0000 0001 00   0000 0000 10    1111 11   -



9.2.2             Parsing process for level information
Inputs to this process are bits from slice data, the number of non-zero transform coefficient levels
TotalCoeff( coeff_token ), and the number of trailing one transform coefficient levels TrailingOnes( coeff_token ).
Output of this process is a list with name level containing transform coefficient levels.


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Initially an index i is set equal to 0. Then the following procedure is iteratively applied TrailingOnes( coeff_token )
times to decode the trailing one transform coefficient levels (if any):
–     A 1-bit syntax element trailing_ones_sign_flag is decoded and evaluated as follows.
      –    If trailing_ones_sign_flag is equal to 0, the value +1 is assigned to level[ i ].
      –    Otherwise (trailing_ones_sign_flag is equal to 1), the value -1 is assigned to level[ i ].
–     The index i is incremented by 1.
Following the decoding of the trailing one transform coefficient levels, a variable suffixLength is initialised as follows.
–     If TotalCoeff( coeff_token ) is greater than 10 and TrailingOnes( coeff_token ) is less than 3, suffixLength is set
      equal to 1.
–     Otherwise (TotalCoeff( coeff_token ) is less than or equal to 10 or TrailingOnes( coeff_token ) is equal to 3),
      suffixLength is set equal to 0.
The following procedure is then applied iteratively ( TotalCoeff( coeff_token ) – TrailingOnes( coeff_token ) ) times to
decode the remaining levels (if any):
–     The syntax element level_prefix is decoded as specified in subclause 9.2.2.1.
–     The variable levelSuffixSize is set equal to the variable suffixLength with the exception of the following two
      cases.
–     When level_prefix is equal to 14 and suffixLength is equal to 0, levelSuffixSize is set equal to 4.
–     When level_prefix is greater than or equal to 15, levelSuffixSize is set equal to level_prefix - 3.
–     The syntax element level_suffix is decoded as follows.
      –    If levelSuffixSize is greater than 0, the syntax element level_suffix is decoded as unsigned integer
           representation u(v) with levelSuffixSize bits.
      –    Otherwise (levelSuffixSize is equal to 0), the syntax element level_suffix is inferred to be equal to 0.
–     A variable levelCode is set equal to ( Min( 15, level_prefix ) << suffixLength ) + level_suffix.
–     When level_prefix is greater than or equal to 15 and suffixLength is equal to 0, levelCode is incremented by 15.
–     When level_prefix is greater than or equal to 16, levelCode is incremented by (1<<( level_prefix – 3 )) – 4096.
–     When the index i is equal to TrailingOnes( coeff_token ) and TrailingOnes( coeff_token ) is less than 3, levelCode
      is incremented by 2.
–     The variable level[ i ] is derived as follows.
      –    If levelCode is an even number, the value ( levelCode + 2 ) >> 1 is assigned to level[ i ].
      –    Otherwise (levelCode is an odd number), the value ( -levelCode – 1) >> 1 is assigned to level[ i ].
–     When suffixLength is equal to 0, suffixLength is set equal to 1.
–     When the absolute value of level[ i ] is greater than ( 3 << ( suffixLength – 1 ) ) and suffixLength is less than 6,
      suffixLength is incremented by 1.
–     The index i is incremented by 1.

9.2.2.1   Parsing process for level_prefix
Inputs to this process are bits from slice data.
Output of this process is level_prefix.
The parsing process for this syntax element consists in reading the bits starting at the current location in the bitstream
up to and including the first non-zero bit, and counting the number of leading bits that are equal to 0. This process is
specified as follows:
          leadingZeroBits = -1
          for( b = 0; !b; leadingZeroBits++ )
                b = read_bits( 1 )
          level_prefix = leadingZeroBits


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Table 9-6 illustrates the codeword table for level_prefix.

                                Table 9-6 – Codeword table for level_prefix (informative)

                                           level_prefix   bit string

                                                0         1
                                                1         01
                                                2         001
                                                3         0001
                                                4         0000 1
                                                5         0000 01
                                                6         0000 001
                                                7         0000 0001
                                                8         0000 0000 1
                                                9         0000 0000 01
                                               10         0000 0000 001
                                               11         0000 0000 0001
                                               12         0000 0000 0000 1
                                               13         0000 0000 0000 01
                                               14         0000 0000 0000 001
                                               15         0000 0000 0000 0001
                                               …          …

9.2.3     Parsing process for run information
Inputs to this process are bits from slice data, the number of non-zero transform coefficient levels
TotalCoeff( coeff_token ), and the maximum number of non-zero transform coefficient levels maxNumCoeff.
Output of this process is a list of runs of zero transform coefficient levels preceding non-zero transform coefficient
levels called run.
Initially, an index i is set equal to 0.
The variable zerosLeft is derived as follows.
–    If the number of non-zero transform coefficient levels TotalCoeff( coeff_token ) is equal to the maximum number
     of non-zero transform coefficient levels maxNumCoeff, a variable zerosLeft is set equal to 0.
–    Otherwise (the number of non-zero transform coefficient levels TotalCoeff( coeff_token ) is less than the
     maximum number of non-zero transform coefficient levels maxNumCoeff), total_zeros is decoded and zerosLeft is
     set equal to its value.
The VLC used to decode total_zeros is derived as follows:
If maxNumCoeff is equal to 4, one of the VLCs specified in Table 9-9 (a) is used.
–    Otherwise, if maxNumCoeff is equal to 8, one of the VLCs specified in Table 9-9 (b) is used.
–    Otherwise (maxNumCoeff is not equal to 4 and not equal to 8), VLCs from Tables 9-7 and 9-8 are used.
The following procedure is then applied iteratively ( TotalCoeff( coeff_token ) – 1 ) times:




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–     The variable run[ i ] is derived as follows.
       –   If zerosLeft is greater than zero, a value run_before is decoded based on Table 9-10 and zerosLeft. run[ i ] is
           set equal to run_before.
       –   Otherwise (zerosLeft is equal to 0), run[ i ] is set equal to 0.
–     The value of run[ i ] is subtracted from zerosLeft and the result assigned to zerosLeft. The result of the subtraction
      shall be greater than or equal to 0.
–     The index i is incremented by 1.
Finally the value of zerosLeft is assigned to run[ i ].

                  Table 9-7 – total_zeros tables for 4x4 blocks with TotalCoeff( coeff_token ) 1 to 7

                    total_zeros                            TotalCoeff( coeff_token )

                                  1              2          3         4         5        6         7

                    0             1              111        0101      0001 1    0101     0000 01   0000 01

                    1             011            110        111       111       0100     0000 1    0000 1

                    2             010            101        110       0101      0011     111       101

                    3             0011           100        101       0100      111      110       100

                    4             0010           011        0100      110       110      101       011

                    5             0001 1         0101       0011      101       101      100       11

                    6             0001 0         0100       100       100       100      011       010

                    7             0000 11        0011       011       0011      011      010       0001

                    8             0000 10        0010       0010      011       0010     0001      001

                    9             0000 011       0001 1     0001 1    0010      0000 1   001       0000 00

                    10            0000 010       0001 0     0001 0    0001 0    0001     0000 00

                    11            0000 0011      0000 11    0000 01   0000 1    0000 0

                    12            0000 0010      0000 10    0000 1    0000 0

                    13            0000 0001 1    0000 01    0000 00

                    14            0000 0001 0    0000 00

                    15            0000 0000 1




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           Table 9-8 – total_zeros tables for 4x4 blocks with TotalCoeff( coeff_token ) 8 to 15

                     total_zeros                        TotalCoeff( coeff_token )

                                   8           9               10              11         12      13    14       15

                     0             0000 01     0000 01         0000 1          0000       0000    000   00       0

                     1             0001        0000 00         0000 0          0001       0001    001   01       1

                     2             0000 1      0001            001             001        01      1     1

                     3             011         11              11              010        1       01

                     4             11          10              10              1          001

                     5             10          001             01              011

                     6             010         01              0001

                     7             001         0000 1

                     8             0000 00




                     Table 9-9 – total_zeros tables for chroma DC 2x2 and 2x4 blocks


                             (a) Chroma DC 2x2 block (4:2:0 chroma sampling)

                                                          TotalCoeff( coeff_token )
                                       total_zeros
                                                      1               2              3

                                   0                  1               1               1

                                   1                  01              01              0

                                   2                  001             00

                                   3                  000


                             (b) Chroma DC 2x4 block (4:2:2 chroma sampling)

                                                           TotalCoeff( coeff_token )
                    total_zeros
                                   1           2           3              4               5       6          7

                0                  1           000         000            110             00      00         0

                1                  010         01          001            00              01      01         1

                2                  011         001         01             01              10      1

                3                  0010        100         10             10              11

                4                  0011        101         110            111

                5                  0001        110         111

                6                  0000 1      111

                7                  0000 0




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                                            Table 9-10 – Tables for run_before

                                 run_before    zerosLeft

                                               1   2       3    4     5     6     >6

                                 0             1   1       11   11    11    11    111

                                 1             0   01      10   10    10    000   110

                                 2             -   00      01   01    011   001   101

                                 3             -   -       00   001   010   011   100

                                 4             -   -       -    000   001   010   011

                                 5             -   -       -    -     000   101   010

                                 6             -   -       -    -     -     100   001

                                 7             -   -       -    -     -     -     0001

                                 8                 -       -    -     -     -     00001

                                 9             -   -       -    -     -     -     000001

                                 10            -   -       -    -     -     -     0000001

                                 11            -   -       -    -     -     -     00000001

                                 12            -   -       -    -     -     -     000000001

                                 13            -   -       -    -     -     -     0000000001

                                 14            -   -       -    -     -     -     00000000001



9.2.4     Combining level and run information
Input to this process are a list of transform coefficient levels called level, a list of runs called run, and the number of
non-zero transform coefficient levels TotalCoeff( coeff_token ).
Output of this process is an list coeffLevel of transform coefficient levels.
A variable coeffNum is set equal to -1 and an index i is set equal to ( TotalCoeff( coeff_token ) – 1 ). The following
procedure is iteratively applied TotalCoeff( coeff_token ) times:
–     coeffNum is incremented by run[ i ] + 1.
–     coeffLevel[ coeffNum ] is set equal to level[ i ].
–     The index i is decremented by 1.

9.3       CABAC parsing process for slice data
This process is invoked when parsing syntax elements with descriptor ae(v) in subclauses 7.3.4 and 7.3.5 when
entropy_coding_mode_flag is equal to 1.
Inputs to this process are a request for a value of a syntax element and values of prior parsed syntax elements.
Output of this process is the value of the syntax element.
When starting the parsing of the slice data of a slice in subclause 7.3.4, the initialisation process of the CABAC parsing
process is invoked as specified in subclause 9.3.1.
The parsing of syntax elements proceeds as follows:
For each requested value of a syntax element a binarization is derived as described in subclause 9.3.2.
The binarization for the syntax element and the sequence of parsed bins determines the decoding process flow as
described in subclause 9.3.3.


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For each bin of the binarization of the syntax element, which is indexed by the variable binIdx, a context index ctxIdx is
derived as specified in subclause 9.3.3.1.
For each ctxIdx the arithmetic decoding process is invoked as specified in subclause 9.3.3.2.
The resulting sequence ( b0 .. bbinIdx ) of parsed bins is compared to the set of bin strings given by the binarization
process after decoding of each bin. When the sequence matches a bin string in the given set, the corresponding value is
assigned to the syntax element.
In case the request for a value of a syntax element is processed for the syntax element mb_type and the decoded value
of mb_type is equal to I_PCM, the decoding engine is initialised after the decoding of any pcm_alignment_zero_bit and
all pcm_sample_luma and pcm_sample_chroma data as specified in subclause 9.3.1.2.
The whole CABAC parsing process is illustrated in the flowchart of Figure 9-1 with the abbreviation SE for syntax
element.




            Figure 9-1 – Illustration of CABAC parsing process for a syntax element SE (informative)




9.3.1    Initialisation process
Outputs of this process are initialised CABAC internal variables.
The processes in subclauses 9.3.1.1 and 9.3.1.2 are invoked when starting the parsing of the slice data of a slice in
subclause 7.3.4.




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The process in subclause 9.3.1.2 is also invoked after decoding any pcm_alignment_zero_bit and all pcm_sample_luma
and pcm_sample_chroma data for a macroblock of type I_PCM.

9.3.1.1       Initialisation process for context variables
Outputs of this process are the initialised CABAC context variables indexed by ctxIdx.
Table 9-12 to Table 9-23 contain the values of the variables n and m used in the initialisation of context variables that
are assigned to all syntax elements in subclauses 7.3.4 and 7.3.5 except for the end-of-slice flag.
For each context variable, the two variables pStateIdx and valMPS are initialised.
   NOTE 1 – The variable pStateIdx corresponds to a probability state index and the variable valMPS corresponds to the value of
   the most probable symbol as further described in subclause 9.3.3.2.
The two values assigned to pStateIdx and valMPS for the initialisation are derived from SliceQPY, which is derived in
Equation 7-27. Given the two table entries ( m, n ),
      1.     preCtxState = Clip3( 1, 126, ( ( m ∗ Clip3( 0, 51, SliceQPY ) ) >> 4 ) + n )
      2.     if( preCtxState <= 63 ) {
                    pStateIdx = 63 - preCtxState
                    valMPS = 0
             } else {
                    pStateIdx = preCtxState - 64
                    valMPS = 1
             }
In Table 9-11, the ctxIdx for which initialisation is needed for each of the slice types are listed. Also listed is the table
number that includes the values of m and n needed for the initialisation. For P, SP and B slice type, the initialisation
depends also on the value of the cabac_init_idc syntax element. Note that the syntax element names do not affect the
initialisation process.

           Table 9-11 – Association of ctxIdx and syntax elements for each slice type in the initialisation process

                                                                                                   Slice type
                                       Syntax element                 Table
                                                                                  SI           I                P, SP     B

                                                                    Table 9-13
                                        mb_skip_flag                                                            11-13    24-26
                                                                    Table 9-14
       slice_data( )
                                    mb_field_decoding_flag          Table 9-18   70-72       70-72              70-72    70-72

                                                                    Table 9-12
                                           mb_type                  Table 9-13   0-10        3-10               14-20    27-35
                                                                    Table 9-14

                                   transform_size_8x8_flag          Table 9-16    na        399-401         399-401     399-401
   macroblock_layer( )
                                  coded_block_pattern (luma)        Table 9-18   73-76       73-76              73-76    73-76

                                 coded_block_pattern (chroma)       Table 9-18   77-84       77-84              77-84    77-84

                                         mb_qp_delta                Table 9-17   60-63       60-63              60-63    60-63

                                 prev_intra4x4_pred_mode_flag       Table 9-17    68          68                 68       68

                                   rem_intra4x4_pred_mode           Table 9-17    69          69                 69       69

           mb_pred( )            prev_intra8x8_pred_mode_flag       Table 9-17    na          68                 68       68

                                   rem_intra8x8_pred_mode           Table 9-17    na          69                 69       69

                                   intra_chroma_pred_mode           Table 9-17   64-67       64-67              64-67    64-67




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      Table 9-11 – Association of ctxIdx and syntax elements for each slice type in the initialisation process

                                                                                                                        Slice type
                                           Syntax element                        Table
                                                                                                   SI               I                P, SP      B

                                              ref_idx_l0                     Table 9-16                                              54-59     54-59

                                              ref_idx_l1                     Table 9-16                                                        54-59

                                           mvd_l0[ ][ ][ 0 ]                 Table 9-15                                              40-46     40-46
    mb_pred( ) and
    sub_mb_pred( )
                                           mvd_l1[ ][ ][ 0 ]                 Table 9-15                                                        40-46

                                           mvd_l0[ ][ ][ 1 ]                 Table 9-15                                              47-53     47-53

                                           mvd_l1[ ][ ][ 1 ]                 Table 9-15                                                        47-53

                                                                             Table 9-13
    sub_mb_pred( )                          sub_mb_type                                                                              21-23     36-39
                                                                             Table 9-14

                                          coded_block_flag                   Table 9-18           85-104       85-104                85-104   85-104

                                                                             Table 9-19       105-165          105-165           105-165      105-165
                                                                             Table 9-22       277-337          277-337           277-337      277-337
                                       significant_coeff_flag[ ]
                                                                             Table 9-24                        402-416           402-416      402-416
                                                                             Table 9-24                        436-450           436-450      436-450
 residual_block_cabac( )
                                                                             Table 9-20       166-226          166-226           166-226      166-226
                                                                             Table 9-23       338-398          338-398           338-398      338-398
                                  last_significant_coeff_flag[ ]
                                                                             Table 9-24                        417-425           417-425      417-425
                                                                             Table 9-24                        451-459           451-459      451-459

                                                                             Table 9-21       227-275          227-275           227-275      227-275
                                   coeff_abs_level_minus1[ ]
                                                                             Table 9-24                        426-435           426-435      426-435




   NOTE 2 – ctxIdx equal to 276 is associated with the end_of_slice_flag and the bin of mb_type, which specifies the I_PCM
   macroblock type. The decoding process specified in subclause 9.3.3.2.4 applies to ctxIdx equal to 276. This decoding process,
   however, may also be implemented by using the decoding process specified in subclause 9.3.3.2.1. In this case, the initial values
   associated with ctxIdx equal to 276 are specified to be pStateIdx = 63 and valMPS = 0, where pStateIdx = 63 represents a non-
   adapting probability state.

                                Table 9-12 – Values of variables m and n for ctxIdx from 0 to 10

                                                                                    ctxIdx
               Initialisation
                 variables
                                   0           1        2          3        4            5    6            7    8           9          10

               m                  20           2        3          20       2            3   -28        -23    -6           -1          7

               n                  -15         54        74         -15      54       74      127        104    53           54         51




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                             Table 9-13 – Values of variables m and n for ctxIdx from 11 to 23

                                                                                                         ctxIdx
   Value of      Initialisation
cabac_init_idc     variables
                                   11        12            13         14            15        16          17          18          19          20               21            22        23

0                m                 23        23            21            1          0         -37          5          -13         -11            1             12            -4        17

                 n                 33        2             0             9          49        118         57          78          65          62               49            73        50

1                m                 22        34            16            -2         4         -29          2          -6          -13            5             9             -3        10

                 n                 25        0             0             9          41        118         65          71          79          52               50            70        54

2                m                 29        25            14         -10           -3        -27         26          -4          -24            5             6             -17       14

                 n                 16        0             0          51            62        99          16          85          102         57               57            73        57




                             Table 9-14 – Values of variables m and n for ctxIdx from 24 to 39

                                                                                                         ctxIdx
   Value of      Initialisation
cabac_init_idc     variables
                                  24    25        26            27        28    29       30         31         32      33         34         35           36           37         38    39

0                m                18    9         29            26        16        9    -46        -20        1       -13        -11        1            -6           -17        -6    9

                 n                64    43        0             67        90    104      127        104        67      78         65         62           86           95         61    45

1                m                26    19        40            57        41    26       -45        -15        -4       -6        -13        5            6            -13         0    8

                 n                34    22        0             2         36    69       127        101        76      71         79         52           69           90         52    43

2                m                20    20        29            54        37    12       -32        -22        -2       -4        -24        5            -6           -14        -6    4

                 n                40    10        0             0         42    97       127        117        74      85         102        57           93           88         44    55




                             Table 9-15 – Values of variables m and n for ctxIdx from 40 to 53

                                                                                                         ctxIdx
   Value of      Initialisation
cabac_init_idc     variables
                                  40        41        42             43        44        45         46         47           48          49           50         51            52       53

0                m                -3        -6         -11           6          7        -5          2            0          -3        -10           5             4          -3        0

                 n                69        81         96            55        67        86         88         58           76          94           54         69            81       88

1                m                -2        -5         -10           2          2        -3         -3            1          -3         -6           0          -3            -7       -5

                 n                69        82         96            59        75        87         100        56           74          85           59         81            86       95

2                m                -11    -15           -21           19        20        4           6            1          -5        -13           5             6          -3       -1

                 n                89     103           116           57        58        84         96         63           85         106           63         75            90       101




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            Table 9-16 – Values of variables m and n for ctxIdx from 54 to 59, and 399 to 401

                                                                                              ctxIdx
           Value of cabac_init_idc   Initialisation variables
                                                                54        55   56   57        58   59      399       400    401

           I slices                  m                          na        na   na   na        na   na      31        31        25

                                     n                          na        na   na   na        na   na      21        31        50

           0                         m                          -7        -5   -4   -5        -7       1   12        11        14

                                     n                          67        74   74   80        72   58      40        51        59

           1                         m                          -1        -1   1    -2        -5       0   25        21        21

                                     n                          66        77   70   86        72   61      32        49        54

           2                         m                          3         -4   -2   -12       -7       1   21        19        17

                                     n                          55        79   75   97        50   60      33        50        61




                      Table 9-17 – Values of variables m and n for ctxIdx from 60 to 69

                                                                      ctxIdx
            Initialisation
              variables
                              60         61    62        63         64         65        66        67           68         69

            m                 0          0      0        0           -9        4          0        -7           13         3

            n                 41         63    63        63         83         86        97        72           41         62




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                         Table 9-18 – Values of variables m and n for ctxIdx from 70 to 104

               I and SI               Value of cabac_init_idc                                              Value of cabac_init_idc
                                                                                     I and SI
                 slices
                                                                                       slices
      ctxIdx                      0               1               2         ctxIdx                     0               1               2

               m     n      m          n     m        n     m         n              m     n     m          n     m        n     m         n

       70      0     11      0        45     13       15    7         34     88      -11   115   -13       108    -4       92    5         78

       71      1     55     -4        78     7        51    -9        88     89      -12   63    -3        46     0        39    -6        55

       72      0     69     -3        96     2        80    -20       127    90      -2    68    -1        65     0        65    4         61

       73      -17   127    -27       126   -39       127   -36       127    91      -15   84    -1        57    -15       84    -14       83

       74      -13   102    -28       98    -18       91    -17       91     92      -13   104   -9        93    -35       127   -37       127

       75      0     82     -25       101   -17       96    -14       95     93      -3    70    -3        74     -2       73    -5        79

       76      -7    74     -23       67    -26       81    -25       84     94      -8    93    -9        92    -12       104   -11       104

       77      -21   107    -28       82    -35       98    -25       86     95      -10   90    -8        87     -9       91    -11       91

       78      -27   127    -20       94    -24       102   -12       89     96      -30   127   -23       126   -31       127   -30       127

       79      -31   127    -16       83    -23       97    -17       91     97      -1    74    5         54     3        55    0         65

       80      -24   127    -22       110   -27       119   -31       127    98      -6    97    6         60     7        56    -2        79

       81      -18   95     -21       91    -24       99    -14       76     99      -7    91    6         59     7        55    0         72

       82      -27   127    -18       102   -21       110   -18       103    100     -20   127   6         69     8        61    -4        92

       83      -21   114    -13       93    -18       102   -13       90     101     -4    56    -1        48     -3       53    -6        56

       84      -30   127    -29       127   -36       127   -37       127    102     -5    82    0         68     0        68    3         68

       85      -17   123    -7        92     0        80    11        80     103     -7    76    -4        69     -7       74    -8        71

       86      -12   115    -5        89     -5       89    5         76     104     -22   125   -8        88     -9       88    -13       98

       87      -16   122    -7        96     -7       94    2         84




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                      Table 9-19 – Values of variables m and n for ctxIdx from 105 to 165

                I and SI              Value of cabac_init_idc                                              Value of cabac_init_idc
                                                                                     I and SI
                  slices
                                                                                       slices
       ctxIdx                     0                1               2        ctxIdx                     0               1              2

                m     n     m          n     m         n     m         n             m     n      m         n     m        n    m         n

        105     -7    93    -2         85    -13       103   -4        86    136     -13   101    5         53    0        58   -5        75

        106     -11   87    -6         78    -13       91    -12       88    137     -13   91     -2        61    -1       60   -8        80

        107     -3    77    -1         75    -9        89    -5        82    138     -12   94     0         56    -3       61   -21       83

        108     -5    71    -7         77    -14       92    -3        72    139     -10   88     0         56    -8       67   -21       64

        109     -4    63    2          54    -8        76    -4        67    140     -16   84    -13        63   -25       84   -13       31

        110     -4    68    5          50    -12       87    -8        72    141     -10   86     -5        60   -14       74   -25       64

        111     -12   84    -3         68    -23       110   -16       89    142     -7    83     -1        62    -5       65   -29       94

        112     -7    62    1          50    -24       105   -9        69    143     -13   87     4         57    5        52   9         75

        113     -7    65    6          42    -10       78    -1        59    144     -19   94     -6        69    2        57   17        63

        114     8     61    -4         81    -20       112   5         66    145     1     70     4         57    0        61   -8        74

        115     5     56    1          63    -17       99    4         57    146     0     72     14        39    -9       69   -5        35

        116     -2    66    -4         70    -78       127   -4        71    147     -5    74     4         51   -11       70   -2        27

        117     1     64    0          67    -70       127   -2        71    148     18    59     13        68    18       55   13        91

        118     0     61    2          57    -50       127   2         58    149     -8    102    3         64    -4       71   3         65

        119     -2    78    -2         76    -46       127   -1        74    150     -15   100    1         61    0        58   -7        69

        120     1     50    11         35    -4        66    -4        44    151     0     95     9         63    7        61   8         77

        121     7     52    4          64    -5        78    -1        69    152     -4    75     7         50    9        41   -10       66

        122     10    35    1          61    -4        71    0         62    153     2     72     16        39    18       25   3         62

        123     0     44    11         35    -8        72    -7        51    154     -11   75     5         44    9        32   -3        68

        124     11    38    18         25     2        59    -4        47    155     -3    71     4         52    5        43   -20       81

        125     1     45    12         24    -1        55    -6        42    156     15    46     11        48    9        47   0         30

        126     0     46    13         29    -7        70    -3        41    157     -13   69     -5        60    0        44   1         7

        127     5     44    13         36    -6        75    -6        53    158     0     62     -1        59    0        51   -3        23

        128     31    17    -10        93    -8        89    8         76    159     0     65     0         59    2        46   -21       74

        129     1     51    -7         73    -34       119   -9        78    160     21    37     22        33    19       38   16        66

        130     7     50    -2         73    -3        75    -11       83    161     -15   72     5         44    -4       66   -23       124

        131     28    19    13         46    32        20    9         52    162     9     57     14        43    15       38   17        37

        132     16    33    9          49    30        22    0         67    163     16    54     -1        78    12       42   44        -18

        133     14    62    -7        100    -44       127   -5        90    164     0     62     0         60    9        34   50        -34

        134     -13   108   9          53     0        54    1         67    165     12    72     9         69    0        89   -22       127

        135     -15   100   2          53    -5        61    -15       72




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                      Table 9-20 – Values of variables m and n for ctxIdx from 166 to 226

                 I and SI            Value of cabac_init_idc                                            Value of cabac_init_idc
                                                                                   I and SI
                   slices
                                                                                     slices
        ctxIdx                   0               1              2         ctxIdx                    0               1               2

                 m     n    m         n     m        n     m        n              m     n     m        n     m         n     m         n

         166     24    0    11       28     4        45    4        39     197     26   -17    28       3     36        -28   28        -3

         167     15    9    2        40    10        28    0        42     198     30   -25    28       4     38        -28   24        10

         168     8    25    3        44    10        31    7        34     199     28   -20    32       0     38        -27   27        0

         169     13   18    0        49    33        -11   11       29     200     33   -23    34       -1    34        -18   34        -14

         170     15    9    0        46    52        -43   8        31     201     37   -27    30       6     35        -16   52        -44

         171     13   19    2        44    18        15    6        37     202     33   -23    30       6     34        -14   39        -24

         172     10   37    2        51    28        0     7        42     203     40   -28    32       9     32        -8    19        17

         173     12   18    0        47    35        -22   3        40     204     38   -17    31       19    37        -6    31        25

         174     6    29    4        39    38        -25   8        33     205     33   -11    26       27    35        0     36        29

         175     20   33    2        62    34        0     13       43     206     40   -15    26       30    30        10    24        33

         176     15   30    6        46    39        -18   13       36     207     41   -6     37       20    28        18    34        15

         177     4    45    0        54    32        -12   4        47     208     38    1     28       34    26        25    30        20

         178     1    58    3        54    102       -94   3        55     209     41   17     17       70    29        41    22        73

         179     0    62    2        58     0        0     2        58     210     30   -6     1        67     0        75    20        34

         180     7    61    4        63    56        -15   6        60     211     27    3     5        59     2        72    19        31

         181     12   38    6        51    33        -4    8        44     212     26   22     9        67     8        77    27        44

         182     11   45    6        57    29        10    11       44     213     37   -16    16       30    14        35    19        16

         183     15   39    7        53    37        -5    14       42     214     35   -4     18       32    18        31    15        36

         184     11   42    6        52    51        -29   7        48     215     38   -8     18       35    17        35    15        36

         185     13   44    6        55    39        -9    4        56     216     38   -3     22       29    21        30    21        28

         186     16   45    11       45    52        -34   4        52     217     37    3     24       31    17        45    25        21

         187     12   41    14       36    69        -58   13       37     218     38    5     23       38    20        42    30        20

         188     10   49    8        53    67        -63   9        49     219     42    0     18       43    18        45    31        12

         189     30   34    -1       82    44        -5    19       58     220     35   16     20       41    27        26    27        16

         190     18   42    7        55    32        7     10       48     221     39   22     11       63    16        54    24        42

         191     10   55    -3       78    55        -29   12       45     222     14   48     9        59     7        66    0         93

         192     17   51    15       46    32        1     0        69     223     27   37     9        64    16        56    14        56

         193     17   46    22       31     0        0     20       33     224     21   60     -1       94    11        73    15        57

         194     0    89    -1       84    27        36    8        63     225     12   68     -2       89    10        67    26        38

         195     26   -19   25        7    33        -25   35       -18    226     2    97     -9       108   -10       116   -24       127

         196     22   -17   30        -7   34        -30   33       -25




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                      Table 9-21 – Values of variables m and n for ctxIdx from 227 to 275

                I and SI             Value of cabac_init_idc                                              Value of cabac_init_idc
                                                                                    I and SI
                  slices
                                                                                      slices
       ctxIdx                    0               1               2         ctxIdx                     0               1              2

                m     n    m          n     m        n     m         n              m     n      m         n     m        n    m         n

        227     -3    71   -6        76    -23       112   -24       115    252     -12   73     -6        55   -16       72   -14       75

        228     -6    42   -2        44    -15       71    -22       82     253     -8    76     0         58    -7       69   -10       79

        229     -5    50   0         45     -7       61    -9        62     254     -7    80     0         64    -4       69   -9        83

        230     -3    54   0         52     0        53    0         53     255     -9    88     -3        74    -5       74   -12       92

        231     -2    62   -3        64     -5       66    0         59     256     -17   110   -10        90    -9       86   -18       108

        232     0     58   -2        59    -11       77    -14       85     257     -11   97     0         70    2        66   -4        79

        233     1     63   -4        70     -9       80    -13       89     258     -20   84     -4        29    -9       34   -22       69

        234     -2    72   -4        75     -9       84    -13       94     259     -11   79     5         31    1        32   -16       75

        235     -1    74   -8        82    -10       87    -11       92     260     -6    73     7         42    11       31   -2        58

        236     -9    91   -17       102   -34       127   -29       127    261     -4    74     1         59    5        52   1         58

        237     -5    67   -9        77    -21       101   -21       100    262     -13   86     -2        58    -2       55   -13       78

        238     -5    27   3         24     -3       39    -14       57     263     -13   96     -3        72    -2       67   -9        83

        239     -3    39   0         42     -5       53    -12       67     264     -11   97     -3        81    0        73   -4        81

        240     -2    44   0         48     -7       61    -11       71     265     -19   117   -11        97    -8       89   -13       99

        241     0     46   0         55    -11       75    -10       77     266     -8    78     0         58    3        52   -13       81

        242     -16   64   -6        59    -15       77    -21       85     267     -5    33     8         5     7        4    -6        38

        243     -8    68   -7        71    -17       91    -16       88     268     -4    48     10        14    10       8    -13       62

        244     -10   78   -12       83    -25       107   -23       104    269     -2    53     14        18    17       8    -6        58

        245     -6    77   -11       87    -25       111   -15       98     270     -3    62     13        27    16       19   -2        59

        246     -10   86   -30       119   -28       122   -37       127    271     -13   71     2         40    3        37   -16       73

        247     -12   92   1         58    -11       76    -10       82     272     -10   79     0         58    -1       61   -10       76

        248     -15   55   -3        29    -10       44    -8        48     273     -12   86     -3        70    -5       73   -13       86

        249     -10   60   -1        36    -10       52    -8        61     274     -13   90     -6        79    -1       70   -9        83

        250     -6    62   1         38    -10       57    -8        66     275     -14   97     -8        85    -4       78   -10       87

        251     -4    65   2         43     -9       58    -7        70




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                      Table 9-22 – Values of variables m and n for ctxIdx from 277 to 337

                I and SI              Value of cabac_init_idc                                        Value of cabac_init_idc
                                                                                     I and SI
                  slices
                                                                                       slices
       ctxIdx                     0               1               2         ctxIdx                   0              1              2

                m      n    m          n     m        n     m         n              m     n    m        n    m         n    m         n

        277     -6     93   -13       106   -21       126   -22       127    308     -16   96   -1       51   -16       77   -10       67

        278     -6     84   -16       106   -23       124   -25       127    309     -7    88   7        49   -2        64   1         68

        279     -8     79   -10       87    -20       110   -25       120    310     -8    85   8        52   2         61   0         77

        280     0      66   -21       114   -26       126   -27       127    311     -7    85   9        41   -6        67   2         64

        281     -1     71   -18       110   -25       124   -19       114    312     -9    85   6        47   -3        64   0         68

        282     0      62   -14       98    -17       105   -23       117    313     -13   88   2        55   2         57   -5        78

        283     -2     60   -22       110   -27       121   -25       118    314     4     66   13       41   -3        65   7         55

        284     -2     59   -21       106   -27       117   -26       117    315     -3    77   10       44   -3        66   5         59

        285     -5     75   -18       103   -17       102   -24       113    316     -3    76   6        50   0         62   2         65

        286     -3     62   -21       107   -26       117   -28       118    317     -6    76   5        53   9         51   14        54

        287     -4     58   -23       108   -27       116   -31       120    318     10    58   13       49   -1        66   15        44

        288     -9     66   -26       112   -33       122   -37       124    319     -1    76   4        63   -2        71   5         60

        289     -1     79   -10       96    -10       95    -10       94     320     -1    83   6        64   -2        75   2         70

        290     0      71   -12       95    -14       100   -15       102    321     -7    99   -2       69   -1        70   -2        76

        291     3      68   -5        91     -8       95    -10       99     322     -14   95   -2       59   -9        72   -18       86

        292     10     44   -9        93    -17       111   -13       106    323     2     95   6        70   14        60   12        70

        293     -7     62   -22       94    -28       114   -50       127    324     0     76   10       44   16        37   5         64

        294     15     36   -5        86     -6       89    -5        92     325     -5    74   9        31   0         47   -12       70

        295     14     40   9         67     -2       80    17        57     326     0     70   12       43   18        35   11        55

        296     16     27   -4        80     -4       82    -5        86     327     -11   75   3        53   11        37   5         56

        297     12     29   -10       85     -9       85    -13       94     328     1     68   14       34   12        41   0         69

        298     1      44   -1        70     -8       81    -12       91     329     0     65   10       38   10        41   2         65

        299     20     36   7         60     -1       72    -2        77     330     -14   73   -3       52   2         48   -6        74

        300     18     32   9         58     5        64    0         71     331     3     62   13       40   12        41   5         54

        301     5      42   5         61     1        67    -1        73     332     4     62   17       32   13        41   7         54

        302     1      48   12        50     9        56    4         64     333     -1    68   7        44   0         59   -6        76

        303     10     62   15        50     0        69    -7        81     334     -13   75   7        38   3         50   -11       82

        304     17     46   18        49     1        69    5         64     335     11    55   13       50   19        40   -2        77

        305     9      64   17        54     7        69    15        57     336     5     64   10       57   3         66   -2        77

        306     -12   104   10        41     -7       69    1         67     337     12    70   26       43   18        50   25        42

        307     -11    97   7         46     -6       67    0         68




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                       Table 9-23 – Values of variables m and n for ctxIdx from 338 to 398

                 I and SI           Value of cabac_init_idc                                              Value of cabac_init_idc
                                                                                     I and SI
                   slices
                                                                                       slices
        ctxIdx                      0              1              2         ctxIdx                   0              1               2

                 m       n    m         n     m        n     m        n              m     n    m         n    m        n     m         n

         338     15      6    14        11    19       -6    17       -13    369     32   -26   31        -4   40       -37   37        -17

         339     6      19    11        14    18       -6    16       -9     370     37   -30   27        6    38       -30   32        1

         340     7      16    9         11    14       0     17       -12    371     44   -32   34        8    46       -33   34        15

         341     12     14    18        11    26       -12   27       -21    372     34   -18   30       10    42       -30   29        15

         342     18     13    21        9     31       -16   37       -30    373     34   -15   24       22    40       -24   24        25

         343     13     11    23        -2    33       -25   41       -40    374     40   -15   33       19    49       -29   34        22

         344     13     15    32        -15   33       -22   42       -41    375     33   -7    22       32    38       -12   31        16

         345     15     16    32        -15   37       -28   48       -47    376     35   -5    26       31    40       -10   35        18

         346     12     23    34        -21   39       -30   39       -32    377     33    0    21       41    38       -3    31        28

         347     13     23    39        -23   42       -30   46       -40    378     38    2    26       44    46       -5    33        41

         348     15     20    42        -33   47       -42   52       -51    379     33   13    23       47    31       20    36        28

         349     14     26    41        -31   45       -36   46       -41    380     23   35    16       65    29       30    27        47

         350     14     44    46        -28   49       -34   52       -39    381     13   58    14       71    25       44    21        62

         351     17     40    38        -12   41       -17   43       -19    382     29   -3    8        60    12       48    18        31

         352     17     47    21        29    32       9     32       11     383     26    0    6        63    11       49    19        26

         353     24     17    45        -24   69       -71   61       -55    384     22   30    17       65    26       45    36        24

         354     21     21    53        -45   63       -63   56       -46    385     31   -7    21       24    22       22    24        23

         355     25     22    48        -26   66       -64   62       -50    386     35   -15   23       20    23       22    27        16

         356     31     27    65        -43   77       -74   81       -67    387     34   -3    26       23    27       21    24        30

         357     22     29    43        -19   54       -39   45       -20    388     34    3    27       32    33       20    31        29

         358     19     35    39        -10   52       -35   35       -2     389     36   -1    28       23    26       28    22        41

         359     14     50    30        9     41       -10   28       15     390     34    5    28       24    30       24    22        42

         360     10     57    18        26    36       0     34       1      391     32   11    23       40    27       34    16        60

         361     7      63    20        27    40       -1    39       1      392     35    5    24       32    18       42    15        52

         362     -2     77    0         57    30       14    30       17     393     34   12    28       29    25       39    14        60

         363     -4     82    -14       82    28       26    20       38     394     39   11    23       42    18       50    3         78

         364     -3     94    -5        75    23       37    18       45     395     30   29    19       57    12       70    -16       123

         365     9      69    -19       97    12       55    15       54     396     34   26    22       53    21       54    21        53

         366     -12    109   -35       125   11       65    0        79     397     29   39    22       61    14       71    22        56

         367     36     -35   27        0     37       -33   36       -16    398     19   66    11       86    11       83    25        61

         368     36     -34   28        0     39       -36   37       -14




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                           Table 9-24 – Values of variables m and n for ctxIdx from 402 to 459

                          I                Value of cabac_init_idc                                                 Value of cabac_init_idc
                                                                                                 I
                       slices
                                                                                              slices
          ctxIdx                       0               1               2         ctxIdx                        0               1               2

                   m        n    m          n     m        n     m         n              m        n     m          n     m        n     m         n

           402     -17     120   -4         79    -5       85    -3        78     431     -2       55    -12        56    -9       57    -12       59

           403     -20     112   -7         71    -6       81    -8        74     432     0        61    -6         60    -6       63    -8        63

           404     -18     114   -5         69   -10       77    -9        72     433     1        64    -5         62    -4       65    -9        67

           405     -11      85   -9         70    -7       81    -10       72     434     0        68    -8         66    -4       67    -6        68

           406     -15      92   -8         66   -17       80    -18       75     435     -9       92    -8         76    -7       82    -10       79

           407     -14      89   -10        68   -18       73    -12       71     436     -14     106    -5         85    -3       81    -3        78

           408     -26      71   -19        73    -4       74    -11       63     437     -13      97    -6         81    -3       76    -8        74

           409     -15      81   -12        69   -10       83    -5        70     438     -15      90    -10        77    -7       72    -9        72

           410     -14      80   -16        70    -9       71    -17       75     439     -12      90    -7         81    -6       78    -10       72

           411     0        68   -15        67    -9       67    -14       72     440     -18      88    -17        80   -12       72    -18       75

           412     -14      70   -20        62    -1       61    -16       67     441     -10      73    -18        73   -14       68    -12       71

           413     -24      56   -19        70    -8       66    -8        53     442     -9       79    -4         74    -3       70    -11       63

           414     -23      68   -16        66   -14       66    -14       59     443     -14      86    -10        83    -6       76    -5        70

           415     -24      50   -22        65    0        59    -9        52     444     -10      73    -9         71    -5       66    -17       75

           416     -11      74   -20        63    2        59    -11       68     445     -10      70    -9         67    -5       62    -14       72

           417     23      -13   9          -2   17        -10   9         -2     446     -10      69    -1         61    0        57    -16       67

           418     26      -13   26         -9   32        -13   30        -10    447     -5       66    -8         66    -4       61    -8        53

           419     40      -15   33         -9   42        -9    31        -4     448     -9       64    -14        66    -9       60    -14       59

           420     49      -14   39         -7   49        -5    33        -1     449     -5       58    0          59    1        54    -9        52

           421     44       3    41         -2   53        0     33        7      450     2        59    2          59    2        58    -11       68

           422     45       6    45         3    64        3     31        12     451     21      -10    21        -13    17       -10   9         -2

           423     44       34   49         9    68        10    37        23     452     24      -11    33        -14    32       -13   30        -10

           424     33       54   45         27   66        27    31        38     453     28       -8    39         -7    42       -9    31        -4

           425     19       82   36         59   47        57    20        64     454     28       -1    46         -2    49       -5    33        -1

           426     -3       75   -6         66    -5       71    -9        71     455     29       3     51         2     53       0     33        7

           427     -1       23   -7         35    0        24    -7        37     456     29       9     60         6     64       3     31        12

           428     1        34   -7         42    -1       36    -8        44     457     35       20    61         17    68       10    37        23

           429     1        43   -8         45    -2       42    -11       49     458     29       36    55         34    66       27    31        38

           430     0        54   -5         48    -2       52    -10       56     459     14       67    42         62    47       57    20        64




9.3.1.2   Initialisation process for the arithmetic decoding engine
This process is invoked before decoding the first macroblock of a slice or after the decoding of any
pcm_alignment_zero_bit and all pcm_sample_luma and pcm_sample_chroma data for a macroblock of type I_PCM.
Outputs of this process are the initialised decoding engine registers codIRange and codIOffset both in 16 bit register
precision.
The status of the arithmetic decoding engine is represented by the variables codIRange and codIOffset. In the
initialisation procedure of the arithmetic decoding process, codIRange is set equal to 0x01FE and codIOffset is set equal

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to the value returned from read_bits( 9 ) interpreted as a 9 bit binary representation of an unsigned integer with most
significant bit written first.
The bitstream shall not contain data that results in a value of codIOffset being equal to 0x01FE or 0x01FF.
    NOTE – The description of the arithmetic decoding engine in this Recommendation | International Standard utilizes 16 bit
    register precision. However, the minimum register precision for the variables codIRange and codIOffset is 9 bits.

9.3.2    Binarization process
Input to this process is a request for a syntax element.
Output of this process is the binarization of the syntax element, maxBinIdxCtx, ctxIdxOffset, and bypassFlag.
Table 9-25 specifies the type of binarization process, maxBinIdxCtx, and ctxIdxOffset associated with each syntax
element.
The specification of the unary (U) binarization process, the truncated unary (TU) binarization process, the concatenated
unary / k-th order Exp-Golomb (UEGk) binarization process, and the fixed-length (FL) binarization process are given in
subclauses 9.3.2.1 to 9.3.2.4, respectively. Other binarizations are specified in subclauses 9.3.2.5 to 9.3.2.7.
Except for I slices, the binarizations for the syntax element mb_type as specified in subclause 9.3.2.5 consist of bin
strings given by a concatenation of prefix and suffix bit strings. The UEGk binarization as specified in 9.3.2.3, which is
used for the binarization of the syntax elements mvd_lX (X = 0, 1) and coeff_abs_level_minus1, and the binarization of
the coded_block_pattern also consist of a concatenation of prefix and suffix bit strings. For these binarization processes,
the prefix and the suffix bit string are separately indexed using the binIdx variable as specified further in subclause
9.3.3. The two sets of prefix bit strings and suffix bit strings are referred to as the binarization prefix part and the
binarization suffix part, respectively.
Associated with each binarization or binarization part of a syntax element is a specific value of the context index offset
(ctxIdxOffset) variable and a specific value of the maxBinIdxCtx variable as given in Table 9-25. When two values for
each of these variables are specified for one syntax element in Table 9-25, the value in the upper row is related to the
prefix part while the value in the lower row is related to the suffix part of the binarization of the corresponding syntax
element.
The use of the DecodeBypass process and the variable bypassFlag is derived as follows.
–    If no value is assigned to ctxIdxOffset for the corresponding binarization or binarization part in Table 9-25 labelled
     as “na”, all bins of the bit strings of the corresponding binarization or of the binarization prefix/suffix part are
     decoded by invoking the DecodeBypass process as specified in subclause 9.3.3.2.3. In such a case, bypassFlag is
     set equal to 1, where bypassFlag is used to indicate that for parsing the value of the bin from the bitstream the
     DecodeBypass process is applied.
–    Otherwise, for each possible value of binIdx up to the specified value of maxBinIdxCtx given in Table 9-25, a
     specific value of the variable ctxIdx is further specified in subclause 9.3.3. bypassFlag is set equal to 0.
The possible values of the context index ctxIdx are in the range 0 to 459, inclusive. The value assigned to ctxIdxOffset
specifies the lower value of the range of ctxIdx assigned to the corresponding binarization or binarization part of a
syntax element.
ctxIdx = ctxIdxOffset = 276 is assigned to the syntax element end_of_slice_flag and the bin of mb_type, which
specifies the I_PCM macroblock type as further specified in subclause 9.3.3.1. For parsing the value of the
corresponding bin from the bitstream, the arithmetic decoding process for decisions before termination
(DecodeTerminate) as specified in subclause 9.3.3.2.4 is applied.
    NOTE – The bins of mb_type in I slices and the bins of the suffix for mb_type in SI slices that correspond to the same value of
    binIdx share the same ctxIdx. The last bin of the prefix of mb_type and the first bin of the suffix of mb_type in P, SP, and B
    slices may share the same ctxIdx.




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        Table 9-25 – Syntax elements and associated types of binarization, maxBinIdxCtx, and ctxIdxOffset

                   Syntax element                       Type of binarization           maxBinIdxCtx                ctxIdxOffset

                       mb_type                             prefix and suffix              prefix: 0    prefix: 0
                    (SI slices only)               as specified in subclause 9.3.2.5      suffix: 6    suffix: 3

               mb_type (I slices only)             as specified in subclause 9.3.2.5          6        3

                    mb_skip_flag
                                                             FL, cMax=1                       0        11
                  (P, SP slices only)

                                                           prefix and suffix              prefix: 2    prefix: 14
             mb_type (P, SP slices only)
                                                   as specified in subclause 9.3.2.5      suffix: 5    suffix: 17

                    sub_mb_type
                                                   as specified in subclause 9.3.2.5          2        21
                  (P, SP slices only)

                     mb_skip_flag
                                                             FL, cMax=1                       0        24
                    (B slices only)

                                                           prefix and suffix              prefix: 3    prefix: 27
               mb_type (B slices only)
                                                   as specified in subclause 9.3.2.5      suffix: 5    suffix: 32

            sub_mb_type (B slices only)            as specified in subclause 9.3.2.5          3        36

                                                                                           prefix: 4   prefix: 40
          mvd_l0[ ][ ][ 0 ], mvd_l1[ ][ ][ 0 ]
                                                                                          suffix: na   suffix: na (uses DecodeBypass)
                                                  prefix and suffix as given by UEG3
                                                  with signedValFlag=1, uCoff=9
                                                                                           prefix: 4   prefix: 47
          mvd_l0[ ][ ][ 1 ], mvd_l1[ ][ ][ 1 ]
                                                                                          suffix: na   suffix: na (uses DecodeBypass)

                ref_idx_l0, ref_idx_l1                            U                           2        54

                     mb_qp_delta                   as specified in subclause 9.3.2.7          2        60

              intra_chroma_pred_mode                        TU, cMax=3                        1        64

           prev_intra4x4_pred_mode_flag,                                                      0        68
                                                             FL, cMax=1
           prev_intra8x8_pred_mode_flag

             rem_intra4x4_pred_mode,                                                          0        69
                                                             FL, cMax=7
             rem_intra8x8_pred_mode

              mb_field_decoding_flag                         FL, cMax=1                       0        70



                                                           prefix and suffix           prefix: 3       prefix: 73
                coded_block_pattern
                                                   as specified in subclause 9.3.2.6   suffix: 1       suffix: 77



                  coded_block_flag                           FL, cMax=1                       0        85

                significant_coeff_flag
                                                             FL, cMax=1                       0        105
      (frame coded blocks with ctxBlockCat < 5)

              last_significant_coeff_flag
                                                             FL, cMax=1                       0        166
      (frame coded blocks with ctxBlockCat < 5)

               coeff_abs_level_minus1             prefix and suffix as given by UEG0       prefix: 1   prefix: 227
            (blocks with ctxBlockCat < 5)          with signedValFlag=0, uCoff=14         suffix: na   suffix: na, (uses DecodeBypass)

                   coeff_sign_flag                           FL, cMax=1                       0        na, (uses DecodeBypass)

                  end_of_slice_flag                          FL, cMax=1                       0        276

                significant_coeff_flag
                                                             FL, cMax=1                       0        277
      (field coded blocks with ctxBlockCat < 5)




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                  Syntax element                          Type of binarization              maxBinIdxCtx            ctxIdxOffset

              last_significant_coeff_flag
                                                               FL, cMax=1                         0        338
      (field coded blocks with ctxBlockCat < 5)

              transform_size_8x8_flag                           FL, cMax=1                        0        399

               significant_coeff_flag
                                                               FL, cMax=1                         0        402
    (frame coded blocks with ctxBlockCat = = 5)

             last_significant_coeff_flag
                                                               FL, cMax=1                         0        417
    (frame coded blocks with ctxBlockCat = = 5)

              coeff_abs_level_minus1               prefix and suffix as given by UEG0          prefix: 1   prefix: 426
          (blocks with ctxBlockCat = = 5)           with signedValFlag=0, uCoff=14            suffix: na   suffix: na, (uses DecodeBypass)

                significant_coeff_flag
                                                               FL, cMax=1                         0        436
    (field coded blocks with ctxBlockCat = = 5)

              last_significant_coeff_flag
                                                               FL, cMax=1                         0        451
    (field coded blocks with ctxBlockCat = = 5)




9.3.2.1   Unary (U) binarization process
Input to this process is a request for a U binarization for a syntax element.
Output of this process is the U binarization of the syntax element.
The bin string of a syntax element having (unsigned integer) value synElVal is a bit string of length synElVal + 1
indexed by BinIdx. The bins for binIdx less than synElVal are equal to 1. The bin with binIdx equal to synElVal is
equal to 0.
Table 9-26 illustrates the bin strings of the unary binarization for a syntax element.

                               Table 9-26 – Bin string of the unary binarization (informative)

                                              Value of syntax element            Bin string

                                                    0 (I_NxN)           0

                                                        1               1    0

                                                        2               1    1     0

                                                        3               1    1     1    0

                                                        4               1    1     1    1     0

                                                        5               1    1     1    1     1   0

                                                        …

                                                      binIdx            0    1     2    3     4   5




9.3.2.2   Truncated unary (TU) binarization process
Input to this process is a request for a TU binarization for a syntax element and cMax.
Output of this process is the TU binarization of the syntax element.
For syntax element (unsigned integer) values less than cMax, the U binarization process as specified in subclause
9.3.2.1 is invoked. For the syntax element value equal to cMax the bin string is a bit string of length cMax with all bins
being equal to 1.
   NOTE – TU binarization is always invoked with a cMax value equal to the largest possible value of the syntax element being
   decoded.




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9.3.2.3      Concatenated unary/ k-th order Exp-Golomb (UEGk) binarization process
Input to this process is a request for a UEGk binarization for a syntax element, signedValFlag and uCoff.
Output of this process is the UEGk binarization of the syntax element.
A UEGk bin string is a concatenation of a prefix bit string and a suffix bit string. The prefix of the binarization is
specified by invoking the TU binarization process for the prefix part Min( uCoff, Abs( synElVal ) ) of a syntax element
value synElVal as specified in subclause 9.3.2.2 with cMax = uCoff, where uCoff > 0.
The UEGk bin string is derived as follows.
-     If one of the following is true, the bin string of a syntax element having value synElVal consists only of a prefix bit
      string,
             -      signedValFlag is equal to 0 and the prefix bit string is not equal to the bit string of length uCoff with all
                    bits equal to 1.
             -      signedValFlag is equal to 1 and the prefix bit string is equal to the bit string that consists of a single bit
                    with value equal to 0.
-     Otherwise, the bin string of the UEGk suffix part of a syntax element value synElVal is specified by a process
      equivalent to the following pseudo-code:

          if( Abs( synElVal ) >= uCoff ) {
               sufS = Abs( synElVal ) − uCoff
               stopLoop = 0
               do {
                    if( sufS >= ( 1 << k ) ) {
                         put( 1 )
                         sufS = sufS − ( 1<<k )
                         k++
                    } else {
                         put( 0 )
                         while( k− − )
                            put( ( sufS >> k ) & 0x01 )
                         stopLoop = 1
                    }
               } while( !stopLoop )
          }
          if( signedValFlag && synElVal ! = 0)
               if( synElVal > 0 )
                    put( 0 )
               else
                    put( 1 )


    NOTE – The specification for the k-th order Exp-Golomb (EGk) code uses 1’s and 0’s in reverse meaning for the unary part of
    the Exp-Golomb code of 0-th order as specified in subclause 9.1.

9.3.2.4      Fixed-length (FL) binarization process
Input to this process is a request for a FL binarization for a syntax element and cMax.
Output of this process is the FL binarization of the syntax element.
FL binarization is constructed by using an fixedLength-bit unsigned integer bin string of the syntax element value,
where fixedLength = Ceil( Log2( cMax + 1 ) ). The indexing of bins for the FL binarization is such that the binIdx = 0
relates to the least significant bit with increasing values of binIdx towards the most significant bit.

9.3.2.5      Binarization process for macroblock type and sub-macroblock type
Input to this process is a request for a binarization for syntax elements mb_type or sub_mb_type.
Output of this process is the binarization of the syntax element.
The binarization scheme for decoding of macroblock type in I slices is specified in Table 9-27.




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For macroblock types in SI slices, the binarization consists of bin strings specified as a concatenation of a prefix and a
suffix bit string as follows.
The prefix bit string consists of a single bit, which is specified by b0 = ((mb_type = = SI) ? 0 : 1 ). For the syntax
element value for which b0 is equal to 0, the bin string only consists of the prefix bit string. For the syntax element value
for which b0 is equal to 1, the binarization is given by concatenating the prefix b0 and the suffix bit string as specified in
Table 9-27 for macroblock type in I slices indexed by subtracting 1 from the value of mb_type in SI slices.

                               Table 9-27 – Binarization for macroblock types in I slices
                               Value (name) of mb_type   Bin string

                               0 (I_4x4)                 0

                               1 (I_16x16_0_0_0)         1     0      0   0     0    0

                               2 (I_16x16_1_0_0)         1     0      0   0     0    1

                               3 (I_16x16_2_0_0)         1     0      0   0     1    0

                               4 (I_16x16_3_0_0)         1     0      0   0     1    1

                               5 (I_16x16_0_1_0)         1     0      0   1     0    0     0

                               6 (I_16x16_1_1_0)         1     0      0   1     0    0     1

                               7 (I_16x16_2_1_0)         1     0      0   1     0    1     0

                               8 (I_16x16_3_1_0)         1     0      0   1     0    1     1

                               9 (I_16x16_0_2_0)         1     0      0   1     1    0     0

                               10 (I_16x16_1_2_0)        1     0      0   1     1    0     1

                               11 (I_16x16_2_2_0)        1     0      0   1     1    1     0

                               12 (I_16x16_3_2_0)        1     0      0   1     1    1     1

                               13 (I_16x16_0_0_1)        1     0      1   0     0    0

                               14 (I_16x16_1_0_1)        1     0      1   0     0    1

                               15 (I_16x16_2_0_1)        1     0      1   0     1    0

                               16 (I_16x16_3_0_1)        1     0      1   0     1    1

                               17 (I_16x16_0_1_1)        1     0      1   1     0    0     0

                               18 (I_16x16_1_1_1)        1     0      1   1     0    0     1

                               19 (I_16x16_2_1_1)        1     0      1   1     0    1     0

                               20 (I_16x16_3_1_1)        1     0      1   1     0    1     1

                               21 (I_16x16_0_2_1)        1     0      1   1     1    0     0

                               22 (I_16x16_1_2_1)        1     0      1   1     1    0     1

                               23 (I_16x16_2_2_1)        1     0      1   1     1    1     0

                               24 (I_16x16_3_2_1)        1     0      1   1     1    1     1

                               25 (I_PCM)                1     1

                               binIdx                    0     1      2   3     4    5     6




The binarization schemes for P macroblock types in P and SP slices and for B macroblocks in B slices are specified in
Table 9-28.
The bin string for I macroblock types in P and SP slices corresponding to mb_type values 5 to 30 consists of a
concatenation of a prefix, which consists of a single bit with value equal to 1 as specified in Table 9-28 and a suffix as
specified in Table 9-27, indexed by subtracting 5 from the value of mb_type.
mb_type equal to 4 (P_8x8ref0) is not allowed.


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For I macroblock types in B slices (mb_type values 23 to 48) the binarization consists of bin strings specified as a
concatenation of a prefix bit string as specified in Table 9-28 and suffix bit strings as specified in Table 9-27, indexed
by subtracting 23 from the value of mb_type.

                       Table 9-28 – Binarization for macroblock types in P, SP, and B slices
                       Slice type    Value (name) of mb_type         Bin string

                                     0 (P_L0_16x16)                  0     0      0

                                     1 (P_L0_L0_16x8)                0     1      1

                                     2 (P_L0_L0_8x16)                0     1      0
                       P, SP slice
                                     3 (P_8x8)                       0     0      1

                                     4 (P_8x8ref0)                   na

                                     5 to 30 (Intra, prefix only)    1

                                     0 (B_Direct_16x16)              0

                                     1 (B_L0_16x16)                  1     0      0

                                     2 (B_L1_16x16)                  1     0      1

                                     3 (B_Bi_16x16)                  1     1      0   0   0   0

                                     4 (B_L0_L0_16x8)                1     1      0   0   0   1

                                     5 (B_L0_L0_8x16)                1     1      0   0   1   0

                                     6 (B_L1_L1_16x8)                1     1      0   0   1   1

                                     7 (B_L1_L1_8x16)                1     1      0   1   0   0

                                     8 (B_L0_L1_16x8)                1     1      0   1   0   1

                                     9 (B_L0_L1_8x16)                1     1      0   1   1   0

                                     10 (B_L1_L0_16x8)               1     1      0   1   1   1

                                     11 (B_L1_L0_8x16)               1     1      1   1   1   0
                       B slice
                                     12 (B_L0_Bi_16x8)               1     1      1   0   0   0   0

                                     13 (B_L0_Bi_8x16)               1     1      1   0   0   0   1

                                     14 (B_L1_Bi_16x8)               1     1      1   0   0   1   0

                                     15 (B_L1_Bi_8x16)               1     1      1   0   0   1   1

                                     16 (B_Bi_L0_16x8)               1     1      1   0   1   0   0

                                     17 (B_Bi_L0_8x16)               1     1      1   0   1   0   1

                                     18 (B_Bi_L1_16x8)               1     1      1   0   1   1   0

                                     19 (B_Bi_L1_8x16)               1     1      1   0   1   1   1

                                     20 (B_Bi_Bi_16x8)               1     1      1   1   0   0   0

                                     21 (B_Bi_Bi_8x16)               1     1      1   1   0   0   1

                                     22 (B_8x8)                      1     1      1   1   1   1

                                     23 to 48 (Intra, prefix only)   1     1      1   1   0   1

                       binIdx                                        0     1      2   3   4   5   6




For P, SP, and B slices the specification of the binarization for sub_mb_type is given in Table 9-29.




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                      Table 9-29 – Binarization for sub-macroblock types in P, SP, and B slices

                     Slice type    Value (name) of sub_mb_type   Bin string

                                   0 (P_L0_8x8)                  1

                                   1 (P_L0_8x4)                  0       0
                     P, SP slice
                                   2 (P_L0_4x8)                  0       1    1

                                   3 (P_L0_4x4)                  0       1    0

                                   0 (B_Direct_8x8)              0

                                   1 (B_L0_8x8)                  1       0    0

                                   2 (B_L1_8x8)                  1       0    1

                                   3 (B_Bi_8x8)                  1       1    0      0      0

                                   4 (B_L0_8x4)                  1       1    0      0      1

                                   5 (B_L0_4x8)                  1       1    0      1      0

                     B slice       6 (B_L1_8x4)                  1       1    0      1      1

                                   7 (B_L1_4x8)                  1       1    1      0      0       0

                                   8 (B_Bi_8x4)                  1       1    1      0      0       1

                                   9 (B_Bi_4x8)                  1       1    1      0      1       0

                                   10 (B_L0_4x4)                 1       1    1      0      1       1

                                   11 (B_L1_4x4)                 1       1    1      1      0

                                   12 (B_Bi_4x4)                 1       1    1      1      1

                     binIdx                                      0       1    2      3      4       5




9.3.2.6   Binarization process for coded block pattern
Input to this process is a request for a binarization for the syntax element coded_block_pattern.
Output of this process is the binarization of the syntax element.
The binarization of coded_block_pattern consists of a prefix part and (when present) a suffix part. The prefix part of the
binarization is given by the FL binarization of CodedBlockPatternLuma with cMax = 15. When chroma_format_idc is
not equal to 0 (monochrome), the suffix part is present and consists of the TU binarization of
CodedBlockPatternChroma with cMax = 2. The relationship between the value of the syntax element
coded_block_pattern and the values of CodedBlockPatternLuma and CodedBlockPatternChroma is given as specified
in subclause 7.4.5.

9.3.2.7   Binarization process for mb_qp_delta
Input to this process is a request for a binarization for the syntax element mb_qp_delta.
Output of this process is the binarization of the syntax element.
The bin string of mb_qp_delta is derived by the U binarization of the mapped value of the syntax element mb_qp_delta,
where the assignment rule between the signed value of mb_qp_delta and its mapped value is given as specified in
Table 9-3.

9.3.3     Decoding process flow
Input to this process is a binarization of the requested syntax element, maxBinIdxCtx, bypassFlag and ctxIdxOffset as
specified in subclause 9.3.2.
Output of this process is the value of the syntax element.



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This process specifies how each bit of a bit string is parsed for each syntax element.
After parsing each bit, the resulting bit string is compared to all bin strings of the binarization of the syntax element and
the following applies.
–     If the bit string is equal to one of the bin strings, the corresponding value of the syntax element is the output.
–     Otherwise (the bit string is not equal to one of the bin strings), the next bit is parsed.
While parsing each bin, the variable binIdx is incremented by 1 starting with binIdx being set equal to 0 for the first bin.
When the binarization of the corresponding syntax element consists of a prefix and a suffix binarization part,, the
variable binIdx is set equal to 0 for the first bin of each part of the bin string (prefix part or suffix part). In this case,
after parsing the prefix bit string, the parsing process of the suffix bit string related to the binarizations specified in
subclauses 9.3.2.3 and 9.3.2.5 is invoked depending on the resulting prefix bit string as specified in subclauses 9.3.2.3
and 9.3.2.5. Note that for the binarization of the syntax element coded_block_pattern, the suffix bit string is present
regardless of the prefix bit string of length 4 as specified in subclause 9.3.2.6.
Depending on the variable bypassFlag, the following applies.
–     If bypassFlag is equal to 1, the bypass decoding process as specified in subclause 9.3.3.2.3 is applied for parsing
      the value of the bins from the bitstream.
–     Otherwise (bypassFlag is equal to 0), the parsing of each bin is specified by the following two ordered steps:
      1.   Given binIdx, maxBinIdxCtx and ctxIdxOffset, ctxIdx is derived as specified in subclause 9.3.3.1.
      2.   Given ctxIdx, the value of the bin from the bitstream as specified in subclause 9.3.3.2 is decoded.

9.3.3.1    Derivation process for ctxIdx
Inputs to this process are binIdx, maxBinIdxCtx and ctxIdxOffset.
Output of this process is ctxIdx.
Table 9-30 shows the assignment of ctxIdx increments (ctxIdxInc) to binIdx for all ctxIdxOffset values except those
related to the syntax elements coded_block_flag, significant_coeff_flag, last_significant_coeff_flag, and
coeff_abs_level_minus1.
The ctxIdx to be used with a specific binIdx is specified by first determining the ctxIdxOffset associated with the given
bin string or part thereof. The ctxIdx is determined as follows.
–     If the ctxIdxOffset is listed in Table 9-30, the ctxIdx for a binIdx is the sum of ctxIdxOffset and ctxIdxInc, which
      is found in Table 9-30. When more than one value is listed in Table 9-30 for a binIdx, the assignment process for
      ctxIdxInc for that binIdx is further specified in the subclauses given in parenthesis of the corresponding table entry.
–     Otherwise (ctxIdxOffset is not listed in Table 9-30), the ctxIdx is specified to be the sum of the following terms:
      ctxIdxOffset and ctxIdxBlockCatOffset(ctxBlockCat) as specified in Table 9-31 and ctxIdxInc(ctxBlockCat).
      Subclause 9.3.3.1.3 specifies which ctxBlockCat is used. Subclause 9.3.3.1.1.9 specifies the assignment of
      ctxIdxInc(ctxBlockCat) for coded_block_flag, and subclause 9.3.3.1.3 specifies the assignment of
      ctxIdxInc(ctxBlockCat) for significant_coeff_flag, last_significant_coeff_flag, and coeff_abs_level_minus1.
All bins with binIdx greater than maxBinIdxCtx are parsed using the value of ctxIdx being assigned to binIdx equal to
maxBinIdxCtx.
All entries in Table 9-30 labelled with “na” correspond to values of binIdx that do not occur for the corresponding
ctxIdxOffset.
ctxIdx = 276 is assigned to the binIdx of mb_type indicating the I_PCM mode. For parsing the value of the
corresponding bins from the bitstream, the arithmetic decoding process for decisions before termination as specified in
subclause 9.3.3.2.4 is applied.




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  Table 9-30 – Assignment of ctxIdxInc to binIdx for all ctxIdxOffset values except those related to the syntax
   elements coded_block_flag, significant_coeff_flag, last_significant_coeff_flag, and coeff_abs_level_minus1
                                                                            binIdx
          ctxIdxOffset
                                    0                    1              2                 3               4              5        >= 6

                                 0,1,2
          0                                             na             na                na               na            na         na
                         (subclause 9.3.3.1.1.3)
                                                                                                          5,6           6,7
                                 0,1,2                                                                (subclause    (subclause
          3                                         ctxIdx=276          3                 4                                        7
                         (subclause 9.3.3.1.1.3)
                                                                                                       9.3.3.1.2)    9.3.3.1.2)

                                 0,1,2
          11                                            na             na                na               na            na         na
                         (subclause 9.3.3.1.1.1)

                                                                       2,3
          14                        0                    1         (subclause            na               na            na         na
                                                                    9.3.3.1.2)
                                                                                                          2,3
          17                        0               ctxIdx=276          1                 2           (subclause        3          3
                                                                                                       9.3.3.1.2)

          21                        0                    1              2                na               na            na         na
                                 0,1,2
          24                                            na             na                na               na            na         na
                         (subclause 9.3.3.1.1.1)

                                 0,1,2                                 4,5
          27                                             3         (subclause             5               5             5          5
                         (subclause 9.3.3.1.1.3)
                                                                    9.3.3.1.2)
                                                                                                          2,3
          32                        0               ctxIdx=276          1                 2           (subclause        3          3
                                                                                                       9.3.3.1.2)

                                                                       2,3
          36                        0                    1         (subclause             3               3             3          na
                                                                    9.3.3.1.2)

                                 0,1,2
          40                                             3              4                 5               6             6          6
                         (subclause 9.3.3.1.1.7)

                                 0,1,2
          47                                             3              4                 5               6             6          6
                         (subclause 9.3.3.1.1.7)

                                 0,1,2,3
          54                                             4              5                 5               5             5          5
                         (subclause 9.3.3.1.1.6)

                                  0,1
          60                                             2              3                 3               3             3          3
                         (subclause 9.3.3.1.1.5)

                                 0,1,2
          64                                             3              3                na               na            na         na
                         (subclause 9.3.3.1.1.8)

          68                        0                   na             na                na               na            na         na
          69                        0                    0              0                na               na            na         na
                                 0,1,2
          70                                            na             na                na               na            na         na
                         (subclause 9.3.3.1.1.2)

                                                      0,1,2,3        0,1,2,3           0,1,2,3
                                 0,1,2,3
          73                                        (subclause     (subclause        (subclause           na            na         na
                         (subclause 9.3.3.1.1.4)
                                                    9.3.3.1.1.4)   9.3.3.1.1.4)      9.3.3.1.1.4)

                                                      4,5,6,7
                                 0,1,2,3
          77                                        (subclause         na                na               na            na         na
                         (subclause 9.3.3.1.1.4)
                                                    9.3.3.1.1.4)

          276                       0                   na             na                na               na            na         na
                                  0,1,2
          399                                           na             na                na               na            na         na
                         (subclause 9.3.3.1.1.10)




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Table 9-31 shows the values of ctxIdxBlockCatOffset depending on ctxBlockCat for the syntax elements
coded_block_flag, significant_coeff_flag, last_significant_coeff_flag, and coeff_abs_level_minus1. The specification of
ctxBlockCat is given in Table 9-33.

      Table 9-31 – Assignment of ctxIdxBlockCatOffset to ctxBlockCat for syntax elements coded_block_flag,
                   significant_coeff_flag, last_significant_coeff_flag, and coeff_abs_level_minus1

                                                          ctxBlockCat (as specified in Table 9-33)
                            Syntax element
                                                          0       1        2       3        4        5

                            coded_block_flag              0       4        8       12       16       na

                            significant_coeff_flag        0       15       29      44       47       0

                            last_significant_coeff_flag   0       15       29      44       47       0

                            coeff_abs_level_minus1        0       10       20      30       39       0




9.3.3.1.1 Assignment process of ctxIdxInc using neighbouring syntax elements
Subclause 9.3.3.1.1.1 specifies the derivation process of ctxIdxInc for the syntax element mb_skip_flag.
Subclause 9.3.3.1.1.2 specifies the derivation process of ctxIdxInc for the syntax element mb_field_decoding_flag.
Subclause 9.3.3.1.1.3 specifies the derivation process of ctxIdxInc for the syntax element mb_type.
Subclause 9.3.3.1.1.4 specifies the derivation process of ctxIdxInc for the syntax element coded_block_pattern.
Subclause 9.3.3.1.1.5 specifies the derivation process of ctxIdxInc for the syntax element mb_qp_delta.
Subclause 9.3.3.1.1.6 specifies the derivation process of ctxIdxInc for the syntax elements ref_idx_l0 and ref_idx_l1.
Subclause 9.3.3.1.1.7 specifies the derivation process of ctxIdxInc for the syntax elements mvd_l0 and mvd_l1.
Subclause 9.3.3.1.1.8 specifies the derivation process of ctxIdxInc for the syntax element intra_chroma_pred_mode.
Subclause 9.3.3.1.1.9 specifies the derivation process of ctxIdxInc for the syntax element coded_block_flag.
Subclause 9.3.3.1.1.10 specifies the derivation process of ctxIdxInc for the syntax element transform_size_8x8_flag.

9.3.3.1.1.1    Derivation process of ctxIdxInc for the syntax element mb_skip_flag
Output of this process is ctxIdxInc.
When MbaffFrameFlag is equal to 1 and mb_field_decoding_flag has not been decoded (yet) for the current
macroblock pair with top macroblock address 2 * ( CurrMbAddr / 2 ), the inference rule for the syntax element
mb_field_decoding_flag as specified in subclause 7.4.4 is applied.
The derivation process for neighbouring macroblocks specified in subclause 6.4.8.1 is invoked and the output is
assigned to mbAddrA and mbAddrB.
Let the variable condTermFlagN (with N being either A or B) be derived as follows.
– If mbAddrN is not available or mb_skip_flag for the macroblock mbAddrN is equal to 1, condTermFlagN is set
  equal to 0.
– Otherwise (mbAddrN is available and mb_skip_flag for the macroblock mbAddrN is equal to 0), condTermFlagN is
  set equal to 1.
The variable ctxIdxInc is derived by

         ctxIdxInc = condTermFlagA + condTermFlagB                                                                   (9-1)


9.3.3.1.1.2    Derivation process of ctxIdxInc for the syntax element mb_field_decoding_flag
Output of this process is ctxIdxInc.
The derivation process for neighbouring macroblock addresses and their availability in MBAFF frames as specified in
subclause 6.4.7 is invoked and the output is assigned to mbAddrA and mbAddrB.

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When both macroblocks mbAddrN and mbAddrN + 1 have mb_type equal to P_Skip or B_Skip, the inference rule for
the syntax element mb_field_decoding_flag as specified in subclause 7.4.4 is applied for the macroblock mbAddrN.
Let the variable condTermFlagN (with N being either A or B) be derived as follows.
–    If any of the following conditions is true, condTermFlagN is set equal to 0,
    – mbAddrN is not available
    – the macroblock mbAddrN is a frame macroblock.
–    Otherwise, condTermFlagN is set equal to 1.
The variable ctxIdxInc is derived by

         ctxIdxInc = condTermFlagA + condTermFlagB                                                               (9-2)


9.3.3.1.1.3     Derivation process of ctxIdxInc for the syntax element mb_type
Input to this process is ctxIdxOffset.
Output of this process is ctxIdxInc.
The derivation process for neighbouring macroblocks specified in subclause 6.4.8.1 is invoked and the output is
assigned to mbAddrA and mbAddrB.
Let the variable condTermFlagN (with N being either A or B) be derived as follows.
–    If any of the following conditions is true, condTermFlagN is set equal to 0
    – mbAddrN is not available
    – ctxIdxOffset is equal to 0 and mb_type for the macroblock mbAddrN is equal to SI
    – ctxIdxOffset is equal to 3 and mb_type for the macroblock mbAddrN is equal to I_NxN
    – ctxIdxOffset is equal to 27 and mb_type for the macroblock mbAddrN is equal to P_Skip, B_Skip, or
      B_Direct_16x16
–    Otherwise, condTermFlagN is set equal to 1.
The variable ctxIdxInc is derived as

         ctxIdxInc = condTermFlagA + condTermFlagB                                                               (9-3)


9.3.3.1.1.4     Derivation process of ctxIdxInc for the syntax element coded_block_pattern
Inputs to this process are ctxIdxOffset and binIdx.
Output of this process is ctxIdxInc.
Depending on the value of the variable ctxIdxOffset, the following applies.
–    If ctxIdxOffset is equal to 73, the following applies
    – The derivation process for neighbouring 8x8 luma blocks specified in subclause 6.4.8.2 is invoked with
      luma8x8BlkIdx = binIdx as input and the output is assigned to mbAddrA, mbAddrB, luma8x8BlkIdxA, and
      luma8x8BlkIdxB.
    – Let the variable condTermFlagN (with N being either A or B) be derived as follows.
       – If any of the following conditions are true, condTermFlagN is set equal to 0
              – mbAddrN is not available
              – mb_type for the macroblock mbAddrN is equal to I_PCM
              – the macroblock mbAddrN is not the current macroblock CurrMbAddr and the macroblock mbAddrN does
                not       have       mb_type         equal       to      P_Skip       or       B_Skip,      and
                ( ( CodedBlockPatternLuma >> luma8x8BlkIdxN ) & 1 ) is not equal to 0 for the value of
                CodedBlockPatternLuma for the macroblock mbAddrN



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              – the macroblock mbAddrN is the current macroblock CurrMbAddr and the prior decoded bin value bk of
                coded_block_pattern with k = luma8x8BlkIdxN is not equal to 0.
      – Otherwise, condTermFlagN is set equal to 1.
      – The variable ctxIdxInc is derived as

               ctxIdxInc = condTermFlagA + 2 * condTermFlagB                                                     (9-4)


– Otherwise (ctxIdxOffset is equal to 77), the following applies.
   – The derivation process for neighbouring macroblocks specified in subclause 6.4.8.1 is invoked and the output is
     assigned to mbAddrA and mbAddrB.
   – Let the variable condTermFlagN (with N being either A or B) be derived as follows.
        – If mbAddrN is available and mb_type for the macroblock mbAddrN is equal to I_PCM, condTermFlagN is
          set equal to 1
        – Otherwise, if any of the following conditions is true, condTermFlagN is set equal to 0
              – mbAddrN is not available or the macroblock mbAddrN has mb_type equal to P_Skip or B_Skip
              – binIdx is equal to 0 and CodedBlockPatternChroma for the macroblock mbAddrN is equal to 0
              – binIdx is equal to 1 and CodedBlockPatternChroma for the macroblock mbAddrN is not equal to 2
        – Otherwise, condTermFlagN is set equal to 1.
   – The variable ctxIdxInc is derived as

               ctxIdxInc = condTermFlagA + 2 * condTermFlagB + ( ( binIdx = = 1 ) ? 4 : 0 )                      (9-5)

   NOTE – When a macroblock uses an Intra_16x16 prediction mode, the values of CodedBlockPatternLuma and
   CodedBlockPatternChroma for the macroblock are derived from mb_type as specified in Table 7-11.

9.3.3.1.1.5     Derivation process of ctxIdxInc for the syntax element mb_qp_delta
Output of this process is ctxIdxInc.
Let prevMbAddr be the macroblock address of the macroblock that precedes the current macroblock in decoding order.
When the current macroblock is the first macroblock of a slice, prevMbAddr is marked as not available.
Let the variable ctxIdxInc be derived as follows.
– If any of the following conditions is true, ctxIdxInc is set equal to 0
   – prevMbAddr is not available or the macroblock prevMbAddr has mb_type equal to P_Skip or B_Skip
   – mb_type of the macroblock prevMbAddr is equal to I_PCM
   – The macroblock prevMbAddr is not coded in Intra_16x16 prediction mode and both CodedBlockPatternLuma
     and CodedBlockPatternChroma for the macroblock prevMbAddr are equal to 0
   – mb_qp_delta for the macroblock prevMbAddr is equal to 0
– Otherwise, ctxIdxInc is set equal to 1.

9.3.3.1.1.6     Derivation process of ctxIdxInc for the syntax elements ref_idx_l0 and ref_idx_l1
Input to this process is mbPartIdx.
Output of this process is ctxIdxInc.
The interpretation of ref_idx_lX and Pred_LX within this subclause is specified as follows.
 – If this process is invoked for the derivation of ref_idx_l0, ref_idx_lX is interpreted as ref_idx_l0 and Pred_LX is
   interpreted as Pred_L0.
 – Otherwise (this process is invoked for the derivation of ref_idx_l1), ref_idx_lX is interpreted as ref_idx_l1 and
   Pred_LX is interpreted as Pred_L1.
Let currSubMbType be set equal to sub_mb_type[ mbPartIdx ].


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The derivation process for neighbouring partitions specified in subclause 6.4.8.5 is invoked with mbPartIdx,
currSubMbType, and subMbPartIdx = 0 as input and the output is assigned to mbAddrA\mbPartIdxA and
mbAddrB\mbPartIdxB.
With ref_idx_lX[ mbPartIdxN ] (with N being either A or B) specifying the syntax element for the macroblock
mbAddrN, let the variable refIdxZeroFlagN be derived as follows.
– If MbaffFrameFlag is equal to 1, the current macroblock is a frame macroblock, and the macroblock mbAddrN is a
  field macroblock

          refIdxZeroFlagN = ( ( ref_idx_lX[ mbPartIdxN ] > 1 ) ? 0 : 1 )                                         (9-6)


– Otherwise,

          refIdxZeroFlagN = ( ( ref_idx_lX[ mbPartIdxN ] > 0 ) ? 0 : 1 )                                         (9-7)


Let the variable predModeEqualFlagN be specified as follows.
– If the macroblock mbAddrN has mb_type equal to P_8x8 or B_8x8, the following applies.
    –     If SubMbPredMode( sub_mb_type[ mbPartIdxN ] ) is not equal to Pred_LX and not equal to BiPred,
          predModeEqualFlagN is set equal to 0, where sub_mb_type specifies the syntax element for the macroblock
          mbAddrN.
    –     Otherwise, predModeEqualFlagN is set equal to 1.
– Otherwise, the following applies.
    –     If MbPartPredMode( mb_type, mbPartIdxN ) is not equal to Pred_LX and not equal to BiPred,
          predModeEqualFlagN is set equal to 0, where mb_type specifies the syntax element for the macroblock
          mbAddrN.
    –     Otherwise, predModeEqualFlagN is set equal to 1.
Let the variable condTermFlagN (with N being either A or B) be derived as follows.
– If any of the following conditions is true, condTermFlagN is set equal to 0
    –     mbAddrN is not available
    –     the macroblock mbAddrN has mb_type equal to P_Skip or B_Skip
    –     The macroblock mbAddrN is coded in Intra prediction mode
    –     predModeEqualFlagN is equal to 0
    –     refIdxZeroFlagN is equal to 1
– Otherwise, condTermFlagN is set equal to 1.
The variable ctxIdxInc is derived as

         ctxIdxInc = condTermFlagA + 2 * condTermFlagB                                                           (9-8)


9.3.3.1.1.7   Derivation process of ctxIdxInc for the syntax elements mvd_l0 and mvd_l1
Inputs to this process are mbPartIdx, subMbPartIdx, and ctxIdxOffset.
Output of this process is ctxIdxInc.
The interpretation of mvd_lX and Pred_LX within this subclause is specified as follows.
–    If this process is invoked for the derivation of mvd_l0, mvd_lX is interpreted as mvd_l0 and Pred_LX is
     interpreted as Pred_L0.
–    Otherwise (this process is invoked for the derivation of mvd_l1), mvd_lX is interpreted as mvd_l1 and Pred_LX is
     interpreted as Pred_L1.
Let currSubMbType be set equal to sub_mb_type[ mbPartIdx ].



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The derivation process for neighbouring partitions specified in subclause 6.4.8.5 is invoked with mbPartIdx,
currSubMbType, and subMbPartIdx as input and the output is assigned to mbAddrA\mbPartIdxA\subMbPartIdxA and
mbAddrB\mbPartIdxB\subMbPartIdxB.
Let the variable compIdx be derived as follows.
– If ctxIdxOffset is equal to 40, compIdx is set equal to 0.
– Otherwise (ctxIdxOffset is equal to 47), compIdx is set equal to 1.
Let the variable predModeEqualFlagN be specified as follows.
– If the macroblock mbAddrN has mb_type equal to P_8x8 or B_8x8, the following applies.
      –   If SubMbPredMode( sub_mb_type[ mbPartIdxN ] ) is not equal to Pred_LX and not equal to BiPred,
          predModeEqualFlagN is set equal to 0, where sub_mb_type specifies the syntax element for the macroblock
          mbAddrN.
      –   Otherwise, predModeEqualFlagN is set equal to 1.
– Otherwise, the following applies.
      –   If MbPartPredMode( mb_type, mbPartIdxN ) is not equal to Pred_LX and not equal to BiPred,
          predModeEqualFlagN is set equal to 0, where mb_type specifies the syntax element for the macroblock
          mbAddrN.
      –   Otherwise, predModeEqualFlagN is set equal to 1.
Let the variable absMvdCompN (with N being either A or B) be derived as follows.
– If any of the following conditions is true, absMvdCompN is set equal to 0
   – mbAddrN is not available
   – the macroblock mbAddrN has mb_type equal to P_Skip or B_Skip
   – The macroblock mbAddrN is coded in an Intra prediction mode
   – predModeEqualFlagN is equal to 0
– Otherwise, the following applies
   – If compIdx is equal to 1, MbaffFrameFlag is equal to 1, the current macroblock is a frame macroblock, and the
     macroblock mbAddrN is a field macroblock

          absMvdCompN = Abs( mvd_lX[ mbPartIdxN ][ subMbPartIdxN ][ compIdx ] ) * 2                             (9-9)


   – Otherwise, if compIdx is equal to 1, MbaffFrameFlag is equal to 1, the current macroblock is a field macroblock,
     and the macroblock mbAddrN is a frame macroblock

          absMvdCompN = Abs( mvd_lX[ mbPartIdxN ][ subMbPartIdxN ][ compIdx ] ) / 2                            (9-10)


   – Otherwise,

          absMvdCompN = Abs( mvd_lX[ mbPartIdxN ][ subMbPartIdxN ][ compIdx ] )                                (9-11)


The variable ctxIdxInc is derived as follows
– If ( absMvdCompA + absMvdCompB ) is less than 3, ctxIdxInc is set equal to 0.
– Otherwise, if ( absMvdCompA + absMvdCompB ) is greater than 32, ctxIdxInc is set equal to 2.
– Otherwise ( ( absMvdCompA + absMvdCompB ) is in the range of 3 to 32, inclusive), ctxIdxInc is set equal to 1.

9.3.3.1.1.8    Derivation process of ctxIdxInc for the syntax element intra_chroma_pred_mode
Output of this process is ctxIdxInc.
The derivation process for neighbouring macroblocks specified in subclause 6.4.8.1 is invoked and the output is
assigned to mbAddrA and mbAddrB.



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Let the variable condTermFlagN (with N being replaced by either A or B) be derived as follows.
– If any of the following conditions is true, condTermFlagN is set equal to 0
    – mbAddrN is not available
    – The macroblock mbAddrN is coded in Inter prediction mode
    – mb_type for the macroblock mbAddrN is equal to I_PCM
    – intra_chroma_pred_mode for the macroblock mbAddrN is equal to 0
– Otherwise, condTermFlagN is set equal to 1.
The variable ctxIdxInc is derived by

                ctxIdxInc = condTermFlagA + condTermFlagB                                                            (9-12)


9.3.3.1.1.9          Derivation process of ctxIdxInc for the syntax element coded_block_flag
Input to this process is ctxBlockCat and additional input is specified as follows.
-   If ctxBlockCat is equal to 0, no additional input
-   Otherwise, if ctxBlockCat is equal to 1 or 2, luma4x4BlkIdx
-   Otherwise, if ctxBlockCat is equal to 3, the chroma component index iCbCr
-   Otherwise (ctxBlockCat is equal to 4), chroma4x4BlkIdx and the chroma component index iCbCr
Output of this process is ctxIdxInc( ctxBlockCat ).
Let the variable transBlockN (with N being either A or B) be derived as follows.
-   If ctxBlockCat is equal to 0, the following applies.
    -       The derivation process for neighbouring macroblocks specified in subclause 6.4.8.1 is invoked and the output is
            assigned to mbAddrN (with N being either A or B).
    -       The variable transBlockN is derived as follows.
            -    If mbAddrN is available and the macroblock mbAddrN is coded in Intra_16x16 prediction mode, the luma
                 DC block of macroblock mbAddrN is assigned to transBlockN
            -    Otherwise, transBlockN is marked as not available.
-       Otherwise, if ctxBlockCat is equal to 1 or 2, the following applies.
        -        The derivation process for neighbouring 4x4 luma blocks specified in subclause 6.4.8.3 is invoked with
                 luma4x4BlkIdx as input and the output is assigned to mbAddrN, luma4x4BlkIdxN (with N being either A or
                 B).
        -        The variable transBlockN is derived as follows.
                 -     If mbAddrN is available, the macroblock mbAddrN does not have mb_type equal to P_Skip, B_Skip, or
                       I_PCM, ( ( CodedBlockPatternLuma >> ( luma4x4BlkIdxN >>2 ) ) & 1 ) is not equal to 0 for the
                       macroblock mbAddrN, and transform_size_8x8_flag is equal to 0 for the macroblock mbAddrN, the
                       4x4 luma block with index luma4x4BlkIdxN of macroblock mbAddrN is assigned to transBlockN.
                 -     Otherwise, if mbAddrN is available, the macroblock mbAddrN does not have mb_type equal to P_Skip
                       or B_Skip, ( ( CodedBlockPatternLuma >> ( luma4x4BlkIdxN >>2 ) ) & 1 ) is not equal to 0 for the
                       macroblock mbAddrN, and transform_size_8x8_flag is equal to 1 for the macroblock mbAddrN, the
                       8x8 luma block with index ( luma4x4BlkIdxN >> 2 ) of macroblock mbAddrN is assigned to
                       transBlockN.
                 -     Otherwise, transBlockN is marked as not available.
-   Otherwise, if ctxBlockCat is equal to 3, the following applies.
    -       The derivation process for neighbouring macroblocks specified in subclause 6.4.8.1 is invoked and the output is
            assigned to mbAddrN (with N being either A or B).
    -       The variable transBlockN is derived as follows.


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            -    If mbAddrN is available, the macroblock mbAddrN does not have mb_type equal to P_Skip, B_Skip, or
                 I_PCM, and CodedBlockPatternChroma is not equal to 0 for the macroblock mbAddrN, the chroma DC
                 block of chroma component iCbCr of macroblock mbAddrN is assigned to transBlockN.
            -    Otherwise, transBlockN is marked as not available.
-   Otherwise (ctxBlockCat is equal to 4), the following applies.
    -       The derivation process for neighbouring 4x4 chroma blocks specified in subclause 6.4.8.4 is invoked with
            chroma4x4BlkIdx as input and the output is assigned to mbAddrN, chroma4x4BlkIdxN (with N being either A
            or B).
    -       The variable transBlockN is derived as follows.
            -    If mbAddrN is available, the macroblock mbAddrN does not have mb_type equal to P_Skip, B_Skip, or
                 I_PCM, and CodedBlockPatternChroma is equal to 2 for the macroblock mbAddrN, the 4x4 chroma block
                 with chroma4x4BlkIdxN of the chroma component iCbCr of macroblock mbAddrN is assigned to
                 transBlockN.
            -    Otherwise, transBlockN is marked as not available.
Let the variable condTermFlagN (with N being either A or B) be derived as follows.
-   If any of the following conditions is true, condTermFlagN is set equal to 0
    -       mbAddrN is not available and the current macroblock is coded in Inter prediction mode
    -       mbAddrN is available and transBlockN is not available and mb_type for the macroblock mbAddrN is not equal
            to I_PCM
    -       The current macroblock is coded in Intra prediction mode, constrained_intra_pred_flag is equal to 1, the
            macroblock mbAddrN is available and coded in Inter prediction mode, and slice data partitioning is in use
            (nal_unit_type is in the range of 2 through 4, inclusive).
-   Otherwise, if any of the following conditions is true, condTermFlagN is set equal to 1
    -       mbAddrN is not available and the current macroblock is coded in Intra prediction mode
    -       mb_type for the macroblock mbAddrN is equal to I_PCM
-   Otherwise, condTermFlagN is set equal to the value of the coded_block_flag of the transform block transBlockN
    that was decoded for the macroblock mbAddrN.
The variable ctxIdxInc( ctxBlockCat ) is derived by

                ctxIdxInc( ctxBlockCat ) = condTermFlagA + 2 * condTermFlagB                                   (9-13)


9.3.3.1.1.10 Derivation process of ctxIdxInc for the syntax element transform_size_8x8_flag
Output of this process is ctxIdxInc.
The derivation process for neighbouring macroblocks specified in subclause 6.4.8.1 is invoked and the output is
assigned to mbAddrA and mbAddrB.
Let the variable condTermFlagN (with N being either A or B) be derived as follows.
–       If any of the following conditions is true, condTermFlagN is set equal to 0.
        –        mbAddrN is not available
        –        transform_size_8x8_flag for the macroblock mbAddrN is equal to 0
–       Otherwise, condTermFlagN is set equal to 1.
The variable ctxIdxInc is derived by

            ctxIdxInc = condTermFlagA + condTermFlagB                                                          (9-14)


9.3.3.1.2 Assignment process of ctxIdxInc using prior decoded bin values
Inputs to this process are ctxIdxOffset and binIdx.


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 Output of this process is ctxIdxInc.
 Table 9-32 contains the specification of ctxIdxInc for the given values of ctxIdxOffset and binIdx.
 For each value of ctxIdxOffset and binIdx, ctxIdxInc is derived by using some of the values of prior decoded bin values
 ( b0, b1, b2,…, bk ), where the value of the index k is less than the value of binIdx.

                    Table 9-32 – Specification of ctxIdxInc for specific values of ctxIdxOffset and binIdx
                                               Value (name) of ctxIdxOffset       binIdx        ctxIdxInc

                                                                                     4       (b3 != 0) ? 5: 6
                                               3
                                                                                     5       (b3 != 0) ? 6: 7

                                               14                                    2       (b1 != 1) ? 2: 3

                                               17                                    4       (b3 != 0) ? 2: 3

                                               27                                    2       (b1 != 0) ? 4: 5

                                               32                                    4       (b3 != 0) ? 2: 3

                                               36                                    2       (b1 != 0) ? 2: 3




 9.3.3.1.3 Assignment process of ctxIdxInc for syntax elements significant_coeff_flag, last_significant_coeff_flag,
           and coeff_abs_level_minus1
 Inputs to this process are ctxIdxOffset and binIdx.
 Output of this process is ctxIdxInc.
 The assignment process of ctxIdxInc for syntax elements significant_coeff_flag, last_significant_coeff_flag, and
 coeff_abs_level_minus1 as well as for coded_block_flag depends on categories of different blocks denoted by the
 variable ctxBlockCat. The specification of these block categories is given in Table 9-33.

                                  Table 9-33 – Specification of ctxBlockCat for the different blocks
                                                   Block description                                                  maxNumCoeff    ctxBlockCat

block of luma DC transform coefficient levels (i.e., list Intra16x16DCLevel as described in subclause 7.4.5.3)            16             0

block of luma AC transform coefficient levels (i.e., list Intra16x16ACLevel[ i ] as described in subclause 7.4.5.3)       15             1

block of 16 luma transform coefficient levels (i.e., list LumaLevel[ i ] as described in subclause 7.4.5.3)               16             2

block of chroma DC transform coefficient levels                                                                       4 * NumC8x8         3

block of chroma AC transform coefficient levels                                                                           15              4

block of 64 luma transform coefficient levels (i.e., list LumaLevel8x8[ i ] as described in subclause 7.4.5.3)            64             5




 Let the variable levelListIdx be set equal to the index of the list of transform coefficient levels as specified in subclause
 7.4.5.3.
 For the syntax elements significant_coeff_flag and last_significant_coeff_flag in blocks with ctxBlockCat < 5 and
 ctxBlockCat != 3, the variable ctxIdxInc is derived by

          ctxIdxInc = levelListIdx                                                                                                       (9-15)


 where levelListIdx ranges from 0 to maxNumCoeff − 2, inclusive.
 For the syntax elements significant_coeff_flag and last_significant_coeff_flag in blocks with ctxBlockCat = = 3, the
 variable ctxIdxInc is derived by

          ctxIdxInc = Min( levelListIdx / NumC8x8, 2 )                                                                                   (9-16)




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where levelListIdx ranges from 0 to 4 * NumC8x8 − 2, inclusive.
For the syntax elements significant_coeff_flag and last_significant_coeff_flag in 8x8 luma blocks with
ctxBlockCat = = 5, Table 9-34 contains the specification of ctxIdxInc for the given values of levelListIdx, where
levelListIdx ranges from 0 to 62, inclusive.

                 Table 9-34 – Mapping of scanning position to ctxIdxInc for ctxBlockCat = = 5




                                       (frame coded macroblocks)




                                                                                                                                                 (frame coded macroblocks)
                                                                                                   last_significant_coeff_flag




                                                                                                                                                                                                             last_significant_coeff_flag
                                                                       (field coded macroblocks)




                                                                                                                                                                                 (field coded macroblocks)
                                          significant_coeff_flag




                                                                          significant_coeff_flag




                                                                                                                                                    significant_coeff_flag




                                                                                                                                                                                    significant_coeff_flag
                                              ctxIdxInc for




                                                                              ctxIdxInc for



                                                                                                          ctxIdxInc for




                                                                                                                                                        ctxIdxInc for




                                                                                                                                                                                        ctxIdxInc for



                                                                                                                                                                                                                    ctxIdxInc for
                        levelListIdx




                                                                                                                                  levelListIdx
                    0                  0                           0                               0                             32              7                           9                               3

                    1                  1                           1                               1                             33              6                           9                               3

                    2                  2                           1                               1                             34              11                          10                              3

                    3                  3                           2                               1                             35              12                          10                              3

                    4                  4                           2                               1                             36              13                          8                               3

                    5                  5                           3                               1                             37              11                          11                              3

                    6                  5                           3                               1                             38              6                           12                              3

                    7                  4                           4                               1                             39              7                           11                              3

                    8                  4                           5                               1                             40              8                           9                               4

                    9                  3                           6                               1                             41              9                           9                               4

                    10                 3                           7                               1                             42              14                          10                              4

                    11                 4                           7                               1                             43              10                          10                              4

                    12                 4                           7                               1                             44              9                           8                               4

                    13                 4                           8                               1                             45              8                           13                              4

                    14                 5                           4                               1                             46              6                           13                              4

                    15                 5                           5                               1                             47              11                          9                               4

                    16                 4                           6                               2                             48              12                          9                               5

                    17                 4                           9                               2                             49              13                          10                              5

                    18                 4                           10                              2                             50              11                          10                              5

                    19                 4                           10                              2                             51              6                           8                               5

                    20                 3                           8                               2                             52              9                           13                              6

                    21                 3                           11                              2                             53              14                          13                              6

                    22                 6                           12                              2                             54              10                          9                               6

                    23                 7                           11                              2                             55              9                           9                               6

                    24                 7                           9                               2                             56              11                          10                              7




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                                        (frame coded macroblocks)




                                                                                                                                                  (frame coded macroblocks)
                                                                                                    last_significant_coeff_flag




                                                                                                                                                                                                            last_significant_coeff_flag
                                                                        (field coded macroblocks)




                                                                                                                                                                                (field coded macroblocks)
                                           significant_coeff_flag




                                                                           significant_coeff_flag




                                                                                                                                                     significant_coeff_flag




                                                                                                                                                                                   significant_coeff_flag
                                               ctxIdxInc for




                                                                               ctxIdxInc for



                                                                                                           ctxIdxInc for




                                                                                                                                                         ctxIdxInc for




                                                                                                                                                                                       ctxIdxInc for



                                                                                                                                                                                                                   ctxIdxInc for
                         levelListIdx




                                                                                                                                   levelListIdx
                       25               7                           9                               2                             57              12                           10                           7

                       26               8                           10                              2                             58              13                           14                           7

                       27               9                           10                              2                             59              11                           14                           7

                       28               10                          8                               2                             60              14                           14                           8

                       29               9                           11                              2                             61              10                           14                           8

                       30               8                           12                              2                             62              12                           14                           8

                       31               7                           11                              2



Let numDecodAbsLevelEq1 denotes the accumulated number of decoded transform coefficient levels with absolute
value equal to 1, and let numDecodAbsLevelGt1 denotes the accumulated number of decoded transform coefficient
levels with absolute value greater than 1. Both numbers are related to the same transform coefficient block, where the
current decoding process takes place. Then, for decoding of coeff_abs_level_minus1, ctxIdxInc for
coeff_abs_level_minus1 is specified depending on binIdx as follows.
– If binIdx is equal to 0, ctxIdxInc is derived by

          ctxIdxInc = ( ( numDecodAbsLevelGt1 != 0 ) ? 0: Min( 4, 1 + numDecodAbsLevelEq1 ) )                                                                                                                                             (9-17)


– Otherwise (binIdx is greater than 0), ctxIdxInc is derived by

          ctxIdxInc = 5 + Min( 4 – ( ctxBlockCat = = 3 ), numDecodAbsLevelGt1 )                                                                                                                                                           (9-18)


9.3.3.2     Arithmetic decoding process
Inputs to this process are the bypassFlag, ctxIdx as derived in subclause 9.3.3.1, and the state variables codIRange and
codIOffset of the arithmetic decoding engine.
Output of this process is the value of the bin.
Figure 9-2 illustrates the whole arithmetic decoding process for a single bin. For decoding the value of a bin, the context
index ctxIdx is passed to the arithmetic decoding process DecodeBin(ctxIdx), which is specified as follows.
–    If bypassFlag is equal to 1, DecodeBypass( ) as specified in subclause 9.3.3.2.3 is invoked.
–    Otherwise, if bypassFlag is equal to 0 and ctxIdx is equal to 276, DecodeTerminate( ) as specified in subclause
     9.3.3.2.4 is invoked.
–    Otherwise (bypassFlag is equal to 0 and ctxIdx is not equal to 276), DecodeDecision( ) as specified in subclause
     9.3.3.2.1 is applied.




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                Figure 9-2 – Overview of the arithmetic decoding process for a single bin (informative)



     NOTE – Arithmetic coding is based on the principle of recursive interval subdivision. Given a probability estimation p( 0 ) and
     p( 1 ) = 1 − p( 0 ) of a binary decision ( 0, 1 ), an initially given code sub-interval with the range codIRange will be subdivided
     into two sub-intervals having range p( 0 ) * codIRange and codIRange − p( 0 ) * codIRange, respectively. Depending on the
     decision, which has been observed, the corresponding sub-interval will be chosen as the new code interval, and a binary code
     string pointing into that interval will represent the sequence of observed binary decisions. It is useful to distinguish between the
     most probable symbol (MPS) and the least probable symbol (LPS), so that binary decisions have to be identified as either MPS or
     LPS, rather than 0 or 1. Given this terminology, each context is specified by the probability pLPS of the LPS and the value of MPS
     (valMPS), which is either 0 or 1.
     The arithmetic core engine in this Recommendation | International Standard has three distinct properties:
     –      The probability estimation is performed by means of a finite-state machine with a table-based transition process between
            64 different representative probability states { pLPS(pStateIdx) | 0 <= pStateIdx < 64 } for the LPS probability pLPS. The
            numbering of the states is arranged in such a way that the probability state with index pStateIdx = 0 corresponds to an LPS
            probability value of 0.5, with decreasing LPS probability towards higher state indices.
     –      The range codIRange representing the state of the coding engine is quantised to a small set {Q1,…,Q4} of pre-set
            quantisation values prior to the calculation of the new interval range. Storing a table containing all 64x4 pre-computed
            product values of Qi * pLPS(pStateIdx) allows a multiplication-free approximation of the product
            codIRange * pLPS(pStateIdx).
     –      For syntax elements or parts thereof for which an approximately uniform probability distribution is assumed to be given a
            separate simplified encoding and decoding bypass process is used.

9.3.3.2.1 Arithmetic decoding process for a binary decision
Inputs to this process are ctxIdx, codIRange, and codIOffset.
Outputs of this process are the decoded value binVal, and the updated variables codIRange and codIOffset.
Figure 9-3 shows the flowchart for decoding a single decision (DecodeDecision).
1.    The value of the variable codIRangeLPS is derived as follows.
– Given the current value of codIRange, the variable qCodIRangeIdx is derived by

        qCodIRangeIdx =( codIRange >> 6 ) & 0x03                                                                                  (9-19)


– Given qCodIRangeIdx and pStateIdx associated with ctxIdx, the value of the variable rangeTabLPS as specified in
  Table 9-35 is assigned to codIRangeLPS:

        codIRangeLPS = rangeTabLPS[ pStateIdx ][ qCodIRangeIdx ]                                                                  (9-20)




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2.   The variable codIRange is set equal to codIRange − codIRangeLPS and the following applies.
– If codIOffset is greater than or equal to codIRange, the variable binVal is set equal to 1 - valMPS, codIOffset is
  decremented by codIRange, and codIRange is set equal to codIRangeLPS.
– Otherwise, the variable binVal is set equal to valMPS.
Given the value of binVal, the state transition is performed as specified in subclause 9.3.3.2.1.1. Depending on the
current value of codIRange, renormalization is performed as specified in subclause 9.3.3.2.2.

9.3.3.2.1.1   State transition process
Inputs to this process are the current pStateIdx, the decoded value binVal and valMPS values of the context variable
associated with ctxIdx.
Outputs of this process are the updated pStateIdx and valMPS of the context variable associated with ctxIdx.
Depending on the decoded value binVal, the update of the two variables pStateIdx and valMPS associated with ctxIdx
is derived as follows:

       if( binVal = = valMPS )
           pStateIdx = transIdxMPS( pStateIdx )
       else {                                                                                                                (9-21)
           if( pStateIdx = = 0 )
               valMPS = 1 − valMPS
           pStateIdx = transIdxLPS( pStateIdx )
       }


Table 9-36 specifies the transition rules transIdxMPS( ) and transIdxLPS( ) after decoding the value of valMPS and
1 − valMPS, respectively.



                                                         DecodeDecision (ctxIdx)




                                                 qCodIRangeIdx = (codIRange>>6) & 3
                                        codIRangeLPS = rangeTabLPS[pStateIdx][qCodIRangeIdx]
                                                codIRange = codIRange - codIRangeLPS




                                           Yes           codIOffset >= codIRange               No




                                    binVal = !valMPS
                                                                                           binVal = valMPS
                           codIOffset = codIOffset - codIRange
                                                                                  pStateIdx = transIdxMPS[pStateIdx]
                              codIRange = codIRangeLPS




                                     pStateIdx == 0?               Yes


                                                                 valMPS = 1 - valMPS
                                           No



                            pStateIdx = transIdxLPS[pStateIdx]




                                                                   RenormD



                                                                     Done




                                     Figure 9-3 – Flowchart for decoding a decision




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              Table 9-35 – Specification of rangeTabLPS depending on pStateIdx and qCodIRangeIdx

                             qCodIRangeIdx                                       qCodIRangeIdx
  pStateIdx                                               pStateIdx
                  0          1           2        3                    0          1         2      3

      0          128        176         208      240         32        27        33         39     45

      1          128        167         197      227         33        26        31         37     43

      2          128        158         187      216         34        24        30         35     41

      3          123        150         178      205         35        23        28         33     39

      4          116        142         169      195         36        22        27         32     37

      5          111        135         160      185         37        21        26         30     35

      6          105        128         152      175         38        20        24         29     33

      7          100        122         144      166         39        19        23         27     31

      8           95        116         137      158         40        18        22         26     30

      9           90        110         130      150         41        17        21         25     28

      10          85        104         123      142         42        16        20         23     27

      11          81        99          117      135         43        15        19         22     25

      12          77        94          111      128         44        14        18         21     24

      13          73        89          105      122         45        14        17         20     23

      14          69        85          100      116         46        13        16         19     22

      15          66        80          95       110         47        12        15         18     21

      16          62        76          90       104         48        12        14         17     20

      17          59        72          86        99         49        11        14         16     19

      18          56        69          81        94         50        11        13         15     18

      19          53        65          77        89         51        10        12         15     17

      20          51        62          73        85         52        10        12         14     16

      21          48        59          69        80         53        9         11         13     15

      22          46        56          66        76         54        9         11         12     14

      23          43        53          63        72         55        8         10         12     14

      24          41        50          59        69         56        8          9         11     13

      25          39        48          56        65         57        7          9         11     12

      26          37        45          54        62         58        7          9         10     12

      27          35        43          51        59         59        7          8         10     11

      28          33        41          48        56         60        6          8         9      11

      29          32        39          46        53         61        6          7         9      10

      30          30        37          43        50         62        6          7         8      9

      31          29        35          41        48         63        2          2         2      2




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                                             Table 9-36 – State transition table

pStateIdx      0      1      2      3       4      5     6      7     8      9      10    11    12    13     14    15

transIdxLPS    0      0     1       2       2      4     4      5     6      7      8     9     9     11     11    12

transIdxMPS    1      2     3       4       5      6     7      8     9      10     11    12    13    14     15    16

pStateIdx      16     17     18     19      20     21    22     23    24     25     26    27    28    29     30    31

transIdxLPS    13     13    15      15      16     16    18     18    19     19     21    21    22    22     23    24

transIdxMPS    17     18    19      20      21     22    23     24    25     26     27    28    29    30     31    32

pStateIdx      32     33     34     35      36     37    38     39    40     41     42    43    44    45     46    47

transIdxLPS    24     25    26      26      27     27    28     29    29     30     30    30    31    32     32    33

transIdxMPS    33     34    35      36      37     38    39     40    41     42     43    44    45    46     47    48

pStateIdx      48     49     50     51      52     53    54     55    56     57     58    59    60    61     62    63

transIdxLPS    33     33    34      34      35     35    35     36    36     36     37    37    37    38     38    63

transIdxMPS    49     50    51      52      53     54    55     56    57     58     59    60    61    62     62    63




9.3.3.2.2 Renormalization process in the arithmetic decoding engine
Inputs to this process are bits from slice data and the variables codIRange and codIOffset.
Outputs of this process are the updated variables codIRange and codIOffset.
A flowchart of the renormalization is shown in Figure 9-4. The current value of codIRange is first compared to 0x0100
and further steps are specified as follows.
– If codIRange is greater than or equal to 0x0100, no renormalization is needed and the RenormD process is finished;
– Otherwise (codIRange is less than 0x0100), the renormalization loop is entered. Within this loop, the value of
  codIRange is doubled, i.e., left-shifted by 1 and a single bit is shifted into codIOffset by using read_bits( 1 ).
The bitstream shall not contain data that results in a value of codIOffset being greater than or equal to codIRange upon
completion of this process.




                                         Figure 9-4 – Flowchart of renormalization




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9.3.3.2.3 Bypass decoding process for binary decisions
Inputs to this process are bits from slice data and the variables codIRange and codIOffset.
Outputs of this process are the updated variable codIOffset and the decoded value binVal.
The bypass decoding process is invoked when bypassFlag is equal to 1. Figure 9-5 shows a flowchart of the
corresponding process.
First, the value of codIOffset is doubled, i.e., left-shifted by 1 and a single bit is shifted into codIOffset by using
read_bits( 1 ). Then, the value of codIOffset is compared to the value of codIRange and further steps are specified as
follows.
–     If codIOffset is greater than or equal to codIRange, the variable binVal is set equal to 1 and codIOffset is
      decremented by codIRange.
–     Otherwise (codIOffset is less than codIRange), the variable binVal is set equal to 0.
The bitstream shall not contain data that results in a value of codIOffset being greater than or equal to codIRange upon
completion of this process.




                                  Figure 9-5 – Flowchart of bypass decoding process




9.3.3.2.4 Decoding process for binary decisions before termination
Inputs to this process are bits from slice data and the variables codIRange and codIOffset.
Outputs of this process are the updated variables codIRange and codIOffset, and the decoded value binVal.
This special decoding routine applies to decoding of end_of_slice_flag and of the bin indicating the I_PCM mode
corresponding to ctxIdx equal to 276. Figure 9-6 shows the flowchart of the corresponding decoding process, which is
specified as follows.
First, the value of codIRange is decremented by 2. Then, the value of codIOffset is compared to the value of codIRange
and further steps are specified as follows.
–     If codIOffset is greater than or equal to codIRange, the variable binVal is set equal to 1, no renormalization is
      carried out, and CABAC decoding is terminated. The last bit inserted in register codIOffset is equal to 1. When
      decoding end_of_slice_flag, this last bit inserted in register codIOffset is interpreted as rbsp_stop_one_bit.
–     Otherwise (codIOffset is less than codIRange), the variable binVal is set equal to 0 and renormalization is
      performed as specified in subclause 9.3.3.2.2.
              NOTE – This procedure may also be implemented using DecodeDecision(ctxIdx) with ctxIdx = 276. In the case where
              the decoded value is equal to 1, seven more bits would be read by DecodeDecision(ctxIdx) and a decoding process
              would have to adjust its bitstream pointer accordingly to properly decode following syntax elements.




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                                                       DecodeTerminate



                                                    codIRange = codIRange-2




                                          Yes       codIOffset >= codIRange      No




                                       binVal = 1                             binVal = 0



                                                                              RenormD




                                                             Done



                          Figure 9-6 – Flowchart of decoding a decision before termination




9.3.4     Arithmetic encoding process (informative)
This subclause does not form an integral part of this Recommendation | International Standard.
Inputs to this process are decisions that are to be encoded and written.
Outputs of this process are bits that are written to the RBSP.
This informative subclause describes an arithmetic encoding engine that matches the arithmetic decoding engine
described in subclause 9.3.3.2. The encoding engine is essentially symmetric with the decoding engine, i.e., procedures
are called in the same order. The following procedures are described in this section: InitEncoder, EncodeDecision,
EncodeBypass, EncodeTerminate, which correspond to InitDecoder, DecodeDecision, DecodeBypass, and
DecodeTerminate, respectively. The state of the arithmetic encoding engine is represented by a value of the variable
codILow pointing to the lower end of a sub-interval and a value of the variable codIRange specifying the corresponding
range of that sub-interval.

9.3.4.1   Initialisation process for the arithmetic encoding engine (informative)
This subclause does not form an integral part of this Recommendation | International Standard.
This process is invoked before encoding the first macroblock of a slice, and after encoding any pcm_alignment_zero_bit
and all pcm_sample_luma and pcm_sample_chroma data for a macroblock of type I_PCM.
Outputs of this process are the values codILow, codIRange, firstBitFlag, bitsOutstanding, and symCnt of the arithmetic
encoding engine.
In the initialisation procedure of the encoder, codILow is set equal to 0, and codIRange is set equal to 0x01FE.
Furthermore, a firstBitFlag is set equal to 1, and bitsOutstanding and symCnt counters are set equal to 0.
   NOTE – The minimum register precision required for codILow is 10 bits and for CodIRange is 9 bits. The precision required for
   the counters bitsOutstanding and symCnt should be sufficiently large to prevent overflow of the related registers. When
   MaxBinCountInSlice denotes the maximum total number of binary decisions to encode in one slice, the minimum register
   precision required for the variables bitsOutstanding and symCnt is given by Ceil( Log2( MaxBinCountInSlice + 1 ) ).

9.3.4.2   Encoding process for a binary decision (informative)
This subclause does not form an integral part of this Recommendation | International Standard.
Inputs to this process are the context index ctxIdx, the value of binVal to be encoded, and the variables codIRange,
codILow and symCnt.
Outputs of this process are the variables codIRange, codILow, and symCnt.
Figure 9-7 shows the flowchart for encoding a single decision. In a first step, the variable codIRangeLPS is derived as
follows.
Given the current value of codIRange, codIRange is mapped to the index qCodIRangeIdx of a quantised value of
codIRange by using Equation 9-19. The value of qCodIRangeIdx and the value of pStateIdx associated with ctxIdx are



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used to determine the value of the variable rangeTabLPS as specified in Table 9-35, which is assigned to
codIRangeLPS. The value of codIRange – codIRangeLPS is assigned to codIRange.
In a second step, the value of binVal is compared to valMPS associated with ctxIdx. When binVal is different from
valMPS, codIRange is added to codILow and codIRange is set equal to the value codIRangeLPS. Given the encoded
decision, the state transition is performed as specified in subclause 9.3.3.2.1.1. Depending on the current value of
codIRange, renormalization is performed as specified in subclause 9.3.4.3. Finally, the variable symCnt is incremented
by 1.




                                   Figure 9-7 – Flowchart for encoding a decision




9.3.4.3   Renormalization process in the arithmetic encoding engine (informative)
This subclause does not form an integral part of this Recommendation | International Standard.
Inputs to this process are the variables codIRange, codILow, firstBitFlag, and bitsOutstanding.
Outputs of this process are zero or more bits written to the RBSP and the updated variables codIRange, codILow,
firstBitFlag, and bitsOutstanding.




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Renormalization is illustrated in Figure 9-8.




                              Figure 9-8 – Flowchart of renormalization in the encoder




The PutBit( ) procedure described in Figure 9-9 provides carry over control. It uses the function WriteBits( B, N ) that
writes N bits with value B to the bitstream and advances the bitstream pointer by N bit positions. This function assumes
the existence of a bitstream pointer with an indication of the position of the next bit to be written to the bitstream by the
encoding process.




                                          Figure 9-9 – Flowchart of PutBit(B)



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9.3.4.4   Bypass encoding process for binary decisions (informative)
This subclause does not form an integral part of this Recommendation | International Standard.
Inputs to this process are the variables binVal, codILow, codIRange, bitsOutstanding, and symCnt.
Output of this process is a bit written to the RBSP and the updated variables codILow, bitsOutstanding, and symCnt.
This encoding process applies to all binary decisions with bypassFlag equal to 1. Renormalization is included in the
specification of this process as given in Figure 9-10.




                                    Figure 9-10 – Flowchart of encoding bypass




9.3.4.5   Encoding process for a binary decision before termination (informative)
This subclause does not form an integral part of this Recommendation | International Standard.
Inputs to this process are the variables binVal, codIRange, codILow, bitsOutstanding, and symCnt.
Outputs of this process are zero or more bits written to the RBSP and the updated variables codILow, codIRange,
bitsOutstanding, and symCnt.
This encoding routine shown in Figure 9-11 applies to encoding of the end_of_slice_flag and of the bin indicating the
I_PCM mb_type both associated with ctxIdx equal to 276.




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                         Figure 9-11 – Flowchart of encoding a decision before termination




When the value of binVal to encode is equal to 1, CABAC encoding is terminated and the flushing procedure shown in
Figure 9-12 is applied. In this flushing procedure, the last bit written by WriteBits( B, N ) is equal to 1. When encoding
end_of_slice_flag, this last bit is interpreted as the rbsp_stop_one_bit.




                                  Figure 9-12 – Flowchart of flushing at termination




9.3.4.6   Byte stuffing process (informative)
This subclause does not form an integral part of this Recommendation | International Standard.
This process is invoked after encoding the last macroblock of the last slice of a picture and after encapsulation.
Inputs to this process are the number of bytes NumBytesInVclNALunits of all VCL NAL units of a picture, the number
of macroblocks PicSizeInMbs in the picture, and the number of binary symbols BinCountsInNALunits resulting from
encoding the contents of all VCL NAL units of the picture.


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Outputs of this process are zero or more bytes appended to the NAL unit.
Let the variable k be set equal to Ceil( ( Ceil( 3 * ( 32 * BinCountsInNALunits – RawMbBits * PicSizeInMbs ) ÷
1024 ) – NumBytesInVclNALunits ) ÷ 3 ). Depending on the variable k the following applies.
–     If k is less than or equal to 0, no cabac_zero_word is appended to the NAL unit.
–     Otherwise (k is greater than 0), the 3-byte sequence 0x000003 is appended k times to the NAL unit after
      encapsulation, where the first two bytes 0x0000 represent a cabac_zero_word and the third byte 0x03 represents an
      emulation_prevention_three_byte.




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                                                           Annex A
                                                         Profiles and levels
                    (This annex forms an integral part of this Recommendation | International Standard)
Profiles and levels specify restrictions on bitstreams and hence limits on the capabilities needed to decode the
bitstreams. Profiles and levels may also be used to indicate interoperability points between individual decoder
implementations.
    NOTE 1 – This Recommendation | International Standard does not include individually selectable “options” at the decoder, as
    this would increase interoperability difficulties.

Each profile specifies a subset of algorithmic features and limits that shall be supported by all decoders conforming to
that profile.
    NOTE 2 – Encoders are not required to make use of any particular subset of features supported in a profile.

Each level specifies a set of limits on the values that may be taken by the syntax elements of this
Recommendation | International Standard. The same set of level definitions is used with all profiles, but individual
implementations may support a different level for each supported profile. For any given profile, levels generally
correspond to decoder processing load and memory capability.

A.1        Requirements on video decoder capability
Capabilities of video decoders conforming to this Recommendation | International Standard are specified in terms of the
ability to decode video streams conforming to the constraints of profiles and levels specified in this Annex. For each
such profile, the level supported for that profile shall also be expressed.
Specific values are specified in this annex for the syntax elements profile_idc and level_idc. All other values of
profile_idc and level_idc are reserved for future use by ITU-T | ISO/IEC.
    NOTE – Decoders should not infer that when a reserved value of profile_idc or level_idc falls between the values specified in
    this Recommendation | International Standard that this indicates intermediate capabilities between the specified profiles or levels,
    as there are no restrictions on the method to be chosen by ITU-T | ISO/IEC for the use of such future reserved values.


A.2        Profiles
A.2.1     Baseline profile
Bitstreams conforming to the Baseline profile shall obey the following constraints:
–     Only I and P slice types may be present.
–     NAL unit streams shall not contain nal_unit_type values in the range of 2 to 4, inclusive.
–     Sequence parameter sets shall have frame_mbs_only_flag equal to 1.
–     The     syntax    elements   chroma_format_idc,      bit_depth_luma_minus8,      bit_depth_chroma_minus8,
      qpprime_y_zero_transform_bypass_flag, and seq_scaling_matrix_present_flag shall not be present in sequence
      parameter sets.
–     Picture parameter sets shall have weighted_pred_flag and weighted_bipred_idc both equal to 0.
–     Picture parameter sets shall have entropy_coding_mode_flag equal to 0.
–     Picture parameter sets shall have num_slice_groups_minus1 in the range of 0 to 7, inclusive.
–     The      syntax    elements        transform_8x8_mode_flag,          pic_scaling_matrix_present_flag,                        and
      second_chroma_qp_index_offset shall not be present in picture parameter sets.
–     The syntax element level_prefix shall not be greater than 15.
–     The level constraints specified for the Baseline profile in subclause A.3 shall be fulfilled.
Conformance of a bitstream to the Baseline profile is specified by profile_idc being equal to 66.
Decoders conforming to the Baseline profile at a specific level shall be capable of decoding all bitstreams in which
profile_idc is equal to 66 or constraint_set0_flag is equal to 1 and in which level_idc and constraint_set3_flag represent
a level less than or equal to the specified level.




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A.2.2     Main profile
Bitstreams conforming to the Main profile shall obey the following constraints:
–     Only I, P, and B slice types may be present.
–     NAL unit streams shall not contain nal_unit_type values in the range of 2 to 4, inclusive.
–     Arbitrary slice order is not allowed.
–     The     syntax    elements   chroma_format_idc,      bit_depth_luma_minus8,      bit_depth_chroma_minus8,
      qpprime_y_zero_transform_bypass_flag, and seq_scaling_matrix_present_flag shall not be present in sequence
      parameter sets.
–     Picture parameter sets shall have num_slice_groups_minus1 equal to 0 only.
–     Picture parameter sets shall have redundant_pic_cnt_present_flag equal to 0 only.
–     The      syntax    elements        transform_8x8_mode_flag,          pic_scaling_matrix_present_flag,           and
      second_chroma_qp_index_offset shall not be present in picture parameter sets.
–     The syntax element level_prefix shall not be greater than 15 (when present).
–     The level constraints specified for the Main profile in subclause A.3 shall be fulfilled.
Conformance of a bitstream to the Main profile is specified by profile_idc being equal to 77.
Decoders conforming to the Main profile at a specified level shall be capable of decoding all bitstreams in which
profile_idc is equal to 77 or constraint_set1_flag is equal to 1 and in which level_idc and constraint_set3_flag represent
a level less than or equal to the specified level.

A.2.3     Extended profile
Bitstreams conforming to the Extended profile shall obey the following constraints:
–     Sequence parameter sets shall have direct_8x8_inference_flag equal to 1.
–     The     syntax    elements   chroma_format_idc,      bit_depth_luma_minus8,      bit_depth_chroma_minus8,
      qpprime_y_zero_transform_bypass_flag, and seq_scaling_matrix_present_flag shall not be present in sequence
      parameter sets.
–     Picture parameter sets shall have entropy_coding_mode_flag equal to 0.
–     Picture parameter sets shall have num_slice_groups_minus1 in the range of 0 to 7, inclusive.
–     The      syntax    elements        transform_8x8_mode_flag,          pic_scaling_matrix_present_flag,           and
      second_chroma_qp_index_offset shall not be present in picture parameter sets.
–     The syntax element level_prefix shall not be greater than 15 (when present).
–     The level constraints specified for the Extended profile in subclause A.3 shall be fulfilled.
Conformance of a bitstream to the Extended profile is specified by profile_idc being equal to 88.
Decoders conforming to the Extended profile at a specified level shall be capable of decoding all bitstreams in which
profile_idc is equal to 88 or constraint_set2_flag is equal to 1 and in which level_idc represents a level less than or
equal to specified level.
Decoders conforming to the Extended profile at a specified level shall also be capable of decoding all bitstreams in
which profile_idc is equal to 66 or constraint_set0_flag is equal to 1, in which level_idc and constraint_set3_flag
represent a level less than or equal to the specified level.

A.2.4     High profile
Bitstreams conforming to the High profile shall obey the following constraints:
–     Only I, P, and B slice types may be present.
–     NAL unit streams shall not contain nal_unit_type values in the range of 2 to 4, inclusive.
–     Arbitrary slice order is not allowed.
–     Picture parameter sets shall have num_slice_groups_minus1 equal to 0 only.
–     Picture parameter sets shall have redundant_pic_cnt_present_flag equal to 0 only.
–     Sequence parameter sets shall have chroma_format_idc in the range of 0 to 1 inclusive.
–     Sequence parameter sets shall have bit_depth_luma_minus8 equal to 0 only.
–     Sequence parameter sets shall have bit_depth_chroma_minus8 equal to 0 only.



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–    Sequence parameter sets shall have qpprime_y_zero_transform_bypass_flag equal to 0 only.
–    The level constraints specified for the High profile in subclause A.3 shall be fulfilled.
Conformance of a bitstream to the High profile is specified by profile_idc being equal to 100. Decoders conforming to
the High profile at a specific level shall be capable of decoding all bitstreams in which level_idc and
constraint_set3_flag represents a level less than or equal to the specified level and either or both of the following
conditions are true:
–   profile_idc is equal to 77 or 100, or
–   constraint_set1_flag is equal to 1.

A.2.5    High 10 profile
Bitstreams conforming to the High 10 profile shall obey the following constraints:
–    Only I, P, and B slice types may be present.
–    NAL unit streams shall not contain nal_unit_type values in the range of 2 to 4, inclusive.
–    Arbitrary slice order is not allowed.
–    Picture parameter sets shall have num_slice_groups_minus1 equal to 0 only.
–    Picture parameter sets shall have redundant_pic_cnt_present_flag equal to 0 only.
–    Sequence parameter sets shall have chroma_format_idc in the range of 0 to 1 inclusive.
–    Sequence parameter sets shall have bit_depth_luma_minus8 in the range of 0 to 2 inclusive.
–    Sequence parameter sets shall have bit_depth_chroma_minus8 in the range of 0 to 2 inclusive.
–    Sequence parameter sets shall have qpprime_y_zero_transform_bypass_flag equal to 0 only.
–    The level constraints specified for the High 10 profile in subclause A.3 shall be fulfilled.
Conformance of a bitstream to the High 10 profile is specified by profile_idc being equal to 110. Decoders conforming
to the High 10 profile at a specific level shall be capable of decoding all bitstreams in which level_idc and
constraint_set3_flag represent a level less than or equal to the specified level and either or both of the following
conditions are true:
–   profile_idc is equal to 77, 100, or 110, or
–   constraint_set1_flag is equal to 1.

A.2.6    High 4:2:2 profile
Bitstreams conforming to the High 4:2:2 profile shall obey the following constraints:
–    Only I, P, and B slice types may be present.
–    NAL unit streams shall not contain nal_unit_type values in the range of 2 to 4, inclusive.
–    Arbitrary slice order is not allowed.
–    Picture parameter sets shall have num_slice_groups_minus1 equal to 0 only.
–    Picture parameter sets shall have redundant_pic_cnt_present_flag equal to 0 only.
–    Sequence parameter sets shall have chroma_format_idc in the range of 0 to 2 inclusive
–    Sequence parameter sets shall have bit_depth_luma_minus8 in the range of 0 to 2 inclusive.
–    Sequence parameter sets shall have bit_depth_chroma_minus8 in the range of 0 to 2 inclusive.
–    Sequence parameter sets shall have qpprime_y_zero_transform_bypass_flag equal to 0 only.
–    The level constraints specified for the High 4:2:2 profile in subclause A.3 shall be fulfilled.
Conformance of a bitstream to the High 4:2:2 profile is specified by profile_idc being equal to 122. Decoders
conforming to the High 4:2:2 profile at a specific level shall be capable of decoding all bitstreams in which level_idc
and constraint_set3_flag represents a level less than or equal to the specified level and either or both of the following
conditions are true:
–   profile_idc is equal to 77, 100, 110, or 122, or
–   constraint_set1_flag is equal to 1.




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A.2.7      High 4:4:4 profile
Bitstreams conforming to the High 4:4:4 profile shall obey the following constraints:
–     Only I, P, and B slice types may be present.
–     NAL unit streams shall not contain nal_unit_type values in the range of 2 to 4, inclusive.
–     Arbitrary slice order is not allowed.
–     Picture parameter sets shall have num_slice_groups_minus1 equal to 0 only.
–     Picture parameter sets shall have redundant_pic_cnt_present_flag equal to 0 only.
–     Sequence parameter sets shall have bit_depth_luma_minus8 in the range of 0 to 4 inclusive.
–     Sequence parameter sets shall have bit_depth_chroma_minus8 in the range of 0 to 4 inclusive.
–     The level constraints specified for the High 4:4:4 profile in subclause A.3 shall be fulfilled.
Conformance of a bitstream to the High 4:4:4 profile is specified by profile_idc being equal to 144. Decoders
conforming to the High 4:4:4 profile at a specific level shall be capable of decoding all bitstreams in which level_idc
and constraint_set3_flag represent a level less than or equal to the specified level and either or both of the following
conditions are true:
–     profile_idc is equal to 77, 100, 110, 122, or 144, or
–     constraint_set1_flag is equal to 1.

A.3        Levels
The following is specified for expressing the constraints in this Annex.
–     Let access unit n be the n-th access unit in decoding order with the first access unit being access unit 0.
–     Let picture n be the primary coded picture or the corresponding decoded picture of access unit n.

A.3.1      Level limits common to the Baseline, Main, and Extended profiles
Let the variable fR be derived as follows.
–     If picture n is a frame, fR is set equal to 1 ÷ 172.
–     Otherwise (picture n is a field), fR is set equal to 1 ÷ (172 * 2).
Bitstreams conforming to the Baseline, Main, or Extended profiles at a specified level shall obey the following
constraints:
      a)   The nominal removal time of access unit n (with n > 0) from the CPB as specified in subclause C.1.2, satisfies
           the constraint that tr,n( n ) - tr( n - 1 ) is greater than or equal to Max( PicSizeInMbs ÷ MaxMBPS, fR ), where
           MaxMBPS is the value specified in Table A-1 that applies to picture n – 1, and PicSizeInMbs is the number of
           macroblocks in picture n – 1.
      b) The difference between consecutive output times of pictures from the DPB as specified in subclause C.2.2,
         satisfies the constraint that ∆to,dpb( n ) >= Max( PicSizeInMbs ÷ MaxMBPS, fR ), where MaxMBPS is the
         value specified in Table A-1 for picture n, and PicSizeInMbs is the number of macroblocks of picture n,
         provided that picture n is a picture that is output and is not the last picture of the bitstream that is output.
      c)   The sum of the NumBytesInNALunit variables for access unit 0 is less than or equal to
           384 * ( PicSizeInMbs + MaxMBPS * ( tr( 0 ) - tr,n( 0 ) ) ) ÷ MinCR, where MaxMBPS and MinCR are the
           values specified in Table A-1 that apply to picture 0 and PicSizeInMbs is the number of macroblocks in picture
           0.
      d) The sum of the NumBytesInNALunit variables for access unit n (with n > 0) is less than or equal to
         384 * MaxMBPS * ( tr( n ) - tr( n – 1 ) ) ÷ MinCR, where MaxMBPS and MinCR are the values specified in
         Table A-1 that apply to picture n.
      e)   PicWidthInMbs * FrameHeightInMbs <= MaxFS, where MaxFS is specified in Table A-1
      f)   PicWidthInMbs <= Sqrt( MaxFS * 8 )
      g) FrameHeightInMbs <= Sqrt( MaxFS * 8 )
      h) max_dec_frame_buffering <= MaxDpbSize,     where       MaxDpbSize        is    equal      to
         Min( 1024 * MaxDPB / ( PicWidthInMbs * FrameHeightInMbs * 384 ), 16 ) and MaxDPB is given in
         Table A-1 in units of 1024 bytes.


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    i)   For the VCL HRD parameters, BitRate[ SchedSelIdx ] <= 1000 * MaxBR and CpbSize[ SchedSelIdx ] <=
         1000 * MaxCPB for at least one value of SchedSelIdx, where BitRate[ SchedSelIdx ] is given by Equation E-
         37 and CpbSize[ SchedSelIdx ] is given by Equation E-38 when vcl_hrd_parameters_present_flag is equal
         to 1. MaxBR and MaxCPB are specified in Table A-1 in units of 1000 bits/s and 1000 bits, respectively. The
         bitstream shall satisfy these conditions for at least one value of SchedSelIdx in the range 0 to cpb_cnt_minus1,
         inclusive.
    j)   For the NAL HRD parameters, BitRate[ SchedSelIdx ] <= 1200 * MaxBR and CpbSize[ SchedSelIdx ] <=
         1200 * MaxCPB for at least one value of SchedSelIdx, where BitRate[ SchedSelIdx ] is given by Equation E-
         37 and CpbSize[ SchedSelIdx ] is given by Equation E-38 when nal_hrd_parameters_present_flag equal to 1.
         MaxBR and MaxCPB are specified in Table A-1 in units of 1200 bits/s and 1200 bits, respectively. The
         bitstream shall satisfy these conditions for at least one value of SchedSelIdx in the range 0 to cpb_cnt_minus1.
    k) Vertical motion vector component range luma motion vectors does not exceed MaxVmvR in units of luma
       frame samples, where MaxVmvR is specified in Table A-1
             NOTE 1 – When chroma_format_idc is equal to 1 and the current macroblock is a field macroblock, the motion vector
             component range for chroma motion vectors may exceed MaxVmvR in units of luma frame samples, due to the
             method of deriving chroma motion vectors as specified in subclause 8.4.1.4.
    l)   Horizontal motion vector range does not exceed the range of -2048 to 2047.75, inclusive, in units of luma
         samples
    m) Number of motion vectors per two consecutive macroblocks in decoding order (also applying to the total from
       the last macroblock of a slice and the first macroblock of the next slice in decoding order, and in particular also
       applying to the total from the last macroblock of the last slice of a picture and the first macroblock of the first
       slice of the next picture in decoding order) does not exceed MaxMvsPer2Mb, where MaxMvsPer2Mb is
       specified in Table A-1. The number of motion vectors for each macroblock is the value of the variable MvCnt
       after the completion of the intra or inter prediction process for the macroblock.
    n) Number of bits of macroblock_layer( ) data for any macroblock is not greater than 3200. Depending on
       entropy_coding_mode_flag, the bits of macroblock_layer( ) data are counted as follows.
         –     If entropy_coding_mode_flag is equal to 0, the number of bits of macroblock_layer( ) data is given by
               the number of bits in the macroblock_layer( ) syntax structure for a macroblock.
         –     Otherwise (entropy_coding_mode_flag is equal to 1), the number of bits of macroblock_layer( ) data for
               a macroblock is given by the number of times read_bits( 1 ) is called in subclauses 9.3.3.2.2 and 9.3.3.2.3
               when parsing the macroblock_layer( ) associated with the macroblock.

Table A-1 specifies the limits for each level. Entries marked "-" in Table A-1 denote the absence of a corresponding
limit. For purposes of comparison of level capabilities, a level shall be considered to be a lower (higher) level than some
other level if the level appears nearer to the top (bottom) row of Table A-1 than the other level.
A level to which the bitstream conforms shall be indicated by the syntax elements level_idc and constraint_set3_flag as
follows.
–    If level_idc is equal to 11 and constraint_set3_flag is equal to 1, the indicated level is level 1b.
–    Otherwise (level_idc is not equal to 11 or constraint_set3_flag is not equal to 1), level_idc shall be set equal to a
     value of ten times the level number specified in Table A-1 and constraint_set3_flag shall be set equal to 0.




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                                                  Table A-1 – Level limits

                                                                                       Vertical MV
  Level    Max             Max         Max             Max            Max               component          Min
 number macroblock        frame       decoded          video        CPB size               range        compression Max number of
        processing         size       picture    bit rate MaxBR     MaxCPB              MaxVmvR            ratio     motion vectors
           rate           MaxFS      buffer size   (1000 bits/s,   (1000 bits,         (luma frame        MinCR         per two
        MaxMBPS           (MBs)      MaxDPB         1200 bits/s,    1200 bits,           samples)                   consecutive MBs
          (MB/s)                    (1024 bytes cpbBrVclFactor cpbBrVclFactor                                       MaxMvsPer2Mb
                                     for 4:2:0)      bits/s, or      bits, or
                                                 cpbBrNalFactor cpbBrNalFactor
                                                      bits/s)         bits)
      1        1 485         99        148.5             64               175           [-64,+63.75]         2             -
      1b       1 485         99        148.5             128              350           [-64,+63.75]         2             -
   1.1         3 000        396        337.5             192              500         [-128,+127.75]         2             -
   1.2         6 000        396        891.0             384             1 000        [-128,+127.75]         2             -
   1.3         11 880       396        891.0             768             2 000        [-128,+127.75]         2             -
      2        11 880       396        891.0           2 000             2 000        [-128,+127.75]         2             -
   2.1         19 800       792       1 782.0          4 000             4 000        [-256,+255.75]         2             -
   2.2         20 250      1 620      3 037.5          4 000             4 000        [-256,+255.75]         2             -
      3        40 500      1 620      3 037.5         10 000            10 000        [-256,+255.75]         2            32
   3.1        108 000      3 600      6 750.0         14 000            14 000        [-512,+511.75]         4            16
   3.2        216 000      5 120      7 680.0         20 000            20 000        [-512,+511.75]         4            16
      4       245 760      8 192     12 288.0         20 000            25 000        [-512,+511.75]         4            16
   4.1        245 760      8 192     12 288.0         50 000            62 500        [-512,+511.75]         2            16
   4.2        522 240      8 704     13 056.0         50 000            62 500        [-512,+511.75]         2            16
      5       589 824      22 080    41 400.0         135 000           135 000       [-512,+511.75]         2            16
   5.1        983 040      36 864    69 120.0         240 000           240 000       [-512,+511.75]         2            16



Levels with non-integer level numbers in Table A-1 are referred to as “intermediate levels”.
   NOTE 2 – All levels have the same status, but some applications may choose to use only the integer-numbered levels.
Informative subclause A.3.4 shows the effect of these limits on frame rates for several example picture formats.

A.3.2      Level limits common to the High, High 10, High 4:2:2, and High 4:4:4 profiles
Let the variable fR be derived as follows.
– If picture n is a frame, fR is set equal to 1 ÷ 172.
– Otherwise (picture n is a field), fR is set equal to 1 ÷ (172 * 2).
Bitstreams conforming to the High, High 10, High 4:2:2, or High 4:4:4 profiles at a specified level shall obey the
following constraints:
      a)   The nominal removal time of access unit n (with n > 0) from the CPB as specified in subclause C.1.2, satisfies
           the constraint that tr,n( n ) - tr( n - 1 ) is greater than or equal to Max( PicSizeInMbs ÷ MaxMBPS, fR ), where
           MaxMBPS is the value specified in Table A-1 that applies to picture n – 1, and PicSizeInMbs is the number of
           macroblocks in picture n – 1.
      b) The difference between consecutive output times of pictures from the DPB as specified in subclause C.2.2,
         satisfies the constraint that ∆to,dpb( n ) >= Max( PicSizeInMbs ÷ MaxMBPS, fR ), where MaxMBPS is the
         value specified in Table A-1 for picture n, and PicSizeInMbs is the number of macroblocks of picture n,
         provided that picture n is a picture that is output and is not the last picture of the bitstream that is output.
      c)   PicWidthInMbs * FrameHeightInMbs <= MaxFS, where MaxFS is specified in Table A-1



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    d) PicWidthInMbs <= Sqrt( MaxFS * 8 )
    e)   FrameHeightInMbs <= Sqrt( MaxFS * 8 )
    f)   max_dec_frame_buffering <= MaxDpbSize,          where         MaxDpbSize          is          equal
         to Min( 1024 * MaxDPB / ( PicWidthInMbs * FrameHeightInMbs * 384 ), 16 ) and MaxDPB is specified in
         Table A-1.
    g) Vertical motion vector component range does not exceed MaxVmvR in units of luma frame samples, where
       MaxVmvR is specified in Table A-1.
    h) Horizontal motion vector range does not exceed the range of -2048 to 2047.75, inclusive, in units of luma
       samples.
    i)   Number of motion vectors per two consecutive macroblocks in decoding order (also applying to the total from
         the last macroblock of a slice and the first macroblock of the next slice in decoding order) does not exceed
         MaxMvsPer2Mb, where MaxMvsPer2Mb is specified in Table A-1. The number of motion vectors for each
         macroblock is value of the variable MvCnt after the completion of the intra or inter prediction process for the
         macroblock.
    j)   Number of bits of macroblock_layer( ) data for any macroblock is not greater than 128 + RawMbBits.
         Depending on entropy_coding_mode_flag, the bits of macroblock_layer( ) data are counted as follows.
         –     If entropy_coding_mode_flag is equal to 0, the number of bits of macroblock_layer( ) data is given by
               the number of bits in the macroblock_layer( ) syntax structure for a macroblock.
         –     Otherwise (entropy_coding_mode_flag is equal to 1), the number of bits of macroblock_layer( ) data for
               a macroblock is given by the number of times read_bits( 1 ) is called in subclauses 9.3.3.2.2 and 9.3.3.2.3
               when parsing the macroblock_layer( ) associated with the macroblock.

Table A-1 specifies the limits for each level. Entries marked "-" in Table A-1 denote the absence of a corresponding
limit.
A level to which the bitstream conforms shall be indicated by the syntax element level_idc as follows.
–    If level_idc is equal to 9, the indicated level is level 1b.
–   Otherwise (level_idc is not equal to 9), level_idc shall be set equal to a value of ten times the level number
    specified in Table A-1.

A.3.3    Profile-specific level limits
    a)   In bitstreams conforming to the Main, High, High 10, High 4:2:2, or High 4:4:4 profiles, the removal time of
         access unit 0 shall satisfy the constraint that the number of slices in picture 0 is less than or equal
         to ( PicSizeInMbs + MaxMBPS * ( tr( 0 ) - tr,n( 0 ) ) ) ÷ SliceRate, where SliceRate is the value specified in
         Table A-4 that applies to picture 0.
    b) In bitstreams conforming to the Main, High, High 10, High 4:2:2, or High 4:4:4 profiles, the difference
       between consecutive removal time of access units n and n - 1 (with n > 0) shall satisfy the constraint that the
       number of slices in picture n is less than or equal to MaxMBPS * ( tr( n ) - tr( n - 1 ) ) ÷ SliceRate, where
       SliceRate is the value specified in Table A-4 that applies to picture n.
    c)   In bitstreams conforming to the Main, High, High 10, High 4:2:2, or High 4:4:4 profiles, sequence parameter
         sets shall have direct_8x8_inference_flag equal to 1 for the levels specified in Table A-4.
         NOTE 1 – direct_8x8_inference_flag is not relevant to the Baseline profile as it does not allow B slice types (specified in
         subclause A.2.1), and direct_8x8_inference_flag is equal to 1 for all levels of the Extended profile (specified in subclause
         A.2.3).
    d) In bitstreams conforming to the Main, High, High 10, High 4:2:2, or High 4:4:4 or Extended profiles, sequence
       parameter sets shall have frame_mbs_only_flag equal to 1 for the levels specified in Table A-4 for the Main,
       High, High 10, High 4:2:2, and High 4:4:4 profiles and in Table A-5 for the Extended profile.
         NOTE 2 – frame_mbs_only_flag is equal to 1 for all levels of the Baseline profile (specified in subclause A.2.1).

    e)   In bitstreams conforming to the Main, High, High 10, High 4:2:2, or High 4:4:4 or Extended profiles, the value
         of sub_mb_type in B macroblocks shall not be equal to B_Bi_8x4, B_Bi_4x8, or B_Bi_4x4 for the levels in
         which MinLumaBiPredSize is shown as 8x8 in Table A-4 for the Main, High, High 10, High 4:2:2, and
         High 4:4:4 profiles and in Table A-5 for the Extended profile.
    f)   In bitstreams conforming to the Baseline and Extended profiles, ( xIntmax – xIntmin + 6 ) * ( yIntmax – yIntmin +
         6 ) <= MaxSubMbRectSize in macroblocks coded with mb_type equal to P_8x8, P_8x8ref0 or B_8x8 for all


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          invocations of the process specified in subclause 8.4.2.2.1 used to generate the predicted luma sample array for
          a single reference picture list (reference picture list 0 or reference picture list 1) for each 8x8 sub-macroblock,
          where NumSubMbPart( sub_mb_type ) > 1, where MaxSubMbRectSize is specified in Table A-3 for the
          Baseline profile and in Table A-5 for the Extended profile and
           –      xIntmin is the minimum value of xIntL among all luma sample predictions for the sub-macroblock
           –      xIntmax is the maximum value of xIntL among all luma sample predictions for the sub-macroblock
           –      yIntmin is the minimum value of yIntL among all luma sample predictions for the sub-macroblock
           –      yIntmax is the maximum value of yIntL among all luma sample predictions for the sub-macroblock
      g) In bitstreams conforming to the High, High 10, High 4:2:2, or High 4:4:4 profile, for the VCL HRD
         parameters, BitRate[ SchedSelIdx ] <= cpbBrVclFactor * MaxBR and CpbSize[ SchedSelIdx ] <=
         cpbBrVclFactor * MaxCPB for at least one value of SchedSelIdx, where cpbBrVclFactor is specified in
         Table A-2, BitRate[ SchedSelIdx ] is specified by Equation E-37 and CpbSize[ SchedSelIdx ] is specified by
         Equation E-38 when vcl_hrd_parameters_present_flag is equal to 1. MaxBR and MaxCPB are specified in
         Table A-1 in units of cpbBrVclFactor bits/s and cpbBrVclFactor bits, respectively. The bitstream shall satisfy
         these conditions for at least one value of SchedSelIdx in the range 0 to cpb_cnt_minus1, inclusive.
      h) In bitstreams conforming to the High, High 10, High 4:2:2, or High 4:4:4 profile, for the NAL HRD
         parameters,    BitRate[ SchedSelIdx ] <= cpbBrNalFactor * MaxBR            and   CpbSize[ SchedSelIdx ]    <=
         cpbBrNalFactor * MaxCPB for at least one value of SchedSelIdx, where cpbBrNalFactor is specified in
         Table A-2, BitRate[ SchedSelIdx ] is specified by Equation E-37 and CpbSize[ SchedSelIdx ] is specified by
         Equation E-38 when nal_hrd_parameters_present_flag equal to 1. MaxBR and MaxCPB are specified in
         Table A-1 in units of cpbBrNalFactor bits/s and cpbBrNalFactor bits, respectively. The bitstream shall satisfy
         these conditions for at least one value of SchedSelIdx in the range 0 to cpb_cnt_minus1.

                           Table A-2 – Specification of cpbBrVclFactor and cpbBrNalFactor

                                          Profile     cpbBrVclFactor cpbBrNalFactor
                                            High          1 250            1 500
                                          High 10         3 000            3 600
                                         High 4:2:2       4 000            4 800
                                         High 4:4:4       4 000            4 800



A.3.3.1 Baseline profile limits
Table A-3 specifies limits for each level that are specific to bitstreams conforming to the Baseline profile. Entries
marked "-" in Table A-3 denote the absence of a corresponding limit.




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                                     Table A-3 – Baseline profile level limits

                                        Level number    MaxSubMbRectSize
                                                 1              576
                                             1b                 576
                                             1.1                576
                                             1.2                576
                                             1.3                576
                                                 2              576
                                             2.1                576
                                             2.2                576
                                                 3              576
                                             3.1                 -
                                             3.2                 -
                                                 4               -
                                             4.1                 -
                                             4.2                 -
                                                 5               -
                                             5.1                 -


A.3.3.2 Main, High, High 10, High 4:2:2, or High 4:4:4 profile limits
Table A-4 specifies limits for each level that are specific to bitstreams conforming to the Main, High, High 10,
High 4:2:2, or High 4:4:4 profiles. Entries marked "-" in Table A-4 denote the absence of a corresponding limit.

                  Table A-4 – Main, High, High 10, High 4:2:2, or High 4:4:4 profile level limits

   Level number     SliceRate       MinLumaBiPredSize        direct_8x8_inference_flag    frame_mbs_only_flag
         1              -                    -                           -                          1
         1b             -                    -                           -                          1
        1.1             -                    -                           -                          1
        1.2             -                    -                           -                          1
        1.3             -                    -                           -                          1
         2              -                    -                           -                          1
        2.1             -                    -                           -                          -
        2.2             -                    -                           -                          -
         3             22                    -                          1                           -
        3.1            60                  8x8                          1                           -
        3.2            60                  8x8                          1                           -
         4             60                  8x8                          1                           -
        4.1            24                  8x8                          1                           -
        4.2            24                  8x8                          1                           1
         5             24                  8x8                          1                           1
        5.1            24                  8x8                          1                           1




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A.3.3.3 Extended Profile Limits
Table A-5 specifies limits for each level that are specific to bitstreams conforming to the Extended profile. Entries
marked "-" in Table A-5 denote the absence of a corresponding limit.



                                     Table A-5 – Extended profile level limits

                  Level number    MaxSubMbRectSize     MinLumaBiPredSize      frame_mbs_only_flag
                        1                 576                    -                     1
                       1b                 576                    -                     1
                       1.1                576                    -                     1
                       1.2                576                    -                     1
                       1.3                576                    -                     1
                        2                 576                    -                     1
                       2.1                576                    -                      -
                       2.2                576                    -                      -
                        3                 576                    -                      -
                       3.1                 -                    8x8                     -
                       3.2                 -                    8x8                     -
                        4                  -                    8x8                     -
                       4.1                 -                    8x8                     -
                       4.2                 -                    8x8                    1
                        5                  -                    8x8                    1
                       5.1                 -                    8x8                    1




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A.3.4     Effect of level limits on frame rate (informative)
This subclause does not form an integral part of this Recommendation | International Standard.

                     Table A-6 – Maximum frame rates (frames per second) for some example frame sizes
Level:                                                                      1        1b       1.1        1.2         1.3           2         2.1
Max frame size (macroblocks):                                              99        99       396        396         396         396         792
Max macroblocks/second:                                                 1 485     1 485     3 000      6 000      11 880      11 880      19 800

Max frame size (samples):                                              25 344    25 344   101 376     101 376     101 376     101 376     202 752
Max samples/second:                                                   380 160   380 160   768 000   1 536 000   3 041 280   3 041 280   5 068 800
                                Luma    Luma      MBs        Luma
Format                          Width   Height    Total    Samples
SQCIF                             128       96       48      12 288      30.9      30.9      62.5      125.0       172.0       172.0       172.0
QCIF                              176      144       99      25 344      15.0      15.0      30.3       60.6       120.0       120.0       172.0
QVGA                              320      240      300      76 800         -         -      10.0       20.0        39.6        39.6        66.0
525 SIF                           352      240      330      84 480         -         -       9.1       18.2        36.0        36.0        60.0
CIF                               352      288      396     101 376         -         -       7.6       15.2        30.0        30.0        50.0
525 HHR                           352      480      660     168 960         -         -         -          -           -           -        30.0
625 HHR                           352      576      792     202 752         -         -         -          -           -           -        25.0
VGA                               640      480    1 200     307 200         -         -         -          -           -           -           -
525 4SIF                          704      480    1 320     337 920         -         -         -          -           -           -           -
525 SD                            720      480    1 350     345 600         -         -         -          -           -           -           -
4CIF                              704      576    1 584     405 504         -         -         -          -           -           -           -
625 SD                            720      576    1 620     414 720         -         -         -          -           -           -           -
SVGA                              800      600    1 900     486 400         -         -         -          -           -           -           -
XGA                              1024      768    3 072     786 432         -         -         -          -           -           -           -
720p HD                          1280      720    3 600     921 600         -         -         -          -           -           -           -
4VGA                             1280      960    4 800   1 228 800         -         -         -          -           -           -           -
SXGA                             1280    1024     5 120   1 310 720         -         -         -          -           -           -           -
525 16SIF                        1408      960    5 280   1 351 680         -         -         -          -           -           -           -
16CIF                            1408    1152     6 336   1 622 016         -         -         -          -           -           -           -
4SVGA                            1600    1200     7 500   1 920 000         -         -         -          -           -           -           -
1080 HD                          1920    1088     8 160   2 088 960         -         -         -          -           -           -           -
2Kx1K                            2048    1024     8 192   2 097 152         -         -         -          -           -           -           -
2Kx1080                          2048    1088     8 704   2 228 224         -         -         -          -           -           -           -
4XGA                             2048    1536    12 288   3 145 728         -         -         -          -           -           -           -
16VGA                            2560    1920    19 200   4 915 200         -         -         -          -           -           -           -
3616x1536 (2.35:1)               3616    1536    21 696   5 554 176         -         -         -          -           -           -           -
3672x1536 (2.39:1)               3680    1536    22 080   5 652 480         -         -         -          -           -           -           -
4Kx2K                            4096    2048    32 768   8 388 608         -         -         -          -           -           -           -
4096x2304 (16:9)                 4096    2304    36 864   9 437 184         -         -         -          -           -           -           -




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          Table A-6 (continued) – Maximum frame rates (frames per second) for some example frame sizes
Level:                                                                      2.2          3         3.1         3.2         4       4.1          4.2
Max frame size (macroblocks):                                            1 620       1 620      3 600       5 120      8 192     8 192        8 704
Max macroblocks/second:                                                 20 250      40 500    108 000     216 000    245 760   245 760      522 240

Max frame size (samples):                                               414 720    414 720    921 600 1 310 720 2 097 152 2 097 152        2 228 224
Max samples/second:                                                   5 184 000 10 368 000 27 648 000 55 296 000 62 914 560 62 914 560   133 693 440
                                Luma    Luma      MBs        Luma
Format                          Width   Height    Total    Samples
SQCIF                             128       96       48      12 288      172.0       172.0        172.0     172.0      172.0     172.0         172.0
QCIF                              176      144       99      25 344      172.0       172.0        172.0     172.0      172.0     172.0         172.0
QVGA                              320      240      300      76 800       67.5       135.0        172.0     172.0      172.0     172.0         172.0
525 SIF                           352      240      330      84 480       61.4       122.7        172.0     172.0      172.0     172.0         172.0
CIF                               352      288      396     101 376       51.1       102.3        172.0     172.0      172.0     172.0         172.0
525 HHR                           352      480      660     168 960       30.7        61.4        163.6     172.0      172.0     172.0         172.0
625 HHR                           352      576      792     202 752       25.6        51.1        136.4     172.0      172.0     172.0         172.0
VGA                               640      480    1 200     307 200       16.9        33.8         90.0     172.0      172.0     172.0         172.0
525 4SIF                          704      480    1 320     337 920       15.3        30.7         81.8     163.6      172.0     172.0         172.0
525 SD                            720      480    1 350     345 600       15.0        30.0         80.0     160.0      172.0     172.0         172.0
4CIF                              704      576    1 584     405 504       12.8        25.6         68.2     136.4      155.2     155.2         172.0
625 SD                            720      576    1 620     414 720       12.5        25.0         66.7     133.3      151.7     151.7         172.0
SVGA                              800      600    1 900     486 400          -           -         56.8     113.7      129.3     129.3         172.0
XGA                              1024      768    3 072     786 432          -           -         35.2      70.3       80.0      80.0         172.0
720p HD                          1280      720    3 600     921 600          -           -         30.0      60.0       68.3      68.3         145.1
4VGA                             1280      960    4 800   1 228 800          -           -            -      45.0       51.2      51.2         108.8
SXGA                             1280    1024     5 120   1 310 720          -           -            -      42.2       48.0      48.0         102.0
525 16SIF                        1408      960    5 280   1 351 680          -           -            -         -       46.5      46.5          98.9
16CIF                            1408    1152     6 336   1 622 016          -           -            -         -       38.8      38.8          82.4
4SVGA                            1600    1200     7 500   1 920 000          -           -            -         -       32.8      32.8          69.6
1080 HD                          1920    1088     8 160   2 088 960          -           -            -         -       30.1      30.1          64.0
2Kx1K                            2048    1024     8 192   2 097 152          -           -            -         -       30.0      30.0          63.8
2Kx1080                          2048    1088     8 704   2 228 224          -           -            -         -          -         -          60.0
4XGA                             2048    1536    12 288   3 145 728          -           -            -         -          -         -             -
16VGA                            2560    1920    19 200   4 915 200          -           -            -         -          -         -             -
3616x1536 (2.35:1)               3616    1536    21 696   5 554 176          -           -            -         -          -         -             -
3672x1536 (2.39:1)               3680    1536    22 080   5 652 480          -           -            -         -          -         -             -
4Kx2K                            4096    2048    32 768   8 388 608          -           -            -         -          -         -             -
4096x2304 (16:9)                 4096    2304    36 864   9 437 184          -           -            -         -          -         -             -




          Table A-6 (concluded) – Maximum frame rates (frames per second) for some example frame sizes
Level:                                                                         5            5.1
Max frame size (macroblocks):                                             22 080        36 864
Max macroblocks/second:                                                  589 824       983 040

Max frame size (samples):                                               5 652 480     9 437 184
Max samples/second:                                                   150 994 944   251 658 240
                                Luma    Luma      MBs        Luma
Format                          Width   Height    Total    Samples
SQCIF                             128       96       48      12 288         172.0         172.0
QCIF                              176      144       99      25 344         172.0         172.0
QVGA                              320      240      300      76 800         172.0         172.0
525 SIF                           352      240      330      84 480         172.0         172.0
CIF                               352      288      396     101 376         172.0         172.0
525 HHR                           352      480      660     168 960         172.0         172.0
625 HHR                           352      576      792     202 752         172.0         172.0
VGA                               640      480    1 200     307 200         172.0         172.0
525 4SIF                          704      480    1 320     337 920         172.0         172.0
525 SD                            720      480    1 350     345 600         172.0         172.0
4CIF                              704      576    1 584     405 504         172.0         172.0
625 SD                            720      576    1 620     414 720         172.0         172.0
SVGA                              800      600    1 900     486 400         172.0         172.0
XGA                              1024      768    3 072     786 432         172.0         172.0
720p HD                          1280      720    3 600     921 600         163.8         172.0
4VGA                             1280      960    4 800   1 228 800         122.9         172.0
SXGA                             1280    1024     5 120   1 310 720         115.2         172.0
525 16SIF                        1408      960    5 280   1 351 680         111.7         172.0
16CIF                            1408    1152     6 336   1 622 016          93.1         155.2
4SVGA                            1600    1200     7 500   1 920 000          78.6         131.1
1080 HD                          1920    1088     8 160   2 088 960          72.3         120.5
2Kx1K                            2048    1024     8 192   2 097 152          72.0         120.0
2Kx1080                          2048    1088     8 704   2 228 224          67.8         112.9
4XGA                             2048    1536    12 288   3 145 728          48.0          80.0
16VGA                            2560    1920    19 200   4 915 200          30.7          51.2
3616x1536 (2.35:1)               3616    1536    21 696   5 554 176          27.2          45.3
3672x1536 (2.39:1)               3680    1536    22 080   5 652 480          26.7          44.5
4Kx2K                            4096    2048    32 768   8 388 608             -          30.0
4096x2304 (16:9)                 4096    2304    36 864   9 437 184             -          26.7




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The following should be noted.
– This Recommendation | International Standard is a variable-frame-size specification. The specific frame sizes in
  Table A-6 are illustrative examples only.
– As used in Table A-6, "525" refers to typical use for environments using 525 analogue scan lines (of which
  approximately 480 lines contain the visible picture region), and "625" refers to environments using 625 analogue
  scan lines (of which approximately 576 lines contain the visible picture region).
– XGA is also known as (aka) XVGA, 4SVGA aka UXGA, 16XGA aka 4Kx3K, CIF aka 625 SIF, 625 HHR aka
  2CIF aka half 625 D-1, aka half 625 ITU-R BT.601, 525 SD aka 525 D-1 aka 525 ITU-R BT.601, 625 SD aka 625
  D-1 aka 625 ITU-R BT.601.
– Frame rates given are correct for progressive scan modes. The frame rates are also correct for interlaced video
  coding for the cases of frame height divisible by 32.




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                                                         Annex B
                                                      Byte stream format
                   (This annex forms an integral part of this Recommendation | International Standard)
This annex specifies syntax and semantics of a byte stream format specified for use by applications that deliver some or
all of the NAL unit stream as an ordered stream of bytes or bits within which the locations of NAL unit boundaries need
to be identifiable from patterns in the data, such as ITU-T Rec. H.222.0 | ISO/IEC 13818-1 systems or ITU-T
Rec. H.320 systems. For bit-oriented delivery, the bit order for the byte stream format is specified to start with the MSB
of the first byte, proceed to the LSB of the first byte, followed by the MSB of the second byte, etc.
The byte stream format consists of a sequence of byte stream NAL unit syntax structures. Each byte stream NAL unit
syntax structure contains one start code prefix followed by one nal_unit( NumBytesInNALunit ) syntax structure. It
may (and under some circumstances, it shall) also contain an additional zero_byte syntax element. It may also contain
one or more additional trailing_zero_8bits syntax elements. When it is the first byte stream NAL unit in the bitstream, it
may also contain one or more additional leading_zero_8bits syntax elements.

B.1        Byte stream NAL unit syntax and semantics
B.1.1     Byte stream NAL unit syntax


          byte_stream_nal_unit( NumBytesInNALunit ) {                                       C               Descriptor
            while( next_bits( 24 ) != 0x000001 &&
                      next_bits( 32 ) != 0x00000001 )
                leading_zero_8bits /* equal to 0x00 */                                                      f(8)
            if( next_bits( 24 ) != 0x000001 )
                zero_byte /* equal to 0x00 */                                                               f(8)
            start_code_prefix_one_3bytes /* equal to 0x000001 */                                            f(24)
            nal_unit( NumBytesInNALunit )
            while( more_data_in_byte_stream( ) &&
                      next_bits( 24 ) != 0x000001 &&
                      next_bits( 32 ) != 0x00000001 )
                trailing_zero_8bits /* equal to 0x00 */                                                     f(8)
          }


B.1.2     Byte stream NAL unit semantics
The order of byte stream NAL units in the byte stream shall follow the decoding order of the NAL units contained in
the byte stream NAL units (see subclause 7.4.1.2). The content of each byte stream NAL unit is associated with the
same access unit as the NAL unit contained in the byte stream NAL unit (see subclause 7.4.1.2.3).
leading_zero_8bits is a byte equal to 0x00.
    NOTE – The leading_zero_8bits syntax element can only be present in the first byte stream NAL unit of the bitstream, because
    (as shown in the syntax diagram of subclause B.1.1) any bytes equal to 0x00 that follow a NAL unit syntax structure and precede
    the four-byte sequence 0x00000001 (which is to be interpreted as a zero_byte followed by a start_code_prefix_one_3bytes) will
    be considered to be trailing_zero_8bits syntax elements that are part of the preceding byte stream NAL unit.
zero_byte is a single byte equal to 0x00.
When any of the following conditions are fulfilled, the zero_byte syntax element shall be present.
–     the nal_unit_type within the nal_unit( ) is equal to 7 (sequence parameter set) or 8 (picture parameter set)
–     the byte stream NAL unit syntax structure contains the first NAL unit of an access unit in decoding order, as
      specified by subclause 7.4.1.2.3.
start_code_prefix_one_3bytes is a fixed-value sequence of 3 bytes equal to 0x000001. This syntax element is called a
start code prefix.
trailing_zero_8bits is a byte equal to 0x00.

B.2        Byte stream NAL unit decoding process
Input to this process consists of an ordered stream of bytes consisting of a sequence of byte stream NAL unit syntax
structures.


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Output of this process consists of a sequence of NAL unit syntax structures.
At the beginning of the decoding process, the decoder initialises its current position in the byte stream to the beginning
of the byte stream. It then extracts and discards each leading_zero_8bits syntax element (if present), moving the current
position in the byte stream forward one byte at a time, until the current position in the byte stream is such that the next
four bytes in the bitstream form the four-byte sequence 0x00000001.
The decoder then performs the following step-wise process repeatedly to extract and decode each NAL unit syntax
structure in the byte stream until the end of the byte stream has been encountered (as determined by unspecified means)
and the last NAL unit in the byte stream has been decoded:
      1.   When the next four bytes in the bitstream form the four-byte sequence 0x00000001, the next byte in the byte
           stream (which is a zero_byte syntax element) is extracted and discarded and the current position in the byte
           stream is set equal to the position of the byte following this discarded byte.
      2.   The next three-byte sequence in the byte stream (which is a start_code_prefix_one_3bytes) is extracted and
           discarded and the current position in the byte stream is set equal to the position of the byte following this three-
           byte sequence.
      3.   NumBytesInNALunit is set equal to the number of bytes starting with the byte at the current position in the
           byte stream up to and including the last byte that precedes the location of any of the following conditions:
               a.   A subsequent byte-aligned three-byte sequence equal to 0x000000, or
               b.   A subsequent byte-aligned three-byte sequence equal to 0x000001, or
               c.   The end of the byte stream, as determined by unspecified means.
      4.   NumBytesInNALunit bytes are removed from the bitstream and the current position in the byte stream is
           advanced by NumBytesInNALunit bytes. This sequence of bytes is nal_unit( NumBytesInNALunit ) and is
           decoded using the NAL unit decoding process.
      5.   When the current position in the byte stream is not at the end of the byte stream (as determined by unspecified
           means) and the next bytes in the byte stream do not start with a three-byte sequence equal to 0x000001 and the
           next bytes in the byte stream do not start with a four byte sequence equal to 0x00000001, the decoder extracts
           and discards each trailing_zero_8bits syntax element, moving the current position in the byte stream forward
           one byte at a time, until the current position in the byte stream is such that the next bytes in the byte stream
           form the four-byte sequence 0x00000001 or the end of the byte stream has been encountered (as determined by
           unspecified means).


B.3        Decoder byte-alignment recovery (informative)
This subclause does not form an integral part of this Recommendation | International Standard.
Many applications provide data to a decoder in a manner that is inherently byte aligned, and thus have no need for the
bit-oriented byte alignment detection procedure described in this subclause.
A decoder is said to have byte-alignment with a bitstream when the decoder is able to determine whether or not the
positions of data in the bitstream are byte-aligned. When a decoder does not have byte alignment with the encoder’s
byte stream, the decoder may examine the incoming bitstream for the binary pattern '00000000 00000000 00000000
00000001' (31 consecutive bits equal to 0 followed by a bit equal to 1). The bit immediately following this pattern is the
first bit of an aligned byte following a start code prefix. Upon detecting this pattern, the decoder will be byte aligned
with the encoder and positioned at the start of a NAL unit in the byte stream.
Once byte aligned with the encoder, the decoder can examine the incoming byte stream for subsequent three-byte
sequences 0x000001 and 0x000003.
When the three-byte sequence 0x000001 is detected, this is a start code prefix.
When the three-byte sequence 0x000003 is detected, the third byte (0x03) is an emulation_prevention_three_byte to be
discarded as specified in subclause 7.4.1.
When an error in the bitstream syntax is detected (e.g., a non-zero value of the forbidden_zero_bit or one of the three-
byte or four-byte sequences that are prohibited in subclause 7.4.1), the decoder may consider the detected condition as
an indication that byte alignment may have been lost and may discard all bitstream data until the detection of byte
alignment at a later position in the bitstream as described in this subclause.




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                                                      Annex C
                                              Hypothetical reference decoder
                    (This annex forms an integral part of this Recommendation | International Standard)
This annex specifies the hypothetical reference decoder (HRD) and its use to check bitstream and decoder conformance.
Two types of bitstreams are subject to HRD conformance checking for this Recommendation | International Standard.
The first such type of bitstream, called Type I bitstream, is a NAL unit stream containing only the VCL NAL units and
filler data NAL units for all access units in the bitstream. The second type of bitstream, called a Type II bitstream,
contains, in addition to the VCL NAL units and filler data NAL units for all access units in the bitstream, at least one of
the following.
          –      additional non-VCL NAL units other than filler data NAL units
          –      all leading_zero_8bits, zero_byte, start_code_prefix_one_3bytes, and trailing_zero_8bits syntax
                 elements that form a byte stream from the NAL unit stream (as specified in Annex B)
Figure C-1 shows the types of bitstream conformance points checked by the HRD.
                    VCL NAL units

                                                                                      Non-VCL NAL units other
                             Filler data NAL units
                                                                                      than filler data NAL units




                                                                                     Byte stream format
                                                                                       encapsulation
                                                                                       (see Annex B)




                                                           Type II HRD                   Type II HRD
                          Type I HRD                 conformance point when        conformance point when
                       conformance point                    not using                       using
                                                       byte stream format            byte stream format




              Figure C-1 – Structure of byte streams and NAL unit streams for HRD conformance checks




The syntax elements of non-VCL NAL units (or their default values for some of the syntax elements), required for the
HRD, are specified in the semantic subclauses of clause 7 and Annexes D and E.
Two types of HRD parameter sets are used. The HRD parameter sets are signalled through video usability information
as specified in subclauses E.1 and E.2, which is part of the sequence parameters set syntax structure.
In order to check conformance of a bitstream using the HRD, all sequence parameter sets and picture parameters sets
referred to in the VCL NAL units, and corresponding buffering period and picture timing SEI messages shall be
conveyed to the HRD, in a timely manner, either in the bitstream (by non-VCL NAL units), or by other means not
specified in this Recommendation | International Standard.
In Annexes C, D and E, the specification for "presence" of non-VCL NAL units is also satisfied when those NAL units
(or just some of them) are conveyed to decoders (or to the HRD) by other means not specified by this


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Recommendation | International Standard. For the purpose of counting bits, only the appropriate bits that are actually
present in the bitstream are counted.
   NOTE 1 – As an example, synchronization of a non-VCL NAL unit, conveyed by means other than presence in the bitstream,
   with the NAL units that are present in the bitstream, can be achieved by indicating two points in the bitstream, between which the
   non-VCL NAL unit would have been present in the bitstream, had the encoder decided to convey it in the bitstream.
When the content of a non-VCL NAL unit is conveyed for the application by some means other than presence within
the bitstream, the representation of the content of the non-VCL NAL unit is not required to use the same syntax
specified in this annex.
   NOTE 2 – When HRD information is contained within the bitstream, it is possible to verify the conformance of a bitstream to the
   requirements of this subclause based solely on information contained in the bitstream. When the HRD information is not present
   in the bitstream, as is the case for all "stand-alone" Type I bitstreams, conformance can only be verified when the HRD data is
   supplied by some other means not specified in this Recommendation | International Standard.
The HRD contains a coded picture buffer (CPB), an instantaneous decoding process, a decoded picture buffer (DPB),
and output cropping as shown in Figure C-2.




                                               Figure C-2 – HRD buffer model




The CPB size (number of bits) is CpbSize[ SchedSelIdx ]. The DPB size (number of frame buffers) is
Max( 1, max_dec_frame_buffering ).
The HRD operates as follows. Data associated with access units that flow into the CPB according to a specified arrival
schedule are delivered by the HSS. The data associated with each access unit are removed and decoded instantaneously
by the instantaneous decoding process at CPB removal times. Each decoded picture is placed in the DPB at its CPB
removal time unless it is output at its CPB removal time and is a non-reference picture. When a picture is placed in the
DPB it is removed from the DPB at the later of the DPB output time or the time that it is marked as "unused for
reference".
The operation of the CPB is specified in subclause C.1. The instantaneous decoder operation is specified in clauses 8
and 9. The operation of the DPB is specified in subclause C.2. The output cropping is specified in subclause C.2.2.




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HSS and HRD information concerning the number of enumerated delivery schedules and their associated bit rates and
buffer sizes is specified in subclauses E.1.1, E.1.2, E.2.1 and E.2.2. The HRD is initialised as specified by the buffering
period SEI message as specified in subclauses D.1.1 and D.2.1. The removal timing of access units from the CPB and
output timing from the DPB are specified in the picture timing SEI message as specified in subclauses D.1.2 and D.2.2.
All timing information relating to a specific access unit shall arrive prior to the CPB removal time of the access unit.
The HRD is used to check conformance of bitstreams and decoders as specified in subclauses C.3 and C.4, respectively.
          NOTE 3 – While conformance is guaranteed under the assumption that all frame-rates and clocks used to generate the
          bitstream match exactly the values signalled in the bitstream, in a real system each of these may vary from the signalled or
          specified value.

All the arithmetic in this annex is done with real values, so that no rounding errors can propagate. For example, the
number of bits in a CPB just prior to or after removal of an access unit is not necessarily an integer.
The variable tc is derived as follows and is called a clock tick.

          tc = num_units_in_tick ÷ time_scale                                                                                      (C-1)


The following is specified for expressing the constraints in this Annex.
–     Let access unit n be the n-th access unit in decoding order with the first access unit being access unit 0.
–     Let picture n be the primary coded picture or the decoded primary picture of access unit n.

C.1        Operation of coded picture buffer (CPB)
The specifications in this subclause apply independently to each set of CPB parameters that is present and to both the
Type I and Type II conformance points shown in Figure C-1.

C.1.1     Timing of bitstream arrival
The HRD may be initialised at any one of the buffering period SEI messages. Prior to initialisation, the CPB is empty.
    NOTE – After initialisation, the HRD is not initialised again by subsequent buffering period SEI messages.

Each access unit is referred to as access unit n, where the number n identifies the particular access unit. The access unit
that is associated with the buffering period SEI message that initializes the CPB is referred to as access unit 0. The
value of n is incremented by 1 for each subsequent access unit in decoding order.
The time at which the first bit of access unit n begins to enter the CPB is referred to as the initial arrival time tai( n ).
The initial arrival time of access units is derived as follows.
–     If the access unit is access unit 0, tai( 0 ) = 0,
–     Otherwise (the access unit is access unit n with n > 0), the following applies.
      –   If cbr_flag[ SchedSelIdx ] is equal to 1, the initial arrival time for access unit n, is equal to the final arrival time
          (which is derived below) of access unit n - 1, i.e.

          tai( n ) = taf( n – 1 )                                                                                                  (C-2)


      –   Otherwise (cbr_flag[ SchedSelIdx ] is equal to 0), the initial arrival time for access unit n is derived by

          tai( n ) = Max( taf( n – 1 ), tai,earliest( n ) )                                                                        (C-3)


          where tai,earliest( n ) is derived as follows
          –      If access unit n is not the first access unit of a subsequent buffering period, tai,earliest( n ) is derived as

          tai,earliest( n ) = tr,n( n ) –
          ( initial_cpb_removal_delay[ SchedSelIdx ] + initial_cpb_removal_delay_offset[ SchedSelIdx ] ) ÷ 90000 (C-4)


               with tr,n( n ) being the nominal removal time of access unit n from the CPB as specified in subclause C.1.2
               and initial_cpb_removal_delay[ SchedSelIdx ] and initial_cpb_removal_delay_offset[ SchedSelIdx ] being
               specified in the previous buffering period SEI message.


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         – Otherwise (access unit n is the first access unit of a subsequent buffering period), tai,earliest( n ) is derived as

         tai,earliest( n ) = tr,n( n ) – ( initial_cpb_removal_delay[ SchedSelIdx ] ÷ 90000 )                              (C-5)


             with initial_cpb_removal_delay[ SchedSelIdx ] being specified in the buffering period SEI message
             associated with access unit n.
The final arrival time for access unit n is derived by

         taf( n ) = tai( n ) + b( n ) ÷ BitRate[ SchedSelIdx ]                                                             (C-6)


where b( n ) is the size in bits of access unit n, counting the bits of the VCL NAL units and the filler data NAL units for
the Type I conformance point or all bits of the Type II bitstream for the Type II conformance point, where the Type I
and Type II conformance points are as shown in Figure C-1.
The values of SchedSelIdx, BitRate[ SchedSelIdx ], and CpbSize[ SchedSelIdx ] are constrained as follows.
–    If access unit n and access unit n - 1 are part of different coded video sequences and the content of the active
     sequence parameter sets of the two coded video sequences differ, the HSS selects a value SchedSelIdx1 of
     SchedSelIdx from among the values of SchedSelIdx provided for the coded video sequence containing access unit
     n that results in a BitRate[ SchedSelIdx1 ] or CpbSize[ SchedSelIdx1 ] for the second of the two coded video
     sequences (which contains access unit n). The value of BitRate[ SchedSelIdx1 ] or CpbSize[ SchedSelIdx1 ] may
     differ from the value of BitRate[ SchedSelIdx0 ] or CpbSize[ SchedSelIdx0 ] for the value SchedSelIdx0 of
     SchedSelIdx that was in use for the coded video sequence containing access unit n - 1.
–    Otherwise, the HSS continues to operate with the previous values of SchedSelIdx, BitRate[ SchedSelIdx ] and
     CpbSize[ SchedSelIdx ].
When the HSS selects values of BitRate[ SchedSelIdx ] or CpbSize[ SchedSelIdx ] that differ from those of the
previous access unit, the following applies.
–    the variable BitRate[ SchedSelIdx ] comes into effect at time tai( n )
–    the variable CpbSize[ SchedSelIdx ] comes into effect as follows.
     – If the new value of CpbSize[ SchedSelIdx ] exceeds the old CPB size, it comes into effect at time tai( n ),
     – Otherwise, the new value of CpbSize[ SchedSelIdx ] comes into effect at the time tr( n ).

C.1.2    Timing of coded picture removal
For access unit 0, the nominal removal time of the access unit from the CPB is specified by

         tr,n( 0 ) = initial_cpb_removal_delay[ SchedSelIdx ] ÷ 90000                                                      (C-7)


For the first access unit of a buffering period that does not initialise the HRD, the nominal removal time of the access
unit from the CPB is specified by

         tr,n( n ) = tr,n( nb ) + tc * cpb_removal_delay( n )                                                              (C-8)


where tr,n( nb ) is the nominal removal time of the first access unit of the previous buffering period and
cpb_removal_delay( n ) is the value of cpb_removal_delay specified in the picture timing SEI message associated with
access unit n.
When an access unit n is the first access unit of a buffering period, nb is set equal to n at the removal time of access
unit n.
The nominal removal time tr,n(n) of an access unit n that is not the first access unit of a buffering period is given by

         tr,n( n ) = tr,n( nb ) + tc * cpb_removal_delay( n )                                                              (C-9)


where tr,n( nb ) is the nominal removal time of the first access unit of the current buffering period and
cpb_removal_delay( n ) is the value of cpb_removal_delay specified in the picture timing SEI message associated with
access unit n.



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The removal time of access unit n is specified as follows.
– If low_delay_hrd_flag is equal to 0 or tr,n( n ) >= taf( n ), the removal time of access unit n is specified by

           tr( n ) = tr,n( n )                                                                                                (C-10)


– Otherwise (low_delay_hrd_flag is equal to 1 and tr,n( n ) < taf( n )), the removal time of access unit n is specified by

           tr( n ) = tr,n( n ) + tc * Ceil( ( taf( n ) - tr,n( n ) ) ÷ tc )                                                   (C-11)

   NOTE – The latter case indicates that the size of access unit n, b(n), is so large that it prevents removal at the nominal removal
   time.


C.2         Operation of the decoded picture buffer (DPB)
The decoded picture buffer contains frame buffers. Each of the frame buffers may contain a decoded frame, a decoded
complementary field pair or a single (non-paired) decoded field that are marked as "used for reference" (reference
pictures) or are held for future output (reordered or delayed pictures). Prior to initialisation, the DPB is empty (the DPB
fullness is set to zero). The following steps of the subclauses of this subclause all happen instantaneously at tr( n ) and in
the sequence listed.

C.2.1      Decoding of gaps in frame_num and storage of "non-existing" frames
If applicable, gaps in frame_num are detected by the decoding process and the generated frames are marked and
inserted into the DPB as specified below.
Gaps in frame_num are detected by the decoding process and the generated frames are marked as specified in subclause
8.2.5.2.
After the marking of each generated frame, each picture m marked by the “sliding window” process as “unused for
reference” is removed from the DPB when it is also marked as "non-existing" or its DPB output time is less than or
equal to the CPB removal time of the current picture n; i.e., to,dpb( m ) <= tr( n ). When a frame or the last field in a frame
buffer is removed from the DPB, the DPB fullness is decremented by one. The “non-existing” generated frame is
inserted into the DPB and the DPB fullness is incremented by one.

C.2.2      Picture decoding and output
Picture n is decoded and its DPB output time to,dpb( n ) is derived by

           to,dpb( n ) = tr( n ) + tc * dpb_output_delay( n )                                                                 (C-12)


The output of the current picture is specified as follows.
– If to,dpb(n) = tr(n), the current picture is output.
   NOTE – When the current picture is a reference picture it will be stored in the DPB.

– Otherwise ( to,dpb(n) > tr(n) ), the current picture is output later and will be stored in the DPB (as specified in
  subclause C.2.4) and is output at time to,dpb(n) unless indicated not to be output by the decoding or inference of
  no_output_of_prior_pics_flag equal to 1 at a time that precedes to,dpb(n).
The output picture shall be cropped, using the cropping rectangle specified in the sequence parameter set for the
sequence.
When picture n is a picture that is output and is not the last picture of the bitstream that is output, the value of ∆to,dpb( n )
is defined as:

           ∆to,dpb( n ) = to,dpb( nn ) - to,dpb( n )                                                                          (C-13)


where nn indicates the picture that follows after picture n in output order.
The decoded picture is temporarily stored (not in the DPB).

C.2.3      Removal of pictures from the DPB before possible insertion of the current picture
The removal of pictures from the DPB before possible insertion of the current picture proceeds as follows.
– If the decoded picture is an IDR picture the following applies.


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   – All reference pictures in the DPB are marked as "unused for reference" as specified in subclause 8.2.5.1.
   – When the IDR picture is not the first IDR picture decoded and the value of PicWidthInMbs or
     FrameHeightInMbs or max_dec_frame_buffering derived from the active sequence parameter set is different
     from the value of PicWidthInMbs or FrameHeightInMbs or max_dec_frame_buffering derived from the
     sequence parameter set that was active for the preceding sequence, respectively, no_output_of_prior_pics_flag is
     inferred to be equal to 1 by the HRD, regardless of the actual value of no_output_of_prior_pics_flag.
         NOTE – Decoder implementations should try to handle frame or DPB size changes more gracefully than the HRD in
         regard to changes in PicWidthInMbs or FrameHeightInMbs.
   – When no_output_of_prior_pics_flag is equal to 1 or is inferred to be equal to 1, all frame buffers in the DPB are
     emptied without output of the pictures they contain, and DPB fullness is set to 0.
– Otherwise (the decoded picture is not an IDR picture), the following applies.
   –    If the slice header of the current picture includes memory_management_control_operation equal to 5, all
        reference pictures in the DPB are marked as "unused for reference".
   –    Otherwise (the slice header of the current picture does not include memory_management_control_operation
        equal to 5), the decoded reference picture marking process specified in subclause 8.2.5 is invoked.
All pictures m in the DPB, for which all of the following conditions are true, are removed from the DPB.
– picture m is marked as “unused for reference” or picture m is a non-reference picture. When a picture is a reference
  frame, it is considered to be marked as "unused for reference" only when both of its fields have been marked as
  "unused for reference".
– picture m is marked as "non-existing" or its DPB output time is less than or equal to the CPB removal time of the
  current picture n; i.e., to,dpb( m ) <= tr( n )
When a frame or the last field in a frame buffer is removed from the DPB, the DPB fullness is decremented by one.

C.2.4    Current decoded picture marking and storage

C.2.4.1 Marking and storage of a reference decoded picture into the DPB
When the current picture is a reference picture it is stored in the DPB as follows.
– If the current decoded picture is a second field (in decoding order) of a complementary reference field pair, and the
  first field of the pair is still in the DPB, the current decoded picture is stored in the same frame buffer as the first
  field of the pair.
– Otherwise, the current decoded picture is stored in an empty frame buffer, and the DPB fullness is incremented by
  one.

C.2.4.2 Storage of a non-reference picture into the DPB
When the current picture is a non-reference picture and current picture n has to,dpb(n) > tr(n), it is stored in the DPB as
follows.
– If the current decoded picture is a second field (in decoding order) of a complementary non-reference field pair, and
  the first field of the pair is still in the DPB, the current decoded picture is stored in the same frame buffer as the first
  field of the pair.
– Otherwise, the current decoded picture is stored in an empty frame buffer, and the DPB fullness is incremented by
  one.

C.3       Bitstream conformance
A bitstream of coded data conforming to this Recommendation | International Standard fulfils the following
requirements.
The bitstream is constructed according to the syntax, semantics, and constraints specified in this
Recommendation | International Standard outside of this Annex.
The bitstream is tested by the HRD as specified below:
For Type I bitstreams, the number of tests carried out is equal to cpb_cnt_minus1 + 1 where cpb_cnt_minus1 is either
the syntax element of hrd_parameters( ) following the vcl_hrd_parameters_present_flag or is determined by the
application by other means not specified in this Recommendation | International Standard. One test is carried out for



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each bit rate and CPB size combination specified by hrd_parameters( ) following the vcl_hrd_parameters_present_flag.
Each of these tests is conducted at the Type I conformance point shown in Figure C-1.
For Type II bitstreams there are two sets of tests. The number of tests of the first set is equal to cpb_cnt_minus1 + 1
where      cpb_cnt_minus1       is   either    the   syntax   element      of    hrd_parameters( )      following   the
vcl_hrd_parameters_present_flag or is determined by the application by other means not specified in this
Recommendation | International Standard. One test is carried out for each bit rate and CPB size combination. Each of
these tests is conducted at the Type I conformance point shown in Figure C-1. For these tests, only VCL and filler data
NAL units are counted for the input bit rate and CPB storage.
The number of tests of the second set, for Type II bitstreams, is equal to cpb_cnt_minus1 + 1 where cpb_cnt_minus1 is
either the syntax element of hrd_parameters( ) following the nal_hrd_parameters_present_flag or is determined by the
application by other means not specified in this Recommendation | International Standard. One test is carried out for
each bit rate and CPB size combination specified by hrd_parameters( ) following the nal_hrd_parameters_present_flag.
Each of these tests is conducted at the Type II conformance point shown in Figure C-1. For these tests, all NAL units
(of a Type II NAL unit stream) or all bytes (of a byte stream) are counted for the input bit rate and CPB storage.
   NOTE 1 – NAL HRD parameters established by a value of SchedSelIdx for the Type II conformance point shown in Figure C-1
   are sufficient to also establish VCL HRD conformance for the Type I conformance point shown in Figure C-1 for the same
   values of initial_cpb_removal_delay[ SchedSelIdx ], BitRate[ SchedSelIdx ], and CpbSize[ SchedSelIdx ] for the VBR case
   (cbr_flag[ SchedSelIdx ] equal to 0). This is because the data flow into the Type I conformance point is a subset of the data flow
   into the Type II conformance point and because, for the VBR case, the CPB is allowed to become empty and stay empty until the
   time a next picture is scheduled to begin to arrive. For example, when NAL HRD parameters are provided for the Type II
   conformance point that not only fall within the bounds set for NAL HRD parameters for profile conformance in item j of
   subclause A.3.1 or item i of subclause A.3.3 (depending on the profile in use) but also fall within the bounds set for VCL HRD
   parameters for profile conformance in item i of subclause A.3.1 or item h of subclause A.3.3 (depending on the profile in use),
   conformance of the VCL HRD for the Type I conformance point is also assured to fall within the bounds of item i of
   subclause A.3.1.
For conforming bitstreams, all of the following conditions shall be fulfilled for each of the tests.
– For each access unit n, with n>0, associated with a buffering period SEI message, with ∆tg,90( n ) specified by

                ∆tg,90( n ) = 90000 * ( tr,n( n ) - taf( n - 1 ) )                                                            (C-14)


   The value of initial_cpb_removal_delay[ SchedSelIdx ] shall be constrained as follows.
   – If cbr_flag[ SchedSelIdx ] is equal to 0,

                initial_cpb_removal_delay[ SchedSelIdx ] <= Ceil( ∆tg,90( n ) )                                               (C-15)

   – Otherwise (cbr_flag[ SchedSelIdx ] is equal to 1),

                Floor( ∆tg,90( n ) ) <= initial_cpb_removal_delay[ SchedSelIdx ] <= Ceil( ∆tg,90( n ) )                       (C-16)

   NOTE 2 – The exact number of bits in the CPB at the removal time of each picture may depend on which buffering period SEI
   message is selected to initialize the HRD. Encoders must take this into account to ensure that all specified constraints must be
   obeyed regardless of which buffering period SEI message is selected to initialize the HRD, as the HRD may be initialised at any
   one of the buffering period SEI messages.
– A CPB overflow is specified as the condition in which the total number of bits in the CPB is larger than the CPB
  size. The CPB shall never overflow.
– A CPB underflow is specified as the condition in which tr,n(n) is less than taf(n). When low_delay_hrd_flag is equal
  to 0, the CPB shall never underflow.
– The nominal removal times of pictures from the CPB (starting from the second picture in decoding order), shall
  satisfy the constraints on tr,n(n) and tr(n) expressed in subclauses A.3.1 through A.3.3 for the profile and level
  specified in the bitstream.
– Immediately after any decoded picture is added to the DPB, the fullness of the DPB shall be less than or equal to the
  DPB size as constrained by Annexes A, D, and E for the profile and level specified in the bitstream.
– All reference pictures shall be present in the DPB when needed for prediction. Each picture shall be present in the
  DPB at its DPB output time unless it is not stored in the DPB at all, or is removed from the DPB before its output
  time by one of the processes specified in subclause C.2.




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– The value of ∆to,dpb(n) as given by Equation C-13, which is the difference between the output time of a picture and
  that of the picture immediately following it in output order, shall satisfy the constraint expressed in subclause A.3.1
  for the profile and level specified in the bitstream.

C.4       Decoder conformance
A decoder conforming to this Recommendation | International Standard fulfils the following requirements.
A decoder claiming conformance to a specific profile and level shall be able to decode successfully all conforming
bitstreams specified for decoder conformance in subclause C.3, provided that all sequence parameter sets and picture
parameters sets referred to in the VCL NAL units, and appropriate buffering period and picture timing SEI messages are
conveyed to the decoder, in a timely manner, either in the bitstream (by non-VCL NAL units), or by external means not
specified by this Recommendation | International Standard.
There are two types of conformance that can be claimed by a decoder: output timing conformance and output order
conformance.
To check conformance of a decoder, test bitstreams conforming to the claimed profile and level, as specified by
subclause C.3 are delivered by a hypothetical stream scheduler (HSS) both to the HRD and to the decoder under test
(DUT). All pictures output by the HRD shall also be output by the DUT and, for each picture output by the HRD, the
values of all samples that are output by the DUT for the corresponding picture shall be equal to the values of the
samples output by the HRD.
For output timing decoder conformance, the HSS operates as described above, with delivery schedules selected only
from the subset of values of SchedSelIdx for which the bit rate and CPB size are restricted as specified in Annex A for
the specified profile and level, or with "interpolated" delivery schedules as specified below for which the bit rate and
CPB size are restricted as specified in Annex A. The same delivery schedule is used for both the HRD and DUT.
When the HRD parameters and the buffering period SEI messages are present with cpb_cnt_minus1 greater than 0, the
decoder shall be capable of decoding the bitstream as delivered from the HSS operating using an "interpolated" delivery
schedule specified as having peak bit rate r, CPB size c( r ), and initial CPB removal delay ( f( r ) ÷ r ) as follows

         α = ( r - BitRate[ SchedSelIdx - 1 ] ) ÷ ( BitRate[ SchedSelIdx ] – BitRate[ SchedSelIdx - 1 ] ),                 (C-17)


         c( r ) = α * CpbSize[ SchedSelIdx ] + (1 – α) * CpbSize[ SchedSelIdx-1 ],                                         (C-18)


         f( r ) = α ∗ initial_cpb_removal_delay[ SchedSelIdx ] * BitRate[ SchedSelIdx ] +
                     ( 1 – α ) ∗ initial_cpb_removal_delay[ SchedSelIdx - 1 ] * BitRate[ SchedSelIdx - 1 ]                 (C-19)


for any SchedSelIdx > 0 and r such that BitRate[ SchedSelIdx - 1 ] <= r <= BitRate[ SchedSelIdx ] such that r and c( r )
are within the limits as specified in Annex A for the maximum bit rate and buffer size for the specified profile and level.
   NOTE 1 – initial_cpb_removal_delay[ SchedSelIdx ] can be different from one buffering period to another and have to be re-
   calculated.
For output timing decoder conformance, an HRD as described above is used and the timing (relative to the delivery
time of the first bit) of picture output is the same for both HRD and the DUT up to a fixed delay.
For output order decoder conformance, the HSS delivers the bitstream to the DUT "by demand" from the DUT,
meaning that the HSS delivers bits (in decoding order) only when the DUT requires more bits to proceed with its
processing.
   NOTE 2 – This means that for this test, the coded picture buffer of the DUT could be as small as the size of the largest access
   unit.
A modified HRD as described below is used, and the HSS delivers the bitstream to the HRD by one of the schedules
specified in the bitstream such that the bit rate and CPB size are restricted as specified in Annex A. The order of
pictures output shall be the same for both HRD and the DUT.
For output order decoder conformance, the HRD CPB size is equal to CpbSize[ SchedSelIdx ] for the selected schedule
and the DPB size is equal to MaxDpbSize. Removal time from the CPB for the HRD is equal to final bit arrival time
and decoding is immediate. The operation of the DPB of this HRD is described below.




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C.4.1     Operation of the output order DPB
The decoded picture buffer contains frame buffers. Each of the frame buffers may contain a decoded frame, a decoded
complementary field pair or a single (non-paired) decoded field that is marked as "used for reference" or is held for
future output (reordered pictures). At HRD initialization, the DPB fullness, measured in frames, is set to 0. The
following steps all happen instantaneously when an access unit is removed from the CPB, and in the order listed.

C.4.2     Decoding of gaps in frame_num and storage of "non-existing" pictures
When applicable, gaps in frame_num are detected by the decoding process and the necessary number of "non-existing"
frames are inferred in the order specified by the generation of values of UnusedShortTermFrameNum in Equation 7-21
and are marked as specified in subclause 8.2.5.2. Frame buffers containing a frame or a complementary field pair or a
non-paired field which are marked as "not needed for output" and "unused for reference" are emptied (without output),
and the DPB fullness is decremented by the number of frame buffers emptied. Each "non-existing" frame is stored in
the DPB as follows.
          –       When there is no empty frame buffer (i.e., DPB fullness is equal to DPB size), the "bumping" process
                  specified in subclause C.4.5.3 is invoked repeatedly until there is an empty frame buffer in which to store
                  the "non-existing" frame.
          –       The "non-existing" frame is stored in an empty frame buffer and is marked as "not needed for output",
                  and the DPB fullness is incremented by one.

C.4.3     Picture decoding
Primary coded picture n is decoded and is temporarily stored (not in the DPB).

C.4.4     Removal of pictures from the DPB before possible insertion of the current picture
The removal of pictures from the DPB before possible insertion of the current picture proceeds as follows.
– If the decoded picture is an IDR picture the following applies.
   – All reference pictures in the DPB are marked as "unused for reference" as specified in subclause 8.2.5.
   – When the IDR picture is not the first IDR picture decoded and the value of PicWidthInMbs or
     FrameHeightInMbs or max_dec_frame_buffering derived from the active sequence parameter set is different
     from the value of PicWidthInMbs or FrameHeightInMbs or max_dec_frame_buffering derived from the
     sequence parameter set that was active for the preceding sequence, respectively, no_output_of_prior_pics_flag is
     inferred to be equal to 1 by the HRD, regardless of the actual value of no_output_of_prior_pics_flag.
          NOTE – Decoder implementations should try to handle changes in the value of PicWidthInMbs or FrameHeightInMbs or
          max_dec_frame_buffering more gracefully than the HRD.
   – When no_output_of_prior_pics_flag is equal to 1 or is inferred to be equal to 1, all frame buffers in the DPB are
     emptied without output of the pictures they contain, and DPB fullness is set to 0.
– Otherwise (the decoded picture is not an IDR picture), the decoded reference picture marking process is invoked as
  specified in subclause 8.2.5. Frame buffers containing a frame or a complementary field pair or a non-paired field
  which are marked as "not needed for output" and "unused for reference" are emptied (without output), and the DPB
  fullness is decremented by the number of frame buffers emptied.
When the current picture has a memory_management_control_operation equal to 5 or is an IDR picture for which
no_output_of_prior_pics_flag is not equal to 1 and is not inferred to be equal to 1, the following two steps are
performed.
          1.     Frame buffers containing a frame or a complementary field pair or a non-paired field which are marked as
                 "not needed for output" and "unused for reference" are emptied (without output), and the DPB fullness is
                 decremented by the number of frame buffers emptied.
          2.     All non-empty frame buffers in the DPB are emptied by repeatedly invoking the “bumping” process
                 specified in subclause C.4.5.3, and the DPB fullness is set to 0.

C.4.5     Current decoded picture marking and storage

C.4.5.1 Storage and marking of a reference decoded picture into the DPB
When the current picture is a reference picture, it is stored in the DPB as follows.
      –   If the current decoded picture is the second field (in decoding order) of a complementary reference field pair,
          and the first field of the pair is still in the DPB, the current picture is stored in the same frame buffer as the
          first field of the pair and is marked as "needed for output".



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    –    Otherwise, the following operations are performed:
         –    When there is no empty frame buffer (i.e., DPB fullness is equal to DPB size), the "bumping" process
              specified in subclause C.4.5.3 is invoked repeatedly until there is an empty frame buffer in which to store
              the current decoded picture.
         –    The current decoded picture is stored in an empty frame buffer and is marked as "needed for output", and
              the DPB fullness is incremented by one.

C.4.5.2 Storage and marking of a non-reference decoded picture into the DPB
When the current picture is a non-reference picture, the following operations are performed.
–   If the current decoded picture is the second field (in decoding order) of a complementary non-reference field pair
    and the first field of the pair is still in the DPB, the current picture is stored in the same frame buffer as the first
    field of the pair and is marked as "needed for output".
–   Otherwise, the following operations are performed repeatedly until the current decoded picture has been cropped
    and output or has been stored in the DPB:
         –    If there is no empty frame buffer (i.e., DPB fullness is equal to DPB size), the following applies.
              –    If the current picture does not have a lower value of PicOrderCnt( ) than all pictures in the DPB that
                   are marked as "needed for output", the "bumping" process described in subclause C.4.5.3 is
                   performed.
              –    Otherwise (the current picture has a lower value of PicOrderCnt( ) than all pictures in the DPB that
                   are marked as "needed for output"), the current picture is cropped, using the cropping rectangle
                   specified in the sequence parameter set for the sequence and the cropped picture is output.
         –    Otherwise (there is an empty frame buffer, i.e., DPB fullness is less than DPB size) the current decoded
              picture is stored in an empty frame buffer and is marked as "needed for output", and the DPB fullness is
              incremented by one.

C.4.5.3 "Bumping" process
The "bumping" process is invoked in the following cases.
–   There is no empty frame buffer (i.e., DPB fullness is equal to DPB size) and a empty frame buffer is needed for
    storage of an inferred "non-existing" frame, as specified in subclause C.4.2.
–   The current picture is an IDR picture and no_output_of_prior_pics_flag is not equal to 1 and is not inferred to be
    equal to 1, as specified in subclause C.4.4.
–   The current picture has memory_management_control_operation equal to 5, as specified in subclause C.4.4.
–   There is no empty frame buffer (i.e., DPB fullness is equal to DPB size) and an empty frame buffer is needed for
    storage of a decoded (non-IDR) reference picture, as specified in subclause C.4.5.1.
–   There is no empty frame buffer (i.e., DPB fullness is equal to DPB size) and the current picture is a non-reference
    picture that is not the second field of a complementary non-reference field pair and there are pictures in the DPB
    that are marked as "needed for output" that precede the current non-reference picture in output order, as specified
    in subclause C.4.5.2, so an empty buffer is needed for storage of the current picture.
The "bumping" process consists of the following:
–   The picture or complementary reference field pair that is first for output is selected as follows.
    –    The frame buffer is selected that contains the picture having the smallest value of PicOrderCnt( ) of all
         pictures in the DPB marked as "needed for output".
    –    If this frame buffer contains a complementary non-reference field pair with both fields marked as "needed for
         output" and both fields have the same PicOrderCnt( ), the first of these two fields in decoding order is
         considered first for output.
    –    Otherwise, if this frame buffer contains a complementary reference field pair with both fields marked as
         "needed for output" and both fields have the same PicOrderCnt( ), the entire complementary reference field
         pair is considered first for output.
    –    Otherwise, the picture in this frame buffer that has the smallest value of PicOrderCnt( ) is considered first for
         output.
–   If a single picture is considered first for output, this picture is cropped, using the cropping rectangle specified in the
    sequence parameter set for the sequence, the cropped picture is output, and the picture is marked as "not needed for
    output".



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–     Otherwise (a complementary reference field pair is considered first for output), the two fields of the
      complementary reference field pair are both cropped, using the cropping rectangle specified in the sequence
      parameter set for the sequence, the two fields of the complementary reference field pair are output together, and
      both fields of the complementary reference field pair are marked as "not needed for output".
–     The frame buffer that included the picture or complementary reference field pair that was cropped and output is
      checked, and when any of the following conditions is satisfied, the frame buffer is emptied and the DPB fullness is
      decremented by 1.
      –   The frame buffer contains a non-reference non-paired field.
      –   The frame buffer contains a non-reference frame.
      –   The frame buffer contains a complementary non-reference field pair with both fields marked as "not needed
          for output".
      –   The frame buffer contains a non-paired reference field marked as "unused for reference".
      –   The frame buffer contains a reference frame with both fields marked as "unused for reference".
      –   The frame buffer contains a complementary reference field pair with both fields marked as "unused for
          reference" and "not needed for output".




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                                                 Annex D
                                     Supplemental enhancement information
                  (This annex forms an integral part of this Recommendation | International Standard)
This annex specifies syntax and semantics for SEI message payloads.
SEI messages assist in processes related to decoding, display or other purposes. However, SEI messages are not
required for constructing the luma or chroma samples by the decoding process. Conforming decoders are not required to
process this information for output order conformance to this Recommendation | International Standard (see Annex C
for the specification of conformance). Some SEI message information is required to check bitstream conformance and
for output timing decoder conformance.
In Annex D, specification for presence of SEI messages are also satisfied when those messages (or some subset of
them) are conveyed to decoders (or to the HRD) by other means not specified by this Recommendation | International
Standard. When present in the bitstream, SEI messages shall obey the syntax and semantics specified in subclauses
7.3.2.3 and 7.4.2.3 and this annex. When the content of an SEI message is conveyed for the application by some means
other than presence within the bitstream, the representation of the content of the SEI message is not required to use the
same syntax specified in this annex. For the purpose of counting bits, only the appropriate bits that are actually present
in the bitstream are counted.




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D.1   SEI payload syntax

      sei_payload( payloadType, payloadSize ) {                                C   Descriptor
         if( payloadType = = 0 )
             buffering_period( payloadSize )                                   5
         else if( payloadType = = 1 )
             pic_timing( payloadSize )                                         5
         else if( payloadType = = 2 )
             pan_scan_rect( payloadSize )                                      5
         else if( payloadType = = 3 )
              filler_payload( payloadSize )                                    5
         else if( payloadType = = 4 )
              user_data_registered_itu_t_t35( payloadSize )                    5
         else if( payloadType = = 5 )
              user_data_unregistered( payloadSize )                            5
         else if( payloadType = = 6 )
              recovery_point( payloadSize )                                    5
         else if( payloadType = = 7 )
              dec_ref_pic_marking_repetition( payloadSize )                    5
         else if( payloadType = = 8 )
              spare_pic( payloadSize )                                         5
         else if( payloadType = = 9 )
              scene_info( payloadSize )                                        5
         else if( payloadType = = 10 )
              sub_seq_info( payloadSize )                                      5
         else if( payloadType = = 11 )
              sub_seq_layer_characteristics( payloadSize )                     5
         else if( payloadType = = 12 )
              sub_seq_characteristics( payloadSize )                           5
         else if( payloadType = = 13 )
              full_frame_freeze( payloadSize )                                 5
         else if( payloadType = = 14 )
              full_frame_freeze_release( payloadSize )                         5
         else if( payloadType = = 15 )
              full_frame_snapshot( payloadSize )                               5
         else if( payloadType = = 16 )
              progressive_refinement_segment_start( payloadSize )              5
         else if( payloadType = = 17 )
              progressive_refinement_segment_end( payloadSize )                5
         else if( payloadType = = 18 )
              motion_constrained_slice_group_set( payloadSize )                5
         else if( payloadType = = 19 )
             film_grain_characteristics( payloadSize )                         5
         else if( payloadType = = 20 )
             deblocking_filter_display_preference( payloadSize )               5
         else if( payloadType = = 21 )
             stereo_video_info( payloadSize )                                  5
         else
             reserved_sei_message( payloadSize )                               5


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            if( !byte_aligned( ) ) {
                bit_equal_to_one /* equal to 1 */                                        5   f(1)
                while( !byte_aligned( ) )
                   bit_equal_to_zero /* equal to 0 */                                    5   f(1)
            }
        }



D.1.1   Buffering period SEI message syntax


        buffering_period( payloadSize ) {                                                C   Descriptor
            seq_parameter_set_id                                                         5   ue(v)
            if( NalHrdBpPresentFlag ) {
                for( SchedSelIdx = 0; SchedSelIdx <= cpb_cnt_minus1; SchedSelIdx++ ) {
                    initial_cpb_removal_delay[ SchedSelIdx ]                             5   u(v)
                    initial_cpb_removal_delay_offset[ SchedSelIdx ]                      5   u(v)
                }
            }
            if( VclHrdBpPresentFlag ) {
                for( SchedSelIdx = 0; SchedSelIdx <= cpb_cnt_minus1; SchedSelIdx++ ) {
                    initial_cpb_removal_delay[ SchedSelIdx ]                             5   u(v)
                    initial_cpb_removal_delay_offset[ SchedSelIdx ]                      5   u(v)
                }
            }
        }



D.1.2   Picture timing SEI message syntax


        pic_timing( payloadSize ) {                                                      C   Descriptor
            if( CpbDpbDelaysPresentFlag ) {
                cpb_removal_delay                                                        5   u(v)
                dpb_output_delay                                                         5   u(v)
            }
            if( pic_struct_present_flag ) {
                pic_struct                                                               5   u(4)
                for( i = 0; i < NumClockTS ; i++ ) {
                    clock_timestamp_flag[ i ]                                            5   u(1)
                    if( clock_timestamp_flag[i] ) {
                        ct_type                                                          5   u(2)
                        nuit_field_based_flag                                            5   u(1)
                        counting_type                                                    5   u(5)
                        full_timestamp_flag                                              5   u(1)
                        discontinuity_flag                                               5   u(1)
                        cnt_dropped_flag                                                 5   u(1)
                        n_frames                                                         5   u(8)
                        if( full_timestamp_flag ) {
                            seconds_value /* 0..59 */                                    5   u(6)


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                             minutes_value /* 0..59 */                                  5   u(6)
                             hours_value /* 0..23 */                                    5   u(5)
                         } else {
                             seconds_flag                                               5   u(1)
                             if( seconds_flag ) {
                                 seconds_value /* range 0..59 */                        5   u(6)
                                 minutes_flag                                           5   u(1)
                                 if( minutes_flag ) {
                                     minutes_value /* 0..59 */                          5   u(6)
                                     hours_flag                                         5   u(1)
                                     if( hours_flag )
                                         hours_value /* 0..23 */                        5   u(5)
                                 }
                             }
                         }
                         if( time_offset_length > 0 )
                             time_offset                                                5   i(v)
                     }
                 }
             }
         }



D.1.3    Pan-scan rectangle SEI message syntax


         pan_scan_rect( payloadSize ) {                                                 C   Descriptor
           pan_scan_rect_id                                                             5   ue(v)
           pan_scan_rect_cancel_flag                                                    5   u(1)
           if( !pan_scan_rect_cancel_flag ) {
                 pan_scan_cnt_minus1                                                    5   ue(v)
                 for( i = 0; i <= pan_scan_cnt_minus1; i++ ) {
                    pan_scan_rect_left_offset[ i ]                                      5   se(v)
                    pan_scan_rect_right_offset[ i ]                                     5   se(v)
                    pan_scan_rect_top_offset[ i ]                                       5   se(v)
                    pan_scan_rect_bottom_offset[ i ]                                    5   se(v)
                 }
                 pan_scan_rect_repetition_period                                        5   ue(v)
             }
         }



D.1.4    Filler payload SEI message syntax


        filler_payload( payloadSize ) {                                                 C   Descriptor
            for( k = 0; k < payloadSize; k++)
               ff_byte /* equal to 0xFF */                                              5   f(8)
        }




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D.1.5       User data registered by ITU-T Rec. T.35 SEI message syntax


        user_data_registered_itu_t_t35( payloadSize ) {                                   C      Descriptor
          itu_t_t35_country_code                                                          5      b(8)
          if( itu_t_t35_country_code != 0xFF )
              i=1
          else {
              itu_t_t35_country_code_extension_byte                                         5    b(8)
              i=2
          }
          do {
              itu_t_t35_payload_byte                                                        5    b(8)
              i++
          } while( i < payloadSize )
        }



D.1.6       User data unregistered SEI message syntax


        user_data_unregistered( payloadSize ) {                                           C      Descriptor
                uuid_iso_iec_11578                                                          5    u(128)
                for( i = 16; i < payloadSize; i++ )
                   user_data_payload_byte                                                   5    b(8)
        }



D.1.7       Recovery point SEI message syntax


            recovery_point( payloadSize ) {                                              C       Descriptor
               recovery_frame_cnt                                                        5       ue(v)
               exact_match_flag                                                          5       u(1)
               broken_link_flag                                                          5       u(1)
               changing_slice_group_idc                                                  5       u(2)
            }



D.1.8       Decoded reference picture marking repetition SEI message syntax


            dec_ref_pic_marking_repetition( payloadSize ) {                             C       Descriptor
              original_idr_flag                                                         5       u(1)
              original_frame_num                                                        5       ue(v)
              if( !frame_mbs_only_flag ) {
                    original_field_pic_flag                                             5       u(1)
                    if( original_field_pic_flag )
                       original_bottom_field_flag                                       5       u(1)
                 }
                 dec_ref_pic_marking( )                                                 5
            }




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D.1.9   Spare picture SEI message syntax


        spare_pic( payloadSize ) {                                              C    Descriptor
          target_frame_num                                                      5    ue(v)
          spare_field_flag                                                      5    u(1)
          if( spare_field_flag )
              target_bottom_field_flag                                           5   u(1)
          num_spare_pics_minus1                                                  5   ue(v)
          for( i = 0; i < num_spare_pics_minus1 + 1; i++ ) {
              delta_spare_frame_num[ i ]                                         5   ue(v)
              if( spare_field_flag )
                  spare_bottom_field_flag[ i ]                                   5   u(1)
              spare_area_idc[ i ]                                                5   ue(v)
              if( spare_area_idc[ i ] = = 1 )
                  for( j = 0; j < PicSizeInMapUnits; j++ )
                     spare_unit_flag[ i ][ j ]                                   5   u(1)
              else if( spare_area_idc[ i ] = = 2 ) {
                  mapUnitCnt = 0
                  for( j=0; mapUnitCnt < PicSizeInMapUnits; j++ ) {
                     zero_run_length[ i ][ j ]                                   5   ue(v)
                     mapUnitCnt += zero_run_length[ i ][ j ] + 1
                  }
              }
          }
        }



D.1.10 Scene information SEI message syntax


        scene_info( payloadSize ) {                                              C    Descriptor
            scene_info_present_flag                                              5    u(1)
            if( scene_info_present_flag ) {
                scene_id                                                         5    ue(v)
                scene_transition_type                                            5    ue(v)
                if( scene_transition_type > 3 )
                  second_scene_id                                                5    ue(v)
            }
        }




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D.1.11 Sub-sequence information SEI message syntax


        sub_seq_info( payloadSize ) {                                                   C     Descriptor
          sub_seq_layer_num                                                             5     ue(v)
          sub_seq_id                                                                    5     ue(v)
          first_ref_pic_flag                                                            5     u(1)
          leading_non_ref_pic_flag                                                      5     u(1)
          last_pic_flag                                                                 5     u(1)
          sub_seq_frame_num_flag                                                        5     u(1)
          if( sub_seq_frame_num_flag )
                sub_seq_frame_num                                                       5     ue(v)
        }



D.1.12 Sub-sequence layer characteristics SEI message syntax


        sub_seq_layer_characteristics( payloadSize ) {                                   C     Descriptor
            num_sub_seq_layers_minus1                                                     5    ue(v)
            for( layer = 0; layer <= num_sub_seq_layers_minus1; layer++ ) {
                accurate_statistics_flag                                                  5    u(1)
                average_bit_rate                                                          5    u(16)
                average_frame_rate                                                        5    u(16)
            }
        }



D.1.13 Sub-sequence characteristics SEI message syntax


        sub_seq_characteristics( payloadSize ) {                                         C     Descriptor
          sub_seq_layer_num                                                              5     ue(v)
          sub_seq_id                                                                     5     ue(v)
          duration_flag                                                                  5     u(1)
          if( duration_flag)
                sub_seq_duration                                                          5    u(32)
            average_rate_flag                                                             5    u(1)
            if( average_rate_flag ) {
                accurate_statistics_flag                                                  5    u(1)
                average_bit_rate                                                          5    u(16)
                average_frame_rate                                                        5    u(16)
            }
            num_referenced_subseqs                                                        5    ue(v)
            for( n = 0; n < num_referenced_subseqs; n++ ) {
                ref_sub_seq_layer_num                                                     5    ue(v)
                ref_sub_seq_id                                                            5    ue(v)
                ref_sub_seq_direction                                                     5    u(1)
            }
        }




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D.1.14 Full-frame freeze SEI message syntax


        full_frame_freeze( payloadSize ) {                                       C   Descriptor
            full_frame_freeze_repetition_period                                  5   ue(v)
        }



D.1.15 Full-frame freeze release SEI message syntax


        full_frame_freeze_release( payloadSize ) {                               C   Descriptor
        }



D.1.16 Full-frame snapshot SEI message syntax


        full_frame_snapshot( payloadSize ) {                                     C   Descriptor
           snapshot_id                                                           5   ue(v)
        }



D.1.17 Progressive refinement segment start SEI message syntax


        progressive_refinement_segment_start( payloadSize ) {                    C   Descriptor
            progressive_refinement_id                                            5   ue(v)
            num_refinement_steps_minus1                                          5   ue(v)
        }



D.1.18 Progressive refinement segment end SEI message syntax


        progressive_refinement_segment_end( payloadSize ) {                      C   Descriptor
            progressive_refinement_id                                            5   ue(v)
        }



D.1.19 Motion-constrained slice group set SEI message syntax


        motion_constrained_slice_group_set( payloadSize ) {                      C   Descriptor
          num_slice_groups_in_set_minus1                                         5   ue(v)
          for( i = 0; i <= num_slice_groups_in_set_minus1; i++)
             slice_group_id[ i ]                                                 5   u(v)
            exact_sample_value_match_flag                                        5   u(1)
            pan_scan_rect_flag                                                   5   u(1)
            if( pan_scan_rect_flag )
              pan_scan_rect_id                                                   5   ue(v)
        }




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D.1.20 Film grain characteristics SEI message syntax


        film_grain_characteristics( payloadSize ) {                                                C   Descriptor
           film_grain_characteristics_cancel_flag                                                  5   u(1)
           if( !film_grain_characteristics_cancel_flag ) {
               model_id                                                                            5   u(2)
               separate_colour_description_present_flag                                            5   u(1)
               if( separate_colour_description_present_flag ) {
                   film_grain_bit_depth_luma_minus8                                                5   u(3)
                   film_grain_bit_depth_chroma_minus8                                              5   u(3)
                   film_grain_full_range_flag                                                      5   u(1)
                   film_grain_colour_primaries                                                     5   u(8)
                   film_grain_transfer_characteristics                                             5   u(8)
                   film_grain_matrix_coefficients                                                  5   u(8)
               }
               blending_mode_id                                                                    5   u(2)
               log2_scale_factor                                                                   5   u(4)
               for( c = 0; c < 3; c++ )
                   comp_model_present_flag[ c ]                                                    5   u(1)
               for( c = 0; c < 3; c++ )
                   if( comp_model_present_flag[ c ] ) {
                       num_intensity_intervals_minus1[ c ]                                         5   u(8)
                       num_model_values_minus1[ c ]                                                5   u(3)
                       for( i = 0; i <= num_intensity_intervals_minus1[ c ]; i++ ) {
                          intensity_interval_lower_bound[ c ][ i ]                                 5   u(8)
                          intensity_interval_upper_bound[ c ][ i ]                                 5   u(8)
                          for( j = 0; j <= num_model_values_minus1[ c ]; j++ )
                              comp_model_value[ c ][ i ][ j ]                                      5   se(v)
                       }
                   }
               film_grain_characteristics_repetition_period                                        5   ue(v)
           }
        }



D.1.21 Deblocking filter display preference SEI message syntax


        deblocking_filter_display_preference( payloadSize ) {                                      C   Descriptor
            deblocking_display_preference_cancel_flag                                              5   u(1)
            if( !deblocking_display_preference_cancel_flag ) {
                display_prior_to_deblocking_preferred_flag                                         5   u(1)
                dec_frame_buffering_constraint_flag                                                5   u(1)
                deblocking_display_preference_repetition_period                                    5   ue(v)
            }
        }




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D.1.22 Stereo video information SEI message syntax


         stereo_video_info( payloadSize ) {                                                        C     Descriptor
             field_views_flag                                                                       5    u(1)
             if( field_views_flag )
                 top_field_is_left_view_flag                                                        5    u(1)
             else {
                 current_frame_is_left_view_flag                                                    5    u(1)
                 next_frame_is_second_view_flag                                                     5    u(1)
             }
             left_view_self_contained_flag                                                          5    u(1)
             right_view_self_contained_flag                                                         5    u(1)
         }



D.1.23 Reserved SEI message syntax


        reserved_sei_message( payloadSize ) {                                                       C        Descriptor
           for( i = 0; i < payloadSize; i++ )
              reserved_sei_message_payload_byte                                                     5        b(8)
        }



D.2      SEI payload semantics
D.2.1    Buffering period SEI message semantics
When NalHrdBpPresentFlag or VclHrdBpPresentFlag are equal to 1, a buffering period SEI message can be associated
with any access unit in the bitstream, and a buffering period SEI message shall be associated with each IDR access unit
and with each access unit associated with a recovery point SEI message.
   NOTE – For some applications, the frequent presence of a buffering period SEI message may be desirable.
A buffering period is specified as the set of access units between two instances of the buffering period SEI message in
decoding order.
seq_parameter_set_id specifies the sequence parameter set that contains the sequence HRD attributes. The value of
seq_parameter_set_id shall be equal to the value of seq_parameter_set_id in the picture parameter set referenced by the
primary coded picture associated with the buffering period SEI message. The value of seq_parameter_set_id shall be in
the range of 0 to 31, inclusive.
initial_cpb_removal_delay[ SchedSelIdx ] specifies the delay for the SchedSelIdx-th CPB between the time of arrival
in the CPB of the first bit of the coded data associated with the access unit associated with the buffering period SEI
message and the time of removal from the CPB of the coded data associated with the same access unit, for the first
buffering period after HRD initialisation. The syntax element has a length in bits given by
initial_cpb_removal_delay_length_minus1 + 1.        It     is    in     units     of      a     90      kHz      clock.
initial_cpb_removal_delay[ SchedSelIdx ] shall not be equal to 0 and shall not exceed 90000 *
( CpbSize[ SchedSelIdx ] ÷ BitRate[ SchedSelIdx ] ), the time-equivalent of the CPB size in 90 kHz clock units.
initial_cpb_removal_delay_offset[ SchedSelIdx ] is used for the SchedSelIdx-th CPB in combination with the
cpb_removal_delay to specify the initial delivery time of coded access units to the CPB.
initial_cpb_removal_delay_offset[ SchedSelIdx ]     is    in     units     of     a    90     kHz      clock.     The
initial_cpb_removal_delay_offset[ SchedSelIdx ] syntax element is a fixed length code whose length in bits is given by
initial_cpb_removal_delay_length_minus1 + 1. This syntax element is not used by decoders and is needed only for the
delivery scheduler (HSS) specified in Annex C.
Over the entire coded video sequence, the sum of initial_cpb_removal_delay[ SchedSelIdx ]                                 and
initial_cpb_removal_delay_offset[ SchedSelIdx ] shall be constant for each value of SchedSelIdx.



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D.2.2    Picture timing SEI message semantics
The presence of picture timing SEI message in the bitstream is specified as follows.
–    If CpbDpbDelaysPresentFlag is equal to 1 or pic_struct_present_flag is equal to 1, one picture timing SEI message
     shall be present in every access unit of the coded video sequence.
–    Otherwise (CpbDpbDelaysPresentFlag is equal to 0 and pic_struct_present_flag is equal to 0), no picture timing
     SEI messages shall be present in any access unit of the coded video sequence.
cpb_removal_delay specifies how many clock ticks (see subclause E.2.1) to wait after removal from the CPB of the
access unit associated with the most recent buffering period SEI message before removing from the buffer the access
unit data associated with the picture timing SEI message. This value is also used to calculate an earliest possible time of
arrival of access unit data into the CPB for the HSS, as specified in Annex C. The syntax element is a fixed length code
whose length in bits is given by cpb_removal_delay_length_minus1 + 1. The cpb_removal_delay is the remainder of a
2(cpb_removal_delay_length_minus1 + 1) counter.
The value of cpb_removal_delay for the first picture in the bitstream shall be equal to 0.
dpb_output_delay is used to compute the DPB output time of the picture. It specifies how many clock ticks to wait
after removal of an access unit from the CPB before the decoded picture can be output from the DPB (see
subclause C.2).
    NOTE 1 – A picture is not removed from the DPB at its output time when it is still marked as "used for short-term reference" or
    "used for long-term reference".
    NOTE 2 – Only one dpb_output_delay is specified for a decoded picture.
The size of the syntax element dpb_output_delay is given in bits by dpb_output_delay_length_minus1 + 1. When
max_dec_frame_buffering is equal to 0, dpb_output_delay shall be equal to 0.
The output time derived from the dpb_output_delay of any picture that is output from an output timing conforming
decoder as specified in subclause C.2 shall precede the output time derived from the dpb_output_delay of all pictures in
any subsequent coded video sequence in decoding order.
The output time derived from the dpb_output_delay of the second field, in decoding order, of a complementary non-
reference field pair shall exceed the output time derived from the dpb_output_delay of the first field of the same
complementary non-reference field pair.
The picture output order established by the values of this syntax element shall be the same order as established by the
values of PicOrderCnt( ) as specified by subclauses C.4.1 to C.4.5, except that when the two fields of a complementary
reference field pair have the same value of PicOrderCnt( ), the two fields have different output times.
For pictures that are not output by the "bumping" process of subclause C.4.5 because they precede, in decoding order,
an IDR picture with no_output_of_prior_pics_flag equal to 1 or inferred to be equal to 1, the output times derived from
dpb_output_delay shall be increasing with increasing value of PicOrderCnt( ) relative to all pictures within the same
coded video sequence subsequent to any picture having a memory_management_control_operation equal to 5.
pic_struct indicates whether a picture should be displayed as a frame or one or more fields, according to Table D-1.
Frame doubling (pic_struct equal to 7) indicates that the frame should be displayed two times consecutively, and frame
tripling (pic_struct equal to 8) indicates that the frame should be displayed three times consecutively.
    NOTE 3 – Frame doubling can facilitate the display, for example, of 25p video on a 50p display and 29.97p video on a 59.94p
    display. Using frame doubling and frame tripling in combination on every other frame can facilitate the display of 23.98p video
    on a 59.94p display.




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                                        Table D-1 – Interpretation of pic_struct

   Value                    Indicated display of picture           Restrictions                           NumClockTS
   0                   frame                                       field_pic_flag shall be 0                     1
   1                   top field                                   field_pic_flag shall be 1,                    1
                                                                   bottom_field_flag shall be 0
   2                   bottom field                                field_pic_flag shall be 1,                    1
                                                                   bottom_field_flag shall be 1
   3                   top field, bottom field, in that order      field_pic_flag shall be 0                     2
   4                   bottom field, top field, in that order      field_pic_flag shall be 0                     2
   5                   top field, bottom field, top field          field_pic_flag shall be 0                     3
                       repeated, in that order
   6                   bottom field, top field, bottom field field_pic_flag shall be 0                           3
                       repeated, in that order
   7                   frame doubling                              field_pic_flag shall be 0                     2
                                                                   fixed_frame_rate_flag shall be 1
   8                   frame tripling                              field_pic_flag shall be 0                     3
                                                                   fixed_frame_rate_flag shall be 1
   9..15               reserved


NumClockTS is determined by pic_struct as specified in Table D-1. There are up to NumClockTS sets of clock
timestamp information for a picture, as specified by clock_timestamp_flag[ i ] for each set. The sets of clock timestamp
information apply to the field(s) or the frame(s) associated with the picture by pic_struct.
The contents of the clock timestamp syntax elements indicate a time of origin, capture, or alternative ideal display. This
indicated time is computed as

       clockTimestamp = ( ( hH * 60 + mM ) * 60 + sS ) * time_scale +
                            nFrames * ( num_units_in_tick * ( 1 + nuit_field_based_flag ) ) + tOffset,                  (D-1)


in units of clock ticks of a clock with clock frequency equal to time_scale Hz, relative to some unspecified point in time
for which clockTimestamp is equal to 0. Output order and DPB output timing are not affected by the value of
clockTimestamp. When two or more frames with pic_struct equal to 0 are consecutive in output order and have equal
values of clockTimestamp, the indication is that the frames represent the same content and that the last such frame in
output order is the preferred representation.
   NOTE 4 – clockTimestamp time indications may aid display on devices with refresh rates other than those well-matched to DPB
   output times.
clock_timestamp_flag[ i ] equal to 1 indicates that a number of clock timestamp syntax elements are present and
follow immediately. clock_timestamp_flag[ i ] equal to 0 indicates that the associated clock timestamp syntax elements
are not present. When NumClockTS is greater than 1 and clock_timestamp_flag[ i ] is equal to 1 for more than one
value of i, the value of clockTimestamp shall be non-decreasing with increasing value of i.
ct_type indicates the scan type (interlaced or progressive) of the source material as specified in Table D-2.
Two fields of a coded frame may have different values of ct_type.
When clockTimestamp is equal for two fields of opposite parity that are consecutive in output order, both with ct_type
equal to 0 (progressive) or ct_type equal to 2 (unknown), the two fields are indicated to have come from the same
original progressive frame. Two consecutive fields in output order shall have different values of clockTimestamp when
the value of ct_type for either field is 1 (interlaced).




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                                Table D-2 – Mapping of ct_type to source picture scan

                                                              Original
                                                   Value
                                                            picture scan

                                                     0       progressive
                                                     1        interlaced
                                                     2        unknown
                                                     3        reserved


nuit_field_based_flag is used in calculating clockTimestamp, as specified in Equation D-1.
counting_type specifies the method of dropping values of the n_frames as specified in Table D-3.

                                    Table D-3 – Definition of counting_type values

                            Value                                  Interpretation

                   0                         no dropping of n_frames count values and no use of
                                             time_offset
                   1                         no dropping of n_frames count values
                   2                         dropping of individual zero values of n_frames count
                   3                         dropping of individual MaxFPS-1 values of n_frames
                                             count
                   4                         dropping of the two lowest (value 0 and 1) n_frames
                                             counts when seconds_value is equal to 0 and
                                             minutes_value is not an integer multiple of 10
                   5                         dropping of unspecified individual n_frames count
                                             values
                   6                         dropping of unspecified numbers of unspecified
                                             n_frames count values
                   7..31                     reserved


full_timestamp_flag equal to 1 specifies that the n_frames syntax element is followed by seconds_value,
minutes_value, and hours_value. full_timestamp_flag equal to 0 specifies that the n_frames syntax element is followed
by seconds_flag.
discontinuity_flag equal to 0 indicates that the difference between the current value of clockTimestamp and the value
of clockTimestamp computed from the previous clock timestamp in output order can be interpreted as the time
difference between the times of origin or capture of the associated frames or fields. discontinuity_flag equal to 1
indicates that the difference between the current value of clockTimestamp and the value of clockTimestamp computed
from the previous clock timestamp in output order should not be interpreted as the time difference between the times of
origin or capture of the associated frames or fields. When discontinuity_flag is equal to 0, the value of clockTimestamp
shall be greater than or equal to all values of clockTimestamp present for the preceding picture in DPB output order.
cnt_dropped_flag specifies the skipping of one or more values of n_frames using the counting method specified by
counting_type.
n_frames specifies the value of nFrames used to compute clockTimestamp. n_frames shall be less than

       MaxFPS = Ceil( time_scale ÷ num_units_in_tick )                                                                  (D-2)

   NOTE 5 – n_frames is a frame-based counter. For field-specific timing indications, time_offset should be used to indicate a
   distinct clockTimestamp for each field.




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When counting_type is equal to 2 and cnt_dropped_flag is equal to 1, n_frames shall be equal to 1 and the value of
n_frames for the previous picture in output order shall not be equal to 0 unless discontinuity_flag is equal to 1.
   NOTE 6 – When counting_type is equal to 2, the need for increasingly large magnitudes of tOffset in Equation D-1 when using
   fixed non-integer frame rates (e.g., 12.5 frames per second with time_scale equal to 25 and num_units_in_tick equal to 2 and
   nuit_field_based_flag equal to 0) can be avoided by occasionally skipping over the value n_frames equal to 0 when counting
   (e.g., counting n_frames from 0 to 12, then incrementing seconds_value and counting n_frames from 1 to 12, then incrementing
   seconds_value and counting n_frames from 0 to 12, etc.).
When counting_type is equal to 3 and cnt_dropped_flag is equal to 1, n_frames shall be equal to 0 and the value of
n_frames for the previous picture in output order shall not be equal to MaxFPS – 1 unless discontinuity_flag is equal
to 1.
   NOTE 7 – When counting_type is equal to 3, the need for increasingly large magnitudes of tOffset in Equation D-1 when using
   fixed non-integer frame rates (e.g., 12.5 frames per second with time_scale equal to 25 and num_units_in_tick equal to 2 and
   nuit_field_based_flag equal to 0) can be avoided by occasionally skipping over the value n_frames equal to MaxFPS when
   counting (e.g., counting n_frames from 0 to 12, then incrementing seconds_value and counting n_frames from 0 to 11, then
   incrementing seconds_value and counting n_frames from 0 to 12, etc.).
When counting_type is equal to 4 and cnt_dropped_flag is equal to 1, n_frames shall be equal to 2 and the specified
value of sS shall be zero and the specified value of mM shall not be an integer multiple of ten and n_frames for the
previous picture in output order shall not be equal to 0 or 1 unless discontinuity_flag is equal to 1.
   NOTE 8 – When counting_type is equal to 4, the need for increasingly large magnitudes of tOffset in Equation D-1 when using
   fixed non-integer frame rates (e.g., 30000÷1001 frames per second with time_scale equal to 60000 and num_units_in_tick equal
   to 1 001 and nuit_field_based_flag equal to 1) can be reduced by occasionally skipping over the value n_frames equal to
   MaxFPS when counting (e.g., counting n_frames from 0 to 29, then incrementing seconds_value and counting n_frames from 0
   to 29, etc., until the seconds_value is zero and minutes_value is not an integer multiple of ten, then counting n_frames from 2
   to 29, then incrementing seconds_value and counting n_frames from 0 to 29, etc.). This counting method is well known in
   industry and is often referred to as "NTSC drop-frame" counting.
When counting_type is equal to 5 or 6 and cnt_dropped_flag is equal to 1, n_frames shall not be equal to 1 plus the
value of n_frames for the previous picture in output order modulo MaxFPS unless discontinuity_flag is equal to 1.
   NOTE 9 – When counting_type is equal to 5 or 6, the need for increasingly large magnitudes of tOffset in Equation D-1 when
   using fixed non-integer frame rates can be avoided by occasionally skipping over some values of n_frames when counting. The
   specific values of n_frames that are skipped are not specified when counting_type is equal to 5 or 6.
seconds_flag equal to 1 specifies that seconds_value and minutes_flag are present when full_timestamp_flag is equal
to 0. seconds_flag equal to 0 specifies that seconds_value and minutes_flag are not present.
seconds_value specifies the value of sS used to compute clockTimestamp. The value of seconds_value shall be in the
range of 0 to 59, inclusive. When seconds_value is not present, the previous seconds_value in decoding order shall be
used as sS to compute clockTimestamp.
minutes_flag equal to 1 specifies that minutes_value and hours_flag are present when full_timestamp_flag is equal to 0
and seconds_flag is equal to 1. minutes_flag equal to 0 specifies that minutes_value and hours_flag are not present.
minutes_value specifies the value of mM used to compute clockTimestamp. The value of minutes_value shall be in the
range of 0 to 59, inclusive. When minutes_value is not present, the previous minutes_value in decoding order shall be
used as mM to compute clockTimestamp.
hours_flag equal to 1 specifies that hours_value is present when full_timestamp_flag is equal to 0 and seconds_flag is
equal to 1 and minutes_flag is equal to 1.
hours_value specifies the value of hH used to compute clockTimestamp. The value of hours_value shall be in the range
of 0 to 23, inclusive. When hours_value is not present, the previous hours_value in decoding order shall be used as hH
to compute clockTimestamp.
time_offset specifies the value of tOffset used to compute clockTimestamp. The number of bits used to represent
time_offset shall be equal to time_offset_length. When time_offset is not present, the value 0 shall be used as tOffset to
compute clockTimestamp.

D.2.3    Pan-scan rectangle SEI message semantics
The pan-scan rectangle SEI message syntax elements specify the coordinates of a rectangle relative to the cropping
rectangle of the sequence parameter set. Each coordinate of this rectangle is specified in units of one-sixteenth sample
spacing relative to the luma sampling grid.
pan_scan_rect_id contains an identifying number that may be used to identify the purpose of the pan-scan rectangle
(for example, to identify the rectangle as the area to be shown on a particular display device or as the area that contains
a particular actor in the scene). The value of pan_scan_rect_id shall be in the range of 0 to 232 – 1, inclusive.




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Values of pan_scan_rect_id from 0 to 255 and from 512 to 231-1 may be used as determined by the application. Values
of pan_scan_rect_id from 256 to 511 and from 231 to 232-1 are reserved for future use by ITU-T | ISO/IEC. Decoders
encountering a value of pan_scan_rect_id in the range of 256 to 511 or in the range of 231 to 232 - 1 shall ignore (remove
from the bitstream and discard) it.
pan_scan_rect_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous pan-scan
rectangle SEI message in output order. pan_scan_rect_cancel_flag equal to 0 indicates that pan-scan rectangle
information follows.
pan_scan_cnt_minus1 specifies the number of pan-scan rectangles that are present in the SEI message.
pan_scan_cnt_minus1 shall be in the range of 0 to 2, inclusive. pan_scan_cnt_minus1 equal to 0 indicates that a single
pan-scan rectangle is present that applies to all fields of the decoded picture. pan_scan_cnt_minus1 shall be equal to 0
when the current picture is a field. pan_scan_cnt_minus1 equal to 1 indicates that two pan-scan rectangles are present,
the first of which applies to the first field of the picture in output order and the second of which applies to the second
field of the picture in output order. pan_scan_cnt_minus1 equal to 2 indicates that three pan-scan rectangles are present,
the first of which applies to the first field of the picture in output order, the second of which applies to the second field
of the picture in output order, and the third of which applies to a repetition of the first field as a third field in output
order.
pan_scan_rect_left_offset[ i ],         pan_scan_rect_right_offset[ i ],    pan_scan_rect_top_offset[ i ],      and
pan_scan_rect_bottom_offset[ i ], specify, as signed integer quantities in units of one-sixteenth sample spacing
relative to the luma sampling grid, the location of the pan-scan rectangle. The values of each of these four syntax
elements shall be in the range of -231 to 231 - 1, inclusive.
The pan-scan rectangle is specified, in units of one-sixteenth sample spacing relative to a luma frame sampling grid, as
the     region    with     frame       horizontal     coordinates    from     16*CropUnitX * frame_crop_left_offset +
pan_scan_rect_left_offset[ i ]         to         16 * ( 16 * PicWidthInMbs – CropUnitX * frame_crop_right_offset ) +
pan_scan_rect_right_offset[ i ] – 1 and with vertical coordinates from 16 *CropUnitY * frame_crop_top_offset +
pan_scan_rect_top_offset[ i ]        to        16 * ( 16 * PicHeightInMbs – CropUnitY * frame_crop_bottom_offset ) +
pan_scan_rect_bottom_offset[ i ] – 1, inclusive. The value of 16 * CropUnitX * frame_crop_left_offset +
pan_scan_rect_left_offset[ i ]     shall    be     less     than    or    equal      to     16 * ( 16 * PicWidthInMbs –
 CropUnitX * frame_crop_right_offset ) + pan_scan_rect_right_offset[ i ] – 1;         and       the        value      of
16 CropUnitY * frame_crop_top_offset + pan_scan_rect_top_offset[ i ] shall be less than or equal to
16 * ( 16 * PicHeightInMbs – CropUnitY * frame_crop_bottom_offset ) + pan_scan_rect_bottom_offset[ i ] – 1.
When the pan-scan rectangular area includes samples outside of the cropping rectangle, the region outside of the
cropping rectangle may be filled with synthesized content (such as black video content or neutral grey video content)
for display.
pan_scan_rect_repetition_period specifies the persistence of the pan-scan rectangle SEI message and may specify a
picture order count interval within which another pan-scan rectangle SEI message with the same value of
pan_scan_rect_id or the end of the coded video sequence shall be present in the bitstream. The value of
pan_scan_rect_repetition_period shall be in the range of 0 to 16 384, inclusive. When pan_scan_cnt_minus1 is greater
than 0, pan_scan_rect_repetition_period shall not be greater than 1.
pan_scan_rect_repetition_period equal to 0 specifies that the pan-scan rectangle information applies to the current
decoded picture only.
pan_scan_rect_repetition_period equal to 1 specifies that the pan-scan rectangle information persists in output order
until any of the following conditions are true.
          –    A new coded video sequence begins
          –    A picture in an access unit containing a pan-scan rectangle SEI message with the same value of
               pan_scan_rect_id is output having PicOrderCnt( ) greater than PicOrderCnt( CurrPic ).
pan_scan_rect_repetition_period equal to 0 or equal to 1 indicates that another pan-scan rectangle SEI message with the
same value of pan_scan_rect_id may or may not be present.
pan_scan_rect_repetition_period greater than 1 specifies that the pan-scan rectangle information persists until any of the
following conditions are true.
          –    A new coded video sequence begins
          –    A picture in an access unit containing a pan-scan rectangle SEI message with the same value of
               pan_scan_rect_id is output having PicOrderCnt( ) greater than PicOrderCnt( CurrPic ) and less than or
               equal to PicOrderCnt( CurrPic ) + pan_scan_rect_repetition_period.
pan_scan_rect_repetition_period greater than 1 indicates that another pan-scan rectangle SEI message with the same
value of pan_scan_rect_id shall be present for a picture in an access unit that is output having PicOrderCnt( ) greater


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than PicOrderCnt( CurrPic ) and less than or equal to PicOrderCnt( CurrPic ) + pan_scan_rect_repetition_period; unless
the bitstream ends or a new coded video sequence begins without output of such a picture.

D.2.4    Filler payload SEI message semantics
This message contains a series of payloadSize bytes of value 0xFF, which can be discarded.
ff_byte shall be a byte having the value 0xFF.

D.2.5    User data registered by ITU-T Rec. T.35 SEI message semantics
This message contains user data registered as specified by ITU-T Rec. T.35, the contents of which are not specified by
this Recommendation | International Standard.
itu_t_t35_country_code shall be a byte having a value specified as a country code by ITU-T Rec. T.35 Annex A.
itu_t_t35_country_code_extension_byte shall be a byte having a value specified as a country code by ITU-T
Rec. T.35 Annex B.
itu_t_t35_payload_byte shall be a byte containing data registered as specified by ITU-T Rec. T.35.
The ITU-T T.35 terminal provider code and terminal provider oriented code shall be contained in the first one or more
bytes of the itu_t_t35_payload_byte, in the format specified by the Administration that issued the terminal provider
code. Any remaining itu_t_t35_payload_byte data shall be data having syntax and semantics as specified by the entity
identified by the ITU-T T.35 country code and terminal provider code.

D.2.6    User data unregistered SEI message semantics
This message contains unregistered user data identified by a UUID, the contents of which are not specified by this
Recommendation | International Standard.
uuid_iso_iec_11578 shall have a value specified as a UUID according to the procedures of ISO/IEC 11578:1996 Annex
A.
user_data_payload_byte shall be a byte containing data having syntax and semantics as specified by the UUID
generator.

D.2.7    Recovery point SEI message semantics
The recovery point SEI message assists a decoder in determining when the decoding process will produce acceptable
pictures for display after the decoder initiates random access or after the encoder indicates a broken link in the
sequence. When the decoding process is started with the access unit in decoding order associated with the recovery
point SEI message, all decoded pictures at or subsequent to the recovery point in output order specified in this SEI
message are indicated to be correct or approximately correct in content. Decoded pictures produced by random access at
or before the picture associated with the recovery point SEI message need not be correct in content until the indicated
recovery point, and the operation of the decoding process starting at the picture associated with the recovery point SEI
message may contain references to pictures not available in the decoded picture buffer.
In addition, by use of the broken_link_flag, the recovery point SEI message can indicate to the decoder the location of
some pictures in the bitstream that can result in serious visual artefacts when displayed, even when the decoding process
was begun at the location of a previous IDR access unit in decoding order.
   NOTE 1 – The broken_link_flag can be used by encoders to indicate the location of a point after which the decoding process for
   the decoding of some pictures may cause references to pictures that, though available for use in the decoding process, are not the
   pictures that were used for reference when the bitstream was originally encoded (e.g., due to a splicing operation performed
   during the generation of the bitstream).
The recovery point is specified as a count in units of frame_num increments subsequent to the frame_num of the current
access unit at the position of the SEI message.
   NOTE 2 – When HRD information is present in the bitstream, a buffering period SEI message should be associated with the
   access unit associated with the recovery point SEI message in order to establish initialisation of the HRD buffer model after a
   random access.
recovery_frame_cnt specifies the recovery point of output pictures in output order. All decoded pictures in output
order are indicated to be correct or approximately correct in content starting at the output order position of the reference
picture having the frame_num equal to the frame_num of the VCL NAL units for the current access unit incremented by
recovery_frame_cnt in modulo MaxFrameNum arithmetic. recovery_frame_cnt shall be in the range of 0 to
MaxFrameNum – 1, inclusive.
exact_match_flag indicates whether decoded pictures at and subsequent to the specified recovery point in output order
derived by starting the decoding process at the access unit associated with the recovery point SEI message shall be an


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exact match to the pictures that would be produced by starting the decoding process at the location of a previous IDR
access unit in the NAL unit stream. The value 0 indicates that the match need not be exact and the value 1 indicates that
the match shall be exact.
When decoding starts from the location of the recovery point SEI message, all references to not available reference
pictures shall be inferred as references to pictures containing only macroblocks coded using Intra macroblock prediction
modes and having sample values given by Y samples equal to 128, Cb samples equal to 128, and Cr samples equal to
128 (mid-level grey) for purposes of determining the conformance of the value of exact_match_flag.
    NOTE 3 – When performing random access, decoders should infer all references to not available reference pictures as references
    to pictures containing only intra macroblocks and having sample values given by Y equal to 128, Cb equal to 128, and Cr equal
    to 128 (mid-level grey), regardless of the value of exact_match_flag.
When exact_match_flag is equal to 0, the quality of the approximation at the recovery point is chosen by the encoding
process and is not specified by this Recommendation | International Standard.
broken_link_flag indicates the presence or absence of a broken link in the NAL unit stream at the location of the
recovery point SEI message and is assigned further semantics as follows.
-    If broken_link_flag is equal to 1, pictures produced by starting the decoding process at the location of a previous
     IDR access unit may contain undesirable visual artefacts to the extent that decoded pictures at and subsequent to
     the access unit associated with the recovery point SEI message in decoding order should not be displayed until the
     specified recovery point in output order.
-    Otherwise (broken_link_flag is equal to 0), no indication is given regarding any potential presence of visual
     artefacts.
Regardless of the value of the broken_link_flag, pictures subsequent to the specified recovery point in output order are
specified to be correct or approximately correct in content.
    NOTE 4 – When a sub-sequence information SEI message is present in conjunction with a recovery point SEI message in which
    broken_link_flag is equal to 1 and when sub_seq_layer_num is equal to 0, sub_seq_id should be different from the latest
    sub_seq_id for sub_seq_layer_num equal to 0 that was decoded prior to the location of the recovery point SEI message. When
    broken_link_flag is equal to 0, the sub_seq_id in sub-sequence layer 0 should remain unchanged.
changing_slice_group_idc equal to 0 indicates that decoded pictures are correct or approximately correct in content at
and subsequent to the recovery point in output order when all macroblocks of the primary coded pictures are decoded
within the changing slice group period, i.e., the period between the access unit associated with the recovery point SEI
message (inclusive) and the specified recovery point (inclusive) in decoding order. changing_slice_group_idc shall be
equal to 0 when num_slice_groups_minus1 is equal to 0 in any primary coded picture within the changing slice group
period.
When changing_slice_group_idc is equal to 1 or 2, num_slice_groups_minus1 shall be equal to 1 and the macroblock-
to-slice-group map type 3, 4, or 5 shall be applied in each primary coded picture in the changing slice group period.
changing_slice_group_idc equal to 1 indicates that within the changing slice group period no sample values outside the
decoded macroblocks covered by slice group 0 are used for inter prediction of any macroblock within slice group 0. In
addition, changing_slice_group_idc equal to 1 indicates that when all macroblocks in slice group 0 within the changing
slice group period are decoded, decoded pictures will be correct or approximately correct in content at and subsequent
to the specified recovery point in output order regardless of whether any macroblock in slice group 1 within the
changing slice group period is decoded.
changing_slice_group_idc equal to 2 indicates that within the changing slice group period no sample values outside the
decoded macroblocks covered by slice group 1 are used for inter prediction of any macroblock within slice group 1. In
addition, changing_slice_group_idc equal to 2 indicates that when all macroblocks in slice group 1 within the changing
slice group period are decoded, decoded pictures will be correct or approximately correct in content at and subsequent
to the specified recovery point in output order regardless of whether any macroblock in slice group 0 within the
changing slice group period is decoded.
changing_slice_group_idc shall be in the range of 0 to 2, inclusive.

D.2.8    Decoded reference picture marking repetition SEI message semantics
The decoded reference picture marking repetition SEI message is used to repeat the decoded reference picture marking
syntax structure that was located in the slice header of an earlier picture in the sequence in decoding order.
original_idr_flag shall be equal to 1 when the decoded reference picture marking syntax structure occurred originally
in an IDR picture. original_idr_flag shall be equal to 0 when the repeated decoded reference picture marking syntax
structure did not occur in an IDR picture originally.




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original_frame_num shall be equal to the frame_num of the picture where the repeated decoded reference picture
marking syntax structure originally occurred. The picture indicated by original_frame_num is the previous coded
picture having the specified value of frame_num. The value of original_frame_num used to refer to a picture having a
memory_management_control_operation equal to 5 shall be 0.
original_field_pic_flag shall be equal to the field_pic_flag of the picture where the repeated decoded reference picture
marking syntax structure originally occurred.
original_bottom_field_flag shall be equal to the bottom_field_flag of the picture where the repeated decoded reference
picture marking syntax structure originally occurred.
dec_ref_pic_marking( ) shall contain a copy of the decoded reference picture marking syntax structure of the picture
whose frame_num was original_frame_num. The nal_unit_type used for specification of the repeated
dec_ref_pic_marking( ) syntax structure shall be the nal_unit_type of the slice header(s) of the picture whose
frame_num was original_frame_num (i.e., nal_unit_type as used in subclause 7.3.3.3 shall be considered equal to 5
when original_idr_flag is equal to 1 and shall not be considered equal to 5 when original_idr_flag is equal to 0).

D.2.9     Spare picture SEI message semantics
This SEI message indicates that certain slice group map units, called spare slice group map units, in one or more
decoded reference pictures resemble the co-located slice group map units in a specified decoded picture called the target
picture. A spare slice group map unit may be used to replace a co-located, incorrectly decoded slice group map unit, in
the target picture. A decoded picture containing spare slice group map units is called a spare picture.
For all spare pictures identified in a spare picture SEI message, the value of frame_mbs_only_flag shall be equal to the
value of frame_mbs_only_flag of the target picture in the same SEI message. The spare pictures in the SEI message are
constrained as follows.
-     If the target picture is a decoded field, all spare pictures identified in the same SEI message shall be decoded fields.
-     Otherwise (the target picture is a decoded frame), all spare pictures identified in the same SEI message shall be
      decoded frames.
For all spare pictures identified in a spare picture SEI message, the values of pic_width_in_mbs_minus1 and
pic_height_in_map_units_minus1 shall be equal to the values of pic_width_in_mbs_minus1 and
pic_height_in_map_units_minus1, respectively, of the target picture in the same SEI message. The picture associated
(as specified in subclause 7.4.1.2.3) with this message shall appear after the target picture, in decoding order.
target_frame_num indicates the frame_num of the target picture.
spare_field_flag equal to 0 indicates that the target picture and the spare pictures are decoded frames. spare_field_flag
equal to 1 indicates that the target picture and the spare pictures are decoded fields.
target_bottom_field_flag equal to 0 indicates that the target picture is a top field. target_bottom_field_flag equal to 1
indicates that the target picture is a bottom field.
A target picture is a decoded reference picture whose corresponding primary coded picture precedes the current picture,
in decoding order, and in which the values of frame_num, field_pic_flag (when present) and bottom_field_flag (when
present) are equal to target_frame_num, spare_field_flag and target_bottom_field_flag, respectively.
num_spare_pics_minus1 indicates the number of spare pictures for the specified target picture. The number of spare
pictures is equal to num_spare_pics_minus1 + 1. The value of num_spare_pics_minus1 shall be in the range of 0 to 15,
inclusive.
delta_spare_frame_num[ i ] is used to identify the spare picture that contains the i-th set of spare slice group map
units, hereafter called the i-th spare picture, as specified below. The value of delta_spare_frame_num[ i ] shall be in the
range of 0 to MaxFrameNum - 1 - !spare_field_flag, inclusive.
The frame_num of the i-th spare picture, spareFrameNum[ i ], is derived as follows for all values of i from 0 to
num_spare_pics_minus1, inclusive:

    candidateSpareFrameNum = target_frame_num - !spare_field_flag
    for ( i = 0; i <= num_spare_pics_minus1; i++ ) {
        if( candidateSpareFrameNum < 0 )
             candidateSpareFrameNum = MaxFrameNum – 1
        spareFrameNum[ i ] = candidateSpareFrameNum – delta_spare_frame_num[ i ]                                         (D-3)
        if( spareFrameNum[ i ] < 0 )
             spareFrameNum[ i ] = MaxFrameNum + spareFrameNum[ i ]




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       candidateSpareFrameNum = spareFrameNum[ i ] - !spare_field_flag
   }


spare_bottom_field_flag[ i ] equal to 0 indicates that the i-th spare picture is a top field. spare_bottom_field_flag[ i ]
equal to 1 indicates that the i-th spare picture is a bottom field.
The 0-th spare picture is a decoded reference picture whose corresponding primary coded picture precedes the target
picture, in decoding order, and in which the values of frame_num, field_pic_flag (when present) and bottom_field_flag
(when present) are equal to spareFrameNum[ 0 ], spare_field_flag and spare_bottom_field_flag[ 0 ], respectively. The i-
th spare picture is a decoded reference picture whose corresponding primary coded picture precedes the ( i - 1 )-th spare
picture, in decoding order, and in which the values of frame_num, field_pic_flag (when present) and bottom_field_flag
(when present) are equal to spareFrameNum[ i ], spare_field_flag and spare_bottom_field_flag[ i ], respectively.
spare_area_idc[ i ] indicates the method used to identify the spare slice group map units in the i-th spare picture.
spare_area_idc[ i ] shall be in the range of 0 to 2, inclusive. spare_area_idc[ i ] equal to 0 indicates that all slice group
map units in the i-th spare picture are spare units. spare_area_idc[ i ] equal to 1 indicates that the value of the syntax
element spare_unit_flag[ i ][ j ] is used to identify the spare slice group map units. spare_area_idc[ i ] equal to 2
indicates that the zero_run_length[ i ][ j ] syntax element is used to derive the values of
spareUnitFlagInBoxOutOrder[ i ][ j ], as described below.
spare_unit_flag[ i ][ j ] equal to 0 indicates that the j-th slice group map unit in raster scan order in the i-th spare
picture is a spare unit. spare_unit_flag[ i ][ j ] equal to 1 indicates that the j-th slice group map unit in raster scan order
in the i-th spare picture is not a spare unit.
zero_run_length[ i ][ j ] is used to derive the values of spareUnitFlagInBoxOutOrder[ i ][ j ] when spare_area_idc[ i ]
is equal to 2. In this case, the spare slice group map units identified in spareUnitFlagInBoxOutOrder[ i ][ j ] appear in
counter-clockwise box-out order, as specified in subclause 8.2.2.4, for each spare picture.
spareUnitFlagInBoxOutOrder[ i ][ j ] equal to 0 indicates that the j-th slice group map unit in counter-clockwise box-out
order in the i-th spare picture is a spare unit. spareUnitFlagInBoxOutOrder[ i ][ j ] equal to 1 indicates that the j-th slice
group map unit in counter-clockwise box-out order in the i-th spare picture is not a spare unit.
When spare_area_idc[ 0 ] is equal to 2, spareUnitFlagInBoxOutOrder[ 0 ][ j ] is derived as follows:

         for( j = 0, loop = 0; j < PicSizeInMapUnits; loop++ ) {
            for( k = 0; k < zero_run_length[ 0 ][ loop ]; k++ )
               spareUnitFlagInBoxOutOrder[ 0 ][ j++ ] = 0                                                                     (D-4)
            spareUnitFlagInBoxOutOrder[ 0 ][ j++ ] = 1
         }


When spare_area_idc[ i ] is equal to 2 and the value of i is greater than 0, spareUnitFlagInBoxOutOrder[ i ][ j ] is
derived as follows:

         for( j = 0, loop = 0; j < PicSizeInMapUnits; loop++ ) {
            for( k = 0; k < zero_run_length[ i ][ loop ]; k++ )
               spareUnitFlagInBoxOutOrder[ i ][ j ] = spareUnitFlagInBoxOutOrder[ i - 1 ][ j++ ]                              (D-5)
            spareUnitFlagInBoxOutOrder[ i ][ j ] = !spareUnitFlagInBoxOutOrder[ i - 1 ][ j++ ]
         }


D.2.10 Scene information SEI message semantics
A scene and a scene transition are herein defined as a set of consecutive pictures in output order.
   NOTE 1 – Decoded pictures within one scene generally have similar content. The scene information SEI message is used to label
   pictures with scene identifiers and to indicate scene changes. The message specifies how the source pictures for the labelled
   pictures were created. The decoder may use the information to select an appropriate algorithm to conceal transmission errors. For
   example, a specific algorithm may be used to conceal transmission errors that occurred in pictures belonging to a gradual scene
   transition. Furthermore, the scene information SEI message may be used in a manner determined by the application, such as for
   indexing the scenes of a coded sequence.
A scene information SEI message labels all pictures, in decoding order, from the primary coded picture to which the
SEI message is associated (inclusive), as specified in subclause 7.4.1.2.3, to the primary coded picture to which the next
scene information SEI message (if present) in decoding order is associated (exclusive) or (otherwise) to the last access
unit in the bitstream (inclusive). These pictures are herein referred to as the target pictures.




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scene_info_present_flag equal to 0 indicates that the scene or scene transition to which the target pictures belong is
unspecified. scene_info_present_flag equal to 1 indicates that the target pictures belong to the same scene or scene
transition.
scene_id identifies the scene to which the target pictures belong. When the value of scene_transition_type of the target
pictures is less than 4, and the previous picture in output order is marked with a value of scene_transition_type less
than 4, and the value of scene_id is the same as the value of scene_id of the previous picture in output order, this
indicates that the source scene for the target pictures and the source scene for the previous picture (in output order) are
considered by the encoder to have been the same scene. When the value of scene_transition_type of the target pictures
is greater than 3, and the previous picture in output order is marked with a value of scene_transition_type less than 4,
and the value of scene_id is the same as the value of scene_id of the previous picture in output order, this indicates that
one of the source scenes for the target pictures and the source scene for the previous picture (in output order) are
considered by the encoder to have been the same scene. When the value of scene_id is not equal to the value of
scene_id of the previous picture in output order, this indicates that the target pictures and the previous picture (in output
order) are considered by the encoder to have been from different source scenes.
The value of scene_id shall be in the range of 0 to 232-1, inclusive. Values of scene_id in the range of 0 to 255,
inclusive, and in the range of 512 to 231 – 1, inclusive, may be used as determined by the application. Values of
scene_id in the range of 256 to 511, inclusive, and in the range of 231 to 232 – 1, inclusive, are reserved for future use by
ITU-T | ISO/IEC. Decoders encountering a value of scene_id in the range of 256 to 511, inclusive, or in the range of 231
to 232 - 1, inclusive, shall ignore (remove from the bitstream and discard) it.
scene_transition_type specifies in which type of a scene transition (if any) the target pictures are involved. The valid
values of scene_transition_type are specified in Table D-4.

                                        Table D-4 – scene_transition_type values

                         Value              Description
                         0                  No transition
                         1                  Fade to black
                         2                  Fade from black
                         3                  Unspecified transition from or to constant colour
                         4                  Dissolve
                         5                  Wipe
                         6                  Unspecified mixture of two scenes



When scene_transition_type is greater than 3, the target pictures include contents both from the scene labelled by its
scene_id and the next scene, in output order, which is labelled by second_scene_id (see below). The term “the current
scene” is used to indicate the scene labelled by scene_id. The term “the next scene” is used to indicate the scene
labelled by second_scene_id. It is not required for any following picture, in output order, to be labelled with scene_id
equal to second_scene_id of the current SEI message.
Scene transition types are specified as follows.
“No transition” specifies that the target pictures are not involved in a gradual scene transition.
   NOTE 2 – When two consecutive pictures in output order have scene_transition_type equal to 0 and different values of scene_id,
   a scene cut occurred between the two pictures.
“Fade to black” indicates that the target pictures are part of a sequence of pictures, in output order, involved in a fade to
black scene transition, i.e., the luma samples of the scene gradually approach zero and the chroma samples of the scene
gradually approach 128.
   NOTE 3 – When two pictures are labelled to belong to the same scene transition and their scene_transition_type is "Fade to
   black", the later one, in output order, is darker than the previous one.
“Fade from black” indicates that the target pictures are part of a sequence of pictures, in output order, involved in a fade
from black scene transition, i.e., the luma samples of the scene gradually diverge from zero and the chroma samples of
the scene may gradually diverge from 128.
   NOTE 4 – When two pictures are labelled to belong to the same scene transition and their scene_transition_type is "Fade from
   black", the later one in output order is lighter than the previous one.
“Dissolve” indicates that the sample values of each target picture (before encoding) were generated by calculating a
sum of co-located weighted sample values of a picture from the current scene and a picture from the next scene. The


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weight of the current scene gradually decreases from full level to zero level, whereas the weight of the next scene
gradually increases from zero level to full level. When two pictures are labelled to belong to the same scene transition
and their scene_transition_type is "Dissolve", the weight of the current scene for the later one, in output order, is less
than the weight of the current scene for the previous one, and the weight of the next scene for the later one, in output
order, is greater than the weight of the next scene for the previous one.
"Wipe" indicates that some of the sample values of each target picture (before encoding) were generated by copying co-
located sample values of a picture in the current scene and the remaining sample values of each target picture (before
encoding) were generated by copying co-located sample values of a picture in the next scene. When two pictures are
labelled to belong to the same scene transition and their scene_transition_type is "Wipe", the number of samples copied
from the next scene to the later picture in output order is greater than the number of samples copied from the next scene
to the previous picture.
second_scene_id identifies the next scene in the gradual scene transition in which the target pictures are involved. The
value of second_scene_id shall not be equal to the value of scene_id. The value of second_scene_id shall not be equal to
the value of scene_id in the previous picture in output order. When the next picture in output order is marked with a
value of scene_transition_type less than 4, and the value of second_scene_id is the same as the value of scene_id of the
next picture in output order, this indicates that the encoder considers one of the source scenes for the target pictures and
the source scene for the next picture (in output order) to have been the same scene. When the value of second_scene_id
is not equal to the value of scene_id or second_scene_id (if present) of the next picture in output order, this indicates
that the encoder considers the target pictures and the next picture (in output order) to have been from different source
scenes.
When the value of scene_id of a picture is equal to the value of scene_id of the following picture in output order and the
value of scene_transition_type in both of these pictures is less than 4, this indicates that the encoder considers the two
pictures to have been from the same source scene. When the values of scene_id, scene_transition_type and
second_scene_id (if present) of a picture are equal to the values of scene_id, scene_transition_type and
second_scene_id (respectively) of the following picture in output order and the value of scene_transition_type is greater
than 0, this indicates that the encoder considers the two pictures to have been from the same source gradual scene
transition.
The value of second_scene_id shall be in the range of 0 to 232-1, inclusive. Values of second_scene_id in the range of 0
to 255, inclusive, and in the range of 512 to 231-1, inclusive, may be used as determined by the application. Values of
second_scene_id in the range of 256 to 511, inclusive, and in the range of 231 to 232-1, inclusive, are reserved for future
use by ITU-T | ISO/IEC. Decoders encountering a value of second_scene_id in the range of 256 to 511, inclusive, or in
the range of 231 to 232-1, inclusive, shall ignore (remove from the bitstream and discard) it.

D.2.11 Sub-sequence information SEI message semantics
The sub-sequence information SEI message is used to indicate the position of a picture in data dependency hierarchy
that consists of sub-sequence layers and sub-sequences.
A sub-sequence layer contains a subset of the coded pictures in a sequence. Sub-sequence layers are numbered with
non-negative integers. A layer having a larger layer number is a higher layer than a layer having a smaller layer number.
The layers are ordered hierarchically based on their dependency on each other so that any picture in a layer shall not be
predicted from any picture on any higher layer.
   NOTE 1 – In other words, any picture in layer 0 must not be predicted from any picture in layer 1 or above, pictures in layer 1
   may be predicted from layer 0, pictures in layer 2 may be predicted from layers 0 and 1, etc.
   NOTE 2 – The subjective quality is expected to increase along with the number of decoded layers.
A sub-sequence is a set of coded pictures within a sub-sequence layer. A picture shall reside in one sub-sequence layer
and in one sub-sequence only. Any picture in a sub-sequence shall not be predicted from any picture in another
sub-sequence in the same or in a higher sub-sequence layer. A sub-sequence in layer 0 can be decoded independently of
any picture that does not belong to the sub-sequence.
The sub-sequence information SEI message concerns the current access unit. The primary coded picture in the access
unit is herein referred to as the current picture.
The sub-sequence information SEI message shall not be present unless gaps_in_frame_num_value_allowed_flag in the
sequence parameter set referenced by the picture associated with the sub-sequence SEI message is equal to 1.
sub_seq_layer_num specifies the sub-sequence layer number of the current picture. When sub_seq_layer_num is
greater than 0, memory management control operations shall not be used in any slice header of the current picture.
When the current picture resides in a sub-sequence whose first picture in decoding order is an IDR picture, the value of
sub_seq_layer_num shall be equal to 0. For a non-paired reference field, the value of sub_seq_layer_num shall be equal
to 0. sub_seq_layer_num shall be in the range of 0 to 255, inclusive.



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sub_seq_id identifies the sub-sequence within a layer. When the current picture resides in a sub-sequence whose first
picture in decoding order is an IDR picture, the value of sub_seq_id shall be the same as the value of idr_pic_id of the
IDR picture. sub_seq_id shall be in the range of 0 to 65535, inclusive.
first_ref_pic_flag equal to 1 specifies that the current picture is the first reference picture of the sub-sequence in
decoding order. When the current picture is not the first picture of the sub-sequence in decoding order, the
first_ref_pic_flag shall be equal to 0.
leading_non_ref_pic_flag equal to 1 specifies that the current picture is a non-reference picture preceding any
reference picture in decoding order within the sub-sequence or that the sub-sequence contains no reference pictures.
When the current picture is a reference picture or the current picture is a non-reference picture succeeding at least one
reference picture in decoding order within the sub-sequence, the leading_non_ref_pic_flag shall be equal to 0.
last_pic_flag equal to 1 indicates that the current picture is the last picture of the sub-sequence (in decoding order),
including all reference and non-reference pictures of the sub-sequence. When the current picture is not the last picture
of the sub-sequence (in decoding order), last_pic_flag shall be equal to 0.
The current picture is assigned to a sub-sequence as follows.
-     If one or more of the following conditions is true, the current picture is the first picture of a sub-sequence in
      decoding order.
      -   no earlier picture in decoding order is labelled with the same values of sub_seq_id and sub_seq_layer_num as
          the current picture
      -   the value of leading_non_ref_pic_flag is equal to 1 and the value of leading_non_ref_pic_flag is equal to 0 in
          the previous picture in decoding order having the same values of sub_seq_id and sub_seq_layer_num as the
          current picture
      -   the value of first_ref_pic_flag is equal to 1 and the value of leading_non_ref_pic_flag is equal to 0 in the
          previous picture in decoding order having the same values of sub_seq_id and sub_seq_layer_num as the
          current picture
      -   the value of last_pic_flag is equal to 1 in the previous picture in decoding order having the same values of
          sub_seq_id and sub_seq_layer_num as the current picture
-     Otherwise, the current picture belongs to the same sub-sequence as the previous picture in decoding order having
      the same values of sub_seq_id and sub_seq_layer_num as the current picture.
sub_seq_frame_num_flag equal to 0 specifies that sub_seq_frame_num is not present. sub_seq_frame_num_flag equal
to 1 specifies that sub_seq_frame_num is present.
sub_seq_frame_num shall be equal to 0 for the first reference picture of the sub-sequence and for any non-reference
picture preceding the first reference picture of the sub-sequence in decoding order. sub_seq_frame_num is further
constrained as follows.
-     If the current picture is not the second field of a complementary field pair, sub_seq_frame_num shall be
      incremented by 1, in modulo MaxFrameNum operation, relative to the previous reference picture, in decoding
      order, that belongs to the sub-sequence.
-     Otherwise (the current picture is the second field of a complementary field pair), the value of sub_seq_frame_num
      shall be the same as the value of sub_seq_frame_num for the first field of the complementary field pair.
sub_seq_frame_num shall be in the range of 0 to MaxFrameNum – 1, inclusive.
When the current picture is an IDR picture, it shall start a new sub-sequence in sub-sequence layer 0. Thus, the
sub_seq_layer_num shall be 0, the sub_seq_id shall be different from the previous sub-sequence in sub-sequence layer
0, first_ref_pic_flag shall be 1, and leading_non_ref_pic_flag shall be equal to 0.
When the sub-sequence information SEI message is present for both coded fields of a complementary field pair, the
values of sub_seq_layer_num, sub_seq_id, leading_non_ref_pic_flag and sub_seq_frame_num, when present, shall be
identical for both of these pictures.
When the sub-sequence information SEI message is present only for one coded field of a complementary field pair, the
values of sub_seq_layer_num, sub_seq_id, leading_non_ref_pic_flag and sub_seq_frame_num, when present, are also
applicable to the other coded field of the complementary field pair.

D.2.12 Sub-sequence layer characteristics SEI message semantics
The sub-sequence layer characteristics SEI message specifies the characteristics of sub-sequence layers.



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num_sub_seq_layers_minus1 plus 1 specifies the number of                      sub-sequence     layers   in   the   sequence.
num_sub_seq_layers_minus1 shall be in the range of 0 to 255, inclusive.
A pair of average_bit_rate and average_frame_rate characterizes each sub-sequence layer. The first pair of
average_bit_rate and average_frame_rate specifies the characteristics of sub-sequence layer 0. When present, the
second pair specifies the characteristics of sub-sequence layers 0 and 1 jointly. Each pair in decoding order specifies the
characteristics for a range of sub-sequence layers from layer number 0 to the layer number specified by the layer loop
counter. The values are in effect from the point they are decoded until an update of the values is decoded.
accurate_statistics_flag equal to 1 indicates that the values of average_bit_rate and average_frame_rate are rounded
from statistically correct values. accurate_statistics_flag equal to 0 indicates that the average_bit_rate and the
average_frame_rate are estimates and may deviate somewhat from the correct values.
When accurate_statistics_flag is equal to 0, the quality of the approximation used in the computation of the values of
average_bit_rate and the average_frame_rate is chosen by the encoding process and is not specified by this
Recommendation | International Standard.
average_bit_rate indicates the average bit rate in units of 1000 bits per second. All NAL units in the range of sub-
sequence layers specified above are taken into account in the calculation. The average bit rate is derived according to
the access unit removal time specified in Annex C of the Recommendation | International Standard. In the following,
bTotal is the number of bits in all NAL units succeeding a sub-sequence layer characteristics SEI message (including
the bits of the NAL units of the current access unit) and preceding the next access unit (in decoding order) including a
sub-sequence layer characteristics SEI message (if present) or the end of the stream (otherwise). t1 is the removal time
(in seconds) of the current access unit, and t2 is the removal time (in seconds) of the latest access unit (in decoding
order) before the next sub-sequence layer characteristics SEI message (if present) or the end of the stream (otherwise).
When accurate_statistics_flag is equal to 1, the following conditions shall be fulfilled as follows.
–    If t1 is not equal to t2, the following condition shall be true

       average_bit_rate = = Round( bTotal ÷ ( ( t2 – t1 ) * 1000 ) ) )                                                 (D-6)


–    Otherwise (t1 is equal to t2), the following condition shall be true

       average_bit_rate = = 0                                                                                          (D-7)


average_frame_rate indicates the average frame rate in units of frames/(256 seconds). All NAL units in the range of
sub-sequence layers specified above are taken into account in the calculation. In the following, fTotal is the number of
frames, complementary field pairs and non-paired fields between the current picture (inclusive) and the next sub-
sequence layer characteristics SEI message (if present) or the end of the stream (otherwise). t1 is the removal time (in
seconds) of the current access unit, and t2 is the removal time (in seconds) of the latest access unit (in decoding order)
before the next sub-sequence layer characteristics SEI message (if present) or the end of the stream (otherwise).
When accurate_statistics_flag is equal to 1, the following conditions shall be fulfilled as follows.
–    If t1 is not equal to t2, the following condition shall be true

       average_frame_rate = = Round( fTotal * 256 ÷ ( t2 – t1 ) )                                                      (D-8)


–    Otherwise (t1 is equal to t2), the following condition shall be true

       average_frame_rate = = 0                                                                                        (D-9)


D.2.13 Sub-sequence characteristics SEI message semantics
The sub-sequence characteristics SEI message indicates the characteristics of a sub-sequence. It also indicates inter
prediction dependencies between sub-sequences. This message shall be contained in the first access unit in decoding
order of the sub-sequence to which the sub-sequence characteristics SEI message applies. This sub-sequence is herein
called the target sub-sequence.
sub_seq_layer_num identifies the sub-sequence layer number of the target sub-sequence. sub_seq_layer_num shall be
in the range of 0 to 255, inclusive.
sub_seq_id identifies the target sub-sequence. sub_seq_id shall be in the range of 0 to 65535, inclusive.
duration_flag equal to 0 indicates that the duration of the target sub-sequence is not specified.

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sub_seq_duration specifies the duration of the target sub-sequence in clock ticks of a 90-kHz clock.
average_rate_flag equal to 0 indicates that the average bit rate and the average frame rate of the target sub-sequence
are unspecified.
accurate_statistics_flag indicates how reliable the values of average_bit_rate and average_frame_rate are.
accurate_statistics_flag equal to 1, indicates that the average_bit_rate and the average_frame_rate are rounded from
statistically correct values. accurate_statistics_flag equal to 0 indicates that the average_bit_rate and the
average_frame_rate are estimates and may deviate from the statistically correct values.
average_bit_rate indicates the average bit rate in (1000 bits)/second of the target sub-sequence. All NAL units of the
target sub-sequence are taken into account in the calculation. The average bit rate is derived according to the access unit
removal time specified in subclause C.1.2. In the following, nB is the number of bits in all NAL units in the sub-
sequence. t1 is the removal time (in seconds) of the first access unit of the sub-sequence (in decoding order), and t2 is the
removal time (in seconds) of the last access unit of the sub-sequence (in decoding order).
When accurate_statistics_flag is equal to 1, the following conditions shall be fulfilled as follows.
–     If t1 is not equal to t2, the following condition shall be true

        average_bit_rate = = Round( nB ÷ ( ( t2 – t1 ) * 1000 ) )                                                     (D-10)


–     Otherwise (t1 is equal to t2), the following condition shall be true

        average_bit_rate = = 0                                                                                        (D-11)


average_frame_rate indicates the average frame rate in units of frames/(256 seconds) of the target sub-sequence. All
NAL units of the target sub-sequence are taken into account in the calculation. The average frame rate is derived
according to the access unit removal time specified in subclause C.1.2. In the following, fC is the number of frames,
complementary field pairs and non-paired fields in the sub-sequence. t1 is the removal time (in seconds) of the first
access unit of the sub-sequence (in decoding order), and t2 is the removal time (in seconds) of the last access unit of the
sub-sequence (in decoding order).
When accurate_statistics_flag is equal to 1, the following conditions shall be fulfilled as follows.
–     If t1 is not equal to t2, the following condition shall be true

        average_frame_rate = = Round( fC * 256 ÷ ( t2 – t1 ) )                                                        (D-12)


–     Otherwise (t1 is equal to t2), the following condition shall be true

        average_frame_rate = = 0                                                                                      (D-13)


num_referenced_subseqs specifies the number of sub-sequences that contain pictures that are used as reference
pictures for inter prediction in the pictures of the target sub-sequence. num_referenced_subseqs shall be in the range of
0 to 255, inclusive.
ref_sub_seq_layer_num, ref_sub_seq_id, and ref_sub_seq_direction identify the sub-sequence that contains pictures
that are used as reference pictures for inter prediction in the pictures of the target sub-sequence. Depending on
ref_sub_seq_direction, the following applies.
–     If ref_sub_seq_direction is equal to 0, a set of candidate sub-sequences consists of the sub-sequences whose
      sub_seq_id is equal to ref_sub_seq_id, which reside in the sub-sequence layer having sub_seq_layer_num equal to
      ref_sub_seq_layer_num, and whose first picture in decoding order precedes the first picture of the target sub-
      sequence in decoding order.
–     Otherwise (ref_sub_seq_direction is equal to 1), a set of candidate sub-sequences consists of the sub-sequences
      whose sub_seq_id is equal to ref_sub_seq_id, which reside in the sub-sequence layer having sub_seq_layer_num
      equal to ref_sub_seq_layer_num, and whose first picture in decoding order succeeds the first picture of the target
      sub-sequence in decoding order.
The sub-sequence used as a reference for the target sub-sequence is the sub-sequence among the set of candidate sub-
sequences whose first picture is the closest to the first picture of the target sub-sequence in decoding order.




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D.2.14 Full-frame freeze SEI message semantics
The full-frame freeze SEI message indicates that the current picture and any subsequent pictures in output order that
meet specified conditions should not affect the content of the display. No more than one full-frame freeze SEI message
shall be present in any access unit.
full_frame_freeze_repetition_period specifies the persistence of the full-frame freeze SEI message and may specify a
picture order count interval within which another full-frame freeze SEI message or a full-frame freeze release SEI or the
end of the coded video sequence shall be present in the bitstream. The value of full_frame_freeze_repetition_period
shall be in the range of 0 to 16 384, inclusive.
full_frame_freeze_repetition_period equal to 0 specifies that the full-frame freeze SEI message applies to the current
decoded picture only.
full_frame_freeze_repetition_period equal to 1 specifies that the full-frame freeze SEI message persists in output order
until any of the following conditions are true.
          –    A new coded video sequence begins
          –    A picture in an access unit containing a full-frame freeze SEI message or a full-frame freeze release SEI
               message is output having PicOrderCnt( ) greater than PicOrderCnt( CurrPic ).
full_frame_freeze_repetition_period greater than 1 specifies that the full-frame freeze SEI message persists until any of
the following conditions are true.
          –    A new coded video sequence begins
          –    A picture in an access unit containing a full-frame freeze SEI message or a full-frame freeze release SEI
               message is output having PicOrderCnt( ) greater than PicOrderCnt( CurrPic ) and less than or equal to
               PicOrderCnt( CurrPic ) + full_frame_freeze_repetition_period.
full_frame_freeze_repetition_period greater than 1 indicates that another full-frame freeze SEI message or a full-frame
freeze release SEI message shall be present for a picture in an access unit that is output having PicOrderCnt( ) greater
than PicOrderCnt( CurrPic ) and less than or equal to PicOrderCnt( CurrPic ) + full_frame_freeze_repetition_period;
unless the bitstream ends or a new coded video sequence begins without output of such a picture.

D.2.15 Full-frame freeze release SEI message semantics
The full-frame freeze release SEI message cancels the effect of any full-frame freeze SEI message sent with pictures
that precede the current picture in output order. The full-frame freeze release SEI message indicates that the current
picture and subsequent pictures in output order should affect the contents of the display.
No more than one full-frame freeze release SEI message shall be present in any access unit. A full-frame freeze release
SEI message shall not be present in an access unit containing a full-frame freeze SEI message. When a full-frame freeze
SEI message is present in an access unit containing a field of a complementary field pair in which the values of
PicOrderCnt( CurrPic ) for the two fields of the complementary field pair are equal to each other, a full-frame freeze
release SEI message shall not be present in either of the two access units.

D.2.16 Full-frame snapshot SEI message semantics
The full-frame snapshot SEI message indicates that the current frame is labelled for use as determined by the
application as a still-image snapshot of the video content.
snapshot_id specifies a snapshot identification number. snapshot_id shall be in the range of 0 to 232 - 1, inclusive.
Values of snapshot_id in the range of 0 to 255, inclusive, and in the range of 512 to 231-1, inclusive, may be used as
determined by the application. Values of snapshot_id in the range of 256 to 511, inclusive, and in the range of 231 to 232-
1, inclusive, are reserved for future use by ITU-T | ISO/IEC. Decoders encountering a value of snapshot_id in the range
of 256 to 511, inclusive, or in the range of 231 to 232-1, inclusive, shall ignore (remove from the bitstream and discard)
it.

D.2.17 Progressive refinement segment start SEI message semantics
The progressive refinement segment start SEI message specifies the beginning of a set of consecutive coded pictures
that is labelled as the current picture followed by a sequence of one or more pictures of refinement of the quality of the
current picture, rather than as a representation of a continually moving scene.
The tagged set of consecutive coded pictures shall continue until one of the following conditions is true. When a
condition below becomes true, the next slice to be decoded does not belong to the tagged set of consecutive coded
pictures.
1.   The next slice to be decoded belongs to an IDR picture.


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2.    num_refinement_steps_minus1 is greater than 0 and the frame_num of the next slice to be decoded is
      (currFrameNum + num_refinement_steps_minus1 + 1) % MaxFrameNum, where currFrameNum is the value of
      frame_num of the picture in the access unit containing the SEI message.
3.    num_refinement_steps_minus1 is 0 and a progressive refinement segment end SEI message with the same
      progressive_refinement_id as the one in this SEI message is decoded.
The decoding order of picture within the tagged set of consecutive pictures should be the same as their output order.
progressive_refinement_id specifies an identification number for the progressive refinement operation.
progressive_refinement_id shall be in the range of 0 to 232 - 1, inclusive.
Values of progressive_refinement_id in the range of 0 to 255, inclusive, and in the range of 512 to 231 - 1, inclusive,
may be used as determined by the application. Values of progressive_refinement_id in the range of 256 to 511,
inclusive, and in the range of 231 to 232-1, inclusive, are reserved for future use by ITU-T | ISO/IEC. Decoders
encountering a value of progressive_refinement_id in the range of 256 to 511, inclusive, or in the range of 231 to 232 - 1,
inclusive, shall ignore (remove from the bitstream and discard) it.
num_refinement_steps_minus1 specifies the number of reference frames in the tagged set of consecutive coded
pictures as follows.
– If num_refinement_steps_minus1 is equal to 0, the number of reference frames in the tagged set of consecutive
  coded pictures is unknown.
– Otherwise, the number of reference frames in the tagged set of consecutive coded pictures is equal to
  num_refinement_steps_minus1 + 1.
num_refinement_steps_minus1 shall be in the range of 0 to MaxFrameNum - 1, inclusive.

D.2.18 Progressive refinement segment end SEI message semantics
The progressive refinement segment end SEI message specifies the end of a set of consecutive coded pictures that has
been labelled by use of a progressive refinement segment start SEI message as an initial picture followed by a sequence
of one or more pictures of the refinement of the quality of the initial picture, and ending with the current picture.
progressive_refinement_id specifies an identification number for the progressive refinement operation.
progressive_refinement_id shall be in the range of 0 to 232 - 1, inclusive.
The progressive refinement segment end SEI message specifies the end of any progressive refinement segment
previously started using a progressive refinement segment start SEI message with the same value of
progressive_refinement_id.
Values of progressive_refinement_id in the range of 0 to 255, inclusive, and in the range of 512 to 231 - 1, inclusive,
may be used as determined by the application. Values of progressive_refinement_id in the range of 256 to 511,
inclusive, and in the range of 231 to 232 - 1, inclusive, are reserved for future use by ITU-T | ISO/IEC. Decoders
encountering a value of progressive_refinement_id in the range of 256 to 511, inclusive, or in the range of 231 to 232 - 1,
inclusive, shall ignore (remove from the bitstream and discard) it.

D.2.19 Motion-constrained slice group set SEI message semantics
This SEI message indicates that inter prediction over slice group boundaries is constrained as specified below. When
present, the message shall only appear where it is associated, as specified in subclause 7.4.1.2.3, with an IDR access
unit.
The target picture set for this SEI message contains all consecutive primary coded pictures in decoding order starting
with the associated primary coded IDR picture (inclusive) and ending with the following primary coded IDR picture
(exclusive) or with the very last primary coded picture in the bitstream (inclusive) in decoding order when there is no
following primary coded IDR picture. The slice group set is a collection of one or more slice groups, identified by the
slice_group_id[ i ] syntax element.
This SEI message indicates that, for each picture in the target picture set, the inter prediction process is constrained as
follows: No sample value outside the slice group set, and no sample value at a fractional sample position that is derived
using one or more sample values outside the slice group set is used to inter predict any sample within the slice group
set.
num_slice_groups_in_set_minus1 + 1 specifies the number of slice groups in the slice group set. The allowed range of
num_slice_groups_in_set_minus1 is 0 to num_slice_groups_minus1, inclusive. The allowed range of
num_slice_groups_minus1 is specified in Annex A.




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slice_group_id[ i ] identifies the slice group(s) contained within the slice group set. The allowed range is from 0 to
num_slice_groups_in_set_minus1, inclusive. The size of the slice_group_id[ i ] syntax element is
Ceil( Log2( num_slice_groups_minus1 + 1 ) ) bits.
exact_sample_value_match_flag equal to 0 indicates that, within the target picture set, when the macroblocks that do
not belong to the slice group set are not decoded, the value of each sample in the slice group set need not be exactly the
same as the value of the same sample when all the macroblocks are decoded. exact_sample_value_match_flag equal
to 1 indicates that, within the target picture set, when the macroblocks that do not belong to the slice group set are not
decoded, the value of each sample in the slice group set shall be exactly the same as the value of the same sample when
all the macroblocks in the target picture set are decoded.
   NOTE 1 – When disable_deblocking_filter_idc is equal to 2 in all slices in the target picture set, exact_sample_value_match_flag
   should be 1.
pan_scan_rect_flag equal to 0 specifies that pan_scan_rect_id is not present. pan_scan_rect_flag equal to 1 specifies
that pan_scan_rect_id is present.
pan_scan_rect_id indicates that the specified slice group set covers at least the pan-scan rectangle identified by
pan_scan_rect_id within the target picture set.
   NOTE 2 – Multiple motion_constrained_slice_group_set SEI messages may be associated with the same IDR picture.
   Consequently, more than one slice group set may be active within a target picture set.
   NOTE 3 – The size, shape, and location of the slice groups in the slice group set may change within the target picture set.

D.2.20 Film grain characteristics SEI message semantics
This SEI message provides the decoder with a parameterised model for film grain synthesis. For example, an encoder
may use the film grain characteristics SEI message to characterise film grain that was present in the original source
video material and was removed by pre-processing filtering techniques. Synthesis of simulated film grain on the
decoded images for the display process is optional and does not affect the decoding process specified in this
Recommendation | International Standard. If synthesis of simulated film grain on the decoded images for the display
process is performed, there is no requirement that the method by which the synthesis is performed be the same as the
parameterised model for the film grain as provided in the film grain characteristics SEI message.
   NOTE 1 – The display process is not specified in this Recommendation | International Standard.

film_grain_characteristics_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any
previous film grain characteristics SEI message in output order. film_grain_characteristics_cancel_flag equal to 0
indicates that film grain modelling information follows.
model_id identifies the film grain simulation model as specified in Table D-5. The value of model_id shall be in the
range of 0 to 1, inclusive.

                                                Table D-5 – model_id values

                                        Value             Description
                                        0                 frequency filtering
                                        1                 auto-regression
                                        2                 reserved
                                        3                 reserved



separate_colour_description_present_flag equal to 1 indicates that a distinct colour space description for the film
grain characteristics specified in the SEI message is present in the film grain characteristics SEI message syntax.
separate_colour_description_present_flag equal to 0 indicates that the colour description for the film grain
characteristics specified in the SEI message is the same as for the coded video sequence as specified in subclause E.2.1.
   NOTE 2 – When separate_colour_description_present_flag is equal to 1, the colour space specified for the film grain
   characteristics specified in the SEI message may differ from the colour space specified for the coded video as specified in
   subclause E.2.1.
film_grain_bit_depth_luma_minus8 plus 8 specifies the bit depth used for the luma component of the film grain
characteristics specified in the SEI message. When film_grain_bit_depth_luma_minus8 is not present in the film grain
characteristics SEI message, the value of film_grain_bit_depth_luma_minus8 shall be inferred to be equal
to bit_depth_luma_minus8.
The value of filmGrainBitDepth[ 0 ] is derived as

       filmGrainBitDepth[ 0 ] = film_grain_bit_depth_luma_minus8 + 8                                                        (D-14)


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film_grain_bit_depth_chroma_minus8 plus 8 specifies the bit depth used for the Cb and Cr components of the film
grain characteristics specified in the SEI message. When film_grain_bit_depth_chroma_minus8 is not present in the
film grain characteristics SEI message, the value of film_grain_bit_depth_chroma_minus8 shall be inferred to be equal
to bit_depth_chroma_minus8.
The value of filmGrainBitDepth[ c ] for c = 1 and 2 is derived as

        filmGrainBitDepth[ c ] = film_grain_bit_depth_chroma_minus8 + 8 with c = 1, 2                                       (D-15)


film_grain_full_range_flag has the same semantics as specified in subclause E.2.1 for the video_full_range_flag
syntax element, except as follows.
–     film_grain_full_range_flag specifies the colour space of the film grain characteristics specified in the SEI message,
      rather than the colour space used for the coded video sequence.
–     When film_grain_full_range_flag is not present in the film grain characteristics SEI message, the value of
      film_grain_full_range_flag shall be inferred to be equal to video_full_range_flag.
film_grain_colour_primaries has the same semantics as specified in subclause E.2.1 for the colour_primaries syntax
element, except as follows.
–     film_grain_colour_primaries specifies the colour space of the film grain characteristics specified in the SEI
      message, rather than the colour space used for the coded video sequence.
–     When film_grain_colour_primaries is not present in the film grain characteristics SEI message, the value of
      film_grain_colour_primaries shall be inferred to be equal to colour_primaries.
film_grain_transfer_characteristics has the same semantics                    as    specified   in   subclause E.2.1     for   the
transfer_characteristics syntax element, except as follows.
–     film_grain_transfer_characteristics specifies the colour space of the film grain characteristics specified in the SEI
      message, rather than the colour space used for the coded video sequence.
–     When film_grain_transfer_characteristics is not present in the film grain characteristics SEI message, the value of
      film_grain_transfer_characteristics shall be inferred to be equal to transfer_characteristics.
film_grain_matrix_coefficients has the same semantics as specified in subclause E.2.1 for the matrix_coefficients
syntax element, except as follows.
–     film_grain_matrix_coefficients specifies the colour space of the film grain characteristics specified in the SEI
      message, rather than the colour space used for the coded video sequence.
–     When film_grain_matrix_coefficients is not present in the film grain characteristics SEI message, the value of
      film_grain_matrix_coefficients shall be inferred to be equal to matrix_coefficients.
–     The values allowed for film_grain_matrix_coefficients are not constrained by the value of chroma_format_idc.
The chroma_format_idc of the film grain characteristics specified in the film grain characteristics SEI message shall be
inferred to be equal to 3 (4:4:4).
    NOTE 3 – Because the use of a specific method is not required for performing film grain generation function used by the display
    process, a decoder may, if desired, down-convert the model information for chroma in order to simulate film grain for other
    chroma formats (4:2:0 or 4:2:2) rather than up-converting the decoded video (using a method not specified by this
    Recommendation | International Standard) before performing film grain generation.
blending_mode_id identifies the blending mode used to blend the simulated film grain with the decoded images as
specified in Table D-6. blending_mode_id shall be in the range of 0 to 1, inclusive.

                                            Table D-6 – blending_mode_id values

                                        Value              Description
                                        0                  additive
                                        1                  multiplicative
                                        2                  reserved
                                        3                  reserved




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Depending on blending_mode_id, the blending mode is specified as follows
–    If blending_mode_id is equal to 0 the blending mode is additive as specified by

       Igrain[ x, y, c ] = Clip3( 0, ( 1 << filmGrainBitDepth[ c ] ) – 1, Idecoded[ x, y, c ] + G[ x, y, c ] )           (D-16)

–    Otherwise (blending_mode_id is equal to 1), the blending mode is multiplicative as specified by

       Igrain[ x, y, c ] = Clip3( 0, ( 1 << filmGrainBitDepth[ c ] ) – 1, Idecoded[ x, y, c ] * ( 1 + G[ x, y, c ] ) )   (D-17)


where Idecoded[ x, y, c ] represents the sample value at coordinates x, y of the colour component c of the decoded image
Idecoded, G[ x, y, c ] is the simulated film grain value at the same position and colour component, and
filmGrainBitDepth[ c ] is the number of bits used for each sample in a fixed-length unsigned binary representation of
the array Igrain[ x, y, c ].
log2_scale_factor specifies a scale factor used in the film grain characterization equations.
comp_model_present_flag[ c ] equal to 0 indicates that film grain is not modelled on the c-th colour component, where
c equal to 0 refers to the luma component, c equal to 1 refers to the Cb component, and c equal to 2 refers to the Cr
component. comp_model_present_flag[ c ] equal to 1 indicates that syntax elements specifying modelling of film grain
on colour component c are present in the SEI message.
num_intensity_intervals_minus1[ c ] plus 1 specifies the number of intensity intervals for which a specific set of
model values has been estimated.
    NOTE 4 – The intensity intervals may overlap in order to simulate multi-generational film grain.

num_model_values_minus1[ c ] plus 1 specifies the number of model values present for each intensity interval in
which the film grain has been modelled. The value of num_model_values_minus1[ c ] shall be in the range of 0 to 5,
inclusive.
intensity_interval_lower_bound[ c ][ i ] specifies the lower bound of the interval i of intensity levels for which the set
of model values applies.
intensity_interval_upper_bound[ c ][ i ] specifies the upper bound of the interval i of intensity levels for which the set
of model values applies.
Depending on model_id, the selection of the sets of model values is specified as follows.
–    If model_id is equal to 0, the average value of each block b of 16x16 samples in Idecoded, referred as bavg, is used to
     select the sets of model values with index s[ j ] that apply to all the samples in the block:

       for( i = 0, j = 0; i <= num_intensity_intervals_minus1; i++ )
          if( bavg >= intensity_interval_lower_bound[ c ][ i ] && bavg <= intensity_interval_upper_bound[ c ][ i ] ) {
            s[ j ] = i                                                                                               (D-18)
            j++
          }

–    Otherwise (model_id is equal to 1), the sets of model values used to generate the film grain are selected for each
     sample value in Idecoded as follows:

       for( i = 0, j = 0; i <= num_intensity_intervals_minus1; i++ )
          if( Idecoded[ x, y, c ] >= intensity_interval_lower_bound[ c ][ i ] &&
              Idecoded[ x, y, c ] <= intensity_interval_upper_bound[ c ][ i ] ) {                                        (D-19)
            s[ j ] = i
            j++
          }


Samples that do not fall into any of the defined intervals are not modified by the grain generation function. Samples that
fall into more than one interval will originate multi-generation grain. Multi-generation grain results from adding the
grain computed independently for each intensity interval.




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comp_model_value[ c ][ i ][ j ] represents each one of the model values present for the colour component c and the
intensity interval i. The set of model values has different meaning depending on the value of model_id. The value of
comp_model_value[ c ][ i ][ j ] shall be constrained as follows, and may be additionally constrained as specified
elsewhere in this subclause.
–     If model_id is equal to 0, comp_model_value[ c ][ i ][ j ] shall be in the range of 0 to 2filmGrainBitDepth[ c ] – 1,
      inclusive.
–     Otherwise (model_id is equal to 1), comp_model_value[ c ][ i ][ j ] shall be in the range of –2( filmGrainBitDepth[ c ] – 1 )
      to 2( filmGrainBitDepth[ c ] – 1 ) – 1, inclusive.
Depending on model_id, the synthesis of the film grain is modelled as follows.
–     If model_id is equal to 0, a frequency filtering model enables simulating the original film grain for c = 0..2,
      x = 0..PicWidthInSamplesL, and y = 0..PicHeightInSamplesL as specified by:

        G[ x, y, c ] = ( comp_model_value[ c ][ s ][ 0 ] * Q[ x, y, c ] + comp_model_value[ c ][ s ][ 5 ] *
        G[ x, y, c-1 ] ) >> log2_scale_factor                                                                                      (D-20)

      where Q[ c ] is a two-dimensional random process generated by filtering 16x16 blocks gaussRv with random-value
      elements gaussRvij generated with a normalized Gaussian distribution (independent and identically distributed
      Gaussian random variable samples with zero mean and unity variance) and where the value of an element
      G[ x, y, c-1 ] used in the right-hand side of the equation is inferred to be equal to 0 when c-1 is less than 0.
                 NOTE 5 – A normalized Gaussian random value can be generated from two independent, uniformly distributed
                 random values over the interval from 0 to 1 (and not equal to 0), denoted as uRv0 and uRv1, using the Box-Muller
                 transformation specified by

                      gaussRv ij = − 2 * Ln( uRv 0 ) * Cos( 2 * π * uRv1 )                                                         (D-21)

                 where Ln( x ) is the natural logarithm of x (the base-e logarithm, where e is natural logarithm base constant
                 2.718 281 828...), Cos( x ) is the trigonometric cosine function operating on an argument x in units of radians, and π is
                 Archimedes' constant 3.141 592 653....
      The band-pass filtering of blocks gaussRv may be performed in the discrete cosine transform (DCT) domain as
      follows:

        for( y = 0; y < 16; y++ )
             for( x = 0; x < 16; x++ )
                 if( ( x < comp_model_value[ c ][ s ][ 3 ] && y < comp_model_value[ c ][ s ][ 4 ] ) | |                            (D-22)
                   x > comp_model_value[ c ][ s ][ 1 ] | | y > comp_model_value[ c ][ s ][ 2 ] )
                      gaussRv[ x, y ] = 0
        filteredRv = IDCT16x16( gaussRv )

      where IDCT16x16( z ) refers to a unitary inverse discrete cosine transformation (IDCT) operating on a 16x16
      matrix argument z as specified by

        IDCT16x16( z ) = r * z * rT                                                                                                (D-23)

      where the superscript T indicates a matrix transposition and r is the 16x16 matrix with elements rij specified by

                ((i == 0)? 1 : 2 )      i * ( 2 * j + 1) *π 
        rij =                      Cos                                                                                           (D-24)
                        4                        32         

      where Cos( x ) is the trigonometric cosine function operating on an argument x in units of radians and π is
      Archimedes' constant 3.141 592 653.
      Q[ c ] is formed by the frequency-filtered blocks filteredRv.
                 NOTE 6 – Coded model values are based on blocks of 16x16, but a decoder implementation may use other block
                 sizes. For example, decoders implementing the IDCT on 8x8 blocks, should down-convert by a factor of two the set
                 of coded model values comp_model_value[ c ][ s ][ i ] for i equal to 1..4.
                 NOTE 7 – To reduce the degree of visible blocks that can result from mosaicing the frequency-filtered blocks
                 filteredRv, decoders may apply a low-pass filter to the boundaries between frequency-filtered blocks.




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–    Otherwise (model_id is equal to 1), an auto-regression model enables simulating the original film grain for
     c = 0..2, x = 0..PicWidthInSamplesL, and y = 0..PicHeightInSamplesL as specified by

         G[ x, y, c ] = ( comp_model_value[ c ][ s ][ 0 ] * n[ x, y, c ] +
            comp_model_value[ c ][ s ][ 1 ] * ( G[ x-1, y, c ] + ( ( comp_model_value[ c ][ s ][ 4 ] * G[ x, y-1, c ] ) >>
                log2_scale_factor ) ) +
            comp_model_value[ c ][ s ][ 3 ] * ( ( ( comp_model_value[ c ][ s ][ 4 ] * G[ x-1, y-1, c ] ) >>
                log2_scale_factor ) + G[ x+1, y-1, c ] ) +
            comp_model_value[ c ][ s ][ 5 ] * ( G[ x-2, y, c ] +
                ( ( comp_model_value[ c ][ s ][ 4 ] * comp_model_value[ c ][ s ][ 4 ] * G[ x, y-2, c ] ) >>
                     ( 2 * log2_scale_factor ) ) ) +
            comp_model_value[ c ][ s ][ 2 ] * G[ x, y, c-1 ] ) >> log2_scale_factor                                     (D-25)

     where n[ x, y, c ] is a random value with normalized Gaussian distribution (independent and identically distributed
     Gaussian random variable samples with zero mean and unity variance for each value of x, y, and c) and where the
     value of an element G[ x, y, c ] used in the right-hand side of the equation is inferred to be equal to 0 when any of
     the following conditions are true:
     –     x is less than 0,
     –     y is less than 0,
     –     x is greater than or equal to PicWidthInSamplesL,
     –     c is less than 0.
comp_model_value[ c ][ i ][ 0 ] provides the first model value for the model as specified by model_id.
comp_model_value[ c ][ i ][ 0 ] corresponds to the standard deviation of the Gaussian noise term in the generation
functions specified in Equations D-20 through D-23.
comp_model_value[ c ][ i ][ 1 ] provides the second model value for the model as specified by model_id.
comp_model_value[ c ][ i ][ 1 ] shall be greater than or equal to 0 and less than 16.
When not present in the film grain characteristics SEI message, comp_model_value[ c ][ i ][ 1 ] shall be inferred as
follows.
–    If model_id is equal to 0, comp_model_value[ c ][ i ][ 1 ] shall be inferred to be equal to 8.
–    Otherwise (model_id is equal to 1), comp_model_value[ c ][ i ][ 1 ] shall be inferred to be equal to 0.
comp_model_value[ c ][ i ][ 1 ] is interpreted as follows.
–    If model_id is equal to 0, comp_model_value[ c ][ i ][ 1 ] indicates the horizontal high cut frequency to be used to
     filter the DCT of a block of 16x16 random values.
–    Otherwise (model_id is equal to 1), comp_model_value[ c ][ i ][ 1 ] indicates the first order spatial correlation for
     neighbouring samples (x-1, y) and (x, y-1).
comp_model_value[ c ][ i ][ 2 ] provides the third model value for the model as specified by model_id.
comp_model_value[ c ][ i ][ 2 ] shall be greater than or equal to 0 and less than 16.
When not present in the film grain characteristics SEI message, comp_model_value[ c ][ i ][ 2 ] shall be inferred as
follows.
–    If model_id is equal to 0,                 comp_model_value[ c ][ i ][ 2 ]     shall   be   inferred   to    be   equal
     to comp_model_value[ c ][ i ][ 1 ]
–    Otherwise (model_id is equal to 0), comp_model_value[ c ][ i ][ 2 ] shall be inferred to be equal to 0.
comp_model_value[ c ][ i ][ 2 ] is interpreted as follows.
–    If model_id is equal to 0, comp_model_value[ c ][ i ][ 2 ] indicates the vertical high cut frequency to be used to
     filter the DCT of a block of 16x16 random values.
–    Otherwise (model_id is equal to 1), comp_model_value[ c ][ i ][ 2 ] indicates the colour correlation between
     consecutive colour components.
comp_model_value[ c ][ i ][ 3 ] provides the fourth model value for the model as specified by model_id.
comp_model_value[ c ][ i ][ 3 ] shall be greater than or equal to 0 and less than or equal to
comp_model_value[ c ][ i ][ 1 ].
When not present in the film grain characteristics SEI message, comp_model_value[ c ][ i ][ 3 ] shall be inferred to be
equal to 0.



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comp_model_value[ c ][ i ][ 3 ] is interpreted as follows.
–     If model_id is equal to 0, comp_model_value[ c ][ i ][ 3 ] indicates the horizontal low cut frequency to be used to
      filter the DCT of a block of 16x16 random values.
–     Otherwise (model_id is equal to 1), comp_model_value[ c ][ i ][ 3 ] indicates the first order spatial correlation for
      neighbouring samples (x-1, y-1) and (x+1, y-1).
comp_model_value[ c ][ i ][ 4 ] provides the fifth model value for the model as specified by model_id.
comp_model_value[ c ][ i ][ 4] shall be greater than or equal to 0 and less than or equal to
comp_model_value[ c ][ i ][ 2 ].
When not present in the film grain characteristics SEI message, comp_model_value[ c ][ i ][ 4 ] shall be inferred to be
equal to model_id.
comp_model_value[ c ][ i ][ 4 ] is interpreted as follows.
–     If model_id is equal to 0, comp_model_value[ c ][ i ][ 4 ] indicates the vertical low cut frequency to be used to
      filter the DCT of a block of 16x16 random values.
–     Otherwise (model_id is equal to 1), comp_model_value[ c ][ i ][ 4 ] indicates the aspect ratio of the modelled grain.
comp_model_value[ c ][ i ][ 5 ] provides the sixth model value for the model as specified by model_id. When not
present in the film grain characteristics SEI message, comp_model_value[ c ][ i ][ 5 ] shall be inferred to be equal to 0.
comp_model_value[ c ][ i ][ 5 ] is interpreted as follows.
–     If model_id is equal to 0, comp_model_value[ c ][ i ][ 5 ] indicates the colour correlation between consecutive
      colour components.
–     Otherwise (model_id is equal to 1), comp_model_value[ c ][ i ][ 5 ] indicates the second order spatial correlation
      for neighbouring samples (x, y-2) and (x-2, y).
film_grain_characteristics_repetition_period specifies the persistence of the film grain characteristics SEI message
and may specify a picture order count interval within which another film grain characteristics SEI message or the end of
the coded video sequence shall be present in the bitstream. The value of film_grain_characteristics_repetition_period
shall be in the range 0 to 16 384, inclusive.
film_grain_characteristics_repetition_period equal to 0 specifies that the film grain characteristics SEI message applies
to the current decoded picture only.
film_grain_characteristics_repetition_period equal to 1 specifies that the film grain characteristics SEI message persists
in output order until any of the following conditions are true.
–     A new coded video sequence begins, or
–     A picture in an access unit containing a film grain characteristics SEI message that is output having PicOrderCnt( )
      greater than PicOrderCnt( CurrPic ).
film_grain_characteristics_repetition_period greater than 1 specifies that the film grain characteristics SEI message
persists until any of the following conditions are true.
–     A new coded video sequence begins, or
–     A picture in an access unit containing a film grain characteristics SEI message is output having PicOrderCnt( )
      greater than PicOrderCnt( CurrPic ) and less than or equal to PicOrderCnt( CurrPic ) +
      film_grain_characteristics_repetition_period.
film_grain_characteristics_repetition_period greater than 1 indicates that another film grain characteristics SEI message
shall be present for a picture in an access unit that is output having PicOrderCnt( ) greater than PicOrderCnt( CurrPic )
and less than or equal to PicOrderCnt( CurrPic ) + film_grain_characteristics_repetition_period; unless the bitstream
ends or a new coded video sequence begins without output of such a picture.

D.2.21 Deblocking filter display preference SEI message semantics
This SEI message provides the decoder with an indication of whether the display of the cropped result of the deblocking
filter process specified in subclause 8.7 or of the cropped result of the picture construction process prior to the
deblocking filter process specified in subclause 8.5.12 is preferred by the encoder for the display of each decoded
picture that is output.
    NOTE 1 – The display process is not specified in this Recommendation | International Standard. The means by which an encoder
    determines what to indicate as its preference expressed in a deblocking filter display preference SEI message is also not specified
    in this Recommendation | International Standard, and the expression of an expressed preference in a deblocking filter display
    preference SEI message does not impose any requirement on the display process.




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deblocking_display_preference_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any
previous deblocking filter display preference SEI message in output order. deblocking_display_preference_cancel_flag
equal       to       0        indicates       that     a       display_prior_to_deblocking_preferred_flag       and
deblocking_display_preference_repetition_period follow.
    NOTE 2 – In the absence of the deblocking filter display preference SEI message, or after the receipt of a deblocking filter
    display preference SEI message in which deblocking_display_preference_cancel_flag is equal to 1, the decoder should infer that
    the display of the cropped result of the deblocking filter process specified in subclause 8.7 is preferred over the display of the
    cropped result of the picture construction process prior to the deblocking filter process specified in subclause 8.5.12 for the
    display of each decoded picture that is output.
display_prior_to_deblocking_preferred_flag equal to 1 indicates that the encoder preference is for the display
process (which is not specified in this Recommendation | International Standard) to display the cropped result of the
picture construction process prior to the deblocking filter process specified in subclause 8.5.12 rather than the cropped
result of the deblocking filter process specified in subclause 8.7 for each picture that is cropped and output as specified
in Annex C. display_prior_to_deblocking_preferred_flag equal to 0 indicates that the encoder preference is for the
display process (which is not specified in this Recommendation | International Standard) to display the cropped result of
the deblocking filter process specified in subclause 8.7 rather than the cropped result of the picture construction process
prior to the deblocking filter process specified in subclause 8.5.12 for each picture that is cropped and output as
specified in Annex C.
    NOTE 3 – The presence or absence of the deblocking filter display preference SEI message and the value of
    display_prior_to_deblocking_preferred_flag does not affect the requirements of the decoding process specified in this
    Recommendation | International Standard. Rather, it only provides an indication of when, in addition to fulfilling the
    requirements of this Recommendation | International Standard for the decoding process, enhanced visual quality might be
    obtained by performing the display process (which is not specified in this Recommendation | International Standard) in an
    alternative fashion. Encoders that use the deblocking filter display preference SEI message should be designed with an
    awareness that unless the encoder restricts its use of the DPB capacity specified in Annex A for the profile and level in use, some
    decoders may not have sufficient memory capacity for the storage of the result of the picture construction process prior to the
    deblocking filter process specified in subclause 8.5.12 in addition to the storage of the result of the deblocking filter process
    specified in subclause 8.7 when reordering and delaying pictures for display, and such decoders would therefore not be able to
    benefit from the preference indication. By restricting its use of the DPB capacity, an encoder can be able to use at least half of the
    DPB capacity specified in Annex A while allowing the decoder to use the remaining capacity for storage of unfiltered pictures
    that have been indicated as preferable for display until the output time arrives for those pictures.
dec_frame_buffering_constraint_flag equal to 1 indicates that the use of the frame buffering capacity of the HRD
decoded picture buffer (DPB) as specified by max_dec_frame_buffering has been constrained such that the coded video
sequence will not require a decoded picture buffer with more than Max( 1, max_dec_frame_buffering ) frame buffers to
enable the output of the decoded filtered or unfiltered pictures, as indicated by the deblocking filter display preference
SEI messages, at the output times specified by the dpb_output_delay of the picture timing SEI messages.
dec_frame_buffering_constraint_flag equal to 0 indicates that the use of the frame buffering capacity in the HRD may
or may not be constrained in the manner that would be indicated by dec_frame_buffering_constraint_flag equal to 1.
For purposes of determining the constraint imposed when dec_frame_buffering_constraint_flag is equal to 1, the
quantity of frame buffering capacity used at any given point in time by each frame buffer of the DPB that contains a
picture shall be derived as follows:
–    If both of the following criteria are satisfied for the frame buffer, the frame buffer is considered to use two frame
     buffers of capacity for its storage.
     –     The frame buffer contains a frame or one or more fields that is marked as "used for reference", and
     –     The frame buffer contains a picture for which both of the following criteria are fulfilled.
           –    The HRD output time of the picture is greater than the given point in time, and
           –    It has been indicated in a deblocking filter display preference SEI message that the encoder preference
                for the picture is for the display process to display the cropped result of the picture construction process
                prior to the deblocking filter process specified in subclause 8.5.12 rather than the cropped result of the
                deblocking filter process specified in subclause 8.7, and
–    Otherwise, the frame buffer is considered to use one frame buffer of DPB capacity for its storage.
When dec_frame_buffering_constraint_flag is equal to 1, the frame buffering capacity used by all of the frame buffers
in the DPB that contain pictures, as derived in this manner, shall not be greater than
Max( 1, max_dec_frame_buffering ) during the operation of the HRD for the coded video sequence.
The value of dec_frame_buffering_constraint_flag shall be the same in all deblocking filter display preference SEI
messages of the coded video sequence.




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deblocking_display_preference_repetition_period specifies the persistence of the film grain characteristics SEI
message and may specify a picture order count interval within which another film grain characteristics SEI message or
the end of the coded video sequence shall be present in the bitstream. The value of
deblocking_display_preference_repetition_period shall be in the range 0 to 16 384, inclusive.
deblocking_display_preference_repetition_period equal to 0 specifies that the deblocking filter display preference SEI
message applies to the current decoded picture only.
deblocking_display_preference_repetition_period equal to 1 specifies that the deblocking filter display preference SEI
message persists in output order until any of the following conditions are true.
–     A new coded video sequence begins
–     A picture in an access unit containing a deblocking filter display preference SEI message that is output having
      PicOrderCnt( ) greater than PicOrderCnt( CurrPic ).
deblocking_display_preference_repetition_period greater than 1 specifies that the deblocking filter display preference
SEI message persists until any of the following conditions are true.
–     A new coded video sequence begins
–     A picture in an access unit containing a deblocking filter display preference SEI message is output having
      PicOrderCnt( ) greater than PicOrderCnt( CurrPic ) and less than or equal to PicOrderCnt( CurrPic ) +
      deblocking_display_preference_repetition_period.
deblocking_display_preference_repetition_period greater than 1 indicates that another deblocking filter display
preference SEI message shall be present for a picture in an access unit that is output having PicOrderCnt( ) greater than
PicOrderCnt( CurrPic )        and     less       than        or      equal        to      PicOrderCnt( CurrPic )        +
deblocking_display_preference_repetition_period; unless the bitstream ends or a new coded video sequence begins
without output of such a picture.

D.2.22 Stereo video information SEI message semantics
This SEI message provides the decoder with an indication that the entire coded video sequence consists of pairs of
pictures forming stereo-view content.
The stereo video information SEI message shall not be present in any access unit of a coded video sequence unless a
stereo video information SEI message is present in the first access unit of the coded video sequence.
field_views_flag equal to 1 indicates that all pictures in the current coded video sequence are fields and all fields of a
particular parity are considered a left view and all fields of the opposite parity are considered a right view for stereo-
view content. field_views_flag equal to 0 indicates that all pictures in the current coded video sequence are frames and
alternating frames in output order represent a view of a stereo view. The value of field_views_flag shall be the same in
all stereo video information SEI messages within a coded video sequence.
When the stereo video information SEI message is present and field_views_flag is equal to 1, the left view and right
view of a stereo video pair shall be coded as a complementary field pair, the display time of the first field of the field
pair in output order should be delayed to coincide with the display time of the second field of the field pair in output
order, and the spatial locations of the samples in each individual field should be interpreted for display purposes as
representing complete pictures as shown in Figure 6-1 rather than as spatially-distinct fields within a frame as shown in
Figure 6-2.
    NOTE – The display process is not specified in this Recommendation | International Standard.
top_field_is_left_view_flag equal to 1 indicates that the top fields in the coded video sequence represent a left view
and the bottom fields in the coded video sequence represent a right view. top_field_is_left_view_flag equal to 0
indicates that the bottom fields in the coded video sequence represent a left view and the top fields in the coded video
sequence represent a right view. When present, the value of top_field_is_left_view_flag shall be the same in all stereo
video information SEI messages within a coded video sequence.
current_frame_is_left_view_flag equal to 1 indicates that the current picture is the left view of a stereo-view pair.
current_frame_is_left_view_flag equal to 0 indicates that the current picture is the right view of a stereo-view pair.
next_frame_is_second_view_flag equal to 1 indicates that the current picture and the next picture in output order form
a stereo-view pair, and the display time of the current picture should be delayed to coincide with the display time of the
next picture in output order. next_frame_is_second_view_flag equal to 0 indicates that the current picture and the
previous picture in output order form a stereo-view pair, and the display time of the current picture should not be
delayed for purposes of stereo-view pairing.




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left_view_self_contained_flag equal to 1 indicates that no inter prediction operations within the decoding process for
the left-view pictures of the coded video sequence refer to reference pictures that are right-view pictures.
left_view_self_contained_flag equal to 0 indicates that some inter prediction operations within the decoding process for
the left-view pictures of the coded video sequence may or may not refer to reference pictures that are right-view
pictures. Within a coded video sequence, the value of left_view_self_contained_flag in all stereo video information SEI
messages shall be the same.
right_view_self_contained_flag equal to 1 indicates that no inter prediction operations within the decoding process for
the right-view pictures of the coded video sequence refer to reference pictures that are left-view pictures.
right_view_self_contained_flag equal to 0 indicates that some inter prediction operations within the decoding process
for the right-view pictures of the coded video sequence may or may not refer to reference pictures that are left-view
pictures. Within a coded video sequence, the value of right_view_self_contained_flag in all stereo video information
SEI messages shall be the same.


D.2.23 Reserved SEI message semantics
This message consists of data reserved for future backward-compatible use by ITU-T | ISO/IEC. Encoders conforming
to this Recommendation | International Standard shall not send reserved SEI messages until and unless the use of such
messages      has    been     specified     by    ITU-T      |    ISO/IEC.    Decoders      conforming     to     this
Recommendation | International Standard that encounter reserved SEI messages shall discard their content without
effect on the decoding process, except as specified in future Recommendations | International Standards specified by
ITU-T | ISO/IEC.
reserved_sei_message_payload_byte is a byte reserved for future use by ITU-T | ISO/IEC.




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                                                   Annex E
                                            Video usability information
                  (This annex forms an integral part of this Recommendation | International Standard)
This Annex specifies syntax and semantics of the VUI parameters of the sequence parameter sets.
VUI parameters are not required for constructing the luma or chroma samples by the decoding process. Conforming
decoders are not required to process this information for output order conformance to this
Recommendation | International Standard (see Annex C for the specification of conformance). Some VUI parameters
are required to check bitstream conformance and for output timing decoder conformance.
In Annex E, specification for presence of VUI parameters is also satisfied when those parameters (or some subset of
them) are conveyed to decoders (or to the HRD) by other means not specified by this Recommendation | International
Standard. When present in the bitstream, VUI parameters shall follow the syntax and semantics specified in subclauses
7.3.2.1 and 7.4.2.1 and this annex. When the content of VUI parameters is conveyed for the application by some means
other than presence within the bitstream, the representation of the content of the VUI parameters is not required to use
the same syntax specified in this annex. For the purpose of counting bits, only the appropriate bits that are actually
present in the bitstream are counted.




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E.1     VUI syntax
E.1.1   VUI parameters syntax


        vui_parameters( ) {                                                             C   Descriptor
          aspect_ratio_info_present_flag                                                0   u(1)
          if( aspect_ratio_info_present_flag ) {
              aspect_ratio_idc                                                          0   u(8)
              if( aspect_ratio_idc = = Extended_SAR ) {
                  sar_width                                                             0   u(16)
                  sar_height                                                            0   u(16)
              }
          }
          overscan_info_present_flag                                                    0   u(1)
          if( overscan_info_present_flag )
              overscan_appropriate_flag                                                 0   u(1)
          video_signal_type_present_flag                                                0   u(1)
          if( video_signal_type_present_flag ) {
              video_format                                                              0   u(3)
              video_full_range_flag                                                     0   u(1)
              colour_description_present_flag                                           0   u(1)
              if( colour_description_present_flag ) {
                  colour_primaries                                                      0   u(8)
                  transfer_characteristics                                              0   u(8)
                  matrix_coefficients                                                   0   u(8)
              }
          }
          chroma_loc_info_present_flag                                                  0   u(1)
          if( chroma_loc_info_present_flag ) {
              chroma_sample_loc_type_top_field                                          0   ue(v)
              chroma_sample_loc_type_bottom_field                                       0   ue(v)
          }
          timing_info_present_flag                                                      0   u(1)
          if( timing_info_present_flag ) {
              num_units_in_tick                                                         0   u(32)
              time_scale                                                                0   u(32)
              fixed_frame_rate_flag                                                     0   u(1)
          }
          nal_hrd_parameters_present_flag                                               0   u(1)
          if( nal_hrd_parameters_present_flag )
              hrd_parameters( )
          vcl_hrd_parameters_present_flag                                               0   u(1)
          if( vcl_hrd_parameters_present_flag )
              hrd_parameters( )
          if( nal_hrd_parameters_present_flag | | vcl_hrd_parameters_present_flag )
              low_delay_hrd_flag                                                        0   u(1)
          pic_struct_present_flag                                                       0   u(1)
          bitstream_restriction_flag                                                    0   u(1)
          if( bitstream_restriction_flag ) {


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                 motion_vectors_over_pic_boundaries_flag                                      0    u(1)
                 max_bytes_per_pic_denom                                                      0    ue(v)
                 max_bits_per_mb_denom                                                        0    ue(v)
                 log2_max_mv_length_horizontal                                                0    ue(v)
                 log2_max_mv_length_vertical                                                  0    ue(v)
                 num_reorder_frames                                                           0    ue(v)
                 max_dec_frame_buffering                                                      0    ue(v)
             }
         }



E.1.2    HRD parameters syntax


         hrd_parameters( ) {                                                                  C    Descriptor
             cpb_cnt_minus1                                                                   0    ue(v)
             bit_rate_scale                                                                   0    u(4)
             cpb_size_scale                                                                   0    u(4)
             for( SchedSelIdx = 0; SchedSelIdx <= cpb_cnt_minus1; SchedSelIdx++ ) {
                bit_rate_value_minus1[ SchedSelIdx ]                                          0    ue(v)
                cpb_size_value_minus1[ SchedSelIdx ]                                          0    ue(v)
                cbr_flag[ SchedSelIdx ]                                                       0    u(1)
             }
             initial_cpb_removal_delay_length_minus1                                          0    u(5)
             cpb_removal_delay_length_minus1                                                  0    u(5)
             dpb_output_delay_length_minus1                                                   0    u(5)
             time_offset_length                                                               0    u(5)
         }



E.2      VUI semantics
E.2.1    VUI parameters semantics
aspect_ratio_info_present_flag equal to 1 specifies that aspect_ratio_idc is present. aspect_ratio_info_present_flag
equal to 0 specifies that aspect_ratio_idc is not present.
aspect_ratio_idc specifies the value of the sample aspect ratio of the luma samples. Table E-1 shows the meaning of
the code. When aspect_ratio_idc indicates Extended_SAR, the sample aspect ratio is represented by sar_width and
sar_height. When the aspect_ratio_idc syntax element is not present, aspect_ratio_idc value shall be inferred to be equal
to 0.




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                                   Table E-1 – Meaning of sample aspect ratio indicator

aspect_ratio_idc      Sample aspect                                          (informative)
                         ratio                                              Examples of use
        0              Unspecified

        1                   1:1           1280x720 16:9 frame without horizontal overscan
                        (“square”)        1920x1080 16:9 frame without horizontal overscan (cropped from 1920x1088)
                                          640x480 4:3 frame without horizontal overscan
        2                  12:11          720x576 4:3 frame with horizontal overscan
                                          352x288 4:3 frame without horizontal overscan
        3                  10:11          720x480 4:3 frame with horizontal overscan
                                          352x240 4:3 frame without horizontal overscan
        4                  16:11          720x576 16:9 frame with horizontal overscan
                                          528x576 4:3 frame without horizontal overscan
        5                  40:33          720x480 16:9 frame with horizontal overscan
                                          528x480 4:3 frame without horizontal overscan
        6                  24:11          352x576 4:3 frame without horizontal overscan
                                          480x576 16:9 frame with horizontal overscan
        7                  20:11          352x480 4:3 frame without horizontal overscan
                                          480x480 16:9 frame with horizontal overscan
        8                 32:11           352x576 16:9 frame without horizontal overscan
        9                 80:33           352x480 16:9 frame without horizontal overscan
       10                 18:11           480x576 4:3 frame with horizontal overscan
       11                 15:11           480x480 4:3 frame with horizontal overscan
       12                 64:33           528x576 16:9 frame without horizontal overscan
       13                160:99           528x480 16:9 frame without horizontal overscan
       14                  4:3            1440x1080 16:9 frame without horizontal overscan
       15                  3:2            1280x1080 16:9 frame without horizontal overscan
       16                  2:1            960x1080 16:9 frame without horizontal overscan
     17..254           Reserved
      255            Extended_SAR


sar_width indicates the horizontal size of the sample aspect ratio (in arbitrary units).
sar_height indicates the vertical size of the sample aspect ratio (in the same arbitrary units as sar_width).
sar_width and sar_height shall be relatively prime or equal to 0. When aspect_ratio_idc is equal to 0 or sar_width is
equal to 0 or sar_height is equal to 0, the sample aspect ratio shall be considered unspecified by this Recommendation |
International Standard.
overscan_info_present_flag equal to 1 specifies that the overscan_appropriate_flag is present. When
overscan_info_present_flag is equal to 0 or is not present, the preferred display method for the video signal is
unspecified.
overscan_appropriate_flag equal to 1 indicates that the cropped decoded pictures output are suitable for display using
overscan. overscan_appropriate_flag equal to 0 indicates that the cropped decoded pictures output contain visually
important information in the entire region out to the edges of the cropping rectangle of the picture, such that the cropped
decoded pictures output should not be displayed using overscan. Instead, they should be displayed using either an exact
match between the display area and the cropping rectangle, or using underscan.
   NOTE 1 – For example, overscan_appropriate_flag equal to 1 might be used for entertainment television programming, or for a
   live view of people in a videoconference, and overscan_appropriate_flag equal to 0 might be used for computer screen capture or
   security camera content.
video_signal_type_present_flag equal to 1 specifies that video_format, video_full_range_flag and
colour_description_present_flag are present. video_signal_type_present_flag equal to 0, specify that video_format,
video_full_range_flag and colour_description_present_flag are not present.




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video_format indicates the representation of the pictures as specified in Table E-2, before being coded in accordance
with this Recommendation | International Standard. When the video_format syntax element is not present, video_format
value shall be inferred to be equal to 5.

                                        Table E-2 – Meaning of video_format

                                    video_format      Meaning
                                           0          Component
                                           1          PAL
                                           2          NTSC
                                           3          SECAM
                                           4          MAC
                                           5          Unspecified video format
                                           6          Reserved
                                           7          Reserved


video_full_range_flag indicates the black level and range of the luma and chroma signals as derived from E’Y, E’PB,
and E’PR or E’R, E’G, and E’B analogue component signals.
When the video_full_range_flag syntax element is not present, the value of video_full_range_flag shall be inferred to be
equal to 0.
colour_description_present_flag equal to 1 specifies that colour_primaries, transfer_characteristics and
matrix_coefficients are present. colour_description_present_flag equal to 0 specifies that colour_primaries,
transfer_characteristics and matrix_coefficients are not present.
colour_primaries indicates the chromaticity coordinates of the source primaries as specified in Table E-3 in terms of
the CIE 1931 definition of x and y as specified by ISO/CIE 10527.
When the colour_primaries syntax element is not present, the value of colour_primaries shall be inferred to be equal
to 2 (the chromaticity is unspecified or is determined by the application).




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                                             Table E-3 – Colour primaries

      Value      Primaries                                                  Informative Remark
      0          Reserved                                                   For future use by ITU-T / ISO/IEC
      1          primary           x            y                           ITU-R Recommendation BT.709-5
                 green             0.300        0.600
                 blue              0.150        0.060
                 red               0.640        0.330
                 white D65         0.3127       0.3290
      2          Unspecified                                                Image characteristics are unknown or
                                                                            are determined by the application.
      3          Reserved
      4          primary           x            y                           ITU-R Recommendation BT.470-6
                 green             0.21         0.71                        System M
                 blue              0.14         0.08
                 red               0.67         0.33
                 white C           0.310        0.316
      5          primary           x            y                           ITU-R Recommendation BT.470-6
                 green             0.29         0.60                        System B, G
                 blue              0.15         0.06
                 red               0.64         0.33
                 white D65         0.3127       0.3290
      6          primary           x            y                           Society of Motion Picture and
                 green             0.310        0.595                       Television Engineers 170M (1999)
                 blue              0.155        0.070
                 red               0.630        0.340
                 white D65         0.3127       0.3290
      7          primary           x            y                           Society of Motion Picture and
                 green             0.310        0.595                       Television Engineers 240M (1999)
                 blue              0.155        0.070
                 red               0.630        0.340
                 white D65         0.3127       0.3290
      8          primary           x            y                           Generic film (colour filters using
                 green             0.243        0.692 ( Wratten 58 )        Illuminant C)
                 blue              0.145        0.049 ( Wratten 47 )
                 red               0.681        0.319 ( Wratten 25 )
                 white C           0.310        0.316
      9-255      Reserved                                                   For future use by ITU-T / ISO/IEC


transfer_characteristics indicates the opto-electronic transfer characteristic of the source picture as specified in
Table E-4 as a function of a linear optical intensity input Lc with an analogue range of 0 to 1.
When the transfer_characteristics syntax element is not present, the value of transfer_characteristics shall be inferred to
be equal to 2 (the transfer characteristics are unspecified or are determined by the application).




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                                           Table E-4 – Transfer characteristics

 Value      Transfer Characteristic                                                  Informative Remark
 0          Reserved                                                                 For future use by ITU-T / ISO/IEC
 1                                                                                   ITU-R Recommendation BT.709-5
            V = 1.099 Lc0.45 - 0.099              for 1 >= Lc >= 0.018
            V = 4.500 Lc                          for 0.018 > Lc>= 0
 2          Unspecified                                                              Image characteristics are unknown or
                                                                                     are determined by the application.
 3          Reserved                                                                 For future use by ITU-T / ISO/IEC
 4          Assumed display gamma 2.2                                                ITU-R Recommendation BT.470-6
                                                                                     System M
 5          Assumed display gamma 2.8                                                ITU-R Recommendation BT.470-6
                                                                                     System B, G
 6                                                                                   Society of Motion Picture and
            V = 1.099 Lc0.45 - 0.099              for 1 >= Lc >= 0.018
                                                                                     Television Engineers 170M (1999)
            V = 4.500 Lc                          for 0.018 > Lc>= 0
 7                                                                                   Society of Motion Picture and
            V = 1.1115 Lc0.45 - 0.1115            for 1 >= Lc>= 0.0228
                                                                                     Television Engineers 240M (1999)
            V = 4.0 Lc                            for 0.0228 > Lc>= 0
 8          V = Lc                                for 1 > Lc>= 0                     Linear transfer characteristics
 9          V = 1.0 - Log10( Lc ) ÷ 2             for 1 >= Lc >= 0.01                Logarithmic transfer characteristic
            V = 0.0                               for 0.01 > Lc>= 0                  ( 100:1 range )
 10         V = 1.0 - Log10( Lc ) ÷ 2.5           for 1 >= Lc >= 0.0031622777        Logarithmic transfer    characteristic
            V = 0.0                               for 0.0031622777 > Lc>= 0          ( 316.22777:1 range )
 11..255    Reserved                                                                 For future use by ITU-T / ISO/IEC


matrix_coefficients describes the matrix coefficients used in deriving luma and chroma signals from the green, blue,
and red primaries, as specified in Table E-5.
matrix_coefficients shall not be equal to 0 unless both of the following conditions are true
–     BitDepthC is equal to BitDepthY
–     chroma_format_idc is equal to 3 (4:4:4)
The specification of the use of matrix_coefficients equal to 0 under all other conditions is reserved for future use by
ITU-T | ISO/IEC.
matrix_coefficients shall not be equal to 8 unless one or both of the following conditions are true
–     BitDepthC is equal to BitDepthY
–     BitDepthC is equal to BitDepthY + 1 and chroma_format_idc is equal to 3 (4:4:4)
The specification of the use of matrix_coefficients equal to 8 under all other conditions is reserved for future use by
ITU-T | ISO/IEC.
When the matrix_coefficients syntax element is not present, the value of matrix_coefficients shall be inferred to be
equal to 2.
The interpretation of matrix_coefficients is defined as follows.
–     E’R, E’G, and E’B are analogue with values in the range of 0 to 1.
–     White is specified as having E’R equal to 1, E’G equal to 1, and E’B equal to 1.
–     Black is specified as having E’R equal to 0, E’G equal to 0, and E’B equal to 0.
–     If video_full_range_flag is equal to 0, the following equations apply.
      –    If matrix_coefficients is equal to 1, 4, 5, 6, or 7, the following equations apply.

           Y = Round( ( 1 << ( BitDepthY – 8 ) ) * ( 219 * E’Y + 16 ) )                                                  (E-1)




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           Cb = Round( ( 1 << ( BitDepthC – 8 ) ) * ( 224 * E’PB + 128 ) )                                                    (E-2)


           Cr = Round( ( 1 << ( BitDepthC – 8 ) ) * ( 224 * E’PR + 128 ) )                                                    (E-3)

     –     Otherwise, if matrix_coefficients is equal to 0 or 8, the following equations apply.

          R = ( 1 << ( BitDepthY – 8 ) ) * ( 219 * E’R + 16 )                                                                 (E-4)


          G = ( 1 << ( BitDepthY – 8 ) ) * ( 219 * E’G + 16 )                                                                 (E-5)


          B = ( 1 << ( BitDepthY – 8 ) ) * ( 219 * E’B + 16 )                                                                 (E-6)

     –     Otherwise, if matrix_coefficients is equal to 2, the interpretation of the matrix_coefficients syntax element is
           unknown or is determined by the application.
     –     Otherwise (matrix_coefficients is not equal to 0, 1, 2, 4, 5, 6, 7, or 8), the interpretation of the
           matrix_coefficients syntax element is reserved for future definition by ITU-T | ISO/IEC.
–    Otherwise (video_full_range_flag is equal to 1), the following equations apply.
     –     If matrix_coefficients is equal to 1, 4, 5, 6, or 7, the following equations apply.

          Y = Round( ( ( 1 << BitDepthY ) – 1 ) * E’Y )                                                                       (E-7)


          Cb = Round( ( ( 1 << BitDepthC ) – 1 ) * E’PB + ( 1 << ( BitDepthC – 1 ) )                                          (E-8)


          Cr = Round( ( ( 1 << BitDepthC ) – 1 ) * E’PR + ( 1 << ( BitDepthC – 1 ) )                                          (E-9)

     –     Otherwise, if matrix_coefficients is equal to 0 or 8, the following equations apply.

          R = ( ( 1 << BitDepthY ) – 1 ) * E’R                                                                               (E-10)


          G = ( ( 1 << BitDepthY ) – 1 ) * E’G                                                                               (E-11)


          B = ( ( 1 << BitDepthY ) – 1 ) * E’B                                                                               (E-12)

     –     Otherwise, if matrix_coefficients is equal to 2, the interpretation of the matrix_coefficients syntax element is
           unknown or is determined by the application.
     –     Otherwise (matrix_coefficients is not equal to 0, 1, 2, 4, 5, 6, 7, or 8), the interpretation of the
           matrix_coefficients syntax element is reserved for future definition by ITU-T | ISO/IEC.
–    If matrix_coefficients is not equal to 0 or 8, the following equations apply.

         E’Y = KR * E’R + ( 1 – KR – KB ) * E’G + KB * E’B                                                                   (E-13)


         E’PB = 0.5 * ( E’B – E’Y ) ÷ ( 1 – KB )                                                                             (E-14)


         E’PR = 0.5 * ( E’R – E’Y ) ÷ ( 1 – KR )                                                                             (E-15)

    NOTE 2 – Then E’Y is analogue with values in the range of 0 to 1, E’PB and E’PR are analogue with values in the range of -0.5 to
    0.5, and white is equivalently given by E’Y = 1, E’PB = 0, E’PR = 0.




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–     Otherwise, if matrix_coefficients is equal to 0, the following equations apply.

        Y = Round( G )                                                                                              (E-16)


        Cb = Round( B )                                                                                             (E-17)


        Cr = Round( R )                                                                                             (E-18)

–     Otherwise (matrix_coefficients is equal to 8), the following applies.
        – If BitDepthC is equal to BitDepthY, the following equations apply.

           Y = Round( 0.5 * G + 0.25 * ( R + B ) )                                                                  (E-19)


           Cb = Round( 0.5 * G – 0.25 ( R + B ) )                                                                   (E-20)


           Cr = Round( 0.5 * (R – B ) )                                                                             (E-21)

        NOTE 3 – For purposes of the YCgCo nomenclature used in Table E-5, Cb and Cr of Equations E-20 and E-21 may be
        referred to as Cg and Co, respectively. The inverse conversion for the above four equations should be computed as.

           t = Y – Cb                                                                                               (E-22)


           G = Y + Cb                                                                                               (E-23)


           B = t – Cr                                                                                               (E-24)


           R = t + Cr                                                                                               (E-25)

        – Otherwise (BitDepthC is not equal to BitDepthY), the following equations apply.

           Cr = Round( R ) – Round( B )                                                                             (E-26)


           t = Round( B ) + ( Cr >> 1 )                                                                             (E-27)


           Cb = Round( G ) – t                                                                                      (E-28)


           Y = t + ( Cb >> 1 )                                                                                      (E-29)

        NOTE 4 – For purposes of the YCgCo nomenclature used in Table E-5, Cb and Cr of Equations E-28 and E-26 may be
        referred to as Cg and Co, respectively. The inverse conversion for the above four equations should be computed as.

           t = Y – ( Cb >> 1 )                                                                                      (E-30)


           G = t + Cb                                                                                               (E-31)


           B = t – ( Cr >> 1 )                                                                                      (E-32)


           R = B + Cr                                                                                               (E-33)




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                                             Table E-5 – Matrix coefficients

 Value        Matrix                         Informative remark
 0            GBR                            Typically referred to as RGB; see Equations E-16 to E-18
 1            KR = 0.2126; KB = 0.0722       ITU-R Recommendation BT.709-5 and
                                             Society of Motion Picture and Television Engineers RP177 (1993)
 2            Unspecified                    Image characteristics are unknown or are determined by the application.
 3            Reserved                       For future use by ITU-T / ISO/IEC
 4            KR = 0.30; KB = 0.11           United States Federal Communications Commission Title 47 Code of
                                             Federal Regulations (2003) 73.682 (a) (20)
 5            KR = 0.299; KB = 0.114         ITU-R Recommendation BT.470-6 System B, G
 6            KR = 0.299; KB = 0.114         Society of Motion Picture and Television Engineers 170M (1999)
 7            KR = 0.212; KB = 0.087         Society of Motion Picture and Television Engineers 240M (1999)
 8            YCgCo                          See Equations E-19 to E-33
 9-255        Reserved                       For future use by ITU-T / ISO/IEC


chroma_loc_info_present_flag     equal    to 1  specifies   that   chroma_sample_loc_type_top_field and
chroma_sample_loc_type_bottom_field are present. chroma_loc_info_present_flag equal to 0 specifies that
chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field are not present.
chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field specify the location of chroma
samples for the top field and the bottom field as shown in Figure E-1. The value of chroma_sample_loc_type_top_field
and chroma_sample_loc_type_bottom_field shall be in the range of 0 to 5, inclusive. When the
chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field are not present, the values of
chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field shall be inferred to be equal to 0.
     NOTE     5    –     When     coding     progressive    source     material,     chroma_sample_loc_type_top_field   and
     chroma_sample_loc_type_bottom_field should have the same value.




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                                                                                                         ...




                        Interpretation of symbols:
                        Luma sample position indications:

                              = Luma sample top field             = Luma sample bottom field


                         Chroma sample position indications,
                         where gray fill indicates a bottom field sample type
                         and no fill indicates a top field sample type:
                              = Chroma sample type 2              = Chroma sample type 3


                              = Chroma sample type 0              = Chroma sample type 1


                              = Chroma sample type 4              = Chroma sample type 5




                Figure E-1 – Location of chroma samples for top and bottom fields as a function of
                 chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field




timing_info_present_flag equal to 1 specifies that num_units_in_tick, time_scale and fixed_frame_rate_flag are
present in the bitstream. timing_info_present_flag equal to 0 specifies that num_units_in_tick, time_scale and
fixed_frame_rate_flag are not present in the bitstream.
num_units_in_tick is the number of time units of a clock operating at the frequency time_scale Hz that corresponds to
one increment (called a clock tick) of a clock tick counter. num_units_in_tick shall be greater than 0. A clock tick is the
minimum interval of time that can be represented in the coded data. For example, when the clock frequency of a video
signal is 60 000 ÷ 1001 Hz, time_scale may be equal to 60 000 and num_units_in_tick may be equal to 1001. See
Equation C-1.
time_scale is the number of time units that pass in one second. For example, a time coordinate system that measures
time using a 27 MHz clock has a time_scale of 27 000 000. time_scale shall be greater than 0.
fixed_frame_rate_flag equal to 1 indicates that the temporal distance between the HRD output times of any two
consecutive pictures in output order is constrained as follows. fixed_frame_rate_flag equal to 0 indicates that no such
constraints apply to the temporal distance between the HRD output times of any two consecutive pictures in output
order.




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For each picture n where n indicates the n-th picture (in output order) that is output and picture n is not the last picture
in the bitstream (in output order) that is output, the value of ∆tfi,dpb( n ) is specified by

                   ∆tfi,dpb( n ) = ∆to,dpb( n ) ÷ DeltaTfiDivisor                                                        (E-34)


where ∆to,dpb( n ) is specified in Equation C-13 and DeltaTfiDivisor is specified by Table E-6 based on the value of
pic_struct_present_flag, field_pic_flag, and pic_struct for the coded video sequence containing picture n. Entries
marked "-" in Table E-6 indicate a lack of dependence of DeltaTfiDivisor on the corresponding syntax element.
When fixed_frame_rate_flag is equal to 1 for a coded video sequence containing picture n, the value computed for
∆tfi,dpb( n ) shall be equal to tc as specified in Equation C-1 (using the value of tc for the coded video sequence containing
picture n) when either or both of the following conditions are true for the following picture nn that is specified for use in
Equation C-13.
–    picture nn is in the same coded video sequence as picture n.
–    picture nn is in a different coded video sequence and fixed_frame_rate_flag is equal to 1 in the coded video
     sequence containing picture nn and the value of num_units_in_tick ÷ time_scale is the same for both coded video
     sequences.

                                    Table E-6 – Divisor for computation of ∆tfi,dpb( n )

                         pic_struct_present_flag field_pic_flag pic_struct DeltaTfiDivisor
                         0                            1                -             1
                         1                            -                1             1
                         1                            -                2             1
                         0                            0                -             2
                         1                            -                0             2
                         1                            -                3             2
                         1                            -                4             2
                         1                            -                5             3
                         1                            -                6             3
                         1                            -                7             4
                         1                            -                8             6


nal_hrd_parameters_present_flag equal to 1 specifies that NAL HRD parameters (pertaining to Type II bitstream
conformance) are present. nal_hrd_parameters_present_flag equal to 0 specifies that NAL HRD parameters are not
present.
    NOTE 6 – When nal_hrd_parameters_present_flag is equal to 0, the conformance of the bitstream cannot be verified without
    provision of the NAL HRD parameters, including the NAL sequence HRD parameter information and all buffering period and
    picture timing SEI messages, by some means not specified in this Recommendation | International Standard.
When nal_hrd_parameters_present_flag is equal to 1, NAL HRD parameters (subclauses E.1.2 and E.2.2) immediately
follow the flag.
The variable NalHrdBpPresentFlag is derived as follows.
– If any of the following is true, the value of NalHrdBpPresentFlag shall be set equal to 1.
    – nal_hrd_parameters_present_flag is present in the bitstream and is equal to 1
    – the need for presence of buffering periods for NAL HRD operation to be present in the bitstream in buffering
      period SEI messages is determined by the application, by some means not specified in this Recommendation |
      International Standard.
-   Otherwise, the value of NalHrdBpPresentFlag shall be set equal to 0.
vcl_hrd_parameters_present_flag equal to 1 specifies that VCL HRD parameters (pertaining to all bitstream
conformance) are present. vcl_hrd_parameters_present_flag equal to 0 specifies that VCL HRD parameters are not
present.
    NOTE 7 – When vcl_hrd_parameters_present_flag is equal to 0, the conformance of the bitstream cannot be verified without
    provision of the VCL HRD parameters and all buffering period and picture timing SEI messages, by some means not specified in
    this Recommendation | International Standard.


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When vcl_hrd_parameters_present_flag is equal to 1, VCL HRD parameters (subclauses E.1.2 and E.2.2) immediately
follow the flag.
The variable VclHrdBpPresentFlag is derived as follows.
– If any of the following is true, the value of VclHrdBpPresentFlag shall be set equal to 1.
    – vcl_hrd_parameters_present_flag is present in the bitstream and is equal to 1
    – the need for presence of buffering periods for VCL HRD operation to be present in the bitstream in buffering
      period SEI messages is determined by the application, by some means not specified in this Recommendation |
      International Standard.
– Otherwise, the value of VclHrdBpPresentFlag shall be set equal to 0.
The variable CpbDpbDelaysPresentFlag is derived as follows.
– If any of the following is true, the value of CpbDpbDelaysPresentFlag shall be set equal to 1.
    – nal_hrd_parameters_present_flag is present in the bitstream and is equal to 1
    – vcl_hrd_parameters_present_flag is present in the bitstream and is equal to 1
    – the need for presence of CPB and DPB output delays to be present in the bitstream in picture timing SEI
      messages is determined by the application, by some means not specified in this Recommendation | International
      Standard.
– Otherwise, the value of CpbDpbDelaysPresentFlag shall be set equal to 0.
low_delay_hrd_flag specifies the HRD operational mode as specified in Annex C. When fixed_frame_rate_flag is
equal to 1, low_delay_hrd_flag shall be equal to 0.
    NOTE 8 – When low_delay_hrd_flag is equal to 1, "big pictures" that violate the nominal CPB removal times due to the number
    of bits used by an access unit are permitted. It is expected, but not required, that such "big pictures" occur only occasionally.
pic_struct_present_flag equal to 1 specifies that picture timing SEI messages (subclause D.2.2) are present that
include the pic_struct syntax element. pic_struct_present_flag equal to 0 specifies that the pic_struct syntax element is
not present in picture timing SEI messages. When pic_struct_present_flag is not present, its value shall be inferred to be
equal to 0.
bitstream_restriction_flag equal to 1, specifies that the following coded video sequence bitstream restriction
parameters are present. bitstream_restriction_flag equal to 0, specifies that the following coded video sequence
bitstream restriction parameters are not present.
motion_vectors_over_pic_boundaries_flag equal to 0 indicates that no sample outside the picture boundaries and no
sample at a fractional sample position whose value is derived using one or more samples outside the picture boundaries
is used to inter predict any sample. motion_vectors_over_pic_boundaries_flag equal to 1 indicates that one or more
samples      outside      picture    boundaries   may       be    used     in    inter   prediction.     When      the
motion_vectors_over_pic_boundaries_flag syntax element is not present, motion_vectors_over_pic_boundaries_flag
value shall be inferred to be equal to 1.
max_bytes_per_pic_denom indicates a number of bytes not exceeded by the sum of the sizes of the VCL NAL units
associated with any coded picture in the coded video sequence.
The number of bytes that represent a picture in the NAL unit stream is specified for this purpose as the total number of
bytes of VCL NAL unit data (i.e., the total of the NumBytesInNALunit variables for the VCL NAL units) for the
picture. The value of max_bytes_per_pic_denom shall be in the range of 0 to 16, inclusive.
Depending on max_bytes_per_pic_denom the following applies.
–     If max_bytes_per_pic_denom is equal to 0, no limits are indicated.
–     Otherwise (max_bytes_per_pic_denom is not equal to 0), no coded picture shall be represented in the coded video
      sequence by more than the following number of bytes.

        ( PicSizeInMbs * RawMbBits ) ÷ ( 8 * max_bytes_per_pic_denom )                                                        (E-35)


When the max_bytes_per_pic_denom syntax element is not present, the value of max_bytes_per_pic_denom shall be
inferred to be equal to 2.
max_bits_per_mb_denom indicates the maximum number of coded bits of macroblock_layer( ) data for any
macroblock in any picture of the coded video sequence. The value of max_bits_per_mb_denom shall be in the range of
0 to 16, inclusive.


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Depending on max_bits_per_mb_denom the following applies.
–    If max_bits_per_mb_denom is equal to 0, no limit is specified.
–    Otherwise (max_bits_per_mb_denom is not equal to 0), no coded macroblock_layer( ) shall be represented in the
     bitstream by more than the following number of bits.

        ( 128 + RawMbBits ) ÷ max_bits_per_mb_denom                                                                 (E-36)


Depending on entropy_coding_mode_flag, the bits of macroblock_layer( ) data are counted as follows.
–    If entropy_coding_mode_flag is equal to 0, the number of bits of macroblock_layer( ) data is given by the number
     of bits in the macroblock_layer( ) syntax structure for a macroblock.
–    Otherwise (entropy_coding_mode_flag is equal to 1), the number of bits of macroblock_layer( ) data for a
     macroblock is given by the number of times read_bits( 1 ) is called in subclauses 9.3.3.2.2 and 9.3.3.2.3 when
     parsing the macroblock_layer( ) associated with the macroblock.
When the max_bits_per_mb_denom is not present, the value of max_bits_per_mb_denom shall be inferred to be equal
to 1.
log2_max_mv_length_horizontal and log2_max_mv_length_vertical indicate the maximum absolute value of a
decoded horizontal and vertical motion vector component, respectively, in ¼ luma sample units, for all pictures in the
coded video sequence. A value of n asserts that no value of a motion vector component shall exceed the range from -2n
to 2n-1, inclusive, in units of ¼ luma sample displacement. The value of log2_max_mv_length_horizontal shall be in the
range of 0 to 16, inclusive. The value of log2_max_mv_length_vertical shall be in the range of 0 to 16, inclusive. When
log2_max_mv_length_horizontal is not present, the values of log2_max_mv_length_horizontal and
log2_max_mv_length_vertical shall be inferred to be equal to 16.
    NOTE 9 – The maximum absolute value of a decoded vertical or horizontal motion vector component is also constrained by
    profile and level limits as specified in Annex A.
num_reorder_frames indicates the maximum number of frames, complementary field pairs, or non-paired fields that
precede any frame, complementary field pair, or non-paired field in the coded video sequence in decoding order and
follow it in output order. The value of num_reorder_frames shall be in the range of 0 to max_dec_frame_buffering,
inclusive. When the num_reorder_frames syntax element is not present, the value of num_reorder_frames value shall be
inferred to be equal to max_dec_frame_buffering.
max_dec_frame_buffering specifies the required size of the HRD decoded picture buffer (DPB) in units of frame
buffers. The coded video sequence shall not require a decoded picture buffer with size of more than
Max( 1, max_dec_frame_buffering ) frame buffers to enable the output of decoded pictures at the output times specified
by dpb_output_delay of the picture timing SEI messages. The value of max_dec_frame_buffering shall be in the range
of num_ref_frames to MaxDpbSize (as specified in subclause A.3.1 or A.3.2), inclusive. When the
max_dec_frame_buffering syntax element is not present, the value of max_dec_frame_buffering shall be inferred to be
equal to MaxDpbSize.

E.2.2     HRD parameters semantics
cpb_cnt_minus1 plus 1 specifies the number of alternative CPB specifications in the bitstream. The value of
cpb_cnt_minus1 shall be in the range of 0 to 31, inclusive. When low_delay_hrd_flag is equal to 1, cpb_cnt_minus1
shall be equal to 0. When cpb_cnt_minus1 is not present, it shall be inferred to be equal to 0.
bit_rate_scale (together with bit_rate_value_minus1[ SchedSelIdx ]) specifies the maximum input bit rate of the
SchedSelIdx-th CPB.
cpb_size_scale (together with cpb_size_value_minus1[ SchedSelIdx ]) specifies the CPB size of the SchedSelIdx-th
CPB.
bit_rate_value_minus1[ SchedSelIdx ] (together with bit_rate_scale) specifies the maximum input bit rate for the
SchedSelIdx-th CPB. bit_rate_value_minus1[ SchedSelIdx ] shall be in the range of 0 to 232 - 2, inclusive. For any
SchedSelIdx > 0, bit_rate_value_minus1[ SchedSelIdx ] shall be greater than bit_rate_value_minus1[ SchedSelIdx - 1 ].
The bit rate in bits per second is given by

        BitRate[ SchedSelIdx ] = ( bit_rate_value_minus1[ SchedSelIdx ] + 1 ) * 2(6 + bit_rate_scale)               (E-37)




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When the bit_rate_value_minus1[ SchedSelIdx ] syntax element is not present, the value of BitRate[ SchedSelIdx ]
shall be inferred as follows.
–     If profile_idc is equal to 66, 77, or 88, BitRate[ SchedSelIdx ] shall be inferred to be equal to 1000 * MaxBR for
      VCL HRD parameters and to be equal to 1200 * MaxBR for NAL HRD parameters, where MaxBR is specified in
      subclause A.3.1.
–     Otherwise, BitRate[ SchedSelIdx ] shall be inferred to be equal to cpbBrVclFactor * MaxBR for VCL HRD
      parameters and to be equal to cpbBrNalFactor * MaxBR for NAL HRD parameters, where cpbBrVclFactor,
      cpbBrNalFactor, and MaxBR are specified in subclause A.3.3.
cpb_size_value_minus1[ SchedSelIdx ] is used together with cpb_size_scale to specify the SchedSelIdx-th CPB size.
cpb_size_value_minus1[ SchedSelIdx ] shall be in the range of 0 to 232 - 2, inclusive. For any SchedSelIdx greater than
0, cpb_size_value_minus1[ SchedSelIdx ] shall be less than or equal to cpb_size_value_minus1[ SchedSelIdx -1 ].
The CPB size in bits is given by

        CpbSize[ SchedSelIdx ] = ( cpb_size_value_minus1[ SchedSelIdx ] + 1 ) * 2(4 + cpb_size_scale)              (E-38)


When the cpb_size_value_minus1[ SchedSelIdx ] syntax element is not present, the value of CpbSize[ SchedSelIdx ]
shall be inferred as follows.
–     If profile_idc is equal to 66, 77, or 88, CpbSize[ SchedSelIdx ] shall be inferred to be equal to 1000 * MaxCPB for
      VCL HRD parameters and to be equal to 1200 * MaxCPB for NAL HRD parameters, where MaxCPB is specified
      in subclause A.3.1.
–     Otherwise, CpbSize[ SchedSelIdx ] shall be inferred to be equal to cpbBrVclFactor * MaxCPB for VCL HRD
      parameters and to be equal to cpbBrNalFactor * MaxCPB for NAL HRD parameters, where cpbBrVclFactor,
      cpbBrNalFactor, and MaxCPB are specified in subclause A.3.3.
cbr_flag[ SchedSelIdx ] equal to 0 specifies that to decode this bitstream by the HRD using the SchedSelIdx-th CPB
specification, the hypothetical stream delivery scheduler (HSS) operates in an intermittent bit rate mode.
cbr_flag[ SchedSelIdx ] equal to 1 specifies that the HSS operates in a constant bit rate (CBR) mode. When the
cbr_flag[ SchedSelIdx ] syntax element is not present, the value of cbr_flag shall be inferred to be equal to 0.
initial_cpb_removal_delay_length_minus1           specifies     the        length        in       bits      of  the
initial_cpb_removal_delay[ SchedSelIdx ] and initial_cpb_removal_delay_offset[ SchedSelIdx ] syntax elements of the
buffering period SEI message. The length of initial_cpb_removal_delay[ SchedSelIdx ] and of
initial_cpb_removal_delay_offset[ SchedSelIdx ] is initial_cpb_removal_delay_length_minus1 + 1. When the
initial_cpb_removal_delay_length_minus1 syntax element is present in more than one hrd_parameters( ) syntax
structure within the VUI parameters syntax structure, the value of the initial_cpb_removal_delay_length_minus1
parameters     shall    be    equal     in     both     hrd_parameters( )      syntax      structures.     When the
initial_cpb_removal_delay_length_minus1 syntax element is not present, it shall be inferred to be equal to 23.
cpb_removal_delay_length_minus1 specifies the length in bits of the cpb_removal_delay syntax element. The length
of the cpb_removal_delay syntax element of the picture timing SEI message is cpb_removal_delay_length_minus1 + 1.
When the cpb_removal_delay_length_minus1 syntax element is present in more than one hrd_parameters( ) syntax
structure within the VUI parameters syntax structure, the value of the cpb_removal_delay_length_minus1 parameters
shall be equal in both hrd_parameters( ) syntax structures. When the cpb_removal_delay_length_minus1 syntax element
is not present, it shall be inferred to be equal to 23.
dpb_output_delay_length_minus1 specifies the length in bits of the dpb_output_delay syntax element. The length of
the dpb_output_delay syntax element of the picture timing SEI message is dpb_output_delay_length_minus1 + 1. When
the dpb_output_delay_length_minus1 syntax element is present in more than one hrd_parameters( ) syntax structure
within the VUI parameters syntax structure, the value of the dpb_output_delay_length_minus1 parameters shall be
equal in both hrd_parameters( ) syntax structures. When the dpb_output_delay_length_minus1 syntax element is not
present, it shall be inferred to be equal to 23.
time_offset_length greater than 0 specifies the length in bits of the time_offset syntax element. time_offset_length
equal to 0 specifies that the time_offset syntax element is not present. When the time_offset_length syntax element is
present in more than one hrd_parameters( ) syntax structure within the VUI parameters syntax structure, the value of the
time_offset_length parameters shall be equal in both hrd_parameters( ) syntax structures. When the time_offset_length
syntax element is not present, it shall be inferred to be equal to 24.




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                                                                                   Printed in Switzerland
                                                                                           Geneva, 2005
